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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT


EDDIE GRANT, ET AL.                                CIVIL NO. 3:22-CV-01223(JBA)
     Plaintiff,

     V.


LAMONT, ET AL.,                                    JULY 26, 2023
    Defendants.

                       DECLARATION OF LOUIS KLAREVAS

     I, Louis Klarevas, hereby depose and state:

     1. I am over the age of 18 and am competent to testify to the matters stated below based
        on personal knowledge.

     2. I have attached a copy of an expert report I have prepared, together with a copy of my
        curriculum vitae (attached as Exhibit A of my expert report). The opinions expressed
        in this report are based on my knowledge, skill, experience, training, and education,
        and I hold these opinions to a reasonable degree of professional certainty. I hereby
        adopt and incorporate my report in this declaration as if set forth in full.

     I declare under penalty of perjury on this%~ day of July, 2023, that the foregoing is
     true and correct.




                                                         Loui Klarevas
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                          EXPERT REPORT OF LOUIS KLAREV AS

I, Louis Klarevas, declare:

        1.        I have been asked by the Defendants to prepare an expert report addressing the

relationship between assault weapons, large-capacity magazines (LCMs ), and mass shootings,

including how restrictions on assault weapons and LCMs impact mass shooting violence. This

expert report is based on my own personal knowledge and experience, and, if I am called as a

witness, I could and would testify competently to the truth of the matters discussed in this expert

report ("Report" hereinafter).

                               PROFESSIONAL QUALIFICATIONS
        2.        I am a security policy analyst and, currently, Research Professor at Teachers

College, Columbia University, in New York. I am also the author of the book Rampage Natzon,
                                                                                   1
 one of the most comprehensive studies on gun massacres in the United States.

         3.       I am a political scientist by training, with a B.A. from the University of

 Pennsylvania and a Ph.D. from American University. My current research examines the nexus

 between American public safety and gun violence, including serving as an investigator in a study

 funded by the National Institutes of Health that is focused on reducing intentional shootings at

 elementary and secondary schools.
         4.        During the course of my 20-year career as an academic, I have served on the

 faculties of the George Washington University, the City University of New York, New York

 University, and the University of Massachusetts. I have also served as a Defense Analysis

 Research Fellow at the London School of Economics and Political Science and as United States

  Senior Fulbright Scholar in Security Studies at the University of Macedonia.
             5.    In addition to having made well over 100 media and public-speaking appearances,

  I am the author or co-author of more than 20 scholarly articles and over 70 commentary pieces.

  In 2019, my peer-reviewed article on the effectiveness of restrictions on LCMs in reducing high-


             'Louis Klarevas, Rampage Naton Securing Amerca from Mass Shootings (2016).

                                                      1
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fatality mass shootings resulting in six or more victims killed was published in the American

Journal of Public Health.2 This study found that jurisdictions with LCM bans experienced

substantially lower gun massacre incidence and fatality rates when compared to jurisdictions not

subject to similar bans. Despite being over 3 years old now, this study continues to be one of the

highest impact studies in all of academia. It was recently referred to as "the perfect gun policy

study," in part due to the study's "robustness and quality."3

       6.      In the past four years (since January 1, 2019), I have been deposed or testified in

the following cases: Miller v. Banta, Case No. 3:19-cv-1537-BEN-JBS, Southern District of

California, and Nguyen v. Banta, Case No. 3:20-cv-02470-WQH-MDD, Southern District of

California. Miller involves a challenge to California's restrictions on assault weapons and

Nguyen involves a challenge to California's regulation limiting the sale of certain firearms to one

purchase per month.

        7.     In 2021,I was retained by the Government of Canada in the following cases

which involved challenges to Canada's regulation of certain categories of firearms: Parker and

K.K.S. Tactical Supplies Ltd. v. Attorney General of Canada, Federal Court, Court File No.: T-

569-20; Canadian Coalition for Firearm Rights, et al. v. Attorney General of Canada, Federal

Court, Court File No.: T-577-20; Hipwell v. Attorney General of Canada, Federal Court, Court

File No.: T-581-20; Doherty, et al. v. Attorney General of Canada, Federal Court, Court File

No.: T-677-20; Generoux, et al. v. Attorney General of Canada, Federal Court, Court File No.:

        2 Louis Klarevas, et al., "The Effect of Large-Capacity Magazine Bans on High-Fatality

Mass Shootings," 109 American Journal of Public Health 1754 (2019), available at
https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last accessed December
27, 2022).
        3 Lori Ann Post and Maryann Mason, "The Perfect Gun Policy Study in a Not So Perfect

Storm," 112 American Journal of Public Health 1707 (2022), available at
https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2022.307120 (last accessed December
27, 2022). According to Post and Mason, "Klarevas et al. employed a sophisticated modeling
and research design that was more rigorous than designs used in observational studies. Also,
they illustrated the analytic steps they took to rule out alternative interpretations and triangulate
their findings, for example examining both state bans and federal bans. They helped build the
foundation for future studies while overcoming the limitations of previous research." Ibid.

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T-735-20; and Ezchenberg, et al v Attorney General of Canada, Federal Court, Court File No.:

T-905-20. I testified under oath in a consolidated court proceeding involving all six cases in the

Federal Court of Canada.
       8.      A true and correct copy of my current curriculum vitae is attached as Exhibit A to

this Report.
        9.     I have been retained by the Defendant to render expert opinions in this case. I

will be compensated at a rate of $600 per hour for any testimony (in deposition and in court), and

am being compensated at a rate of $480 per hour for all other services.

                                            OPINIONS
        10.    It is my professional opinion, based upon my extensive review and analysis of the

data, that (1) in terms of individual acts of intentional criminal violence, mass shootings

presently pose the deadliest threat to the safety of American society in the post-9/11 era, and the

problem is growing nationwide; (2) high-fatality mass shootings involving assault weapons

and/or LCMs, on average, have resulted in a substantially larger loss of life than similar incidents

that did not involve assault weapons and/or LCMs; (3) mass shootings resulting in double-digit

fatalities are relatively modern phenomena in American history, largely related to the use of

assault weapons and LCMs; (4) assault weapons are used by private citizens with a far greater

frequency to perpetrate mass shootings than to stop mass shootings; (5) handguns, as opposed to

rifles (let alone rifles that qualify as assault weapons), are the most commonly owned firearms in

the United States; and (6) states that restrict both assault weapons and LCMs experience fewer

high-fatality mass shooting incidents and fatalities, per capita, than states that do not restrict

 assault weapons and LCMs. Based on these findings, it is my opinion that restrictions on assault

 weapons and LCMs have the potential to save lives by reducing the frequency and lethality of

 high-fatality mass shootings.4

         4 For purposes of this Report, "high-fatality mass shootings" (also referred to as "gun

 massacres") are defined as shootings resulting in 6 or more fatalities, not including the
 perpetrator(s), regardless of location or underlying motive. The data on high-fatality mass
 shootings is from a data set that I maintain and continuously update. This data set is reproduced

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I.        MASS SHOOTINGS ARE A GROWING THREAT TO PUBLIC SAFETY

           11.     Examining mass-casualty acts of violence in the United States since 1991 points

to two disturbing patterns.5 First, as demonstrated in Table 1, the deadliest individual acts of

intentional criminal violence in the United States since the terrorist attack of September 11,

2001, have all been mass shootings. Second, as displayed in Figures 1-2, the problem of high-

fatality mass shooting violence is on the rise. To put the increase over the last three decades into

perspective, between the 1990s and the 2010s, the average population of the United States

increased approximately 20%. However, when the number of people killed in high-fatality mass

shootings in the 2010s is compared to the number killed in such incidents in the 1990s, it reflects

an increase of 260%. In other words, the rise in mass shooting violence has far outpaced the rise

 in national population-by a factor of 13. The obvious takeaway from these patterns and trends

 is that mass shootings pose a significant-and growing-threat to American public safety.


 Table 1. The Deadliest Acts oflntentional Criminal Violence in the U.S. since 9/11

          Deaths             Date                        Location               Type of Violence
      1     60          October 1, 2017               Las Vegas, NV              Mass Shooting
      2     49           June 12, 2016                 Orlando, FL               Mass Shooting
      3     32           April 16, 2007              Blacksburg, VA              Mass Shooting
      4     27         December 14, 2012              Newtown, CT                Mass Shooting
      5     25         November 5, 2017           Sutherland Springs, TX         Mass Shooting
      6     23          August 3, 2019                 El Paso, TX               Mass Shooting
      7     21           May 24, 2022                   Uvalde, TX               Mass Shooting




     in Exhibit B. Unless stated otherwise, all of the data used to perform original analyses and to
     construct tables and figures in this Report are drawn from Exhibit B.
            5 Because the analysis in Section VI of this Report necessarily uses data from 1991

     through 2022, for purposes of consistency (and to avoid any confusion), the analyses in Sections
     I and II also use data from 1991 through 2022.

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Figure 1. Annual Trends in High-Fatality Mass Shooting Incidents, 1991-2022

            7




Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
overall pattern of the individual data points. When there is a positive relationship between the x-
axis and y-axis variables, the trendline moves upwards from left to right. When there is a
negative relationship between the x-axis and y-axis variables, the trendline moves downwards
from left to right.

Figure 2. Annual Trends in High-Fatality Mass Shooting Fatalities, 1991-2022

             100


                80


                60
                                                      I,
                                                      !'
                40
                                                      4
                                                       l

                 0




Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
overall pattern of the individual data points. When there is a positive relationship between the x-
axis and y-axis variables, the trendline moves upwards from left to right. When there is a
negative relationship between the x-axis and y-axis variables, the trendline moves downwards
from left to right.

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II.    THE USE OF ASSAULT WEAPONS AND LCMS ARE MAJOR FACTORS IN THE RISE OF
       MASS SHOOTING VIOLENCE


        12.     In addition to showing that the frequency and lethality of high-fatality mass

shootings are on the rise nationally, the data point to another striking pattern: both assault

weapons and LCMs are being used with increased frequency to perpetrate gun massacres.6 As

shown in Figures 3 and 4, based on incidents where the details on the use of assault weapons and

LCMs are available, the pattern is particularly marked of late, with over half of all high-fatality

mass shootings in the last four years involving assault weapons and all high-fatality mass

shootings in the last four years involving LCMs. A similar pattern is found when examining

fatalities in the last four years, with 62% of all high-fatality mass shooting deaths in the last four

years involving assault weapons and 100% of all high-fatality mass shooting deaths in the last

four years involving LCMs, as shown in Figures 5 and 6. These trends clearly demonstrate that,

among mass shooters, there is a growing preference for using assault weapons and LCMs to

perpetrate their attacks. 7

        6 LCMs, also referred to as "high-capacity magazines," are generally ammunition-feeding

devices that hold more than 10 bullets. As referenced in the present case, LCMs are defined by
statute (CONN. GEN. Stat. § 53-202a). Assault weapons are generally semiautomatic firearms
that fall into one of the following three categories: assault handguns, assault rifles, and assault
shotguns. While the term "assault weapons" as referenced in the present case is defined by
statute (CONN. GEN. Stat. § 53-202w), the modern-day roots of the term can be traced back to
the 1980s, when gun manufacturers branded military-style firearms with the label in an effort to
make them more marketable to civilians. See, Violence Policy Center, Assault Weapons and
Accessories in America (1988) (Attached as Exhibit C); Violence Policy Center, Bullet Hoses:
Semiautomatic Assault Weapons-What Are They? What's So Bad about Them? (2003),
(Attached as Exhibit D); Phillip Peterson, Gun Digest Buyer's Guide to Assault Weapons (2008)
(Relevant Excerpt Attached as Exhibit E); and Erica Goode, "Even Defining 'Assault Rifles' Is
Complicated," New York Times, January 16, 2013, available at
https://www.nytimes.com/2013/01/17 /us/even-defining-assault-weapons-is-complicated.html
 (last accessed January 24, 2023).
        7 Out of all 93 high-fatality mass shootings in the United States between 1991 and 2022,

 it cannot be determined whether LCMs were used in 14 of those incidents. Furthermore, for 2 of
 these 14 incidents, it is also not possible to determine whether they involved assault weapons.
 Therefore, the graphical depictions in Figures 3-6 and the percentages discussed in Para. 12 of
 this Report are based on calculations that only use data points from the 79 incidents in which the
 involvement of assault weapons and LCMs could be determined.

                                                   6
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Figure 3. Share of High-Fatality Mass Shooting Incidents Involving Assault Weapons,
1991-2022



     Last 4 Years                                    53%




     Last 8 Years                                   50%




     Last 16 Years                        38%




     Last 32 Years                      34%



                            20%          40%              60%     80%           100%
                     0%


Note: The calculations in Figure 3 exclude incidents in which the firearms used are unknown.


Figure 4. Share of High-Fatality Mass Shooting Incidents Involving LCMs, 1991-2022



                                                                                   100%
       Last 4 Years




       Last 8 Years
                                                                                 97%




      Last 16 Years                                                       85%




      Last 32 Years                                                 77%


                             20%          40%             60%      80%          100%
                      0%


 Note: The calculations in Figure 4 exclude incidents in which it is unknown if LCMs were used.




                                                7
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Figure 5. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
Assault Weapons, 1991-2022



     Last 4 Years                                            62%




     Last 8 Years                                                  68%




    Last 16 Years                                     53%




     Last 32 Years                              46%



                     0%     20%          40%           60%               80%           100%


Note: The calculations in Figure 5 exclude incidents in which the firearms used are unknown.


Figure 6. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
LCMs, 1991-2022



      Last 4 Years                                                                          100%




      Last 8 Years                                                                         97%




     Last 16 Years                                                                   90%




     Last 32 Years                                                             84%



                     0%     20%          40%           60%               80%           100%


Note: The calculations in Figure 6 exclude incidents in which it is unknown if LCMs were used.




                                                8
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       13.     The growing use of assault weapons to carry out high-fatality mass shootings is

an obvious theme reflected in the data. The disproportionate resort to assault weapons by

perpetrators of high-fatality mass shootings is another clear theme. Based on National Sport

Shooting Foundation (NSSF) and federal government data, "modern sporting rifles"which is a

firearm industry term for AR-15-platform and AK-47-platform rifles-make up approximately

5.3% of all firearms in circulation in American society, according to the most recent publicly-
                                                                         8
available data (24.4 million out of an estimated 461.9 million firearms). And, in all likelihood,

this is an over-estimation because the figures appear to include firearms belonging to law

enforcement agencies in the United States.9 But even using this estimate (which is based in part

on NSSF data), if assault weapons were used in proportion to the percentage of modern sporting

rifles in circulation, approximately 5% of all high-fatality mass shootings would involve assault

weapons. However, as seen in Figure 3 above, civilian ownership rates and mass-shooter use

rates are not similar. Indeed, the current difference is approximately ten-fold, with the rate at



        8 The 5.3% ownership rate for modern sporting rifles was calculated using NSSF and

 Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) data. The NSSF estimates that
 there are approximately 24.4 million modern sporting rifles in civilian hands in the United States
 as of the end of 2020 (when the most recent data are available). NSSF, "Commonly Owned:
 NSSF Announces over 24 Million MSRs in Circulation," July 20, 2022, available at
 https ://www .nssf.org/ articles/commonly-owned-nssf-announces-over-24-mill ion-msrs-in-
 circulation (last accessed January 3, 2023). In a 2020 report that captured data through the end
 of 2018, the NSSF estimated that there were 433.9 million total firearms in civilian circulation in
 the United States. NSSF, Firearm Production in the United States with Firearm Import and
  Export Data, Industry Intelligence Report, 2020, at 18, available at https://www.nssf.org/wp-
  content/uploads/2020/l 1/IIR-2020-Firearms-Production-vl 4.pdf (last accessed January 3, 2023).
  According to ATF data, in 2019 and 2020, an additional 28.0 million firearms entered the
  civilian stock nationwide. ATF, National Firearms Commerce and Trafficking Assessment:
  Firearms in Commerce (2022), at 181, 188, 193, available at
  https ://www.atf.gov/firearms/ docs/report/national- firearms-commerce-and-trafficking-
  assessment-firearms-commerce-vol ume/ download (last accessed January 3, 2023). Assuming
  these figures reported by the NSSF and ATF are accurate, this brings the estimated number of
  firearms in civilian circulation through the end of 2020 to approximately 461.9 million. The
  ownership rate is calculated as follows: 24.4 million modern sporting rifles divided by 461.9
  million total firearms equals approximately 5.3%.
         9 ATF, 2022, supra note 5, at 12; NSSF, 2020, supra note 5, at 2-3.


                                                   9
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which assault weapons are now used to commit gun massacres far outpacing the rate at which

modern sporting rifles circulate amongst civilians in the United States. 10

         14.      Another pattern that stands out when examining the relationship between assault

weapons use and mass shooting violence reflects the disproportionately greater lethality

associated with the use of assault weapons and LCMs. For instance, returning to the list of the 7

deadliest individual acts of intentional criminal violence in the United States since the

coordinated terrorist attack of September 11, 2001, besides all seven of the incidents being mass

shootings, two other prominent traits are that 6 of the 7 incidents (86%) involved assault

weapons and all 7 incidents (100%) involved LCMs, as shown in Table 2. When examining all

high-fatality mass shootings since 1991, the relationship between assault weapons use, LCM use,

and higher death tolls is striking. In the past 32 years, assault weapons and LCMs have been

used, respectively, in 34% and 77% of all high-fatality mass shootings. However, as the fatality

thresholds of such incidents increase, so too do the shares of incidents involving assault weapons

and LCMs. For instance, assault weapons and LCMs were used, respectively, in 75% and 100%

of all mass shootings resulting in more than 20 deaths (Figures 7-8). As the data show, there is

an association between mass shooting lethality and the use of assault weapons and LCMs.


Table 2. The Use of Assault Weapons and LCMs in the Deadliest Acts oflntentional
Criminal Violence in the U.S. since 9/11

                                                              Involved Assault        Involved
Deaths               Date                  Location              Weapon(s)            LCM(s)
  60            October 1, 2017         Las Vegas, NV            (AR-15)                    ✓
  49             June 12, 2016           Orlando, FL                (AR-15)                 ✓
  32             April 16, 2007        Blacksburg, VA                                       ✓
  27           December 14, 2012        Newtown, CT               (AR-15)                   ✓
  25           November 5, 2017     Sutherland Springs, TX        ✓ (AR-15)                 ✓
  23            August 3, 2019           El Paso, TX              (AK-47)                   ✓
  21             May 24, 2022             Uvalde, TX              (AR-15)                   ✓




         IO Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
no way to perform a similar comparison using LCMs instead of modern sporting rifles.
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Figure 7. Percentage of High-Fatality Mass Shootings Involving Assault Weapons by
Fatality Threshold, 1991-2022



            More Than 40 Deaths                                             100%




            More Than 20 Deaths                                  75%




            More Than 10 Deaths                            61%




             More Than S Deaths                34%


                                  0%    20%    40%      60%      80%     100%


Note: The calculations in Figure 7 exclude incidents in which the firearms used are unknown.


Figure 8. Percentage of High-Fatality Mass Shootings Involving LCMs by Fatality
Threshold, 1991-2022



            More Than 40 Deaths                                              100%




            More Than 20 Deaths                                              100%




             More Than 10 Deaths                                           94%




              More Than 5 Deaths                                   77%


                                   0%   20%    40%      60%      80%      100%


 Note: The calculations in Figure 8 exclude incidents in which it is unknown if LCMs were used.




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        15.     Of the 91 high-fatality mass shootings since January 1, 1991, in which the type of

firearm used is known, 31 involved assault weapons, resulting in 425 deaths. The average death

toll for these 31 incidents is 13.7 fatalities per shooting. By contrast, the average death toll for

the 60 incidents in which it is known assault weapons were not used (which resulted in 490

fatalities) is 8.2 fatalities per shooting (Table 3). Furthermore, of the 79 high-fatality mass

shootings since January 1, 1991, in which LCM use is known, 61 involved LCMs, resulting in

704 deaths. The average death toll for these 61 incidents is 11.5 fatalities per shooting. By

contrast, the average death toll for the 18 incidents in which it is known LCMs were not used

(which resulted in 132 fatalities) is 7.3 fatalities per shooting (Table 4). In other words, in the

last 32 years, the use of assault weapons and LCMs in high-fatality mass shootings has resulted,

respectively, in 67% and 58% increases in average fatalities per incident (Tables 3 and 4).

         16.    Table 5 shows the average death tolls per high-fatality mass shooting incident that

are attributable to assault weapons beyond deaths associated with the use of LCMs. When

LCMs are not used, the average death toll is 7.3 fatalities. When LCMs are used, but not in

 conjunction with assault weapons, the average death toll is 9.2 fatalities. When LCMs are used

 with assault weapons, the average death toll is 14.0 fatalities. The data show that using LCMs

 without an assault weapon results in a 26% increase in the average death toll. However, using

 LCMs with an assault weapon results in a 52% increase in the average death toll associated with

 incidents that involved LCMs without assault weapons and a 92% increase in the average death

 toll associated with incidents that involve neither LCMs nor assault weapons. In other words,

 the increase in the death tolls for high-fatality mass shootings involving assault weapons appears

 to about one-third attributable to LCMs and about two-thirds attributable to assault weapons

          17.    This review of the data supports an obvious takeaway: assault weapons and LCMs

 are force multipliers when used to perpetrate mass shootings.




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Table 3. The Average Death Tolls Associated with the Use of Assault Weapons in High-
Fatality Mass Shootings in the U.S., 1991-2022


                                                                                Percent Increase in
                    Average Death Toll for         Average Death Toll for       Average Death Toll
                    Incidents That Did Not         Incidents That Did           Associated with the
                    Involve the Use of             Involve the Use of           Use of Assault
                    Assault Wea ons                Assault Wea ons              Wea ons
Last 32 Years              8.2 Deaths                     13.7 Deaths                     67%

Note: The calculations in Table 3 exclude incidents in which the firearms used are unknown.



Table 4. The Average Death Tolls Associated with the Use of LCMs in High-Fatality Mass
Shootings in the U.S., 1991-2022


                    Average Death Toll for         Average Death Toll for        Percent Increase in
                    Incidents That Did Not         Incidents That Did            Average Death Toll
                    Involve the Use of             Involve the Use of            Associated with the
                    LCMs                           LCMs                          Use ofLCMs
Last 32 Years              7.3 Deaths                     11.5 Deaths                     58%

Note: The calculations in Table 4 exclude incidents in which it is unknown if LCMs were used.



 Table 5. The Average Death Tolls Associated with the Use of LCMs and Assault Weapons
 in High-Fatality Mass Shootings in the U.S., 1991-2022


                                                                            Average
 Average
              Average                 Average        Average                Death       Average
 Death Toll
              Death Toll              Death Toll     Death                  Toll for    Death
 for
                                      for            Toll for               Inc1dents   Toll for
 Inc1dents    for
              Inc1dents               Inc1dents      Inc1dents              Not         Incidents
 Not
              Involvmg                Involvmg       Involvmg               Involvmg    Involvmg
 Involvmg
                           Percent    LCMs but       LCMs        Percent    LCMs or     LCMs        Percent
 LCMs or      LCMs but
                           Increase   NotAWs         and AWs     Increase   AWs         andAWs      Increase
 AWs          NotAWs

                             26%          92            14 0       52%         73          14 0       92%
     73           92


 Note: The calculations in Table 5 exclude incidents in which it is unknown if assault weapons or
 LCMs were used.



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III.    DOUBLE-DIGIT-FATALITY MASS SHOOTINGS ARE A POST-WORLD WAR II
        PHENOMENON IN AMERICAN HISTORY AND THEY INCREASINGLY INVOLVE
        ASSAULT WEAPONS


        18.    I have also examined the historical occurrence and distribution of mass shootings

resulting in 10 or more victims killed since 1776 (Table 6 and Figure 9). A lengthy search

uncovered several informative findings.'' In terms of the origins of this form of extreme gun

violence, there is no known occurrence of a mass shooting resulting in double-digit fatalities at

any point in time during the 173-year period between the nation's founding in 1776 and 1948.

The first known mass shooting resulting in 10 or more deaths occurred in 1949. In other words,

for 70% of its 247-year existence as a nation, the United States did not experience a mass

shooting resulting in double-digit fatalities, making them a relatively modern phenomena in

American history."
         19.    After the first such incident in 1949, 17 years passed until a similar mass shooting

occurred in 1966. The third such mass shooting then occurred 9 years later, in 1975. And the

fourth such incident occurred 7 years after, in 1982. Basically, the first few mass shootings

 resulting in 10 or more deaths did not occur until the post-World War II era. Furthermore, these

 first few double-digit-fatality incidents occurred with relative infrequency, although the temporal

 gap between these first four incidents shrank with each event (Table 6 and Figure 10).'




         'I searched for firearm-related "murders," using variations of the term, setting a
 minimum fatality threshold of 10 in the Newspaper Archive online newspaper repository,
 available at www.newspaperarchive.com (last accessed October 2, 2022). The Newspaper
 Archive contains local and major metropolitan newspapers dating back to 1607. Incidents of
 large-scale, inter-group violence such as mob violence, rioting, combat or battle skirmishes, and
 attacks initiated by authorities acting in their official capacity were excluded.
         12 Using the Constitution's effective date of 1789 as the starting point would lead to the

 conclusion that, for 68% of its 234-year existence as a nation, the United States did not
 experience a mass shooting resulting in double-digit fatalities.
          13 Figures 9-10 are reproduced in larger form as Exhibit F of this Report.



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Table 6. Mass Shootings Resulting in Double-Digit Fatalities in American History, 1776-
2022

                                                                  Involved
                                                                   Assault           Involved
         Date                  Location               Deaths      Weapon(s)          LCMs)
 1       9/6/1949            Camden, NE                 13           N                  N
 2        8/1/1966            Austin, TX                14           N                   y
 3      3/30/1975           Hamilton, OH                11           N                   N
 4      9/25/1982         Wilkes-Barre, PA              13             y                 y
 5      2/18/1983            Seattle, WA                13             N                 N
 6      4/15/1984           Brooklyn, NY                10             N                 N
 7      7/18/1984          San Ysidro, CA               21             y                 y
 8      8/20/1986            Edmond, OK                 14             N                 N
 9     10/16/1991            Killeen, TX                23             N                 y
10      4/20/1999            Littleton, CO              13             y                 y
11      4/16/2007          Blacksburg, VA               32             N                 y
12      3/10/2009        Geneva County, AL              10             y                 y
13        4/3/2009         Binghamton, NY               13             N                 y
14      11/5/2009           Fort Hood, TX               13             N                 y
15      7/20/2012             Aurora, CO                12             y                 y
16     12/14/2012           Newtown, CT                 27             y                 y
17      9/16/2013          Washington, DC               12             N                 N
18      12/2/2015        San Bernardino, CA             14             y                 y
19      6/12/2016            Orlando, FL                49             y                 y
20      I 0/1/2017          Las Vegas, NV               60             y                 y
21      11/5/2017       Sutherland Springs, TX          25             y                 y
22      2/14/2018            Parkland, FL               17             y                 y
23      5/18/2018               Santa Fe                10             N                 N
24     10/27/2018           Pittsburgh, PA               11            y                 y
25      11/7/2018        Thousand Oaks, CA               12            N                 y
26      5/31/2019        Virginia Beach, VA              12            N                 y
27        8/3/2019            El Paso, TX                23            y                 y
28      3/22/2021            Boulder, CO                 10            y                 y
29      5/14/2022            Buffalo, NY                 10            y                 y
30      5/24/2022             Uvalde, TX                 21            y                 y

Note: Death tolls do not include perpetrators. An incident was coded as involving an assault
weapon if at least one of the firearms discharged was defined as an assault weapon in ( 1) the
1994 Federal Assault Weapons Ban; (2) the statutes of the state where the gun massacre
occurred; or (3) a legal or judicial declaration issued by a state official. An incident was coded
as involving an LCM if at least one of the firearms discharged had an ammunition-feeding
device holding more than 10 bullets.




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Figure 9. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022


                                             i\Inss Sbootinos Resulting in Double-Dioit Fatalities in American Histo1T (1776-2022)

      60



      50




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              1776            1801            1825            1850           1875             1899             1924          1949            1973           1998          2012
                                                                                              Year




Figure 10. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1949-2022



                                               Mass Shootings Resultino in Double-Di git Fatalities in_American History(1949-2022

          60       - - ---



          50




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     -=
     2
           10


              0
                  1949         1955          1962          1969          1975          1982             1989          1996          2002          2009        2016         2022
                                                                                                 Year


                         • Assault Weapons and Large-Capacity Magazines Involved                         e No Large-Capacity Magazines or Assault Weapons Involved
                           Large Capacity Magazine Involved (But Not Assault '\Veapon ltwolnd)




                                                                                                 16
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       20.     The distribution of double-digit-fatality mass shootings changes in the early

1980s, when five such events took place in a span of just five years. (Table 6 and Figure 10).

This timeframe also reflects the first time that assault weapons were used to perpetrate mass

shootings resulting in 10 or more deaths: the 1982 Wilkes-Barre, PA, massacre (involving an

AR-15 rifle and resulting in 13 deaths) and the 1984 San Ysidro, CA, massacre (involving an Uzi

pistol and resulting in 21 deaths). But this cluster of incidents was followed by a 20-year period

in which only 2 double-digit-fatality mass shootings occurred (Figure 10). This period of time

from 1987-2007 correlates with three important federal firearms measures: the 1986 Firearm

Owners Protection Act, the 1989 C.F .R. "sporting use" importation restrictions, and the 1994

Federal Assault Weapons Ban.

       21.     It is well-documented in the academic literature that, after the Federal Assault

Weapons Ban expired in 2004, mass shooting violence increased substantially.14 Mass shootings

that resulted in 10 or more deaths were no exception, following the same pattern. In the 56 years

from 1949 through 2004, there were a total of 10 mass shootings resulting in double-digit

fatalities. In the 18 years since 2004, there have been 20 double-digit-fatality mass shootings. In

other words, the average rate of occurrence has increased over six-fold since the Federal Assault

Weapons Ban expired (Table 6 and Figure 10). (The 1994 Federal Assault Weapons Ban and its

impact on mass shooting violence is discussed in further detail in Section VI of this Report.)

       22.     As with the analyses of mass shootings discussed above in Section II, death tolls

in double-digit-fatality mass shootings are largely related to the use of assault weapons and

LCMs-firearm technologies that, in terms of mass shootings, serve as force multipliers.

        " See, for example, Louis Klarevas, supra note I (Relevant Excerpt Attached as Exhibit
G); Louis Klarevas, et al., supra note 2 (Attached as Exhibit H); Charles DiMaggio, et al.,
"Changes in US Mass Shooting Deaths Associated with the 1994-2004 Federal Assault Weapons
Ban: Analysis of Open-Source Data," 86 Journal of Trauma and Acute Care Surgery 11 (2019)
(Attached as Exhibit I); Lori Post, et al., "Impact of Fireann Surveillance on Gun Control
Policy: Regression Discontinuity Analysis," 7 JMIR Puble Health and Surveillance (2021)
(Attached as Exhibit J); and Philip J. Cook and John J. Donohue, "Regulating Assault Weapons
and Large-Capacity Magazines for Ammunition," 328 JAMA, September 27, 2022 (Attached as
Exhibit K).

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IV.    ASSAULT WEAPONS ARE ALMOST NEVER USED BY PRIVATE CITIZENS IN SELF-
       DEFENSE DURING ACTIVE SHOOTINGS

       23.     An important question that, until now, has gone unanswered is: Are assault

weapons used as frequently to stop mass shootings as they are to perpetrate them? As shown

above in Section II, assault weapons have been used to perpetrate approximately one-third of

high-fatality mass shootings in the past 32 years (Figure 3). And in the past 8 years, the share of

high-fatality mass shootings that has been perpetrated with assault weapons has risen to

approximately half (Figure 3).
       24.     The Federal Bureau oflnvestigation (FBI) has been documenting active shooter

incidents since 2000.15 According to the FBI, active shootings are violent attacks that involve

"one or more individuals actively engaged in killing or attempting to kill people in a populated

area."16 A simple way to conceptualize active shooter incidents is to think of them as attempted

mass shootings. As part of its analysis of attempted mass shootings, the FBI identifies incidents

that involved armed civilians using their personal firearms to intervene, regardless of whether the

interventions were successful in stopping the attacks and/or neutralizing the perpetrator(s).

        25.     In the 22 years between January 1, 2000, and December 31, 2021, the FBI has

 identified 406 active shootings occurring in the United States. Out of these 406 active shooter

 incidents, 15 incidents (3.7%) involved defensive gun uses (DGUs) by civilians, excluding law

 enforcement or armed security.'' Of these I5 DGUs that involved an armed private citizen


         ' AII of the information in this section, including definitions and data, are publicly
 available from the FBI. See FBI, "Active Shooter Safety Resources," available at
 https://www.fbi.gov/how-we-can-help-you/safety-resources/active-shooter-safety-resources (last
 accessed January 2, 2023). At the time that this Report was being prepared, active shooter
 incident data was not yet available for the year 2022. This data will likely be released by the FBI
 at some point in 2023. As such, the time parameter for the analysis in this section is 2000-2021.
         16 The FBI adds, "Implicit in this definition is the shooter's use of one or more firearms.

 The 'active' aspect of the definition inherently implies the ongoing nature of the incidents, and
 thus the potential for the response to affect the outcome." Ibid.
         Tm 14of these 15 DGU-involved active shooter incidents, there was an exchange of
 gunfire. For the one incident that did not involve an exchange of gunfire, the gun (a handgun)
 was used to detain the active shooter after the shooting had ceased. Ibid.

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intervening, 12 incidents involved handguns. The remaining 3 incidents involved long guns: 1

shotgun, 1 bolt-action rifle, and 1 assault rifle. In other words, out of the 15 incidents where an
                                                                                 18
armed civilian intervened, only 1 incident (6.7%) involved an assault weapon.         Within the

broader context of all active shooter incidents, only 1 incident out of 406 in the past 22 years

(0.2%) involved an armed civilian intervening with an assault weapon."

        26.    The bottom line: assault weapons are used by civilians with a far greater

frequency to perpetrate mass shootings than to stop mass shootings."




        I The FBI also identifies an incident in which an armed individual (a local firefighter)
subdued and detained a school shooter, but there is no evidence that the armed firefighter drew
his handgun during the incident. Moreover, local authorities have refused to comment on
whether the firefighter ever drew his handgun. See Carla Field, "Firefighter Was Armed During
Takedown of Shooting Suspect, Sheriff Says," WYFF, October 3, 2016, available at
https://www.wyff4.com/article/firefighter-was-armed-during-takedown-of-shooting-suspect-
sheriff-says/7147424 (last accessed January 3, 2023). Adding this incident to the 15 DGU-
involved incidents would mean that 6.3% (as opposed to 6.7%) of the active shooter incidents,
where an armed civilian intervened, involved an assault weapon.
         "FBI, supra note 12. The one DGU that involved an assault weapon was the 2017
 church massacre in Sutherland Springs, Texas. In that incident, an armed private citizen used an
 AR-15-style assault rifle to wound the perpetrator as he was attempting to flee the scene. While
 the perpetrator was still able to flee the scene despite being shot, minutes later, he crashed his
 vehicle trying to escape and then took his life with his own firearm before law enforcement could
 apprehend him. See Adam Roberts, "Man Who Shot Texas Gunman Shares His Story,"
 KHBS/K.HOG, November 7, 2017, available at https://www.4029tv.com/article/man-who-shot-
 texas-church-gunman-shares-his-story/13437943 (last accessed January 3, 2023).
         20Given the limitations of the active shooter incident data reported by the FBI, it is not
 possible to discern whether any of the civilian DGUs involved an armed civilian using a firearm
 with an LCM at the time of the intervention. As such, it is not possible to perform a similar
 comparison between mass shootings perpetrated with LCM-equipped firearms and mass
 shootings thwarted with LCM-equipped firearms.

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V.     OWNERSHIP RATES OF "MODERN SPORTING RIFLES" IN THE U.S.

       27.     As noted above in Para. 13, based on NSSF and federal government data, modern

sporting rifles-such as AR- and AK-platform rifles-make up approximately 5.3% of all

firearms in circulation in American society, according to the most recent publicly-available data

(24.4 million out of an estimated 461.9 million firearms). Furthermore, in its most recent survey

data (2022), the NSSF found that civilian owners of modern sporting rifles own, on average, 3.8
                                                                        21
such rifles, with 24% of these owners possessing only one such rifle.        Based on this data, only

6.4 million gun ownersout of an estimated 81 million Americans who own at least one

personal firearm-own modern sporting rifles.22 In other words, less than 8% of all civilian gun

owners in the United States own modern sporting rifles.23 In terms of the total population of the

United States, estimated by the Census Bureau to be approximately 333 million people in 2022,
                                                             24
less than 2% of all Americans own a modern sporting rifle.

        ?'NSSF, Modern Sporting Rifle: Ownership, Usage and Attitudes Toward AR- and AK-
Platform Modern Sporting Rifles, Comprehensive Consumer Report, 2022, at 12, available at
https://www3.nssf.org/share/PDF/pubs/NSSF-MSR-Comprehensive-Consumer-Report.pdf (last
accessed January 16, 2023).
        22 The estimate that approximately 6.4 million gun owners possess what the NSSF
considers to be modern sporting rifles is calculated by dividing the 3.8 average number of such
rifles that each modern sporting rifle owner possesses into the 24.4 million such rifles estimated
to be in civilian circulation. This calculation (24.4 million divided by 3.8) equals 6.4 million.
Based on survey data, 81 million American adults are estimated to own guns. Andy Nguyen,
"Proposed Assault Weapons Ban Won't Turn Gun Owners into Felons Overnight," PolitiFact,
The Poynter Institute, August 3, 2022, available at
https://www.politifact.com/factchecks/2022/aug/03/instagram-posts/proposed-assault-weapons-
ban-wont-tum-gun-owners- (last accessed January 16, 2023).
         23 The finding that less than 8% of all gun owners possess modern sporting rifles is
 calculated by dividing the 6.4 million modern sporting rifle owners by the 81 million American
 adults estimated to be gun owners. This calculation (6.4 million divided by 81 million) equals
 7.9%.
         24The Census Bureau's total population estimate for 2022 is 333,287,557 persons. U.S.
 Census Bureau, "Growth in U.S. Population Shows Early Indication of Recovery Amid COVID-
 19 Pandemic," December 22, 2022, available at https://www_.census.gov/newsroom/press-
 releases/2022/2022-population-
 estimates .html# :~:text=DEC. ,components%20of%20change%20released%20today (last
 accessed January 16, 2023). The finding that less than 2% of all Americans possess modern
 sporting rifles is calculated by dividing the 6.4 million modern sporting rifle owners by the 333

                                                 20
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       28.     In deriving its estimates, the NSSF often relies on United States government data,

particularly ATF data.25 According to the ATF, from 1986 through 2020 (which reflects the

most currently-available data), the civilian stock of firearms in the United States has been made

up predominantly of handguns.26 As Figure 11 shows, handguns account for 50% of the civilian

stock of firearms, rifles account for 33%, and shotguns account for 17%.

       29.     According to A TF data, handguns are the most commonly owned firearms; not
                                                                                         27
rifles, and most certainly not modern sporting rifles that qualify as assault weapons.


Figure 11. Share of Firearms in Civilian Circulation in the United States, 1986-2020


                             Shotguns-
                             I 17%




million persons in United States. This calculation (6.4 million divided by 333 million) equals
1.9%.
        25 NSSF, 2020, supra note 6.

        26 For data on the number of firearms manufactured, imported, and exported, by category

of firearm, from 2000-2020, see ATF, supra note 6. For similar data covering 1986-1999, see
ATF, Firearms Commerce in the United States: Annual Statistical Update, 2021, available at
https ://www.atf.gov/firearms/docs/report/2021-firearms-commerce-report/download (last
accessed January 16, 2023).
        27 Due to the lack of accurate data on the number of LCMs in civilian circulation, there is

 no way to perform a similar analysis of ownership rates using LCMs instead of modern sporting
 rifles.

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VI.    RESTRICTIONS ON ASSAULT WEAPONS AND LCMS REDUCE THE INCIDENCE OF GUN
       MASSACRES, RESULTING IN LIVES SAVED


       VI.      A.        BANS IN THEORY


       30.      As conceptualized in the Trinity of Violence model that I developed in my book

on mass shootings, every act of violence involves three elements: a perpetrator, a weapon, and a

target (Figure 12).28 The key to mitigating v10lence is to "break the trinity" by hindering at least

one of the three elements. This is accomplished by dissuading the potential offender(s), denying
                                                                               29
the potential instrument(s) of violence, or defending the potential victim(s).


Figure 12. The Trinity of Violence




                                                 Act of
                                                Violence



                                               Perpetrator



        31.         Bans are law-based concepts that prohibit certain behaviors by criminalizing

them." Bans on assault weapons and LCMs generally make it illegal to manufacture, import,

transfer, own, or possess assault weapons and/or LCMs. Bans work in relation to two of the

three elements of the Trinity of Violence: dissuasion and denial. With regard to perpetrators,


        2 Klarevas, supra note 1.
        2 % 1bud.

        30 Philip J. Cook, "Research in Criminal Deterrence
                                                          Laymng the Groundwork for the
 Second Decade," 2 Crzme and Justzce 211 (1980) (Attached as Exhibit L); and Daniel S. Nagin,
 "Deterrence in the Twenty-First Century," 42 Crune andJustzce 199 (2013) (Attached as
 Exhibit M).

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bans use the threat of criminal penalty to deter potentzal offenders from engaging in the

prohibited behavior. In the case of bans on assault weapons and LCMs, they threaten conviction,

imprisonment, and/or fines should an individual build or otherwise acquire a prohibited assault

weapon or LCM. The primary mechanism at work here centers around dissuading potential

shooters from trying to acquire banned firearm technologies. But there is also a secondary

mechanism at work, focused on the assault weapon or LCM itself: deprive potentzal znstruments

of vzolence. Knowing that someone who is willing to commit murder might not be deterred from

violating another criminal law, like possessing a prohibited item, bans on assault weapons and

LCMs also threaten punishment against anyone who tries to transfer (through sale, gift, or loan)

a restricted item to someone who is prohibited from acquiring it. This, in essence, reinforces the
                                                                                                31
strategy of dissuading the offender with the strategy of denying the instruments of violence.

        32.     Ideally, someone intent on committing a mass shooting with an assault weapon

 and/or LCM would be dissuaded from going on a rampage by the fact that their means of choice

 are not available. In such a scenario, the attack would be quashed. This suppression effect is

 akin to what economists and psychologists refer to as a positive spillover effect, where one
                                                                           32
 desirable outcome produces a second, loosely-related desirable outcome.        A real-world

 example of this is the so-called "Matrix Killings," where a 19-year-old Virginia man blamed The

 Matrx film for driving him to murder his parents with a shotgun. At the time of the crime in

 2003, the federal Assault Weapons Ban was in effect, preventing him from obtaining an assault

 rifle. In a 2013 jailhouse interview, he told CNN, "If I had an assault weapon, things would have

 been much worse." He added that had he had an AR-15 instead of a shotgun, he is positive that,

 after killing his parents, he would have gone on rampage and "killed as many people as I


         3l Klarevas, supra note l.

         3 Paul Dolan and Mateo M Galizzi, "Like Ripples on a Pond. Behavioral Spillovers and
  Their Implications for Research and Policy," 47 Journal of Economc Psychology 1 (2015)
  (Attached as Exhibit N); K. Jane Muir and Jessica Keim-Malpass, "Analyzing the Concept of
  Spillover Effects for Expanded Inclusion in Health Economics Research," 9 Journal of
  Comparatve Effectiveness Research 755 (2020) (Attached as Exhibit O).

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possibly could." As he noted, "because I didn't have an assault weapon, that didn't happen."33

In this case, the unavailability of an assault weapon due to the federal ban suppressed the

perpetrator's impulse to commit a mass shooting.

        33.     Of course, many potential mass shooters will not be discouraged from going on a

killing spree just because their means of choice are unavailable. They will instead replace their

desired instruments of violence with available alternatives. This is commonly referred to as the

substitution effect, wherein an act of violence is still perpetrated, but with a different, less lethal

instrument ofviolence.34 A real-world example of the substitution effect at work is the 2019

synagogue rampage in Poway, California. In that attack, the gunman appears to have been

unable to acquire an assault rifle and large-capacity magazines due to California's ban on both.

Instead, he acquired what is known as a California-compliant semiautomatic rifle (which lacked

features such as a pistol grip and a forward hand grip) and 10-round magazines. As a result, the

gunman quickly ran out of bullets, and while pausing to reload-which was extremely difficult

given that he did not have assault weapon features on his rifle that facilitated fast reloading-a

congregant chased him away, preventing him from continuing his attack.35 In this incident,

which resulted in only one death, California's ban on assault weapons and LCMs worked exactly

as intended. It prevented the active shooter from being able to kill enough people to surpass the

fatality threshold of a mass shooting. Stated differently, if you examine data sets that identify

mass shootings, you will not find the Poway synagogue attack listed in them.


        33 ·Inside the Mind of a Killer," CNN (Transcripts), August 23, 2013, available at

https://transcripts.cnn.com/show/pmt/date/2013-08-23/segment/0 1 (last accessed January 24,
2023.
       3 Philip J. Cook, "The Effect of Gun Availability on Violent Crime Patterns," 455
Annals of the American Academy of Political and Social Science 63 (1981) (Attached as Exhibit
P); Anthony A. Braga, et al. "Firearm Instrumentality: Do Guns Make Violent Situations More
Lethal?" 4 Annual Review of Criminology 147 (2021) (Attached as Exhibit Q).
        3   °
          Elliot Spagat and Julie Watson, "Synagogue Shooter Struggled with Gun, Fled with 50
Bullets," Associated Press, April 30, 2019, available at https://apnews.com/article/shootings-
north-america-us-news-ap-top-news-ca-state-wire-84173 78d6b934a8f94e 1 ea63fd7c0aea (last
accessed January 24, 2023).

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       34.     It might seem perverse to think that restrictions on certain instruments of violence

operate on the premise that, if an act of violence cannot be averted, then it will proceed with an

alternative instrument. Nevertheless, this is exactly how bans on assault weapons and LCMs

work in theory. They suppress the inclinations of potential mass shooters to go on killing

rampages in the first place because their means of choice are unavailable. And, should

deterrence fail, bans force perpetrators to substitute less lethal instruments for more dangerous,

prohibited ones, reducing the casualty tolls of attacks when they do occur.

       VI.     B.      BANS IN PRACTICE


        35.    In light of the growing threat posed by mass shootings, legislatures have enacted

restrictions on assault weapons and LCMs in an effort to reduce the occurrence and lethality of

such deadly acts of firearm violence. Prominent among these measures was the 1994 Federal

Assault Weapons Ban. In September 1994, moved to action by high-profile shooting rampages

that occurred the previous year at a San Francisco law firm and on a Long Island Rail Road

commuter train, the U.S. Congress enacted a ban on assault weapons and LCMs that applied to

all 50 states plus the District of Columbia, bringing the entire country under the ban."

        36.     Like the state bans on assault weapons and LCMs that were implemented before

it, the federal ban was aimed primarily at reducing mass shooting violence-an objective the ban

sought to achieve by prohibiting the manufacture, importation, possession, and transfer of assault

weapons and LCMs not legally owned by civilians prior to the date of the law's effect

(September 13, 1994).° Congress, however, inserted a sunset provision in the law which

allowed the federal ban to expire in exactly 10 years, if it was not renewed beforehand. As



        36 Pub. L. No. 103-322, tit. XI, subtit. A, 108 Stat. 1796, 1996-2010 (codified as former

 18 U.S.C. § 922(v), (w)(l) (1994)).
        37 Christopher Ingraham, "The Real Reason Congress Banned Assault Weapons in

 1994-and Why It Worked," Washington Post, February 22, 2018, available at
 https ://www.washingtonpost.com/news/wonk/wp/2018/02/22/the-real-reason-congress-banned-
 assault-weapons-in- l 994-and-why-it-worked (last accessed January 2, 2023).

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Congress ultimately chose not to renew the law, the federal ban expired on September 13, 2004.

In the aftermath of the federal ban's expiration, mass shooting violence in the United States

increased substantially.38
       37.     In 2013, following the mass shooting that occurred at Sandy Hook Elementary

School, in Newtown, Connecticut, that claimed the lives of 20 first-graders and 6 educators and

that left another 2 educators injured, the Connecticut legislature passed S.B. 1160, which

enacted new statewide restrictions on assault weapons and LCMs. In introducing S.B. 1160 on

the Senate floor, the President Pro Tempore of the Senate, Senator Donald Williams, noted that

the legislature felt compelled to take action in response to the tragedy in Newtown as well as a

dozen other shooting rampages, including one at a Connecticut beer distribution center and

another at the offices of the Connecticut state lottery. 39 Senator Williams characterized "the

heart of our response ... to the Newtown tragedy and all of the other mass shootings that I

enumerated at the outset," as reflected in S.B. 1160, as com[ing] down to a stronger restriction

 on the assault weapons that have been used in these mass shootings and a limitation on the large-

 capacity magazines."
        38.     The legislative intent of Connecticut is similar to that of other legislative bodies

 that have restricted assault weapons and LCMs. The primary objective of bans on assault

 weapons and LC Ms is to reduce the frequency and lethality of mass shootings. Because, on

 average, the use of assault weapons and LCMs results in higher death tolls in mass shootings, the

 rationale for imposing restrictions on assault weapons and LCMs is to reduce the loss of life

 associated with the increased kill potential of such firearm technologies.




         38 ,See sources cited supra note ll.

         3? See, Connecticut Senate, "P A. 13-3, S B. 1160," Senate Session Transcripts, April 3,

 2013, at 2 (Attached as Exhibit R).
          0
         " Ibid., at 65.


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       39.     Currently, 30% of the U.S. population is subject to a ban on both assault weapons

and LCMs. The following is a list of the ten state-level jurisdictions that presently ban both

assault weapons and LCMs: New Jersey (September 1, 1990); Hawaii (July 1, 1992, assault

pistols only); Maryland (June 1, 1994, initially assault pistols but expanded to long guns October

1, 2013); Massachusetts (July 23, 1998); California (January 1, 2000); New York (November 1,

2000); the District of Columbia (March 31, 2009); Connecticut (April 4, 2013); Delaware

(August 29, 2022); and Illinois (January 10, 2023).41 As a reminder, from September 13, 1994,

through September 12, 2004, the entire country was also subject to federal ban on both assault

weapons and LCMs.
        40.     In the field of epidemiology, a common method for assessing the impact of laws

and policies is to measure the rate of onset of new cases of an event, comparing the rate when

and where the laws and policies were in effect against the rate when and where the laws and

policies were not in effect. This measure, known as the incidence rate, allows public health

 experts to identify discernable differences, while accounting for variations in the population,

 over a set period of time. Relevant to the present case, calculating incidence rates across states,

 in a manner that captures whether or not bans on both assault weapons and LCMs were in effect

 during the period of observation, allows for the assessment of the effectiveness of such bans. In

 addition, fatality rates-the number of deaths, per population, that result from particular events

 across different jurisdictions-also provide insights into the impact bans on assault weapons and
                                          42
 LCMs have on mass shooting violence.




         dl The dates in parentheses mark the effective dates on which the listed states became

 subject to bans on both assault weapons and LCMs.
        "? For purposes of this Report, incidence and fatality rates are calculated using methods
 and principles endorsed by the Centers for Disease Control. See Centers for Disease Control and
 Prevention, Principles of Epidemiology in Public Health Practice: An Introduction to Applied
 Epidemiology and Biostatistics (2012), available at https://stacks.cdc.gov/view/cdc/13178 (last
 accessed January 3, 2023).

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       41.     Since September 1, 1990, when New Jersey became the first state to ban both

assault weapons and LCMs, through December 31, 2022, there have been 93 high-fatality mass

shootings in the United States (Exhibit B).43 Calculating incidence and fatality rates for this

time-period, across jurisdictions with and without bans on both assault weapons and LCMs,

reveals that states subject to such bans experienced a 56% decrease in high-fatality mass

shooting incidence rates. They also experienced a 66% decrease in high-fatality mass shooting
                                                                                   44
fatality rates, regardless of the weaponry used by the mass murderers (Table 7).

        42.    When calculations go a step further and are limited to mass shootings involving

assault weapons or LCMs, the difference between the two jurisdictional categories is even more

pronounced. In the time-period from January 1, 1991, through December 31, 2022, accounting

for population, states with bans on both assault weapons and LCMs experienced a 62% decrease

in the rate of high-fatality mass shootings involving the use of assault weapons or LCMs.

Similarly, jurisdictions with such bans in effect experienced a 72% decrease in the rate of deaths

resulting from high-fatality mass shootings perpetrated with assault weapons or LCMs (Table 7).

        43.     All of the above epidemiological calculations lead to the same conclusion: when

 bans on assault weapons and LCMs are in effect, per capita, fewer high-fatality mass shootings

 occur and fewer people die in such shootings especially incidents involving assault weapons or

 LCMs, where the impact is most striking.




         d3 There were no state bans on both assault weapons and LCMs in effect prior to
 September 1, 1990. Therefore, January 1, 1991, is a logical starting point for an analysis of the
 impact of bans on assault weapons and LCMs. As there were no high-fatality mass shootings in
 the last four months of 1990, extending the analysis back to September 1, 1990, would make no
 difference.
          " Between September 13, 1994, and September 12, 2004, the Federal Assault Weapons
 Ban was in effect. During that 10-year period, all 50 states and the District of Columbia were
 under legal conditions that restricted assault weapons and LCMs. As such, the entire country is
  coded as being under a ban on both assault weapons and LCMs during the timeframe that the
  Federal Assault Weapons Ban was in effect.

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       44.     The main purpose of bans on assault weapons and LCMs is to restrict the

availability of assault weapons and LCMs. The rationale is that, if there are fewer assault

weapons and LCMs in circulation, then potential mass shooters will either be dissuaded from

attacking or they will be forced to use less-lethal firearm technologies, resulting in fewer lives

lost. The epidemiological data lend support to the policy choices of Connecticut that seek to

enhance public safety through restrictions on civilian access to assault weapons and LCMs.

       45.     While imposing constraints on assault weapons and LCMs will not prevent every

mass shooting, the data suggest that legislative efforts to deny gunmen access to assault weapons

and LCMs should result in lives being saved.


Table 7. Incidence and Fatality Rates for High-Fatality Mass Shootings, by Whether or
Not Bans on Assault Weapons and LCMs Were in Effect, 1991-2022

                                                             Annual
                                Annual                       Incidents                 Annual
                                Average                      per 100                   Deaths per
                                Population      Total        Million        Total      100 Million
                                (Millions)      Incidents    Population     Deaths     Population
All High-Fatality Mass
Shootings
Non-Ban States                         162.0            68           1.31       720           13.89

 Ban States                             135.8           25           0.58       208            4.79

 Percentage Decrease in Rate
 for Ban States                                                      56%                       66%
 High-Fatality Mass
 Shootings Involving
 Assault Weapons or LCMs
 Non-Ban States                         162.0           47           0.91        575           11.09

 Ban States                             135.8           15           0.35        135            3.11

 Percentage Decrease in Rate
 for Ban States                                                      62%                        72%

 Note: Population data are from U.S. Census Bureau, "Population and Housing Unit Estimates
 Datasets," available at https://www.census.gov/programs-surveys/popest/data/data-sets.html
 (last accessed January 3, 2023).

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                         EXHIBIT A
        to Expert Report of Professor Louis Klarevas
    Case 3:22-cv-01223-JBA Document 59-3 Filed 07/26/23 Page 33 of 516




                                   Louis J. Klarevas
                              Email: ljk2149@tc.columbia.edu


Education

Ph.D. International Relations, 1999
      School of International Service
      American University
      Washington, DC

B.A.   Political Science, Cum Laude, 1989
       School of Arts and Sciences
       University of Pennsylvania
       Philadelphia, PA


Author

Rampage Nation. Securing America from Mass Shootings


Current Positions

Research Professor, Teachers College, Columbia University, New York, NY, 2018-Present

Faculty Affiliate, Media and Social Change Lab (MASCLab), Teachers College, Columbia
University, New York, NY, 2019-Present


Professional Experience

Academic Experience (Presented zn Academic Years)

Associate Lecturer, Department of Global Affairs, University of Massachusetts - Boston,
Boston, MA, 2015-2020

Senior Fulbright Scholar (Security Studies), Department of European and International Studies,
University of Macedonia, Thessaloniki, Greece, 2011-2012

Founder and Coordinator, Graduate Transnational Security Program, Center for Global Affairs,
New York University, New York, NY, 2009-2011

Faculty Affiliate, A. S. Onassis Program in Hellenic Studies, New York University, New York,
NY, 2007-2011

Clinical Faculty, Center for Global Affairs, New York University, New York, NY, 2006-2011


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Adjunct Professor, Center for Global Affairs, New York University, New York, NY, 2004-2006

Assistant Professor of Political Science, City University of New York - College of Staten Island,
Staten Island, NY, 2003-2006

Associate Fellow, European Institute, London School of Economics and Political Science,
London, England, UK, 2003-2004

Defense Analysis Research Fellow, London School of Economics and Political Science, London,
England, UK, 2002-2004

Visiting Assistant Professor of Political Science and International Affairs, George Washington
University, Washington, DC, 1999-2002

Adjunct Professor of Political Science, George Washington University, Washington, DC, 1998-
1999

Adjunct Professor of International Relations, School of International Service, American
University, Washington, DC, 1994-1995

Dean's Scholar, School oflnternational Service, American University, Washington, DC, 1989-
1992

Professional Experience (Presented in Calendar Years)

Consultant, National Joint Terrorism Task Force, Federal Bureau oflnvestigation, Washington,
DC, 2015

Writer, Prometheus Books, Amherst, NY, 2012-2015

Consultant, United States Institute of Peace, Washington, DC, 2005, 2008-2009

Research Associate, United States Institute of Peace, Washington, DC, 1992-1998

Faculty Advisor, National Youth Leadership Forum, Washington, DC, 1992




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Courses Taught

Graduate                                               Undergraduate
Counter-Terrorism and Homeland Security                American Government and Politics
International Political Economy                        European-Atlantic Relations
International Politics in a Post-Cold War Era          International Political Economy
International Security                                 International Relations
Machinery and Politics of American Foreign Policy      Transnational Terrorism
Role of the United States in World Affairs             United States Foreign Policy
Security Policy
Theories of International Politics
Transnational Security
Transnational Terrorism
United States Foreign Policy


Scholarship

"State Fireaim Laws, Gun Ownership, and K-12 School Shootings: Implications for School
Safety," Journal ofSchool Violence, 2022 (co-authored with Paul M. Reeping, Sonali Rajan, et
al.)

"The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 1990-2017,"
American Journal of Public Health, November 2019 (co-authored with Andrew Conner and
David Hemenway)

"Changes in U.S. Mass Shooting Deaths Associated with the 1994-2004 Federal Assault
Weapons Ban," Journal of Trauma and Acute Care Surgery, May 2019 (correspondence)

Firearms on College Campuses: Research Evidence and Policy Implications, report prepared by
the Johns Hopkins University Center for Gun Policy and Research for the Association of
American Universities, October 2016 ( co-authored with Daniel W. Webster, John J. Donohue, et
al.)

Rampage Nation: Securing America.from Mass Shootings, Prometheus Books, 2016

"No Relief in Sight: Barring Bivens Suits in Torture Cases," Presidential Studies Quarterly, June
2013

Review of James Edward Miller's The United States and the Making of Modern Greece· History
and Power, 1950-1974, Presidential Studies Quarterly, June 2012 (book review)

"Trends in Terrorism Since 9/11," Georgetown Journal of International Affairs, Winter/Spring
2011

"The Death Penalty Should Be Decided Only Under a Specific Guideline," in Christine Watkins,
ed., The Ethics of Capital Punishment (Cengage/Gale Publishers, 2011)


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Saving Lives in the 'Convoy ofJoy' Lessons for Peace-Keeping.from UNPROFOR, United
States Institute of Peace Case Study, 2009

"Casualties, Polls and the Iraq War," International Security, Fall 2006 (correspondence)

"The CIA Leak Case Indicting Vice President Cheney's Chief of Staff," Presidential Studies
Quarterly, June 2006

"Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
Coup," Diplomatic History, June 2006

"Greeks Bearing Consensus: An Outline for Increasing Greece's Soft Power in the West,"
Mediterranean Quarterly, Summer 2005

"W Version 2.0: Foreign Policy in the Second Bush Term," The Fletcher Forum of World
Affairs, Summer 2005

"Can You Sue the White House? Opening the Door for Separation of Powers Immunity in
Cheney v. District Court," Presidential Studies Quarterly, December 2004

"Political Realism: A Culprit for the 9/11 Attacks," Harvard International Review, Fall 2004

Greeks Bearing Consensus. An Out/me for Increasing Greece's Soft Power in the West, Hellenic
Observatory Discussion Paper 18, London School of Economics, November 2004

Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
Coup, Hellenic Observatory Discussion Paper 15, London School of Economics, February 2004

"Not a Divorce," Survival, Winter 2003-2004 (correspondence)

"Media Impact," in Mark Rozell, ed., The Media and American Politics: An Introduction
(Lanham, MD: Rowman & Littlefield, 2003)

"The Surrender of Alleged War Criminals to International Tribunals: Examining the
Constitutionality of Extradition via Congressional-Executive Agreement," UCLA Journal of
International Law and Foreign Affairs, Fall/Winter 2003

"The Constitutionality of Congressional-Executive Agreements: Insights from Two Recent
Cases," Presidential Studies Quarterly, June 2003

"The 'Essential Domino' of Military Operations: American Public Opinion and the Use of
Force," International Studies Perspectives, November 2002

"The Polls-Trends: The United States Peace Operation in Somalia," Public Opinion Quarterly,
Winter 2001



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American Public Opinzon on Peace Operations: The Cases of Somalia, Rwanda, and Haiti,
University of Michigan Dissertation Services, 1999

"Turkey's Right v. Might Dilemma in Cyprus: Reviewing the Implications of Loizidou v.
Turkey," Mediterranean Quarterly, Spring 1999

"An Outline of a Plan Toward a Comprehensive Settlement of the Greek-Turkish Dispute," in
Vangelis Calotychos, ed., Cyprus and Its People Nation, Identity, and Experience in an
Unimaginable Community, 1955-1997, Boulder, CO: Westview Press, 1998 (co-authored with
Theodore A. Couloumbis)

"Prospects for Greek-Turkish Reconciliation in a Changing International Setting," in Tozun
Bahcheli, Theodore A. Couloumbis, and Patricia Carley, eds., Greek-Turkish Relations and US.
Foreign Policy: Cyprus, the Aegean, and Regional Stability, Washington, D.C.: U.S. Institute of
Peace, 1997 (co-authored with Theodore A. Couloumbis) [Reproduced as "Prospects for Greek-
Turkish Reconciliation in a Changing International Setting," in Robert L. Pfaltzgraff and
Dimitris Keridis, eds., Security in Southeastern Europe and the US-Greek-Relationship,
London: Brassey's, 1997 (co-authored with Theodore A. Couloumbis)]

"Structuration Theory in International Relations," Swords & Ploughshares, Spring 1992


Commentaries and Correspondence

"Why Our Response to School Shootings Is All Wrong," Los Angeles Times, May 25, 2022 (co-
authored with Sonali Rajan and Charles Branas)

"COVID-19 Is a Threat to National Security. Let's Start Treating It as Such," Just Security,
August 6, 2020 (co-authored with Colin P. Clarke)

"If the Assault Weapons Ban 'Didn't Work,' Then Why Does the Evidence Suggest It Saved
Lives?" Los Angeles Times, March 11, 2018 (correspondence)

"London and the Mainstreaming of Vehicular Terrorism," The Atlantic, June 4, 2017 (co-
authored with Colin P. Clarke)

"Firearms Have Killed 82 of the 86 Victims of Post-9/11 Domestic Terrorism," The Trace, June
30, 2015 [Reproduced as "Almost Every Fatal Terrorist Attack in America since 9/1 Has
Involved Guns." Vice, December 4, 2015]

"International Law and the 2012 Presidential Elections," Vitoria Institute, March 24, 2012

"Al Qaeda Without Bin Laden," CBS News Opinion, May 2, 2011

"Fuel, But Not the Spark," Zocalo Public Square, February 16, 2011

"After Tucson, Emotions Run High," New York Times, January 12, 2011 (correspondence)


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"WikiLeaks, the Web, and the Need to Rethink the Espionage Act," The Atlantic, November 9,
2010

"Deprogramming Jihadis," New York Times Magazine, November 23, 2008 (correspondence)

"Food: An Issue of National Security," Forbes (Forbes.com), October 25, 2008

"An Invaluable Opportunity for Greece To Increase Its Standing and Influence on the World
Stage," Kathimerini (Greece), January 13, 2005

"How Many War Deaths Can We Take?" Newsday, November 7, 2003

"Down But Not Out," London School of Economics Iraq War Website, April 2003

"Four Half-Truths and a War," American Reporter, April 6, 2003

"The Greek Bridge between Old and New Europe," National Herald, February 15-16, 2003

"Debunking a Widely-Believed Greek Conspiracy Theory," National Herald, September 21-22,
2002

"Debunking of Elaborate Media Conspiracies an Important Trend," Kathzmerini (Greece),
September 21, 2002 [Not Related to September 21-22, 2002, National Herald Piece with Similar
Title]

"Cold Turkey," Washington Times, March 16, 1998

"If This Alliance Is to Survive ... ," Washington Post, January 2, 1998 [Reproduced as "Make
Greece and Turkey Behave," International Herald Tribune, January 3, 1998]

"Defuse Standoff on Cyprus," Defense News, January 27-February 2, 1997

"Ukraine Holds Nuclear Edge," Defense News, August 2-8, 1993


Commentaries Written for New York Daily News -
https://www.nydailynews.com/authors/?author=Louis+Klarevas

"Careful How You Talk about Suicide, Mr. President," March 25, 2020 (co-authored with Sonali
Rajan, Charles Branas, and Katherine Keyes)

"Only as Strong as Our Weakest Gun Laws: The Latest Mass Shooting Makes a Powerful Case
for Federal Action,"November 8, 2018

"What to Worry, and not Worry, About: The Thwarted Pipe-Bomb Attacks Point to Homeland
Security Successes and Vulnerabilities," October 25, 2018


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"After the Santa Fe Massacre, Bury the 'Good Guy with a Gun' Myth: Armed Staffers Won't
Deter Shooters or Keep Kids Safe," May 22, 2018

"It's the Guns (and Ammo), Stupid: Dissuading Killers and Hardening Targets Matter Too, But
Access to Weapons Matters Most," February 18, 2018

"The Texas Shooting Again Reveals Inadequate Mental-Health Help in the U.S. Military,"
November 7, 2017

"Why Mass Shootings Are Getting Worse: After Vegas, We Urgently Must Fix Our Laws,"
October 2, 2017

"N.Y. Can Lead the Nation in Fighting Child Sex Trafficking," April 21, 2009 (co-authored with
Ana Burdsall-Morse)

"Crack Down on Handguns - They're a Tool of Terror, Too," October 25, 2007


Commentaries Written for The Buffington Post- www.huffingtonpost.com/louis-klarevas

"Improving the Justice System Following the Deaths of Michael Brown and Eric Gamer,"
December 4, 2014

"American Greengemony: How the U.S. Can Help Ukraine and the E.U. Break Free from
Russia's Energy Stranglehold," March 6, 2014

"Guns Don't Kill People, Dogs Kill People," October 17, 2013

"Romney the Liberal Internationalist?" October 23, 2012

"Romney's Unrealistic Foreign Policy Vision: National Security Funded by Money Growing
Trees," October 10, 2012

"Do the Wrong Thing: Why Penn State Failed as an Institution," November 14, 2011

"Holding Egypt's Military to Its Pledge of Democratic Reform," February 11, 2011

"The Coming Twivolutions? Social Media in the Recent Uprisings in Tunisia and Egypt,"
January 31, 2011

"Scholarship Slavery: Does St. John's 'Dean of Mean' Represent a New Face of Human
Trafficking?" October 6, 2010

"Misunderstanding Terrorism, Misrepresenting Islam," September 21, 2010

"Bombing on the Analysis of the Times Square Bomb Plot," May 5, 2010


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"Do the Hutaree Militia Members Pose a Terrorist Threat?" May 4, 2010

"Addressing Mexico's Gun Violence One Extradition at a Time," March 29, 2010

"Terrorism in Texas: Why the Austin Plane Crash Is an Act of Terror," February 19, 2010

"Securing American Primacy by Tackling Climate Change: Toward a National Strategy of
Greengemony," December 15, 2009

"Traffickers Without Borders: A 'Journey' into the Life of a Child Victimized by Sex
Trafficking," November 17, 2009

"Beyond a Lingering Doubt: It's Time for a New Standard on Capital Punishment," November 9,
2009

"It's the Guns Stupid: Why Handguns Remain One of the Biggest Threats to Homeland
Security," November 7, 2009

"Obama Wins the 2009 Nobel Promise Prize," October 9, 2009


Commentaries for Foreign Policy-www.foreignpolicy.com

"The White House's Benghazi Problem," September 20, 2012

"Greeks Don't Want a Grexit," June 14, 2012

"The Earthquake in Greece," May 7, 2012

"The Idiot Jihadist Next Door," December 1, 2011

"Locked Up Abroad," October 4, 2011


Commentaries for The New Republic - www.tnr.com/users/louis-klarevas

"What the U.N. Can Do To Stop Getting Attacked by Terrorists," September 2, 2011

"Is It Completely Nuts That the British Police Don't Carry Guns? Maybe Not," August 13, 2011

"How Obama Could Have Stayed the Execution of Humberto Leal Garcia," July 13, 2011

"After Osama bin Laden: Will His Death Hasten Al Qaeda's Demise?" May 2, 2011

"Libya's Stranger Soldiers: How To Go After Qaddafi's Mercenaries," February 28, 2011



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"Closing the Gap: How To Reform U.S. Gun Laws To Prevent Another Tucson," January 13,
2011

"Easy Target," June 13, 2010

"Death Be Not Proud," October 27, 2003 (correspondence)


Legal Analyses Written for Writ- writ.news.findlaw.com/contributors.html#klarevas

"Human Trafficking and the Child Protection Compact Act of2009," Writ (FindLaw.com), July
15, 2009 (co-authored with Christine Buckley)

"Can the Justice Department Prosecute Reporters Who Publish Leaked Classified Information?
Interpreting the Espionage Act," Writ (FindLaw.com), June 9, 2006

"Will the Precedent Set by the Indictment in a Pentagon Leak Case Spell Trouble for Those Who
Leaked Valerie Plame's Identity to the Press?" Writ (FindLaw.com), August 15, 2005

"Jailing Judith Miller: Why the Media Shouldn't Be So Quick to Defend Her, and Why a
Number of These Defenses Are Troubling," Writ (FindLaw.com), July 8, 2005

"The Supreme Court Dismisses the Controversial Consular Rights Case: A Blessing in Disguise
for International Law Advocates?" Writ (FindLaw.com), June 6, 2005 (co-authored with Howard
S. Schiffman)

"The Decision Dismissing the Lawsuit against Vice President Dick Cheney," Writ
(FindLaw.com), May 17, 2005

"The Supreme Court Considers the Rights of Foreign Citizens Arrested in the United States,"
Writ (FindLaw.com), March 21, 2005 (co-authored with Howard S. Schiffman)


Presentations and Addresses

In addition to the presentations listed below, I have made close to one hundred media
appearances, book events, and educational presentations (beyond lectures for my own
classes)

"Mass Shootings: What We Know, What We Don't Know, and Why It All Matters," keynote
presentation to be delivered at the Columbia University Center for Injury Science and Prevention
Annual Symposium, virtual meeting, May 2020

"K-12 School Environmental Responses to Gun Violence: Gaps in the Evidence," paper
presented at Society for Advancement of Violence and Injury Research Annual Meeting, virtual
meeting, April 2020 (co-authored with Sonali Rajan, Joseph Erardi, Justin Heinze, and Charles
Branas)


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"Active School Shootings," Post-Performance Talkback following Presentation of 17 Minutes,
Barrow Theater, New York, January 29, 2020 (co-delivered with Sonali Rajan)

"Addressing Mass Shootings in Public Health: Lessons from Security Studies," Teachers
College, Columbia University, November 25, 2019

"Rampage Nation: Securing America from Mass Shootings," Swarthmore College, October 24,
2019

"Rampage Nation: Securing America from Mass Shootings," University of Pennsylvania,
February 9, 2018

"Treating Mass Shootings for What They Really Are: Threats to American Security,"
Framingham State University, October 26, 2017

"Book Talk: Rampage Nation," Teachers College, Columbia University, October 17, 2017

Participant, Roundtable on Assault Weapons and Large-Capacity Magazines, Annual Conference
on Second Amendment Litigation and Jurisprudence, Law Center to Prevent Gun Violence,
October 16, 2017

"Protecting the Homeland: Tracking Patterns and Trends in Domestic Terrorism," address
delivered to the annual meeting of the National Joint Terrorism Task Force, June 2015

"Sovereign Accountability: Creating a Better World by Going after Bad Political Leaders,"
address delivered to the Daniel H. Inouye Asia-Pacific Center for Security Studies, November
2013

"Game Theory and Political Theater," address delivered at the School of Drama, State Theater of
Northern Greece, May 2012

"Holding Heads of State Accountable for Gross Human Rights Abuses and Acts of Aggression,"
presentation delivered at the Michael and Kitty Dukakis Center for Public and Humanitarian
Service, American College of Thessaloniki, May 2012

Chairperson, Cultural Enrichment Seminar, Fulbright Foundation- Southern Europe, April 2012

Participant, Roundtable on "Did the Intertubes Topple Hosni?" Z6calo Public Square, February
2011

Chairperson, Panel on Democracy and Terrorism, annual meeting of the International Security
Studies Section of the International Studies Association, October 2010

"Trends in Terrorism Within the American Homeland Since 9/11," paper to be presented at the
annual meeting of the International Security Studies Section of the International Studies
Association, October 2010


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Panelist, "In and Of the World," Panel on Global Affairs in the 21 st Century, Center for Global
Affairs, New York University, March 2010

Moderator, "Primacy, Perils, and Players: What Does the Future Hold for American Security?"
Panel of Faculty Symposium on Global Challenges Facing the Obama Administration, Center for
Global Affairs, New York University, March 2009

"Europe's Broken Border: The Problem of Illegal Immigration, Smuggling and Trafficking via
Greece and the Implications for Western Security," presentation delivered at the Center for
Global Affairs, New York University, February 2009

"The Dangers of Democratization: Implications for Southeast Europe," address delivered at the
University of Athens, Athens, Greece, May 2008

Participant, "U.S. National Intelligence: The Iran National Intelligence Estimate," Council on
Foreign Relations, New York, April 2008

Moderator, First Friday Lunch Series, "Intelligence in the Post-9/11 World: An Off-the-Record
Conversation with Dr. Joseph Helman (U.S. Senior National Intelligence Service)," Center for
Global Affairs, New York University, March 2008

Participant, "U.S. National Intelligence: Progress and Challenges," Council on Foreign
Relations, New York, March 2008

Moderator, First Friday Lunch Series, "Public Diplomacy: The Steel Backbone of America's
Soft Power: An Off-the-Record Conversation with Dr. Judith Baroody (U.S. Department of
State)," Center for Global Affairs, New York University, October 2007

"The Problems and Challenges of Democratization: Implications for Latin America,"
presentation delivered at the Argentinean Center for the Study of Strategic and International
Relations Third Conference on the International Relations of South America (IBERAM III),
Buenos Aires, Argentina, September 2007

"The Importance of Higher Education to the Hellenic-American Community," keynote address
to the annual Pan-Icarian Youth Convention, New York, May 2007

Moderator, First Friday Lunch Series, Panel Spotlighting Graduate Theses and Capstone
Projects, Center for Global Affairs, New York University, April 2007

Convener, U.S. Department of State Foreign Officials Delegation Working Group on the Kurds
and Turkey, March 2007

"Soft Power and International Law in a Globalizing Latin America," round-table presentation
delivered at the Argentinean Center for the Study of Strategic and International Relations
Twelfth Conference of Students and Graduates of International Relations in the Southern Cone
(CONOSUR XII), Buenos Aires, Argentina, November 2006


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Moderator, First Friday Lunch Series, "From Berkeley to Baghdad to the Beltway: An Off-the-
Record Conversation with Dr. Catherine Dale (U.S. Department of Defense)," Center for Global
Affairs, New York University, November 2006

Chairperson, Roundtable on Presidential Privilege and Power Reconsidered in a Post-9/11 Era,
American Political Science Association Annual Meeting, September 2006

"Constitutional Controversies," round-table presentation delivered at City University of New
York-College of Staten Island, September 2005

"The Future of the Cyprus Conflict," address to be delivered at City University of New York
College of Staten Island, April 2005

"The 2004 Election and the Future of American Foreign Policy," address delivered at City
University of New York College of Staten Island, December 2004

"One Culprit for the 9/11 Attacks: Political Realism," address delivered at City University of
New York-College of Staten Island, September 2004

"Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
Coup," address delivered at London School of Economics, November 2003

"Beware of Europeans Bearing Gifts? Cypriot Accession to the EU and the Prospects for Peace,"
address delivered at Conference on Mediterranean Stability, Security, and Cooperation, Austrian
Defense Ministry, Vienna, Austria, October 2003

Co-Chair, Panel on Ideational and Strategic Aspects of Greek International Relations, London
School of Economics Symposium on Modem Greece, London, June 2003

"Greece between Old and New Europe," address delivered at London School of Economics, June
2003

Co-Chair, Panel on International Regimes and Genocide, International Association of Genocide
Scholars Annual Meeting, Galway, Ireland, June 2003

"American Cooperation with International Tribunals," paper presented at the International
Association of Genocide Scholars Annual Meeting, Galway, Ireland, June 2003

"Is the Unipolar Moment Fading?" address delivered at London School of Economics, May 2003

"Cyprus, Turkey, and the European Union," address delivered at London School of Economics,
February 2003

"Bridging the Greek-Turkish Divide," address delivered at Northwestern University, May 1998

"The CNN Effect: Fact or Fiction?" address delivered at Catholic University, April 1998


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"The Current Political Situation in Cyprus," address delivered at AMIDEAST, July 1997

"Making the Peace Happen in Cyprus," presentation delivered at the U.S. Institute of Peace in
July 1997

"The CNN Effect: The Impact of the Media during Diplomatic Crises and Complex
Emergencies," a series of presentations delivered in Cyprus (including at Ledra Palace), May
1997

"Are Policy-Makers Misreading the Public? American Public Opinion on the United Nations,"
paper presented at the International Studies Association Annual Meeting, Toronto, Canada,
March 1997 (with Shoon Murray)

"The Political and Diplomatic Consequences of Greece's Recent National Elections,"
presentation delivered at the National Foreign Affairs Training Center, Arlington, VA,
September 1996

"Prospects for Greek-Turkish Reconciliation," presentation delivered at the U.S. Institute of
Peace Conference on Greek-Turkish Relations, Washington, D.C., June, 1996 (with Theodore A.
Couloumbis)

"Greek-Turkish Reconciliation," paper presented at the Karamanlis Foundation and Fletcher
School of Diplomacy Joint Conference on The Greek-U.S. Relationship and the Future of
Southeastern Europe, Washington, D.C., May, 1996 (with Theodore A. Couloumbis)

"The Path toward Peace in the Eastern Mediterranean and the Balkans in the Post-Cold War
Era," paper presented at the International Studies Association Annual Meeting, San Diego, CA,
March, 1996 (with Theodore A. Couloumbis)

"Peace Operations: The View from the Public," paper presented at the International Studies
Association Annual Meeting, San Diego, CA, March, 1996

Chairperson, Roundtable on Peace Operations, International Security Section of the International
Studies Association Annual Meeting, Rosslyn, VA, October, 1995

"Chaos and Complexity in International Politics: Epistemological Implications," paper presented
at the International Studies Association Annual Meeting, Washington, D.C., March, 1994

"At What Cost? American Mass Public Opinion and the Use of Force Abroad," paper presented
at the International Studies Association Annual Meeting, Washington, D.C., March, 1994 (with
Daniel B. O'Connor)

"American Mass Public Opinion and the Use of Force Abroad," presentation delivered at the
United States Institute of Peace, Washington, D.C., February, 1994 (with Daniel B. O'Connor)




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"For a Good Cause: American Mass Public Opinion and the Use of Force Abroad," paper
presented at the Annual Meeting of the Foreign Policy Analysis/Midwest Section of the
International Studies Association, Chicago, IL, October, 1993 (with Daniel B. O'Connor)

"American International Narcotics Control Policy: A Critical Evaluation," presentation delivered
at the American University Drug Policy Forum, Washington, D.C., November, 1991

"American National Security in the Post-Cold War Era: Social Defense, the War on Drugs, and
the Department of Justice," paper presented at the Association of Professional Schools of
International Affairs Conference, Denver, CO, February, 1991


Referee for Grant Organizations, Peer-Reviewed Journals, and Book Publishers

National Science Foundation, Division of Social and Economic Sciences

American Journal of Preventive Medicine

American Journal of Public Health

American Political Science Review

British Medical Journal (BMJ)

Comparative Political Studies

In1ury Epidemiology

Journal of Public and International Affairs

Millennium

Political Behavior

Presidential Studies Quarterly

Victims & Offenders

Violence and Victims

Brill Publishers

Johns Hopkins University Press

Routledge




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Service to University, Profession, and Community

Participant, Minnesota Chiefs of Police Association, Survey of Measures to Reduce Gun
Violence, 2023

Member, Regional Gun Violence Research Consortium, Nelson A. Rockefeller Institute of
Government, State University of New York, 2022-

Founding Member, Scientific Union for the Reduction of Gun Violence (SURGE), Columbia
University, 2019-

Contributing Lecturer, Johns Hopkins University, Massive Open Online Course on Evidence-
Based Gun Violence Research, Funded by David and Lucile Packard Foundation, 2019

Member, Group of Gun Violence Experts, New York Times Upshot Survey, 2017

Member, Guns on Campus Assessment Group, Johns Hopkins University and Association of
American Universities, 2016

Member, Fulbright Selection Committee, Fulbright Foundation, Athens, Greece, 2012

Faculty Advisor, Global Affairs Graduate Society, New York University, 2009-2011

Founder and Coordinator, Graduate Transnational Security Studies, Center for Global Affairs,
New York University, 2009-2011

Organizer, Annual Faculty Symposium, Center for Global Affairs, New York University, 2009

Member, Faculty Search Committees, Center for Global Affairs, New York University, 2007-
2009

Member, Graduate Program Director Search Committee, Center for Global Affairs, New York
University, 2008-2009

Developer, Transnational Security Studies, Center for Global Affairs, New York University,
2007-2009

Participant, Council on Foreign Relations Special Series on National Intelligence, New York,
2008

Member, Graduate Certificate Curriculum Committee, Center for Global Affairs, New York
University, 2008

Member, Faculty Affairs Committee, New York University, 2006-2008

Member, Curriculum Review Committee, Center for Global Affairs, New York University,
2006-2008


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Member, Overseas Study Committee, Center for Global Affairs, New York University, 2006-
2007

Participant, New York Academic Delegation to Israel, Sponsored by American-Israel Friendship
League,2006

Member, Science, Letters, and Society Curriculum Committee, City University of New York-
College of Staten Island, 2006

Member, Graduate Studies Committee, City University of New York-College of Staten Island,
2005-2006

Member, Summer Research Grant Selection Committee, City University of New York-College
of Staten Island, 2005

Director, College of Staten Island Association, 2004-2005

Member oflnvestment Committee, College of Staten Island Association, 2004-2005

Member of Insurance Committee, College of Staten Island Association, 2004-2005

Member, International Studies Advisory Committee, City University of New York-College of
Staten Island, 2004-2006

Faculty Advisor, Pi Sigma Alpha National Political Science Honor Society, City University of
New York-College of Staten Island, 2004-2006

Participant, World on Wednesday Seminar Series, City University ofNew York-College of
Staten Island, 2004-2005

Participant, American Democracy Project, City University of New York-College of Staten
Island, 2004

Participant, Philosophy Forum, City University of New York-College of Staten Island, 2004

Commencement Liaison, City University of New York-College of Staten Island, 2004

Member of Scholarship Committee, Foundation of Pan-Icarian Brotherhood, 2003-2005, 2009

Scholarship Chairman, Foundation of Pan-Icarian Brotherhood, 2001-2003

Faculty Advisor to the Kosmos Hellenic Society, George Washington University, 2001-2002

Member of University of Pennsylvania's Alumni Application Screening Committee, 2000-2002

Participant in U.S. Department of State's International Speakers Program, 1997


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Participant in Yale University's United Nations Project, 1996-1997

Member of Editorial Advisory Board, Journal of Publzc and International Affairs, Woodrow
Wilson School of Public and International Affairs, Princeton University, 1991-1993

Voting Graduate Student Member, School of International Service Rank and Tenure Committee,
American University, 1990-1992

Member of School of International Service Graduate Student Council, American University,
1990-1992

Teaching Assistant for the Several Courses (World Politics, Beyond Sovereignty, Between Peace
and War, Soviet-American Security Relations, and Organizational Theory) at School of
International Service Graduate Student Council, American University, 1989-1992

Representative for American University at the Annual Meeting of the Association of
Professional Schools of International Affairs, Denver, Colorado, 1991


Expert Witness Service

Town of Superior, Colorado, 2023-

City of Boulder, Colorado, 2023-

City of Louisville, Colorado, 2023-

County of Boulder, Colorado, 2023-

State of Connecticut, 2023-

State of Hawaii, 2023-

State of Illinois, 2023-

State of Massachusetts, 2023-

State of New Jersey, 2023-

State of Oregon, 2023-

City of Highland Park, Illinois, 2022-

County of Cook, Illinois, 2022-

State of Washington, 2022-

Government of Canada, 2021-2022




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Plaintiffs, Ward et al. v. Academy Sports+ Outdoor, District Court Bexar County, Texas, 224th
Judicial District, Cause Number 2017CI23341, Bexar County, TX, 2019

State of California, 2017-

State of Colorado, 2016-2017, 2022-


Affiliations, Associations, and Organizations (Past and Present)

Academy of Political Science (APS)

American Political Science Association (APSA)

Anderson Society of American University

Carnegie Council Global Ethics Network

Columbia University Scientific Union for the Reduction of Gun Violence (SURGE)

Firearm Safety among Children and Teens (FACTS)

International Political Science Association (IPSA)

International Studies Association (ISA)

New York Screenwriters Collective

Pan-Icarian Brotherhood

Pi Sigma Alpha

Regional Gun Violence Research Consortium

Society for Advancement of Violence and Injury Research (SA VIR)

United States Department of State Alumni Network

United States Institute of Peace Alumni Association

University of Pennsylvania Alumni Association




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Grants, Honors, and Awards

Co-Investigator, A Nationwide Case-Control Study of Firearm Violence Prevention Tactics and
Policies in K-12 School, National Institutes of Health, 2021-2024 (Branas and Rajan MPis)

Senior Fulbright Fellowship, 2012

Professional Staff Congress Research Grantee, City University of New York, 2004-2005

Research Assistance Award (Two Times), City University of New York-College of Staten
Island, 2004

Summer Research Fellowship, City University of New York-College of Staten Island, 2004

European Institute Associate Fellowship, London School of Economics, 2003-2004

Hellenic Observatory Defense Analysis Research Fellowship, London School of Economics,
2002-2003

United States Institute of Peace Certificate of Meritorious Service, 1996

National Science Foundation Dissertation Research Grant, 1995 (declined)

Alexander George Award for Best Graduate Student Paper, Runner-Up, Foreign Policy Analysis
Section, International Studies Association, 1994

Dean's Scholar Fellowship, School oflnternational Service, American University, 1989-1992

Graduate Research and Teaching Assistantship, School of International Service, American
University, 1989-1992

American Hellenic Educational Progressive Association (AHEPA) College Scholarship, 1986

Political Science Student of the Year, Wilkes-Barre Area School District, 1986




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                         EXHIBITB
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                                       Exhibit B
               High-Fatality Mass Shootings in the United States, 1991-2022

                                                                  Involved       Involved
                                                                   Assault    Large-Capacity
        Date                 City                State   Deaths   Weapon(s)    Magazine(s)
 1     1/26/1991           Clumavo               NM        7         N              N
2       8/9/1991            Waddell               AZ       9         N              N
3     10/16/1991            Killeen               TX       23        N              y

4      11/7/1992   Morro Bay and Paso Robles      CA       6         N              N
5       1/8/1993            Palatme               IL       7         N              N
6      5/16/1993            Fresno                CA       7         y              y

7       7/1/1993         San Fran1sco             CA       8         y              y

 8     12/7/1993          Garden Crtv             NY       6         N              y

 9     4/20/1999            Littleton             co       13        y              y
10     7/12/1999            Atlanta               GA       6         N              u
11     7/29/1999            Atlanta               GA       9         N              y

12     9/15/1999          Fort Worth              TX       7         N              y

13     11/2/1999           Honolulu               HI       7          N             y

14    12/26/2000           Wakefield             MA        7          y             y

15    12/28/2000          Philadelphia            PA       7          N             y

16     8/26/2002            Rutledge              AL       6          N             N
17     1/15/2003           Edmburg                TX       6          y             u
18      7/8/2003            Meridian              MS       6          N             N
19     8/27/2003            Chicago               IL       6          N             N
20     3/12/2004             Fresno               CA       9          N             N
21    11/21/2004           Birchwood              WI        6         y             y

22     3/12/2005           Brookfield             WI        7         N             y

23     3/21/2005            Red Lake              MN        9         N             y

24     1/30/2006             Goleta               CA        7         N             y

25     3/25/2006             Seattle              WA        6         N             N
26      6/1/2006          Indanapol1s             IN        7         y             y

27    12/16/2006          Kansas CItv             KS        6         N             N
28     4/16/2007           Blacksburg             VA       32         N             y

29     10/7/2007            Crandon               WI        6         y             y

30     12/5/2007             Omaha                NE        8         y             y

31    12/24/2007            Carnation             WA        6         N             u
32      2/7/2008           Kirkwood               MO        6         N             y

33      9/2/2008              Alger               WA        6         N             u
34    12/24/2008             Covma                CA        8         N             y

35     1/27/2009          Los Angeles             CA        6         N             N
36     3/10/2009   Kmnston, Samson, and Geneva    AL       10         y             y


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                                                        Involved       Involved
                                                         Assault    Large-Capacity
           Date         Citv           State   Deaths   Weapon(s)    Magazine(s)
37    3/29/2009       Carthage         NC        8         N              N
38     4/3/2009      Bmnghamton        NY        13        N              y
39     11/5/2009      Fort Hood         TX       13        N              y
40     1/19/2010     A nnomattox       VA        8         y              y
41      8/3/2010     Manchester         CT       8         N              y
42      1/8/2011       Tucson           AZ       6         N              y
43      7/7/2011    Grand Rap1ds        MI       7         N              y
44      8/7/2011   Copley Township      OH       7         N              N
45    10/12/2011      Seal Beach        CA       8         N              N
46    12/25/2011      Grapevine         TX       6         N              N
47      4/2/2012       Oakland          CA       7         N              N
48     7/20/2012       Aurora           co       12         y             y
49      8/5/2012      Oak Creek         WI       6          N             y
50     9/27/2012     Mmnneapol1s       MN        6          N             y
51    12/14/2012      Newtown           CT       27         y             y
52    7/26//2013       Hialeah          FL       6          N             y
53     9/16/2013     Washington         DC       12         N             N
54      7/9/2014        Sprmg           TX       6          N             y
55     9/18/2014         Bell           FL       7          N             u
56     2/26/2015        Tyrone          MO       7          N             u
57     5/17/2015        Waco            TX       9          N             y
58     6/17/2015      Charleston        SC       9          N             y
59      8/8/2015       Houston          TX       8          N             u
60     10/1/2015       Roseburg         OR       9          N             y
61     12/2/2015    San Bernardmo       CA       14         y             y
62     2/21/2016      Kalamazoo         MI       6          N             y
63     4/22/2016       Piketon          OH        8         N             u
64     6/12/2016       Orlando          FL       49         y             y
65     5/27/2017      Brookhaven        MS        8         y             y
66     9/10/2017        Plano           TX        8         y             y
67     10/1/2017      Las Vegas         NV       60         y             y
68     11/5/2017   Sutherland Sprmgs    TX       25         y             y
69     2/14/2018       Parkland         FL       17         y             y
70     5/18/2018       Santa Fe         TX       10         N             N
71    10/27/2018      Pittsburgh        PA       11         y             y
72     11/7/2018    Thousand Oaks       CA       12         N             y
73     5/31/2019    Virgina Beach       VA       12         N             y
74      8/3/2019        El Paso         TX       23         y             y
75      8/4/2019        Davton          OH        9         y             y


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                                                                                 Involved              Involved
                                                                                  Assault           Large-Capacity
                                   City                  State     Deaths        Weapon(s)           Magazine(s)
              Date
                                                          TX          7               y                    y
 76      8/31/2019         Midland and Odessa
 77      3/15/2020               Moncure                  NC          6               u                    u
                                                          AL          7               y                    y
  78      6/4/2020         Valhermoso Springs
  79      9/7/2020               Aguanga                  CA          7               u                    u
  80      2/2/2021              Muskogee                  OK          6               N                    u
                                                          GA          8               N                     y
  81     3/16/2021         Acworth and Atlanta
                                                          co          10              y                     y
  82     3/22/2021               Boulder
                                                           SC         6               y                     y
  83      4/7/2021               Rock Hill
                                                           IN         8               y                     y
  84     4/15/2021              Indianapolis
                                                          co          6                N                    y
  85      5/9/2021           Colorado Springs
                                                          CA          9                N                    y
  86     5/26/2021                San Jose
  87     1/23/2022              Milwaukee                  WI          6               N                    u
                                                           CA          6               N                    y
  88      4/3/2022              Sacramento
                                                          NY          10               y                    y
  89     5/14/2022                Buffalo
                                                           TX         21               y                    y
  90     5/24/2022                Uvalde
                                                           IL          7               y                    y
  91       7/4/2022            Highland Park
  92     10/27/2022            Broken Arrow                OK          7               N                    u
  93     11/22/2022             Chesapeake                 VA          6               N                    u

Note: High-fatality mass shootings are mass shootings resulting in 6 or more fatalities, not including the
perpetrator(s), regardless of location or motive. For purposes of this Exhibit, a high-fatality mass shooting was
coded as involving an assault weapon if at least one of the firearms discharged was defined as an assault weapon in
(1) the 1994 federal Assault Weapons Ban; (2) the statutes of the state where the shooting occurred; or (3) a legal or
judicial declaration issued by a state official. For purposes of this Exhibit, a high-fatality mass shooting was coded
as involving a large-capacity magazine if at least one of the firearms discharged had an ammunition-feeding device
holding more than 10 bullets. Incidents in gray shade are those incidents that occurred at a time when and in a state
where legal prohibitions on both assault weapons and large-capacity magazines were in effect statewide or
 nationwide.

Sources: Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016); Louis Klarevas, et al.,
The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 109 American Journal of Public
Health 1754 (2019), available at https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last
accessed December 27, 2022); and "Gun Violence Archive," available at https://www.gunviolencearchive.org (last
accessed January 3, 2023). The Gun Violence Archive was only consulted for identifying high-fatality mass
shootings that occurred since January 1, 2018.




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                         EXHIBIT C
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ASS4ULT
WEAPONS
AND
ACCESSORIES
IN
AMERICA


Firearms Policy Project
        of the
Violence Policy Center

 1834 18th Street, NW
Washington, 0.C. 20009
    (202) 265-1920
    Case 3:22-cv-01223-JBA Document 59-3 Filed 07/26/23 Page 58 of 516




        Assault Weapons and Accessories in America



                                Josh Sugarmann
                             Executive Director
                           Violence Policy Center




I




                                September 1988

            This study was funded in part by a grant from the
                 Educational Fund to End Handgun Violence.

                                Copyright 1988
                            Violence Policy Center
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I
I
I
      INTRODUCTION


            Across America, the firepower in the hands of gun owners
      of varying stripes is increasing dramatically. The reason:
      assault weapons. Drug traffickers are finding that assault
      weapons--in addition to 'standard issue' handguns--provide the
      extra firepower necessary to fight police and competing dealers.
en    Right-wing paramilitary extremists, in their ongoing battle
      against the "Zionist Occupational Government," have made these

I     easily purchased firearms their gun of choice. And rank and
      file gun aficionados--jaded with handguns, shotguns, and hunting
      rifles--are moving up to the television glamour and movie sex
      appeal of assault weapons. The growing market for these
i     weapons--coupled with a general rising interest in the non-
      sporting use of firearms--has generated an industry of
      publications, catalogs, accessories, training camps, and combat
£     schools dedicated to meeting its needs.

             Assault weapons are growing in popularity for a variety of
l      reasons. For manufacturers, assault weapons are a necessary new
       product line in the wake of the mid-1980s decline in handgun
       sales. Yet, manufacturers didn't create a market, they
L      recognized one. For criminals, the weapons look intimidating,
       have increased firepower, and can be purchased under the same
       controls as a hunting rifle or shotgun: that is, virtually none.
       For survivalists who envision themselves fending off a horde of
       desperate neighbors from their bomb shelters, the high
       ammunition capacity and other anti-personnel capabilities of
       assault weapons are exactly what is needed. And for fans of
L      Rambo and "Miami Vice," assault weapons offer the look and feel
       of the real thing. Not surprisingly, this shift to increased
       firepower--in both criminal and law-abiding hands--has law
       enforcement worried.
             The assault weapons threat is exacerbated by the fact that
       the weapons are difficult to define in legal terms. Legislators
       and members of the press have proposed placing increased
       restrictions on all semi-auto firearms, which would include some
       hunting rifles. Whether these proposals are merely the result of

I      ignorance of the wide variety of firearms that are semi-
       automatic, or misguided efforts in the face of definitional
       problems, they only lend credence to the gun lobby's argument
       that restrictions on assault weapons are merely the first step
a
       toward banning all semi-automatic guns •


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      Assault firearms are semi-automatic (firing one bullet per
trigger pull) and fully automatic (the weapon will keep on firing
as long as the trigger is depressed) anti-personnel rifles,
shotguns, and handguns that are designed primarily for military
and law enforcement use. With muzzle velocities that are often
greater than standard long guns, and high-capacity amm unition
magazines, assault weapons are built to kill large numb ers of
human beings quickly and efficiently. In tests at their firing
range, San Jose, California police found that a fully automatic
UZI could fire its 30-round magazine in slightly less than two
seconds. A semi-automatic version of the weapon required only
five seconds for the magazine to be emptied. 1 Most assault
weapons have no legitimate hunting or sporting use. Assault
rifles and shotguns often have pistol grips and folding stocks,
and are typically lighter and more concealable than standard long
guns. Some assault pistols have threaded barrels for the easy
attachment of silencers. Many assault weapons are merely semi-
automatic versions of military machine guns, making them easier
to convert to fully automatic machine guns.

      The numb er of assault weapons in civilian hands--both
criminal and law abiding--is estimated to be in the hundreds of
thousands, perhaps millions.' No exact figures are available.
An unknown number of these weapons have been illegally converted
to full-auto. (For an explanation of the different categories
and types of firearms, please see Appendix I.)


A88AULT WEAPONS VIOLENCE

0      October 1984. San Jose, California police officer Joe
       Tamarett is shot and wounded with an UZI carbine.3
0      January 1988. Virginia resident Michael Anthony
       Eberhardt is arrested in Washington, D.C., for allegedly
       purchasing 72 guns in Virginia during an 18-month period
       and then smuggling them into D.C. for sale to drug
       dealers. According to The Washington Post, "Many of the
       weapons were the semi-automatic TEC-9s favored by local
       drug dealers.%
0      April 1986. Two FBI agents are killed with a Ruger
       Mini-14 in a shootout in Miami, Florida.
0      April 1984. Dennis Cresta, dressed in camouflage
       fatigues and carrying a Ruger Mini-14 and colt AR-15,
       opens fire in Oakland, California, after being questioned
       by a policeman. No one is hit. 6
0       July 1987. An elderly woman and her three sons kill
        three police officers who come to their motel room in
        Inkster, Michigan, to serve a warrant for a $286.40 bad
        check. one of the weapons used to slay the officers is a
        Heckler & Koch assault rifle. 7


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    I
    I
               September 1988. Samuel Eloud holds 11 people hostage in a
    I    0
               Richmond, Virginia shopping center with a semi-automatic
               AK-47 and handgun in order to bring "peace to Lebanon. 8

    I    0     June 1984. Denver, Colorado radio show personality Alan
               Berg is gunned down with a silenced MAC-10 by right-wing
               extremists.9

    -    0     July 1984. James Huberty goes "hunting for humans" with
               an UZI, a handgun, and a shotgun in a San Ysidro,


    -
               California McDonald's. Twenty-one die; 19 are injured.lO
         0     December 1985. Portland, Connecticut eighth-grader Floyd
               Warmsley kills school janitor David Bengston with his
    I          father's TEC-9, then holds a classroom of children
               hostage.ll
         0     July 1988. Manassas, Virginia, police officer John
    !          conner is gunned down with a Colt AR-15 by a man whose
               wife had recently left him.l?

l        0      April 1987. William B. Cruse opens fire with a Ruger
                Mini-14 outside a Palm Bay, Florida shopping center,
                killing six and injuring 10.23

L        0      March 1988. An arsenal that includes a Chinese-made
                semi-automatic AK-47, a hand grenade, 14 other semi-
                automatic guns, 32-round ammunition magazines, and a
                handgun outfitted with a laser sight is seized from five
                men in New York city's Port Authority bus terminal.l4
         o      February 1988. At a press conference decrying the
L.              increase in assault weaponry, Prince Georges County
                (Maryland) Police Chief Michael J. Flaherty states, "The
                real issue is the safety of our officers. 11 Holding up a
!
'd
                TEC-9, he adds,"It's not used for hunting, and it's not
                used for sporting events. In my opinion, they should not
                be sold in the United States.nI5

I               These events are not isolated incidents. Al though no
          comprehensive, nationwide statistics are available on the misuse
          of assault weapons specifically, police organizations, police
I         departments, government agencies, and handgun restriction
          organizations agree that the sale and misuse of assault weapons
          has escalated dramatically during the 1980s. (Most law
          enforcement reporting systems are set up only to separate
          handguns from long guns. The federal Bureau of Alcohol, Tobacco
          and Firearms (ATF) , the government agency charged with enforcing
          federal firearms laws, will soon begin breaking out assault
I         weapons from standard long guns.lo
                 "There has been an increase in (assault) weapons by all
          walks of life--gang members, drug dealers, your next door
          neighbor, even police officers," states Detective Bohannon of the


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Los Angeles Police Department Gun Detail. In Los An geles,
assault weapons have turned up increasingly in gang violence and
drive-by shootings. Says Bohannon, "These are not sporting
weapons. They' re designed for one purpose and one purpose only,
and that's to kill people." (Bohannon stresses that his opinions
are personal and do not reflect the view of the Los Angeles
Police Department.) According to Bohannon, essentially the same
models of weapons are being seen on the streets by police: "Your
least expensive weapons are your MA Cs and TECs. In the middle
you've got your AK--47s and your UZI. At the top level are going
to be your AR -15s....[and others].n17

      During fiscal year 1987, almost a third of the firearms
seized by agents of the Drug Enforcement Agency (DEA)--the
leading federal agency charged with enforcing America's federal
drug laws--from drug traffickers were semi-automatic and fully
automatic. (These figures include non-assault semi-automatic
pistols. Figures on solely assault rifles and pistols are not
available.) Sixteen percent were fully automatic. On a daily
basis, DEA agents seized automatic weapons that included M-16s,
AK-47s, MAC-10s, MAC-11s, and UZIs.l8

      From January 1 to February 10, 1988, of the 388 guns   .
seized by District of Columbia police, the vast majority were
either semi-automatic or fully-automatic. Only seven such
weapons were seized during the first six months of 1987, six in
1986, one in 1985, and two in 1984.19
      In neighboring Prince George's county, Maryland, from July
1987 through February 1988, police seized 140 semi-automatic or
automatic weapons, including a TEC-9 and several UZI submachine
guns, some equipped with silencers. 2 O
      In 1986, ATF seized2,854 illegal machine guns. These
weapons were either converted illegally or illegally possessed.
In 1985, the number of illegal weapons seized was 2,042. In
1984, 539.21
       The most popular assault weapons are the AK-47, AR-15A2,
MAC-10, MAC-11, Ruger Mini-14,TEC-9 and UZI.     (For a
 description and brief history of each weapon, as well as select
 advertising information, please see Appendix II.) Recognizing
 the strong market for high-capacity, concealable assault weapons
 that are painted black and look threatening, America's firearms
 industry continues to introduce new models. Two of the latest
 are:
         o The Calico MlOOP pistol, manufactured by American
           Industries in Bakersfield, California. With its
           futuristic lines and black finish, this .22 caliber
           weapon is the Darth Vader of handguns. Composed of a
           lightweight alloy frame, ithas a "helical feed" 100-
           round capacity plastic magazine. A so-round        .
           magazine is also available. The weapon also comes an


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I
I
                 a carbine (a short-barreled, lightweight rifle)
I                version with a folding stock. Under the headline
                 "Durable, Accurate, Light, Versatile," an ad for the
                 gun shows an intimidating M1OOP pistol with an
                 optional "Klear-Vue" magazine (a see-through magazine
I                that gives the shooter "complete visibility of
                 rounds remaining in the magazine") and laser sight.22?

I                The pistol version of the weapon is l 7 inches long
                 with the 100-round magazine, and weighs 3.75 pounds.
                 The carbine version, with its stock retracted and the

I                100-round magazine, is29.8 inches long. In November
                 1988, Calico will introduce a 9mm version of the
                 weapon,23

I           0    The Street Sweeper is a 12-gauge riot shotgun with a
                 revolving cylinder that rotates with each trigger
                 pull. Able to fire 12 rounds in less than three
a                seconds, the weapon is manufactured by SWD, Inc.
                 (manufacturers of the MAC-11). An ad for the weapon
                 reads, "It's a Jungle out There! There Is A Disease
                 And We've Got the cure." It invites the reader to
I                "Make you [sic] streets safe and clean with the help
                 of 'The Street Sweeper'!" With its folding stock
                 retracted, the weapon has an overall length of 25 5/8
£                inches.Z?4 The SWD weapon is modeled on a shotgun
                 used by South African security personnel, the striker
                 12. Efforts had been made to import the Striker, but
                 the weapon was the first long gun ever to fail the
!                sporting-use test that ATF applies to imported long
                 guns. (Domestically produced firearms do not have to
                 meet any sporting use standard. )
L
      DRUG TRAFFICKERS, PARAMILITARY GROUPS.••

L           Because of their ease of purchase, effectiveness,
      convertibility, and mystique, assault weapons have become
      increasingly popular among people involved in the drug trade. or

'.    as one DEA spokesman put it, "There's amachismo to carrying the
      biggest, ugliest, and most powerful weapon available.Z5
            According to DEA Special Agent Maurice Hill, drug dealers
      in Miami began to switch over from revolvers to higher capacity
      pistols in the early 1970s. By the end of the decade, they had
      begun using shoulder-carried weapons, and by the early 1980s had
I     upgraded to weapons like the UZI. Since then, criminals
      nationwide have expanded into a broad category of assault
      weapons. Regarding assault weapons, Special Agent Maurice Hill
I     says, "They're all over now.n26
             Noting that drug traffickers "seem to like the AR-15s, AK-
       47s, TEC-9s," ATF spokesperson Tom Hill concurs: "We've seen a
I      proliferation because of the drug trade. More and more people


I                                         5
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                                                                        I

want to have increased firepower and the status of having the
semi-automatic assault type weapon. It looks dangerous. Most
assault weapons used in criminal acts were initially purchased
legally. Some are stolen, some come from over the counter
through straw purchases, some are from people who fill out the
forms illegally."?7
       In 1987, ATF traced weapons seized from two members of a
Jamaican drug gang (known as "posses") in Tampa, Florida. The
trace found that 149 weapons had been purchased over the counter
from Tampa-area dealers. The majority of the weapons were
TEC-9s, MACS, AR-15s, and Glock 17 handguns, "all preferred
weapons of the Jamaican posses."?8 (The Glock 17, the first
handgun to incorporate plastic into its structural design, is not
considered an assault weapon.) As the result of this increased
criminal firepower, police departments are beginning to abandon
their six-shot revolvers for higher-capacity semi-automatic
handguns.
        Assault weapons have also become the weapon of choice for
 a different category of criminal: America's right-wing
 paramilitary extremists. In his book, Armed and Dangerous: The
 Rise of the survivalist Right, author James Coates describes the
 scene outside the 224-acre compound of the paramilitary extremist
 organization, The covenant, sword and Arm of the Lord (CSA),
 located in Three Brothers, Arkansas, prior to a raid by law
 enforcement officials in 1985;29
       "[A] 11 visitors were greeted by a group of roughly half a
 dozen obviously frightened and surly young men carrying Mini-14s,
 MAC-10s and other automatic and semi-automatic weapons. Other
 armed CSA soldiers were clearly visible in a fifty-foot-tall
 guard tower overlooking the front gate, from which they pointed
 machine guns at reporters. Noble [a CSA member], wearing a Bowie
 knife strapped to one leg and cradling a converted AR-15
 automatic rifle in his arm, repeatedly came to the gate to spar
 verbally with the nervous news media.30
        Until recently, police had believed that the CSA--after
  its members were subjected to increased government prosecution,
  its compound deserted, and its leader, James Ellison, imprisoned
  for crimes that included the manufacture of automatic weapons---
  had disbanded. But in May 0f 1988, CSA member Londell Williams
  was charged with conspiring to assassinate presidential candidate
  Jesse Jackson. Police recovered a converted AR-15 from
  Williams.?l
        other paramilitary organizations that favor assault
  weapons and have been known to convert them to fully automatic
  machine guns include the Posse Comitatus, Aryan Nations, and The
  Order.
          Al though many drug traffickers and members of paramilitary
  organizations are convicted felons, they are often able to


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    illegally buy these weapons from retail sales outlets. In every
    state, assault rifles and shotguns are sold under the same lax
    restrictions that apply to hunting rifles and shotguns. Assault
    pistols are sold under the same laws that apply to handguns,
    which vary from locality to locality.
          Some states do require that the purchaser of any firearm
    first receive an owner's ID card or permit, while other states
    have a waiting period for all firearms. Yet most states'
    standards for the sale of long guns are no more severe than the
    federal law, which requires only that the purchaser be 18 years
    old and fill out a federal form 4473. On this form, the
    purchaser swears that he is not a convicted felon, drug addict
    or alcoholic, and that he does not have a history of mental
    illness. Most purchases are cash and carry, and long guns can be
    purchased interstate, with no limit on the number of weapons that
    can be purchased."?

I          The federal standards for handguns are essentially
     identical to that of long guns, except that they cannot be sold
     interstate, the purchaser must be 21 years old, and multiple
     purchases (more than one handqun purchased within five working
     days) must be reported to ATF.>
            (In 1986, Congress outlawed the future production of
     machine guns for civilian use. currently, there is a pool of
     more than 187,000 machine guns that citizens can legally
     purchase.34 To obtain a machine gun, a citizen must be
     fingerprinted, photographed, submit to a background check, wait
     five to six months, and a $200 transfer tax must be paid. These
     same standards must be met to possess silencers, sawed-off rifles
     and shotguns, and military weaponry, such as hand grenades, land
     mines, grenade launchers, and other weapons and accessories
     restricted under the National Firearms Act 0f 1934.25)
           The most restrictive handgun laws are on the state and
     local level, and assault pistols would be sold under these
     standards. Handgun laws in America range from Morton Grove,
     Illinois, which has banned the sale and private possession of
     handguns, to the state of Florida, which operates essentially
     under only the federal standards.?6
            Because many assault weapons--such as the AR-15A2, M100P
      carbine, Ruger Mini-l4, Street Sweeper, and UZI carbine--can be
      purchased as standard long guns by virtually anyone who is
      willing to lie on the form, they are a boon to criminals.
      Assault pistols can be purchased easily by criminals in states
      with lax handgun laws such as Texas, Virginia, and Florida. From
      there, these weapons can then be sold to criminals in cities and
      states with more restrictive laws.




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AND JUST PLAIN FOLK

      Al though much attention has been focused on drug
traffickers and paramilitary extremists, many assault weapons are
purchased by "just plain folk." These people run the gamut from
survivalists who want to be ready "just in case" to gun owners
who want the thrill of owning the latest high-tech weapons.
      A 1986 Defense Monitor on "Militarism in America, 11
published by the Center for Defense Information (CDI), in
Washington, D.c., notes an increasing "fascination for
paramilitary weapons and training" among the general public.37
      Television shows such as "The A-Team," first broadcast on
ABC in 1983, "Miami vice," first broadcast on NBC in 1984, and
other action/adventure/police dramas have acted as a showcase for
new weaponry. In effect, these shows supply free advertising for
assault weapons manufacturers.
      The center for Media and Public Affairs, based in
Washington, o.c., monitored 620 television programs throughout
the past 30years, revealing a noticeable shift toward military-
style assault weapons. 3 8
      According to Daniel Amundson, research director for The
Center, "There certainly is a greater number of automatic
weaponry," and this is "partly reflecting news from the front
pages and partly reflecting artistic embellishment." Noting that
guns have been "ever present" in television, Amundson adds, "The
presence hasn't changed, but which ones are present has. 'Miami
Vice' requires very sleek and modern weapons. This shows a
reflection of the headlines. If drug lords are using more UZIs
and MAC-10s, you're going to see it in 'Miami Vice' six to nine
months later."
      According to Amundson, television has a "tremendous
potential to act as a marketplace for anything: weapons,
violence, soap, attitudes toward blacks and women. Television
has helped the average person to identify weapons more than we'd
ever thought, expanded our knowledge, terminology, of the types
of guns available. UZI, MAC-10 is no longer jargon for firearms
specialists; and that tellsusa great deal.3?
      Meanwhile, in movie theaters, the .44 magnum handgun of
Clint Eastwood pales in comparison to the weapons of Rambo and
his ilk. Throughout the 1980s, Sylvester Stallone films such as
the Rambo series and "Cobra," chuck Norris movies such as the
"Missing in Action" series and "Invasion USA," and Arnold
Schwarzenegger movies such as "Terminator," "Predator," and
"Commando" have helped popularize paramilitary weapons and
accessories.




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AS8AULT WEAPONS MARKETING

      The marketing of assault weapons throughout this decade is
in large part due to the slump in handgun sales that has
afflicted the industry since 1982. Handgun production dropped
from a high of 2.7 million that year to less than 1.7 million in
1984--a decrease of nearly 40 percent. In 1986, production
increased to1.9million, a level still well below that of the
early 1980s.40 (Because handgun manufacturers will not release
sales figures, and are not required to do so by law, production
figures are the only available gauge of the market.) With an
estimated 35 to 40 million handguns in American hands,l the
slump is apparently the result of saturation of the primary
market--white males--and the increasing resale of used handguns.
      In their marketing of assault weapons, manufacturers often
focus on their police or military functions, their ruggedness and
dependability, and the cache of a lone man and his gun against
the elements, crime, or the unstated threat of post-nuclear
survival.
      Colt Industries has even developed an ad aimed directly at
survivalists. The 1985 ad features a handsome rancher looking
across his land. He has leather patches on the elbows of his
flannel shirt and an AR-15A2 in one hand. The headline reads:
"Survival means different things to different people. For a
rancher in the high country of Wyoming, being self-sufficient can
mean keeping varmints from his sheep. For a rugged individual in
the wilderness, it means being prepared for any eventuality. For
both these men, and thousands like them, there's only one gun.
The Colt AR-15A2. The reasons are as simple as they are
plentiful. First, it's the rifle they're already familiar with.
The AR-15A2 Sporter II is the civilian version of the battle
proven and recently improved U.s. military M-16A1...42
      This survivalist sales pitch is echoed in an ad for
Heckler & Koch's HK 91 semi-automatic assault rifle. The ad's
headline reads, "When you're determined to survive, you leave
nothing to chance. In a survival situation, you want the most
uncompromising weapons that money can buy. The HK 91 Semi-
Automatic Assault Rifle from Heckler & Koch." The ad ends with
the tag line, "In a world of compromise, some men don't, n43

      An ad for the FIE/Franchi LAW-12 shotgun--which comes in
standard hunting and assault configurations--urges the reader to
"Take the 'LAW' Into Your own Hands. Whether you patrol the
birdlands when the sun is rising ... or patrol the boonies when the
sun sets ... the FIE/Franchi LAW-12 is the LAW of the land! All
the LAW you need! Situation - The sun has set, it's now
midnight, you're called to a code 3 situation! Your backup is
deployed to another sector. You're all alone, left to handle a
tough situation ... What do you do? Take the LAW-12 into your
hands - A possible 9 rounds of heavy hitting 12 guage [sic] "00"


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Buck - All 9 rounds can be emptied on target in less than 3
seconds ... operation successful. .. n44


ASSAULT WEAPON LOOK-ALIKE: AIRGUNS AND TOY GUNS

      Paramilitary enthusiasm has not been limited to the
firearms market. America's manufacturers of non-powder firearms
(such as BB guns and pellet guns) and toy guns have been quick to
realize that assault weaponry is in. These manufacturers' role
models are no longer hunting rifles and Western-style six-
shooters, but machine guns and large-caliber handguns. This
shift has been accompanied by a keener eye to detail and advances
in plastic molding. The result: non-powder firearms and toy
guns that are virtually indistinguishable from their more lethal
counterparts.
      Daisy Manufacturing was one of the first to recognize this
potential market. The company introduced its paramilitary line
of imported Softair guns in 1986. Softair guns are working
replicas, down to the point of expelling spent shells and firing
plastic pellets. They retail for approximately $60. "So
accurate in detail you'll swear it's the real thing! ••• a 'must
have' for paramilitary enthusiasts of all ages," reads the
catalog description for a replica of the UZI Assault pistol.
Copy for a replica of the KG9-SP (predecessor of the TEC-9)
boasts that it's "an authentic reproduction of the American-
made semiautomatic defense weapon used by anticommunist
guerrillas in Angola." A replica of a Heckler & Koch weapon is
described as being "without a doubt the most exciting
paramilitary airgun on the market today! styled after the
semiautomatic firearm carried by the German police and made
famous in themotion picture, 'Rambo: First Blood, Part II,' the
Model 15has the look and feel of the real thing."%
      Rival manufacturer Crosman has its own UZI look-alike
(which fires metal projectiles) and a reproduction of Colt's M-16
machine gun dubbed the A.I.R. 17. Crosman guarantees that "it
looks just like the real thing, 11 down to a detachable pellet clip
and flash guard on the muzzle of the gun.46
       Lare International, located in Longwood, Florida, offers--
by mail--the ML9-A BB submachine gun. "Imagine--a 3,000 BB per
minute cycle rate with an effective range of over 50 yards--
That's some AWESOME Fire Power!!! with a magazine capacity of
3,000 BBs, the weapon also comes in a pistol version. Each sells
for $39. on the ordering coupon, the purchaser must promise that
he or she is 18 years or older. 4 '
       The Para-ordnance M-85 isa full-auto paint ball "splat
 gun" MAC-11 machine pistol replica that fires 1,200 rounds per
 minute at 440 feet per second. The 24-round magazine can be
 emptied in 1.2seconds. It sells for $299.50.4



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    I
                  Far more common than paramilitary non-powder firearms are
            plastic-molded toy assault weapons. In addition to such staples
    I       as M-16s, AK-A7s, UZIs, and KG-9s, Daisy, the self-proclaimed
            leader in the field, offers toy silenced MAC-10 pistols
                                                             49     (the Alan
            Berg murder weapon) and bolt action machine guns.
    I             The International Association of Chiefs of Police (IACP),
            located in Gaithersburg, Maryland views look-alikes as a unique
            threat to public safety. As criminal misuse of assault weapons
            increases, police are more likely to assume that look-alikes are
            in fact real firearms. People who thoughtlessly display or
            brandish look-alikes run the risk of finding themselves in a
    I       deadly face-off with a police officer who must make a split-
            second decision on whether to draw a weapon and fire. According
            to the IACP, incidents involving airguns, highly detailed toy
            guns, and paint "splat guns" are increasing dramatically.
                   In May 1988, as an amendment to a bill dealing with the
             threat posed by non-detectable "plastic" firearms, congress voted
    L        to require that every look-alike sold in America be clearly
             marked with an orange stripe or other color to distinguish it
             from its real counterpart. The bill is awaiting presidential
             signature, which is expected. On the state and local level, laws
             have been introduced and enacted regarding the sale, production,
             and brandishing of look-alikes.

    L.             But even prior to the bill, various companies, reacting to
             the growing debate over look-alikes and the increasing negative
             publicity their sales generated, began to shift their product
             lines and mark their products to help distinguish them from real
             firearms. In late 1987, Daisy stopped the sale of its SoftAir
             guns, which had been imported from Japan. A spokesman for the
             company noted, however, that the decision was "90 percent
             financial. The guns just weren't selling.">l
                    critics of the marking concept point out that the
              markings can be easily painted over and will do little good in
        t     the dark, while criminals can paint similar markings on real
              guns.
        I             What makes look-alikes so appealing--that they look just
              like the increasingly popular assault weapons--is precisely what
              makes them so dangerous.
        I
              PUBLICATION8
        I           The growing fascination with assault weapons has been
              accompanied by a growth in the number of publications dedicated
i
              to the non-sporting use of firearms.
        I            Firepower, published by Everett Moore out of Cornville,
               Arizona, is the only magazine in America dedicated to full-auto
               and high-capacity firearms and has a circulation of 90-95,000.


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(Prior to the 1986 machine gun ban, the magazine had been devoted
exclusively to full-auto.) Each issue of the magazine is filled
with weapon, ammunition, and accessory reviews. Virtually all of
the weapons reviewed are assault weapons.
      According to Moore, "We jokingly ref er to them as black
and wicked-looking types of guns. They fill a need in the
consumer market for people ... who cannot afford the automatic
version of the same weapon. 11 Moore acknowledges that violence
involving these weapons is "a legitimate concern. It's reality
and you can't deny that." He adds, though, that, "it seems like
any time we go to disarm the criminal, we end up disarming the
legitimate, honest civilian.v52      •
      American Survival Guide is "the magazine for safer
living." Published by McMullen Publishing in Anaheim,
California, articles are listed under headings that include
"Survival Weapons," "Survival Gear," and "Survival How To.3 TA
also contains the "Survivalist Directory," a post-apocalypse
personals column that offers a "confidential listing of
survivalists who wish to become known to others of like mind."
Personal ads in the August issue include:
      o    "Melbourne, Florida. Teenage military organization
           that does U.F.O. research would like to recruit
           members. Also would like to set-up [sic)
           information exchange and meet others in this area for
           training. All races and sexes are welcome. Ages 12
           and over only. No racists or religious fanatics need
           apply."
       o   "Northern Arkansas. Young, conservative male seeks
           correspondence with other survivalists in area.
           Special interest is nuclear survival. No liberals,
           atheists, druggies or alcoholics. Females welcome.
           All ages reply."
       o   "Baltimore, Maryland. Urban group which meets
           biweekly is looking for interested local survivalists
           wishing to exchange information. We are not Rambos,
           racists, or extremists, but family-oriented and
           interested in workable, realistic solutions to short
           and long term survival scenarios,4
       Published since 1979, Survival Guide has a circulation of
 between 30,000 and 70,000.
        In addition to his mainstay, the monthly Combat Handguns,
 New York-based Stanley Harris also publishes such annuals as Guns
 & Survival and Special Weapons. Another Harris publication,
 Eagle, which had promised its readers "violent combat action,"
 has ceased publication. An October 1983 issue of the magazine
 featured an article entitled, "The Amazing Soft Drink Silencer--
  I'm a Pepper, You're a Dead Man." The article outlined the ease


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I
I      with which a two-liter plastic soft-drink container could be used
       as a silencer for a MAC-10. Eagle found it to be "the best
I      suppressor found in today's supermarkets. It's cheap, 6effective,
       and mixes well at parties. What more could you want?

I            The Special Weapons annual offers "The Newest Ideas in
       Guns and Equipment as Well as Combat-Proven Tactics.nT
       Articles in special Weapons include: "Colt Delta HBAR--Boasting

I      sniper rifle accuracy we compare this new Colt to the combat-
       proven Galil": "The Search for Compact Firepower--We compare
       submachine guns to short assault rifles"; "The Offensive Handgun-
       -It's the tool of the assassin" : "How to Buy Automatic Weapons--
I      Latest prices and availability of Class III firearms"; and the
        "Assault Rifle Buyer's Guide."8

 I             "The Offensive Handgun" is a how-to piece on
        assassination. The article advises that "single shots are
        preferred. The head, neck, and spine are the best targets."
        Recognizing that sometimes "an unsuppressed pistol may be the
        only one available," the article advises that, "the sound can be
        muffled by shooting through ... a potato or pillow. If the muzzle
        is held against the target this also may muffle the sound, but it
        can also cause him to react in unexpected ways, besides
        presenting the possibility of the pistol jamming from bits of
        clothing or flesh caught in the muzzle or chambers.O The
        article notes that the speed and capacity of a modern machine
        pistol are "important when shooting a number of people at
         once. n6l
                  Soldier of Fortune, published out of Boulder, Colorado,
        describes itself as "The Journal of Professional Adventurers."
        In a disclaimer on its title page (a trait many of these
        magazines share), it warns readers that the magazine "does not
        verify validity of every advertisement and/or the legality of
        every product contained herein. Soldier of Fortune magazine does
        not intend for any product or service to be used in any illegal
 L      manner.6? The magazine has been published since 1975 by
        National Rifle Association board member Robert K. Brown.
               In addition to various "you are there" articles such as
 L       "Sandinista Staredown" and "Bum Trip in Bolivia,° the magazine
         contains weapon reviews and combat tactics. Soldier of Fortune
         had also carried classified ads for mercenaries for hire. This
         practice has since been discontinued as the result of a lawsuit
         filed by the family of a victim whose murderer was hired as the
         result of an ad placed in the September 1984 issue of the
 I       magazine. The ad read: "Ex-marines. 67-69 Nam Vets. Ex-DI,
         weapons specialist-jungle warfare. Pilot. ME. High risk
         assignments. US or overseas."

 I             In 1984 Robert Black hired John Wayne Hearn to kill his
         wife. Hearn did so in February 1985. It had been Hearn's third
         murder in 19 days. As the result of this, the victim's parents
 I       and son sued Soldier of Fortune for $21 million, arguing that the



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magazine was aware of the implication contained in the ad.@ In
March 1988, a Colorado jury found that the magazine should have
known that the ad was offering the serv ices of a hired killer and
ordered it to pay $9.4 million. The decision is currently being
appealed,6 (soldier of Fortune refused to answer any questions
for this report, including circulation and initial date of
publication, on advice of their legal counsel pending outcome of
the suit.)
      New Breed, "the magazine for military adventure, n66 is
published by Harry S.Belil, out of Nanuet, New York. Though the
magazine focuses more on military action, it does contain
articles on assault weaponry and tactics. The August 1988 issue
also contains a review of the 1988 SHOT (Shooting, Hunting,
outdoor Trade) show, the annual trade show of the firearms
industry, held last January. In the piece, the author notes that
"there were plenty of assault rifles at the show.67
      Shotgun News describes itself as "The Trading Post for
anything that shoots." Published three times a month out of
Hastings, Nebraska, the 200-paqe, tabloid-style magazine has a
circulation of nearly 190,000.68 The magazine is crammed with
classified and display ads for firearms and accessories, most of
which are geared to firearms dealers.
       In addition to a cavalcade of gun ads, Shotgun News
 carries ads for a variety of accessories (including Nazi
 memorabilia such as coffee mugs with swastikas69), firearms, and
 publications, including The Turner Diaries, the "bible of right-
 wing extremists." In the book, "Earl Turner and his fellow
 patriots ... are forced underground when the U. s. government bans
 the private possession of firearms and stages the mass Gun Raids
 to round up suspected gun owners. An all-out race war occurs as
 the struggle escalates. Turner and his comrades suffer terribly,
 but their ingenuity and boldness in devising and executing new
 methods of guerrilla warfare lead to a victory of cataclysmic
  intensity and worldwide scope. If the government had the power
 to ban books, The Turner Diaries would be at the top of their
  list. Order your copy today." The $5.95 book is offered by the
                                                              7
  neo-Nazi National Vanguard located in Arlington, Virginia. O


 ACCESSORIES
       Not only do these publications supply information, but
 they also contain advertisements for various catalogs and
 products. The survival systems book catalog describes itself as
 offering "the most unusual and controversial books you've ever
 seen in your life.Tl In a disclaimer, the company notes,
 "Certain of the books in this catalog deal with activities and
 items which could be in violation of various laws if actually
 performed or constructed. We do not advocate the breaking of any
 law. our books are sold for entertainment purposes only and only
 to adults!72


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      With a toll-free numb er for credit-card orders, the
catalog contains books on revenge, fraud, dirty tricks, firearm s
conversion, home construction of firearm s and explosives, and
murder techniques.
      Books offered by surv ival systems include:
      o           How to Build Silencers: An Illustrated Manual. "A
                  complete manual for the construction of silencers at
                  home with simple tools. Build in less than one
                  hour. $5.95.w73
       o          Improvised Weapons of the American Underground.
                  "This book makes other 'cookbooks' things for Sunday
                  School picnics. This collection of original articles
                  covers: Making of Nitroglycerin: Plastic Explosives;
                  Detonators and Primers: Fuses: Impact Ignition
                  Incendiary Devices: and construction of Various Types
                  of Silencers; and Complete Plans for a Horne Made
                  Machine Gun which can be built for less than $20.00.
                  An absolutely incredible manual. $7.50.w7%

          o       Full Auto. "A completely illustrated modification
                  manual on selective fire conversions for the
                  following weapons: Mini-14; AR-15; HK-91-93; MA C 10-
                  11; and the Ml carbine. With this new edition, you
                  can convert all five weapons into their full-
                  automatic configurations with ease, as all
                  procedures are thoroughly explained in an easily
                  understood, fully illustrated, step-by-step manner.
                  Without a doubt, this is the finest conversion manual
                   on the market. $12.00,175
        Robert K. Brown's Paladin Press offers a 47-page, glossy
  catalog that includes sections on sniping, revenge and humor,
  survival, weapons, explosives and demolitions, guerrilla warfare,
  silencers, new ID and personal freedom, locksmithing, and
  terrorism. In an essay entitled "New Age Survival," readers are
  reassured that "We don't want to alarm you into heading for the
  hills today--but will help you become prepared to do so
  tomorrow, MW7 6
              Books offered in the catalog include:
              o     Anarchist Handbook. "For the modern anarchist, all
                    you need to know to construct an impressive
                    selection of improvised weapons," including "an
                    expedient silencer; a pipe hand grenade; plastic
                    explosive; and a rocket launcher. For each weapon,
                    the author supplies a list of materials easily
                    acquired from drug or hardware stores, hobby shops,
                    supermarkets or even junk piles; step-by-step
                    procedures; simple diagrams and how-to-us%,
                     instruction for certain weapons. $7.00."


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     o   The Mini-14 Exotic Weapons System. "Convert your
         Mini into a full-auto, silenced, SWAT-type weapon
         that is capable of field clearing firepower. Note
         that this conversion process requires no machining or
         special tools. Once completed it takes just five
         minutes to drop in the Automatic Connector (the
         book's secret!) or remove it as needed. It's that
         simple! $15.00078

     o    Improvised Explosives--Ho to Make Your Own. "Ten
          simple but powerful formulas for explosives and
          incendiaries" that gives the reader the ability "to
          construct actual bomb s, booby traps and mines.
          Learn how to obtain or make all the necessary
          chemicals or get acceptable substitutes. Various
          fuses, detonators, and chemical and electrical
          timers are covered, as are pipe bombs, plastic bottle
          bombs, jerry can bombs and tamperproof bomb s. With
          ease, you can construct such devices as a package
          bomb , booby-trapped door, auto trap, sound-
          detonated bomb, or pressure mine--to name just a
          few. $10.0079
     o    How to Kill (volumes one through six). "[M]akes no
          moral judgm ents, but merely describes what has been
          known for years by the professionals who are part of
          the shadowy world of international espionage and
          intrigue. As the author states in his preface, 'My
          only premise is that there are times when one must
          attack with complete ruthlessness and fight with
          lethal fury . This fury and ruthlessness must be
          harnessed and directed to the gravest possible
          damage--to kill." Priced at $8 per volume, the
          catalog notes that no book in the How to Kill series
           is available in Canada due to legislation by the
           Canadian solicitor general. 80
      In addition to operating a 24-hour-a-day, toll-free order
line and offering a "no questions asked" money-back guarantee,
Paladin Press also offers gift certificates, which "make
excellent gifts for you to send to friends and relatives.l

      Firepower's Everett Moore also runs a mail-order
publications house. Moore's Desert Publications offers many of
the same publications as his competitors under headings that
include: weapons and firearm s, specialized warfare, police
science, surv ival, self-defense, full-auto, suppressors, and
improvised munitions. 82 Moore, who sells between 2,000 and 5,000
copies of specific titles a year, refers to the publications as
"big boy toys," adding, "I haven't known a man yet who didn't
like [to know how] to pick a lock.+ 8 3




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I
I         The catalog of Phoenix Systems, Inc., located in

I   Evergreen, Colorado, offers its buyers "The Right Stuff," which
    includes:

          o   U.S. Military Practice Grenades "with ALL the
I             mechanical parts IN THE FUSE ASSEMBLY! ! ! -- NO
              EXPLOSIVES." The ad warns that "ACTIVATION OF THESE
              DEVICES REQUIRES PRIOR BATF APPROVAL. $19.95
              each, nu84

          o   Booby Trap Firing Device (M-l), "Standard U.s.
              Military PRESSURE RELEASE firing device used to
              initiate detonation of explosive charges in BOOBY
              TRAP applications or remote firing of Claymore mines.
              EXCELLENT training device because it is RELOADABLE
              with new primer caps (when not coupled DIRECTLY TO AN
              EXPLOSIVE CHARGE) . Hundreds of applications --- can
              be screwed directly into an explosive charge for
              instantaneous detonation or coupled to detonator
              cord for remote firing. $14.95 each.++85

          o   The Ballistic Knife--The Knife That Shoots.
              "CONGRESS OUTLAWED THE SPRINGS--BUT YOU CAN STILL BUY
              THE KNIFE! 11 The knife "can be fired up to an
              effective range of 30 feet. The typical penetration
              of this knife is about three times that of a manual
              stab. Extra blades and flight stabilizer available.
              $79.95 each." Under the heading "ATTENTION
              COLLECTORS AND SPORTSMEN, II the ad notes, "Due to
              recent Federal regulation, the Ballistic Knife may no
              longer be sold with the projection spring. The
              Ballistic Knife, IN LEGAL KIT FORM, that we are now
              able to sell, is identical to the original knife
              without the spring included. 11 The ad adds, "WE SELL
              NO SPRINGS. 86

          o    "FULL AUTOMATIC FIRE FOR YOUR AR-15. The drop-in
               auto sear is the KEY component in converting an AR-15
               toM-16 selective fire capability (semi or full
               automatic) and is the ONLY part for this conversion
               that is now required to be registered if CURRENTLY
               manufactured. OUR auto sears were manufactured prior
               to 11/1/81 when it was NOT required to have a serial
               number stamped on this part. COMPLETELY LEGAL TO
               PURCHASE." With the purchase of "five other
               commonly available M-16 replacement parts," the
               conversion can be made "in SECONDS without tools."
               The ad urges readers to "Act now while it is still
               legal to purchase these auto sears. When existing
               supplies are exhausted, THERE WILL BE NO MORE! !
               $175.00 each. n87




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      The recommended reading list of the catalog includes
books on silencers; on UZI, MA C-10, and AR -15 conversions; and on
home munitions. Other products available through ads placed in
these magazines include:

      o    The BMF Activator, a hand crank that can be attached
           to a rifle, boasts the "newest crank-operated rapid
           fire capability since the gatling gun!! Legally fire
           up to 1200 rounds per minute on your semi-automatic
           .22 rifle. Imagine the sensation of firing a truly
           rapid fire rifle. Since each turn of the crank
           handle fires the rifle four times, it is capable of
           pulling the trigger many times faster than you can."
           The advertising flyer for the activator includes a
           copy of a letter from ATF stating that "a manually
           operated device of this typ e is not subject to any of
           the provisions of the Gun Control Act of 1963,188

      o    The Tri Burst Trigger Activator, distributed by
           Orpheus Industries, offers "legal firepower." It
           "allows a 3-round burst from your AR-15... mounts in
           seconds" and fits "all makes" of AR-15 rifles. It
           sells for a "special introductory price" of only
           $34.95.89

      o    "The Ultimate" trigger activator derides its
           competitors as "the rapid fire plastic gizmo and the
           sheet metal device." With models available for the
           AR-15, Mini-14 and 30, M-1 Carbine, and AK models,
           The Ultimate allows the user to "fire individual
           rounds, 3 shot bursts or 50 round bursts at your
           instant discretion." The ad notes that "all federal
           laws ( if any) will apply. The ATF has ruled this
           device is not regulated by federal law." It retails
           for $129.95.90
       o   The API Predator Laser Target Designator is equipped
           with "helium neon lasers" that "project an intense,
           narrow beam of red light" with "an effective range"
           of up to 500 meters. Laser sights give their users
           point-and-shoot assassination capability.
           "Generally, the only visible element of the laser
           beam is a spot on a solid object that reflects light
           back to the operator. The beam itself is invisible
           in clear air." Priced at $495, the API laser sight
           is only one of many laser sights on the market, with
           some costing hundreds of dollars less.9l
       o   An ad for Kephart Publications offers plans for such
           exotic weapons as: hand, rifle, and shotgun
           grenades; L.A.W., RPG-7, Bazooka, Pod, Pocket,
           Shotgun, and T.O.W. rockets; claymore and land mines;
           flame throwers; and others. The ad guarantees
           "these plans are legal to own and make according to



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             BATF provisions" and promises that the "basic
             information is complete and all WILL work. All
             devices are simple to make and very inexpensive.
             Only common material and hand tools required. NO
             MA CHINE SHOP WORK . 11 The ad offers any 10 plans for
             $55.00.92
     o       The "Deadly Weapons--Firearms & Firepower" video tape
             advertisement features an assassination kit of a
             silenced MAC-1O in a briefcase. The ad asks, "Do you
             know which bullets will penetrate a car door? A
             windshield? Just how quiet is a real silencer? How
             effective is full auto fire?" Purchasers of the tape
             can "SEE & Learn the Answers tothese questions and
             much more!" The tape sells for $49.95.93
     o       The "Ninety Rounder" is a circular "assault magazine"
             that can hold 90 rounds of ammunition "for people who
             want real firepower!" Offered by the MWG Company it
             promises "LMG [light machine gun] Type Firepower
             From a Semi Auto Rifle." It retails for 49.95.94
     o       For the leisure hours, "Rock N' Roll #3--sexy Girls
             and Sexy Guns, The Video" offers "14 outrageous,
             southern California beauties ... firing some of the
             sexiest machine guns ever produced. And you' re
             probably wondering about the girls. What can I tell
             you? They're hot. 14different girls in string
             bikinis and high heels blasting UZis, MAC-lOs, M-16s,
             MP-5s, AK-47s, M-14s and more. It's something you
             just have to see. n95

PARAMILITARY TRAINING CAMP AND COMBAT SCHOOLS

      Those interested in assault weapons and combat techniques
do not need to rely solely on book knowledge. Around the United
States, training centers--from the paramilitary training camps of
right-wing extremists to commercial combat schools--offer
training in the use of weapons, explosives, and combat skills.
      According to testimony offered before the subcommittee on
Security and Terrorism in September 1985, paramilitary/mercenary
training camps can be broken down into three categories:
      o       Franchises or commercial establishments that offer
              training to law enforcement or security firms
              worldwide;
         o    Paramilitary and survivalist organizations that offer
              training in the use of small arms, map reading, and
              survival under extreme circumstances (those operated
              by the Covanent, Sword and Arm of the Lord, for
              example). According to the Anti-Defamation League of


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          B'nai B'rith, many of these camps also include an
          indoctrination of race hatred.

      o   Mercenary training camps, the goal of which is to
          offer the knowledge and skills necessary to be a
          soldier-for-hire.96

      In 1984, paramilitary training camps garnered media
attention when the FBI revealed that several Sikh students had
attended a two-week session at the Mere School in Dolomite,
Alabama, with the intention of using their new-found knowledge to
assassinate Indian Prime Minister Raj iv Ghanadi.97

      At the time, the Mere School's owner, Frank Camper,
stated that he operated strictly within the law and was merely
training people to surv ive incombat situations.      said camper,
"If someone were to train with me and to go away and perform an
act of terrorism, then I'm not responsible for that person's
actions. They are responsible for themselves.,9 (camper,
however, apparently did inform on the Sikh students to the FBI,
helping lead to their arrest.)
      critics of the camps argue that those run by survivalist
and paramilitary organizations are turning out terrorists. The
AOL states in the fall issue of its 1986 Law Report, "ADL
Paramilitary Training Statute: A Response to Extremism," that in
many camps, "'comb at' training is interspersed with the
indoctrination of hatred and totalitarianism in preparation for
anticipated civil strife, the rationale being the vision of a
coming race war.wl00
      In 1980 such camps were uncovered in Alabama California,
Connecticut, Illinois, North Carolina, and Texas.iol Daniel M.
Hartnett, ATF Acting Deputy Associate Director, Law Enforcement,
stated at the 1985 hearings that camps run by extremists have
shown "a willingness to comm it violent crimes to further their
cause and support their movement.nl0 2
       A 1985 raid conducted by law enforcement officials at a
 compound run by the Posse Comitatus outside of Rulo, Nebraska,
 yielded a cache of weapons that included assault rifles and 13   03
 fully automatic pistols and rifles, including modified AR -15s.l

       In 1986, the ADL formulated model state legislation that
 would ban paramilitary training "aimed at provoking civil
 disorder. 11104 In drafting the model bill, the ADL specifically
 stated that the statute must not violate First Amendment freedoms
 of speech and association. Another objective was to draft the
 statute narrowly so that it would not prohibit legitimate lawful
 activities such as target shooting and other sporting events.
 This was important, the AOL stated, for "minimizing opposition
 to the bill by powerful special interest groups.+10 Laws based
 on the statute have passed in Arkansas, California, Colorado,
 Connecticut, Florida, Georgia, Idaho, Illinois, Michigan,


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Missouri, Nebraska, New Jersey, North Carolina, Oregon,
Pennsylvania, Rh ode Island, Virginia, and West Virginia.l06

      In a statement opposing legislation restricting
paramilitary training camps, America's leading pro-gun
organization, the National Rifle Association (NRA ) , based in
Washington, D.C., states that such "legislation is objectionable
because it makes the mere possession of firearms a crime,
therefore undermining the right to keep and bear arms" and that
"the constitutionality of such legislation is questionable at
best, and could not, in all probability, withstand a court
challenge based on violation of First Am endm ent rights.w107

       The controversy has faded since the 1985 hearings,
al though camps and schools continue to operate. The FBI
currently has no figures on the numbers of camps and schools
operating in the United States. one such school, Brigade
Security Forces, located in Mooreville, North Carolina, offers
six-day courses in "commando tactics." It offers "absolutely the
best firearms training available with numerous NATO and COMMU NIST
firearms." one can also enroll in a special 30-day course
"designed for the adventurer that demands it all in one course."
Counter terrorist, sniper, and covert operations are some of the
areas covered. Brigade also offers private instruction for
"Individuals or Groups who desire Total Secrecy and Special
Training. NO COMMU NISTS, GAYS, ATHIESTS (sic)!!! II are allowed,
and one must be at least 16 years old to attend. lOS

THE ASSAULT WEAPON DEBATE

      Not surprisingly, the increasing number and subsequent
misuse of assault weapons has resulted in a growing debate over
their place in American society. The battle lines mirror those
drawn over other such "gun control" issues as waiting periods for
handgun purchases, bans on armor-piercing bullets, and
restrictions on the sale of "plastic" firearms. on one side of
the debate is America's gun lobby. The other side consists of
handgun restriction advocates and various police organizations.
       America's gun lobby--composed of pro-gun organizations,
 manufacturers, and various publications--staunchly opposes any
 restrictions on the sale or availability of assault weapons.
 The leading voice of dissent belongs to the NRA. With2.7
 million members and a budget of more than $71 million, the NRA9 is
 America's largest and most powerful pro-gun organization.,lO In
 1987 the organization published a pamphlet entitled Semi-Auto
 Firearms--The Citizen's Choice. Ayear later the organization
 published Semi-Auto Rifles: Data and Comment, a collection of
 articles on semi-automatics that had appeared in the NRA' s
 magazine, The American Rifleman.
       In both the pamphlet and the book, the NRA presents the
 controversy over assault weapons as a broader attack on all semi-


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automatic firearms, including hunting rifles with semi-automatic
mechanisms. By framing the debate as one concerning all semi-
autos, as opposed to a specific category of semi-auto, the NRA is
able to present efforts to restrict assault weapons as a threat
to hunters. The NRA recognizes the fact that it is far easier to
mobilize its memb ership and non-NRA outdoorsmen with images of
banning their trusted hunting rifles as opposed to UZIs or
TEC-9s.
       The cover of Semi-Auto Firearm s--The Citizen's Choice
features a duck hunter, duck call in mouth, silhouetted against a
bright orange sunrise. In his hand he appears to hold a shotgun.
on the first page of the pamphlet, the NRA offers its view of the
debate: "The national media and organized 'gu n control' groups
have advanced from demanding prohibitions on certain handguns and
amm unition, to calls for banning semi-automatic firearm s. The
pattern is obvious, and the strategy has long been clear--isolate
certain types of firearm s, label them as inherently 'evil' or
'crime prone,' and then try to segregate and drive a wedge
between firearms owners...2lO Fully automatic and high-tech
firearm s often seen on television programs, and in popular yet
violent movies, perpetuate the myth that 'semi-autos' are
frequently used for criminal purposes ... lll Even to experts,
admittedly, semi-automatic target or sporting rifles such as the
AR15 and MIA look like the full-automatic military Ml6s and Ml4s.
Why not? A civilian jeep looks like a military jeep, a civilian
tent looks like a military tent and a civilian shooter at the
national Matches at Camp Perry looks very much like his military
counterpart,112
        (The NRA's stand on assault weapons is not surprising
 considering the fact that it has labeled repeal of the 1986
 federal ban on the future production of machine guns for
 civilian use a "high priority.nll? In outlining its position on
 machine guns, the organization states, "Sporting events involving
 automatic firearms are similar to those events such as silhouette
 shooting and other tarqet-related endeavors and deserve the same
 respect and support,nll4 Phe NRA promises that it "will take
 all necessary steps to educate the public on the sporting uses of
 automatic firearmsnll and explains that "The Second Amendment
 is not limited by its language to the type of arms that the
 people have the right to own.ll6 The organization supports "the
 right of any law abiding individuals to own any firearms,
  including automatic firearms.nalTy (Although the NRA was asked
 to answer questions regarding its stand on assault firearms, the
  appropriateness of Soldier of Fortune publisher Robert K. Brown
  being on its board of directors, paramilitary accessories, and
  paramilitary training camps, a spokesman, after reviewing the
  questions, stated that the NRA was "declining to provide
  information for this report.")
       While the NRA struggles to turn the assault weapons debate
 into a semi-auto debate for public relations purposes,
 legislators and members of the press have been making it into one


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inadvertently. Neither of America's national handgun
restriction organizations has come out in favor of restricting or
banning all semi-autos, and have only recently begun dealing with
long guns (there is no national organization calling for
restrictions on all guns). Yet in discussions of assault
firearm s, those urging restrictions on these weapons have used
the terms assault, paramilitary, and semi-automatic weapon
interchangeably. This misusage apparently stems from an
unfamiliarity with weapons term inology and a lack of
understanding of the wide range of weapons covered by the term
semi-automatic. As the result of this lack of knowledge, and the
difficulties in defining assault weapons in legal terms, laws
have been proposed on the state level that would place waiting
periods on all semi-auto weapons. In August 1988, The New York
Times ran two editorials in favor of such a law on the federal
level, as well asurging a ban on the sale of assault weapons.ll 8

      According to John Hosford, executive director of the
citizens Comm ittee for the Right to Keep and Bear Arms (CCRKBA) ,
a 500,000 memb er pro-gun organization located in Bellevue,
Washington, the issue of paramilitary weapons will be addressed
at the organization's board meeting in Septemb er 1988. Says
Hosford, "It would be safe to say that we will take an aggressive
position in support of these." Founded in 1971, the CCRKBA
favors a repeal of the Gun Control Act of 1968 and has lobbied
against qun control ordinances on the local, state, and federal
1eve1.119
      The 100,000 plus-member Gun Owners of America (GOA),
located in Springfield, Virginia, views the assault weapons
debate as part of a long-range plan by handgun restriction
advocates to disarm America. Says GOA Director of Government
Affairs Craig Markva, "The goal was to target the machine guns
first, then the semi-autos, and right along with the handguns.
The whole premise ( of handgun restriction organizations J has been
based upon the fact that the Second Amendment is a hunting
right." But Markva argues, "the whole idea of the Second
Amendment is self-defense. The goal of the anti-gunner is to
isolate different categories of firearms for control or banning,
and them move on. The slippery slope is alive and well and
continues rolling on."
       America's handgun restriction movement has been cautious
 in its response to the assault weapons debate. Their reticence
 is understandable. By moving against a category of firearm that
 is not only a long gun, but difficult to define, they run the
 risk of appearing to prove the gun lobby right: that is, that
 handgun restrictions are merely the first step down the
 aforementioned slippery slope.
       In the past, the "gun control" debate was easily defined.
 "Good" guns were long guns that were used for hunting and
 sporting purposes, while "bad" guns were easily concealable
 handguns that had limited sporting use and were prone to misuse.


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Previously, the standard for restricting weapons involved
concealability and a cost/benefit analysis: Is the harm done by
a given category of firearm outweighed by any possible benefit?
Yet, although assault weapons are frequently misused and many are
more concealable than standard long guns, a new standard is
emerging: For what purpose was this weapon designed? The first
application of this standard came in 1986, when congress voted to
outlaw the future production of machine guns for civilian use.
The numb er of criminal incidents involving legally owned machine
guns prior to the ban had been few. Yet, Congress saw no reason
for this category of weapon to remain in civilian hands.

       Handgun control Inc. (HCI), based in Washington, o.c., is
America's leading handgun restriction organization. The
organization has more than 180,000 dues-paying members and an
annual budget of more than $4 million. Its vice-chair is Sarah
Brady, wife of Wh ite House press secretary James Brady, who was
injured in the March 1981 assassination attempt on President
Reagan. In its organization brochure, HCI calls for the
"restriction on the sale of UZI-type assault weapons, the
weapons of war like that used in the 1983 McDonald's massacre in
California." The organization adopted this stand in 1983.
Recently, HCI has run newspaper ads calling for unspecified
restrictions on assault weapons, labeling them "drug guns." In
addition, HCI came out in favor of banning the Striker-12 from
import. In addition to its stand on "UZI-type assault weapons,"
the organization favors a waiting period with background check
 for all handgun purchases, a ban on the sale of snub-nosed
handguns, and a ban on the production and sale of plastic
handguns.120
      The National Coalition to Ban Handguns (NCBH) , based in
Washington, o.c., is a coalition of 31 national religious,
professional, educational, and public heal th organizations that
favors banning the sale and private possession of handguns in
America. Exceptions to this would include possession by police,
military personnel on active duty, target shooters who keep and
use their handguns at bona fide shooting clubs, and federally
licensed collectors. NCBH has approximately 20,000 members and
an annual budget of $400,000. Prior to 1985, the organization
dealt only with handguns. But in May of that year, its board
voted to work to ban the sale and private possession of machine
guns. currently, its board is considering whether to endorse
banning the sale and private possession of assault weapons.. It
is scheduled to reach a decision at its November 1988
meeting.1 21
       The Law Enforcement Steering Comm ittee is the leading
 voice of law enforcement on the gun control issue. The Comm ittee
 consists of: the Federal Law Enforcement Officers Association:
 the Intern ational Association of Chiefs of Police; the Fraternal
 Order of Pol ice; the International Brotherhood of Police
 Officers; the National Association of Police organizations; the
 Police Executive Research Forum; the Police Management


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Association; the Police Foundation; the Major Cities Chief
Administrators; the National organization of Black Law
Enforcement Executives; and the National Troopers coalition.l2 2
As of Septemb er 1988, none of the memb ers of the Committee have
adopted an official stand on assault weapons, al though the topic
is scheduled to be discussed in the future.1 23

      On the federal level, no bills dealing with assault
weapons have yet been introduced in Congress. It is expected
that such a bill will be introduced sometime during 1989.

      On the state level, the first proposed law restricting the
availability of assault weapons was introduced by California
State Representative ArtAgnos (Dem., San Francisco) in 1985.
(Agnos was elected mayor of San Francisco in 1987.) The law,
which would have banned the sale and possession of specific
assault weapons--such as the UZI, MA C, and AR -15--failed to pass.
In 1988, Assemb lyman Michael Roos (Dem., Los Angeles) introduced
a measure that also would have banned specific assault weapons.
The bill was later amended to require instead a 15-day waiting
period with background check for all semi-automatic weapons. The
amended version of the bill failed to pass. Roos expects to file
a bill next year that would place a waiting period on specific
assault weapons.l24

       In addition, product liability lawsuits have been filed
against manufacturers of assault weapons. such suits are based
on the legal theory that the manufacturers of these weapons know
that their products are inherently dangerous and prone to
criminal misuse. Therefore, they should be held responsible for
the resulting death and injury . one of the first product
liability suits dealing with an assault weapon was filed on April
22, 1987, against Intratec USA, manufacturers of the TEC-9. The
suit was filed by the estate of David L. Bengston of Connecticut.
Bengston, a high school janitor, was fatally shot by an eighth
grader on December 10, 1985, with a TEC-9 that belonged to the
student's father. The student later held a classroom of children
hostage until his father came and convinced him to turn over the
weapon. In their complaint, attorneys for Bengston argued that
the TEC-9 is in fact a super Saturday Night Special. The case is
currently awaiting trial.125
       The first victory for proponents of the legal theory that
 some handguns are inherently defective because of specific design
 characteristics occurred on October 3, 1985, when the Maryland
 Court of Appeals ruled in Kelleyv. R. G. Industries that
 manufacturers of Saturday Night Specials could be held liable for
 their criminal misuse. The case stemmed from a March 1981
 robbery in which the plaintiff, Olen J. Kelley, was shot in the
 chest with a Rohm handgun.l26 (As part of the law outlawing the
 sale of Saturday Night Specials passed in Maryland in 1988, the
 Maryland legislature--as part of a compromise with the gun lobby-
 -added a component that would in effect nullify the Kelley
 decision.)


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      The signs are increasing of a growing awareness that
America has an assault weapons "problem. 11 At the end of its
July 1988 documentary on handgun violence in America, "Guns,
Guns, Guns," NBC reporter Connie Chung notes the increasing
misuse of assault weapons like the UZI .127 In his speech at the
Democratic National Convention, Democratic presidential
candidate Jesse Jackson, states of drug dealers, "They say, 'We
don't have Saturday Night Specials any more.' They say, 'We buy
AK-A47s and UZIs, the latest lethal weapons. We buy them across
the counter on Long Beach Boulevard.' You cannot fight a war on
drugs unless and until you are going to challenge the bankers and
the gun sellers...,wl28

CONCLUSION
       Assault weapons are increasingly being perceived by
legislators, police organizations, handgun restriction advocates,
and the press as a public health threat. As these weapons come
to be associated with drug traffickers, paramilitary extremists,
and survivalists, their television and movie glamour is losing
its lustre to a violent reality.
      Because of this fact, assault weapons are quickly becoming
the leading topic of America's gun control debate and will most
likely remain the leading gun control issue for the near future.
Such a shift will not only damage America's gun lobby, but
strengthen the handgun restriction lobby for the following
reasons:
o       It will be a new topic in what has become to the press and
        public an "old" debate.
             Although handguns claim more than 20,000 lives year,
        the issue of handgun restriction consistently remains a
        non-issue with the vast majority of legislators, the
        press, and public. The reasons for this vary: the power
        of the gun lobby; the tendency of both sides of the issue
        to resort to sloganeering and pre-packaged arguments when
        discussing the issue; the fact that until an individual is
        affected by handgun violence he or she is unlikely to work
        for handgun restrictions; the view that handgun violence
        is an "unsolvable" problem; the inability of the handgun
        restriction movement to organize itself into an effective
        electoral threat; and the fact that until someone famous
        is shot, or something truly horrible happens, handgun
        restriction is simply not viewed as a priority: Assault
        weapons--just like armor-piercing bullets, machine guns,
        and plastic firearms--are anew topic. The weapons'
        menacing looks, coupled with the public's confusion over
         fully automatic machine guns versus semi-automatic assault
        weapons--anything that looks like amachine gun is assumed
         to be a machine gun--can only increase the chance of
         public support for restrictions on these weapons. In



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        addition, few people can envision a practical use for
        these weapons.
0        Efforts to stop restrictions on assault weapons will only
         further alienate the police from the gun lobby.
              Until recently, police organizations viewed the gun
         lobby in general, and the NRA in particular, as a reliable
         friend. This stemmed in part from the role the NRA
         played in training officers and its reputation regarding
         gun safety and hunter training. Yet, throughout the
         1980s, the NRA has found itself increasingly on the
         opposite side of police on the gun control issue. Its
         opposition to legislation banning armor-piercing
         ammunition, plastic handguns, and machine guns, and its
         drafting of and support for the McClure/Volkmer handgun
         decontrol bill, burned many of the bridges the NRA had
         built throughout the past hundred years. As the result of
         this, the Law Enforcement Steering committee was formed.
         The Committee now favors such restriction measures as
         waiting periods with background check for handgun
         purchases, and a ban on machine guns and plastic firearms.
         If police continue to call for assault weapons
         restrictions, and the NRA continues to fight such
         measures, the result can only be a further tarnishing of
         the NRA's image in the eyes of the public, the police, and
         NRA members. The organization will no longer be viewed as
          the defender of the sportsman, but as the defender of the
          drug dealer.
0        Efforts to restrict assault weapons are more likely to
         succeed than those to restrict handguns.
             Although the majority of Americans favor stricter
         handgun controls, and a consistent 40 percent of
         Americans favor banning the private sale and possession of
         handguns,l29 many Americans do believe that handguns are
         effective weapons for home self-defense and the majority
         of Americans mistakenly believe that the Second Amendment
         of the constitution guarantees the individual right to
         keep and bear arms. l O Yet, many who support the
         individual's right to own a handgun have second thoughts
         when the issue comes down to assault weapons. Assault
         weapons are often viewed the same way as machine guns and
         "plastic" firearms--a weapon that poses such a grave risk
         that it's worth compromising a perceived constitutional
         right.
          Although the opportunity to restrict assault weapons
    exists, a question remains for the handgun restriction movement:
    How? Defining an assault weapon--in legal terms--is not easy.
    It'snot merely a matter of going after guns that are "black and
    wicked looking. 11 Although those involved in the debate know the
    weapons being discussed, it's extremely difficult to develop a


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legal definition that restricts the availability of assault
weapons without affecting legitimate semi-automatic guns. Most
likely, any definition would focus on magazine capacity, weapon
configuration, muzzle velocity, the initial purpose for which the
weapon (or its full-auto progenitor) was developed,
convertibility, and possible sporting applications. Any law
based on this definition would, however, need to have a clause to
excuse legitimate semi-automatic weapons that would inadvertently
fall under it. And although legislation could be passed that
would ban specific weapons, the world's arms manufacturers are
expert at producing weapons that follow the letter, but not the
intent, of the law. This often results in products that are
virtually identical to the restricted weapon, yet different
enough to remain on the market.
      Yet, the framework for restricting assault weapons already
exists. On the federal level, ATF currently excludes from import
handguns recognized as Saturday Night Specials. This is done by
application of criteria designed by the agency that takes into
account such things as barrel length, caliber, quality of
materials, safety devices, and other factors. Any gun that does
not meet the importation threshold cannot be sold in the United
States. Any manufacturer whose product is refused for import
can challenge the decision in federal court. criteria to
identify and categorize assault weapons could be developed by ATF
and applied toward restricting the availability of both foreign-
and domestically-produced assault weapons.
       The state of Maryland has taken a similar approach in
banning the sale of Saturday Night Specials. The 1988 Maryland
law established a nine-member board responsible for creating a
roster of permitted handguns. The nine members of the board
include: the superintendent of the state police; representatives
of the Maryland States' Attorney's Association, Maryland
Association of Chiefs of Police, Marylanders Against Handgun
Abuse, the National Rifle Association, and a Maryland gun
manufacturer; and three citizen board members to be determined by
the governor. After January 1, 1990, the law requires that no
person in Maryland may: manufacture a handgun not on the Handgun
Roster, or sell or offer to sell any handgun not on the Handgun
Roster that was manufactured after January 1, 1985. In
determining whether a handgun has a legitimate use and can
therefore be placed on the roster, the board will consider:
concealability; ballistic accuracy; weight; quality of materials;
quality of manufacture; and reliability as to safety, caliber,
and detectability by standard security devices used at airports
 and courthouses.3l States could develop similar rosters to ban
the sale of assault weapons.
        Since passage of the Maryland law, the NRA has collected
 enough signatures of Maryland residents to bring the measure to
 referendum on the November 1988 ballot. The NRA's opposition to
 such a panel is not surprising. The organization fears giving
 the government, at any level, the power to restrict the


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availability of firearms--conjuring up images of a "gun czar."
And although such proposals would solve the definitional problems
posed by assault weapons, it would guarantee fierce opposition
from the gun lobby.
      The success of any proposed legislation to restrict
assault weapons and their accessories depends not only on
whether the American public pays attention to the topic, but
agrees that these products are dangerous. Obviously, some
aspects of America's fascination with assault weapons and their
accessories are here to stay. Publications are clearly protected
under the First Amendment of the Constitution. Yet the weapons
themselves, and accessories such as laser sights and grenades
requiring only the explosive charge, can be restricted and even
banned at the local, state, or federal level. The fact that
assault weapons are increasingly being equated with America's
drug trade may play a major role in motivating the public to call
for their restriction. Yet, recognizing the country's
fascination for exotic weaponry and the popular images and myths
associated with guns, it may require a crisis of a far greater
proportion before any action is taken.




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APPENDIX I

      According to law enforcement officials, federal agencies,
and handgun control organizations, the assault weapons of choice
appear to be the following (all models are semi-automatic
versions):
      AK-47--The Kalashnikov rifle, also known generally as the
      AK-47, was developed in the soviet Union in 1947 by
      Mikhail T. Kalashnikov. Semi-automatic versions of a
      Chinese model--the Model 56--are currently imported into
      the United states, as are models developed by other
      countries. The Chinese AK-47 produced by POLY
      Technologies and distributed in the United States by PTK
      International, Inc. , is 34 3/8 inches long. With a
      folding stock, the weapon has an overall length of 34 5/8
      with the stock extended, and approximately 30 inches
      folded. The weapon can accept 20-, 30-, 40-, and 75-round
      magazines.l? semi-automatic versions of the AK-47 retail
       for as little as $300.233
      AR-15A2--The AR-15A2, commonly known as the AR-15, is
      manufactured by Colt Industries of Hartford, Connecticut.
      It is the civilian version of the company's M-16 machine
      gun. The AR-15A2 rifle has an overall length of 39
      inches. The Government Model carbine comes with a folding
      stock. Its overall length with the stock folded is 35
      inches, 32 closed. In 1987 the company introduced the
      Delta HBAR, a sniper rifle version of the rifle. The
      weapon comes with a 5-round magazine, but can accept a
      variety of high-capacity magazines. 3 The AR-15A2
      retails for approximately $680.
       MAC-10MAC-11--The MAC-l0 machine pistol was originally
       developed by Gordon Ingram at Military Armaments
       Corporation (MAC) in 1969. Soon thereafter, the MAC-11
       was marketed and subsequently semi-auto versions of both
       were developed. MAC went bankrupt in 1978. currently,
       the rights for the MAC-10 are owned by a Stephensville,
       Texas, company which took the Military Armaments
       Corporation name. Manufacturing rights for the MAC-1l now
       belong to various corporate entities operated by Sylvia
       and Wayne Daniels of Georgia.135 An ad placed in Shotgun
       News for the semi-auto 9mm M11/9 produced by the Daniels,
       describes it as "The Gun That Made the '80's' Roar" and
        characterizes it as being as "American as God, Mom, and
       Apple Pie!vl36 ghe 9mm MAC-11 is 12.15 inches long. It
        comes with a 32-round magazine. The 9mm MAC-10 has a
        length of 10.5 inches with its stock folded and comes with
        a 32-round magazine. Both have threaded barrels137for the
        attachment of silencers and barrel extensions •     The
        MAC-11 can retail for as little as $200.




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        RUGER MINI-14--The Ruger Mini 14 is manufactured by Sturm,
1       Ruger & Company, Inc. of Southport, Connecticut, and was
        introduced into the civilian market in 1975. With a
        folding stock, the weapon has an overall length of 37. 75
        inches, 27.5 with the stock closed. The gun comes with a
        standard 5-round magazine, but magazines have been
        developed for it that can hold up to 40 rounds.l?8 The
        Mini-14 retails for approximately $330.
         TEC-9--The 9mm TEC-9 assault pistol was originally
         developed by Interdynamics AB of Sweden and produced in
         the U.S. by F.I.E. of Florida. The original version, the
         KG-9, was easily converted to full auto and was
         subsequently reclassified as a machine gun by ATF in 1982.
         Soon after, the weapon was redesigned to sell as a semi-
         auto and reclassified the KG-99. Subsequently, a Hong
         Kong company bought the rights to the weapon from
         Interdynamics AB and a new company, Intratec USA, was
         formed in the United states to manufacture the weapon, now
         dubbed the TEC-9. In November of 1987, Intratec USA
         reorganized to become Intratec. Twelve and a half inches
         long, the lightweight TEC-9 comes with a 36-round
         magazine. The TEC-9M, a smaller version of the weapon, is
          10.5 inches long. Both have threaded barrels so that they
          can accept silencers and barrel extensions. High-impact
          plastic is used for the gun's receiver, magazine well, and
          pistol grip.l39 promotional material for the guns
          describe them as being "high-spirited" and "weapons that
          are as tough as your toughest customers.ml4O The TEC-9
          retails for approximately $250.
          UZI--Manufactured by Israeli Military Industries, the 9mm
          UZI was designed in the early 1950s by Army Major Uziel
          Gal. In 1979, a semi-automatic version was first
          imported to the United states for civilian sale by Action
          Arms of Philadelphia. The UZI semi-auto carbine has an
          overall length of 24. 4 inches with its stock folded, 31.5
          with the stock open, and comes with a standard 25-round
          magazine. In 1984, the company introduced the UZI pistol,
          which has an overall length of 9.45 inches. In 1987,
          Israeli Military Industries introduced the Mini-UZI
          carbine, which with its stock folded has an overall length
          0f 26.1 inches, 35.75 with the stock unfolded.
                                                          141 A 1988
          Action Arms ad for the UZI exclaims, "When the going gets
          tough ... the tough get an UZI. Whether for a backwoods
           camp, RV or family home, don't trust anything less. The
          UZI Carbine is the perfect choice for the sportsman who
           wants unfailing reliability and top performance in a
           rugged, compact size." With a kit that will allow the
           weapon to use .22 ammunition, the gun becomes "an
           inexpensive plinker,l42 phe UZI carbine retails for
           approximately $700, the pistol for $510.




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APPENDIX II

      Paramilitary weapons are just the latest topic in the
ongoing debate over the role of specific categories of firearms
in American society. Unfortunately, there is often confusion
among the press and public--and even among handgun restriction
advocates--regarding the various types of firearms. In an
article published in the April 1987, American Rifleman, National
Rifle Association staff member Paul Blackman writes, "When a
reporter calls a semi-automatic rifle, pistol or shotgun a
"submachine gun"...He may just not know any better." Blackman's
right. He points out that The Associated Press Stylebook and
Libel Manual incorrectly defines a "submachinegun" as "A
lightweight automatic or semiautomatic gun firing small arms
ammunition.wl43
      Recognizing this, descriptions of the various categories
of firearms are as follows:
      Firearms refer to weapons that use a powder charge to fire
a projectile. (Airguns such as BB and pellet guns use a burst of
air to fire their projectiles and hence are not considered
firearms, although they are capable of inflicting severe or fatal
injuries.)
       Firearms have been broken down into essentially two
groups: long guns and handguns. Long guns are weapons designed
to be fired from the shoulder. According to ATF standards, to
qualify as a rifle, the shoulder-fired weapon must have a barrel
length of 16 inches, 18 inches for a shotgun.l44 Handguns are
firearms designed to be fired from a single hand and are usually
defined as having an overall length of less than 18 inches.l45
Repeating firearms are those that allow the shooter, by operating
a mechanism on the gun, to load another round into the gun after
a shot has been fired. Manually operating the bolt, lever, pump,
or other mechanism extracts and ejects the empty case after the
cartridge has been fired. It then reloads a fresh shell or
cartridge from the magazine into the chamber and cocks the gun.
Semi-automatic guns do this automatically when they fire. With
each squeeze of the trigger the semi-automatic repeats the
process of firing, ejecting, and reloading.146 Although a semi-
 automatic will fire only one cartridge per trigger pull, an
 automatic will continue to fire cartridges as long as the trigger
 is pulled. An automatic is also known as a machine gun. More
 than 119 million rifles and shotguns have been produced in the
 U.S. since 1899.247 It is estimated that the majority of these
 weapons remain in circulation.
       Handguns can be either revolvers or semi-automatic
 pistols. Revolvers have a round cylinder that is actually the
 magazine and acts as a chamber when properly aligned with the
 barrel. In double-action revolvers, each time the trigger is
 pulled the weapon fires and the cylinder advances to the next
 chamber. Single-action revolvers require that the hammer be


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1   manually cocked before each shot. A revolver's cylinder usually
    holds six cartridges. Instead of a revolving cylinder, a semi-
    automatic handgun (also known as a pistol) carries its extra
    cartridges in a magazine usually located in the handle of the
    handgun. Spring pressure forces the cartridges upward in the
    magazine. Each time the weapon is fired, a new cartridge is
    moved up and is loaded into the chamber. Pistol magazines
    usually hold between 14 and 17 cartridges,l4 Pistols are often
    known as "automatics" although they do require a separate trigger
    pull for each shot. Pistols thatarefully-automatic, that is,
    that will continue to fire as long as the trigger is pulled, are
    known as machine pistols.
          Handguns with barrel lengths of three inches or less are
    known as "snubbies. 11 Snubbies are preferred by criminals because
    of their increased concealability. A subcategory of snubbies are
    Saturday Night Specials--inexpensive, inaccurate snubbies made
    of inferior materials. Because of their low quality and
    inaccuracy, these weapons have no sporting purpose and are best
    suited for criminal use. There are an estimated 35 to 40 million
    handguns in America.l49
          Assault firearms are semi-automatic (firing one bullet per
    trigger pull) and fully automatic (the weapon will keep on firing
    as long as the trigger is depressed) anti-personnel rifles,
    shotguns, and handguns that are designed primarily for military
    and law enforcement use. With muzzle velocities that are often
    greater than standard long guns, and high-capacity ammunition
    magazines, assault weapons are built to kill large numbers of
    human beings quickly and efficiently. Most assault weapons have
    no legitimate hunting or sporting use. Assault rifles and
    shotguns often have pistol grips and folding stocks, and are
    typically lighter and more concealable than standard long guns.
    Some assault pistols have threaded barrels for the easy
    attachment of silencers. Many assault weapons are merely semi-
    automatic versions of military machine guns, making them easier
    to convert to fully automatic machine guns.




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          in civilian hands, an unknown number of which had been
          converted to fully automatic machine guns, a figure which
      "   the Bureau of Alcohol, Tobacco and Firearms concurred
          with. Recent estimates in the press (See footnote #5)
          have put the figure at between 650,000 and two million.
          Because of the fact that manufacturers are not required to
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                          EXHIBITD
        to Expert Report of Professor Louis Klarevas
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BULLET HOSES
SEMIAUTOMATIC ASSAULT WEAPONS




What Are They? What's So Bad About Them?




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The Violence Policy Center (VPC) s a national non-profit educational organization that
conducts research and public education on firearms violence and provides information and analysis to
policymakers, journalists, advocates, and the general public The Center examines the role of firearms in
Amenca, analyzes trends and patterns mn firearms violence, and works to develop policies to reduce gun-related
death and injury

This report was authored by VPC Senior Policy Analyst Tom Diaz and edited by VPC Publications Coordinator
Aimee Stenzel

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        "Officer Down"-Assau/t Weapons and the War on Law Enforcement (May 2003)
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        Production H1stones Broken Out by Firearm Type and Caltber (March 2003)
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        (August 2002)
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        Osama bin Laden Got Hts 50 Caltber Sniper Rifles from the US Afghan-Aid Program (February
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         1963 to 2001 (Apnl 2001)
        A Deadly Myth Women, Handguns, and Self-Defense (January 2001)
         Handgun Lucensmg and Registration What it Can and Cannot Do (September 2000)
         Pocket Rockets The Gun Industry's Sale of Increased Kil/mg Power (July 2000)
         Gunland USA A State-by-State Rankmg of Gun Shows, Gun Retailers, Machine Guns, and
         Gun Manufacturers (June 2000)
         Guns For Felons How the NRA Works to Rearm Cnminals (March 2000)
         One Shot, One Kill Cullan Sales of Military Sniper Rifles (May 1999)
         Cease Fire A Comprehensive Strategy to Reduce Firearms Violence (Revised, October 1997)

                                           Violence Policy Center
                                       1140 19th Street, NW, Suite 600
                                          Washington, DC 20036
                                            202-822-8200 phone
                                             202-822-8205 fax
                                              www vpc org web

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                                            Violence Policy Center
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         TEN KEY POINTS ABOUT WHAT ASSAULT WEAPONS ARE
                   AND WHY THEY ARE SO DEADLY

This study documents the following 10 important key points on the pages noted.

 1. Semiautomatic assault weapons (like AK and AR-15 assault rifles and UZI and
MAC assault pistols) are civilian versions of military assault weapons. There are
virtually no significant differences between them (Page 1)

 2. Military assault weapons are "machine guns." That is, they are capable of fully
automatic fire. A machine gun will continue to fire as long as the trigger is held down
until the ammunition magazine is empty. (Page 1)

 3. Civilian assault weapons are not machine guns. They are semiautomatic
weapons (Since 1986 federal law has banned the sale to civilians of new machine
guns.) The trigger of a semiautomatic weapon must be pulled separately for each
round fired. It is a mistake to call civilian assault weapons "automatic weapons" or
"machine guns." (Page 1)

 4. However, this is a distinction without a difference in terms of killing power.
Civilian sem1automatIc assault weapons incorporate all of the functional design
features that make assault weapons so deadly They are arguably more deadly than
military versions, because most experts agree that semiautomatic fire is more
accurate-and thus more lethal-than automatic fire. (Pages 1, 5-6, 11-14)

 5. The distinctive "look" of assault weapons is not cosmetic. It is the visual result
of specific functional design decisions. Military assault weapons were designed and
developed for a specific military purpose-laying down a high volume of fire over a wide
killing zone, also known as "hosing down" an area (Pages 2-6)

 6. Civilian assault weapons keep the specific functional design features that make
this deadly spray-firing easy. These functional features also distinguish assault
weapons from traditional sporting guns. (Pages 5-10)

 7. The most significant assault weapon functional design features are: (1) ability to
accept a high-capacity ammunition magazine, (2) a rear pistol or thumb-hole grip,
and, (3) a forward grip or barrel shroud. Taken together, these are the design
features that make possible the deadly and indiscriminate "spray-firing" for which
assault weapons are designed. None of them are features of true hunting or sporting
guns. (Pages 5-6)

8. "Spray-firing" from the hip, a widely recognized technique for the use of assault
weapons in certain combat situations, has no place in civil society. Although assault
weapon advocates claim that "spray-firing" and shooting from the hip with such
weapons is never done, numerous sources (including photographs and diagrams)
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show how the functional design features of assault weapons are used specifically for
this purpose (Pages 12-14)

 9. Unfortunately, most of the design features listed in the 1994 federal ban-such
as bayonet mounts, grenade launchers, threaded barrels, and flash
suppressors-have nothing to do with why assault weapons are so deadly. As a
result, the gun industry has easily evaded the ban by simply tinkering with these "bells
and whistles" while keeping the functional design features listed above. (Page 14)

10. Although the gun lobby today argues that there is no such thing as civilian
assault weapons, the gun industry, the National Rifle Association, gun magazines,
and others in the gun lobby enthusiastically described these civilian versions as
"assault rifles," "assault pistols," "assault-type," and "military assault" weapons to
boost civilian assault-weapon sales throughout the 1980s. The industry and its allies
only began to use the semantic argument that a "true" assault weapon is a machine
gun after civilian assault weapons turned up in inordinate numbers in the hands of
drug traffickers, criminal gangs, mass murderers, and other dangerous criminals
(Pages 14-16)




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                   WHAT IS A SEMIAUTOMATIC ASSAULT WEAPON?

Semiautomatic assault weapons are civilian versions of automatic military assault rifles
(like the AK-47 and the M-16) and automatic military assault pistols (like the UZI).

                                                          Assault Weapons




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                                                                                                              STRAIGHT 0R FOLDING STOCK

                                                                   THE GUN THAT HAS SEEN MORE SERVIC
                                                                   USE THAN ANY OTHER RIFLE IN THE WORLD ANO IS STILL IN USE TODAY
                                                                              SEE YOUR DEALER FOR FURTHER INFORMATION
                                                                           LAW ENFORCEMEITT AND DEALER INQUIRIES WELCOMED
                                                                                      IMPORTER OF FINE FIREARMS
                                                                     SILE INC       • 7 CENTRE MARKET PLACE, NEW YORK, NY 10013
                                                                                      TELEPHONE 212/925-4111
            Stu«la d   ll 4 ·47   Ault Rifle   wt   'I   d ox
            mgaz ne                                               4 OUNS & AMMO/DECEMBER (985



           Military AK-47                                                          Civilian AK-47
           Assault Rifle                                                           Assault Rifle

These guns look the same because they are virtually identical, save for one feature·
 military assault rifles (like the rifle on the left above) are machine guns. A machine
gun fires continuously as long as its trigger Is held back-until it runs out of
ammunition. Civilian assault rifles (like the gun on the right) are semi-automatic
weapons. The trigger of a semiautomatic weapon must be pulled back separately for
each round fired

Because federal law has banned the sale of new machine guns to crvtlans since
1986,° and heavily regulates sales to civilians of older model machine guns, there is
virtually no civilian market for military assault weapons The gun industry introduced
semiautomatic versions of military assault weapons in order to create and exploit new
civilian markets for these deadly weapons. The next section explains why civilian
semiautomatic assault weapons are no less deadly than military automatic assault
weapons. In fact, they are arguably even more deadly.




   a   See, 18 US Code, Section 922(0)
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      WHAT'S SO BAD ABOUT SEMIAUTOMATIC ASSAULT WEAPONS?

Assault weapons did not "Just happen " They were developed to meet specific combat
needs All assault weapons-military and civilian alike-incorporate specific features
that were designed to provide a specific military combat function. That military
function is laying down a high volume of fire over a wide killmg zone, also known as
"hosing down" an area. Civilian assault weapons keep the specific design features
that make this deadly spray-firing easy. These features also distinguish assault
weapons from traditional sporting firearms


              Assault Weapon Design Follows Specific Combat Function




                             Assault rifles are used for sustamed fire action at
                             relatively close range {under 100 meters being the
                             norm) Here Hussian troops engage targots with
                             ther AK 47/AKMI assault rifles.


Illustration and caption from Chuck Taylor, The Fighting Rifle      A Complete Study of the Rifle ,n Combat
(Boulder, CO Paladin Press, 1984) 166


The distinctive "look" of assault weapons is not merely "cosmetic," as the gun lobby
often argues-the assault weapon's appearance is the result of the design of the gun
following its function A brief summary of how assault weapons came into being
makes clear the reason for, and the nature of, their distinctive design features




                                                       2
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The problem of trench warfare.        The roots of military
assault weapons lie in the trench fighting of the First World
War. The standard infantry weapon of that conflict was the
long-range battle rifle. "Infantrymen in most armies were
equipped with high-powered rifles: long, unwieldy, but
accurate to ranges of 1,000 m (3,280 ft) or more. But a
long weapon was a definite handicap in the close-quarter
fighting of the trenches, and long-range capability was
wasted when combat usually took place at ranges of tens
of metres or less."
Right-Troops in a World War I trench, fixing bayonets on battle rifles.
Below-Springfield Model 1903, the U.S. Army's main battle rifle in
World War I.



                                                            Submachine guns-the
                                                            intermediate step. When
                                                            armies bogged down in the
                            a
                                                            World War I trenches,
                                                            weapons designers looked
                                                            for ways to break the
                                                            bloody stalemate. Among
                                                            them was the submachine
gun, designed to be a "compact, fast-firing, short-range weapon" for use in the
trenches and by highly mobile storm troops in new tactical formations. According to
the Illustrated Book of Guns, "A submachine gun (SMG) is a close-range, automatic
weapon, firing pistol cartridges (e.g., 9mm Parabellum), and is compact, easy to carry,
and light enough to be fired from either the shoulder or
the hip."?

AmongsomefamousAmericansubmachinegunsarethemorefinely
machined Thompson, or "Tommy Gun," shown on the right in the
hands of British Prime Minister Winston Churchill, and its successor,
the mass-produced M3 "Grease Gun," shown below. Both are
chambered in .45ACP, a pistol cartridge.




                                                    3
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The final step-the first assault rifle. The last step in the evolution of the military
assault rifle came during the Second World War. It grew out of the German military's
pre-war interest in "obtaining a relatively high-power intermediate or mid-range
cartridge and corresponding weapon for infantry application." (Emphasis added). On
the one hand, the submachine gun was useful in close-range fighting, but the pistol
cartridge it fired (typically 9mm) lacked power and range. On the other, German
military thinkers realized that the battle rifle was too much gun for modern combat
scenarios: "Since most infantry action took place at ranges under 400 meters, the
long-range potential of the standard cartridge and service rifle were actually wasted."
There were also logistical problems in supplying armies in the field with different kinds
of rounds of ammunition: the larger rifle cartridges for the battle rifle and the smaller
                                           6
pistol cartridges for the submachine guns.
                                      German MP-40 9mm
                                      submachine at left, and
                                      Mauser Karabiner 98k
                                      battle rifle below. Both
                                      guns shown in the field
                                      with French Nazi soldiers
                                      at right.




The solution to these logistical and firepower problems practically suggested itself:

       Logically, it was inescapable that sooner or later someone would
       consider a compromise between the long range, powerful, rifle and the
       rapid fire, but short range, submachine gun. During their Operation
       Barbarossa (Russian) campaign and elsewhere, the Germans were
       continually reminded of the ever-increasing need for a rapid fire arm that
       was small enough to be convenient to hand carry, but at the same time
        possessed sufficient range and power to be adequate out to about 200
        meters.7

The result of German research and development was that very compromise. It came
in the form of the STG (Sturmgewehr) ("storm gun") 44, the "father of all assault
rifles .... After the war it was examined and dissected by almost every major gunmaking
nation and led, in one way and another, to the present-day 5.56mm assault rifles."



                                              4
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                   THE "FATHER OF ALL ASSAULT RIFLES"




                           Above, the Nazi army's Sturmgewehr (STG) 44, the first assault rifle.
                                                        Below, the STG 44 in combat action.



Deadly designs. One thing leaps out from
these pictures: the remarkable similarity of
the first assault rifle to the assault rifles
currently flooding America's streets. This
family resemblance is not a coincidence.
From the STG-44 "storm gun" to the
Bushmaster XM-15, assault weapons have
incorporated into their design specific
features that enable shooters to spray
 ("hose down") a large number of bullets
 over a broad killing zone, without having to
 aim at each individual target.        These
 features not only give assault weapons a
 distinctive appearance, they make it easy to simply point the gun while rapidly pulling
 the trigger-including firing from the hip, a procedure seldom used in hunting anything
 but human beings. The most important of these design features are:

       o     "High-capacity," detachable ammunition magazines (often called "clips")
             that hold as many as 75 rounds of ammunition. "This allows the high
             volume of fire critical to the 'storm gun' concept."
       o     A rear pistol grip (handle), including so-called "thumb-hole stocks" and
             magazines that function like pistol grips.
       o     A forward grip or barrel shroud. Forward grips (located under the barrel
             or the forward stock) "give a shooter greater control over a weapon
             during recoil."1° Forward grips and barrel shrouds also make it possible
             to hold the gun with the non-trigger hand, even through the barrel gets
              extremely hot from firing multiple rounds. In the case of assault pistols

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              (like the UZI, MAC, and lntratec TEC series) the forward grip often
              appears as an ammunition magazine or a barrel shroud, a vented tube
              surrounding the gun barrel.




                                    Far those who ow the Ezi Carbine,
                                    E&I, Manufacturing offers a liglit-
                                    weight aluminum shrol (shown here
                                    with forward pistol rip and E&L's
                                    brass rfcher. (l'hut antes ul
                                    E&L Mufaturin.)




Barrel shrouds make it possible to hold a hot barrel
during firing (right). Forward pistol grips help control
                                                                          Harrel shrouds like tlie one on this gun do little ballisti-
recoil (above). Images and captions from Duncan                           cally, but they do provide a safe place to rest the ff
                             11                                           hand for those wishing lo grip the barrel of the tirerm
Long, The Terrifying Three.
                                                                          during firing.



                                                                                         Military assault rifles, like
                                                                                         this Heckler & Koch G41
                                                                                         invariably accept a high-
                                                                                         capacity magazine ("clip")
                                                                                         and have some form of
                                                                                         pistol grip and fore-end
                                                                                         grip.




Barrel shrouds, like the one on the right
sold by Bushmaster Firearms for use on
the UZI, are "ventilated all around for
maximum heat dissipation."




These design features create the
ability to quickly lay down a high volume of fire, making semiautomatic assault
weapons a particularly dangerous addition to the civilian gun market. They explain
why assault weapons are favored by terrorists, mass killers, and violent criminals, and
they distinguish such weapons from true hunting and target guns.




                                                           6
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   MODERN DESCENDANTS OF THE STG-44 ON AMERICA'S STREETS

Most of the assault weapons sold on America's civilian market are semiautomatic
descendants of the STG-44. Here are a few of the more popular and notorious.

Kalashnikov AK-47 and its variants. The Soviet Army's AK-47 was derived from the
STG-44 shortly after the Second World War, boosted by material and personnel that
fell into Soviet hands when the Red Army overran German research and engineering
facilities.12 The AK-4 7 (in many variants, like
the AKM) has become, since the 1940s, the
                                               13
most widely-distributed rifle in the world.
According to The Gun Digest Book of Assault
Weapons:

"The AKM was the revolutionary weapon of
the 1960s and '70s, used by everyone from
the Viet Cong to the Palestine Liberation
fighters. Its comparatively short length and
                                                                                                 .,,                .,,..•   r,..,
light weight made war more available to Third
World women and children, probably not an
advance for civilization."14
                                      Above: AK-47, foreground, AKM, upper right background.



China exported few guns to            China accounted for forty-two percent of all rifles imported into
the United States before         the (U.S. civilian market between 1987 and 1994, the year in wlicl
the 1980s. But, beginning        l)1·c.9ide11L Clinton finally blocked the ( '.hiuc8e v;uu d11111pi11g (see
in 1987, Chinese rifle           T'lle 8).
imports-mostly semi-
                                                                         Table
automatic versions of the
AK-47-surged. The flood                     Rille Imports from China to the United States, 1987 1994
of Chinese rifles reached                                                                 Rftes po»td     lave( Uhas
                                             total Rifts        punted    /.'/1111i'11
64 percent of all rifles                                                                                     22%
                                 l!li-:7             •l!ii.!l!i'I                          I00,897
imported into the United         l<ISS                 l/-i-l.fl7fi                        11:1:Ul:J!i       38
 States in 1993 and was          1111\!I             350.012                               141 .. lX:L       40
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 President Bill Clinton. (See    l'l!):I             7<H,·l!JK                             -t!JO,:l!IU       54%
 table at right.)15               l!l!)-1            li!ll\!Jfl7                           :J,1-1,tilH       49%
                                 Tot;il            l,7.'-:l.tiO'i                        I .:i71,/-i0-l      12%




                                                 7
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AR-15 Variant of the M-16. The U.S. Army's decision in the 1960s to replace its M-14
battle rifle with the M-16 assault rifle was based on reasoning similar to the German
army's and highly revealing of the function of assault weapons. After studying over
three million casualty reports from World Wars I and II, and data from the Korean War,
the Army's Operations Research Office (ORO) found that, "in the overall picture, aimed
fire did not seem to have any more important role in creating casualties than randomly
fired shots. Marksmanship was not as important as volume. Fire was seldom
effectively used beyond 300 meters due to terrain ... and [ORO] discovered that most
kills occur at 100 meters or less. From this data, ORO concluded that what the Army
needed was a low recoil weapon firing a number of small projectiles .... The [Armalite]
                                                                                     16
AR-15 was chosen as the best small caliber weapon and it was adopted as the M16."

The U.S. Army adopted the
M-16 assault rifle, right, in
the 1960s.          It saw
extensive service during
the Vietnam War.

Another       expert's
explanation of the Army's
reasoning sheds light on one of the principal dangers of assault weapons on civilian
streets"spray and pray" firing:

       The studies showed that...in spite of the huge amounts of money spent
       by the military services in training combat infantrymen to be marksmen,
       few were capable of firing effectively beyond ranges of 200 to 300 meters
       in the heat of battle. "Spray and pray" would come to be the practice on
       the future battlefields of Vietnam .17



                                Books like these two illustrate that
                                there is virtually no difference
                                between the military M-16 and the
                                civilian AR-15, the latter being only
                                slightly modified for sale in the
                                civilian market.         The titles
                                themselves show the popular
                                equivalence.




                                               8
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The gun industry was quick to begin churning out civilian versions of the M-16, labeling
the semiautomatic models the "AR-15," not coincidentally the same name as the
prototype version of the military assault rifle.




                                                              Bushmaster's version of the AR-
                                                              15, left, achieved new heights of
                                                              notoriety in 2002 when it was
                                                              revealed that one model was the
                                                              weapon used by the infamous
                                                              Washington, DC-area snipers.




    Bushmaster Firarns, l,
    99» taos vet ml • in0ban, ME 0406!
    net q0 094 392$ « f940/ 997 06
    nit,    mtabrhart «om




Assault Pistols-UZI, Ingram, lntratec, and More. A particularly deadly variant in the
gun industry's marketing program has been the sale of civilian assault pistols, which
are for the most part simply semiautomatic versions of submachine guns. Firearms
expert Duncan Long explained the marketing basis of this trend in his book The
 Terrifying Three: Uzi, Ingram, and lntratec Weapons Families:

           As the militaries of the world increasingly rely on assault rifles to fill the
           submachine gun role, making money on a new submachine gun design
           becomes harder and harder. Consequently, a number of companies
           have tried to capture the police and civilian markets .... Citizens
           purchasing firearms for everything from plinking to self-defense have
           provided a lucrative market, especially in the United States. Those
           weapons produced for the civilian market are generally semiauto versions
           of the automatic weapons, often modified slightly to conform to U.S.
           firearms laws."°




                                                 9
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                                                            Ingram MAC-10 45 caller Smachine Gun




                                               Lagging sales to the military spurred the gun industry
                                               to market to civilians semiautomatic versions of
                                               assault pistols such as the UZI and Ingram MAC
                                               series. Assault pistols like these quickly became the
                                               preferred weapon for criminal gangs, fringe groups
                                               like militias, and mass murderers.




    4.:/                                     THE TERR!Fl'JNG THREE




    The size comparison between the
    TEC-9 and a regular 9mm pistol
    (shown   here   is   the   HK   p7M13)

    show one reason why many people
    prefer guns such as hose made by
    Intratee 'The shghtly lrger Sze pro-
    ides better control of the nn•urm
    during ret()JI and the magazine hold,q
    more {hum (wie as many rounds.
    Added to this ls the submaLhin(',gun
    look, wluch urn he intimidating lo
    those unfamiliar with such guns


Firearms expert Duncan Long has succinctly summarized the perverse attractions of
semiautomatic assault pistols like the lntratec TEC-9 shown above. (Image and caption from
Duncan Long, The Terrifying Three.)19




                                                     10
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THE GUN INDUSTRY'S LIES

The gun industry-aided by its apologists tn the gun lobby, the NRA, and the gun
press-has tried to divert attention from the inevitable consequences of its cynical
marketing of these killing machines, and thwart regulation This has been done by
inventing what can only be fairly described as a series of lies and deceptions about
assault weapons and their effects. Some of the more prominent among them are
discussed below.

ls "automatic fire" an essential feature of a "real" assault weapon? The answer is,
"absolutely not." But that hasn't kept the gun industry from using this line of argument
to pretend that civilian assault weapons
simply don't exist The red herring of the
automatic fire "issue" was raised by the gun
lobby only after civilian assault weapons
were widely criticized Thus criticism came
after mass murderers and drug traffickers
began to "hose down" America's streets
and schoolyards with civilian assault
weapons




    Military assault weapons, like the M-16 shown above, have a "selective fire" switch to
                 change the mode of fire from semiautomatic to automatic (machine gun).

This argument is entirely semantic. By limiting the "definition" of assault weapon to
military machine guns, the gun industry and its friends hope to define away the
problem But, fully automatic fire has little to do with the killing power of assault
weapons. As the leading pro-assault weapons expert Duncan Long wrote in his 1986
publication, Assault Pistols, Rifles and Submachine Guns:

      The next problem arises 1f you make a semiauto-only model of one of
      these selective-fire rifles. According to the purists, an assault rifle has to
      be selective fire Yet, 1f you think about it, it's a little hard to accept the
      idea that firearms with extended magazines, pistol gnp stock, etc. cease
      to be assault rifles by changing a bit of metal "°

Long's point Is well taken because, in fact, military and civilian experts agree that
semiautomatic fire is actually more--not less-likely to hit the target than Is automatic
fire, and is thus more deadly.21 In fact, expert Long wrote about the semiautomatic UZI
in another book, "One plus of the semiauto version Is that rt has a greater potential
accuracy ... "22 In any case, a person of moderate skill can fire a sem1automatIc assault
weapon at an extremely fast rate of fire.23



                                           11
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And even if automatic fire were more deadly, many semiautomatic assault weapons
not only can be converted to automatic fire with home tools and modest skill, but
readily available books and videos walk the would-be converter through the process.




                           Easily obtained videos and books
                           like these show how to convert
                           semiautomatic assault rifles to
                           fully automatic machine guns          RILE
                           (even though semiautomatic fire is
                           more accurate).




Do assault weapons really encourage "spray firing"? Gun industry apologists also
disparage the use of such terms as "spray firing" and "shooting from the hip" to
describe the deadly capabilities of assault weapons. But, as was explained earlier,
"spray and pray" was exactly the point of developing assault weapons. And the
following illustrations show graphically how specific assault weapons features allow
a "point-and-shoot" grip and help control recoil so the shooter can "hose down" a wide
area with a lethal "spray" of bullets.




                                           12
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                                                                                           "Pray and Spray" Hip-Firing




                                                                                                             I                    'I
                                                                                /      I    ,/           I       I   I        I   I
                                                                                                                                       II/,/
                                                                                                                         II


                                                                                                    I\




  (3, Firing with the stock pressed to th hwly is conducted without halting Hrcs the stock to th
 rig.hi .,itk wi!h !he ribhl firm ,~ith the. hull of the :{l1x:k in rhc u111pll or against he fron p.1tl of tht..                                                                      C•
 Upper arm (F guru 73) If he stock is flded press the rill¢ s reeciv .r anl pistol g it to the body wnl                                        @r   t     nm       Ht     was taprd to te
 1he 1igh1 hand Wigan. 6) 1lald th rifle wi1h thl' I n h:1r.tl 11 the fore cnil Pniot tin: nfl.: al 1k tu1f!d                                  11 11 ~/Ul ;Jf po/n/<Jf r,V (lOl ai;q W •
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 .ind crn11inuing muve111cn1 t m1mcncc r i11)!                                                                                                 ua/f/hODllnp flam Wll/al/i,~,sl




                       a                                                                            b




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Deliberate, aimed fire from the shoulder may be more accurate than the kind of "pray

                                                                                                                                        13
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and spray" h1p-finng illustrated on the prior page But the mass murderers, criminal
gangs, drug traffickers, and other violent criminals who are drawn to assault weapons
are not after marksmanship medals They want to kill or maim as many people as
possible in as short a time as possible-the exact job for which the semiautomatic
assault weapon was designed.

But what about harmless bayonet mounts? Unfortunately, the 1994 federal assault
weapons ban attempted to define assault weapons on the basis of parts usually
associated with m1lItary weapons, such as grenade launchers, bayonet mounts, and
threaded barrels for adding silencers and flash suppressors (to reduce flash from the
weapon's muzzle at night) The problem Is that these features have virtually nothing
to do with the functional design of the assault weapon As a result, gun manufacturers
have simply eliminated these "bells and whustles" from their civilian assault weapon
designs, while keeping the lethal design factors-high-capacity magazines and pistol
grips-that make assault weapons so deadly. These cosmetic changes meet the letter
of the federal law, but accomplish little else

Don't gun experts say there is no such thing as a civilian "assault gun?" The NRA,
the gun industry, the gun press, and other pro-gun "experts" today claim that there is
no such thing as a civilian "assault weapon." But before the guns came under fire,
these same experts enthusiastically described exactly these civilian versions as
"assault rifles," "assault pistols," and "military assault" weapons.

For example, in 1982, Guns & Ammo published a book titled
Assault Rifles, advertising "complete data on the best semI-
automatics " In 1984, Guns & Ammo advertised a similar
publication, now titled Assault Firearms (see ad on right), "full
of the hottest hardware available today. covers the field
with assault rifles from the armies of the world .a new slant
on .22s with 'Plinkers in Battle Dress' And, if you are
interested in survival tactics and personal defense, we'll give
you a look at the newest c1villanized versions of the semi-auto
submachine gun."?°

In 1988, Guns & Ammo handgun expert Jan Libourel defined
an "assault pistol" simply as, "A high-capacity semi-automatic
firearm styled like a submachine gun but having a pistol-length
barrel and lacking a buttstock."?s This definition handily fit
guns like the UZI and Intratec TEC-9 that were regularly
advertised on the pages of Guns & Ammo during the 1980s as
"assault pistols." A 1989 ad in Guns & Ammo for the lntratec
TEC-9 (a precursor to the one used in the 1999 Columbine
high school shootings) flatly declared that "the TEC-9 series clearly stands out among
high capacity 9mm assault-type pistols."?"



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Guns & Ammo, the leading gun magazine, regularly called civilian semiautomatic assault weapons
"assault firearms," "assault rifles," and "assault pistols" until a series of tragic shootings caused the
industry to deny there was such a thing as a civilian assault weapon.




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Gun magazines also specifically praised the spray-fire features of civilian assault
weapons. For example, a 1989 Guns & Ammo review of the "Partisan Avenger .45
Assault Pistol" (right) noted that when the gun "is fired rapidly from the hip, its
swivelling front grip makes for easy and comfortable control of the recoil" and that the
"forward pistol grip extension of this powerful assault
pistol not only helps point it instinctively at the target
but goes a long way to controlling the effects of
recoil .... "28 Guns & Ammo found hip-shooting
                                                     29
"surprisingly easy" with the HK 94 9mm Carbine. A
 1990 review in the NRA's American Rifleman of the
Sites Spectre HC Pistol stated: "A gun like the
Spectre is primarily intended for hip-firing...." The
same magazine's 1993 review of the Steyr
 Mannlicher SPP Pistol reported: "Where the SPP
 really shines is in firing from the hip."31 A cottage
 industry of accessory suppliers also sprang up, all of
which targeted ads soliciting owners of civilian
"assault weapons."32




                                                    15
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The gun industry itself deliberately used the military character of semiautomatic
"assault weapons" and the lethality-enhancing utility of their distinctive characteristics
as selling points. The German company Heckler & Koch, for example, published ads
calling their civilian guns "assault rifles" and stressing their military lineage. "The HK
91 Semi-Automatic Assault Rifle from Heckler & Koch .was derived directly from the
                                                                33
G3," a German army weapon, said one full page ad (nght).            Another described the
HK 94 Carbine as "a direct offspring of HK's renowned family of MP5 submachine
guns."" An lntratec ad said the company's TEC-9 "clearly stands out among high
capacity assault-type pistols."35 Magnum Research advertised that the Gahl rifle
                                                                             36
system to which It had import rights "outperformed every other assault nfle "

Early gun magazine reviews of assault guns also specifically noted their limited
sporting value. For example, the NRA's American Rifleman reviewed the Calico M-100
rifle mn 1987 and concluded, "The M-100 Is certainly not a competition gun, hardly a
                                                                     37
hunting gun, and is difficult to visualize as a personal defense gun. Similarly, a 1983
Guns & Ammo review of the Heckler & Koch HK 94 rifle reported that "you certainly
                                                               38
aren't going to enter any serious, formal matches with it ... "

At the same time, the gun industry has actively promoted the intim1datIng looks of
assault weapons to increase their sales. A 1989 Guns & Ammo review of the A.A.
Arms AP9 praised the appeal of the gun's "wicked looks" to teenagers, noting "it is one
mean-looking dude, considered cool and Ramboish by the teenage crowd ... Take 39         a
look at one And let your teen-age son tag along. Ask him what he thinks."
(Emphasis in original) Guns & Ammo expert Garry James noted in his review of Colt's
9mm AR-15 rifle that "the intimidation factor of a black, martial-looking carbmne pointing
mn one's direction cannot be underestimated."°          Howard French, of the same
magazine, said of the HK 94 9mm Para Carbine that "you would not get much static
from an intruder eyeballing its rather lethal appearance."' C.A. Inc advertisements
for the Mark 45 and Mark 9 "Tommy-Gun" style carbines explicitly made the point that
 a "show of force can be stopping power worth having"




                                             16
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                                   SUMMING UP

The plain truth is that semiautomatic assault weapons look bad because they are bad.
They were designed and developed to meet a specific military goal, which was killing
and wounding as many people as possible at relatively short range as quickly as
possible, without the need for carefully aimed fire. In short, they are ideal weapons
for war, mass killers, drug gangs, and other violent criminals.




              TEC-DC9 in use, surveillance tape, Columbine High School.




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hip.. about as natural a pointer as you can get.")

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("assault rifle case"), 92 ("lightweight assault bipod"); Guns & Ammo, November
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famous assault rifle is now available in a semi-auto form!")

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    About the Violence Policy Center

    The Violence Policy Center (VPC) is a national nonprofit educational

    organization working to reduce death and injury from firearms. As America's

    premier think tank on gun policy, the VP studies current firearms issues andI

    provides information to policymakers, journalists, public health professionals,

    and grassroots activists.



    The virtually unrestricted distribution of firearms is more than a crime

    problem, it is a national health crisis. Unlike every other consumer product,

    firearms are exempt from federal health and safety laws. Guns-especially

    handguns and assault weapons-are inherently dangerous products, and

    the failure to regulate them like all other products costs thousands of lives

    and billions of dollars every year, By conducting research on key issues in

    firearms policy, the VPC counters the gun lobby's distortions and brings

    hard facts to the debate over firearms death and injury.




'    Violence Policy Center             www.vpc.org
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                          EXHIBITE
        to Expert Report of Professor Louis Klarevas
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                       Phillip Peterson
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                                 Introduction:                                                         IT    I


                                                                                                       ca
                                What's in a ame?                                                       in
                                                                                                   %
                                                                                                       gr
                                                                                                       to
                       Assault Weapon.                                                                 (1
                       Those words, on the cover of this book, are probably what drew                  on
                     you to pick it up. "Assault weapon" is a term that causes arguments               co
                     within the pro-gun community. Any use of the terms "assault weap-                 th
                     on" or "assault rifle" by media or politicians is attacked by some pro-
                     gun writers, organizations and many firearm owners. Long wordy de-                wi
                     bates take place on internet message boards arguing the definitions               fin
                     and usage of terms.                                                               en
                        Why is that?                                                                   fin
                        The main reason seems to be that the term has gained use by the                fin
                     anti-gun movement and media. Whenever a crime is committed with                   ed
                     a semi-automatic military pattern firearm, the mainstream media will
                     quickly jump in with headlines like "assault weapon used in killing               sty
                     spree" or "drug sweep nets assault weapons." The only time many                   ca
                     in the non-gun owning public are exposed to this class of firearms is             br
                     through negative media exposure.                                                  "a
                        If you use the historically applied terminology, an assault weapon             trc
                     must be capable of full-automatic fire, i.e., a machine gun. The term             m
                     assault rifle had its beg1nn1ng with the Germans during WWII and                  ha
                     was applied to a new class of firearm: the "SturmGewehr," or storm
                     rifle, properly known as the MP-44.                                               lis
                         This is generally considered to be the first true assault rifle. It was       as
                     a select-fire rifle that used an intermediate-sized rifle cartridge called        m
                     the 8x33mm Kurz (short).                                                          th
                       The intermediate cartridge concept helps define an assault rifle in             al
                     military circles. The intermediate cartridge is smaller than the rifle car-       Ar
                     tridges used in belt-fed machine guns and larger than the pistol car-             th
                     tridges used in submachine guns. Intermediate cartridges are what
                     many semi-automatic assault weapons chamber. These include the                    sa
            i        5.56mm (.223), 7.62x51mm (.308), 7.62x39mm, and 5.54x39mm.                        se
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           What is an assault weapon? If one were to use a strict definition,
         it could be ANY object that is used against another individual to
         cause bodily harm. That can be a firearm, a rock or a feather poked
         in the eye. The military definition was discussed 111 the last para-
         graph. In the context of this book, however, "assault weapon" refers
         to a semt-automatic firearm that accepts high capacity magazines
         (10+ rounds) and is patterned after military issue select-fire weap-
V        ons. This can mean an exact copy of an existing design, minus the
s        components that allow full-automatic fire. Or rt can be a new design
         that utilizes similar characeristics.
             The popularly-held idea that the term "assault weapon" originated
         with anti-gun activists, media or politicians is wrong. The term was
s        first adopted by the manufacturers, wholesalers, importers and deal-
         ers in the American firearms industry to stimulate sales of certain
         firearms that did not have an appearance that was fam1l1ar to many
e        firearm owners. The manufacturers and gun writers of the day need-
1        ed a catchy name to 1dent1fy this new type of gun
II           The fact that some of the semi-automatic versions of the military-
9         style firearms retained their bayonet lugs, extended pistol grips, high
y         capacity magazines, folding stocks and even threadmg for muzzle
s         brakes and grenade launchers has been used to erroneously define
          "assault weapons." But these design features were part of the at-
n        traction to this kmnd of firearm. All of these features are merely cos-
n         metic and there is little If any evidence that ther inclusion on a gun
::l       has been essential to some specific criminal use.
n             Look in many 1980s-era editions of Gun Digest and you will find
          listings of several makes and models of guns that were categorized
s         as assault rifles or assault pistols There were also some issues of a
J         magazine called The Complete Book of Assault Rifles published In
          the 1980s. Guns & Ammo magazine published at least one issue of
 n        a magazine with the title Assault Rtf/es: The New Breed of Sporting
         Arm. And the truth is that many gun owners have used and still use
         the term in everyday conversations about firearms.
 t         Some alternate monikers suggested by the never-call-them-as-
e        sault-weapons crowd include paramilitary firearms, m1l1tary pattern
         semi-automatics, homeland defense rifles, tactical firearms, sports



                                  GD BUYERS GUIDE TO ASSAULT WEAPONS I
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                  utility rifles, EBRs (Evil Black Rifles), or simply fiream1s. I tend to fa-
                  vor the term neat guns, but that could be just about any gun. There
                                                                                                    .J
                  needs to be a commonly understood name for this type of firearm
                  that does not require a drawn out definition. It I eally should not be           f\
                  that complicated.                                                                Ii:
                    Whatever arguments can be made about what terminology to use,                  s
                  the name assault weapon has been defined by law with the passage                 It
                  of several state and local AW laws and by the Federal Assault \l\feap-           V
                  on Ban, also known as the Crime Control anti Lmv Enforcement Act                 C

                  of 1994. This law, and most of the others, 1egulate tl,ese nrearms by            0
                  model narne and characteristics. (See the chapter on legal issues to
                  read the exact wording of the currently expired Federal A\N law.) By             (
                  using the term "assault weapon" throughout the text of the law, they
                  have fot ever added this name to the Ametican dictionary.                        V
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                                 LOUIS KLAREVAS



                        SECURING AMERI        FROM MASS SHOOTINGS
                                                                   I




                                     Prometheus Books
                                           59 John Glenn Drve
                                         Amherst, New York 14228




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                                                             BREAKING THE TRINITY   239


              ma class all by itself No other advanced, Western democracy expen-
              ences the magmtude of gun violence that presently affhcts Amen1can
              society Thus 1s partucularly true when 1t comes to mass shootings




               The Umted States does little to regulate firearms, especially at the
               federal level '\O 'Nhile it goes to great lengths to restnct access to
               WMDs and IEDs, the same can't be said for its efforts to keep fire-
               au ms out of the hands of high-n1sk mdvduals Indced, the Amer1can
               expenence with gun control nationwide 1s so limited that 1t can actu-
               ally be chromcled ma few bullet pomts

                     • The Natonal F1reams Act of 1934 Heavily regulated machme
                       guns, short-barrel nfles and shotguns, and silencers
                     • The Federal Firearms Act of 1938 Established a federal
                       licensing system to regulate manufacturers, importers, and
                       dealers of firearms
                     • The Ombus CGrme Control and Safe Streets Act of 1968 Pio-
                       h1bited anyone under twenty-one years of age from purchasmg
                        a handgun
                        The Gun Control Act of 1968 Reqmred that all mterstate fire-
                        arms transfers or sale:-. be made through a federally licensed
                        firearms dealer and prohibited certam categories of people-
                        felons (mnducted or convcted), fugtuves, drug abusers, mentally
                        1ll persons (as determmed by adjudicatuon), illegal aliens, d1s-
                        honorably discharged servicemen, US-ctzenship renouncers,
                                                                          31
                        and domestic abusers-fl om possessmg foearms
                      " The Firearm Owners Protection Act of 1986 Barred the pur
                        chase or transfer of automatic weapons without government
                         approval
                         The Undetectable Firearms Act of 1988 Requured that all fire-
                         arms have at least 3 7 oz of metal that can be detected by a
                         metal detector
                         The Gun-Free School Lones Act of 1990 Crmmmalzed posses-
                         s1on Or discharge of a firearm 111 a school zone
                       • The Brady Handgun Violence Prevention Act of 1993 Requred




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                      that anyone attemptmg to purchase a firearm from a federally
                                                              1
                      licensed dealer pass a background check ~
                    • The Federal Assault Weapons Ban of 1994 Banned the sale and
                      possess1on of semiautomatic assault weapons and extended-
                      capacity magazmes not grandfathered pnor to the enactment
                        of the law"

                    Of all of these measures, the Nat10nal Firearms Act of 1934 and
               the Assault Weapons Ban of 1994 (AWB) were the only ones 1st1-
               tutecl pnmanly m an effort to reduce the carnage of mass shootmgs
               The former was passed 111 response to a senes of bloody gangland
               executions, mcludung the mfamous 1929 St Valentine's Day mas-
               sacre m Chicago " Whle there are stll machme guns m crculat1on,
               the Natonal Firearm Act, 1 conjunct1on wth the Firearm Ownes
               Protecuon Act of 1986, sharply cut the availability of machme guns,
               which hkcly explams the complete clmmat1on of massacres perpe-
                trated wth such automatc-fire weapons
                    Lake the National Firearms Act, the AWB was Introduced fol-
                lowmg several high-profile mass shootmgs m the early 1990s the
                Luby's restaurant, 101 Cahforma Street office complex, and Long
                Island Railroad tram. car massacres " S1gned mto law by President
                Bill Chnton, the AWB went 111to eflect on September 13, 1994 At
                the ms1stence of the gun-rights lobby, however, the bill contamed
                a ten-year sunset p1ov1s10n As Cong1ess never renewed the ban, 1t
                 automatucally exp1red on September 13, 2004
                     The decade the law was 111 effect nonetheless resulted 111 a unique
                 expenment, allow111g us to discern what mmpact, 1f any, the ban had
                 on gun v10lence 111 general and mass shootmgs 111 particular As to
                 the formei, the academic consensus seems to be that the AWB had
                 a mm1mal mmpact on reducmg volent crmme Ths hardly comes
                 as a surprise Aftr all, most crs don't mvolve assault wcapons
                 The real test should be Diel 1t succeed 111 1ts 1tended purpose of
                 1educmg rampage volence? The answer 1s a 1esoundung yes
                     Let's take a closer look
                     The best way to assess the impact of something 1s to conduct
                 what, 111 social science, we commonly refer to as a t1me-senes analysis
                  Basically, that's a fancy name for a before-and-after test Figures 7 1




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                                                             BREAKING THE TRINITY    243


              and 72 provde a look at the before-and-after pictures In the decade
              pnor to the enactment of the AWB, the Umted States expenenced
              mneteen gun massacres that resulted m 155 cumulative deaths, for
              an average death toll of 82 fatahtues per mc1dent Durmg the ten-
              year penod that the AWB was 111 effect, the numbers declmed sub-
              stan tally, with only twelve gun massacres, resulting m eighty-nme
              deaths, for an average of 7 4 fatal1tues per mc1dent"7 What's part1cu-
              larly astoundmg about this tame penod 1s that durmg the first four
              and a half years of the ban, there wasn't a smglc gun massacre m the
              Umted States Not one This 1s unprecedented ni modern Amencan
               history 3H Smee 1966, the longest streaks without a gun massacre pr1or
               to era of the AWB were two mstances of consecutive years (1969-1970
               and 1979-1980) 39 Then, all of a sudden, from September 1994 to
               Apnl 1999, the country expenenced a long calm A'> further evidence
               of the AWB's effecllveness, once 1t expired, rampages returned with a
               vengeance In the ten years after the ban, the number of gun massa-
               cres nearly tnpled to thrty-four mcdents, sendmg the total number
               of deaths skyrocketing to 302, for an average of 89 fatalities per mo-
                dent " These numbers paint a clear picture Amenca's expenment,
                                                                 41
               while short-lived, was also extremely successful



                ZEROING OUT       MASSACRES

                The biggest takeaway fi om Amenca's expenence with a ban on
                assault weapons and extended-capaoty magazmes is that gun-control
                leg1slat1on can save lives But 1s there a way to get to zero? Is there a
                way to clmmate gun massacres once and for all? For that, we have to
                look overseas for ms1ghts
                     One of the b1ggest obstacles to successful gun cont ol 1s the ab1hty
                to transport firearms across open, contiguous borders In the Urnted
                States, 1t's a problem that allows gum to flow freely from states ,nth
                lax laws mto states with stnct laws A cornmon complamt frequently
                leveled by elected officials 111 places hke Cahforrna, I1111101s, Maryland,
                 New York, and Massachusetts is that people just need to drive across
                 a state le and they can readily obtam firearms that they can then
                 easilyf perhaps illegallybrmg back mto the yursducuons That




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AJPH OPEN-THEMED RESEARCH




The Effect of Large-Capacity Magazine Bans on
High-Fatality Mass Shootings, 1990-2017
Louis Klarevas, PhD, Andrew Conner, BS, David Hemenway, PhD


   Objectives. To evaluate the effect of large-capacity magazine (LCM) bans on the                                      on assault weapons in 1989, but LCMs
frequency and lethality of high-fatality mass shootings in the United States.                                           remained unregulated in the state until 1994,
  Methods. We analyzed state panel data of high-fatality mass shootings from 1990 to                                    when the federal ban went into effect. In
                                                                                                                        2000, California's own statewide ban on
2017 We first assessed the relationship between LCM bans overall, and then federal
                                                                                                                        LCMs took effect as a safeguard in the event
and state bans separately, on (1) the occurrence of high-fatality mass shootings ((ogit
                                                                                                                        the federal ban expired, which happened in
regression) and (2) the deaths resulting from such incidents (negative binomial analysis).
                                                                                                                        2004.1011
We controlled for 10 independent variables, used state fixed effects with a continuous
                                                                                                                           LCMs provide a distinct advantage to
variable for year, and accounted for clustering.
                                                                                                                        active shooters intent on murdering numer-
   Results. Between 1990 and 2017, there were 69 high-fatality mass shootings. Attacks                                  ous people: they increase the number of
involving LCMs resulted in a 62% higher mean average death toll. The incidence of                                       rounds that can be fired at potential victims
high-fatality mass shootings in non--LCM ban states was more than double the rate in                                    before having to pause to reload or switch
LCM ban states; the annual number of deaths was more than 3 times higher In mul-                                        weapons. Evidence shows that victims struck
tivariate analyses, states without an LCM ban experienced significantly more                                             by multiple rounds are more likely to die,
high-fatality mass shootings and a higher death rate from such incidents.                                                with 2 studies finding that, when compared
   Conclusions. LCM bans appear to reduce both the incidence of, and number of people                                    with the fatality rates of gunshot wound
killed in, high-fatality mass shootings. (Am J Public Health. 2019;109:1754--1761 doi:                                   victims who were hit by only a single bullet,
10.21 0S/AJPH.2019.305311)                                                                                               the fatality rates of those victims hit by more
                                                                                                                                                                    12 13
                                                                                                                         than 1 bullet were more than 60% higher. •
                                                                                                                         Being able to strike human targets with more
                                                     than 10 bullets unless the magazines were                           than 1 bullet increases shooters' chances of

T   he recent spate of gun massacres in the
    United States has re-energized the debate
over how to prevent such tragedies.' A
                                                     manufactured before the enactment of the
                                                     ban. LCM restrictions are arguably the most
                                                                                                                         killing their victims. Analyses of gunshot
                                                                                                                         wound victims at level I trauma centers have
common response to high-profile acts of gun          important component of assault weapons                              suggested that th.is multiple-impact capability
                                                                                                                                                                   14 15
violence is the promotion of tighter gun             bans because they also apply to semiautomatic                       is often attributable to the use ofLCMs. •
legislation, and there is some evidence that                                                                 89              In addition, LCMs provide active shooters
                                                     firearms without military-style features. •
                                                                                                                         with extended cover." During an attack,
laws imposing tighter restrictions on access to          Beginning with New Jersey in 1990, some
firearms have been associated with lower                                                                                 perpetrators are either firing their guns or not
                                                     states implemented their own regulations on
                                                     LCMs. Today, 9 states and the District of                           firing their guns. While gunmen are firing, it is
levels of mass shootings. One proposal that
                                                     Columbia restrict the possession of LCMs.                           extremely difficult for those in the line of fire
has received renewed interest involves
                                                     The bans vary along many dimensions, in-                            to take successful defensive maneuvers. But if
restricting the possession of large-capacity
magazines (LCMs).     °  This raises an impor-       cluding maximum bullet capacity of per-                             gunmen run out of bullets, there are lulls in
tant question: what has been the impact of           missible magazines, grandfathering of existing                      the shootings, as the perpetrators are forced
LCM bans on high-fatality mass shootings?            LCMs, and applicable firearms. Moreover,                            to pause their attacks to reload or change
     In an attempt to arrest an uptick in            overlaps sometimes exist between assault                            weapons. These pauses provide opportunities
mass shooting violence in the early 1990s,           weapons bans and LCM bans, but not in all                           for people to intervene and disrupt a shooting.
 Congress in 1994 enacted the federal as-            states. For example, California instituted a ban                    Alternatively, they provide individuals in
sault weapons ban, which, among other
 things, restricted ownership of certain             ABOUT THE AUTHORS
                                67                   Louis Klarevas is with the Teachers College, Columbia University, New York, NY. Andrew Conner is with the Frank H.
 ammunition-feeding devices. • The law,
                                                     Netter, MD, School of Medicine, Quinnipiac University, North Haven, CT David Hemenway is with the Harvard T H.
 which contained a sunset provision, was             Chan School of Public Health, Harvard University, Boston, MA.
 allowed to expire a decade later. Pursuant to          Correspondence should be sent to Louis Klarevas, Research Professor, Office of the Provost, Teachers College, Columbia University,
                                                     525 W 12Oh St, New York, NY 10027 (e-mail: ljk2 149@.columbia.edu). Reprints an be ordered at http://www.ajph.org
 that ban (18 USC §921 (a) [1994]; repealed), it
                                                     by clicking the "Reprints" link.
 was illegal to possess LCMs-defined as any              This article was accepted July 22, 2019.
 ammunition-feeding device holding more                 doi: 10.2105/AJPH.2019.305311



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harm's way with a chance to flee or hide            the search and 1dentficaton strategy we              states To control for this, we utilized
Leg1slat1ve endeavors that restnct access to        employed)                                            cluster-robust standard errors to account for
LCMs are implemented with the express                    The first state to enact an LCM ban was         the clustering of observations When the
objective of reducmg an active shooter's            New Jersey 111 1990 Smee then, another 8             dependent vanable reflected deaths ( count
multiple-1mpact capablty and extended               states and the Dist1ct of Columbia have              data), we used negative b111ormal regression,
          10                                                                                             Grus used a Poisson regress10n, and we used
cover                                               enacted LCM bans (Table A, available as a
       Although mass shootmgs have received         supplement to the onlmne version of thus article     that approach as a senstrvuty analysns " We
extensive study, there has been little scholarly    at http //www ayph org) "         th no LCM          111cluded state fixed effects We used a con-
analysis of LCM bans 7 ? The studies un-            bans in effect before 1990, a pnon we chose          tmuous vanable for year because the rate of
dertaken that have broached the subject of          that year to begin our analysis to avoid m-          high-fatality mass shootings has 1creased
ammumtion capacity have pnmanly con-                flatmg the impact of the bans Our data set           over time For purposes of sensltlvity
centrated on the effect of LCM bans on vi-          extends 28 years, from 1990 through 2017 As          analysis, we also replaced the linear yearly
olent cnmes other than mass shootmgs or on          a secondary analys1s, we used a 13-year data         trend with a quadratJC function We per-
the impact of the assault weapons bans on           set, begmnnmng mn 2005, the first full year after    formed multivariate stat1st1cal analyses by
                       27                           the federal assault weapons ban exp1red              using Stata/lC vers10n 15 1 (StataCorp LP,
mass shootungs
       Evidence suggests that firearms eqmpped           Our pnmary outcome measures were the             College Station, TX)
with LCMs are mvolved ma d1sproport1onate           mcrdence of hugh-fatality mass shootings and             Populat10n data came from the US Census
                              20 28
share of mass shootmgs 10           Proponents of   the number of vctams killed We dstin-                Bureau, unemployment data came from the
LCM bans believe that without LCMs, fewer           guished between high-fatality mass shootmgs          Bureau of Labor Statistics, and 1mpnsonment
people will be killed ma mass shootmg, other        occurnng with and without a ban m effect              data came from the Bureau ofJust1ce Stat1st1cs
thmgs equal In turn, fewer shootmgs will            Because the federal ban was 111 effect na-            The percentage of households with a firearm
cross the threshold reqmred to be classified as      t1onw1de from September 13, 1994, through            was a validated proxy (the percentage of
what we call a "high-fatality mass shootmg"          September 12, 2004, we coded every state as          smcides that are firearm smc1des) denved from
(:::,_ 6 v1ctnns shot to death) If LCM bans are     being under an LCM ban dur111g that 10-year           Centers for Disease Control and Prevent1on
effective, we should expect to find that             t1meframe                                           National Vital Statstucs Data       °°
high-fatality mass shootmgs occur at a lower             Our interest was m the effect of LCM
mncdence rate when LCM bans are m place,             bans We ran regress1on analyses to determme
and fewer people are killed m such attacks           1f any relat1onsh1p between LCM bans and
But have LCM bans actually saved lives m             high-fatality mass shoot111gs can be explamed       RESULTS
practuce? To our knowledge, the impact of            by other factors In our state-year panel                Between 1990 and 2017, there were 69
LCM bans has never been systematically               multivariate analyses, the outcome variables        hugh-fatality mass shootings ( 6 vctums shot
 assessed Tim study fills that v01d                  were (1) whether an LCM-111volved high-             to death) m the Umted States Of these,
                                                     fatality mass shooting occurred, (2) whether        44 (64%) mvolved LCMs, 16 did not (23%),
                                                     any high-fatality mass shootmg occurred, (3)        and for 9 (13%) we could not determme
                                                     the number of fatalities in an LCM-mvolved          whether LCMs were used (Table 1) The
METHODS                                              high-fatality mass shooting, and (4) the            mean number of v1ctnns killed in the 44
    Mass shootmgs have been defined 111 a            number of fatalities 111 any high-fatality mass     LCM-Involved high-fatality mass shootings
vanety of ways, with some analyses settmg the        shoot111g Our analyses first combined and           was 11 8, mcludmg the unknowns resulted in
casualty threshold as low as 2 people wounded         then separated federal and state LCM bans          that average falling to 11 0 (not shown) The
or killed and others requmng a rrummum of                Consistent with the suggestions and             mean number of vctums killed mn high-fatality
                    1822 29                          practJCes of the literature on firearm hom1-        mass shootmgs m which the perpetrator did
7 gunshot vctum         , 1/e focused on
high-fatality mass shootmgs-the deadliest             odes and mass shootings, our explanatory           not use an LCM was 7 3 (Table B, available as
and most disturbmng of such mc1dents-which            variables are population density, proportion       a supplement to the onlmne verson of th1s
are defined as 111tent1onal crimes of gun vi-         of population aged 19 to 24 years, aged 25 to      article at http //www ayph org), mcludmg
olence with 6 or more victims shot to death,          34 years, that 1s Black, and with a college        the unknowns resulted in that average fallmg
                                 03 31                degree, real per-capita median mcome, un-          to 7 1 (not shown) When we excluded
not mcludmg the perpetrator ? 0 After an
exhaustive search, we identified 69 such mn-          employment rate, and per-capita prison             unknown cases, the data md1cated that uti-
c1dents m the Umted States between 1990               populatuon ?26,27 32 1/e also added a varable      hzmng LCMs m high-fatality mass shootings
and 2017 We then discerned whether each               for percentage of households with a firearm         resulted m a 62% mcrease in the mean
high-fatality mass shootmg 111volved a LCM            All regression models controlled for total state    death toll
-unless otherwise stated, defined consistent          population When the dependent variable                  Data sets of mass shootmg fatalities by the1r
with the 1994 federal ban as a detachable             reflected occurrences of mc1dents ( ordered         nature involve truncated data, with the mode
ammumt1on-feedmg device capable of                    choice data), we used log1t regression, we ran      generally bemg the baselme number of fa-
holdmg more than 10 bullets (See Table 1 for          prob1t regress1on as a sens1trvty analysis We       talities reqmred to be included in the data
a lust of mc1dents and for add1tonal details on        had multiple observations for mdrvdual             set (6 fatalities m the current study) Our data



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    TABLE 1-High-Fatality Mass Shootings in the United States, 1990-2017

Incident              Date                            City              State   LCM      Deaths, No.            State LCM Ban          Federal Assault Weapons Ban

                Jun 18, 1990       Jacksonville                          FL      y                                    N                               N

                Jan 26, 1991           Chimayo                           NM      N                                    N                               N
                                                        -                                  -           -   --                 - -       ·-·---   --   -

                Aug 9, 1991            Waddell                           AZ      N                                    N                               N

4               Oct 16, 1991           Killeen                           TX      y           23                       N                               N

                Nov 7, 1992            Morro Bay and Paso Robles         CA      N                                    N                               N
                ---                                    --    - --   -
                Jan 8, 1993            Palatine                           IL     N             7                      N                               N

7               May 16, 1993           Fresno                            CA      y                                    N                               N

8               Jul 1, 1993            San Francisco                     CA      y                                    N                               N

9                Dec7,1993             Garden City                       NY      y                                    N                               N
                                                                         co      y           13                       y                               y
10              Apr 20, 1999           Littleton
                                                                         GA      u                                    y                               y
11              Jul 12, 1999           Atlanta
                                                                         GA      y                                    y                               y
12               Jul 29, 1999          Atlanta
                                                                         TX      y                                    y                               y
13               Sep 15, 1999          Fort Worth
                                                                          HI     y             7                      y                               y
14               Nov 2, 1999           Honolulu
                                                                         MA      y             7                      y                               y
15               Dec 26, 2000          Wakefield
                                                                          PA     y             7                      y                               y
16               Dec 28, 2000          Philadelphia
                                                                          AL     N                                    y                               y
17               Aug 26, 2002          Rutledge
                                                                          TX     u                                    y                               y
18               Jan 15, 2003          Edinburg
                                                                         MS      N                                    y                               y
19               Jul 8, 2003           Meridian
                                                                          IL     N                                    y                               y
20               Aug 27, 2003          Chicago
                                                                          CA     N             9                      y                               y
21               Mar 12, 2004          Fresno
22               Nov 21, 2004          Birchwood                          WI     y                                    N                               N

23               Mar 12, 2005          Brookfield                         WI     y             7                      N                               N

24               Mar 21, 2005          Red Lake                          MN      y                                    N                               N

                                       Goleta                             CA     y                                    y                               N
 25              Jan 30, 2006
 26              Mar 25, 2006          Seattle                            WA     y                                    N                               N

 27              Jun 1, 2006            Indianapolis                      IN     y                                     N                              N

 28              Dec 16, 2006           Kansas City                       KS         N                                 N                              N

    29           Apr 16, 2007           Blacksburg                        VA         y         32                      N                              N

    30           Oct 7, 2007            Crandon                           WI         y                                 N                              N

    31           Dec 5, 2007            Omaha                             NE         y             8                      N                               N

    32            Dec 24, 2007          Carnation                         WA         u                                    N                               N
                 -       -- -
    33            Feb 7, 2008           Kirkwood                          MO         y                                    N                               N

    34            Sep 2, 2008           Alger                             WA         u                                    N                               N

                                        Covina                            CA         y             8                      y                               N
    35            Dec 24, 2008
                                        Los Angeles                        CA        N                                    y                               N
    36            Jan 27, 2009
    37            Mar 10, 2009          Kinston, Samson, and Geneva        AL        y         10                         N                               N

    38            Mar 29, 2009          Carthage                           NC        N                                    N                               N

                                        Binghamton                         NY        y         13                         y                               N
    39            Apr 3, 2009
    40            Nov 5, 2009           Fort Hood                          TX        y         13                         N                               N

    41            Jan 19, 2010          Appomattox                         VA        y             8                      N                               N

                                                                                                                                                              Continued




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 TABLE 1Continued

                                                                         State        LCM         Deaths, No.       State LCM Ban           Federal Assault Weapons Ban
Incident              Date                           City
                                                                           CT          y               8                   N                             N
42                Aug 3, 2010          Manchester
                                                                          AZ           y                                   N                             N
43                Jan 8, 2011          Tucson
                     -
                                                                           Ml          y               7                   N                             N
44                Jul 7, 2011          Grand Rapids
                                                                          OH           N               7                   N                             N
45                Aug 7, 2011          Copley Township
                                                                           CA          N                                   y                             N
46                Oct 12, 2011         Seal Beach
                                                                           TX          N               6                   N                             N
47                Dec 25, 2011         Grapevine
                                                                           CA          N               7                   y                             N
48                Apr 2, 2012          Oakland

49                Jul 20, 2012         Aurora                              co           y              12                  N                             N

                                                                           WI           y                                  N                             N
so                Aug 5, 2012          Oak Creek
                                                                           MN           y                                  N                             N
51                Sep 27, 2012         Minneapolis
                                                                           CT           y              27                   N                            N
52                 Dec 14, 2012        Newtown
                          -                                                             y                                                                N
53                Jul 26, 2013         Hialeah                             FL                           6                   N

                                                                           DC           N              12                   y                            N
54                 Sep 16, 2013        Washington
                                                                           TX           y                                   N                            N
55                 Jul 9, 2014         Spring

 56                Sep 18, 2014         Bell                                FL          u               7                   N                            N

 57                Feb 26, 2015        Tyrone                              MO           u                  7                N                            N

                                                                           TX              y               9                   N                             N
 58                May 17, 2015         Waco
                                                                            SC             y               9                   N                             N
 59                Jun 17, 2015         Charleston

 60                Au9 8, 2015          Houston                             TX             u               8                   N                             N

                                                                           OR              y                                   N                             N
 61                0t 1, 2015           Roseburg
                                                                            CA             y           14                      y                             N
 62                Dec 2, 2015          San Bernardino
                                                                            Ml             y                                   N                             N
 63                Feb 21, 2016         Kalamazoo

 64                Apr 22, 2016         Piketon                             OH             u                8                  N                             N

                                                                            FL              y          49                      N                             N
 65                Jun 12, 2016         Orlando

 66                May 27, 2017         Brookhaven                          MS              u               8                  N                             N

                                                                            TX              y               8                  N                             N
 67                Sep 10, 2017         Plano
                                                                            NV              y           58                     N                             N
 68                 0t 1, 2017          Las Vegas
                    - - -- ~                                                                y           25                      N                            N
 69                 Nov 5, 2017         Sutherland Springs                  TX

     Note. LCM= large-capacity magazine; N = no; U = unknown; Y = yes. From September 13, 1994, until and including September 12, 2004, each and every state,
     including the District of Columbia, was subject to a ban on LCMs pursuant to the federal assault weapons ban. To collect the data in Table 1, we searched the
     following news media resources For every shooting that resulted in 6 or more Fatalities: America's Historical Newspapers, EBSCO, Factiva, Gannett Newsstand,
     Google News Archive, Lexis-Nexis, Newspaper Archive, Newspaper Source Plus, Newspapers.com, Newswires, ProQuest Historical Newspapers, and ProQuest
     Newsstand. We also reviewed mass shooting data sets maintained by Mother Jones, the New York Times, and USA Today In addition to news media sources, we
     reviewed reports on mass shootings produced by think tank, policy advocacy, and governmental organizations, including the US Federal Bureau of Investigation
     Supplementary Homicide Reports, the crowdsourced Mass Shooting Tracker, and the open-source databases maintained by the Gun Violence Archive and
      the Stanford University Geospatial Center. Finally, when it was relevant, we also reviewed court records as well as police, Forensic, and autopsy reports. As a
      general rule, when government sources were available, they were preferred over other sources. Furthermore, when media sources conflicted on the
      number of casualties or the weaponry involved, the later sources were privileged (as later reporting is often more accurate).



                                                             average of 8 fatalities per incident compared          which the perpetrators did not use LCMs,
     set of high-fatality mass shootings was no
                                                             with 7 fatalities per incident for attacks not         50% (8/16) were in nonban states (Table B,
     exception. As such, the median average
                                                             involving LCMs.                                        available as a supplement to the online version
     number of fatalities for each subset of in-
                                                                 For the 60 incidents in which it was known         of this article at http://www.ajph.org). Stated
     cidents those involving and those not in-
                                                             if an LCM was used, in 44 the perpetrator              differently, in nonban states, 81% (34/42) of
     volving LCMs was necessarily lower than
                                                             used an LCM. Of the 44 incidents in which              high-fatality mass shooting perpetrators used
     the mean average. Nevertheless, like the
                                                              the perpetrators used LCMs, 77% (34/44)               LCMs; in LCM-ban states, only 55% (10/18)
      mean average, the median average was higher
      when LCMs were employed-a median                        were in nonban states. In the 16 incidents in         used LCMs.



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     The rate of high-fatality mass shootings                127.4. In the LCM ban states, it was 41.6                    in nonban states was 8.1 per billion pop-
increased considerably after September 2004                  (Table 2).                                                   ulation; in LCM-ban states it was 2.5 per
(when the federal assault weapons ban ex-                         For the time period beginning with the                  billion population. The annual rate of high-
pired). In the 10 years the federal ban was in               first full calendar year following the expiration            fatality mass shooting deaths in the non-LCM
effect, there were 12 high-fatality mass                     of the federal assault weapons ban (January 1,               ban states was 102.1 per billion population; in
shootings and 89 deaths (an average of 1.2                   2005-December 31, 2017), there were 47                        the LCM ban states it was 23.3. In terms of
 incidents and 8.9 deaths per year). Since then,             high-fatality mass shootings in the United                   LCM-involved high-fatality mass shootings,
 through 2017, there have been 48 high-                      States. Of these, 39 occurred in states where                 we also found comparable wide differences in
 fatality mass shootings and 527 deaths (an                  an LCM ban was not in effect, and 8 occurred                  incidence and fatality rates between ban and
 average of 3.6 incidents and 39.6 deaths per                in LCM ban locations. The annual incidence                    nonban states for the post-federal assault
 year in these 13.3 years).                                   rate for high-fatality mass shootings in states              weapons ban period (2005-2017; Table 2).
      Of the 69 high-fatality mass shootings                 without an LCM ban was 13.2 per billion pop-                      We found largely similar results in the
  from 1990 to 2017, 49 occurred in states                    ulation; for states with an LCM ban, it was                  multivariate analyses (1990-2017). States that
  without an LCM ban in effect at the time and                7.4 per billion population (Table 2). During                 did not ban LCMs were significantly more
  20 in states with a ban in effect at the time.              this period, non-LCM ban states had not                      likely to experience LCM-involved high-
  The annual incidence rate for high-fatality                 only more incidents but also more deaths                      fatality mass shootings as well as more likely to
  mass shootings in states without an LCM ban                 per incident (11.4 vs 9.4). In terms of high-                 experience any high-fatality mass shootings
  was 11.7 per billion population; the annual                 fatality mass shooting deaths per billion                     (regardless ofwhether an LCM was involved).
  incidence rate for high-fatality mass shootings             population, the annual number of deaths in                    States that did not ban LC Ms also experienced
  in states with an LCM ban was 5.1 per billion                the non-LCM ban states was 150.6; in the                     significantly more deaths from high-fatality
  population. In that 28-year period, the rate of              LCM ban states it was 69.2 (Table 2).                        mass shootings, operationalized as the abso-
  high-fatality mass shootings per capita was 2.3                  When we limited the analysis solely to                   lute number of fatalities (Table 3).
   times higher in states without an LCM ban                   high-fatality mass shootings that definitely                     When the LCM bans were separated
                                                               involved LCMs, the differences between ban                   into federal and state bans, both remained
   (Table 2).
      Non-LCM ban states had not only more                     and nonban states became larger. For ex-                     significantly related to the incidence of
   incidents but also more deaths per incident                 ample, for the entire period of 1990 to 2017,                 LCM-involved high-fatality mass shooting
   (10.9 vs 8.2). The average annual number of                 of the 44 high-fatality mass shootings that                   events and to the number of LCM-involved
   high-fatality mass shooting deaths per billion               involved LCMs, the annual incidence rate for                 high-fatality mass shooting deaths. The as-
   population in the non-LCM ban states was                     LCM-involved high-fatality mass shootings                    sociations between federal and state bans and


  TABLE 2-High-Fatality Mass shootings (e6 victims shot to Death) by whether LCMBanswereinEffect: united states,1990-2017                                                         [

                                                          Average Annual                Total        Annual Incidents per        Total         Annual Deaths per        Deaths per
                                                      Population, No. (Millions)   Incidents, No.   Billion Population, No.   Deaths, No.    Billion Population, No.   Incident, No.

 All high-fatality mass shootings, 1990-2017 (28 y)
                                                                149.7                    49                  11.7                 534                 127.4                10.9
    Non-LCM ban states
                                                                140.7                    20                   5.1                 164                  41.6                 8.2
    LCM ban states
 All high-fatality mass shootings, 2005-2017 (13 y)
                                                                227.8                    39                  13.2                 446                 150.6                11.4
    Non-LCM ban states
                                                                 83.4                     8                   7.4                  75                  69.2                 9.4
    LCM ban states
 LCM-involved high-fatality mass shootings,
  1990-2017 (28 y)
                                                                 149.7                   34                    8.1                428                 102.1                 12.6
   Non-LCM ban states
                                                                 140.7                   10                    2.5                 92                  23.3                  9.2
    LCM ban states
  LCM-involved high-fatality mass shootings,
   2005-2017 (13 y)
                                                                 227.8                   28                    9.5                369                 124.6                 13.2
    Non-LCM ban states
                                                                  83.4                    4                    3.7                 42                  38.7                 10.5
    LCM ban states
  Non-LCM high-fatality mass shootings,
   1990-2017 (28 y)
                                                                 149.7                                         1.9                  56                  13.4                 7.0
    Non-LCM ban states
                                                                 140.7                     8                   2.0                  60                  15.2                 7.5
     LCM ban states

  Note. LCM= large-capacity magazine.



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 TABLE 3-Multivariate Results of the Relationship Between LCM Bans and High-Fatality Mass Shootings (>6 Victims Shot to Death),
 1990--2017 Combined Federal and State Large Capacity Magazine Bans: United States

                                                       LCM-Involved High-Fatality Mass Shootings, b (95% 0)         All High-Fatality Mass Shootings, b (95% Cl}

                                                             Incidents'                    No. Deaths"                Incidents'                     No. Deaths"

                                                       -2.217 (-3.493, -0.940)       -5.912 (-9.261, -2.563)   -1.283 (-2.147, -0.420)        -3.660 (-5.695, -1.624)
All LCM bans (federal and state)                              - --
                                                                                                                                                         --

                                                       -0.011 (0.052, 0.031)          0.013 (-0.068, 0.095)     0.001 (-0.003, 0.006)          0.011 (-0.005, 0.026)
Population density
                                                       -0.480 (-1.689, 0.730)        -2.496 (-5.893, 0.901)     0.283 (-0.599, 1.164)         -0.585 (-2.666, 1.495)
  % aged 19-24 y
                                                       -0.801 (-1.512, -0.089)       -2.390 (-4.391, -0.388)   -0.337 (-0.871, 0.197)         -1.114 (2.463, 0.235)
  % aged 25-34y
                                                       -0.227 (-1.062, 0.607)        -0.654 (-2.831, 1.522)    -0.163 (-0.703, 0.377)         -0.261 (-1.391, 0.870)
  % Black
                                                       -0.009 (0.492, 0.474)         -0.469 (-1.590, 0.652)     0.143 (-0.214, 0.501)          0.183 (-0.715, 1.081)
  % with a bachelor's degree or higher
                         -
                                                       -0.047 (-0.195, 0.101)         -0.147 (-0.546, 0.251)   -0.020 (-0.131, 0.091)          -0.084 (-0.368, 0.200)
Percentage of households with a firearm (proxy)
                     -
                                                        0.000 (0.000, 0.000)           0.000 (0.000, 0.000)      0.000 (0.000, 0.000)           0.000 (0.000, 0.000}
Median household income                                                                    ------
-- - ---                                               -- ---
                                                       -0.072 (-0.293, 0.149)         -0.476 (-1.081, 0.129)     0.041 (-0.135, 0.216)         -0.182 (-0.628, 0.263)
Unemployment rate
                                                       -0.006 (0.012, 0.001)          -0.007 (-0.017, 0.004)    -0.001 (-0.006, 0.003)         -0.003 (-0.012, 0.007)
Imprisonment rate (per 100 000 population)
                                                        0.000 (0.000, 0.000)           0.000 (0.000, 0.000)      0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
Total population
     -
                                                                 0.31                          0.16                      0.26                            0.11
Pseudo R'
Note. Cl= confidence interval; LCM= large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions all 50 states plus
Washington, DC over a 28-year period) Mean variance inflation factor = 3.49.
Logit regression.
"Negative binomial regression.


                                                         since 1990, perpetrators used LCMs. (For              available. In other words, the first explanation
 the overall incidence of all high-fatality mass
                                                         23%, we determined that they did not involve          is that shooters perceive LCMs to be more
 shootings as well as the total number of
 victims in these events remained strongly               LCMs, and a determination could not be made           effective at killing many people; the second
 negative but was only sometimes statistically           for the remaining 13%.) Previous research has         explanation is that LCMs are indeed more
 significant (Table 4).                                  shown that LCM firearms are used in a high            effective at killing many people.
      In terms of sensitivity analyses, using probit      share of mass murders (typically defined as > 4         High-fatality mass shootings are not
                                                                                                 9             common, even in the United States. Between
 instead of logit gave us similar results (not            homicides) and murders of police.
 shown). When the outcome variable was the                    We could not find reliable estimates ofLCM       1990 and 2017, there has been an average
 number of high-fatality mass shooting deaths,            firearms in the US gun stock. However, it            of 2.5 incidents per year, with an average of
 we obtained largely similar results concerning           is likely much lower than 64%, given that            25 people killed annually in such attacks.
 the association between LCM bans and the                 commonly owned firearms such as revolvers,           However, the number of incidents and the
  outcome variables, regardless of whether we             bolt-action rifles, and shotguns are not typi-       number of people killed per incident have
  used Poisson or negative binorninal regression          cally designed to be LCM-capable. During             been increasing since the end of the federal
  (not shown). Moreover, replacing the linear              the decade the federal assault weapons ban was      assault weapons ban.
  yearly trend with a quadratic function did not           in effect, no firearms were legally manufactured        In our study, we found that bans on LCMs
  change the major results of the analyses (not            with LCMs for sale in the United States. In the     were associated with both lower incidence of
  shown). Variance inflation factors for all the           postban era, semiautomatic firearms, especially     high-fatality mass shootings and lower fatality
  independent variables never exceeded 10.0,               pistols, are often sold with factory-issue LCMs,    tolls per incident. The difference in incidence
  with the variance inflation factor for LCM               but firearms that are not semiautomatic are not     and overall numberoffatalities between states,
  ban variables always being less than 2.0, in-           sold with such magazines.                            with and without bans, was even greater for
  dicating that there were no significant mul-                Why do we find LCMs so prominent                 LCM-involved high-fatality mass shootings.
   ticollinearity issues (Tables 3 and 4).                among high-fatality mass shootings? We                   The multivariate results are largely con-
                                                          suspect there are 2 main reasons. The first is       sistent with these bivariate associations. When
                                                          that perpetrators probably deliberately select       we controlled for 10 independent variables
                                                          LCMs because they facilitate the ability to fire     often associated with overall crime rates, as
                                                           many rounds without having to stop to               well as state and year effects, states with LCM
  DISCUSSION
                                                           reload. The second reason is that the ability        bans had lower rates of high-fatality mass
     In the United States, LCMs are dispro-
                                                           of shooters to kill many victims-especially          shootings and fewer high-fatality mass
  portionately used in high-fatality mass
                                                           the 6 victims required to be included in our         shooting deaths. When we investigated fed-
  shootings (incidents in which >6 victims are
  shot to death). In at least 64% of the incidents         data set-may be reduced if LCMs are not              eral and state bans separately in the multiple



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 TABLE 4-Multivariate Results of the Relationship Between Large Caliber Magazine Bans and High-Fatality Mass Shootings(<! 6 Victims Shot to
 Death), 1990--2017 Separate Federal and State Large Caliber Magazine Bans: United States


                                                           LCM-Involved High-Fatality Mass Shootings, b (95% Cl)         All High-Fatality Mass Shootings, b (95% CI)

                                                                 Incidents'                      No. Deaths"               Incidents'                      No. Deaths"

                                                           -1.434 (-2.622, -0.245)       -3.571 (-7.103, -0.038)     -0.895 (-1.806, 0.016)          -2.570 (-4.902, -0.238)
Federal LCM ban                                                         -          -                                          -
                                                           -2.603 (-4.895, -0.311)       -8.048 (-15.172, -0.925)    -1.277 (-2.977, 0.422)          -3.082 (7.227, 1.064)
State LCM bans                                                                           -                                  -- -

                                                           -0.012 (-0.055, 0.030)        -0.001 (-0.085, 0.083)       0.001 (-0.003, 0.006)           0.009 (-0.007, 0.024)
Population density
                                                           -0.311 (-1.499, 0.878)        -2.589 (-6.057, 0.879)       0.342 (-0.551, 1.236)          -0.531 (-2.759, 1.698)
  % aged 19-24 y
                                                           -0.812 (-1.532, -0.093)       -2.660 (-4.848, -0.471)     -0,323 (-0.864, 0.217)          -0.848 (-2.236, 0.539)
  % aged 25-34 y
                                                           -0.229 (-1.101, 0.643)        -0.770 (-3.232, 1.693)      -0.150 (-0.698, 0.398)          -0.154 (-1.321, 1.013)
  % Black
                                                           -0.031 (-0.447, 0.509)        -0.479 (-1.577, 0.618)       0.156 (-0.199, 0.511)           0.269 (0.567, 1.106)
  % with a bachelor's degree or higher
                                -
                                                           -0.055 (-0.210, 0.101)         -0.227 (-0.651, 0.196)     -0.019 (-0.133, 0.094)           -0.107 (-0.399, 0.186)
Percentage of households with a firearm (proxy)                                            -- - - --                 -- -- ------- -                 -- -    - - -·- -
          ------- -                                                                                                   0.000 (0.000, 0.000)             0.000 (0.000, 0.000)
Median household income                                     0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
                                                           -0.061 (-0.284, 0.162)         -0.420 (-1.041, 0.201)      0.046 (-0.132, 0.224)           -0.157 (-0.619, 0.305)
Unemployment rate
                                                           -0.006 (-0.013, 0.000)         -0.012 (-0.026, 0.002)     -0.002 (-0.007, 0.003)           -0.003 (-0.014, 0.007)
Imprisonment rate (per 100 000 population)
                                                            0.000 (0.000, 0.000)             0.000 (0.000, 0.000)     0.000 (0.000, 0.000)             0.000 (0.000, 0.000)
Total population
                                                                     0.30                             0.15                    0.26                              0.11
Pseudo R'
Note. Cl= confidence interval; LCM= large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions all 50 states plus
Washington, DC-over a 28-year period). Mean variance inflation factor= 3.45.
Logit regression.
Negative binomial regression.

                                                                  count than those states with no such bans         also increases. Indeed, of the 13 high-fatality
 regressions, both were significantly associated
                                                                  in effect? Yes. In fact, the effect is more       mass shootings with 10 or more fatalities in
 with the incidence of LCM-involved high-
                                                                  pronounced for high-fatality mass shoot-          our data set, 12 (92%) involved an LCM.
 fatality mass shootings as well as the number of
                                                                  ings involving LCMs than for those not                Third, although many high-fatality mass
 victims in LCM-involved attacks. The re-
                                                                 involving LCMs.                                    shootings tend to be highly publicized, in 13%
 lationship between these bans, considered
                                                              4. Do states with LCM bans experience                 of the incidents we reviewed, we could not
 separately, and all high-fatality mass shooting
                                                                 high-fatality mass shootings (regardless of        determine whether an LCM was used. As a
 incidence and deaths is often not statistically
                                                                 whether they involve LCMs) at a lower              sensitivity analysis, we assessed the assump-
 significant, although this may be attributable to
                                                                 rate and a lower fatality count than states        tions that all of the unknown cases first did,
 lack of statistical power (number of observa-
                                                                  with no such bans in effect? Yes.                 and then did not, involve LCMs. Neither
  tions) to find a statistically significant effect.
                                                                                                                     assumption appreciably changed our main
     Our analysis provides answers to 4 im-
                                                                                                                    results (not shown).
 portant questions:
                                                                                                                         Fourth, as a general rule, clustering stan-
                                                               Limitations                                          dard errors is most appropriate when there is
 1. How often are LCMs used in high-fatality
                                                                   Our study had various limitations. First,        a large number of treated units. Although
     mass shootings? At minimum, 64% of
                                                               although we carefully searched for every             during the decade of the federal assault
     high-fatality mass shootings perpetrated
                                                               high-fatality mass shooting, it is possible that     weapons bans all 50 states plus the District
     between 1990 and 2017 involved LCMs.
                                                               we might have missed some. Nevertheless,             of Columbia regulated LCMs, during the
 2. Are more people killed when LCMs are
                                                               we suspect that this is unlikely, because it          remaining time periods under examination,
     used? Yes, and the difference in our data
                                                               would mean th.at others who compiled lists            only 8 jurisdictions regulated LCMs. As a
     set is substantial and statistically significant
                                                               have also missed the same ones, for we                result, there is the possibility that the standard
     (11.8 vs7.3). We should add that our
                                                               checked our list against multiple sources.            errors were underestimated in our analyses."
     results likely underestimate the difference
                                                                   Second, our definition of a high-fatality             Fifth, there were only 69 events that
     because we have a truncated sample (we
                                                               mass shooting is a shooting that results in           met our criterion for a "high-fatality mass
     only examined incidents with at least 6
                                                               6 or more fatal victims. A different threshold        shooting." Although 69 is a horrific number
     victim fatalities), compounded by the fact
                                                                criterion (e.g., 6 or more people shot; 5 or         of incidents, for statistical purposes, it is a
     that the number of homicide incidents fell
                                                                more victims killed), might lead to somewhat         relatively small number and limits the power
     as the number of victims increased.
                                                                different results. We expect that as the              to detect significant associations. For example,
  3. Do states with LCM bans experience
                                                                number of victims in a shooting increases, the        we did not have the statistical power (and thus
      high-fatality mass shootings involving
                                                                likelihood that the perpetrator used an LCM           did not even try) to determine whether
      LCMs at a lower rate and a lower fatality


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                          EXHIBIT I
        to Expert Report of Professor Louis Klarevas
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                                                             AAST 2018 PODIUM PAPER




               Changes in US mass shooting deaths associated with
                  the 1994-2004 federal assault weapons ban:
                          Analysis of open-source data
                         Charles DiMaggio, PhD, MPH, Jacob Avraham, MD, Cherisse Berry, MD,
                        Marko Bukur, MD, Justin Feldman, ScD, Michael Klein, MD, Noor Shah, MD,
                          Manish Tandon, MD, and Spiros Frangos, MD, MPH, New York, New York

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From the Department of Surgery, D1v1s10n of Trauma and Cnllcal Care Surgery (C.D, J A, CB, MB, J F,MK,NS., MT, S.F), New York Umvers1ty School ofMed1cme, New
    York, New York
Address for repnnts. Charles DiMaggo, PhD, lv!PI-1, Department of Surgery New York University School of Med1cmne, 462 First Ave, NBV I 5, New York, NY l 0016-9196, email
    Charles.D1lvlagg1o@nyume.org.
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DMaggo et al                                                                                                                                 Volume 86, Number 1



    BACKGROUND:             A federal assault weapons ban has been proposed as a way to reduce mass shootmgs m the Umted States. The Federal Assault
                            Weapons Ban of 1994 made the manufacture and crvlan use of a defined set of automal!c and semmutomal!c weapons and large
                            capacity magazmes illegal The ban expJred m 2004 The penod from 1994 to 2004 serves as a smngle-arm pre-post observational
                            study to assess the effectiveness of ths policy mtervent1on.
     METHODS·               Mass shootmg data for 1981 to 2017 were obtamed from three well-documented, referenced, and open-source sets of data, based on
                            media reports We calculated the yearly rates of mass shootmg fatahl!es as a proportion of total firearm hom1c1de deaths and per US
                            population We compared the 1994 to 2004 federal ban penod to non-ban penods, usmg Slfllple lmear regress10n models for rates and a
                            Poison model for counts with a year vanable to control for trend. The relal!ve effects of the ban penod were estimated with odds ratios
     RESULTS:               Assault nfles accounted for430 or 85 8% of the total 501 mass-shootmg fatahtJes reported (95% confidence Interval, 82 8--88 9)mn
                            44 mass-shooting mnc1dents Mass shootings mn the Umted States accounted for an mcreasmg proport10n of all firearm related ho
                            nuc1des (coefficient for year, 0 7,p = 0 0003), with mcrement m year alone capturmg over a tlurd of the overall vanance m the data
                            (adjusted R 2 0 3) In a lmear regression model controllmg for yearly trend, the federal ban penod was associated with a statst1
                            cally s1gmficant 9 fewer mass shootmng related deaths per 10,000 firearm honuc1des (p = 0 03) Mass-shootmg fataht1es were 70%
                            less hkely to occur dunng the federal ban penod (relal!ve rate, 0 30, 95% confidence mterval, 0 22-0.39)
     CONCLUSION.            Mass-shootmng related homicides m the Umted States were reduced dunng the years of the federal assault weapons ban of 1994 to
                             2004 (J Trauma Acute Care Sirg 2019,86 11--19 Copynght 2018 Amercan Assoc1aton for the Surgery of Trauma.)
     LEVEL OF EVIDENCE·     Observational, level II/IV
     KEY WORDS:             Firearms, mass-shootings, assault weapons, ep1demology



    ncreases m firearm-related mnyur1es, particularly mass-shooting                       In a study soon followmg the 1mplementat10n of the 1994
I   related fatalities, 111 the Umted States have contributed to a po-
larrzmng and sometmes contentious debate over gun ownership
                                                                                   ban, researchers reported a 55% decrease mn the recovery of as-
                                                                                   sault weapons by the Baltunore City Polce mn the first 6 months
and limitmg weapons charactenzed as assault weapons ' De-                          of 1995, 1dcatmng a statistically s1gnficant 29 fewer such fire-
sp1te the mncreasmg sense that there 1s an epidemic of md1scrim-                   arms 111 the population 11 In a 2009 study based on ICD9 exter-
111ate firearm v10lence 111 our schools and public spaces, there 1s a              nal cause of myury codes for patients younger than 18 years mn the
paucity of public health evidence on the topic Among a number                      Umted States, 11 states with assault and large-capacity magaz111e
ofrecommendations, a federal Assault Weapons Ban (AWB) has                         bans, as well as other firearm laws, were compared with 33 states
been proposed as a way to prevent and control mass shootmgs 111                    without such restrictions The incidence of firearm myurres per
the Umted States In this aii1cle, we assess evidence for the effec-                1,000 total traumatic mJunes was sigmficantly lower 111 states
trveness of such a ban mn preventing or controlling mass-shooting                  wIth restrictive laws, 22 compared with 5 9 ' In contrast, a
home1des mn the United States                                                      comprehensive 2001 evaluat10n of the AWB itself concluded
         While mass shootings occur mn other mdustrral1zed nations,                that there was "no evidence of reductions m multiple-vuctmm
 the Umted States 1s particularly prone to these cnmes In a recent                 gun homuc1des or multiple-gunshot wound vctmmzatons" The
 30-year penod, the Umted States had double the number of mass-                    authors cautioned their results should be "mterpreted cautiously"
 shootmg mcidents than the next 24 111dustnalized nat10ns com-                     because of the short penod smce the ban's mcept1on, and that
 b111ed 3 Any public perception ofrecent 111creases 111 the number                 future assessments were warranted ' More recent studies, while
                                                             4                     not pnmanly addressmg the US Federal AWB have found re-
 of these events 1s borne out by analysis ofava1lable data By one
 measure, there have been more deaths due to mass shootmngs 1n                      sults generally consistent with 1ts effectiveness mn preventmg
 the Umted States 111 the past 18 years than mn the entire 20th cen-                mass-shooting fatalities I%l°
 tury 5 While there is some debate about the role of mental illness                        We believe sufficient tune has passed and enough data
  111 mass shootings," many high-profile recent mass shootings                      have accumulated to treat the penod from 1994 to 2004 as a nat-
  (Aurora, CO, Roseburg, OR, San Bernadmo, CA, Newtown,                             uralstc pre-post observational comparison per1od for the asso-
  CT, Orlando, Las Vegas, Sutherland Spr111gs, TX) have been                        c1at1on of the AWB with changes m mass-shootmgs m the United
  characterized by the use of sem1automatic assault rfles," leading                 States Because there is no authontatlve source or registry, or
  some to advocate for restnctlons on the manufacture and sale of                   even a widely agreed upon definton for these mc1dents, we ob-
  these weapons                                                                     tamed data from three open source references and restncted our
                                                                                    analyses to only those mc1dents confirmed by all three sources
          While survey results mndcate that researchers 1n crmmmol-
                                                                                    We assess evidence for the potential effectiveness of such a ban
  ogy, law and public health rank an assault weapons ban as one of
                                                                                    111 preventmg and controll111g mass-shootmg h01mc1des 111 the
  the most effective measures to prevent mass &hootmgs, and that
                                                                                    Umted States We hypothesized that the nnplementation of the
   67% of the US general population support such a ban," the
                                                                                    Federal AWB contnbuted to a reduct1on m mass shootmng deaths
   ex1sting evidence on banning assault weapons 1s scant and
                                                                                     as measured by the number and rate of mass shootmg fatalities
   sometunes contradictory Most evidence 1s related to the Federal
                                                                                    before, dunng, and after the federal AWB
   AWB of 1994, which made illegal the manufacture and use by
   cIvIlans of a defined set of automatic and semautomate
   weapons and large capacity magazmes Formally known as                                                              METHODS
   "The Public Safety and Recreational Firearms Use Protection
   Act, the AWB was part of the broader "Violent Crune Control                            Mass mnc1dent shootmng data were obtained from three 1n-
   and Law Enforcement Act of 1994 The ban lasted IO years,                          dependent, well-documented and referenced onlme sources
   expmng m 2004 when the US Congress declined to renew t                            Mother Jones Magazme, the Los Angeles Tunes and Stanford


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University I6-18 These sources have each been the bas1s for a             for trend with yearly rates based on (1) CDC WISQARS homi-
number of previous studies l9 26 pata from the three onlmne               c1de data endmg 111 2016, (2) extrapolated CDC WISQARS ho-
open-source references were combmed Analyses were restncted               mc1de data for 2017, and (3) population denommator-based
to mc1dents reported by all three sources Entnes were further re-         rates We tested the robustness of our underlymg modelmg as-
stncted to those for which four or more fatahttcs (not mcludmg            sumptions with an alternate llllXed-effects generaltzed lmear model
the shooter) were reported, wluch meets the stnctest defimtion            of yearly mass shootmg fataltty counts with an observation-level
of mass shootmgs as defined by the Federal Bureau of Investi-             random effect to account for overd1spers1on
gaton ?7 28 Yearly homuc1de data were obtamed from the US                        The study was detetmmed to be exempt as nomdenttfiable
Centers for Disease Control and Prevention Web-based lnJury               data. The study data and analytic code are available for down-
Statistics Query and Repotimg System (WISQARS) an onlme                   load at http //www myuryep1 org/styled-2/
database of fatal and nonfatal mJury 29 Because 2017 data were
not yet available m the WISQARS system, data for firearm-
related hom1c1de data for that year were obtamed from a separate
                                                                                                          RESULTS
onlmne source "                                                                    The three data sources ltsted mctdents rangmg 111 number
         A vanable was created to 111d1cate the 1994 to 2004 penod        from 51 (LA Times) to 335 (Stanford) and 111 dates from 1966
 as the federal ban penod We attempted to 1dent1fy mcidents 111-          (Stanford) to 2018 (LA Ttmes) There were a total of 51 reported
 volvmg assault weapons An assault weapon has been defined                cases of mass shootmgs between 1981 and 2017 confumed by all
 as semiautomatic nfle that 111corporates mthtaty-style features          three sources Forty-four of these mc1dents met the stnctest cntena
 such as pistol gnps, foldmg stocks, and !ugh-capacity detachable         for mass shootmgs ( 4 or more killed), total mg 501 all-weapon
 magazmnes   °'   In thus study, assault weapons were 1dentufied          fatahttes In total 1,460 persons were 111Jured or lolled over
usmng the text search terms "AK," "AR," "MCX," "assault," "as-            the 37-year penod, for a total case-fataltty ratto of 34 3%
 sault," or "semiautomatic" m a text field for weapon details             (95% CI, 319-368) The overall rate of mass shootmg fataltttes
 These terms were based on descnpt1ons of the federal assault             per 10,000 firearm-related homicides was 102 (95% CI,
 ban legslatrve language The total number of mass shooting                9 4-11 2) There was an 111crease m the all-weapon yearly
 fatahttes and mJunes were aggregated by year and merged with             number of mass-shooting fatalities m the United States dunng
 the yearly firearm homcde data                                           the study penod, (Fig 1) and evidence of a decrease 111 case fatal-
          The rate of mass shootmg fatahties per 10,000 firearm ho-       ity 111 the post-2010 penod (Fig 2) Incidents m wluch weapons
 mtctde deaths was calculated For the years covered by the data           were charactenzed as assault nfles accounted for 430 or 85 8%
 sources, we calculated (1) the total and yearly number of mass-          ofmass-shoot111g fataltttes (95% CI, 82 8-88 9) Weapons char-
 shootmg mcidents that met the stnctest cntena and were con-              actenzed as assault nfles accounted for all mass-shoot111g fatal-
 firmed by all three sources, (2) the numberofall weapon (assault          tttes 11115 (62 5%) of the 24 (95% CI, 426-78 9)years for which
 and nonassault weapons) mass-shoot111g fatahties, and (3) the             a mass-shooting mnc1dent was reported, accountmng for a total of
 case-fataltty ratio of all-weapon mass-shoot111g fataltttes per 100       230 fataltt1es 111 those years
 total mass-shootmg fataltties and mJLmes The yearly case-fataltty                 Between 1981 and 2017, mass shootmgs 111 the Umted States
 rat1o was plotted with overlymg Loess lme for trend and standard          accounted for an mcreasmg proportton of all firearm-related ho-
 error lumts We also plotted the yearly rate of mass shootmg fa-           mtctdes, wtth 111crement 111 year accountmg for nearly 32% of
 talttres per 10,000 firearm-related homicides with an overlymg            the overall vanance 111 the data Dunng the years 111 which the
  s1mple linear model with year as the predictor for (1) the total         AWB was 111 effect, thts slope decreased, with an 111crease 111 the
 penod, and (2) for preban, ban, and postban perods                        slope of yearly mass-shoot111g homtctdes 111 the postban penod
          We evaluated assumpt10ns of normaltty and lmeanty of
  the data usmg graphical methods such as density plots and Q-Q
  normal plots as well as summary stat1st1cs We tested the hypoth-                      60
  esis that the federal ban penod was associated with a decrease 111
  the number and rate of mass-shootmg fataltttes 111 the Umted
  States wth a multiple linear regress1on model, with total hom1-
  c1de-based mass-shootmg fataltty rate as the outcome vanable, a
  dichotomous md1cator vanable for the federal ban penod as the
  predictor vanable, and year as a control vanable for trend over
  time We calculated the relative nsk of mass shootmg fataltttes                 '8
                                                                                 kt
  durmg the federal ban penod compared to nonban penods by                       0
                                                                                 .o
  usmg the "epttab" funct1011 of the R "epttools" package Tins es-               G::,



                                                                                                     I1
                                                                                        20
  tmmate 1s based on the ratio of the fataltty rate dunng the ban pe-            z
  rod drvded by the fatality rate dunng the nonban per1od All
   results are presented with two-sided p values wth a s1gnficance
   level ofO 05 and/or 95% confidence mtetvals (CI) We conducted                         ()                      II I
   subgroup analysis wth data restricted to mc1dents m whch an                                1980        1990   2000        2010
   assault-type weapon was explicitly noted
           We conducted analyses to test the sensit1v1ty of our results                               Year
   to the chmce of denommator with lmear regression models controllmg      Figure 1. Mass shooting deaths United States 1981--2017


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              d)      50                                                                                     u:::                                                                   Assault Rifle Ban
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                           1980               1990                 2000             2010

                                   Year
Figure 2. Case fatality per 100 total mass-shooting injuries with
loess smoothing line for trend and standard error bounds.                                                           -20
United States 1981-2017
                                                                                                                          1980     1990          2000            2010
                                                                                                                                            Year
 (Fig. 3). A similar pattern was evident in data restricted to those                                         Figure 4. Mass-shooting shooting deaths per 10,000
 incidents characterized as involving assault weapons (Fig. 4).                                              firearm-related homicides restricted to incidents involving assault
        In a linear regression model controlling for yearly trend,                                           weapons with linear trends for pre ban, ban, and postban periods.
 the federal ban period was associated with a statistically signifi-                                         United States 1981-2017.
 cant 9 fewer mass shooting-related deaths per 10,000 firearm
 homicides per year (Table 1). The model indicated that year                                                  restricted to just those incidents characterized by the use of an
 and federal ban period alone accounted for nearly 40% of all                                                 assault weapon indicated that seven preventable deaths during
 the variation in the data (adjusted R2 = 0.37). A subanalysis                                                the ban period were due to assault weapons alone (Table 2).
                                                                                                                     The risk of mass shooting fatalities during the federal van
                                                                                                              period was 53 per 140,515 total firearm homicides compared
                                                                                                              with 448 per 348,528 during the nonban periods, for a risk ratio
         60
                                                                                                              of 0.30 (95% CI, 0.22-0.39). The calculated risk ratio for the
                                                                                                              association of the federal ban period with mass-shooting fatali-
                                                                                                              ties as a proportion of all firearm-related homicides was 0.29
                                                                                                              (95% CI, 0.22-0.29), indicating that mass shooting fatalities
  f/)
                                                                                                              were 70% less likely to occur during the federal ban period.
         4o
 0                                                                                                                   The results of our sensitivity analyses were consistent with
 '§
 r
  0
                                                     .                                                        om main analyses for total mass shooting fatalities. I.n a linear
                                                                                                               regression analysis controlling for yearly trend and restricted to



                            .. I
                                                                                         Assault Rifle Ban
  E                                                                                                            the period ending in 2016 using just CDC WISQARS homicide
  "'~                                                                                     •   Pre
                                                                                                               data as the denominator, the effect of ban period was associated
  U:::   20                                                                               4   Ban
  o                                                                                                            with a statistically significant eight fewer mass shooting related
  o                                                                                       •   Post
  0                                                                                                            deaths per 10,000 firearm homicides per year (coefficient for
  o
                                                                                                               ban period, 8.0;p= 0.05). In a similar model using extrapolated
  5                  ~__ ,.                              ='T'·· •••
                                                                                                               CDC WISQARS homicide data for 2017 instead of Online Gun
  a.
  $       0          ••• • ••            ....... .          .A..                                               Violence Archive data as the denominator, the effect of ban
   C\l
  0::


                                                                                                               TABLE 1. Linear Regression Effect of 1994-2004 Federal Assault
                                                                                                               Weapon Ban on Mass-Shooting Deaths per 10,000 Firearm
         -20                                                                                                   Homicides, United States, 1981-2017
               1980               1990               2000          2010                                         Variable             Estimate            Std. Error                               fl
                                                 Year                                                           (Intercept)          -1409.4                 333.0                  -4.2        0.0002
  Figure 3. Mass shooting deaths per 10,000 firearm-related                                                     Year                     0.7                   0.2                   4.3        0.0001
  homicides with linear trends for preban, ban, and postban                                                     Ban Period              -8.6                   3.9                  -2.2        0.03
  periods. United States 1981-2017.

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                                                                            it must be 111terpreted 111 the context of the overall number of
TABLE 2. Linear Regression Effect of 1994-2004 Federal Assault              such fataht1es, which ranges from none to 60 111 any given year
Weapon Ban on Mass-Shooting Deaths Characterized by Use of
                                                                            111 our data. However, 1f our l111ear regression estimate of 9 fewer
Assault Weapon per 10,000 Firearm Homicides, United
                                                                            mass shootmg-related deaths per 10,000 homicides 1s correct,
States, 1981-2017
                                                                            an assault weapons ban would have prevented 314 of the 448
Variable         Estimate        Std. Error                        p        or 70% of the mass shootmng deaths durmng the non ban penods
(Intercept)       -12197           333 9             -37         00009      under study Notably, thus estmmate ts roughly consistent w1th
Year                  06             0.2              37         0 0008     our odds ratio estimate and Pousson model results
Ban                   -67            39              -17         0 09                Our results add to the documentation that mass shootmng
                                                                            related homtc1des are mdeed mcreasmng, most rap1dly mn the
                                                                            postban penod, and that these 111c1dents are frequently associated
per1od was associated wth a statistically s1gnficant 9 fewer                with weapons charactenzed as assault nfles by the language of
mass shootmg related deaths per 10,000 firearm homicides per                the 1994 AWB We did not find an mncrease mn the case fatality
year ( coefficient for ban penod, 8 6, p = 0 03) A model based              rat1o of mass-shootmg deaths to mass-shooting injuries Thus
on the total yearly US population as the denommator, the effect             might at first seem countennti11t1ve and paradoxical The destruc-
of ban period was assoc1ated with a statistically s1gnficant 0 4            tive effect of these weapons 1s uneqmvocal They are engmeered
fewer mass shootmg related deaths per 10,000,000 population                 to cause maxunum tissue damage rapidly to the greatest number
( coefficient for ban penod, 0 4, p = 0 02)                                  of targets However, 1t may be that the use of these kmds of
       The results of a mixed-effects generalized l111ear Pmsson             weapons results m mndscrmmmate myury w1th add1ttonal rounds
model of yearly mass shootmg fatality counts with an observa-                more likely to myure more people mncreasmg the denommator
tion-level random effect to account for overd1spersion were very             111 a case-fatality ratio By contrast, the use of nonassault weapons
sumlar whether the offset vanable was the number of total fire-              may result m more prec1se targeting of vctmms It 1s also possible
arm deaths or the population size In either case, the assault                that improvements 111 trauma care are dnvmg down case fatal-
weapons ban penod was associated with an approxlffiately                     ty°" Also, 1t 1s worth notmg that 111 absolute terms, there were
85% reduct1011 111 mass shootmg fatalities (Table 3)                         many more fatalities outside the ban penod and that survivable
                                                                             Injury comes with ts own phys1cal, emotional, and econom1c
                                                                             costs, which have been estimated at US $32,237 per hospital
                            DISCUSSION
                                                                             admuss1on "
        Recently, 75% of members of the Amencan College of                           Despite US federal fundmg restnct10ns on firearm-related
Surgeons Committee on Trauma endorsed restrtctons to "crvl1an                research dating to 199632there 1s a small but growmg number
access to assault nfles (magaz111e fed, semiautomatic, 1 e ,                 of analyses of mass shootmg violence 111 the Umted States
AR-15),"33 and 7 6% of the Board of Governors were 111 favor                 Many articles have focused on the mental health aspects of these
of a lmmut to " crvlan access to ammunition des1gned for mil-                111c1dents,41-43 or on social effects like mcreased firearm acqm-
1tary or law enforcement use (that 1s, armor p1ercmg, large mag-             s1t1on following mass shootings 1%° However, fewer studies
azmne capacity) " In 2015, the Amen can College of Surgeons                  have taken a sti'!ctly public health or climcal approach Among
jomned seven of the largest most prestig10us profess10nal health              these, an autopsy-based study of the mc1dence and seventy of
orgamzatlons 111 the Umted States and the Amencan Bar Asso-                   mass-shootmg casualties concluded the wound patterns differed
c1at1on to call for "restrctmng the manufacture and sale of                   sufficiently from combat mJunes to reqmre new management
military-style assault weapons and large-capacity magazmes                    strategies, mndrcatmng there 1s much to be learned from a system-
for civilian use ""° Thus analyss adds evidence to support these              at1c ep1demolog1cal perspective """ Recently, there have been
 recommendations                                                              calls to remove such fundmg restnct10ns from both academics
                                                                                                                                           748
        No observational epidem1olog1c study can answer the ques-             and elected officials from across the polrtcal spectrum "
 t1on whether the 1994 US federal assault ban was causally related                    Our choice of data and analytic approach may reasonably
 to preventmg mass-shootmg hom1c1des However, this study adds                 be debated We chose to base our analyses on the yearly rate of
 to the evidence by narrowly focusmng our question on the potential           mass shootmg fatalities per 10,000 overall firearm hom1c1des
 effect of a nattonal assault weapon ban on mass shootmgs as mea-             This 1s not a population-based nsk estimate, but 1s 1n fact a nsk
 sured through the lens of case fatality While the data are amena-            as commonly used mn the ep1demologtc literature wh1ch 1s es-
 ble to a number of add1t10nal analyses, such as strat1ficat1011 by           sentially a probability statement, that 1s, the number of events
 location (e g school vs nonschool) or by charactenzat1011 of
 large-capacity magazmes versus non large-capacity magazme,
 we chose to focus only on year of occurrence and total number               TABLE 3. Exponentiated Coefficients Generalized Linear
                                                                             Poisson Model
 of fatalities In this way, we relied on the least subjective aspects
 of the published reports We believe our results support the con-                                    Homicide Offset                        Population Offset
 clus1on that the ban penod was associated with fewer overall                Vanable            Estnnate            95%CI               Estlmate             95%CI
 mass-shootmg home1des These results are also cons1stent w1th                Year                  06                 02                    37               0 0008
  a s1m1lar study of the effect of a 1996 ban on assault type weapons        Ban                  -67                 39                  -17                0 09
                                                                    36
  111 Austi·aha after which mass-shootmg fatalities dropped to zero
                                                                                  Effect of 1994-2004 federal assault weapon ban on mass-shootmng death counts. United
         While the absolute effects of our regression analyses ap-
                                                                             States, 1981 20017
  pears modest (7 to 9 fewer deaths per 10,000 firearm-ho1111c1des ),

 2018 Amen can Assocaton for the Surgery of Trauma                                                                                                                 15



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that occurred over the number oft1mes that event could occur It                   An assault weapon ban 1s not a panacea, nor do our anal-
1s the nsk of a ho1mc1de occurnng as a result of a mass shootmg           yses 111d1cate that an assault weapon ban will result m fewer
It may be considered a strong assumption to build mass shootmng           overall firearm-related hom1c1des It 1s important to recogmze
death rates based on the overall firearm honuc1de rate The de-            that smc1des make up the mayorrty of fireann-related deaths m
mographcs of most homicide victims may duffer apprec1ably                 the Umted States, accountmg for 60 7% of36,252 deaths from
from those of mass shootmg v1ctlll1s We selected this approach                                °'
                                                                          firearms m 2015 However, while thus 1s a critically Important
from among a number of imperfect potential denommators, be-               Issue m 1ts own nght, sutcdes differ fundamentally from mass-
lievmg that basmg the rates on the number offiremm-hom1c1des              shootmgs, and are unlikely to be affected by an assault weapons
partly controls for secular trends m overall hom1c1des and fire-          ban Also, compared with the 501 mass-shootmg fatalities we
arm availability Our sens1tvrty analyses mdcate that our results          counted, there were 489,043 firearm-related hom1c1des 111 the
were robust to most any chmce of denommator We chose linear               Umted States Public health efforts should be d1rected at reduc-
regression as our primary model because 1t was straightforward,           mng all gun violence and must be mult1pronged, mncludmng
accessible to most readers, accounted for lmnear trends mn the            targeted 1111tiatives to address mental illness and reducmng access
 data, and returned results 111 the metnc 111 which we were most          to weapons mn those with a propensity for volence However,
 Interested, that s, changes m the rate of fatalities Our compara-        taken 111 the context of the mncrease mn mass shootings 1n the
 trve Poisson model results were essentially cons1stent w1th the          Umted States, these results support the conclus10n that the fed-
 pnmary model                                                             eral AWB of 1994 to 2004 was effective 111 reduc111g mass shoot-
           These analyses are subject to a number of add1tonal lmm-        mg-related h01mc1des m the Umted States, and we believe our
 1tat1ons and caveats, primary among which 1s that there 1s no au-         results support a re-111stihit10n of the 1994 federal assault
 thontat1ve source of data on mass shootmg, and any one source             weapons ban as a way to prevent and control mass shootmg fa-
 may be biased and mcomplete It was for this reason that we                talities 111 the Umted States
 chose to combme three mdependent sources of data, each with
 its own strengths and weaknesses, and base our analyses only             DISCLOSURE
 on those numbers that were venfied by all three sources We fur-          The authors have no conflicts of interest to declare
 ther restncted our analyses to only the number of fatalities and         There are no federal or nonfederal funding sources associated with this study
 the year mn which the mnc1dent occurred, and to the strictest defi-
 nut1on of mass shootings as defined by the Federal Bureau ofin-
 vest1gat1on ?7 28 pven with thus approach, the data remamn
  1mprec1se and subject to duffermg definitions We attempted to                                         REFERENCES
  compensate for thus by frammng our questions as precisely as                 Wolchover N Why gun control is so contentious mn the US LrveScence 20
  poss1ble, followmg the advice of the scientist and stat1st1c1an              July 2012 https //www lvesc1ence com/2174I gun control second
  John Tukey to pursue, "          an approximate answer to the nght           amendment.html Accessed 10 August 2018
  quest10n (rather) than the exact answer to the wrong question "          2 Bond S Students take the lead 111 US gun control debate. Fin anew/ Times 23
                                                                               February 2018 https //www ft com/content/934102le-1818-lle8 9376
           In thus study, we failed to falsify the hypothesis that the
                                                                               4a6390addb44 Accessed 10 August 2018
  AWB was associated with a decrease 111 mass shootmg fatalities            3 Lemieux F 6 things to know about mass shootmgs m Amenca Scientific
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        Cong (1994)                                                                     s1on video [sounds of a gun shooting] Well, that 1s the AR15
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                                                                                        NYU for their superb presentation on a very tunely issue The
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         prevent1on consensus and opportunttes Bull Am Coll Surg 2017,                  the Umted States, and has recently published our 14-po111t ap-
          102(10) 30-36                                                                 proach. Access to assault rifles is one of them At a reduct10111st
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          mn the US a call to action from 8 health profess10nal orgamzat10ns and the
                                                                                        mntending to kill random mndrvduals m a populated area, and (2)
          Amencan Bar Assoc13t1on Ann Intern Med 2015,162(7) 513-516                    the use of an assault nfle Smee we seem to be unable to identify

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the active shooter preemptively, we are left with the alternative                  In sum, thus study adds to overwhehmng evidence that as-
solution of elmmmnatmng the weapon                                         sault nfles are an essential component 111 the dramatic escalation
         The presentation today provides evidence that a federal as-       of mass shootmgs 111 the Umted States While the scientific data
sault weapon ban can reduce mass shootmgs Accordmg to our                  to support a federal ban on civ1han assault nfles is nnperfect due
recent national trauma surgeon surveys, three-fourths of us 1n             to 111adequate research support, I submit collectively the existmg
the audience, mcludmng me, would Ike to believe the analysis,              mformation argues strongly for enactment of this measure, and
but I thmk we need to consider some of the potential limitations           compliment the authors for therr tnnely contnbut1on
         Many of these issues relate to the fact that research support             Sheldon H. Teperman, MD (Bronx, New York) Dr
for gun violence control mn the Umted States remams frustrat-              D1Magg1o, your home mst1tut1on, Bellevue, plays a seminal role
mngly suppressed and fundamentally madequate The general                   111 the trauma center safety of our nation
 lack of mformatlon, low quality of data, and need to merge data                   In fact, nght now, your trauma medical drrector is not
 sets from diverse sources - medical, coroner, police, legal, and          present with us, but he 1s at home on guard for the UN General
behavioral compounded by scarce funding and public contro-                 Assembly But mn New York, we don't see long-gun mnyures New
 versy, undermmne research to 1form pol1cy and enlighten the               York has the Safe Act, and there 1s an assault weapons ban So
 pubhc The fact that you had to compare three open-access data-            why 1s 1t so important to Amer1ca's trauma center Bellevue-
 bases to be certam that the reported mass shootmngs occurred un-           that we see a nat10nal ban on assault nfles?
 derscores thus deficiency                                                          Charles E. Lucas, MD (Detro1t, Mich1gan) Thank you
          Furthermore, there 1s no defimtion of a mass shootmg, al-         for your mce presentat10n How many of these mnc1dents oc-
 though you employed perhaps the most acceptable at the mo-                 curred 111 an mner-city envrronment, where most of the victims
 ment - the FBI's defim1ton Could you explamn for us the                    that we treat have received multiple wounds which were pur-
 rationale for thus defin1ton?                                              posely mnflcted mn order to compete competitively for the dstribu-
          You present an analysis of 44 events with four or more            tion ofhero111 and other drugs? Also, how many of the assailants
  deaths, mcludmg the shooter, from 1981 to 2017-a 36-year perod,           were Afrlcan-Amencan?
  whereas, others suggest a much higher mc1dence, such as Klaveras,                 Martin A. Croce, MD (Memphis, Tennessee) Thank you
  who reported 69 shoot111gs of six or more over the past 27 years          I want to commend the authors for an excellent study, and really,
          Identifymng all known mass shootmngs per year durmg a             not so much to ask any questions but I nse to put out a plea to the
  study penod would be useful to appreciate the overall trends,             membership that this issue 1s a pubhc health problem
  as your data somewhat understates the magmrude of mass shoot-                     Tlus 1s not a nght versus left problem, this 1s not a Second
  1ngs m the Umted States                                                    Amendment problem Th1s 1s a public health problem
          You employed the Gun Violence Archive to estnnate ho-                     And to quote Wayne Meredith at one of the recent Board
  mc1des m 2017 Why dud you not use ths source for mass                      meetings, "Our primary goal 1s to reduce the number of bullet
  shootings? The Archive has reported an alarmmng 261 mass                   holes 111 people" So I implore the Membership to correct th1s
  shootmgs defined as six or more shot- thus far 111 2018 None-              dearth of research that 1s gomg on about gun v10lence 111 order
  theless, 111 the sample you srud1ed, assault nfles accounted for           to promote a public health approach, so that we can reduce the
  greater than 85 percent of the fatalities, and thus 1s the key issue       number of bullet holes 111 people
          You have evaluated the nnpact of the federal assault nfle                 Deborah A. Kuhls, MD (Las Vegas, Nevada) And to carry
  ban by analyzmg the rate of mass shootmgs per 10,000 firearm               on that thought, I would urge the authors to mcorporate the pub-
  hom1c1de deaths per year to adjust for confounders Thus would              he health data from the CDC when it is available, because part of
  assume that the factors mfluenc111g mass shoot111gs are the same           the methodological 1ssues for thus paper 1s that one data set was
   as those for h01mc1des, which seems very unlikely You have                used for a ceiiam penod of tune
   1drcated that you analyzed mass-shoot111g fatalities per population              But for the last year, the CDC data was not used because it
   per year, perhaps you could elaborate more about this analysis            was not available, so I would urge you to not only do that anal-
           Another confounder as acknowledged 111 the presentat10n           ysis, but I would also urge the Journal of Trauma to consider an
   1s the 1mpact of mdrv1dual state mutations on magazmne capac-             update to that article when that 1s available Thank you
   1ty The first state to enforce these lnmtatlons was New Jersey m                  Charles DiMaggio, MPH, PhD (New York, New York)
    1990, and now at least eight states and Washmgton, DC , have              Thank you very much for all these comments and quest1ons
   these restr1cttons m effect How can we dstmnguush the effects                     Dr Moore, so with regard to your observation about the
   of thus policy? And could thus be a potential bridge to ultimately         reduct1on1st approach to looking at thus particular 1ssue, that puts
   reestablish a nat10nal assault nfle ban?                                   me mn the mmnd very much of the traditional epidemiologrc tr1ad
           You have also calculated the case fatality of all weapons 111      of agent, host, and envrronment, and 1f you break one lmk 111 that
    mass shootmngs per 100 total shootings, find mg a decrease smnce          connect1on, you can break the transmission In this case, we could
    2010 Whle you conjecture thus may be due to mndtser1mmnate m-             call assault weapons one lmk, whether it's agent or host, we
   jury from assault rifles or possibly attributed to better trauma           can dec1de
    care, I am uncertam how this is relevant to the issue ofbanmng                   With regards to the rationale for the definition, I thmk it's
    assault nfles The Las Vegas shoot111g is a cogent example of              reflective of the lack of research 111 this area
    how these data may be m1sleadmg                                                  A case defimtion 1s an essential and critical first step mn
           Fmally, there 1s the 1ssue of so-called falsification that         any ep1demologc invest1gat1on, and you can see that we are
    could be addressed by exammnmng other causes of trauma mortal-            barely there I thmk the FBI definition makes sense, I thmk it's
    1ty durmg thus time perod                                                 the oldest one, I thmk it's 111formed by expert consensus

  18                                                                                     2018 Amen can Assocatonfor the Surgery of Trauma.



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        And I thmk all the other defimt1ons are based 111 some           results are robust and 1nvarant to the choice of denommator 111
form on that, whch 1s why we chose 1t. And I would urge that if          ths case
we are gong to be domg thus research gomg forward, probably 1t                   Can we d1stmgmsh local effects, and could tlns possibly
would be best 1f we all had the consensus that that be the defmit10n     be a bndge to reestablshmng an assault rule ban? The short an-
        Why did we not use the Gun Violence Archive to estimate          swer 1s yes and yes We can d1stmgmsh local effects
some of these results, and why are our numbers so much smaller                   We took a very broad approach on this pa1i1cular study as
than some of the other numbers? I have to agree, our numbers             a first pass on the data But, there are data sources (and even
are very much an under-count                                             w1thm the data sources we used) where you can tease out local,
        We restncted our analysis to these three databases And so        municipal and state pol1c1es
the hmitmg factor was the one database And I can tell you it was                 Also, we can lmk our data to other sources that have those
the LA Times - they had the fewest number And 1f 1t wasn't 111 the        vanables There are statistical methods available that will not
 LA Times, then the other databases chdn't contribute to this data set    only account for those vanables, but also allow us to measure
        We felt that the important aspect of this pmi1cular study         or est1r11ate 111 some way the contnbut1on oflocal or regional var-
 was to demonstrate the relative effects, ments or associations           1at1on m these polc1es to the overall effectiveness
 with the assault weapon ban as opposed to documentmg the ab-                    The issue of the case fatality rate 1s very 111terest111g and
 solute numbers                                                           challengmg I want to note that there was a paper 111 JAMA on
        So the Gun Arclnve, for example, defines mass shootmgs            September 11th - Just a couple of weeks ago - lookmng at mass
 as four or more deaths or 111Junes That really raises the number         shooter fatahttes, that came essentially to the same conclusion -
 of deaths that can be mcluded We didn't mclude it, but I th111k          that there has been this recent decrease
 gomng forward we absolutely should                                               In our paper, 111 this wnte-up, we look at three potential ex-
         With regard to the analysts using population denomma-            planatons, and one of them 1s, first of all, it's Just a matter of de-
 tors, we agree, actually, that gun homcdes are an imperfect              nominator These are mnduscrmate weapons
 denommator We also felt that populat10n was an imperfect                         You have someone shoot111g at a large group of people,
 denommator And agam, as we keep on crclmng around, 1t has                 and there are go111g to be more 111Junes and more casualties,
 to do with the data mn thus case                                          and 1t just inflates the denommator mn ths case
         We did feel that gun honuc1des captmed somethmg about gun                The second thmg 1s, the obverse of that, 1s s111gle-fire
  availability and crmalty mn the United States, although homicides        weapons, guns, are very personal weapons They're usually char-
  themselves differ very much from these mass shootmg fatalities           actenzed by someone who knows who they want to kill And fi-
         We do note that our population-based results essentially          nally, we feel that perhaps there may be some improvement by
  mirrored the gun homc1de results, mdrcatmng that, at least for           the folks 111 this room mn treating these
  the relative effects and benefits of the assault weapons ban, the                I'm gomng to close at thus pomt, grven the time constraints




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                          EXHIBIT J
        to Expert Report of Professor Louis Klarevas
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     JM IR PUB LIC HEALTH AND SURVE ILLAN CE                                                                                                           Post et al


     Original Paper

     Impact of Firearm Surveillance on Gun Control Policy: Regression
     Discontinuity Analysis

     Lori Post', PhD; Maryann Mason', PhD; Lauren Nadya Singh', MPH; Nicholas P WIeklinski, MD; Charles B Moss',
     PhD; Hassan Mohammad'; Tariq Z Issa', BA, Adesuwa I Akhetuamhen, MD; Cynthia A Brandt", MD, MPH; Sarah
     B Welch', MPH; James Francis Oehmke', PhD
     Buehler Center for Health Policy and Economics, Feinberg School of Medicine, Northwestern University, Chicago, IL, United States
     'Feinberg School of Medicine, Northwestern University, Chicago, IL, United States
     Institute of Food and Agricultural Sciences, University of Florida, Gainsville, FL, United States
     4
         Yale Cenler for Medical Informatics, Yale School of Medicine, Yale University, New Haven, CT, United States


     Corresponding Author:
     Lori Post, PhD
     Buehler Center for Health Policy and Economics
     Feinberg School of Medicine
     Northwestern University
     420 E Superior
     Chicago, IL, 60611
     United States
     Phone: I 203 980 7107
     Email: lori.post@northwestem.edu


     Abstract
     Background: Public mass shootings are a significant public health problem that require ongoing systematic surveillance to test
     and inform policies that combat gun injuries. Although there is widespread agreement that something needs to be done to stop
     public mass shootings, opinions on exactly which policies that entails vary, such as the prohibition of assault weapons and
     large-capacity magazines.
     Objective: The aim of this study was to determine if the Federal Assault Weapons Ban (FAWB) (1994-2004) reduced the
     number of public mass shootings while it was in place.
     Methods: We extracted public mass shooting surveillance data from the Violence Project that matched our inclusion criteria
     of 4 or more fatalities in a public space during a single event. We performed regression discontinuity analysis, taking advantage
     of the imposition of the FAWB, which included a prohibition on large-capacity magazines in addition to assault weapons. We
     estimated a regression model of the 5-year moving average number of public mass shootings per year for the period of 1966 to
     2019 controlling for population growth and homicides in general, introduced regression discontinuities in the intercept and a time
     trend for years coincident with the federal legislation (ie, 1994-2004), and also allowed for a differential effect of the homicide
     rate during this period. We introduced a second set of trend and intercept discontinuities for post-FAWB years to capture the
     effects of termination of the policy. We used the regression results to predict what would have happened from 1995 to 2019 had
     there been no FAWB and also to project what would have happened from 2005 onward had it remained in place.
     Results: The FAWB resulted in a significant decrease in public mass shootings, number of gun deaths, and number of gun
     injuries. We estimate that the FAWB prevented 11 public mass shootings during the decade the ban was in place. A continuation
     of the FAWB would have prevented 30 public mass shootings that killed 339 people and injured an additional 1139 people.
     Conclusions: This study demonstrates the utility of public health surveillance on gun violence. Surveillance informs policy on
     whether a ban on assault weapons and large-capacity magazines reduces public mass shootings. As society searches for effective
     policies to prevent the next mass shooting, we must consider the overwhelming evidence that bans on assault weapons and/or
     large-capacity magazines work.

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     KEYWORDS
     firearm surveillance; assault weapons ban; large-capacity magazines; guns control policy; mass shootings; regression lines of
     discontinuity

                                                                           weapons and ammunition formats that are designed to enable
     Introduction                                                          rapid discharge, which is a key feature in mass shooting
                                                                           incidents [24,47]. Other types of gun deaths may not be
     Background
                                                                           responsive to the FAWB or LCM bans. As an example, Extreme
     Approximately 44,000 people are killed and an additional              Risk Protection Orders or "Red Flag" orders [43,48], which
     1 00,000 people are injured by a gun each year in the United          temporarily prohibit at-risk individuals from owning or
     States [1,2]. Mass shooting fatalities, as a particular type of gun   purchasing firearms, may be effective for preventing firearm
     injury event, account for <l % of all gun deaths [3] and have         suicides or domestic violence homicides [49] but less effective
     largely been ignored until recently [4,5]; yet, mass shooting         for public mass shooters [50,51]. The prohibition ofLCMs may
     events occur multiple times per year [6]. This information is         have no impact on firearm suicide because suicide decedents
     based on insights from firearm surveillance performed by a            only require one bullet to kill themselves [52].
     variety of researchers, and state and federal agencies on
     incidence, prevalence, risk factors, injuries, deaths, and            Several studies during and after the FAWB attempted to
     precipitating events, similar to the surveillance of infectious       determine if gun policy that restricts the production and sale of
     diseases such as COVID-19 [7-21]. Teutch and Thacker [22]             assault weapons and LCMs decreased gun deaths [53,54]. These
     defined public health surveillance as                                 initial studies make meaningful contributions to the literature
                                                                           because they describe what constitutes assault weapons,
           the ongoing systematic collection, analysis, and                magazine capacity, ballistics, and loopholes in the FAWB
           interpretation of health data, essential to the planning,       legislation [3,53-57]. However, these studies have found little
           implementation, and evaluation of public health                 to no evidence that these policies have had any overall effect
           practice, closely integrated to the dissemination of            on firearm homicides, gun lethality, or overall crime [58-61].
           these data to those who need to know and linked to              Since deaths from public mass shootings comprise less than l %
           prevention and control.                                         of all homicides based on our definition, testing whether or not
     Not only do surveillance systems generate hypotheses to test          the FAWB/LCM ban has an impact on homicide would wash
     but they also provide the data to test them.                          out the effect. Since the FAWB/LCM ban may be effective at
                                                                           specific types of gun deaths, sampling must be limited to specific
     The Federal Assault Weapons Ban (FAWB, also known as the
                                                                           types of shooters over overall gun deaths or tests for lethality
     Public Safety and Recreational Firearms Use Protection Act)
                                                                           [62,63]. Finally, the variation in research findings is related to
     included a ban on the manufacture for civilian use or sale of
                                                                           differences in research design, sampling frame, and case
     certain semiautomatic firearms defined as assault weapons as
                                                                           definition of a public mass shooting [3,53-56,64,65].
     well as certain large-capacity magazines (LCMs). The Act was
     in effect for 10 years from 1994 until it sunsetted in 2004.          Our study differs from other studies that evaluated the efficacy
     Semiautomatic weapons (rapid fire) and assault weapons (second        of the FAWB because we used economic methods and a
     grip plus other features) are distinct; however, the two are often    different outcome variable. Specifically, we focused on whether
     incorrectly conflated as similar [23-26]. Semiautomatic weapons       the FAWB resulted in fewer public mass shooting "events,"
     are defined as weapons that automatically load another cartridge      whereas other studies evaluated the number of gun injuries and
     into a chamber, preparing the weapon for firing, but requiring        deaths that occurred during the course of a mass shooting.
     the shooter to manually release and press the trigger for each
     round [23-26]. By contrast, automatic weapons are similarly           Objective
     self-loading, but allow for a shooter to hold the trigger for         The aim of this study was to test whether curbing access to
     continuous fire [27]. Furthermore, the FAWB also prohibited           certain types ofguns and magazines will decrease mass shooting
     certain ammunition magazines that were defined as                     events. We sought to empirically answer if there was a
     "large-capacity" cartridges [28] containing more than 10 bullets      relationship between the FAWB and a reduction in mass
     [29]. These LCMs can feed ammunition to semiautomatic                 shooting events.
     weapons that do not meet the criteria of being considered assault
     weapons. Furthermore, LCMs are considered one of the most             Methods
     important features of the FAWB as research has found a
     relationship between bans on LCMs and casualty counts at the          Data Source
     state level [30-34]. The I0-year federal ban was signed into law      We created a firearm surveillance system based on the National
     by President Clinton on September 13, 1994 [28].                      Institute of Justice-funded Violence Project dataset, which
                                                                           culled mass shooting events from 1966 to 2019 [6]. Consistent
     Firearm surveillance data have been used to test potential policy
                                                                           with earlier studies, we rely on the original Federal Bureau of
     responses to prevent mass shootings, including the FAWB
                                                                           Investigation (FBI) definition ofa massacre, specifically where
     [32,34-39], Extreme Risk Protection Orders (also known as red
                                                                           4 or more people are killed within a single timeframe. We
     flag laws) [40-45], and federal and state LCM bans [31,32,46].
                                                                           differentiate our mass shootings from others in that our inclusion
     In particular, it seems likely that the FAWB and LCM bans
                                                                           criteria require the shootings to have occurred in a public setting.
     have potential to affect mass shootings because they regulate
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    We adapted this definition to only include massacres that               sample" exercise because even though the sample extends to
    involved gun deaths of 4 or more victims to isolate a particular        2019, the FAWB ended in 2004; thus, this exercise would not
    type of mass shooter [66]. Many firearm surveillance systems            pick up events in the past 15 years that would have augmented
    that include mass shootings use a lower threshold of persons            or compromised the effects of the FAWB. The difference
    shot and many do not include deaths. An FBI report on active            between the modeled number of public mass shootings and the
    shooters in mass shooting events identified planning and                projected counterfactual number of public mass shootings could
    preparation behaviors that are central to prevention [67]. This         provide an estimate of the number of public mass shootings that
    more narrow definition isolates premeditation, whereas broader          the FAWB prevented.
    definitions may include shooters that are more reactive [68].           We performed a regression of the 5-year moving average of
    Our case definition does not include family annihilators or             public mass shootings on the US population in millions, the
     felony killers because familicides are defined by the                  homicide rate, and discontinuity variables to capture both the
     victim-offender relationship, public massacres are defined by          effects of the FAWB and its discontinuation. We did not
     location, and felony killings are distinguished by motive [69].        introduce a trend line for the entire sample period because it is
     This differentiation is consistent with other mass shooting            highly collinear with the population variable. For the period of
     studies [70-72].                                                       the FAWB's implementation, we originally introduced an
     We examined the annual number of public mass shootings                 intercept shift, time trend, and shift in the homicide rate; for the
     occurring between 1966 and 2019 that resulted in 4 or more             post-FAWB period, we introduced an intercept shift and a time
     fatalities. The hypothesis was that the FAWB reduced the               trend. Due to collinearity, we retained only the trend shift in
     number of public mass shootings per year during the period of          the final model for the FAWB period; for the post-FAWB
     the ban. We used regression discontinuity analysis to test the         period, we retained both the intercept and the trend shift.
     hypothesis. Regression discontinuity analysis is a standard
     economist tool used in policy analysis taking advantage of             Results
     quasi-experimental designs [65,73].
                                                                            We identified a total of 170 public mass shooting events, the
     Analyses                                                               primary outcome variable, with 4 or more fatalities between
     Regression discontinuity analysis allows for discontinuities or        1966 and 2019. The 5-year cumulative number of public mass
     shifts in both the intercept and the slope of the trend line at both   shootings is shown in Figure I, providing a visualization of the
     the onset and sunset of the FAWB. That is, we introduced               impacts of the FAWB on the number of shootings. The first
     intercept shift parameters in 1995 and 2005, and trend shift           mass shooting occurred in 1966; hence, the first data point for
     parameters for the periods 1995-2004 and 2005-2019. A                  the cumulative number of shootings over the previous 5 years
     statistically significant shift in a parameter indicates a             occurs in 1970. For 1966 and 1967, the cumulative number of
     discontinuity (ie, a finding that the FAWB had a statistically         public mass shootings was 3. This number then increased to 12
     significant effect on the number of public mass shootings). We         in 1993 and declined to 3 in 2004. After 2004, the cumulative
     tested for statistical significance of the intercept and trend shift   number of public mass shootings increased to 81 in 2019. The
     parameters both independently and jointly. All statistical             last year of the ban, 2004, experienced the fewest public mass
     inference was based on a significance level set at .05. We used        shootings through 2019.
     the Huber-White robust residuals, which attenuate problems of           The regression results showed excellent explanatory power
     autocorrelation, heteroscedasticity, and some types of model
                                                                             (R2=0.94). The coefficient on population was positive and
      misspecification [74].
                                                                             statistically significant (.044, P<.001). This coefficient means
     We then used the estimated model for two types of                       that for every increase in population of 1 million people, there
     counterfactual analysis. First, we used the model to predict the        are an additional .044 public mass shooting events per year.
     number of public mass shootings that would have occurred had            The coefficient on the homicide rate was negative and
     the FAWB not been in place. The difference between this                 statistically significant (-.249, P=.0 1). The coefficient on the
     counterfactual prediction and the modeled number of incidents           time trend for the FAWB period captures the effect of the
     with the FAWB in place provided an estimate of the number of            FAWB; this coefficient was negative and statistically significant
     public mass shootings that the FAWB prevented.                          (-.187, P=.001 ). Using prediction models in combination with
                                                                             regression slopes, we estimate that 11 public mass shootings
      Second, we projected forward the number of public mass
                                                                             were avoided due to the FAWB. The intercept discontinuity for
      shootings that would have occurred had the FAWB been
                                                                             2005-2019 was negative and statistically significant (-2.232,
      permanent (ie, continued from 2004 through to the end of the
                                                                             P=.001), and the trend coefficient was positive and statistically
      sample period). We note that in some sense, this is an "out of
                                                                              significant (.081, P=.001 ).




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    Figure 1. Public mass shooting trend line using five year moving averages (1966-2019).

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     These results are graphed in Figure 2 in which the black stars                           and the green lines represents the predicted number of public
     represent the actual data and the green line represents the                              mass shootings averted by the FAWB. The model predicts that
     predicted numbers of public mass shootings from the regression                           11 public mass shootings were averted over the period of
     discontinuity model. A bending of the trend during the FAWB                              1995-2004.
     period to become downward sloping at the end of the period is                            The blue diamonds represent the projected effects of a
     apparent, as is the return of the upward trajectory upon                                 continuation of the FAWB through 2019 based on the observed
     expiration of the FAWB. The red squares represent the projected                          trend from 1995 to 2004. This projection indicates that 30 public
     numbers of public mass shootings during the FAWB period had                              mass shootings would have been prevented from 2005 to 2019
     there been no FAWB. The difference between the red squares                               had the FAWB been left in place.
     Figure 2. Regression lines from discontinuity analysis of the federal assault weapons ban (1994-2004).




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                      1970

                                    ¥    Actual                                               coPred ctd (Regression lode/j

                                    nu   Counter-Fac tuat No FAWB(predicted efets1995-2CC4)     D     Counter-Fac tua: No FAWB (predicted effects 2005-201)

                                    +    Counter-Fa:tuat iftheFAWB were in place 2005-2018




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                                                                         mass shootings was increasing. During enactment of the FAWB,
     Discussion                                                          there was a downward trend of mass shooting events. After the
                                                                         FAWB was lifted, public mass shootings increased dramatically.
    Principal Findings
                                                                         Firearm homicides in general follow no such patterns.
    In total, 1225 people were killed in a mass shooting over the
    past 53 years with more than half occurring in the last decade, This effect was not found in the work of Koper, Roth, and
    a function of increases in mass shootings and weapon lethality colleagues [53-55]; however, their inclusion of all gun homicides
    [62,63,75]. Public mass shooting fatalities and injuries far masks the ban's effect on mass shootings. Even though Peterson
    outpace population growth [75]. Between 1966 and 2019, the and Densley's [77] work focused on perpetrator histories and
    US population increased by 67% [76], whereas public mass not the FAWB, their findings that ease of gun access is
    shooting deaths increased by over 5-fold. The rise in public characteristic of public mass shooters further supports our study.
    mass shootings throughout the sample period is in fact partially We restricted the inclusion criteria to public mass shootings to
    a function of population growth and homicide rate, along with specifically test the effectiveness of the FAWB on public mass
    the effects of the FAWB and its removal. An increase in the US shooting events.
    population of 1 million people was associated with an increase Regardless of the FAWB, bringing a semiautomatic rifle with
    of .040 (P<.005) public mass shootings per year. During the high magazine capacity to a massacre significantly increases
    post-FAWB period, the increase in population from the number of fatalities and injuries. The increase in deaths is
    approximately 300 million in 2005 to 330 million in 2019 should a function of rapid fire and increased ballistic energy. The
    be associated with an increase of 1.2 public mass shootings per increase in injuries is also a function of rapid fire and
    year, compared to the actual increase of 4 public mass shootings high-capacity magazines, enabling the shooter to shoot more
     per year in the data (5-year moving average). After controlling people in crowded venues quickly before the crowd can disperse
     for population growth and homicide rate, a positive and or hide. When controlling for the FAWB, the use of assault
     statistically significant coefficient (.081, P=.001) on the rifles decreased by half during implementation of the ban and
     2005-2018 trend was seen. This further indicates a separate, tripled after the ban was lifted. This is a particularly important
     nonpopulation trend of increasing violence operating during finding given that the FAWB had loopholes and that overall
     the post-FAWB period. The negative coefficient on the homicide violent crime is decreasing [78]. First, all people with an assault
     rate invalidates the hypothesis that decreases in the numbers of weapon prior to the FAWB were allowed lo retain their
     public mass shootings are simply reflections of an overall semiautomatic weapons [54,64]. Second, without a buyback
     decreasing homicide rate. The negative intercept discontinuity program, semiautomatic weapons remained in the community
     is consistent with an effect of the FAWB that persists somewhat [54,64]. Third, the ban did not target some military assault-like
     beyond the immediate end of the ban. The positive trend weapons [54,64]. Finally, a major loophole found in gun control
     coefficient is consistent with the hypothesis that the FAWB was legislation is that buyers can bypass background checks by
     associated with a decrease in the number of public mass purchasing their weapons and ammunition from gun shows,
     shootings, as the expiration of the FAWB was associated with through illegal purchasing, or legally purchasing their guns and
     a shift from a downward trend to an upward trend in the number ammunition from another gun owner [57,63,79-87]. Even with
     of public mass shootings per year.                               these loopholes and issues, there was still a significant reduction
     The most striking finding from this study is that there was a in public mass shootings during the FAWB. These loopholes
     reduction in the number of public mass shooting events while indicate that most people who purchase assault weapons do not
      the FAWB was in place. Using prediction models in become mass shooters; however, mass shooters require assault
      combination with regression slopes, we estimate that 11 public weapons and LCMs to carry out a mass shooting. Ban
      mass shootings were avoided due to the FAWB. By projecting effectiveness might have improved if all assault weapons were
     what would have happened if the FAWB remained in place, we included in the FAWB.
     found that there would have been significantly fewer public         Some recent studies have specifically analyzed the effects of
     mass shootings if the FAWB had remained in place to 2019.           LCM bans on the incidence of public mass shootings. In a
     Remarkably, although it is intuitive that the removal of assault    review of state legislation, Webster et al [88] found that bans
     weapons and magazine clips will reduce the lethality of a mass      of LCMs were associated with a significant reduction in the
     shooting, we observed an inverse relationship between               incidence of fatal public mass shootings. This study shows that
     weapons/ammunition and mass shooting events, meaning that           the FAWB, which included a ban on LCMs, was associated
     mass shooters may be less likely to perpetrate a mass shooting      with fewer fatalities and injuries during mass shootings in
     without rapid fire military-style weapons. This is an independent   addition to fewer public mass shooting events. Koper et al [27]
     effect, which indirectly leads to fewer injuries and deaths.        previously reported that 19% of public mass shootings resulting
     DiMaggio et al [64] also found evidence of a decrease in public     in 4 or more fatalities included the use of LCMs, while only
     mass shootings during the ban; however, their study period was       10% involved an assault weapon. Klarevas et al [29] found a
     shorter and was restricted to 51 public mass shootings. Unlike      similar pattern in shootings of 6 or more people, in which 67%
     our study, they implicitly modeled public mass shootings as a       of shooters utilized LCMs, whereas only 26% utilized an assault
     random instance of general gun homicides that had a high death      weapon. Because our study only looked at effects of the FAWB,
     count [64]. In contrast, our findings suggest that public mass      which included an LCM ban, we were only able to determine
     shootings are a unique type of premeditated gun violence. We        the combined effects of limiting assault weapons and LCMs.
     found that prior to enactment of the FAWB, the rate of public       To be clear, the reduction in the number of public mass

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     shootings, and resulting fatalities and injuries, may be a function   resulted in better tracking of public mass shootings or increased
     of the ban on assault weapons, assault weapons plus LCMs, or          media coverage. Because our study specifically targeted the
     only LCMs. We cannot separate out their independent effects           federal legislation, we omitted state-level gun policies such as
     at the national level.                                                state-level prohibitions on certain types of guns, LCMs, or more
                                                                           lethal types of bullets. It is likely that the internet serves as a
     Unlike om study, Webster et al [88] did not evaluate the
                                                                           contagion and as a guide to potential mass shooters, allowing
     incidence of assault weapons used in public mass shootings.
                                                                           them to access weapons and multiple stories about other mass
     Rather, they focused on fatalities from public mass shootings
                                                                           shooters [62,67,89,90].
     vs public mass shooting events. Although Webster et al [88]
     utilized the FBI Supplemental Homicide Report as their dataset,       Conclusions
     which is a voluntary reporting measurement system prone to            In summary, public mass shootings are a unique and specific
     errors in reporting, their findings are applicable to our analysis.   type of homicide by a gun. We found evidence that public mass
     Limitations                                                           shootings are qualitatively different from general homicides
                                                                           because after the FAWB expired, mass shooting events increased
     Although we found statistically significant decreases during the
                                                                           while general homicides decreased. The increase in public mass
     FAWB, we cannot isolate aspects of the policy that are attributed
                                                                           shootings was more dramatic in the final 10 years of the study
     to the decline. Most notably, the FAWB also included LCMs
                                                                           period following the end of the FAWB. We suspect that these
     during the ban. It may be that the type of gun and/or the type
                                                                           outcomes may be improved by removing existing semiautomatic
     of magazine resulted in a decline. Indeed, assault weapons and
                                                                           weapons with large bullet capacity by creating a buyback
     LCMs provide the means to carry out a mass shooting; however,
                                                                           program for all rapid-firing weapons. Moreover, the legislation
     there are likely other factors beyond this study that partially
                                                                           would be strengthened if it closed loopholes that allow gun
     explain the radical increase in public mass shootings in the
                                                                           buyers to get around the background check legislation and other
     post-FAWB period. For example, the FAWB was in place from
                                                                           purchase prohibitions by exempting gun shows and internet or
     1994 to 2004, which is the same time period that the US
                                                                           person-to-person purchases, which were exempted from the
     population largely adopted the internet, along with associated
                                                                           FAWB and LCM ban [87].
     social communication software and websites. This may have

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     Conflicts of Interest
     None declared.

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     Abbreviations
                FAWB: Federal Assault Weapons Ban
                FBI: Federal Bureau oflnvestigation
                LCM: large-capacity magazine




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                          EXHIBITK
        to Expert Report of Professor Louis Klarevas
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                                                                                                                                                  Opinion




                               Regulating Assault Weapons and Large-Capacity Magazines
        VIEWPOINT
'
                               for Ammunition

    Philip J. Cook, PhD        Mass public shootings in the US account for a small frac-        The 1994 Federal Assault Weapons Ban extended the
    Duke University,           tion of all firearm-related homicides, but have an out-      regulation of military-style weapons to include some semi-
    Durham.                    sized role in stoking the public's concern with firearm      automatic firearms. These weapons fire 1 round of am-
    North Carolina.
                               violence. The vivid instances of attacks on people in        munition for each pull of the trigger, and are capable of
                               churches, schools, and offices and at other public gath-     firing at a rate of roughly 1 per second. The 1994 Assault
    John J. Donohue, PhD,
    JD                         ering places do vastly disproportionate damage to peace      Weapons Ban ended the legal manufacture and import of
    Stanford University,       of mind by creating a sense of peril in places that should   specified firearms, as well as ammunition-feeding de-
    Stanford, California.      feel safe. These attacks have been increasing in fre-        vices (magazines) that held more than 10 rounds of am-
                               quency and deadliness in recent years. As reducing this      munition. At the time, most prohibited assault weapons
                               particular type of firearm violence becomes more ur-         were equipped with detachable magazines that held 30
a   Viewpoint pages 1177,
                               gent. the case for a variety of prevention measures be-      rounds and could accept magazines that could hold as
                               comes even stronger.                                         many as 50 or 100 rounds, thus making it possible to fire
    1179, 1181, 1183, 1185,
                                   This Viewpoint focuses on a measure that is highly       dozens of rounds without pausing to reload.2
    1187, 1189, 1193, 1195,
    and 1197 and Editorial     specific to the gun violence problem-stringent regula-           The 1994 federal ban on new assault weapons had
    page 1201                  tion of assault weapons and large-capacity magazines         gaping loopholes. First. the federal ban did not restrict pos-
                               (LCMs) for ammunition. Federal law banned the intro-         session or transactions of existing assault weapons and
    I                          duction of new LCMs and military-style semiautomatic         LCMs. Second, manufacturers found ways to slightly
    Supplemental
    content                    firearms between 1994 and 2004, but that regulation          modify the design of some of the banned weapons so that
                               ended in 2OO4and Congress did not renew it. Now, years       they met the letter of the law while preserving the military
                               later, the nation is experiencing the dire effects of op-    appearance and the possibility of accepting LCMs and
                               ening the door to the manufacture and import of these        firing high-powered ammunition quickly. Still. there is evi-
                               weapons; it is time to close that door.                      dence that the ban had some salutary effect on mass
                                                                                            public shootings.
                               History and Current Status of Bans                                The LCM ban, also in effect during 1994 to 2004,
                               The history of federal bans on weapons of mass               was not subject to the redesign problem because it pro-
                               destruction goes back to the 1934 National Firearms          vided a bright line that was difficult for manufacturers
                               Act. Among other provisions, the Act required sub-           to overcome. There were, however, an estimated 25 mil-
                               machine guns and other firearms capable of fully             lion LCMs in circulation when the ban was enacted, and
                                                                                                              those remained in circulation, but with no
                                                                                                              new additions. 2 It was not just assault

                               Current estimates suggest that                                                 weapons (as defined) that were de-
                                                                                                              signed to use LCMs, but a variety of other
                               approximately 20 million assault                                               semiautomatic firearms as well, so the
                               weapons are owned by private                                                   LCM ban had much broader scope.
                                                                                                                  When the law expired in 2004,
                               individuals in the US, with millions                                           manufacturing and importations of LCMs
                               of new assault weapons manufactured                                            and previously banned weapons re-

                               and imported each year.                                                        sumed, and a surge of sales followed.
                                                                                                              Current estimates suggest that approxi-
                               automatic fire (ie, firing several shots with a single       mately 20 million assault weapons are owned by pri-
                               pull of the trigger) to be registered with the federal       vate individuals in the US, with millions of new assault
                               government.1 All transactions involving such weapons         weapons manufactured and imported each year.3 The
                               were taxed at $200, a high confiscatory amount at the        industry initially advertised these weapons as "assault
                               time. The registration and tax requirement remained in       rifles," and continues to promote them with military al-
                               place, although inflation has substantially undercut the     lusions but has now rebranded this type of weapon as
                               force of the transfer fee. The Act was expanded by           the "modern sporting rifle."
                               Congress in 1986 to end the sale of new fully automatic           Seven states have some version of a ban or stringent
    Corresponding
                               weapons. There is every reason to believe that these         restrictions on assault weapons: California, Connecticut,
    Author: Philip J.
    Cook, PhD, Sanford         restrictions have been effective. Even though the            Hawaii. Maryland, Massachusetts, New Jersey, and
    School of Public Policy,   Thompson submachine gun was a notorious gangster             New York, as wel I as the District of Columbia.' These laws
    Duke University,
                               weapon in the 192Os, fully automatic weapons of any          are being challenged in the courts as a violation of the
    PO Box 90545,
    Durham, NC 27708           kind are rarely used in crime in modern times or in mass     Second Amendment. but have survived these chal-
    (pcook@duke.edu).          public shootings.1                                           lenges to date.


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       Opinion Viewpoint




       E v id e n c e o f P o te n tia l E ff e ct iv e n e s s o f a N a tio n a l B a n                  ing in Port Arthur, Tasmania, in which a young man killed 35 people
       A re v ie w co n d u c te d b y th e R A N D C o rp o ra tio n co n cl u d e d th a t th e          with a semiautomatic rifle. Swift action by the federal and state leg-
       h a n d fu l o f p u b lis h e d stu d ie s o n th e e ff e c t o f th e b a n o n m a ss p u b -   islatures produced legislation that banned not only manufacture and
       lic sh o o tin g s w a s "in co n cl u s iv e " d u e in p a rt to fl a w s in th e a n a ly sis    import, but private possession of semiautomatic rifles. To ease the
                                                                        4
       u se d b y th e 3 stu d ie s w ith p o sitiv e fi n d in g s.        But it is unlikely the         transition, a series offirearm buybacks were instituted, and 1 million
       surge in mass public shootings that involved assault weapons and                                    weapons were ultimately relinquished, estimated to be one-third of
       LC Ms that occurred after the ban would have happened if the ban                                    all privately owned guns. Australia had 11 mass shootings during the
       had remained in place. The logic is straightforward. The sales of these                             decade prior to the ban, 9 and 1 since then (a family killing in 2018 that
       weapons, which had declined during the ban, expanded greatly fol-                                   would not count as a mass public shooting by the US definition).
       lowing its repeal, making them more widely available to everyone                                        The Australian experience is illustrative as a proof of concept for
       including would-be mass murderers.                                                                  other countries, including the US. Of note, the ban covered all semi-
             To document recent trends in such mass public shootings re-                                   automatic rifles, not just those with the specific features sugges-
       quires a precise definition. One common definition for mass pub-                                    tive of use in warfare as opposed to hunting. The ban on posses-
       lic shootings has several elements,5•6 including: (1) a minimum of                                  sion of existing guns rather than only on the introduction of new guns
       4 homicides; (2) a public location; and (3) circumstance not attrib-                                greatly accelerated its apparent effectiveness.
       utable to robbery, other felonious activity, or commonplace con-
       flict in families or among acquaintances. A comprehensive compi-                                    Potential Next Steps
       lation of such events is the Violence Project's database of mass                                    On July 29, 2022, the US House of Representatives passed the
       shootings in the US,7 which includes the number of people killed and                                Assault Weapons Ban of 2022. To a large extent this bill reinsti-
       injured in each event and the type of weapon or weapons used.                                       tuted the 1994 ban, including the ban on the sale of new semiauto-
             Information from this database indicates that in the years fol-                               matic firearms deemed to be assault weapons, and of new LCMs
       lowing when the law expired in 2004, the number of mass shoot-                                      holding more than 10 rounds. An important innovation is that for
       ing incidents greatly increased and the number of fatalities in-                                    LC Ms, the bill only allows continued possession and use of existing
       creased even more. During the period from 2015 to 2019, the number                                  devices, but not transfer. However, given the realitythatthe US Sen-
       of incidents reached 33 (or 6.6 per year), which was almost twice                                   ate will not enact this bill. it is useful to consider other approaches.
       the number during the decade the Federal Assault Weapons Ban                                             States could institute or expand assault weapon bans. Indeed,
       was in effect (eFigure and eTable in the Supplement). The number                                    just a ban on LCMs would be a promising first step, impeding ac-
       of fatalities from shootings that involved banned weapons de-                                       cess to these products by individuals who could otherwise use them
       creased during the second half of the ban (2000-2004) and then                                      to fire multiple rounds of ammunition at large numbers of people
       surged during subsequent periods, reaching a total of 271 during                                    before law enforcement can be mobilized to stop the killing.
       2015 to 2019. It was during that 5-year interval from 2015 to 2019
       that 5 of the top-10 deadliest mass public shootings in US history oc-                              Conclusions
       curred, and all were committed with assault weapons. 8 The num-                                     In 2017, the New York Times polled "32 current or retired academics
       ber of fatalities resulting from mass public shootings with other weap-                             in criminology, public health and law, who have published exten-
       ons has remained relatively flat.                                                                   sively in peer-reviewed academic journals on gun policy"" to ask
                                                                                                           them what measures would be most effective in dealing with the
       The Australian Ban on Rapid-Fire Weapons                                                            mass shooting problem in the US, and an assault weapons ban was
       The Australian experience has factored into the debate over reinsti-                                deemed overall by this panel to be the single most effective mea-
       tuting the assault weapons ban in the US. In Australia, the impetus                                 sure. The evidence in support of a ban has grown tragically stron-
       for banning semiautomatic weapons was a 1996 mass public shoot-                                     ger since then."


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                          EXHIBIT L
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        Philip ]. Cook

        Research in Criminal Deterrence:
        Laying the Groundwork for the
        Second Decade



        ABSTRACT

           Deterrence theory has been developed primarly by economists,
           who have vrewed potential criminals as rational decrs1on-makers
           faced with an array of 1llcrt opportunities characterized by
           costs (time, possible adverse legal consequences, and so forth)
           and payoffs. The cnme decis10n is thus characterized In a way
           that fits the well-developed theoretical framework of
           decis10n-making under uncertainty. Herbert Simon and others
           have quest10ned the descriptive accuracy of this theory, and
           are begmning to uncover systematic patterns in dec1s10n-making
           that v10late the predict10ns of the economic theory. this work
           could usefully be mcorporated mto the crime choice framework.
           One of the most important issues for further research in this
           area 1s the way in which potential cnminals acquire information
           about cnminal opportunmes and the effectiveness of the
           cnmrnal justice system. A simple "realistic" model of threat
           communicaton can be outlined that yields deterrence-like
           effects, even though no one is well informed concerning the
           true effectiveness of the system. Three other questions that
           have been of great interest to deterrence theorists are discussed
            (1) what factors influence the rate at which active criminals
           commit crimes, (2) which dmmens1on of the threat of
           pumshment has a greater deterrent effect-hkehhood or seventy,
           and (3) what effect does the threat of punishment for one type
           of cnme have on mvolvement in other criminal activities'
         Philip J Cook 1s Associate Professor of Public Policy Studies and Economics,
        Duke University
        21 I
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             Much of the recent empirical work on deterrence has used
          a fundamentally flawed approach to estimating the responsiveness
          of crime rates to sanction probability and severity. The flaw is
          that the measures of "probability of punishment" used in these
          studies reflect the choices made by criminals as well as the
          intrinsic effectiveness of the criminal justice system. Therefore,
          these measures do not serve as appropriate indices of criminal
          justice system effectiveness. The empirical approach that appears
          most productive is the evaluation of discrete changes in law
          and policy-"natural experiments," that can tell us a good
          deal about the deterrence process.
        The core concern of deterrence research has been to develop a
        scientific understanding of the relationship between the crime
        rate and the threat of punishment generated by the criminal jus-
        tice system. A decade ago, criminologists tended to view deter-
        rence as an archaic theoretical construct associated with Ben-
        tham, Beccaria, and other somewhat naive scholars from the
        distant past. Deterrence research has enjoyed a revival during
        the 1970s, but so far has produced little more than a frame of
        reference, a variety of hypotheses and suppositions, and a scat-
        tering of empirical observations which are more anecdotal than
        systematic.
            This essay serves in part as an introduction to modern research
        in criminal deterrence. My main concerns are to present a clear
        statement of the questions that have motivated social scientists
        working in this area, and a critical discussion of the methods used
        to answer these questions. This literature has already been sum-
         marized and critiqued by a number of scholars ( e.g., Brier and
        Fienberg 1978; Carroll forthcoming; Chaiken 1978; Cook 1977;
        Ehrlich 1979; Gibbs 1975; Nagin 1978, Walker 1979, Zimring
         and Hawkins 1973). The most notable contribution of this sort
         is the recent report of the National Academy of Sciences Panel
         on Deterrence and Incapacitation (Blumstein, Cohen, and Nagin
          1978), which offers a very well-documented assessment of the
         empirical literature. While this essay inevitably covers some of
         the same ground, it is more a complement than a substitute for
         the panel report; for example, I devote considerably more atten-
         tion to discussing the theory of criminal choice, and organize
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        my discussion of the empirical literature in a way that I believe
        offers important new insights into the problems and prospects
        of this work.
            For those who have not already acquired a taste for the the-
        oretical and empirical investigation of criminal deterrence, some
        inittal attempt to motivate the reader may be helpful. When
        criminologists assemble to exchange thoughts on crime control,
        a common observation is that the criminal justice system has
        little impact on crime rates; the big effects, so it is said, come
        from "root causes" such as demographic patterns, the influence
        of family and neighborhood, and the distribution of legitimate
        opportunities Yet consider the likely consequences if we dis-
        banded the police and rewrote the criminal codes to eliminate
        sanctions, there would surely be a crime wave of unprecedented
         proportions. Evidence from polce str1kes and related mncidents
        supports this prediction.' Furthermore, the inevitable response
         to mushrooming crime rates would be the widespread develop-
         ment of private alternatives to the criminal justice system-vig-
         ilante groups and vastly increased efforts at private protection.2
         My assessment is that the criminal justice system, ineffective
         though it may seem in many areas, has an overall crime deterrent
         effect of great magnitude, and would quickly be reinvented in
         some form by the private sector if government got out of the
         business of issuing threats of punishment to would-be criminals.
         If this assessment is correct, it would be fair to say that the
         deterrents generated by the justice system have a large civilizing
         influence which is by no means minor in comparison to the in-
          fluence of "root causes" of crime.
             The everyday debates in the criminal justice policy arena are

           1 Police strikes mn Liverpool (1919) and Montreal (1956) and the mass arrest
         of the Copenhagen police force by the Nazis in 1944 are discussed by Johannes
         Andenaes (1974) The huge increase m cnme rates that followed each of these
         events is persuasive evidence that the threat of pumshment has a substantial
         inhub1tung effect on crime
           2 Current private expenditures on protectton against cnme probably exceed
         total public expenditures on the crmmmnal justuce system. Bartel (1975) gives
         some empincal results on the demand for private protect10n, and both she and
         Clotfelter (1977) discuss the degree of substitutability between public and
         private expenditures.
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        not, of course, concerned with whether to stop punishing crim-
        inals entirely, but rather with questions of degree: how many
        tax dollars should be devoted to apprehending and punishing
        crimmnals, how severe a punishment is appropriate for each crime
        type, and so forth. The evaluation of these issues hinges in part
        on our assessment of the marginal deterrent effects of changes in
        the certainty and severity of punishment, a more problematic
        issue than assessing the overall deterrent effect of current threat
        levels. It is quite possible that mild penalties are almost as effec-
        tive as severe penalties, or that a 50 percent change either way
        in the size of the typical big-city police department would have
         a much less than proportionate effect on crime. If there are sharp-
         ly decreasing returns to scale in criminal justice system activities,
         then there is no contradiction between my assessment that the
         overall deterrent effect of the system is enormous, while the
         effect at the margin tends to be small or perhaps even zero in
         some instances. Estimating the magnitudes of marginal deterrent
         effects stemming from various criminal justice system activities
         is the ultimate task facing scholars in this area.
             What is actually known about these magnitudes? The answer
         is "not much," if we exclude theoretical speculation, laboratory
          experiments, and results derived from badly flawed data and
         statistical methods What is left is a collectuon of anecdotes-
          case studies-that suggest only one generalization: a wide range
          of criminal activity is subject to the influence of legal threats.
          A sample of recent findings supports this generalization. ( 1)
          Large increases in police patrol activity were effective in reduc-
          ing robberies in New York City subways ( Chaiken, Lawless,
          and Stevenson 1974) and outdoor felonies in the Twentieth Pre-
          cinct of New York (Press 1971). (2) The increase in the per-
          ceived probability and severity of punishment for drunk driving
          resulting from the British Road Safety Act was initially very
          effective in reducing this crime and alcohol-related accident rates
           (Ross 1973, 1977). A reduction in the legal minimum drinking
          age from twenty-one to eighteen in Michigan, Wisconsin, and
          Ontario caused a small increase in alcohol-related accidents for
           this age group (Williams et al. 1975). (3) Draft evasion rates
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        during the Vietnam war era were responsive to conviction rates
        (Nagin and Blumstein 1977). (4) The increase in the likelihood
        of arrest for attempted airline hijacking that resulted from the
        airport security measures adopted in 1973 virtually eliminated
        this crime (Landes 1978). (5) The increase in the statutory pun-
        ishment for carrying a gun illegally in Massachusetts ( the Bart-
        ley-Fox Amendment) apparently reduced the use of guns in
        violent crime (Pierce and Bowers 1979).
            These studies suggest that there exist feasible actions on the
        part of the criminal justice system that may be effective in de-
        terring crimes committed by drunks ( driving under the influ-
        ence) and desperate men (hijacking); crimes that are widespread
        and not considered immoral ( carrying a concealed weapon, un-
         derage drinking); crimes that are, for some at least, a matter of
         conscience ( draft evasion); and common crimes of theft and
         violence. These studies do not demonstrate that all types of
         crimes are potentially deterrable, and certainly they provide
         little help in predicting the effects of any specific governmental
         action.
             What about the various hypotheses and suppositions that con-
         stitute the conventional wisdom concerning deterrence? Are
         crime rates more responsive to changes in the probability of
         punishment than to equivalent changes in the severity of punish-
         ment? Are juveniles less deterrable than adults? Are "crimes of
          passion" deterrable at all? These and related questions may be
         answered by "common sense" or theoretical considerations, but
          relevant empirical evidence is weak or nonexistent. The first
          decade of social science research in crimmal deterrence has gen-
          erated many interesting questions but few answers.
             This essay is organized as follows. Section I explains the model
          of individual rational choice, which is the centerpiece of deter-
          rence theory, with an eye to answering the objections of those
          who find the model silly or implausible. I include a discussion
          of three questions of great interest to deterrence theorists. (1)
          What factors determine the rate at which an active criminal com-
          mits crimes? (2) Which dimension of the threat of criminal
          punishment has a greater deterrent effect-probability or severi-
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        ty? (3) What effect does the threat of punishment for one type
        of crime have on involvement in other criminal activities? Sec-
        tion II describes, analyzes, and rejects the "Ehrlich paradigm,"
        the approach to estimating the deterrence effects that has dom-
        inated the literature during the last decade. Section III then sum-
        marizes and assesses the policy evaluation literature, with greater
        focus on technique than on specific findings. The final section
        proposes a partial research agenda for deterrence research in the
         1980s.

                    I. The Crime Decision: Theoretical Perspectives on
                       the Deterrence Process
        The role of theory in the study of criminal deterrence, as in other
        scientific inquiries, is to generate interesting, testable hypotheses
        and provide a framework for interpreting empirical observations.
        A "good" theory explains known facts in a parsimonious way
        and generates accurate predictions. There are two main issues to
        be considered mn a complete theory of criminal deterrence: first,
        the influence of the threat of criminal sanctions on the choices
        made by individuals regarding their participaton in criminal ac-
         tivity; and second, the effectiveness of various criminal justice
         system activities in producing threats. This section 1s limited to
         the first issue; the threat production process is discussed briefly
         n section II.

         A. The Rational Potential Criminal
            An increase in the probability or severity of punishment for
         a particular type of crime, or both, will reduce the rate at which
         that cnme is committed, other thmgs being equal. This assertion
         is not an assumption but, rather, is derived from a theoretical
         argument, developed primarily by economists in recent years.3
         Observed crime rates are vewed as the aggregate result of
         choices made by rational individuals. Potential criminals weigh
         the possible consequences of their actions, both positive and
         negative, and take advantage of a criminal opportunity only if
            See Henneke (1978a) for a recent review Gary Becker (1968) gave the
         first statement of thus theory mn modern times, his work was extended by Ehr-
         hich (1973), Block and Land (1975), Block and Hemeke (1975), and others.
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        it is in their self-interest to do so. Jeremy Bentham expressed
        the point this way: "[T]he profit of the crime is the force which
        urges a man to delinquency: the pain of the punishment is the
        force employed to restrain him from it. If the first of these
        forces is the greater the cnme will be committed: if the second,
        the cnme will not be committed" ( quoted in Zimring and Hawk-
        ins 1973, p. 75).
            A satisfactory characterization of the "rational potential crim-
        mal" must elaborate on Bentham's proposition to take into ac-
         count the subjectivity of "profit" and "pain," as well as individ-
         ual differences in objective circumstances. Individuals respond
         differently to equivalent criminal opportunities, for reasons that
         include the following:
             1. Indivduals differ in their willingness to accept risks. The
         consequences of committing a crime are uncertain. Arrest and
         conviction are always less than certain, and for some common
         crimes the probabilities are small indeed. The consequences of
         conviction are also uncertain, given the wide discretionary power
         of judges in sentencing. Potential criminals will differ in their
         assessment of the probability of "losing" the gamble offered by
         a particular criminal opportunity, and also differ in the degree
         to which they are risk-averse.
             2. Individuals differ with respect to "honesty preference"
         the strength of their preference for behaving in a law-abiding
         manner. H ow much net " pro fi"              • d to persua d e an mn-
                                            t 1s require                   •
          dividual to overcome his ethical concern for staying within the
          law? Furthermore, for crimes that are malum in se, the individ-
          ual's ethcal concern may extend to the criminal act itself.
             3. Individuals differ with respect to their evaluation of the
          "profit" to be gained from a crime. These differences are largest
          for crimes for which the payoff is not money (which most every-
          one values) but rather is "in kind" consider, for example, crimes
          of violence, vandalism, draft evasion, and double parking.
             4. Individuals differ in their objective circumstances: their in-
          come, the value they place on their time, their skills in commit-
          ting crimes successfully and evading capture, and their reputa-
          tion in the community. An arrest for shoplifting, followed by a
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        dismissal of charges, may be of little consequence for an unem-
        ployed teenager but may ruin the life of a college professor. An
        indivdual's circumstances also influence the nature of criminal
        opportunities available to him-few of us are in a position to em-
        bezzle money, fix prices, or commit treason.
            Thus, the "profit" and "pain" associated with equivalent crim-
        inal opportunities will be evaluated differently by different in-
         dividuals. Some may find it very worthwhile, others will be close
        to indifferent, while a third group will view 1t as highly unat-
         tractive. The key point is that a change in either the probability
         or average severity of punishment will cause some people to
         change their mmds about whether the opportunity is, on balance,
         attractive, and thereby change their behavior. A small change
         will affect only those who were previously close to indifference
          (perceived "profit" and "pain" about equal); changing the be-
         havior of others will require a larger change in probability or
         severity.
            Most discussions of the deterrence mechanism distinguish be-
         tween "general" and "special" deterrence. The latter concept
          refers to the deterrent effect of punishment on those who have
          been punished. This notion is a bit vague (Walker 1979). It is
          possible that those who have suffered a criminal sanction once
          will be more likely to be deterred by the threat of punishment
          thereafter, but there is no evidence to support this notion.
             The threat of punishment may play a grander role than simply
          acting as a debit in the potential criminal's cost-benefit analysis
          of a crime opportunity. Cook (1977) discusses its role as a so-
          cializing and moralizing force.
             Punishment in the form of incarceration reduces crime by in-
          capacitating inmates ( Cohen 1978). Correctional treatments may
          also reduce crime by rehabilitating some convicts, although exist-
          ing programs appear to be largely ineffective (Lipton, Martinson,
          and Wilks 1975).

          B. Objections to the Theory
          The economists' theory of criminal deterrence, as characterized
          above, has been useful in developing the implications of a long
          neglected notion in the criminology literature-that criminals can
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        be viewed as rational decision makers intent on furthering their
        personal welfare in an environment that provides crime oppor-
        tunities coupled with sanction threats. However, some critics find
        this assumption of rationality in the decision to commit a crime
        highly implausible and inconsistent with descriptive evidence on
        criminal behavior. Herbert Jacob (1979) succinctly states the
        two major objections with that assumption:
              (a) It implies that people who contemplate committing a
              crIme have a realistic perception of the probabilities of being
              sanctioned and of the severity of the sanction. The little
              evidence we have on perceptions of legal sanctions by the
              general public indicates that these perceptions are incorrect
              and variable .... (b) It implies that people who commit
              crimes act after rational calculation rather than on impulse.
              We have much reason to believe that many crimes are
              committed on impulse, either under the influence of
              alcohol or simply as the result of opportunity and
              need mtersecting. (p. 584)
            Jacob's arguments are persuasive, and lead many criminologists
        to conclude that common appropriative crimes and much vio-
        lence are not very responsive to the threat of punishment. But
        thus conclusion does not follow from his argument. The existence
        of a strong deterrent effect does not require that potential crim-
        inals be fully informed or fully rational in their crime deci-
        sions. A theoretical model which postulates full rationality on
        the part of criminals is clearly "unrealistic" but may nonetheless
        generate valid predictions because it contains essential elements
        of truth. The assumptions of a rational choice/ full information
        model can be relaxed without undermining the prediction that
         an increase in the threat of punishment will reduce crime. I deal
        with Jacob's objections in reverse order, since the second point
         1s more fundamental.
            I. Limits on rational calculation. It may be true, as Jacob sug-
         gests, that many criminals do not consider the consequences of
         their acts, other than those consequences which are obvious, cer-
         tain, and immediate. This impulsiveness is often thought to be
         particularly characteristic of youths and of people who are in-
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        toxicated, in a state of high emotional arousal, deviant, or emo-
        tionally disturbed. These groups constitute a large percentage of
        the perpetrators of some types of crime. Are these crimes de-
        terrable:> Two affirmative arguments are worth mentioning.
            Deterrence theory is concerned with making predictions about
        aggregate behavior. The accuracy of such predictions does not
        require that every individual act predictably. The prediction that
        crime is deterrable follows just as readily from an assumption
        that IO percent of criminals are capable of rational decision-mak-
        ing, as from an assumption that all potential crimmals have this
         ability; assuming, that is, that the remaming 90 percent do not
         respond to a change in the threat level in a systematically per-
         verse fashion.
            The deterrence mechanism does not require that each crime
         opportumty be evaluated separately or fully. Herbert Simon
         (1957) and his followers (Payne 1980) have developed the no-
         tion of "limited rationality" as a descriptively more accurate
         alternative to the "full rationality" notion propounded by eco-
         nomic theorists ( see Carroll 1978 for a discussion of this issue
         in the context of the crime decis1on). Limited rationality models
         of decision-making incorporate observed limitations on people's
         capacity to acquire and process information. In particular, it is
         thought that people tend to economize on thus scarce capacity
         by adopting rules of thumb, or "standing decisions," which elim-
         inate the need completely to analyze every new decision. A per-
         son whose judgment is impaired by emotion or inebriation may
         stll be guided by his personal standing deers1ons, which in turn
         may reflect concern with the threat of pumshment. Most of us
          have long ago adopted standing decisions to refrain from robbery
          and assault, no matter what the circumstances An increase in the
          threat of punishment may have the effect of persuadmg more
          people to adopt such decisions, thus mhubrting them from acting
          "on impulse" when next an attractive crime opportunity arises.
           4 John Conklin's mtervrews (1972) with convicted robbers mn Boston yield
         some anecdotal evidence on impulse control "A few offenders stated that they
         could not trust themselves with loaded firearms, fearmng that mn a confrontation
         wIth a res1stung victum they might 'lose their head' and shoot" (p 111) Conk-
         Im reported that these robbers carried unloaded or partually unloaded guns
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            This defense of the rational choice model is not entirely satis-
        factory. The remaining concern is that those potential criminals
        who are sufficiently thoughtful and aware to respond to changes
        in the threat of punishment will, under some circumstances, vio-
        late the norms of rational decision-making in some systematic
        and predictable fashion If so, then 1t would be possible to gain
        improved predictive power from a theory which took these sys-
        tematic deviations from rationality into account. For example,
        extensive experimentation by psychologists using human subjects
        demonstrates that people tend to make certain predictable errors
        mn decision-makmng tasks involving cho1ces between lotteries." An
        example is the tendency of experimental subjects to ignore low-
        probability events entirely-a tendency which 1s confirmed by
        the failure of most residents of flood plains to buy heavily sub-
        sidized flood insurance pol1c1es (Kunreuther and Slovic 1978).
         In circumstances where people do take low-probability events
        into account ( e.g., shark attack), there is a tendency to place an
         inappropriately large weight on these low-probability outcomes.
         Most of this experimental work has not employed crmmmnal choice
         problems, although the analogy should be clear. An exception
         is Carroll's recent report ( 1978) of experimental findings involv-
         ing crmme choice with convicted criminals as subjects, which may
         prove the entering wedge to further research of this sort. Car-
         roll's perspective is worth quoting "The proposed approach thus
         offers a new model of how the person decides about crime op-
         portunities. He or she is not viewed as the 'economic person'
         making exhaustive and complex calculations leading to an optimal
         choice. Rather, it is the 'psychological person,' who makes a few
         smmple and concrete examinations of his or her opportunities and
            5 To interpretative summaries of thus literature are provided by Kahneman
         and Tversky (forthcommg) and Tversky and Kahneman (1974)
            Some crmmes, such as robbery, are usually committed by two or more per-
         petrators working together. The crmme decision in this case must mvolve some
         sort of group process Soc1al psychologists have studied group decision-making
         m the face of nsky choices, and documented a fascmatmg effect known as
         "rsky shft", the reference 1s to the tendency of a group discuss1on to sh1ft
         the preferences of members of the group toward more nsky choices than
         they would have selected before the discuss1on Thus effect Is observed only
         1f the md1viduals who make up the group are already mclmed to a relatively
         nsky choice before the discussion. See Myers and Lamm (1976) for a review
         of this and other "group polarizatuon" effects
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        makes guesses that can be far short of optimal" (p. 1513). The
        challenge to deterrence theorists is to find predictable ways in
        which the "psychological person" deviates from the "economic
        person."
           2. Threat communication. Jacob's first objection to the ration-
        al choice model of criminal behavior concerns the reliability of
        the threat communication process. Rational choice models pro-
        vde a framework for analyzing the effect of the individual's
        perception of the legal sanction threat on hus participation in
        illegal activities. This relationship is of theoretical interest but
        is not directly policy relevant: what policy-makers need is in-
        formation on the effect of actual (rather than perceived) crim-
        inal justice system activities on crime rates. If perceptions were
        sufficiently accurate, there would be no need to distinguish be-
        tween, say, the actual probability of arrest for a particular crim-
        inal act and this probability as perceived by various potential
        criminals. If the link between actual and perceived is weak, then
        one can question the claim that increased enforcement efforts
        will deter crime. A third possibility is that public perceptions are
         not accurate, but do tend to be systematically related to criminal
         justice system activities. This possibility serves as the basis for a
         response to Jacob's first criticism of rational choice models of
         criminal behavior.
            What are the important channels by which information on the
         certainty and severity of punishment is communicated to poten-
         tial criminals~ Three channels are discussed below: the media,
         visible presence of enforcers, and personal experience and ob-
         servation. Although these channels do not provide potential crim-
         1nals with accurate information, the information they do provide
         is systematically related to the truth. That systematic relation-
         ship is sufficient to generate predicted deterrent effects.
             The media. The threats generated by criminal justice system
         activities are "advertised" in the media, primarily through news
         reporting of legislative actions, newsworthy crimes and criminal
         court cases, introduction of new programs and policies, etc. Oc-
         casionally, officials will launch an effort to publicize a particular
         law enforcement effort, such as a crackdown on speeding. A
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        dramatic example of the possibilities for a media "advertising"
        campaign is the intensive publicity given the British Road Safety
        Act of 1967-most of the British public was aware of the pro-
        visions of this act by the time it was implemented (Ross 1973).°
        But such success is surely rare.
           Verbal messages concerning specific provisions of the law, the
        likelihood of being caught, or both, are communicated through
        a variety of other means: bumper strips remind us of the 5 5 mph
        speed limit; roadside signs inform us that there are penalties for
        littering, that the local traffic enforcement unit employs radar,
        and that a residential area is protected by a neighborhood watch
        organization, official documents announce the legal penalties for
        supplying false information; and residences and stores post warn-
        ing signs "Shoplifters will be prosecuted," "Operation Identif-
        cation," and so on.
            The use of such official verbal communications is like other
        forms of advertising. The effectiveness of such messages might
        well be enhanced by a systematic application of the technology
        of using the media to inform and persuade, but Madison Avenue
        has not yet entered the crime control business.
            Visible presence of enforcers. The proximity of police emits
        a potent signal that the probability of arrest for a crime com-
        mitted in the immediate vicinity is high. A police cruiser elim-
        inates driving infractions in its immediate area-an effect which
        is extended by CB radio communication Private guards in stores,
        airports, and other public locations produce an analogous signal
         for would-be robbers, hijackers, and shoplifters.
            The resources devoted to routmne patrol activity by police
        would presumably be hard to jusufy unless this visible police
         presence had an effect beyond the mmmed1ate vicinity. If the
         police are seen frequently m an area, potential criminals may
         be persuaded that there is a high likelihood of arrest mn that area
         due to presumed low police response time and the chance that

          6 The Brutish Road Safety Act creates a precise scientfic standard by whch
        to judge whether a driver 1s legally "under the Influence" of alcohol (v1z.,
        blood alcohol content in excess of 08 percent) and rt establishes a mandatory
        one-year suspension of dnving privileges for drivers who are convicted of
        violating this standard.
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        they will happen on the scene while the crime is in progress.
        While the relation between police visibility and public percep-
        tions of their effectiveness has not been studied directly, there are
        a number of studies of the deterrence effect of the density of
        police patrol. These studies are reviewed in section IV.
            Personal experience and observation. Active criminals accumu-
        late personal experience during the course of their criminal ca-
        reers; this experience surely has a powerful effect on perceptions
        of criminal justice system effectiveness among the group which is
        of greatest importance in the crime picture. If active criminals find
        that they are rarely arrested, unlikely to be convicted if arrested,
         and unlikely to be sentenced to prison terms if convicted, then
         they may acquire a justified sense of invulnerability. The effect of
         arrest and subsequent proceedings on the criminal's perception of
         the system's effectiveness is the key issue in the study of "special
         deterrence" -the deterrent effect of the punishment threat on an
         individual who has been convicted. An arrest can push the crim-
         inal's overall perception of the risk of punishment for crime up
         or down, depending on whether the consequences of arrest are
         more or less unpleasant than he expected. Probation and parole
         dispositions are interesting in this context when viewed as an
         effort to persuade the convict that he will be closely watched
         and 1s very likely to be imprisoned if rearrested.
             Victims, witnesses, and jurors also acquire personal experience
         with the effectiveness of the system, and this experience may
         influence their perception of whether "crime pays." Further-
         more, an active criminal's friends and associates may be some-
         what aware of his criminal activities and their legal consequences.
         Thus, each arrest, court proceeding, and sentence may have a
          large influence on the perceptions of a relatively few people. On
          the other hand, the public at large is not likely to know about
          or be influenced by any one case, unless it is highly newsworthy.
             This communication mechanism suggests that the deterrence
          process may often operate in a strikingly different fashion than
          is typically assumed in the rational choice models of criminal be-
          havior. These models implicitly assume that each potential crim-
          inal in some fashion monitors the overall probability of appre-
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        hension and punishment for each crime type. By this assumption,
        each arrest and criminal disposition has some marginal (infinites-
        imal) effect on the perceptions of all potential criminals. This
        assumption seems highly unrealistic, given that even criminolo-
        gists working with volumes of statistics have difficulty in measur-
        ing changes in these probabilities accurately (although the first
        two communication channels discussed above may provide po-
        tential criminals with some vague sense of the overall perfor-
        mance of the system). The alternative possibility, suggested here,
        can be stated as follows:
              Each arrest and disposition has a relatively large effect
              on the perceptions of a small number of potential criminals
              (including the arrestee himself), and goes essentially
              unnoticed by all others.
        I have developed a model ( Cook 1979d) which simulates the
        criminal behavior of a population of robbers, incorporating this
        assumption. The main features of this model are:
              (a) At any time, a robber's perception of arrest and
                  punishment is influenced by his own recent experience
                  and that of a few "friends." Perceptions differ widely
                  among robbers, because each observes only a small
                  fraction of the actions taken by the system.
              (b) Even if the true effectiveness of the system remains
                  constant, there is considerable turnover among active
                  robbers: robbers are deterred and "undeterred" according
                  to their own experiences and those of their friends.
              (c) An increase in the true effectiveness of the system results
                  in a corresponding increase in the mean of robbers'
                  perceptions of effectiveness, and an increase in the number
                  of robbers who are deterred. These changes do not
                  occur because the robbers observe that the system has
                  become more effective, but rather because the likelihood
                  that a robber will observe one or more friends
                  apprehended is increased when the overall effectiveness
                  of the system increases.
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        This model is abstract, and can be criticized for its simple, mech-
        anistic assumptions concerning the complex phenomena of per-
        ception, communication, and criminal behavior. It does serve to
        demonstrate, however, that the deterrence process does not re-
        quire that criminals' perceptions of the risk of punishment be
        accurate or that they be derived from observations of the overall
        performance of the criminal justice system. It may also serve the
        useful purpose of provoking further research into the communi-
        cations processes which link official activity to individual per-
        ceptions of the threat of punishment.
            The three communication channels discussed above do not ex-
        haust the possibilities. In some instances, direct word-of-mouth
        communication among criminals with similar interests may be
        important; rumors concerning police and judicial activities cir-
        culate and at times have considerable potency. Another possibil-
        ity is that potential criminals make judgments on the basis of
         direct observation of the extent of criminal activity in the area:
        if "everyone" is doing it, it must pay. A familiar example to many
         of us is the judgment of how much it is "safe" to exceed the
        speed limit, if the traffic is averaging 70 mph, then it seems safe
         to assume that the probability of being ticketed for driving 70
         is very low.
            In general, it is reasonable to assume that the relative impor-
         tance of each of the several channels of information on criminal
         justice system effectiveness differs with the type of crime, the
         degree to which the potential criminal associates with criminally
         active people, and other factors. The link between official activi-
         ties and the public's perception of them constitutes half of the
         deterrence story. Better understanding of this link could be ex-
         ploited to the advantage of crime control efforts. Two examples
         are worth noting:

               The initial publicity given the British Road Safety Act
               apparently succeeded in giving the British public a greatly
               exaggerated impression of the true likelihood of being
               caught. While this impression evidently was corrected
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          after several years of experience, many lives were saved
          in the interim (Ross 1973).
          Intensive police manning of the New York subways during
          high crime hours of the day initially caused a deterrent
          effect not only during these times but also during the rest
          of the day (when police manning levels were not changed).
          It has been suggested that this "phantom effect" could
          have been sustained by random changes in police
          assignments (Chaiken, Lawless, and Stevenson 1974).

           Jacob's observations that potential criminals are poorly in-
        formed, and in some cases act impulsively, are valid but not
        sufficient to negate the predictions of deterrence theory. These
        predictions do not depend on every criminal being fully in-
        formed and rational. Limited rationality on the part of some
        fraction of potential criminals, combined with an information
        transmission mechanism that is systematic if not completely ac-
        curate, is sufficient to generate deterrent effects. Indeed, there is
        a great deal of evidence that criminals, like other people, respond
        to objective changes in their opportunities as if they were ra-
        tional. It would be unfortunate to reject the claims of deterrence
        theory on the a priori grounds of implausibility.
           On the other hand, careful descriptive studies and laboratory
        experiments to investigate the way in which individuals acquire
        information and evaluate opportunities may well yield some in-
        sights into cnminal decision-making, insights that will help re-
        fine the predictions of rational choice models and even suggest
        means of increasing the effectiveness of the system in deterring
        cnme.
           The preceding discussion developed a basic perspective on the
        deterrence process, focusing on information processing and de-
        cision-making by the potential criminal. Three specific issues are
        discussed below from this perspective· the determinants of the
        extent to which an individual participates in criminal activity;
        the relative importance of the probability and severity of punish-
        ment in deterring crime; and the influence of sanction threats
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        for one type of crime on the relative attractiveness of other types
        of crime.

        C. Degree of Involvement in Crime
           Previous sections have discussed the deterrence phenomenon
        as if criminal activity were an all-or-nothing decision. Yet crimi-
        nals differ widely in their degree of involvement in crime. The
        number of, say, robberies committed in a year is the product
        of the number of active robbers and the average number of rob-
        beries committed by each. The deterrence process may influence
        both factors: the rate at which active robbers commit crimes, as
        well as the decision whether to "enter" the robbery "business"
        at all.
            The basic question with respect to intensity of criminal ac-
        tivity is this: what lmits are there on the extent of participation
        in illicit activity of a potential criminal who decides that it is
        worthwhile to commit his first offense? The discussion focuses
        on property crimes and three mechanisms that may act to limit
        the activity level of an active burglar, robber, shoplifter, or other
        economic criminal.
            I suspect that a large proportion of the population is "oppor-
        tunistc" with respect to property crimes Without special ef-
        fort, many people occasionally encounter an extraordinarily good
        opportunity to steal, and take advantage of it. Examples include
        taking towels from a hotel, walking out of a shop without paying
        because the checkout lines are momentar.ily left unattended, and
        so forth. We can imagine each person having a standard rule of
        thumb by which he judges whether such opportunities are
        worthwhile; the more stringent one's standards (in terms of legal
        risks and payoff), the less frequently will one encounter suitable
         opportunities in the normal course of daily activities. An increase
         in the effectiveness of the criminal justice system or in the severi-
         ty of punishment will reduce the number of suitable opportuni-
         ties for those who are opportunists, with a resulting reduction in
         their individual theft rates.
            A more active involvement in theft would be characteristic
         of people we ordmarily would think of as "robbers," "burglars,"
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        "shoplifters," etc. Instead of a series of yes-or-no decisions on
        opportunities supplied by the individual's environment, more
        active thieves would be concerned with searching out and devel-
        oping opportunities, and would make explicit decisions about the
        intensity of their illicit activity. Two limiting factors for such
        people are the opportunity cost of time, and the effects of in-
        creased income on the willingness to take risks.
           The latter effect seems relevant to understanding employee
        theft and embezzlement, income tax evasion, and other economic
        crimes for which time 1s not an important input (see Allingham
        and Sandmo 1972 for a formal model of this sort). Given that
        the magnitude of the offense is positively correlated with the
        risk of detection and punishment ( and also the severity of pun-
        ishment, perhaps) the miscreant can be viewed as choosing a
        risk-payoff combination from a continuum of possibilities. An
        increase in the eff ect1veness of the system for detecting and pun-
        ishmg criminals in these cases will make this type of crime less
        attractive and persuade some to "drop out" completely. For those
        who remain active, it 1s not obvious whether the augmented risk
        of punishment wll cause an increase or decrease in the rate of
        offending. A perverse result of increased effectuveness may occur,
         for example, if the increase in effectiveness 1s concentrated at
         the low end of the theft spectrum, those who do not drop out
         may move up the continuum, given that the difference in risk
         for large and small thefts has been reduced.
           For cnmes which require a substantial time input, such as
         fencing, running numbers, and prostitution, the opportunity cost
         of time may be an important limiting factor in the extent of
         involvement. The legitimate wage rate would then mfluence
         both the entry decision and the decision with respect to degree
         of involvement. (Ehrlich 1973 develops a model of this sort,
         which is criticized by Heinecke 1978a. See also Block and
         Heinecke 197 5.) Once again there is a theoretical possibility that
         an increased probability of apprehension will increase crimmal
         activity levels for those who do not drop out. For example, if
         police start arresting prostitutes more frequently, some may in-
         crease their efforts in order to maintain their standard of living
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        while meeting the additional costs of bail, legal fees, and fines.
        This result is analogous to the theoretical possibility of a "back-
        ward bending labor supply curve"; there is nothing intrinsically
        irrational about people choosing to work harder in response to
        a reduction in the net rate of return to their efforts.
            While these models of participation in illicit economic activi-
        ties permit a theoretical possibility that an increase in the likeli-
        hood of detection will increase the overall crime rate, the actual
        importance of this possibility is doubtful. It seems more plausible
        that if more effective measures are taken against a particular type
        of criminal activity, the dominant effect will be to cause crimi-
        nals to act with greater caution or to switch into other illicit or
         licit activities.

        D. Certainty versus Severity of Punishment
           One of the more intriguing issues in the deterrence literature
        is whether crime rates are more responsive to changes in the
        likelihood or the severity of punishment. The importance of this
        issue is suggested by two relevant policy dilemmas. First, sen-
        tencing authorities must allocate scarce prison capacity among
        felony convicts; one consideration is whether prison sentences
        should be relatively common but short, or relatively uncommon
        but long. Second, prosecutors have to decide whether to use their
        scarce resources to produce a high conviction rate with relatively
        low-quality convictions ( through generous offers in plea bargain-
        ing), or to concentrate their resources on gaining high-quality
        convictions of a relatively few defendants while dismissing the
        remaining cases. The first alternative in each case is compatible
        with the commonly held view that the likelihood of punishment
         has a greater deterrent impact on crime rates than does the se-
         verity of punishment.
           A precise illustrative statement of this hypothesis can be ex-
         pressed as follows
              A 10 percent mcrease in the average severity of punishment
              for a crime will have a smaller deterrent effect than a 10
              percent increase in the likelihood of punishment.
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        For example, if the only form of punishment for convicted rob-
        bers is imprisonment, an increase in average sentence from three
        years to 3.3 years will have less deterrent effect than an increase
        in likelihood of imprisonment from .050 to .055.
            The usual assumptions made in economic analysis of decision-
        makmng under uncertainty support this clamm when the punish-
        ment is in the form of imprisonment, but support the opposite
        conclusion when the punishment is a fine. The argument behind
        these conclusions can be illustrated by the following two "lot-
        ter1es" involving prison sentences. In the first lottery, there is
        a IO percent chance of receiving a one-year prison sentence; the
        second lottery offers a 5 percent chance of a two-year prison
        sentence. These two lotteries have the same expected value (one-
        tenth of a year in prison), but most people would not view them
        as equally threatening; if two years in prison is not viewed as
        being twice as bad as one year, then the second lottery would
        be preferred. If so, then the first lottery would have a greater
         deterrent value. In general, we expect that increases in the prob-
         ability of imprisonment, coupled with proportionate reductions in
         the prison term, will increase the deterrent value of the threat of
         punishment.
            The second example involves punishment in the form of a
         fine. Suppose now that the prison terms in the two lotteries
         specified above are replaced with fines of $1,000 and $2,000 re-
         spectively. Once again the two lotteries have the same expected
         value ($100). If people are risk-averse, a common assumption in
         economic theory, they will prefer the first lottery (a $2,000 loss
         is subjectively more than twice as bad as a $1,000 loss to a risk-
         averse person). However, Tversky and Kahneman (1974) report
         that mn laboratory experiments most subjects are not risk-averse
         with respect to financial losses, and would in fact choose the
         smaller probability of a proportionately larger fine. Once again,
         then, the first lottery should have greater deterrent value, and
         the conventional wisdom (among criminologists, not necessarily
         economists), regarding certainty and severity of punishment is
         reaffirmed. While this sort of theoretical analysis and laboratory
         experimentation seems rather remote from criminal behavior, it
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        is interesting to observe that this type of evidence does support
        the conventional wisdom.
            The claim that certain punishment 1s a more effective deterrent
        than severe punishment 1s often buttressed by an assertion that
        crime rates are unresponsive to variations in severity. If true, the
        sentencing authorities could reduce average sentences a great deal
        without noticeable effect on the crime rate. The most compellmg
         issue, and the one given the greatest scholarly attention, is wheth-
         er capital punishment is a greater deterrent to murder than a
         long prison term. At the other end of the spectrum are questions
         concernmg the potential loss of deterrent effect resulting from
         the increased use of diversion programs, suspended sentences,
         and fines in the place of incarceration.
             It is commonly acknowledged that the threat of a more severe
         penalty will cause defendants to put more effort and resources
         into their defense. Indeed, one of the social costs of capital pun-
         ishment, mandatory sentencing provisions, and related efforts to
          increase the severity of punishment 1s that these cases take up
          an increased portion of court resources through appeals and other
          defense efforts to resist conviction. It seems implausible that the
          severity of pumshment should be highly salient to the criminal
          after arrest but not before.
             While we would expect a rational criminal to respond in some
           degree to increases in the severity of punishment, t is certainly
          plausible that the marginal deterrent effect of increasing prison
          sentences declmes rapidly as the length of the sentence increases,
           due to the tendency of people to discount the future. A simple
           mathemancal model may be helpful m illustrating this point.'
           Suppose that an mdividual assigns one unit of "disutulity" to a

           7 The model postulates that the mdrv1dual's subjective evaluatuon of the
         prison terms Is equal to the sum of the dusutilities discounted to the present.
         If the dsutulity of one year in prison is denoted d, and the discounted present
         value of n years m pr1son 1s denoted D, then




         The value chosen for d does not influence the value of the ratios reported in
         the text, and was set equal to I.
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        year in prison, and has a time discount rate of 15 percent per
        annum. It would then be true, in present value terms, that a two-
        year prison term has about 87 percent greater disutility than a
        one-year term. However, under these assumptions a twenty-year
        term has only 25 percent greater disutility than a ten-year term.
        It is plausible, then, that increasmg the severity of punishment
        when punishment is mild may have a much greater deterrent
        effect ( even proportionately speaking) than increasing severity
        when punishment is already severe.

        E. Substitutes and Complements
           Establishmng a ratonal sentencing policy, and appropriate pri-
        orities in prosecution and police investigation, is complicated by
        the possibility that variations in the threat of punishment for one
        type of crime may affect the incidence of other crime types, via
        two mechanisms. First, given limited police, court, and correc-
        tons resources, increasing the priority given to one type of crime
        necessarily entails a reduction mn the priority given one or more
        other crime types. Second, in deciding whether to commit one
        type of crime, crmmmnals will be influenced by the legal threat
        not only to that crime type but also to related types of crime.
        The latter mechanism must be given consideration in any com-
        plete characterization of the deterrence process. An analogy from
        the economic theory of consumer demand provides insight and
        useful terminology for discussmg this mechamsm. Suppose the
        price of gasolme increases 5 0 percent due to a change in policy
        by the OPEC cartel. The primary effect would be to reduce the
        quantity of gasoline purchased. Secondary effects include an in-
        crease in the demands for public transportation, fuel-efficient
        autos, and central city housing, and a decrease in demand for
        luxury autos and suburban housing. Commodities which become
        more desirable when the price of gasoline increases are known
        as "substitutes" for gasoline; those which become less desirable
         are "complements." While the analogy is by no means perfect,
         I will use these terms to discuss the secondary effects of a change
         in the threat level to a particular type of crime.
            1. Substitutes. Various types of property crime are presumably
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        substitutes for each other. Recidivism data demonstrate that
        there is a great deal of crime switching among active criminals;
        for example, 22 percent of men arrested for burglary in the Dis-
        tr1ct of Columbia in 1973 were subsequently arrested for robbery
        within three years ( compared with 3 3 percent who were rear-
        rested for burglary) (Cook and Nagin 1979). The Rand study
        of self-reported crime by a sample of forty-nine incarcerated
        robbers found that they admitted having collectively committed
         1,492 auto thefts, 2,331 burglaries, 855 robberies, and 1,018 other
        serious thefts during their criminal careers (Petersilia, Green-
        wood, and Lavin 1978). Given this sort of versatility, one would
        expect that an increase in the relative law enforcement effective-
        ness against robbery would result in an increase in other types
        of theft crimes. Variations in other sorts of crime-specific de-
         terrents would be predicted to have the same effect: if shop-
        keepers arm themselves, then thieves may switch from commer-
         cial robbery to commercial burglary; increased use of burglar
         alarms would have the opposite effect.
            A second dimension to the substitution phenomenon is geo-
         graphic displacement. A large increase in the number of police
         assigned to one precinct in a city may result in some increase
         in crimes committed in neighboring precincts. A houseowner
         who posts an Operation Identification sticker increases the burg-
         lary risk to his stickerless neighbor. Intensive police manning of
         the subway system may cause an increase in taxicab and bus
         robberies. Exact fare systems on buses may increase the robbery
         risk to convenience stores. I know of no studies of crime dusplace-
         ment across state lines or between distant metropolitan areas,
         but rt is likely that some buyers of illicit merchandise ( drugs,
         machine guns, stolen goods) travel some distance in order to
         take advantage of more lax enforcement 111 another jurisdiction.
         Organized crime operations would be expected to locate their
          activities so as to minimize legal rsks, to the extent that other
         considerations permit; an example in this context would be the
          decision of where to land illicit drug shipments smuggled in from
          South America or Mexico.
            A very important aspect of the substitution phenomenon fre-
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        quently arises in the design of criminal sentencing policy. It is
        thought that the structure of criminal sentences must include a
        strong marginal deterrent to the use of threat or violence to re-
        duce the likelihood of violent resistance to arrest. If the typical
        sentence for robbery without violence is a long term of imprison-
        ment, robbers may be more mclined to kill their victims and other
        witnesses. Defendants who are faced with the likelihood of con-
        viction and severe punishment will be more tempted than others
        to jump bail and intimidate witnesses, knowing that even if they
        are caught there is little more that the system can do to them;
        this is, of course, the reasonmg behind denying defendants the
        right to bail in capital cases.
            Zmmring and Hawkins (1973) discuss this aspect of sentencing
        policy in terms of the "fortress" and the "stepladder." The "for-
        tress" approach is to erect a high and more or less uniform "bar-
        rier" around the domain of criminal activity. The "stepladder"
        approach adjusts the pumshment to the seriousness of the crime,
        in the hope that if the potential criminal does decide to act, the
        penal code will provide an adequate incentive to limit the seri-
        ousness of his crimes If the preceding discussion of the deterrent
         effect of changes in the length of prison term is correct, the
         bottom "rungs" of the stepladder must be kept low in order to
         allow "room" for effective differences in sentencing between
         robbery, robbery with victim injury, and robbery murder; the
         usual sentence for robbery should not be more than a year or
         two in prison. This type of policy must be evaluated in the
         context of priority-setting by police and prosecutors-if sentences
         are relatively uniform, then a greater burden is placed on officials
         to create a stepladder effect through gradations in the likelihood
         of arrest and conviction.
             2. Complements. Complementarity arguments have been ex-
         tremely important in motivating crimmal justice policy in the
         area of heroin and handguns. A key argument for vigorous law
         enforcement efforts to interdict the flow of heroin and other
         illicit drugs is that an increase in the "effective price"% of such
         drugs resulting from law enforcement efforts will reduce the
             8A term coined by Mark Moore (1973), and discussed in hrs article
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        incidence of property crimes. Similarly, the crimes of illegal ac-
        quisition, possession, and carrying of handguns are thought to be
        complementary to robbery and murder. Both these claims of
        complementarity are highly controversial, of course, and even if
        there is such a relation it must be demonstrated that these round-
        about techniques for reducing property crimes or murder are the
        most effective use of resources against these crimes.
            There are some very interesting sorts of interrelations within
         market-oriented complexes of criminal activity. Typically illegal
         commodities markets will involve suppliers, middlemen, and cus-
         tomers. In prostitution, they are, respectively, the prostitutes,
         pimps, and johns; in heroin, they are the poppy growers and
         heroin processors, the importers and retailers, and the users; in
         burglary they are the burglars, the fences, and the purchasers of
         stolen merchandise. In each case, we would expect that law
         enforcement efforts directed at any one of the three types of
         actors would reduce the amount of criminal activity by the other
         two types of actors. For example, a crackdown on fencing would
         lower the price that fences pay to burglars and make fences
         generally more cautious in dealing with both burglars and cus-
         tomers. The result would be to reduce the rate of return to burg-
         lary, thereby causing a reduction in the number of burglaries
         and ultimately a reduction in the illegal purchase of stolen
         merchandise. 9
             The question for law enforcement officials is what strategy
         will be most effective in disrupting the market which supports
          each of these activities. In the case of burglary, for example,
          prosecutors can bargain with burglary def end ants to gain convic-
          tions of fences, or vice versa. Undercover police can pose as
          fences to identify and collect evidence against burglars, or al-

           Strictly speaking, burglary and fencing are not "complementary" activiues
         In the sense thus term 1s used in economic theory. An increased legal threat to
         fencmg does not directly cause a reduction in burglary, as would be true if
         they were complementary crmmes The reduction in burglary is an indirect
         effect of the crackdown on fencmg, the direct cause being the reduction in the
         pr1ce pa1d by the fence.
           Recent literature on prospects for combatmg fencing mclude Blakey and
         Goldsmith (1976) and Walsh (1976) Klockars (1974) provides a fascinating
         description of fencing activities.
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        ternatively pose as burglars to facilitate arrests against fences.
        Similar strategic choices are available in illicit drugs and prostitu-
        tion. The correct strategy should be dictated by the considera-
        tion of which of the roles in these illicit markets are most vul-
        nerable to available techniques of law enforcement.

                    II. Empirical Study of the Deterrence Process
        The discussion of theoretical issues in deterrence research pre-
        sented above suggests a wide-ranging agenda for empirical work,
        including basic research on decision-making under uncertainty,
        on communications processes, and on the structure of illicit mar-
        kets. The great bulk of the empirical deterrence literature, how-
        ever, has been concerned with deriving estimates of the impact
        of criminal justice system activities on crime rates, and it is this
        body of applied research that I review here and in section III.
            Measuring deterrence effects outside of the laboratory requires
         data on criminal opportunities and criminal behavior for a num-
         ber of units of observation. Almost all studies have used some
         geographic entity as the unit of observation-precincts, cities,
         states, or the entire nation. The empirical study of deterrence
         has thus been concerned with aggregate rather than individual
         behavior. Practical problems of collecting data on individuals
         have prevented field studies of merobehavior.
            There are two basic approaches to the empirical study of the
         deterrence process, which I label "criminal opportunity" and
         "policy impact." This distinction can be explained with the aid
         of a simple diagram
                  actions       A        criminal       B          cnme
                 (policy)              opportunities               rates

            In the diagram, the causal connect1on between crime rates and
            crime control policy (broadly construed to include the criminal
            law, resource levels, priorities, and so forth) is broken down
            into two links. Link A represents the effect of policy on the
            quality of crmmmnal opportunities; this can be viewed as a pro-
            duction process in which criminal justice system inputs "pro-
            duce" threats of punishment. The probability and severity of
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        punishment associated with each criminal opportunity thus con-
        stitute the vector of outputs of the system. Link B represents
        the deterrence effect of threats of punishment on crime rates.
        The criminal opportunity studies attempt to estimate the strength
        of this deterrence relationship for a vanety of crime types. In
        many cases these studies also include a separate estimate of the
        production relationship (link A), so that it is possible by com-
        bining the two relationships to derive an estimate of policy on
        crime. Policy impact studies, on the other hand, estimate the ef-
        fect of policy on crime directly, without considering the inter-
        vening variables characterizmg the quality of criminal oppor-
        tunities.
            It would seem that the criminal opportunity studies are the
        more informative of the two categories, especially if the objective
         is to learn about the deterrence process rather than about pohcy
         impacts. However, these studies, unlike the policy impact studies,
         require the use of an mdex of the quality of criminal opportuni-
         ties, or "threat level." I argue below that the measures of threat
         level actually used in these studies are not valid, and furthermore
         that the data necessary to calculate a valid measure are not usual-
         ly available. In short, thus approach appears to be a dead end,
         in spite of the numerous studies of this sort which have appeared
         in the economics and sociology literature during the last decade.
         Before justifying this rather extreme claim, I first give a more
         complete description of the approach and its intellectual history.
          A review of the policy impact literature is left for section III.

        A. A Decade of "Criminal Opportunity" Studies
           Jack Gibbs published the first article reporting a statistical
        analysis of this sort in 1968. Gibbs simply related (by a con-
        tingency table method) the murder rate with a variable intended
        to measure the probability of punishment-namely, the number
        of convicts sent to prison for murder divided by the number of
        murders-using cross-secton data by state for 1959--61. He also
        related the state murder rates with the average prison terms
        served by incarcerated murder convicts in each state. He inter-
        preted his results as evidence that murder is indeed deterrable.
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        Gibbs's technique was very primitive by reigning standards for
        the statistical analysis of nonexperimental data, since it did not
        attempt to control for other variables which influence murder,
        and took no account of the possibility that the causal relation
        between crime and punishment may go in both directions. The
        first state-of-the-art study was incorporated mn Isaac Ehrlich's
        thesis in 1970, subsequently published m 1973-the same year as
        Sjoquist, and Carr-Hill and Stern, published very similar studies.
        These studies, while much more sophisticated than Gibbs's, used
        measures of the probability and severity of punishment similar
        to his. A paradigm was established by thus work which has been
        employed since by a number of economists and sociologists.
        These studies have employed a variety of data sets, including
        state-level data for recent census years, data on large cities, data
        on precincts of New York and counties in California, and similar
        data sets for Canada and the United Kingdom."" The results of
        these studies have for the most part been favorable to the deter-
        rence doctrine, seemingly documenting a statistically significant
        and often rather large effect of the "probability of punishment"
        as measured on each of the seven FBI index crimes. The results
        for the deterrent effect of punishment severity have generally
        been weaker and less consistently sigmfcant. However, Ehrlich's
         (1975) subsequent and highly sophisticated study of the marginal
        deterrent effect of capital punishment on murder estimated a
        deterrent effect so large that only the most confirmed abolitionist
        could claim it to be irrelevant-one way of summarizmg his re-
        sult is that each execution saves eight lives. This study received
        widespread attention, and was submitted to the Supreme Court
        as part of the solicitor general's bref in Gregg v. Georgia, 428
        U.S. 153 (1976).11
           The great potential importance of this work, and particularly
        the intense controversy engendered by Ehrlich's study of capital
        punishment, culminated in the formation of the National Re-
        search Council's Panel on Research on Deterrent and Incapacita-
        tive Effects. This panel performed a thorough review of all the
          10 Nag1n    (1978) Includes a very useful table which summarizes these stud1es
          11 Bailey   (1978) has a bref history of the use of thus and other such studies.
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        major reports published at that time, including replications of
        Ehrlich's work and a highly technical critique of the problems
        with the econometric paradigm employed in this literature. The
        panel's conclusion was decidedly negative. "The major challenge
        for future research is to estimate the magnitude of the effects of
        different sanctions on various crime types, an issue on which
        none of the evidence available thus far provides very useful
        guidance" (Blumstem, Cohen, and Nagin 1978, p. 7). The panel
        did not choose to reject the basic approach, however, but in-
        stead encouraged scholars to develop better data sets and seek
        methods for eliminating certain biases which they consider dam-
        aging to the validity of the results (pp. 46-50).
           It is easy to criticize any nonexperimental statistical technique
        which employs error-ridden data to assess some aspect of a com-
        plex and poorly understood process. Much more difficult is to
        judge whether the criticisms are sufficiently important and dam-
        agmg to warrant rejection of available findings, or even abandon-
        ment of the entire approach. If there is no practical alternative
         for studying the phenomenon, the relevant question is whether
        the statistical technique in question can generate results which
        are more reliable than intuition alone. In this case I accept the
         panel's conclusion as cited, but would go even farther than they
        in discouraging future use of the Ehrlich paradigm. My con-
         clusion 1s influenced by the numerous problems discussed in the
         panel report and elsewhere,12 but stems primarily from apparent-
         ly insuperable difficulties with measunng the quality of criminal
         opportunities.

         B. Measuring the Quality of Criminal Opportunities
            Since the primary motivation for criminal opportunity studies
         is to estimate the response of crime rates to the probability and
           12 Studies of the deterrent effect that use cross-sect10n or nmes series data
         on jurisdcuons, such as those that fit the Ehrich paradigm, suffer from a
         vmety of statlstical problems, including ( 1) the poor quality of the data on
         crmme, (2) the difficulty of distinguishmng between the effect of punishment
         on crmme rates, and the effect of crmme rates on the likelihood and seventy
         of punishment, (3) the difficulty m controlling for the variety of factors that
         10fluence cnme rates These problems are discussed below in section III, and
         are developed mn detail m Blumstemn, Cohen, and Nagmn (1978), Cool (1977),
         and Brier and Fenberg (1978) among other places
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        seventy of punishment, obtaining valid measures of these vari-
        ables 1s crucial to the whole enterprise. In practice, the measure
        of probability used in this hterature is some type of clearance
        rate, most commonly the arrest rate or the ratio of prison admis-
        sions to cnmes reported to the pohce. While these clearance
        rates may look hke probab1hty measures ( they usually lie be-
        tween zero and one), they cannot be literally interpreted as such.
        After all, the individual crimes reflected in these measures are
        not homogeneous but, rather, differ widely with respect to a
        number of factors. For example, the 1960 ratio of prison adm1s-
        sions for murder to murders committed in New York was .54
         ( see Vandaele 1978a, p. 331), but the probabilities of punishment
        for the hundreds of murders reflected in this ratio ranged from
        near zero (in the case of some skillfully planned gangland execu-
        tions) to near one (for, say, murders of family members). If the
        clearance rate is not a measure of a single probability of pun-
        ishment, then what does it measure? At best, it can be viewed
         as a measure of the average probability of punishment for crimes
         committed.13 Is it appropriate to use the average probability as
         a sort of index of the overall effectiveness of the criminal justice
        system?
             In fact, the clearance rate fails even as an index of overall ef-
         fectiveness, because the clearance rate reflects not only criminal
         justice system activities but also the many factors (including the
         system's effectiveness) which influence the care and judgment
         exercised by criminals. (The argument here was first made 111
         Cook 1979a and elaborated in Cook 1979c.) For example, robbers
         would be expected to adapt to an increase in the potential ef-
         fectiveness of the system in solvmg robbery cases and gaining
         convictions of robbery defendants, 1f, under the new more ef-
         fective regime, robbers tend to be more selective in choosing vie-

          13 The major source of maccuracy mn the clearance rate is in the denommator
        -the number of crimes. Cook (1977, p 189) compares clearance rates for
        burglary usmg two measures of the number of burglaries committed. the
        "burglar1es known to the polce" m the Un1form Crime Reports, and the bur-
        glary rate estimates derived from the crime surveys mn twenty-sx cities spon-
        sored by the Law Enforcement Assistance Administration. The differences tend
        to be large and var1able.
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        tims and more cautious m their modus operandi, the observed
        change in the clearance rate may be misleadingly small.
            Consider the following artificial example. Suppose that Crime
        City makes arrests and convictions in 10 percent of its street
        robber1es and 20 percent of its commercial robberies in 1980.
        In 1981, the Crime City police organize a hidden camera pro-
        gram to combat commercial robberies, which is successful in in-
        creasing the probability of arrest and conviction for such rob-
        beries to 30 percent. This increase in effectiveness has a strong
         deterrent effect on commercial robberies, with some displacement
         effect to street robberies. Suppose the relevant numbers look like
         the data in table 1.
            Usually the available data would not be detailed enough to per-
         mit separate analysis of commercial and street robbery. A statisti-
         cian may therefore conclude that the hidden camera program had
         no effect-after all, the overall clearance rate did not change. The
         problem here is not that the clearance rate is inaccurately mea-
         sured ( although that too is usually a problem in practice)the
         problem is that the clearance rate is not a valid index of the true
         effectiveness of the criminal justice system. In this example, the
         true increase in effectiveness had no effect on the clearance rate.
         If other numbers had been used, the observed clearance rate could
          have gone up-or even down.
            Economists have studied this type of index number problem
          rather extensively (Fisher and Shell 1972). One conceptually
          simple solution is to construct a Laspeyres index. The Consumer
          Price Index is of this sort In my numerical example, a Laspeyres

                      TABLE   1

                                           1980                   1981

                                     # of     Clearance     # of         Clearance
                                   Robbenes     Rate      Robbenes         Rate
         Commercial                  100          20         so              30
         Street                      100          10        135              10

          Total                      200          15        185              15
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        index for the clearance rate would use the 1980 mix of crimes
        as weights in calculating clearance indexes for both 1980 and
         1981. This index would be .15 in 1980 and .20 in 1981, the in-
        crease reflecting the actual increase in the effectiveness of the
        police. But there is little hope for the forseeable future that
        the detailed data necessary to construct such an index will be-
        come available."
            The only promising prospect for crimmal opportunity studies
        that I can see involves "target-specific" analyses of victimization
         rates. We can imagine a study of bank robbery within a jurisdic-
         tion, for example, which characterized the robbery opportunities
         provided by each bank in terms of an assortment of attnbutes
         including presence of a guard, ease of escaping from the scene,
         use of hidden cameras, and average amount of loot available from
         cashiers. The extent to which these variables explain differences
         in victimization rates is a measure of the deterrent effect of these
         dimensions of the quality of bank robbery opportunities. S1milar
         studies could be conducted of robbery and burglary victimization
         rates for other types of commercial targets, of shoplifting where
         the quality and display of the merchandise were the key mea-
         sures, and of location-specific traffic violations as a function of
         the characteristics of the location. Such studies would yield use-
          ful information on the deterrence process.

                   III Lessons from Policy Innovations
        Major changes in criminal law and policy, if properly evaluated,
        can serve as object lessons concerning criminal behavior and the
        performance of the system. In particular, policy innovations
        which are intended to change the threat level can teach us about
        the process of threat production and the responsiveness of crim-
        inals to changes in the threat level. A number of such evaluations
        have been published durmg the last decade. These studies repre-
        sent the beginnings of an empirical basis for deterrence-oriented
        policy formation.
           Policy innovations which have been evaluated in terms of their
           1+ A more complete discuss1on of the "endogenerty" problem m the use of
         the clearance rate Is in Cook (1979a) Manski (1978) discusses some closely
         related technical 1ssues
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        deterrent effects include changes in the substantive law (legaliza-
        tion of abortions, change in the speed limit, reduction of legal
        drinking age), changes in resource allocation ( increased preven-
        tive patrol, career criminals prosecution units), and changes in
        the severity of criminal sentencing provisions. (Zimring 1978
        provides a summary of several of these studies.) Evaluations of
        these innovations have much in common with evaluations of in-
        novations in other areas of social policy, and my review draws
        on this larger context to some extent.

        A. Comparison with the Criminal Opportunity Studies
           The main objective of the criminal opportunity studies, the
        deterrence research fitting the Ehrlich paradigm, is to isolate
        and measure the effect of the threat level on crime rates. Absent
        a vald index of the threat level, thus objective is beyond reach.
        The alternative, incorporated in the policy impact studies, is to
        analyze the deterrence effects of factors which are thought to
        determine the threat level-the criminal code, the quality and
        quantity of committed resources, the organization of these re-
        sources, the quality of civilian cooperation, and so on Whatever
        deterrent effect is generated by changes in these factors can be
        assumed to stem from the induced change in the threat level, but
        the magnitude of this change is unknown.
           An example serves to illustrate this limitation of the policy
        impact evaluations. In 1966, the New York Police Department
        increased the number of patrolmen assigned to the Twentieth
        Precinct by about 40 percent. S. J. Press (1971) conducted a
        thorough and sophisticated evaluatuon of the mmpact of this in-
        crease, and concluded that it reduced "inside" felonies ( those
        which are invisible from the street) by 5 percent and outside
         felonies 36 percen during the year following the change. These
         estimates are certainly interesting and relevant to evaluating the
        worth of the increase in police manpower. However, there is no
         way of measuring the change in the threat levels to inside and
         outside felonies, so it is not poss1ble to derive an estimate of the
         responsiveness of crime to the threat level from this report. (Press
         does report the changes in the arrest rates for inside and outside
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        felonies, but, as explained above, the arrest rate is not a valid
        indicator for the threat level.) Given the large reduction in the
        number of outside felonies, we can conclude that the extra police
        were very productive mn terms of augmenting the threat level,
        that the outside felony rate is highly responsive to changes in the
        threat level, or some combination of the two. This ambiguity
        frustrates the search for evidence on the degree to which crime
        is deterrable in the abstract sense formulated m the Ehrlich
        paradigm.

        B. Three Approaches to Policy Evaluation
           Three basic approaches to policy evaluation are distinguished
        by the type of data being used· (1) cross-section comparisons
        of jurisdictions which differ with respect to some dimension of
        criminal justice policy (e.g., police per capita, use of capital
        punishment for murder), (2) time series analysis of crime in a
        smgle jurisdiction before and after the adoption of some policy
        innovation; and (3) analysis of experimental field trals, Involving
        random assignment of units to different "treatments" to test the
        efficacy of some policy innovation. Not all evaluations fit neatly
        into one of these three categories, but this partition is an adequate
        framework for discussing the relevant methodological issues.
           The cross-section analyses mvolve correlating crmme rates with
        "input" levels across jurisdictions. Several studies have analyzed
        interstate differences in crime rates as a function of the number
        of police per capita and other factors in order to measure the
        marginal deterrent effect of additional policy resources (see, e.g.,
        Greenwood and Wadycki 1973 and Swimmer 1974). Several
        other studies have attempted to measure the impact of particular
        criminal code provisions ( e.g., gun control ordinances, capital
        punishment) by systematic comparison of jurisdictions governed
        by these provisions with those which lack them (see, e.g., Mag-
        gadino n.d. on gun control).
           The most frequently used approach is the "before and after"
        analysis of a policy innovation in a single jurisdiction. A partial
        listing of such studies published since 1970 is given in table 2.
        Some of these innovations were adopted as an experiment, in-
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        eluding the team policing study mn Cincinnati (Schwartz and
        Clarren 1977), the field interrogation study in San Diego (Boyd-
        stun 1975), and the increase in the Twentieth Precinct police
        force in New York (Press 1971). But these "experiments" lack
        most of the features of a complete experimental design, which
        would have to involve many geographic units sorted randomly
        between an experimental group (in which the policy innovation
        is implemented) and a control group.
            A controlled experimental design with random assignment is
        generally viewed as the most reliable source of information about
        the effects of social innovations, and has been used on a large
        scale on subjects as diverse as the Salk vaccine tests and the nega-
         tive income tax experiments. The use of this technique in crim-
        inal justice research has largely been limited to correctional pro-
         gramming studies, focused on rehabilitation effects. A partial
         ( and famous) exception in the deterrence research is the Kansas
         City Preventive Patrol experiment (Kelling and Pate 1974).

        C. Methodological Issues
           The three approaches to policy impact evaluation share certain
        methodological concerns. A discussion of these issues serves as
        a more useful review of thus literature than a summary of results,
        because policy impact evaluation has more promise than past.
        My discussion here focuses on problems of measurement and
        causation.
           1. Measurement of outcomes. The first and often most difficult
        problem in outcomes measurement is obtaining reliable measures
        of target variables. The outcomes measures in the evaluation of
        a deterrence-oriented policy innovation are usually crime rates
        of some sort. A majority of relatively senous common law crimes
        are reported to the police, and these crime reports ordinarily
        are the most readily available data for measuring the impact of
        policy innovation. Problems arise with reliance on reported cnme
        as a measure because reporting rates differ across jurisdictions
        and over time, and because the crime count is subject to manip-
         ulation by officials. For example, Chaiken (1978) discovered
         that the official records on subway crime in New York were
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        counterfeit to some extent, due to a police official's zeal to dem-
        onstrate the effectiveness of intensive police manning in reducing
        subway crime. Even without conscious manipulation of the data,
        large changes in police presence in an area may cause systematic
        biases mn the data, due to the possibility that police visibility may
        influence reporting rates by citizens. For this reason some of the
        more careful studies have supplemented police data with victimi-
        zation surveys (e.g., Schwartz and Clarren's 1977 report on the
        Cincinnati T earn Policing Experiment; see table 2).
            Victimless cnmes pose a still greater measurement problem
        because they only become known to authorities by accident or
        by dmt of police undercover work. A number of the studies
        listed in table 2 have resolved this problem by using available
         data on proxy variables thought to be highly correlated with the
        incidence of the crime in question. The three studies of drunk
         driving crackdowns and the study of changes mn the minimum
         legal drinking age all used readily available data on traffic acci-
         dents and casualties. Beha's study ( 1977) of the Bartley-Fox
         Amendment employed robbery, assault, and murder data; he
         argues that if the crime defined in the amendment ( carrying a gun
         without a license) were reduced by the harsh penalties it stip-
         ulated, the rate of violent crime would also be reduced. Zimring's
         study (1972) of the legalization of abortion in Hawaii employed
         data on the hve birth rate as the basis for inferring the number
         of illegal abortions before legalization.
            These proxies are plausible indirect measures of the victimless
         crimes targeted by these policy innovations. The real virtue of
         these proxies, however, is that they are of direct policy interest
         in themselves. Indeed, preventing serious traffic accidents is the
         ra1son d'etre of drunk driving statutes, and preventing violent
         cnmes was certainly the main purpose of the Bartley-Fox Amend-
         ment.
            A second important issue in the measurement of outcomes is
         specificity. The usual categories in which crimes are counted are
          often too crude to provide sensitive indicators of policy impact.
          Several important examples come to mind. First, a change in stat-
          utory sentencing severity, as in the Rockefeller drug laws or
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        the Bartley-Fox Amendment, usually exempts juveniles. The
        measure of severity used in most studies fitting the Ehrlich
        paradigm, average prison sentence, is applicable only to adults
        and the rare juvenile defendant who is waived to adult court.
        Given that a large percentage of serious crimes is committed by
        juveniles, an outcome measure which does not distinguish be-
         tween juveniles and adults will tend to be an insensitive and
         "noisy" indicator of the effect of the policy.
              Studies of the deterrent effect of capital punishment15 almost
         always use some aggregate criminal homicide measure as the in-
         dicator of impact, even though the capital sanction is ordinarily
         reserved for felony murderers and other relatively small subsets
         of homicide defendants, and would not be expected to deter the
         sorts of homicide which constitute the majority in these statistics.
              The importance of using as specific a crime measure as possible
         is that most policy innovations have a small effect at best,16 and
          this effect can easily be submerged and lost in the normal fluctua-
          tions of an insensitive indicator. Part of the persuasiveness of
          Ross's evaluation (1973) of the British Road Safety Act results
          from his use of highly sensitive indicators. Instead of limiting
          his study to the gross accident rate, he distinguishes between
          fatalities, casualties, and minor accidents ( accidents associated
          with drunk driving are more serous on the average than others),
          further, he distinguishes between accident rates during common
          drinking hours and accident rates on weekdays. Press ( 1971)
          expected (correctly) that the increase in police manning of the
          Twentieth Precinct would have a greater effect on outdoor,
           visible felonies than on indoor felonies, and analyzed these two
           crime types separately. Zimring ( 1972) distmguishes between
           illegitimate and legitimate birth rates in his study of abortion.
           Beha (1977) missed a good bet in failing to distinguish between
           firearms assaults committed at home, and those committed away
           from home. The latter necessitated carrying a gun in violation

            15 Sellin's studies of capital punishment are critiqued in Ehrlich (1975), Cook
          (1977), and Klein, Forst, and Flatov (1978).
            16 Thus generalization is documented and discussed in Gilbert, Lght, and
          Mosteller (1975).
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        of Bartley-Fox, and so the rate of such assaults should be the
        more sensitive to the new law.
            The third important issue in outcomes measurement is inclu-
        siveness. A complete evaluation of a policy innovation requires
        inclusion of all likely outcomes which are of concern to deter-
        rence theorists or policy makers. The most common issue here
        1s displacement-a policy innovation targeted on one geographic
        area or one type of crime will, in addition to a possible deterrent
        effect, displace criminals to other areas or crime types. Press
        studied crime rates in precincts bordering the twentieth; W]-
        liams et al. (1975) studied accident rates for youthful drivers
        in regions bordering states which had lowered their legal mini-
        mum drinking age; Chaiken, Lawless, and Stevenson (1974)
        studied the effects of nighttime intensive police manning on the
        New York subways on daytime subway crime rates and on
         robbery rates for buses and taxis. Obvious substitution possibili-
         ties resultmng from Bartley-Fox include an increase in nongun
         violent crmme, a substitution of more vulnerable targets for com-
         mercial targets in robbery, and a substitution of burglary for
         robbery. In general, predicting the sorts of displacement effects
         that are worth studying requires insight into criminal behavior
         and criminal opportunities.
             2. Measurement of inputs. A change in law or policy, however
         important it looks in theory, may be undermined or transformed
         durmg its implementation. It is important to study the imple-
         mentation of a policy innovation to facilitate interpretation of
         measured outcomes. In some cases a careful analysis of imple-
         mentation has revealed that the criminal justice system has ab-
         sorbed an apparently important innovation with hardly a trace,
         thus explaining the lack of effect on crime.
             The Kansas City Preventive Patrol Experiment (Kelling and
         Pate 1974) is a case in point. In this experiment, fifteen contigu-
          ous beats were divided into three groups; five beats were to re-
          ceive intensive preventive patrol, in five a normal level of preven-
          tive patrol prevailed, and in the remaining five preventive patrol
          was eliminated. While this experimental design suggests that visi-
          ble police presence would differ widely among the three groups
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        of beats, Larson (1975) has argued that this was not so in prac-
        tice. Police made it a point to patrol the perimeter of the "no pa-
        trol" beats, and to respond to calls in a highly visible fashion in
        these beats. A further indication of the lack of effect is that police
        response time to calls did not differ among the three experimental
        groups.
            The Rockefeller drug laws, which increased statutory penalties
        for dealing in heroin and other drugs, had little effect on actual
        sentencing: the percentage of such defendants convicted and
        sentenced as felons was the same ( 11 percent) in 1976 as in 197 3.
        Despite considerable advance advertising to the contrary, the
        British Road Safety Act of 1967 had little effect on the propen-
        sity of police to make arrests or issue citations in drunk driving
         cases. Similarly, the crackdown on drunk driving in Chicago,
         studied by Robertson, Rich, and Ross ( 1973), found there had
         been no significant change in arrest or conviction rates for drunk
         driving.
             Of course, the innovation does not always get lost during
         implementation. Beha (1977) was Impressed by the degree to
         which prosecutors and judges were carrying out the intent of
         the Bartley-Fox Amendment to impose one year minimum prison
         sentences on those guilty of carrying a gun without a license.
         None could argue that airport security measures introduced in
          197 3 were undermined during implementation-indeed, Landes
          (1978) reports that all hijackers since that time in the United
         States have been either killed or imprisoned. The team policing
          experiment in Cincinnati was successfully implemented for the
          first eighteen months, but undermined later by changes in policy.
          In any event, it is not safe to take any new policy at face value,
          and an investigation of its actual effects on the behavior of of-
          ficials is an important feature of a complete evaluation.
             In cross-section studies involving analysis of crime in jurisdic-
          tions which differ according to criminal code provisions or input
          levels, a common failing is to ignore differences in enforcement
          intensity. Maggadino (undated) compares states which differ
          with respect to gun control ordinances without analyzing en-
           forcement procedures for these ordinances. A variety of studies
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        of the deterrent effect of capital punishment have simply com-
        pared murder rates of retentionist and abolitionist states, without
        considering the frequency of executions in retentionist states.
        Wilson and Boland ( 1976) argue persuasively that the number
        of police employed in a city is not a good measure of police
        activity, since police departments differ widely with respect to
        prevention programs and to the percentage of the force which
        is actually on the streets at any one time. Much of the informa-
        tion we would like to obtain from a policy innovation is lost if
        implementation of the policy is ignored. While it may not be
        possible to measure the change in the threat level, it is usually
        possible to obtain some empirical notion of the degree to which
        the new policy influenced activity levels and decision-making.
        Such information aids in interpretation of findings on the crime
        impact of the policy. In particular, if the innovation is found
        to have no significant effect on crime, input measures may help
        distinguish between two very different interpretations: "this type
        of crime is not deterrable" versus "this crime was not deterred
        because the actual performance of the system changed little or
        not at all."
            3. Causation and control. Specifying the causal process which
        generated nonexperimental data requires that assumptions be
        made about how the different parts of the system being studied
         fit together. These assumptions are usually controversial and
        sometimes wrong. Indeed, Gilbert, Light, and Mosteller (1975)
         find in their wide-ranging review of social policy innovation
        studies that nonexperimental studies have reported misleading
         findings on a number of occasions, as demonstrated later by a
         controlled experiment. The two major challenges to the validity
        of a nonexperimental finding are the possibility of reverse causa-
         tion, and the possibility that factors other than the policy in-
         novation caused the observed effect.
            In checking for the possibility of reverse causation, the key
         question is why the innovation was adopted at a particular place
         and time. The innovation may have been motivated by some
         feature of the level or trend in crime in that jurisdiction. For
         example, an unusual increase in traffic fatalities may motivate a
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        crackdown on speeding, which in turn is followed by a natural
        "regression" in fatality rates to the trend line.17 The reduction
        in fatalities follows the crackdown but is not caused by it.18
             Cross-section studies are particularly vulnerable to the reverse
        causation problem. Anyone who has correlated the number of
        police per capita with crime rates across cities understands this
        problem. This correlation is positive for most samples, simply
        because whatever deterrent effect extra police may yield is
        swamped by the reverse process: relatively high crime rates
         "cause" relatively large police forces, presumably due to the ef-
         fect of crime on the public's demand for police protection. (See
         Cook 1977 for a discussion and display of these data.) The same
         effect must be expected in studies of interstate differences in gun
         control ordinances, capital punishment provisions, minimum legal
         drinking age provisions, and so forth-these laws are not adopted
         in a vacuum but, rather, are influenced by the public's concern
         with crime.
              The reverse causation problem is not insurmountable. At least
         in prinerple, statistical techniques are available which permit es-
          timation of a model that specifies equations characterizing both
          the deterrent effect of policy and the influence of crime on pol-
          icy. The technical difficulties with these statistical techniques are
          a major topic of the National Academy of Sciences Panel's report
           (see Fisher and Nagin 1978).
              Other than the problem of causal ordering, the most important
          challenge to the validity of a finding is the difficulty in control-
           ling for factors, other than the policy innovation, which also
           influence crime rates. There are two basic approaches to con-
           trollmg for other criminogenic factors. The first is to develop
           a model which explicitly specifies these other factors and uses
           a multivariate statistical technique which accounts for a number
           17A regress1on effect of thus sort was documented by Campbell and Ross
         (1968)
           18 The beauty of the imposition of the national 55 mule per hour speed lmmit
         1n 1974, from an evaluator's viewpoint, Is that 1t was clearly motivated by a
         consideration (the o1l embargo) whch had nothing to do with traffic safety
         The unusually large reducton in fatales in 1974 can be safely mterpreted as
         a result of the new speed limit.
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        of these variables simultaneously. The second approach involves
        comparison of the crime trends for the group directly influenced
        by the policy innovation, with corresponding trends for similar
        groups not subject to the innovations. In either case, the objective
        is to predict what the crime rate would have been in the absence
        of the innovation, as a basis for comparison with the actual crime
        rate. The difference is, of course, a measure of the policy's im-
        pact on crime.
            The multivariate approach is most often used in cross-section
        comparison studies. Crime rates differ among jurisdictions be-
        cause of differences in criminal opportunities and the demo-
        graphic, cultural, and socioeconomic characteristics of the pop-
        ulations. Only after accounting for these factors is it possible
        to partial out the specific effects of interjurisdiction differences
         in enforcement policy. One of the most important underlying
         differences among geographic units may be a complex of atti-
         tudes which can be labeled "public-spiritedness" or perhaps "re-
         spect for authority." In neighborhoods or cities characterized by
         a high degree of respect for authority, the crime rate will be
         relatively low due to effective citizen cooperation with police
         and prosecutors. ( See Bayley 1976, Cook and Fischer 1976.)
         This attitude is also likely to be reflected in official policy,
         resulting in a systematic relationship between policy and crime
         rates across jurisdictions which adds to the direct effects of dif-
         ferences in policy. The difficulty in controlling for this complex
         of attitudes is in knowing exactly how it should be defined and
         measured. However, short-term policy impact studies in a single
          jurisdiction are immune to this problem if, as seems reasonable,
         attitudes toward authority change slowly.
             Evaluations of individual policy innovations must control for
          criminogenic variables which tend to fluctuate over the period
          under consideration. Crime varies with the time of day, the day
          of the week, the season of the year, and a host of other factors.
          Controlling for these variables can be attempted through a multi-
          variate model, estimated from historical data for the jurisdiction.
          More commonly, evaluation studies have used interrupted time
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        series analysis or comparisons with trends in crime rates for
        groups similar to the group that is directly affected by the in-
        novation. The interrupted time series analysis is most persuasive
        when the implementation of the policy has an immediate "slam
        bang" effect on crime-a change in the crime rate which is much
        larger than would be expected from historical fluctuations in the
         crime rate. Ross ( 1973), for example, reported a 60 percent drop
         in the "drinking hours" auto fatality rate immediately after im-
         plementation of the British Road Safety Act. Landes (1978)
         reports that there was only one domestic airline hijacking during
         the first year of intensive airport security measures, compared
         with twenty-seven the preceding year. The possibility of docu-
         menting a large effect of this sort is enhanced by use of a specific
          and sensitive measure of crime, but slam bang effects are rare.
          Gilbert, Light, and Mosteller (1975) document this point for
          policy interventions generally; crime is no exception.
             The choice of control groups for a nonexperimental innova-
          tion is more an art than a science. The criterion is that crime
          rates in the control groups should be subject to the same influ-
          ences ( except for the innovation itself), and respond to them in
          roughly the same fashion, as the target group. Zimring ( 1972)
          chose Califorma and Oregon as controls in his abortion legaliza-
          ton study in Hawaii; Williams et al. (1975) also used neighbor-
          ing states in their study of the minimum drinkmg age. Proximity
          as a basis for choice of controls is not limited to geography:
          Ross ( 1973) used auto fatality rates during nondrinking hours,
           and Chaiken, Lawless, and Stevenson ( 1974) used subway crime
           rates during daytime hours. In some cases different age groups
           can serve as a basis of comparison-Williams et al., for example,
           could have used the auto fatality rate for drivers aged 21-24 as
           a control for hus study of underage drinking.
              An alternative to proximity as the basis for choice of control
           group is similarity. Press (1971) did not use precincts neighbor-
           ing the twentieth as his controls, but rather chose groups of
           precincts ( different for each crime type) which were similar to
           the twentieth in terms of population and crime rate. Beha (1977)
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        compared violent crime in Boston with other large cities in the
        Northeast in his study of Bartley-Fox."
            4. Generalizations. Valid generalizations from the policy im-
        pact studies are few, and leave us far short of being able to
        answer the many questions posed by the theoretical discussion of
        deterrence in section I. Perhaps the only general statements worth
        making are· (1) a wide variety of crimes are deterrable, and
        there are no types of crime which have been demonstrated to be
        undeterrable; (2) the criminal justice system has considerable
        inertia, with seemingly large policy innovations often resulting
        in small change in the behavior of officials; and (3) given the
        difficulty of evaluating policy impacts, the fine points of deter-
        rence theory will have to be checked out mn the laboratory rather
        than the field. But the gradual accumulation of data from the
         field will certainly enhance our feeling for what works, and
        under what circumstances.
                     IV. Notes on a Research Agenda
         Research relevant to understanding and managing the criminal
         deterrence process includes a wide range of topics and research
         methods. The five topics discussed below strike me as deserving
         greater attention by criminologists and research funding agencies
         than they have received in the recent past.
            1. Comparative studies of risky decision-making. Laboratory
         experiments m decis10n-making under uncertainty can provide
         information on how decisions are influenced by the threat of
         adverse consequences of varying probability and severity. Extrap-
         olating from the artificial laboratory setting to the "real world"
         is difficult, of course, but some questions are hard to investigate
         in a natural setting. One such question is the extent to which
         such factors as age, emotional arousal, and inebriation are related
         to "deterrability." One illustrative issue here is whether people
          tend to be more willing to nsk adverse consequences when drunk
            19 Whatever the reasoning behind the choce of controls, it Is important to
         val1date the choice by correlating the crime rate for the control units with
         that of the target unit, preferably over a substantial period of time prior to
         the innovation Omission of this validity check Is a common failing of this
         literature
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        than sober; a more important issue is whether this willingness to
        risk adverse consequences is less responsive to changes in the
        threat level when the subject is drunk than sober.
           2. Threat communication. The extent to which the threat of
        punishment deters crime depends to some extent on how this
        threat is "marketed." Several lines of research may prove useful
        in this regard:
        -An analysis of research findmgs on commercial advertising,
         dissemination of information on new products, etc., as
         a source of hypotheses concerning threat communication.
        -Interviews with active and potential crimmals to determine
          what sorts of information they regularly acquire on the
          effecttveness of law enforcement activities.
        -Studies of the criminal's response to specific environmental
          cues related to the likelihood of arrest and punishment,
          including visible police patrol, signs posted to warn would-be
          violators ("shoplifters will be prosecuted"), and so forth.
            3. Complements and substitutes. As explained in section EE
         above, the incidence of one type of crime will be influenced
         by the effectiveness of law enforcement efforts against closely
         related types of crime. A crackdown on fencing may reduce the
         burglary rate; a crackdown on carrying concealed weapons may
         reduce the rates of armed assault and robbery; an increase in the
         severity of sentencing for selling heroin may increase the rates
         at which defendants jump bail and attempt to intimidate wit-
         nesses before trial. Research on such interconnections among
         crime types should aid in targetting law enforcement resources.
            4. Private protection activities. Expenditures on private pro-
         tection against crime have been growing faster than public ex-
         penditures, and the total private and public expenditures are now
         of the same order of magnitude. Some types of investments in
         private security-guards, burglar alarms, hidden cameras-in-
         crease the probability of arrest and conviction for crimes against
          targets that are so protected. We would expect private efforts to
          enhance the overall effectiveness of the system, while at the same
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        time increasing the victimization rate of targets that remain un-
        protected. These effects may be quite large, and should be given
        greater attention by social scientists.
            5. Other preventive effects of punishment. Deterrence effects
        have almost been ignored m discussions of the other preventive
        effects of punishment. This sort of compartmentalized thinking
        is dangerous for policy prescription and costly to the scientific
         development of criminology. If the threat level influences the rate
         at which active criminals commit crimes, as well as the number
         of criminals who are active, then the measurement of incapacita-
         tion effects cannot 1gnore the deterrence phenomenon (Cook
         1979d). Similarly, the outcome measures almost always used
         in studies of correctional rehabilitation-some sort of recidivism
         rate-will be influenced via deterrence by the threat environment
         facing the released convict. A related concern is the possibility
         that a correctional program will have a large enough effect on
         the severity of punishment to undermine the deterrent effect of
         punishment-a finding of reduced recidivism is insufficient to
         demonstrate that the rehabilitation program reduced crime.
             Together, these five research topics would substantially ex-
          pand the range of deterrence research, and they by no means
          exhaust the list of interesting possibilities. But to an important
          extent, productive research projects cannot be identified deduc-
          tively-there should be a large element of opportunism in the
          choice of projects. The richest source of the "raw material" for
          deterrence research has always been dramatic changes in criminal
          justice policy in state and local jurisdictions, and that will con-
          tinue to be true. The keys to exploiting this raw material are
          early involvement and special data collection efforts.
             Franklin Zimring (1978) has written an excellent analysis of
          the research implications of recent policy experiments in deter-
          rence. He concludes that a great deal of useful information which
          could have been extracted from recent innovations was lost be-
          cause of poor planning. A full evaluation of an innovation usual-
           ly requires special data collection efforts. Measuring sensitive out-
           come variables and controls, and gathering information on im-
           plementation, require careful planning, an early start, and access
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        to official records-all of which have frequently been lacking
        with respect to major policy innovations. The problems in eval-
        uating policy impacts for deterrence effects have much in com-
        mon with policy evaluations in other areas of social policy. The
        greatest challenges to any such evaluat10n are measuring what
        are often small (but possibly important) effects, and measuring
        long-term effects.
            The first decade of deterrence research has had some false
        starts and some successes. The successes in empirical field research
        have, for the most part, involved careful studies of specific policy
         changes. The major false start has been what I have called the
         "Ehrlich paradigm," though Isaac Ehrlich 1s only one of many
         who have utilized this approach. The appeal of this approach hes
         in the seeming generality of its empirical results. I believe there
         is a moral here: the quest for a single set of universally applicable
         estimates of deterrence effects is hopeless, given the nature of
         available data and the complexity of the underlying process
         which generates crime rates and sanction threats. It may pay
         deterrence researchers of the next decade to be modest. Sound
         generalizations will gradually emerge from the accumulation of
         carefully tested evidence on the deterrence process.



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                          EXHIBITM
        to Expert Report of Professor Louis Klarevas
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        Daniel S. Nagin

        Deterrence in the Twenty-
        First Century


        ABSTRACT
           The evidence m support of the deterrent effect of the certamty of pu111sh-
           ment 1s far more consistent than that for the seventy of pumshment
           However, the evidence 111 support of certamty's effect pertams almost ex-
           clusvely to apprehension probability Consequently, the more prec1se
           statement 1s that certamty of apprehensron, not the seventy of the ensumg
           legal consequence, 1s the more effective deterrent This conclus10n has im-
           portant policy 1mphcat1ons among which are that lengthy prison sentences
           and mandatory m1111mum sentencmg cannot be Justified on deterrence
           There are four maJor research gaps The first concerns the mecha111sm by
           wh1ch police affect perceptions of the probability of apprehension The
           second concerns the mextncable lmk between the deterrent effect of the
           threat of pu111shment and the potentially cnmmogemc effect of the exper1-
           ence of pumshment rhe third concerns the concept of a sanction regune
           defined by the sanctions legally available and how that legal authonty rs
           adm1111stered Theories of deterrence concerve of sanctions 111 the smgular,
           not the plural, and do not provide a conceptual basis for consrdenng the
           drfferental deterrent effects of different components of the sanction re-
           gime The fourth Involves sanction rsk perceptions Establishmng the lmnk
           between rIsk percept1ons and sanctuon regimes 1s 1mperatuve, unless per-
            ceptions adjust, however crudely, to changes 111 the sanction regime, de-
           s1red deterrent effects will not be achieved

        Three endurmng questions have occupied centuries of scholarship on
        crime and purnshment Does pumshment prevent cnme" How does
        pumshment prevent crime" And should pumshment be used to prevent
        crime? Ths essay 1s concerned with the first two of these quest1ons

           Daniel S Nagmn 1s the Teresa and I-I John Hemz III Umvers1ty Professor of Public
         Policy and Statistics at Carnegte Mellon Unrvers1ty
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            The crmmmal justice system dispenses justice by apprehending, pros-
        ecuting, and punishing mndrvduals who break the law These act1V1ties
        may prevent cnme by three dist111ct mechamsms 111capac1tat1on, spe-
        ofic deterrence, and general deterrence Convicted offenders are some-
        t1mes pum1shed with imprisonment Incapacitation concerns cnmes
        averted by their physical isolat10n dur111g the penod of their 111carcer-
        at1on Specific and general deterrence 111volve possible behavioral re-
        sponses General deterrence refers to the cnme prevention effects of
        the threat of pumshment Specific deterrence concerns the aftermath
        of the failure of general deterrence-the effect on reoffendmng, 1f any,
        that results from the experience of actually be111g pumshed
             In thus essay, I consider the theoretical and evdentary bass for gen-
        eral deterrence In another recent Crme and Justice essay (Nagm, Cul-
        len, and Jonson 2009), I surveyed the evidence on the specific deter-
        rence effects of 1mpnsonment Here, I draw heavily from recent and
        pr1or deterrence reviews by me and others
             Ny amm 1s to prode a succmct summary of the current state of
        theoretical and empmcal knowledge about deterrence 111 support of
        several Interrelated objectives The first 1s to provde a selective mntel-
        lectual histmy of deterrence research that identifies important recur-
        nng themes I highlight both what has been learned and persistent
         flaws that should be addressed 111 future research
             The second objectve concerns the frammg of discourse on deter-
         rence, which often takes the same pattern, particularly 111 policy d1s-
         cuss1ons one group argumg that sancton threats always deter and
         another group argumng that sanction threats never deter When deter-
         rence effects are unpacked, 1t 1s clear that sanction threats are not
         umversally efficac10us magmtudes of deterrent effects range from none
         to seemingly very large Thus, another primary objective 1s to move
         discourse about deterrence away from the equally mdefens1ble posi-
         tons that deterrence effects are always or never present to a more
         nuanced and useful mnquury mto the basis for var1at1on 1n the existence
         and size of deterrent effects
              The thard objective 1s polcy related Pr1son populatons have been
         nsmg 111 the Umted States for four decades Only recently have there
          been signs that the 111crease 1s abat111g In 2009 and 2010, state-level
          pnson population declined but federal-level population continued to
          111crease (Bureau of Justice Stat1st1ce 2012) Less well recogmzed is that
          pnson populations have nsen elsewhere 111 the world, for example, 111
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        the Netherlands smnce 1975 and more recently 111 England and Wales,
        Portugal, Spam, and New Zealand An 111carcerat1011-based sanctron
        policy that reduces cnme solely by mncapacrtat1on wll necessarly 1n-
        crease the rate of mmpr1sonment In contrast, 1f the cnme control policy
        also prevents cnme by deterrence, rt may be possible to reduce both
        mmpr1sonment and cnme, successful prevention by any mechamsm,
        whether by deterrence or otherwise, has the virtue of avertmg not only
        cnme but also the pumshment of perpetrators Hence, rt rs important
        to identify policies that mcrease 1mpnsonment but have only negligible
        effects on cnme rates
            My mam conclus1ons are as follows First, there 1s little evidence
        that mcreases 111 the length of already long pnson sentences yield gen-
        eral deterrent effects that are sufficiently large to JUSt1fy their social
        and econmmc co,ts Such seventy-based deterrence measures mclude
         "three stnkes, you're out," life without the poss1b1lity of parole, and
         other laws that mandate lengthy pnson sentences
             Second, on the bass of the earher noted Crime and ustce review
         (Nagm, Cullen, and Jonson 2009), I have concluded that there rs little
         evidence of a specific deterrent effect ansmg from the experience of
         rmpn,(mment compared with the experience of noncustodral sanctrons
         such as probation Instead, the evidence suggests that that reoffendmg
         rs either unaffected or mcreased
             Th1rd, there s substantial evidence that mncreasing the vsrblrty of
         the police by hrmng more officers and allocatmg ex1stmg officers 111
         ways that materially heighten the perceived nsk of apprehensron can
         deter cnmes This evidence rs consistent with the perceptual deterrence
         literature that surveys mdrvduals on sanction nsk perceptrons and re-
         lates these percept10ns to their actual or mtended offendmg behavior
         This literature finds that perceived certamty of pumshment rs associ-
         ated with reduced self-reported or mtended offendmg
             Thus, I conclude, as have many pnor reviews of deterrence research,
          that evidence 111 support of the deterrent effect of vanous measures of
          the certamty of pumshment rs far more convmcmg and consistent than
          for the seventy of pumshment However, the certamty of pumshment
          1s conceptually and mathematically the product of a senes of cond1-
          tonal probab1litres the probability of apprehension grven comm1ss1on
          of a crime, the probability of prosecution given apprehension, the
          probabhty of convct1on grven prosecution, and the probability of
          sanction given convict1on The evidence m support of certamnty's de-
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        terrent effect pertams almost exclusively to apprehens1011 probability
        Consequently, the conclus10n that certamty, not seventy, 1s the more
        effective deterrent 1s more precisely stated as ce1taznty of apprehenszon
        and not the seventy of the legal consequence ensumg from apprehen-
        s1on 1s the more effectve deterrent This more precise statement has
        important policy 1mplicat10ns, the empmcal evidence from the polcmng
        and perceptual deterrence literature 1s silent on the deterrent effec-
        tveness of policies that mandate 111carcerat1011 after apprehens1011
        These mclude policies such as mandatory mm1mum sentencmg laws
        or sentencmg gmdelmes that mandate 111carcerat1011 Thus, this revised
        conclus1011 about the deterrent effect of pumshment certamty should
        not be construed as 1mplymg that policies mandatmg severe legal con-
        sequences have been demonstrated to achieve deterrent effects
            Together these conclus10ns have a range of policy nnphcat10ns, par-
        ticularly as they relate to the Umted States (Durlauf and Nagm 201 lb)
         First, 1t 1s clear that lengthy pnson sentences cannot be JUSt1fied on a
         deterrence-based, cnme prevention basis Thus, the case for cnme pre-
         venton benefits of measures reqmnng lengthy pnson sentences such
         as Cahforma's three-stnkes law must rest on mncapacrtat1on Another
         mmpl1cation 1s that crime prevent1on would be enhanced by shifting
         resources from nnpnsonment to polcmng or, m periods of declining
         cr1mmnal just1ce system budgets, that polcmng should get a larger share
         of a smaller overall budget
             \Vhile accumulation of knowledge about deterrence 111 the past four
         decades has been 1mpress1ve, much rema111s to be learned There are
         four maJor theoretical and related empmcal gaps The first concerns
         the deterrent effect of the certamty of apprehension There are two
          distinct mechanisms by which the poh1ce may deter crime One stems
          from their effectiveness 111 apprehendmg perpetrators of cnmes, by
          definrt1on ths actvty involves occurrences mn whuch deterrence has
          failed Thus, police effectIVeness 111 successfully apprehendmg cnmmal
          perpetrators can have a deterrent effect only on others or on the per-
          petrator's future behavor The second mechamsm mvolves the effect
          of the 111tens1ty of police presence 111 creatmg a percept1011 that appre-
          hens1on risk 1s sufficiently hugh that no crime 1s committed mn the first
          place I speculate that thus second mechanism 1s the primary source of
          police effectiveness 111 deterr111g cnme whereas the first role pnmanly
          prevents cnme by capturing and 111capac1tatmg cnme-prone mchVIdu-
          als The research gap mvolves developmg rigorous empmcal tests of
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        this contention and developmg improved theoretical models of how
        police presence and tactics can reduce the attractiveness of cnmmal
        opportumtes by mcreasmg the perceived nsk of apprehension
            The second gap concerns the d1stmct1on between specific and gen-
        eral deterrence The two are mextncably lmked because the expenence
        of pumshment 1s a consequence of the failure of the threat of pumsh-
        ment to deter cnme, yet no theory of deterrence explertly addresses
        how the expenence of pumshment mfluences the deterrent effect of
        the threat of pumshment Relevant issues mclude how the expenence
        of pumshment affects the proclivity to commit cnme due to potential
        stigma effects, sustamed contacts with cnmmals 111 a pnson settmg, or
        part1C1pat10n 111 rehab1litat1ve programs as well as the effect of the ex-
         penence of pumshment on percept10ns of the certamty and seventy of
         sanctions Analysis of these and other related issues will reqmre lon-
         grtudmal data on mdrvduals who do and do not have the expenence
         of pumshment
             The thrd theoretical gap concerns the concept of a sanction reg1me
         A sanction regime defines the sanct10ns that are legally available for
         the pumshment of various type5 of cnme and how that legal authority
         1s admmmstered Depending on the crime and character1stcs of the
         offenders, such as age or pnor record, available sanctions range 111 se-
         verity from verbal reprimands to fines and chfferent forms of com-
         mumty service to lengthy terms of 1mpnsonment and execution How
         the legal authonty 1s adm1111stered determmes the relative frequency
         with which the available sanction options are used and also the swift-
          ness of their application Thus, both dimensions of the sanction re-
          gmmethe legal authorty for different types of sanctions and how that
          author1ty 1s adm1musteredcombine to determmne the certainty, sever-
          1ty, and celerity of sanctioning options available for pumushment of a
          specific type of crime
             Theories of deterrence, however, specify sancton threats mn the sm-
          gular, not the plural For example, a s12able number of studies exammne
          the question whether capital pumshment deters murder Yet properly
          understood, the relevant quest10n 1s the differential or margmal deter-
          rent effect of execution over the deterrent effect of other available or
          commonly used penalties In this case the alternative penalty would be
           a lengthy pr1son sentencesometmmes hfe without the poss1b1hty of
           parole Yet none of the capital pumshment studies take account of df-
           ferences across states and over tune 111 the seventy of noncaprtal pun-
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        1shments for murder (Nagm and Pepper 2012) Theories of deterrence
        that conceive of sanctions m the smgular do not proVIde a conceptual
        bas1s for cons1dermng the differential deterrent effect of different types
        of sanction options The empr1cal companion to this theoretical ex-
        pansion mvolves assemblmg the data required to measure sanction re-
        gmmes At least m the Unted States, such data are largely unavailable
            The fourth theoretical and empmcal gap mvolves sanction nsk per-
        cept10ns, an issue that I emphasized m an earlier review of the deter-
        rence literature (Nagm 1998) Deterrence 1s the behavoral response
        to the perception of sanct10n threats Establishmg the lmk between
        r1sk percept1ons and sancton regimes 1s 1mperatrve, the conclusion that
         cnme dec1s10ns are affected by sanction nsk percept10ns 1s not suffi-
         cient to conclude that policy can deter cnme Policy cannot directly
         mampulate percept1ons It can affect only the vanety and seventy of
         sanctuons legally available 111 the sanct10n regime and the manner of
         their admmmustraton Unless perceptions adjust, however crudely, to
         changes 111 the sanction regime, the desired deterrent effect will not be
         aclueved
            Smee the publication of Nagm (1998), valuable headway has been
         made mn how the experience of apprehension or not followmg com-
         muss1on of a crmme affects sanction risk percept1ons This research 1s
         valuable for spec1ficat1on of a theory that combmes the concepts of
         general and specific deterrence However, 1t does not address how per-
         ceptons are formed about the two key dunens10ns of a sanction re-
         gime the legal authonty for chfferent types of sanct10ns and how that
         authonty 1s admmistered Numerous surveys have been conducted of
         the general public's knowledge of sanction regimes, especially con-
         cernmg the legal authont:y for chfferent types of sanct10ns (Apel 2013)
         Not surpnsmgly, the surveys find that knowledge of sanction regimes
         1s poor However, the fundamental flaw with these surveys 1s that
          knowledge of the potential legal consequences of lawbreakmng 1s un-
          necessary for most people, their dec1s1ons to refram from cnme are
          based on the mere knowledge that the behavior 1s legally prohibited
          or for other nonlegal considerat10ns such as morality or fear of social
          censure (Packer I 968, Zmmng and Hawkms 1973, Andenaes 1974,
          Wikstrom et al 2012) That sand, for 1drv1duals for whom sanction
          threats might affect thenr behavor, 1t 1s preposterous to assume that
          their perceptions conform to the reaht1es of the legally available sanc-
          t1on optons and their adm1111strat10n _More than a decade after my
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        earlier review, It remams the case that httle 1s known about how m-
        drvduals form perceptions of the sancton regmmes they confront
           This essay 1s orgamzed m the followmg sections Key concepts of
        deterrence are discussed m Sect10n I, where I also set out a simplified
        model of deterrence that 1s referred to throughout the essay Secton
        II provdes a bnef summary of the themes, conclus1011s, and flaws of
        research on the deterrent effects of pnson and the police up to about
        1990 In Section III, I summarize the evidence on the deterrent effects
        of capital pumshment I discuss the capital pumshment literature sep-
        arately because of its d1stmct1ve features and salience I then examme
        111 Sect10n IV post-1990 studies of the cr1me prevent1on effects of 1m-
        pnsonment and mn Secton V post-1990s studies of the police effects
        on cnme Sect1011 VI discusses the survey-based literature on the ac-
        curacy of sancton rsk perceptions, thenr formation, and their relation-
        sh1p to self-reported crmmnahty. Sect1on VII offers conclusions


                     I Key Concepts
        Deterrence 1s a theory of chmce 111 which would-be offenders balance
        the benefits and costs of cnme Benefits may be pecum1ary, as mn the
        case of property crnne, but may also mvolve mtang1ble benefits such
        as defendmg one's honor, expressmg outrage, demonstratrng domi-
        nance, cementmg a reputation, or seekmg a thnll The potential costs
        of cnme are comparably vaned Cnme can entail personal nsk 1f the
        vctm resists It may also mvoke pangs of conscience or shame (Bra1th-
        waite 1989) I am mamly concerned with offender responses to the
        costs that attend the 1mpos1ton of offiaal sanctions such as arrest,
        nnpnsonment, execut1011, fines, and other restnct1ons on freedom and
        liberty such as mandated drug testmg or electromc momtonng
            The ongms of most modern theories of deterrence can be traced to
        the work of the Enlightenment-era legal philosophers (Beccaria 1764,
        Bentham 1789) The motrvaton for therr work was therr mutual ab-
        horrence of the adm1111strat1on of pumshment without constructive
        purpose For them the constructive purpose was preventing cnme As
         Beccaria observed, "1t 1s better to prevent cr1mes than pun1sh them"
         ([1764] 1986, p 93) Beccaria and Bentham argued that there are three
         key mgrechents to the deterrence process the seventy, certamty, and
         celerity of pumshment These concepts, particularly the certamty and
         seventy of pumshment, form the foundation of nearly all contemporary
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        theones of deterrence The endurmg impact of their thmnkmng 1s re-
        markable testimony to their mnnovat1on
            The theory of deterrence 1s predicated on the idea that 1f state-
        Imposed sanction costs are sufficently severe, crmmmnal activity will be
        discouraged, at least for some Thus, one of the key concepts of de-
        terrence is the seventy of punishment Severity alone, however, cannot
        deter There must also be some poss1b1hty that the sanction will be
        mncurred 1f the crmme 1s committed Indeed the argument that the prob-
        ability of pumshment, not seventy, 1s the more potent component of
         the deterrence process goes back to Beccaria, who observed that "one
         of the greatest curbs on cnme 1s not the cruelty of pumshments, but
         their mfallib1hty        The certamty of pumshment even 1f moderate
         will always make a stronger 1press1on" ([1764] 1986, p 58)
             In the lifetimes of Beccaria and Bentham there was no cnmmal JUS-
         tce system as we know 1t Pumshment for lawbreakmg was almost
         certamnly less regular and more haphazard than 1t 1s today Pumshment
         m contemporary soCJety, however, also still remams far from guaran-
         teed In order for a formal sanct1011-whether moderate or severe-to
         be imposed, the offender must first be apprehended, usually by the
         police 1 He must next be charged and successfully prosecuted and, f-
          nally, sentenced by the Judge Successful passage through all of these
          stages 1s far from certam The most important set of actors affectmg
          certamty 1s the police without detect1on and apprehension, there 1s no
          poss1b1hty of convct1on or punishment For thus reason specal atten-
          t10n 1s given to chscussmg what 1s known about the deterrent effect of
          police act1v1t1es and presence
             The third conceptual component of the theory of deterrence ad-
          vaned by Bentham and Beccara 1s the swiftness of punishment, which
          Bentham referred to as celenty Celerity 1s the least studied of the
          conceptual trmka underlymg deterrence theory The theoretical basis
          for 1ts effect on deterrence 1s ambiguous, as 1s the emp1r1cal evidence
          on 1ts effectiveness Even Beccana seemed to base his case for celent:y
           more on normative cons1deratons of just punishment than on deter-
           rence effectiveness He observed that "the more promptly and the
           more closely pumshment follows upon the commiss10n of a cnme, the
           more just and useful will it be I say more just, because the cnmmal is

           ' Crime may also be sanctuoned entirely outs1de of the crmmmnal justice system
         through retaliation by the v1ct1m or by others on !11S or her behalf (Jacobs and vVnght
         2006)
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        thereby spared the useless and cruel torments of uncertamty, which
        Increase wnth the vgor of 1magmnaton and wth the sense of personal
        weakness" (Beccaria [1764] 1986, p 36)
            In 1968 economist Gary Becker published the first modern formal-
        1zat10n of the Beccaria-Bentham concept10n of the deterrence process
        (Becker 1968) Smee then, other formalizations have appeared mn eco-
        nmmcs, cnmmology, law, and soc10logy-some m the form of math-
        ematical models and others mn the form of nonmathematical conceptual
        theories (Cormsh and Clarke 1986)
            For the purposes of thus essay stall another formal1zat1on 1s provided
        I have two purposes One 1s to provide a conceptual structure for fram-
        mg results that are well established m the literature The second 1s
         more ambitious I earlier mnd1cated that the seemmgly greater deterrent
         effect of certamty rather than seventy of pumshment reflected a re-
         sponse to the certamty of apprehension In this regard, I d1stmgmshed
         two d1stmct functions of the police apprehendmg the perpetrators of
         crime and servmg m a sentmel function that deters cnme from hap-
         penmg 111 the first place The second purpose 1s to formalize this chs-
         tmnct1on In so domng I mnk situational crmme prevent1on theory with
         deterrence theory
             Bentham's conception of cnmmal ch01ce mvolved the would-be of-
         fender balancmg the potential pams of pumshment agamst the plea-
         sures of the offense In this spmt the model formalizes the dec1s1on of
         a would-be offender to v1ctnmze a potentrnl cnmmal opportumty,
         whether that opportunity 1s a person mn the form of a potential robbery
         vctum or property that mght be stolen or vandal1zed
             The choice model 1s depicted mn figure 1 It chstmgmshes four pos-
         s1ble outcomes 1f the target 1s victim1zed the crmnal act 1s successfully
         completed, the act 1s not successfully completed and the perpetrator is
          not apprehended, the act 1s not successfully completed and the per-
          petrator 1s apprehended but not convicted, and the act is not success-
          fully completed and the perpetrator 1s both apprehended and con-
          vcted The probability of each of these outcomes 1s determmed by the
          following probab1ht1es
             Percerved Probablty of Successful Completon of the Act Tlm proba-
          bility, which is denoted by P, measures the would-be offender's per-
          ception of the chances the target can be successfully v1ctim1zed This
          perception Will be affected by how effectively the opportumty 1s pro-
          tected For property targets, the level of protection 1s determmed by
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        Successful       Reward - Commission Cost
        Completion
          P,                               Commission Cost
                     Not Apprehended
                         1-P,

                                     Not Convicted        Comm1ss1on Cost + Apprehension Cost
        Non Complet10
                                        1-PA
          1-P,


                         ,
                       Apprehended



                                       Convicted   "---~ Commission Cost+ Apprehension Cost+
                                         Pela           ~Informal+ Formal Sanction Costs



                                FIG I The decrs1on to vuctumrze a target




        technological safeguards such as alarm and surveillance systems and
        use of physical protection such as locked showcases For human targets,
        the protection level 1s affected by the care with which valuable property
        1s secured, for example, by keepmg 1t out of sight Protect10n may also
        be provided by what Cohen and Felson (1979) call capable guard1ans
        such as secunty guards, vigilant employees, or onlookers who are WIil-
        mg to mtervene Importantly, the police may also serve as a guardian
        I refer to police as actmg as sentinels when actmg 111 this role An
        1dlmg police car outside a liquor store greatly reduces the chance,
        probably to zero, that the store can be successfully robbed Tl11S bnngs
        me to the rsk of apprehens1on
           Perceived Probability ofApprehenston Gzven Nonconzpletton Police per-
        form another cnme control function that 1s d1stmct from their role as
        official guarchans They apprehend those offenders who chose to act
        on a cnmmal opportumty \Nhen acting 111 this role, police are de-
        scnbed as "apprehension agents "The sentrnel and apprehens10n roles
        of the police are conceptually lmked but distinct They are conceptu-
        ally lmked because both roles are based on the legal authonty of the
        police to arrest persons suspected of commuttmng a cnme Because a
         contnbutmg factor to Pas the risk of apprehension, arrest author1ty 1s
         one source of police mfluence on P mn their sentmel role However,
         the sentmel role of pohce 1s dstunct from therr apprehension role be-
         cause the latter comes mto play only when deterrence has failed and a
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        would-be offender becomes an actual offender Thus, at one moment
        polrce can be funct1onmg as a sentmel and 111 the next moment they
        can be actmg as an apprehens10n agent The would-be offender's per-
        cept1on of the probabihty of apprehension given comm1ss1on of the
        crime 1s denoted by P,
           In this model I assume that the nsk of apprehens10n 1s hm1ted to
        acts that are not successfully completed I make this assumption for
        several reasons First, 1t 1s useful for clanfymg the dstmncton between
        police actmg as sentmels and police actmg as apprehension agents
        Second, 1t conforms to the seem111g reality that most offenders are
        apprehended at the scene of the cnme or soon thereafter I say seemmg
        because I have been able to identify only two studies (Greenwood,
        Chaiken, and Peters1lia 1977, Blake and Coupe 2001) that report rel-
        evant data Data reported 111 both support this assumption
           Percerved Probablty of Convcton Grven Apprehenson The offender's
        perception of the probability that apprehension will actually result 111
        conviction 1s denoted by P,,
           Under thus setup, the probabnhty of successful completion 1s P, the
        probability of nonsuccessful completion but wth apprehension avo1d-
        ance 1s (1- P)(1- B,), the probability of nonsuccessful completion fol-
        lowed by apprehension but not conviction 1s (1- P)(P)1- P,), and
        the probablrty of nonsuccessful completion followed by apprehens1on
        and conviction 1s (1- P)P,)P,,)
           The benefits and costs of each of these outcomes are assumed to be
        determmed by the followmg factors

        • Rewards Rewards measures the total benefits of vctumzmng a target
          For a cnme with a property motive, the value of the property to
          the perpetrator likely accounts for all or a maior share of the total
          reward However, the thnll of offend111g or-m the case of volent
          cnmes without a property motive-the sat1sfact10n of humiliating,
          physically hurting, or kallng the vctum may also be relevant to the
          reward value of a target
        • C me commsson cost Cr1me comm1ss1on cost measures the total
          cost of comm1tt111g the cnme separate from the sanct10n cost de-
          fined below Comm1ss1on cost includes time searching for the op-
          portumt:y, plann111g time, 1f any, and the effort reqmrecl to commit
          the cnme itself Importantly, 1t also 111cludes the potential costs to
          the perpetrator of v1ct1m retahat10n or resistance Fmally, comrn1s-
          s1on cost 111cludes Raskolmkov-hke feelmgs of gmlt or shame that
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          may affect the perpetrator, whether or not he 1s apprehended and
          sanctioned
        • Perceived fornzal sanction cost Perceived sanctJon cost measures the
          would-be perpetrator's assessment of the formal sanct1011 cost that
          might be mmposed 1f convcted These costs mclucle the loss of free-
          dom 1f mmprsoned and the unpleasantness of other restnctlons on
          freedom clue to concl1t1011s of parole or probat10ns and fines
        • Perceived mfonnal sanctzon cost The 1mpos1ton of formal sanctions
          may also tngger mformal sanct1011s by family, fnends, and the com-
          mumty at large, which for some offenders may be even more costly
          than the formal sanctJons Informal sanction cost may also mvolve
          large economic costs clue to Job loss
        • Perceived cost of apprehenswn Apprehens1011 imposes costs that are
          cl1stmct from formal and mformal sanct1011 costs These mclucle the
          unpleasantness of the apprehension 1tself, possible loss of liberty due
          to pretJ·ial detent10n, and legal fees Perceived cost of apprehension
          also mncludes the soc1al and economic costs triggered by arrest, even
          without convucton, such as disapproval of family, fnends, and the
          commurnty at large, as well as job loss

           At the encl of each branch, figure I shmvs the costs that attend the
        vanous forms of an unsuccessful attempt or the benefit of a successful
        attempt If the 111cbv1clual chooses to act on a cnmmal opportumty, the
        benefits and costs of the four possible outcomes and thelf attendant
        probablites are as follows

                  The offender successfully completes the cnmmal act Thus oc-
                  curs with probability P}, and the net benefit to the offender 1s
                  reward less comm1ss10n cost Thus, the expected benefit of vc-
                  t1m1zat1on 1s P(Reward- Comm1ss1on Cost), which 1s denoted
                  as PR CC)
           2      The offender 1s not successful and 1s not apprehended Tim
                  occurs with probability (1- P)1- P) The cost to the offender
                  1s that much, or all, of the comm1ss1on cost 1s mcurred but with
                  no reward For s11nphc1ty 1t 1s assumed that all of the comm1s-
                  s10n cost 1s mcurred Thus, the contnbut1on of this outcome to
                  expected cost 1s (1 - P)1- P,)(Commission Cost), which 1s de-
                  noted as (I- P)I P)CC
              3   The offender 1s not successful and 1s apprehended but 1s not
                  convicted and formally sanctioned Thus occurs wth probability
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               (d- P)PX - P) In this case the cost to the offender is com-
               mission cost plus apprehension cost Thus the contribution of
               this outcome to expected cost is (d- P)P)I- P,)(Comm1s-
               s1on Cost + Apprehension Cost), which is denoted as (1-
               P,)(P.)(1 - F: a)(CC + AC) Because, as already noted, most ap-
                             1


               prehens1011s occur at the scene of the cnme or shortly thereafter,
               it is assumed that the perpetrator does not have the opportumty
               to enjoy the rewards provided by the act
          4    The offender is not successful but 1s apprehended, convcted,
               and formally sanctioned This occurs with probability (1-
               P)(PP,,) In thus case the cost to the offender 1s comm1ss1on
               cost plus apprehens10n cost plus formal and mformal sanction
               cost Thus, the contr1buton of this outcome to expected cost,
               agam assummng that the rewards are not enjoyed, 1s (1-
               P,)(J;,)[F:1aCComm1ss10n Cost + Apprehension Cost + Formal
               Sanction + Informal Sanct10n Cost)], which is denoted as (1-
               PP)B,)CC + AC + FS + ISC)'
           An arrow at the top of figure I highlights that the possible events
        depicted occur over tnne Success or failure at complet1on 1s typically
        immediate, whereas the clown tree events occur later, often months
        after the cnmmal event 111 the case of convcton and sentencmg I
        return to thus observation mn the discuss1on of the celenty of pumsh-
        ment
           It is assumed that the cnme will be committed 1f the expected ben-
        efits from a successful completion exceed the expected cost of an un-
        successful attempt, namely, if
         PR- CC) >d- P)I- P)CC + I - P)PX R,)CC + AC)                                  (y

                        +(d- PP)EL)CC + AC + FS + ISC)
        An eqmvalent form of this relationship moves P on the left-hand side
        to the nght-hancl side, m which case the cnme will be committed if

                R   -c>(",)a      s
                                              cc +@ea- NCC + Ac»
                                                                                      (2)
                             + PE,)CC + AC + FS + ISC)]
           The left-hand side of equat10n (2) measures the net benefits of com-

           2 This model assumes that success precludes the poss161hty of subsequent appre-

         hens1on and the attendant rusk of formal sanction
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        m1ttmg the cnme and the rght-hand s1de measures the costs Several
        observations about this relat10nsh1p are relevant to the remamder of
        the d1scuss1on
           First, unless the net benefit of crime comm1ss1on 1s positive (1 e,
        R-C > 0),3 the offense will not be committed regardless of the formal
        and mnformal sanction costs specified on the rght-hand s1de of equation
        (2) Particularly 1f comm1ss1on cost 1s understood to mclude the shame
        of comm1tt111g an act that 111volves takmg another person's property or
        do111g v10lence to that person, for most people sanction costs are 1r-
        relevant to the dec1s1on to refra111 from cnme For example, Bachman,
        Paternoster, and Ward (1992) found 111 a study of sexual assault that
        sanction nsk perceptions were relevant to self-reported 111tent1ons to
        offend only for the least morally committed The absence of an effect
        for those with higher levels of moral commitment, however, should
         not be construed as their bemng Impervious to mncentves but to theIr
         moral commitment bemg a sufficient basis for reframmg from sexual
         assault 4 Tim elementary but fundamental pomnt has been made re-
         peatedly 111 the chscuss1on about to the degree to which sanct10n threats
         affect behavior among different mnd1duals See, for example, Zmrmg
         and Hawkms (1973) and more recently P1quero et al (2011) and \Nik-
         strom et al (2012) I return to thus pomnt mn the discuss1on of sanct1on
         nsk perceptions and thenr influence on behavior 111 Sect10n VI
            Second, the bottom three branches of the tree pertamn to the con-
         sequences of failure to complete the cnme Comm1ss1on cost contnb-
         utes to the total cost of all three of these branches, apprehens10n cost
         contributes to two of the three branches apprehension wth and wth-
         out conviction-and 111formal and formal sanction costs contnbute
         only to the final branch, apprehension with convcton Thus 1mpl1es
         that mcreases 111 perceived comm1ss10n cost will have a greater deter-
         rent effect than equal mcreases 111 either perceived apprehension cost
         or perceived formal and mformal sanct10n costs In turn the structure
         of the tree implies that 111creases 111 apprehens10n cost will have a
          greater deterrent effect than equal mcreases 111 either formal or mnfor-
          mal sanction cost Ths observation helps to explamn the longstandmg
          conclus1on from the perceptual deterrence literature that shame, a key
          component of comm1ss10n cost and apprehension cost, plays a more

             Rewards and comm1ss1on cost may also be affected by nsk preferences
              3

           ' Knowledge of potent1al punishment may also rem force a normative sense of wrong-
         fulness
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        decisive role 111 the deterrence process than sanction cost This issue
        1s discussed further 111 Sect10n III It also explams the seeming effec-
        tiveness of s1tuat10nal cnme prevention tactics, a topic I allude to 111
        Section V.
            Third, the structure of the tree also nnpbes that decreases 111 P, will
        have larger deterrent effects than equal-sized mcreases 111 ether P, or
        P,,, and that mcreases m P wall have a bigger deterrent 1mpact than an
         equal 1crease m P,, Thus observation 1s consistent with the longstand-
         mng behef datmg back to Beccana that the certamty of pumshment 1s
         a more effective deterrent than the seventy of pumshment However,
         I earlier noted that the evidence suggests that a more precise statement
         of the certamty conclusion pertams to the certamty of apprehension
         The dee1s1on model laud out here provides a stull more precise state-
         ment of that conclusion Decreases m I~ provide more effective deter-
         rence than equal mnereases mn P, Concerning the dstmncton between
          police servmg as sent111els or as apprehension agents, when servmg m
          their role as sentinels, they affect P, whereas when serving as appre-
          hens10n agents, they affect P,, This implies that the sentmel role of
          polic111g is more effective mn deterrmng crmme than their apprehension
          agent role This observation 1s relevant to the d1scuss1on m Section V
          of the varymg findmgs on police effectiveness 111 prevent111g cnme


                     II Deterrence Research to the 1990s
         Empmcally based deterrence research began 111 earnest 111 the late
         1960s There were three major mnstugators One was technological the
         grow111g availability of computers and statistical software for analyzmg
         crime data, which were also growing m ava1lab1hty The second was
         social the steady growth of crime rates durng the 1960s The third
         was 111tellectual, especially withm economics, with the publication 111
         1968 of Becker's semmal artcle "Crime and Pumshment An Eco-
         nomic Approach "
            Deterrence studies up to the 1990s are usefully grouped mnto three
         categories expenmental and quas1-expenmental stuches, aggregate
         stuches, and perceptual deterrence stud1es My 1998 Crme and Justce
         revie,v provided an extended chscuss10n of the three types of studies
         (Nagmn 1998) This section summanzes conclusions of the experimental
         and quas1-expenmental studies and aggregate studies of this research
          era that are most relevant to this review Because of the persistence of
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        themes in the pre- and post-1990s perceptual deterrence research and
        the continmty of the research methods used, I discuss this body of
        research without reference to era mn Sect1on VI


        A Epermental and Quast-Epermental Studes
           This category of studies exammes the effect of targeted policy in-
        tervent10ns such as police crackdowns or 1mplementat1on of statutes
        changmg penalties In the expenmental studies the 111tervent1on and
        control treatments are randomly assigned A classic example 1s the
        Mmneapolis Domestic Violence Expenment (Sherman and Berk 1984)
        rn which police responded to misdemeanor 111c1dents of domestic vi-
        olence with one of three randomly chosen responses The arrest re-
        sponse was found to be most effective mn preventing recidivism, but as
        discussed mn Secton V, thus findmng was not cons1stent across repl1ca-
        tons of the expenment 111 other localities
           True expenments, however, compose only a small fract10n of the
        studies m thus category Most are quasi expenments The best-designed
        quas1-expenmental stuches attempt to incorporate important features
        of a true expenment a well-defined treatment regime, measurement
        of response before and after treatment, and a control group Two clas-
        sic studies of this genre are Ross's stuches of the effects on drunk dnv-
        mg of the Bnt1sh Road Safety Act (Ross 1973) and of Scandmavian-
        style drunk drrvmng laws Most studies 111 this group examme the effects
        of police crackdowns on drug markets, disorderly behav10r, and drunk
        dnvmg Excellent reviews of these studies are available in Sherman
        (1990) and Ross (1982) Both Sherman and Ross conclude that the
        mtervent1ons were generally successful in generating an m1tial deter-
        rent effect For instance, mn drunk-drvmng mtervent1ons, this WaS eVI-
        denced by a reduction 111 fatalities in which the dnver was mtox1cated
        or in drug market crackdowns by reduced dealmg However, they also
        concluded that the effect was generally only trans1t01y the m1tial de-
        terrent effect typically began decaying even whle the mterventon was
        mn effect One exception to this findmg of at least 1111t1al deterrent ef-
        fectveness concerned stud1es of increases in sentence seventy Ross
         (1982) discusses the meffect1veness of seventy enhancements m three
        very different places Finland, Chicago, and New South Wales, Aus-
         trala Evidence even of an mm1tal effect 1s less cons1stent than m stud1es
         of mterventlons that mcreased the certamty of apprehension
            I take away three important lessons from this literature First, the
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        generally more consistent findmngs of mm1tal effectiveness m the appre-
        hension-based 111tervent10ns, compared to the seventy-based mterven-
        t1ons, provde more evidence mn support for my modified vers1on of
        the certamty effect, namely, that certa111ty of apprehens10n is a more
        effective deterrent than the seventy of the ensumg legal consequences,
        but with an important proviso Ross (1982) attributed the meffectJve-
        ness of seventy-enhancmg policies to the fact that they tngger a system
        response that reduced certamty of punishment He pointed out that 1f
        Judges or Junes believed the penalties too harsh, they may have re-
        sponded by refusing to convict gulty defendants Police and prose-
        cutors may respond similarly Thus, any potental deterrent effect of
        the seventy enhancement may be canceled by the reduction 111 cer-
        tamty This result is a remmder not only of the chfficulty of enforcmg
        penalties that are deemed unjust but also that certamty and seventy do
        not operate 111dependently-they 111teract Tonry (2009) forcefully elab-
        orates on many of these pomnts
            Second, Sherman (1990) offers useful nomenclature for descrbmng
         the findmg of only transitory effects He uses the term "mitial deter-
         rence decay" to describe the decl111e 111 the deterrent response as "po-
         tent1al offenders learn through tnal and error that they had overesti-
         mated the certamty of getting caught at the begmnmmng of the
         crackdown" and "residual deterrence," which is a cnme suppression
         effect that extends beyond the mtervent1on until offenders learn by
         experience or word of mouth that "it is once agamn 'safe' to offend" (p
         10) Sherman's observations are a remmder that deterrence 1s a per-
         ceptual phenomenon In Sherman (1990) and Nagm (1998), ,ve both
         chscuss the decay of mmtal deterrence as a possible response to what
         behavioral economists call ambiguity avers1on People consistently pre-
         fer gambles m which the rsks are clearly comprehensible compared to
         eqmvalent gambles mn which the risks are less transparent I111t1al de-
         terrence may be a response to perceptions of uncerta111ty about t1·ue
         nsk rather than to any change 111 the true nsk of apprehension Thus,
         unless policy can affect percept10ns, there will be no behavoral re-
         sponse It 1s also a remmder that percept10ns may be updated m re-
         sponse to cues from the environment and therefore will not necessarily
         be stable I return to this unportant issue 111 the d1scuss10n of the per-
         ceptons stud1es m Sect1on VI
            Third, the findings from these studies have stood the test of tune
         In my Judgment, well-conducted experimental and quas1-expenmental
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        216        Dame! S Nagm

        studies of deterrence provide the most convmcmg evidence of the Cir-
        cumstances under which deterrence is and 1s not effectuve Thus holds
        for both the post-1990s and the pre-1990s literatures


        B Aggregate Studies
           The pre-1990s aggregate studies generally analyzed the assoc1at1on
        of cnme rates across geographic umts, usually states, with measures of
        the certamnty and seventy of pumshment The most basic form of these
        analyses 111volved b1vanate correlat10ns across states of cnmes rates for
        the cnme categories composmg the FBI part I cnme 111dex (e g, mur-
        der and nonneghgent homicide, robbery, burglary) wth certainty of
        pumshment, measured by pr1son adm1ss1ons per reported cnme, and
        seventy of pumshment, measured by median time served More elab-
        orate analyses were conducted 111 a regress1on format These analyses
        added vanous state charactenst1cs known to be correlated with cnme
        (eg, age and racial composition, urban1zat1on) to the base regress1on
        model relat111g cnme rate to the certamnty and seventy measures Neg-
        ative and s1gmficant associations were generally found between the
        cnme rate and the certamty of 1mpnsonment ratio The association of
        tune served with the cnme rate was generally 111s1gmficant
            Reviews of these studies, including a high-vs1bhty Natonal Re-
        search Council (NRC) report (Blumstemn, Cohen, and Nagmn 1978),
        concluded that the aggregate stuches suffered from such grave flaws
        that they chcl not provide a basis for valid mference about deterrent
        effects Twvo flaws are particularly noteworthy because they remam rel-
        evant to the 111terpretat1on of a successor strand of post-1990 aggregate
        studies discussed mn Section IV The first 1s that the assoc1at1ons do not
         distinguish the behavoral response to sanction threats, deterrence,
         from incapacitation The second 1s more fundamental distinguishing
         cause from effect. All forms of nonexpenmental data are vulnerable to
         the cnt1c1sm that the outcome of mnterest, 1n this case the cnme rate,
         1s the cause of the predictor of mterest, 111 this case sanctions, and not
         vce versa Hugh crmme rates, for example, might prompt a police crack-
         down followed by cnme rates declmmg for other reasons Cross-polity
         studies of natural varatons 1n cnme rates and sanction levels are par-
         tucularly vulnerable to this concern because there 1s generally no basis
         for assessing whether the var1at1ons mn sanction levels are the result of
         factors mdependent of the cnme rate By contrast, for quas1-expen-
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                               Deterrence mn the Twenty-First Century        217


        mental studies, 111st1tut10nal research can reveal whether the 111terven-
        t1on was prompted by nsmg cnme rates


                     III Capital Pumshment
        Studies of the deterrent effect of capital pumshment have been and
        contmue to be the source of butter ontenton Isaac Ehrlich's 1975
        study, 111 which he concluded that each execut10n averted seven to eight
        home1des, 1s undoubtedly the most-cited study of thus kmnd The 1978
        NRC report (Blumstemn, Cohen, and Nagmn 1978) and an accompa-
        nymg comm1ss1oned paper (Klem, Forst, and Filatov 1978) laid out a
        lengthy list of rtcsms of the Fhrhch analys1s The NRC report con-
        cluded that "available studies [mcludmg Ehrlich's] provide no useful
        evidence on the deterrent effect of capital pumshment" (p 9)
           Comc1dentally, that report was issued shortly after the 1976 Supreme
        Court decision Gregg v Geoga ended the moratormm on execution
        111 the Umted States In the 3 5 years since publication of the 1978
        report, and more especially 111 recent years, a considerable number of
        post-Gregg studies have attempted to estimate the effect of the legal
        status or the actual implementation of the death penalty on homucde
        rates These stuches have reached widely varymg conclus10ns and have
        resulted 111 often bitter chsagreement about their 111terpretat10n
           Thus more recent hterature has been the sub)et of stull another
        NRC report titled Deterrence and the Death Penalty, which I coechted
        (Nagm and Pepper 2012), as well as two reviews of the literature com-
        muss1oned by the NRC committee (Chalfin, Havland, and Raphael
        2013, Charles and Durlauf 2013) and two valuable reviews by Donohue
        and Wolfers (2005, 2009) The NRC report and all of the revews are
        highly cnt1cal of the post-Gregg research The report concluded, "Re-
        search to date on the effect of cap1tal pumshment on home1de 1s not
        111format1ve about whether capital pumshment decreases, mcreases, or
        has no effect on h01mc1cle rates Therefore, the Committee recom-
         mends that these studies not be used to mform deliberations reqmrmg
        Judgments about the effect of the death penalty on hom1c1de Conse-
         quently, clauns that research demonstrates that capital pumshment de-
         creases or mcreases the hom1c1de rate by a speufied amount or has no
         effect on the home1de rate should not influence polcy judgments
         about capital pumshrnent" (Nagm and Pepper 2012, p 3)
            The NRC report leveled two key cnt1c1sms of the post-Gregg capital
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        218        Dame! S Nagm

        pu111shment deterrence research that transcend the high-profile but
        sull narrow issue of the deterrent effect of capital pumshment. They
        also apply to studies of the deterrent effect of other forms of sanct10n-
        pr1son, fines, and community control that form the backbone of con-
        temporary sanctlon policy 111 the Umted States and most other coun-
        tnes
            One cntlc1sm concerned the Incomplete spec1ficaton of the sanction
        reg1me for home1de Even for capital-el1g1ble convictions for hom1-
        c1de, only a mnorty of cases result mn a sentence of death, let alone
        an execution (Nagm and Pepper 2012) This 1s true even for states
        such as Texas and Virg1111a that make the most 111tense use of capital
        pum1shment Instead, most home1des result 111 a lengthy pnson sen-
         tence, sometimes life without parole A study by Cook (2009) illustrates
         this po111t Of 274 cases prosecuted as capital cases, only 11 resulted m
         a death sentence Another 42 resulted 111 d1sm1ssal or a verchct of not
         gmlty, which left 221 cases result111g 111 conv1ct1on and sentences to a
         noncap1tal sanctlon
             None of the post-Gregg stuches take mto account the noncap1tal
         component of the sanction regune As discussed mn Nagmn and Pepper
         (2012) and Chalfin, Haviland, and Raphael (2013), there are sound
         reasons for expectmg that the seventy of the noncap1tal sanctions for
         home1de var1es systematically with the ava1lab1l1ty and the 1tensity of
         use of capital pumshment For example, the political culture of a state
          may affect the frequency of use of capital pumshment and also the
          seventy of noncap1tal sanctions for homicide Thus, any effect that
          these noncaptal sanctions have on home1de may contaminate the es-
          t1mated effect of cap1tal punishment on homde In cap1tal pun1sh-
          ment stuches the potential for such bias 1s particularly strong because,
          as noted, noncapita] sanctions remam the dommant sanction response
          to captal-ehg1ble murders, even m states that make the most mtense
          use of capital pumshment
             Hmmc1cle 1s not the only cnmmal offense pu111shable by a range of
          qualitatively chfferent sanction alternatives Indeed the sancton re-
          gmes for most other cnmmal offenses, even felomes, mclude more
          than one sanction option for their pumshment This pomt 1s returned
           to m Section IV
             A second key cnt1c1sm elaborated 111 the NRC report concerned the
           spec1ficaton of perceptions of the cap1tal punishment component of
           the sanction regime Studies typically suppose that people who are con-
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                               Deterrence m the 'Rventy-First Century       219


        templatmng murder percerve sanction rsks as subjective probabuhtes of
        arrest, conv1ct10n, and execution Lackmg data on these subJective
        probabil1t1es, researchers presume that they are somehow based on the
        observable frequencies of arrest, convcton, and execution
            The report concluded that several factors made the attempts by the
        panel studies to specify the capital component of state sanction regimes
        unmterpretable Fm,t, the find111gs are very sensitive to the way 111
        which the risk of execution 1s specified For example, because of delays
        between the 1mpos1t1on of a death sentence and its bemg earned out,
        1f ever, researchers routmely computed ratios m which the numerator
        was the number of executions mn a given state and year drvded by the
         number of death sentences imposed 111 that state mn some pr1or year
         Results are very sens1t1ve to how that rat10 1s computed (Chalfin, Hav-
         1land, and Raphael 2013), and there 1s no logical basis for resolvmg
         disagreements about how the true nsk of execut10n should be mea-
         sured Among the difficulties 1s that only 1 percent of those sentenced
         to death m the Umted States smce 1977 have been executed, with close
         to 40 percent leavmg death row for other reasons (vacated sentences
         or conv1ct10ns, commutations, a successful appeal, or death by other
         causes) and 45 percent still awaiting executuon (Snell 2010) Available
         mformat1on for calculating the risk depends on the size of the state
          for large states such as Texas and Cahforma, there are far more data
          for cahbrat111g nsk than for small states such as Delaware and Montana
          Further comphcat111g matters, policies can change as a result of court
          dee1sons and admmmstratve decrees of elected officials Thus unpre-
          d1ctab1hty calls mto question the usefulness of pnor data on the death
          penalty when calculatmg present and future nsk Because none of the
          measures used has any clear relationship with the correct measure,
          there 1s no reasoned bass for arbitrating competing clams about which
          study provides the better estimate of the deterrent effect of the death
          penalty
              Even 1f 1t were possible to Judge which measure more closely cor-
           responds to true r1sk, there 1s no evidence that the perceptions of po-
           tential murderers correspond to this nsk The above discussion con-
           cerns only one aspect of sanction regime, the risk of execution given
           convct1on Other relevant dimensions of the sanction regime are the
           risk of convict1on given commuss1on of a murder and the certainty and
           seventy of the noncapital component alternatives to the death penalty
           The assumption that potential murderers have accurate percept10ns of
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        220        Dame! S Nagm

        these nsks and consequences 1s not credible mndeed 1t 1s preposterous
        I return to the issue of sanction nsk perceptions m Sect10n VI.


                    IV Impnsonment and Cnme
        There have been two d1stmct ·waves of aggregate studies of the rela-
        t1onsh1p between 1mpnsonment and cnme Studies m the 1960s and
        1970s described mn Sect1on II examined associations of state-level cnme
        rates to state-level certa111ty of pumshment, measured by the ratio of
        pnson achmss1ons to reported cnmes, and to state-level seventy of pun-
        1shment as measured by median time served These studies suffered
        from fondamental defic1enc1es laid out 111 the 1978 NRC report (Blum-
        stem, Cohen, and Nag1n 1978) and elsewhere As a consequence,
         aggregate-level deterrence research went largely "silent" for more than
         a decade

        A Post-1990s Aggregate Studes
            By the m1d-1990s, a second generation of studies emerged Unlike
        the first-generation studies, which pr1mar1ly Involved cross-sectional
        analyses of states, second-generaton stud1es had a longitudinal com-
        ponent 111 which data were analyzed across states and over time An-
        other important difference 111 the second-generation studies 1s that they
        did not attempt to estimate certamty and seventy effects separately
        Instead they exammed the relat10nsh1p between the cnme rate and the
        rate of nnpnsonment as measured by pnsoners per capita
            A revew by Donohue (2009) 1dent1fies sax studies of the relationship
        of crmme rates to Imprisonment rates All find statistically significant
        negative associations between 1mpr1sonment rates and cnme rates, 1m-
         plymg a cnme prevention effect for nnpnsonment However, the mag-
         m1tude of the estimate vaned widely from ml for a study that allowed
         for the poss1b1lity that prevention effects decline as the scale of 1m-
         pnsonment mcreases (L1edka, Piehl, and Useem 2006) to-)4 percent
         for each 1 percent increase m the Imprisonment rate (Spelman 2000)
            Apel and Nagn (2009), Donohue (2009), and Durlauf and Nagm
         (201 la, 201 1b) discuss Important flaws mn these studies One 1s that
         they are necessanly measur111g the combmed effect of deterrence and
         111capac1tat1011 on cnme rates and thus cannot be mterpreted as mea-
         surmg the deterrent effect of nnpnsonment At best they can be said
         to estimate the upper bound of that effect
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                               Deterrence 111 the T\venty-First Century       221

            Other shortcomings are even more fundamental One concerns the
        same fundamental flaw of the first-generation stud1es-d1stingmshmg
        cause from effect vVhile 1mpnsonment prevents cnme through a com-
        bmat1on of deterrence and mcapac1tat10n, cnme also generates the
        pnson population The object of mterest 1s the effect of the 1mprs-
        onment rate on the cnme rate, but data available for est1mat10n of that
        effect also reflect the effect of the cnme rate on the 1mpnsonment rate
        Thus, statistical isolation of the cnme prevention effect reqmres prop-
        erly accountmng for the effect of cnme on 1mpr1sonment
            The shortcomings mn the statstcal strategies used mn these stud1es
        to 1dentufy the cnme prevention effect of 1mpr1sonment are chscussed
         at length 111 Durlauf and Nagin (201 la, 201 lb). To summanze, with
         the except10n of Levitt (1996) and Johnson and Raphael (2012), the
         concluswns of the stuches rest on a form of statistical analysis pioneered
         by the Nobel laureate Clive Granger (1969) Granger's method is often
         mistakenly interpreted as provdmng estimates wth a causal mterpre-
         tatwn, which 111 the context of the aggregate 1mpnsonment studies
         would be the expected change 111 the cnme rate result111g from a policy
         that changes the mmprsonment rate by a specified amount In fact, the
         results are not 111 general amenable to this 111terpretat1on Instead, ap-
         plicatwn of Granger's method provides only a basis for forecast111g
          future changes 111 the cnme rate as a funct10n of pnor changes 111 the
          unpnsonment rate and the cnme rate \Nhile valid forecasts can be
          based on correlations alone, valid causal 111terpretat10n reqmres more
          than establishmg correlation
             Figure 2 illustrates the problem Panel A depicts hypothetical
          cnme and impnsonment functions The cnme function C(I) describes
          the cnme rate as a funct10n of the imprisonment rate, I, and the
          1mpnsonment funct10n I(C) measures the impnsonment rate as a
          function of the cnme rate, C The funct10n C(I) 1s shown to be down-
          ward slop111g 111 I to reflect the cnme reduction effects of 1mpr1son-
          ment va some combmnat1on of deterrence and mncapacrtaton Stud1es
           of the relationship of the crime rate to the imprisonment rate aum to
           measure whether thus lne 1s mn fact downward sloping and, 1f so, by
           how much The function IC) 1s depicted as upward slopmg because
           for any fixed set of policies determ111111g the certa111ty and seventy of
           pu111shment, 1mpnsonment rates will be a ns111g function of the cnme
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                                        Panel A




                                           lo
                                         Panel B
                                                   l(C} for Z1
                                C(I)
                                                                  l(C} for Z2

           ,
           C3
                                                                               l(C} for z3

            C,

                                           11           12
                                                                    ,
                                         PanelC




          J'JG   2 -The challenge of 1dent1fymg the effect of the unpnsonment rate on the cnme rate
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                                  Deterrence m th e 'Rventy-First Century              223


        rate The Intersection of the C(I) and IC) functions at I and C
        measures the observed level of cnme and 1mpnsonment
            Cnme rates and 1mpnsonment rates are, of course, affected by a
        multitude of other factors beyond their mutual mteract1on as depicted
        mn panel A The key to estimating CT) 1s 1dentfymng some factor, called
        an mstrumental vanable (IV), that 1s thought to affect the 1mpnson-
        ment rate but that affects the cnme rate only via its effect on sh1ftmg
        the location of 1mpnsonment rate funct10n Suppose that such an IV
        were 1dent1fied and denoted by z Panel B demonstrates how changmg
        values of z from z, to z, to z, shifts the [C) functon and, mn so domng,
         traces out the C(I) funcuon Connecting the pomnts (I, C,), (I,, C,),
         and (Z,, C,) estimates C(I) In thus fashion, IV regress1on models can
         be said to 1dentufy C(I) and thereby the cnme reduction effect of the
         1mpnsonment rate on the cnme rate However, the key to IV regres-
         s1on successfully 1solatmng thus effect 1s that C(I) 1s not directly affected
         by z Panel C illustrates the failure of this assumpt10n If z also shifts
          C(J), the changmg eqmhbnum values of the 1mpr1sonment rate and
         cnme rate no longer trace out the C(J) function
             Only Levitt (1996) and Johnson and Raphael (2012) use an IV re-
          gress1on approach to 1dentufy the causal effect of 1mpnsonment on
          cnme Levitt uses court-ordered pnson releases to form a set of IVs
          He argues that such court orders meet the test for provdmng a valid
          estimate of the effect of the 1mpnsonment rate on the cnme rate the
          orders have no chrect effect on the cnme rate and affect 1t only msofar
          as the court orders affect the 1mpnsonment rate, which 111 turn affects
          the cnme rate
             Even 1f one accepb this argument, the estimated effect has only
          hm1tecl policy value By its construct10n, 1t 1s likely measurmg the effect
          on crnne of the early release of selected pnsoners, probably those near-
          mg the encl of their sentenced terms It may also be reflectmg the effect
          of divers1on of mndv1duals convicted of less serous crmmes erther to
           local ja1ls or to community supervs1on In either case, the estimates
           are not mnformatve about the cnme prevent10n effects, whether by
           deterrence or 111capac1tat1on, of sentence enhancements related to the

            5 As 111 the entire 1mpnsonment and crime literature, I too assume that sanct10n

         policies are unaffected by either the cnme rate or the imprisonment rate Tlus 1s not
         a tenable assumpt10n However, all the points I make mn the ensuing discuss1on would
         contmue to hold 1f the model were generalized to allow sanct10n policy to be affected
         by crmme rates and imprisonment rates
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        224        Dame! S Nag

        manner 111 which a cnme is committed (e g, weapon use), the char-
        acteristics of the perpetrator (e g, pnor record), or policies affecting
        the likelihood of mcarcerat10n More generally, the uncertamty about
        what is actually bemg measured mherently limits the value of the es-
        timated effects for both policy and social science
            A more recent study by Johnson and Raphael (2012) 1s based on a
        techm1cally complex IV regress1on model Identuficaton 1s based on the
        assumption that pnson populations do not change 111stantaneously 111
        response to changes 111 the size of the cnmmal population S1m1larly
        to the non-IV-based analysis ofL1edka, Piehl, and Useem (2006),John-
        son and Raphael conclude that the cnme prevention effect of 1mpr1s-
        onment has dmm1shed with the scale of imprisonment, which was
        r1smng steadily over the perod of their analysis, 1978-2004
            One explanation for the Johnson and Raphael findmg 1s that the
        states and the federal government over this period collectvely mmple-
        mented policies with steadily declmmg average deterrent effectiveness
        GIVen that knowledge of the deterrent effectiveness of alternative sanc-
        t1on pohces 1s so h1muted, thus explanation 1s not credible An alter-
        native explanation mvolvmng 1ncapactat1on 1s more credible If the
         cr1me reducton effect of incarceration prmmarly stems from mncapac-
         1tat1on, the Johnson and Raphael find111g 1s consistent with the concept
         of "stochastic selectivity" (Canela-Cacho, Blumstem, and Cohen 1997),
        whereby high-rate offenders are more likely to be apprehended and
         mcarcerated than low-rate offenders Thus, as the scale of 1mpr1son-
         ment mcreases, higher-rate offenders will be less likely to be at large
         committmg cranes Johnson and Raphael's findmng 1s replicated by Vol-
         laard (2013) 1 an analysis of the Netherlands' Habitual Offender Law
         Vollaard attnbutes the entirety of the crime prevent10n effect that he
         estimates to 111capac1tat10n Also of note, Owens (2009) m her analysis
         of 2003 data from Maryland finds modest mcapacrtat1on effects
            The mcapacrtaton mterpretat1on of the Johnson and Raphael find-
         mng of decreasmng crime preventon returns wth the scale of 1mpr1s-
         onment 1s more crechble than the deterrence 111terpretat10n This 111-
          terpretat1on also implies that the study is not useful for learnmg about
          deterrence However, even the 111capaotat10n 111terpretat1on 1s cast 111
          doubt by the ag111g of the US pnson population Between 1991 and
          2010, the percentage of prisoners 111 state and federal prisons over 45
         years old has nearly tripled from 10 6 percent to 27 4 percent (Bureau
          of Justice Stat1st1cs 1999, 2011) Thus, the seem111g declme 111 the 1-
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        capac1tat1ve effectiveness of pnson with scale may be reflectmg only
        the aging of the pr1son population, which comncdes with r1sing 1m-
        pnsonment rates Further complicating the decreasmg returns 1nter-
        pretaton 1s the changing compost1on of the pnson populat10n 111
        terms of the composition of pr1soner convict1on offense Over the past
        four decades, the percentage of pnsoners mcarcerated for non-part I
        FBI mdex cnmes has mcreased substanoally (Blumste111 and Beck 1999,
        2005) Thus, the reduction 111 cnme prevent10n effectiveness may be
        due to the types of prisoners 111carcerated, not to scale effects
           All of these stuches, whether IV based or not, also suffer from an
        important conceptual flaw that lnrnts their usefulness 111 understandmg
        deterrence and dev1s111g cnme control policy Pnson population 1s not
        a policy vanable per se, rather, 1t 1s an outcome of sanction policies
        d1ctat111g who goes to pnson and for how long, namely, the certamnty
        and seventy of punishment In all mncentrve-based theor1es of cnmmal
        behavior, 111 the trad1t1on of Bentham and Beccana, the deterrence re-
        sponse to sanct10n threats 1s posed 111 terms of the certamty and seventy
        of purnshment, not m terms of the 1mpnsonment rate Therefore, to
        predict hmv changes 111 certamty and seventy might affect the cnme
        rate reqmres knowledge of the relat1onsh1p of the cnme rate to cer-
        tamty and seventy as separate ent1t1es, which 1s not provided by the
        literature that analyzes the relat10nsh1p of the cnme rate to the 1m-
        pnsonment rate
            The stuches are also conducted at a too-global level In Nagm (1998),
         I describe the two-d1mens1onal taxonomy of sanction pole1es affecting
         the scale of 1imprisonment One d1mens1on labeled "type" d1stungu1shes
         three broad categones policies regulatmg certamty of purnshment such
         as laws requiring mandatory imprisonment, polcres 1fluencmg sen-
         tence length such as determ111ate sentenc111g laws, and polcres regu-
         lating parole powers The second dnnens1on of the taxonomy, "scope,"
         distinguishes pohcres that ast a w1de net, such as a general escalation
         of penaloes for broad categones of cnme, compared to policies that
         focus on targeted offenses (e g, drug deal111g) or offenders (e g, three-
         str1kes laws)
            The nearly 500 percent growth m pnson population over the last
         two decades 1s attrbutable to a combmnaton of pole1es belonging to
         all cells of this matnx Parole powers have been greatly curtailed, sen-
         tence lengths mcreased, both 111 general and for particular cnmes (e g,
         drug dealing), and judicial discretion to impose nonmcarceratve sanc-
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        tons has been reduced (Tonry 1996, Blumstein and Beck 1999, 2005,
        Raphael and Stoll 2009) Consequently, any effect on the cnme rate of
        the mcrease 111 pnson populat:1011 reflects the effects of an amalgam of
        potentrnlly interactmg treatments
          There are good reasons for predicting differences m the crime re-
        duct1on effects of different types of sanct10ns (e g, mandatory m1111-
        mums for repeat offenders vs pr1son divers1on programs for first-time
        offenders) Obvious sources of heterogeneity 111 offender response mn-
        clude factors such as pnor contact with the cnmmal JUSt1ce system,
        demographic character1st1cs, and the mechanism by which sanction
        threats are communicated to their mtended audience lncleecl, available
        evidence on the deterrent effect of sentence enhancements, the next
        top1c of discuss1on, demonstrates such heterogeneity

        B Poley Evaluaton Studes of Sentence Enhancements
           There have been comparatively few stuches of the deterrent effects
        of sentence enhancements, Judged relative to their importance m con-
        temporary cnme control policy The earliest post-1970s attempts to
        measure seventy effects analyzed the deterrent impact of sentence en-
        hancements for gun cnmes In a senes of studies, Loftm, NicDowell,
        and colleagues (Loftin and McDowall 1981, 1984, Lofun, Heumann,
        and McDowall 1983) examined whether sentence enhancements for
        gun use 111 comm1ttmg another type of cnme such as robbery deter
        gun use mn the comm1ss1on of rmme While the findings are mixed,
        this body of research has generally failed to uncover evidence of a
        deterrent effect (but see McDowall, Loftin, and Wiersema 1992)
           However, one important caveat remams with respect to extrapolating
        these studies to understandmg the lmk between deterrence and sever-
        1ty The same literature that found that gun penalty enhancements
        were 1effectuve also found that these laws generally failed to mcrease
        the sentences actually received mn gun-related crime prosecutions
        Thus, gun-usmg cnmmals may not have responded because the real
        mncentrves were not changed Thus agam 1s a reminder of Tonry's (2009)
        commentary on the lughly inconsistent adm1111strat10n of mandatory
         mmnnum sentencmg
            Kessler and Levitt (1999) examme the deterrent impact of another
         Cahforn1a sentence enhancement law, Propos1twn 8, passed 111 1982
         Propos1t1on 8 ant1c1pated the three-stnkes laws passed by many states
         in the 1990s They estnnate a 4 percent declme in cnme attnbutable
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        to deterrence 111 the first year after enactment Withmn 5-7 years, the
        effect grows to a 20 percent reduction As acknowledged by Kessler
        and Levitt, the longer term estimate mcludes mcapac1tat1011 effects
            Webster, Doob, and Zamrmg (2006) challenged the basic findmg of
        any preventive effects Kessler and Levtt exammne data from every
        other year When all annual data are used, Webster, Doob, and Zam-
        rmg find that the declme 111 cnme rates 111 the affected categones begms
        before Propos1t1011 S's enactment, and the slope of this trend remams
         constant through 1mplementat1011 But see Levitt (2006) for a response
         and commentary supportmg ·webster et al by Raphael (2006)
             One exception to the scarcity of stuches on the cnme prevent1011
         effects of sentence enhancements concerns analyses of the deterrent
         effect of Cahforma's "three stnkes, you're out" law, which mandated a
         min1mum sentence of 25 years upon convict1on for a third-strike of-
         fense Zmmrmg, Hawkmns, and Kamm (2001) concluded that the law
         reduced the felony cnme rate by at most 2 percent They also conclude
         that only those mndrv1duals with two convctons for two offenses qual-
         1fymng as "strikes" showed any mndicaton of reduced offendmg Other
         studies by Stolzenberg and D' Alessio (1997) and Greenwood and
          Hawken (2002), who like Z1mnng, Hawkms, and Kamm (2001) ex-
          amme before and after trends, conclude that the cnme prevention ef-
          fects were neglgrble
             I turn now to six studies that mn my Judgment report particularly
          convincmg evidence on the deterrent effect of mcarcerat1on They also
          rncely illustrate heterogeneity 111 the deterrence response to the threat
          of 11npnsonment 6 \iVe1sburd, Emat, and Kowalski (2008) and Hawken
          and Kleiman (2009) study the use of 1mpr1sonment to enforce fine
          payment and conditions of probation, respectively, and find substantial
          deterrent effects, Helland and Tabarrok (2007) analyze the deterrent
           effect of Cahforma's third-stnke prov1s1011 and find a modest deterrent
           effect, Raphael and Ludwig (2003) examme the deterrent effect of
           pr1son sentence enhancements for gun cnmes and find no effect, and
           Hjalmarsson (2009) and Lee and McCrary (2009) examine the height-
           ened threat of 1mpnsonment that attends commg under the 1unsd1ct1011
           of the adult courts at the age of majonty and find no deterrent effect
              vVeisburd, Emat, and Kowalski (2008) report on a randomized field

           6 For further discuss1on of heterogeneity mn deterrence response, see Paternoster

         (2010) and Piquero et al (2011)
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        tr1al of alternative strategies for mncentv1zing the payment of court-
        ordered fines The most salient findmg involves the "miracle of the
        cells," namely, that the 1mmmnent threat of incarceration prov1des a
        powerful incentive to pay delmquent fines, even when the mncarcerat1on
        1s for only a short penod The miracle of the cells provides a valuable
        perspective on the conclusion that the certainty, rather than the sever-
        1ty, of punishment 1s the more powerful deterrent Consistent with the
        "certamty pnnc1ple," the common feature of treatment condtons 1n-
        volvng mncarcerat1on 1s a high certamty of 1mpr1sonment for failure to
         pay the fine However, that We1sburd et al label the response the
         "miracle of the cells" and not the "miracle of certamty" 1s tellmg The1r
         cho1ce of label 1s a remmder that certainty must result mn a distasteful
         consequence m order for 1t to be a deterrent The consequences need
         not be dracoman, Just sufficiently costly, to deter the proscnbed be-
         havor
             The deterrence strategy of certam but nondracoman sanctions has
         been applied with apparently great success mn Project HOPE, an mn-
         terventon heralded mn Hawken and Kleiman (2009), Kleman (2009),
         and Hawken (2010) Project HOPE is a Hawau-based probation en-
         forcement program In a randomized expenment, probat10ners as-
         signed to Project HOPE had much lower rates of positive drug tests
          and mussed appointments and most importantlywere s1gmficantly
          less likely to be arrested and 1mpr1soned The cornerstone of the
          HOPE intervention was regular drug testmg, 111cludmg random tests,
          and certam but short pu111shment periods of confinement (e g,1-2
          days) for postve drug tests or other volat1on of conditions of pro-
          baton Thus, both the vVe1sburd, E111at, and Kowalski (2008) fine ex-
          per1ment and Project HOPE show that highly certam punishment can
           be an effective deterrent m cases 111 which deterrence has prev10usly
           been mneffectve mn avertmg crune
              Helland and Tabarrok (2007) exam111e whether Califor111a's "three
           strikes, you're out" law deters offending among mndv1duals previously
           convicted of stnke-elig1ble offenses The future offendmg of mdrvd-
           uals convicted of two previous ehg1ble offenses was compared with that
           of mchviduals who had been convicted of only one eligible offense but
           who, m add1t10n, had been tned for a second eligible offense but were
           ultimately convicted of a nonelgrble offense The two groups of m-
           d1viduals were comparable on many characterstcs such as age, race,
           and time m pnson Even so, Helland and Tabarrok find that arrest
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        rates were about 20 percent lower for the group with conV1ct10ns for
        two eligible offenses The authors attribute this to the greatly enhanced
        sentence that would have accompanied convict1on for a third ehgrble
        offense
           Raphael and Ludwig (2003) examme the deterrent effect of sentence
        enhancements for gun cnmes that formed the basis for a much pub-
        lcrzed Richmond, Virgima, federal program called Project Exle Per-
        petrators of gun cnme5, with a particular emphasis on those with a
        felony record, were the targets of federal prosecution that provided for
        far more severe sanctions for weapon use than were provided by Vir-
        gmia state law In a careful and thorough analysis mvolvmg compari-
        sons of adult homicide arrest rates wth uven1le homicide arrest rates
        w1thm Richmond and comparisons of gun hom1C1de rates between
        Richmond and other cites wth comparable pre-mntervent1on home1de
        rates, Raphael and Ludwig conclude that the threat of an enhanced
        sentence had no apparent deterrent effect
            For most cnmes, the certamty and seventy of pumshment mcrease
         discontmnuously upon reaching the age of majorty, when jurisdiction
         for cnmmal wrongdomg shifts from the Juvemle to the adult court In
         an extraordmanly careful analysis of mchv1dual-level cnme h1stones
         from Florida, Lee and McCrary (2009) attempt to 1dentufy a discon-
         tmuous declme m offendmg at age 18, the age of maJonty 111 Florida
         Their pomnt estimate of the discontinuous change 1s negative as pre-
         ducted but s mmute m magnitude and not even remotely close to
         achieving statistical significance '
            Another analysis of the effect, 1f any, of movmg from the Junschct10n
         of the Juve111le to adult courts by Hjalmarsson (2009) uses the 1997

           7 The findlllg that the young fail to respond to changes 111 penalties associated with

        the age of majorty 1s not um form across studies An earlier analysis by Levitt (1998)
        finds a large drop Ill the offendmng of young adults when they reach the age of JLms
        drct1on for adult courts Tor several reasons, Durlauf and Nagmn (201 la, 201 lb) Judge
        the null effect findmg of Lee and McCrary (2009) more persuasive Ill terms of un
        derstandmg deterrence First, Levitt focuses on differences Ill age measured at annual
        frequencies, whereas Lee and McCrary measure age Ill days or weeks At annual fre
        quenc1es, the estimated effect 1s more likely to reflect both deterrence and mncapac1-
        tat1on, hence Levitt's results may be dnven by 111capac1tat10n effects rather than by
        deterrence per se Second, the Lee and McCrary analysis 1s based on mndrv1dual level
        data and so avoids problems that can anse because of aggregatuon (Durlauf, Navarro,
        and Rivers 2008, Durlauf and Nagn 201 la) On their own terms, the mdlVldual-level
        data studied by Lee and McCrary are unusually informative smnce they also contamn
        ll1format10n on the exact age of arrestees, which allows for the calculat10n of very
        short run effects of the d1scontmmty Ill sentence seventy, e g, effects w1th111 30 days
        of turnmg I 8
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        Natonal Longtudmnal Survey of Youth to examme whether young
        males' percept10n of 111carcerat10n nsk changed at the age of cnmmal
        majorty Youths were asked, "Suppose you were arrested for stealmg
        a car, what 1s the percent chance that you would serve time 111 1a1P"
        She found that subjective probabilities of bemg sent to ja1l mcreased
        d1scontmuously on average by 52 percentage pomnts when youths
        reached the age of major1ty m their state of res1dence Whle youths
        perceived an mcrease 111 mcarceratJon nsk, she found no convmcmg
        evidence of an effect on their self-reported cnmmal behav10r


        C Summary
           In combmat1011, these six studies demonstrate that debates on the
        effectiveness of deterrence are poorly conceived Instead, the d1scuss1on
        should be framed 111 terms argued by Beccana and Bentham more than
        two centuries ago Does the specific sanction deter or not, and 1f 1t
        does, are the cnme reduction benefits sufficient to justufy the costs of
        unposmg the sanct10n) Helland and Tabarrok's (2007) study 1s an ex-
        emplar of thus type of analysis They conclude that California's third-
        str1ke provs1on does 1deed have a deterrent effect, a pomt even con-
        ceded by Z1mrmg, Hawkms, and Kamm (2001) However, Helland and
        Tabarrok also conclude, on the bas1s of a cost-benefit analysis, that the
        cnme-savmg benefits are so much smaller than the mcreased costs of
        mcarcerat10n that the lengthy pnson sentences mandated by the third-
        str1ke prov1s1on cannot be justified by means of a cost-benefit crter1on
            The six exemplar stuches suggest several important sources of the
         heterogeneity of the deterrent effect of 1mprsonment One concerns
         the length of the sentence itself Figure 3 depicts two alternative forms
         of the response function relating cnme rate to sentence length Both
         are dowmvard slopmg, which captures the idea that 111creases 111 sever-
         1ty deter crme At the status quo sentence length,   S i, the cnme rate,
         C,, 1s the same for both curves The curves are drawn so that they
         predict the same cnme rate for a zero sanction level Thus, the absolute
         deterrent effect of the status quo sanction level 1s the same for both
         curves But because the two curves have chfferent shapes, they also
         unply different responses to an mcremental mcrease 111 sentence level
          to S, The lmear curve (A) 1s meant to depict a response function 111
         which there 1s a matenal deterrent effect accompanymg the mcrease
          to S,, whereas the nonlmear curve (B) s meant to depict a small cnme
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        Crime
        Rate




           CI



                                                                           Sentence Length



                       FIG 3 -Nlargmal versus absolute deterrent effects




        reduction response due to d1mm1shmg deterrent returns to mncreasmng
        sentence length
            iVIy reaclmg of the evidence on the deterrent effect of sentence
        length 1s that 1t implies that the relatonshp between cnme rate and
        sentence length more closely conforms to curve B than to curve A
        Raphael and Ludwig (2003) find no evidence that gun cnme enhance-
        ment deters, Hjalmarsson (2009) and Lee and McCrary (2009) find no
        evidence that the greater penalties that attend movmg from the juvenile
        to the adult JUSt1ce systems deter, and Helland and Tabarrok (2007)
        find only a small deterrent effect from Califor111a's third stnke As a
        consequence, the deterrent return to mcreasmg an already long sen-
         tence 1s small, poss1bly zero Thus interpretaton forms the basis for
         my conclusion that mandatory mum1mum sentencing 1s unhkely to have
         a matenal deterrent effect
             The fine payment and ProJect HOPE expenments also suggest that
         curve B, not curve A, more closely resembles what 111 medical prgon
         would be described as the close-response relat10nsh1p between cnme
         and sentence length While nether of these studies 1s directed at the
         deterrence of cnm111al behavior, both suggest that, unlike 111crements
         111 long sentences, 111crements 111 short sentences do have a matenal
         deterrent effect on a cnme-prone population
             Notwithstanding their strengths, these s1x exemplar stud1es do not
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        address several important aspects of the offender response, 1f any, to
        the sanction regime Except for the most tr1val offenses, the quest1on
        at hand 1s not the deterrent effect of some particular sanct:Ion compared
        to no sanction whatsoever Instead, 1t 1s the deterrent effect:Iveness of
        a specified sanction relative to alternative sanct10n opt:Ions In the case
        of the death penalty, the alternative 1s a very lengthy pnson sentence.
        For less serious cnmes, sanction opt:Ions to mcarcerat10n mclude fines
        and various forms of community supervrs1on, or some combmnat1on that
        may also mclude a penod of mcarcerat10n In 2006, for example, 10
        percent of felony defendants were diverted to programs such as man-
        datory drug treatment pr1or to adjudication Of those convicted, 29
        percent did not receive a ja1l or pr1son sentence (Bureau of Justice
        Stat1st1cs 2010) but mstead were sentenced to some form of commumty
        control, paid a fine, or both
            Theories of deterrence need to be generalized to specify how of-
        fenders perceive and respond to the multrpherty of sanction opt1ons
        available for the pumshment of most cnmes The theories also need
        to account for the poss1b1bty that offender perceptions of the seventy
        of sanction options may differ For example, some may view the pos-
        s1b1lty of hfe without parole as worse than execution, and stall others
         may view stnct commumty superv1s10n as more onerous than a short
         period of incarceraton (Wood and May 2003) The multplenty of
         sanct10n options and heterogeneity m the response to these opt1ons
         greatly complicate the speoficat1on of a deterrence model, but both
         features are essential to the deterrence phenomenon
            I also note that testmg such generalized models of deterrence will
         require a mayor expans1on of the rmmmnal justice data collect1on mfra-
         structure at least 111 the Umted States It 1s currently not possible to
         measure the availability and frequency of use of sanct10n alternatives
         at the state level because the reqmred data are not available Available
         data mclude those from the Bureau of Justice Stat1st1cs, which pub-
         hushes natonw1de statistics on sentences for pr1son admss1ons and time
         served for pnson releases, based on data collected as part of the Na-
         tonal Corrections Reporting Program mutated mn the early 1980s
         More than 40 states now report annual data on sentences for adms-
         s1ons and tmme served for releases Indrvdual-level demographc char-
         actenst:Ics are also reported In prmc1ple, these data could be used to
         measure the adm1111strat10n of the legally authonzed d1mens1ons of
         most state sanction regimes by type of crime The difficulty 1s that the
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        data are often extremely mcomplete In some years, some states fail to
        report any data, and the data that are sent to the bureau are often so
        mcomplete that 1t 1s 1mposs1ble to construct valid state-level measures
        of the admmm1straton of the sanction regime


                    V Police and Cnme
        The police may prevent cnme through many possible mechamsms
        Apprehension of active offenders 1s a necessary first step for their con-
        v1ct1011 and pumshment If the sanct10n mvolves 1mpnsonment, cnme
        may be prevented by the mncapacrtaton of the apprehended offender
        The apprehension of active offenders may also deter would-be crm1-
        nals by mcreasmg their perception of the nsk of apprehens1011 Many
        police tactics, such as rapid response to calls for service at cnme scenes
        or postcnme mvest1gat10n, are mtended not only to capture the of-
        fender but to deter others by projecting a tang1ble threat of apprehen-
        sion Police may, however, deter without actually apprehendmg cnm-
        mals their very presence may deter a motivated offender from carrymg
        out a contemplated crmmmnal act
           Research on the deterrent effect of police has evolved mn two dstmnct
        literatures One has focused on the deterrent effect of the level of
        police numbers or resources, for example, by exammmg the relat1on-
        sh1p between police per capita and cnme rates The other has focused
        on the crime prevent1on effectiveness of different strategies for de-
        ploymg police

        A Studes of Levels of Polce Numbers and Resources
           Stuches of the effect of police numbers and resources come 111 two
        forms One 1s an analogue of the 1mprsonment rate and cnme rate
        studies described m the preceding section These stud1es are based on
        panel data sets, usually of US cites over the per1od crca 1970-2000
        They relate cnme rates to the resources conurntted to policmg as mea-
        sured by police per capita or police expenditures per capita The second
        form of study 1s more targeted These stuches analyze the effect on
        cnme from abrupt changes 111 the level of policmg due, for example,
        to terror alerts
           1 Panel Studies Panel studies mclude Marvell and Moody (1994),
        Levitt (1997, 2002), McCrary (2002), and Evans and Owens (2007)
        With the exception of McCrary's study, these studies consistently find
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        evidence that larger resource commitments to polic111g are associated
        with lower cnme rates 8
            The studies use different stats1cal strategies for estimating the effect
        of police resource levels on cnme For example, Marvell and Moody
        (1996) analyze two panel data sets and apply Granger-causality type
        statistical models to these data Levitt (1997, 2002) uses IV-type re-
        gress1on models In Lett (1997), election cycles are used as an IV to
        untangle the cause-effect relat10nsh1p between cnme rates and police
        manpmver Levitt (2002) uses the number of firefighters and crvl ser-
        vice workers as IVs for the same purpose
            The panel studies consistently find evidence that hugher levels of
        police resources are associated with lower cnme rates Durlauf and
        Nag (201 la, 2011 b) discuss important qualifications to the mterpre-
        tat10n and valichty of this form of analysis One is that the police panel
        studies, hke the studies of mmpr1sonment and crime, do not dustmgu1sh
        between mcapacitat10n and deterrent effects The negative assoc1at1ons
        between police numbers and cnme rates 1dent1fied 111 these studies may
        reflect 1creased effectiveness mn apprehending and incarcerating active
        offenders rather than 111 deterring cnme Nlore importantly, an under-
        appreciated limitation of these analyses is the assumption that the effect
        of police levels on cnme rates 1s the same across place and tune As
        the discuss1on of stud1es of the effects of police deployment strategies
        on cnme makes clear, this assumpt1on 1s not tenable Nevertheless, the
         findmgs of these studies are consistent with those of studies of abrupt
         changes 111 police presence that police numbers do matter
            2 Abrupt Change Studes Studres of thus type, whch are sometimes
         called "mterrupted tune senes" or "regress10n d1scont111mty" studies,
         exam111e the effects of abrupt changes 111 police presence If the change
         111 police presence 1s atti·ibutable to an event unrelated to the cnme
         rate, studies of thus type can provide partucularly convmncmng evidence
         of deterrence For example, mn September 1944, German soldiers oc-
         cupyng Denmark arrested the enture Dam1sh pohce force According
         to an account by Andenaes (1974), cnme rates rose immediately but
         not um1formly The frequency of street cnmes such as robbery, whose

          8
            J\llcCrary identified an error 111 the co111putat10n of standard errors 111 Levitt (I 997)
        that when corrected nullified the finding of a crime prevention effect of police numbers
        Levitt (2002) argues that McCrary's findings do not overturn his general claim that
        mncreased numbers of police reduce crmme rates and presents new evidence to that
        effect
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        control depends heavily on v1S1ble police presence, rose sharply By
        contrast, cnmes such as fraud were less affected See Sherman and Eck
        (2002) and Sherman (m this volume) for other examples of crmme mn-
        creases followmg a collapse of police presence
           The Andenaes anecdote illustrates several important pomts It pro-
         des a useful reminder of the difference between absolute and mar-
        gmnal deterrence As shown 111 figure 3, absolute deterrence refers to
        the difference m the cnme rate between the status quo level of sanction
        threat, S,, and a complete (or near) absence of sanction threat, S, The
        Anclenaes anecdote 1s a compellmg demonstration that the absolute
        deterrent effect 1s large However, from a policy perspective, the issue
        1s not the absolute deterrent effect posed by police presence The ques-
        t1on 1s whether, on the margm, cnme can be prevented by mcremental
        mcreases m police numbers or by changes 111 the way police are de-
        ployed Also, the anecdote 1s another useful reminder that deterrent
        effects are heterogeneous sanct10n threats (or the absence thereof) do
        not umformly affect all types of cnme or, more generally, all types of
         people
            Contemporary tests of the police-crmme relatonshp based on abrupt
         decreases 111 police presence 111vest1gate the effect on the cnme rate of
         reduct10ns 111 police presence and product1v1t:y as a result of large bud-
         get cuts or lawsuits following racial profiling scandals Such studies
         have exam111ed the C111c111nat1 Police Department (Shi 2009), the New
        Jersey State Police (Heaton 2010), and the Oregon State Police
         (DeAngelo and Hansen 2008) Each concludes that decreases 111 police
         presence and atrvty substantially 1crease crmme Sh (2009) stud1es
         the fallout from an mnc1dent mn Cincinnati mn whch a white police of-
         ficer shot and kalled an unarmed Afr1can Amer1can suspect The mnc1-
         dent was followed by 3 clays of notmg, heavy media attention, the filmg
         of a class acton lawsuit, a federal crvl rghts mnvestgat1on, and the
         mchctment of the officer 111 question These events created an unofficial
         mcentive for officers from the Cmcmnnatu Polce Department to curtail
         their use of arrest for misdemeanor cnmes, especially 111 comrnumt1es
         with lugher proportional representat10n of Afncan Americans, out of
         concern for allegations of racial profiling Sh finds measurable decl111es
         111 police product1v1ty 111 the aftermath of the not and also documents
         a substantial mcrease 111 cnmmal activity The est11nated elast1c1t1es of
          cnme to policmg based on her approach were -0 5 for violent cr1me
          and -0 3 for property crmme
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           The ongomg threat of terronsm has also provided a number of
        umque opportumt1es to study the effect of police resource allocation
        m cltles around the world, mcludmg the D1sti"1Ct of Columbia (Klick
        and Tabarrok 2005), Buenos Aires (D1 Tella and Schargrodsky 2004),
        Stockholm (Poutvaara and Prks 2006), and London (Draca, Machm,
        and Witt 2008) The Klick and Tabarrok (2005) study exammes the
        effect on crme of the color-coded alert system devised by the US
        Department of Homeland Secunty m the aftermath of the September
        11, 2001, terronst attack Its purpose was to signal federal, state, and
        local law enforcement agencies to occas1ons when 1t mght be prudent
        to divert resources to sens1t1ve locations Klick and Tabarrok use daily
        police reports of cnme collected by the chstnct's Metropolitan Police
        Department for the per1od March 2002 to July 2003, when the ter-
        rorsm alert level rose from "elevated" (yellow) to "high" (orange) and
        back clown to "elevated" on four occasions Dunng high alerts, ane-
         dotal evidence suggested that police presence mcreased by 50 percent
        The authors estimate that each 1 percent mcrease 111 number of police
         clunng the terror alert reduced total cnme by 03 percent
            To summarize, stud1es of polce presence conducted smce the mud-
         1990s consistently find that putt111g more police officers on the street
         e1ther by hmng new officers or by reallocat111g ex1stmg officers to put
         them on the street 111 larger numbers or for longer periods of time-
         has a substantial deterrent effect on senous cnme There 1s also con-
         sistency with respect to the size of the effect Niost estnnates reveal
         that a 10 percent 111crease 111 police presence yelds a reduct1on mn total
         cnme of about 3 percent Yet these police manpower studies speak only
         to the number and allocation of police officers and not to what police
         officers actually do on the street beyond makmg arrests

         B Polce Deployment and Cr me
            Much research has examined the crime prevention effectiveness of
         alternative strategies for deploying pohce resources Thus research has
         mostly been conducted by criminologists and sociologists Among th1s
         group of researchers, the preferred research designs are quas1 expen1-
         ments mnvolvng before-and-after studies of the effect of targeted m-
         terventrons as well as true random1zed experiments The discuss1on
         that follows draws heavily on two excellent reviews of this research by
         We1sburcl and Eck (2004) and Braga (2008)
            For the most part, deployment strategies affect the certamnty of pun-
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        1shment through thelf effect on the probability of apprehens1011 One
        way to increase apprehens1on risk 1s to mob1lrze police mn a fashion that
        mcreases the probability that an offender 1s arrested after committing
        a cnme Strong evidence of a deterrent as opposed to an 111capac1tat1011
        effect resulting from the apprehension of crmmmnals 1s h1muted Stud1es
        of the effect of rapid response to calls for service (Kansas City Police
        Department 1977, Spelman and Brown 1981) do not directly test for
        deterrence but found no evidence of improved apprehens1011 effective-
        ness. The reason may be that most calls for service occur well after
         the cnme event, with the result that the perpetrator has fled the scene
        Thus, 1t 1s doubtful that rapid response matenally affects cnme S1m-
         1larly, apprehension risk 1s probably not matenally affected by 1m-
         proved mvest1gatuons Eck concluded that "1t 1s unlikely that 1mprove-
         ments 111 the way 111vest1gat10ns are conducted or managed have a
         dramatic effect on cnme or cnmmal Justice" (1992, p 33) The reason
         1s that most cr1mes are solved either by the offender be111g apprehended
         at the scene or by eyewitness 1dent1ficat1on of the perpetrator (Green-
         wood, Cha1ken, and Peters1ha 1977) Modern forensc methods may
         ultimately Improve the effectiveness of poster1me mvestugat1ons, but as
          Braga et al (2011) note, clearance rates have remamed stubbornly sta-
          ble over the per1od 1970-2007
             The second source of deterrence from police act1v1t1es 111volves
          averting crime m the first place In thus circumstance, there 1s no ap-
          prehens1on because there was no offense In my vew, thus 1s the pr1-
          mary source of deterrence from the presence of police Thus, measures
          of apprehens1011 nsk based only on enforcement act10ns and cnmes
          that actually occur, such as arrests per reported cnme, are not valid
          measures of the apprehens10n nsk represented by cnmmal opportu-
          n1t1es not acted on because the nsk was deemed too high (Cool 1979)
             One example of a police deployment strategy for which there 1s good
          evidence of effectiveness 1s "hot spots" policing The idea of hot spots
          pohc111g stems from a stnk111g empmcal regulanty uncovered by Sher-
          man and colleagues Sherman, Gart111, and Buerger (1989) found that
          only 3 percent of addresses and mtersect1ons ("places," as they were
          called) 111 M111neapohs produced 50 percent of all calls to the police
          \Ne1sburd and Green (1995) found that 20 percent of all chsorder cnme
          and 14 percent of cnmes aga111st persons 111 Jersey City, New Jersey,
          arose from 56 drug-related cnme hot spots Tventy-five years later 1
           a study of Seattle, vVe1sburcl et al (2004) reported that between 4 and
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        5 percent of street segments m the city accounted for 50 percent of
        cnme mc1dents for each year over a 14-year penod Other, more recent
        studies finding comparable crmme concentrations mnclude Brantingham
        and Brant111gham (1999), Eck, Gersh, and Taylor (2000), and Roncek
        (2000)
           The rat10nale for concentratmg police 111 crime hot spots 1s to create
        a prohibitively high rsk of apprehension The first test of the efficacy
        of concentrat111g police resources on crime hot spots was conducted by
        Sherman and Wesburd (1995) In this randomized expenment, hot
        spots 111 the experimental group were subjected to, on average, a dou-
        blmng of police patrol mntensty compared with hot spots 111 the control
        group Decl111es 111 total crime calls ranged from 6 to 13 percent In
        another randomized experiment, \Ne1sburd and Green (1995) found
         that hot spots polcmng was smm1larly effectuve m suppressing drug mar-
        kets
          Braga's (2008) 1formative review of hot spots policing summarrzes
        the find111gs from n111e expenmental or quasi-experimental evaluations
        The studies were conducted 111 five large US c1t1es and one suburb of
        Austral1a All but two found evdence of sgnuficant reductions mn crmme
        Further, no evidence was found of material cnme displacement to 1m-
        mechately surrouncl111g locat10ns On the contrary, some stuches found
        evidence of cnme recluct10ns, not mcreases, 111 the surrounclmg loca-
         tons but a "diffusion of crime-control benefits" to nontargetecl locales
         Note also that the findmgs from the previously described econometnc
         studies of focused police actions-for example, 111 response to terror
         alert level-buttress the conclusion that the strategic target111g of police
         resources can be very effective 111 reduc111g cnme
             Another example of a police deployment strategy for which there 1s
         credible evidence of effectiveness, albert less consistent than for hot
         spots polcmng, 1s problem-oriented polcmng One of the most vs1ble
         instances of problem-orrented polemng 1s Boston's Operation Ceasefire
         (Kennedy et al 2001) The obJect1ve of the collaborative operat10n was
         to prevent mtergang gun violence usmng two deterrence-based strate-
          gies The first strategy was to target enforcement agamst weapons traf-
          fickers who were supplymg weapons to Boston's v10lent youth gangs
         The second mvolved a more novel approach The youth gangs them-
          selves were assembled by the police on multiple occasions 111 order to
          send the message that the law enforcement response to any mstance
          of serous violence would be "pulling every lever" legally available to
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        pumsh gang members collectively Tl11S mcluded a salient seventy-
        related dmmens1on vigorous prosecuton for unrelated, nonviolent
        cnmes such as drug dealmg Thus, the aim of Operat10n Ceasefire was
        to deter v10lent cnme by mcreasmg the certamty and seventy of pun-
        1shment, but only 111 targeted circumstances-spec1fically, 1f the gang
        members committed a v10lent cnme
            Smee Operation Ceasefire, the strategy of "pullmg every lever" has
        been the centerpiece of field 111tervent10ns 111 many large and small US
        cities mncludmng Richmond, Virgina, Chicago, Stockton, Cah1forn1a,
        High Pomt, North Carolina, and Pittsburgh See Kennedy (2009), one
        of the architects of the pullmg every lever strategy, for an extended
        descrpt1on of these interventions and the philosophy behmd them
        Independent evaluations have also been conducted of many of these
        mterventions 9 As part of the Campbell Collaboration review process,
         Braga and Weisburd (2012) 1dentufied 10 studies of pulling levers fo-
         cused pohcmg strategies that met their cntena of ngor and relevance
         to be Included m the review Nmne of these studies reported statstucally
         s1gmficant reductions 111 cnme They concluded that "pullmg levers
         focused deterrence strategies are associated with an overall stat1st1cally-
         s1gn1ficant, medrum-szed crmme reduction effect" (p 7) However, they
         caut10n that focused deterrence has yet to be tested with a randomized
         control tr1al Their auton 1s also shared by others In Cook's (2012)
         commentary on the Hugh Pomnt focused deterrence mterventon, he
         observes that 1111t1al conclusions of eye-catchmgly large effects have
         been replaced with far more modest assessments of effect sizes and
         cautions about the generahzab1hty of the results Reuter and Pollack
         (2012) wonder whether a successful mntervent1on 1 a small urban area
         such as Hugh Pomnt can be replicated m a large city such as Chicago
         Ferner and Ludwig (2011) pomt out the difficulty 111 understandmg
          the mechamsm that underlies a seernmgly successful mterventlon that
          pulls many levers Despite concerns, these 111tervent10ns illustrate the
          potential for combmnmng elements of both certamty and seventy en-
          hancements to generate a targeted deterrent effect Add1t10nal evalu-
          at1ons of the efficacy of these multi pronged strategies should be a high
          pnonty, with the proviso that any designs unplemented be amenable
          to ngorous evaluat10n as emphasized by commentators For a useful

           9 ror Boston, see Cook and Ludwig (2006), for Richmond, see Raphael and Ludwig

         (2003), for Chicago, see Papachrstos, Meares, and Fagan (2007), for Pittsburgh, see
         Wilson and Chermak (2011), and for High Pomt, see Corsaro et al (2012)
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        d1scuss10n of the importance of understandmg mechamsms, see Lud-
        wig, Kling, and Mullamathan (2011) The theory behind focused de-
        terrence 111tervent1ons 111cludes attention to, among other thmngs, de-
        terrence, police leg1tmmacy, informal soc1al control, police/community
        relations, the prov1s1on of social services, and addressmng s1tuatonal
        factors Existing evaluat10ns do not address either the contnbut10n (1f
        any) of mdrvdual elements or their hkely mterplay


        C Summary
           The evidence 1s clear that large changes 111 police presence do affect
        cnme rates The change mn presence may be the result of an unplanned
        event, such as a terror alert that tnggers a large 111crease 111 police
        officers 111 public spaces, or 1t may be a strategic response to a known
        cnme problem, such as 111 hot spots polcmng deployments In either
        case, cnme rates are reduced 111 places where police presence has been
        mater1ally increased While far from definrtrve, there 1s no evidence of
        displacement of cnme to places contiguous to the heightened police
        presence, at least 111 the short run Indeed, there 1s some evidence of
        cnme reductions 111 the areas 1mmechately surroundmg the heightened
        presence By contrast, there 1s no evidence that the rap1d1ty of the
        response to cnme or the thoroughness of the postcnme 111vest1gat1on
        has a matenal 111fluence on cnme rates Comb111ed, these two sets of
        find111gs suggest that how police are deployed 1s as important as the
        number of police deployed 111 their mfluence on cnme rates
           Notwithstandmng these important findings, some add1tonal 1ssues
        about police presence remam unresolved The findmg from the hot
        spots poling evaluations that cr1me 1s not displaced to adjacent places
        may not hold up 111 the long run The seemmg d1ffus1on of cnme
         control benefits may evaporate as offenders become aware that the
         heightened patrol activity 1s not present mn adjacent places More fun-
         damentally, the hot spot itself may be displaced to some new locat1on,
         for example, to a bar that had not prev10usly been a cnrne hot spot A
         longer-term perspective on the effectiveness of hot spots polcmng 1s
         reqmred
            While the evaluations of hot spots pohcmg provide important ev1-
         dence that police presence can be a deterrent, overall cnrne control
         policy cannot be bult around such a narrowly formulated tactic Eval-
         uat1ons of problem-oriented pohcmng suggest police effectiveness m a
         wIder set of circumstances than intensive patrol of hugh cr1me m1cro-
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        places However, these evaluat10ns do not reveal the mechamsm by
        whch prevention 1s achieved
           The Introduction dustmngushed two d1stunct crmme preventon func-
        tons of the police their role as apprehension agents followmg the
        comm1ss1on of a crime and their role as sentinels In their sentmnel role
        the police are actmg, 111 the parlance of Cohen and Felson (1979), as
        "capable guardians " Capable guardians are persons whose presence
        discourages a motivated offender from vctmmuzmng a crmmnal oppor-
        tumty Capable guarchans mclude persons with no official crime control
        authority who nonetheless are personally w1llmg to mtervene or to
        summon those with the authority to mtervene The police themselves
        also serve as capable guardians 111 their conventional patrol and mon-
        itormg functions
            For many reasons the apprehension agent role 1s the most scrut-
        m1zed and recogmzed crime conti·ol funct10n of the police The appre-
        hension agent funct10n has been and contmues to be glamorized by
        telev1S1on m long-runnmg programs such as Dragnet 111 the 1950s and
         1960s, Hawan Fve-O m the 1970s, Hll Street Blues 111 the 1980s, Ho-
        nuczde Lzfe on the Streets 111 the 1990s, and CSJ and Law and Order mn
         the present The apprehens1on role 1s also salient because 1t 111volves
         the police response to real v1Ct1ms of sometimes horrendous crimes
         and the ensu111g efforts to bnng the perpetrators to Justice From a
         technocratic perspective, police effectiveness 111 this role can be mea-
         sured with statistics like the clearance rate From a crime control per-
         spectve, the apprehens1on agent function protects public safety by
         capturmg and 111capac1tatmg sometimes dangerous and repeot1ve of-
         fenders However, as yet there 1s no evidence that the apprehension
         agent role result~ 111 a material deterrent effect By contrast, the ev1-
         dence on police presence suggests that 111 their sentmel role police can
         have a very large deterrent effect vVh1le the differential deterrent ef-
         fect of the police m their apprehension and sentmel roles has not been
         demonstrated, there is sufficient evidence to character1ze 1t as a hy-
         pothesis with sufficient empmcal support to make 1t credible
            What then s the explanation for the differential deterrent effective-
          ness of the sentinel/guarchan and apprehension roles of the police? The
          model of the deers1on to vctumuze a crmmmnal opportunity lad out 1n
          the 111troduct1on, I believe, provides useful perspective on the answer
          The model distinguishes two key probablrtues the probabuhty that the
          opportumty can be successfully completed, P,, and the probability of
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        apprehension conditional on the vctmzaton of the target, P,. In th1s
        model, activates that enhance police vs1b1hty, such as concentration of
        police at crmme hot spots, affect P, whereas actions such as rapid re-
        sponse to calls for servce or improved investigation methods affect P,.
        The sent111el role of pohce 1s distinct from the apprehens1on role be-
        cause the latter comes mto play only when deterrence has failed and a
        would-be offender becomes an actual offender Thus, at one moment
        police can function as sent111els and 111 the next as apprehension agents
            The depct1on of the decs1on to vctumze a crmmmnal opportunity 1n
        figure 1 proVIdes an explanat10n for the greater deterrent effectiveness
        of the police 111 their sentinel role than 111 their apprehension role The
        police 111 their sentinel role 111fluence P, and thereby the probability of
        all four outcome branches In particular, improved guard1ansh1p re-
        duces the probability that the target can be successfully v1ct1m1zed and
         111creases the probability of the three outcomes that represent failure
         from the offender's perspective In contrast, improved effectiveness 111
         the apprehens1on agent role comes mnto play only after a cnme 1s com-
         mrtted and can affect only the three branches of the tree related to
         failure Thus, 111novat1ons that make police more effective sentmels will
         tend to be more mnfluental mn the decrs1on process characterized by
         this model than 111novat10ns 111 apprehens10n effectiveness
             The model 1s also useful 111 clanfymg the basis for the effectiveness
         of s1tuat1onal cnme prevention (Clarke 1995), many forms of which
         can be construed as reducmng P Just as police 111 their &entmel role
          reduce the attractiveness of a crmmmnal opportunity, situational cr1me
          prevent10n works by affectmg all four branches of the tree


                    VI Perceptual Deterrence and Sanct10n Risk Perceptions
                         Stud1es
         Analyses of perceptual deterrence exam111e the associat10n between
         perceptions of sanction nsk, whatever their source, and self-reported
         illegal behav10r or mtent to engage 111 illegal behav10r Analyses of
         sanction r1sk perceptions examine the relatonshup of an mndrvdual's
         perceptions with experience (e g., bemg arrested as well as factors ex-
         ternal to the mdrvdual such as statutorily defined penalties) Some
         stucbes address both topics, but most emphasize one or the other
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        A Perceptual Deterrence
            The perceptual deterrence literature was spawned by a cadre of re-
        searchers (Meier and Johnson 1977, Mmor 1977, Tittle 1977, 1980,
        Grasmick and Bryjak 1980) mterested m probmg the perceptual un-
        derpmnmgs of the deterrence process
            Perceptual deterrence studies have been based on three types of data
        cross-sect1onal survey stud1es, panel survey studies, and scenario-based
        studies In cross-sect1onal survey studies, mndrvduals are questioned
        about their percept10ns of the certamty and seventy of sanctions and
        about either their pnor offendmg behavior or their future mtent10ns
        to offend For example, Grasmick and B1ypk (1980) quened a sample
        of city residents about their perceptions of the rsk of arrest for offenses
        such as a petty theft, drunk dnvmg, and tax cheatmg They also asked
        respondents whether they thought they would commit any of these
        acts m the future In panel survey studies the sample 1s repeatedly
        surveyed on r1sk perceptons and crmmmnal behavor For example, Pa-
         ternoster et al (1982) followed a sample of students through their 3
        years 111 high school and surveyed them on the frequency with which
         they engaged m vanous delmquent acts and thenr percept1ons of the
         r1sks and consequences of bemg caught In scenario-based stuches, 111-
         drvduals are questioned about ther perception of the r1sks of com-
         m1tt111g a cnme that 1s descnbecl to them m detail They are also asked
         about their own behav10r should they find themselves 111 that s1tuat1on
         Bachman, Paternoster, and Ward (1992), for 1stance, constructed a
         scenario clescnbmg the circumstances of a elate rape They then sur-
         veyed a sample of college males about their perceptions of the nsk of
         the scenario male bemg arrested for sexual assault and what they them-
         selves would do 111 the same orcumstance
             Percept10nal deterrence research has been faulted with some ust1-
          ficat1on on a number of grounds One 1s that the sampled populations
          are typically high school or college students who do not, by and large,
          engage 111 senous cnme and clelmquency Other concerns are related
          to the veracity of the data collected How well can respondents actually
          cal1brate sanction risks? Do the ways m which questions about percep-
          tons of morality and sanction cost are struct1.1red prune responses
          about actual or projected offending? Despite these questons, 1n my
          Judgment thus class of studies has provided endurmng contributions to
          our understandmg of deterrence processes
             One contnbut1on 1s that, with the exception of the early panel stud-
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        1es, percept1on studies consistently find that actual or projected of-
        fendmg 1s negatively related to percept10ns of sanction certamty Fmd-
        mgs of a deterrence-like relat1onsh1p of self-reported offendmg with
        perceptions of sancton sever1ty are less consistent vVhen combmed,
        these two findmgs provide still further support for the "certamty" pnn-
        c1pal, but with a proviso that certamty results 111 a negative but not
        necessarily dracoman consequence Grasnuck and Brypk (1980) show
        that when respondents' assessments of the personal costs of the sanc-
        t1on are mcorporated mto the analysis, perceptions of seventy are neg-
        atvely associated with self-reported behavor
             A second contnbut10n of the perceptual deterrence literature, which
        may also be its most important, does not Involve the evidence rt has
        amassed on deterrence effects per se Rather 1t has focused its attention
         on the l111ks between formal and 111formal sources of social control
         Recogmt10n of this connection predates the perceptual deterrence lit-
         erature Zamrmg and Hawkans (1973) observe that "official actions can
         set off societal reactzons that may provide potential offenders with more
         reason to avoid convcton than the offinally 1mposed unpleasantness
         of pumshment" (p 174, emphasis 111 ongmal) See also Anclenaes
         (1974), Gibbs (1975), Blumste111 and Nagm (1976), and Williams and
         Hawkms (1986) for this same argument Perceptual deterrence re-
         search has consistently found that mdrvduals who report higher stakes
         m conventwnahty are more deterred by perceived nsk of public ex-
         posure for lawbreakmg
             A salient finclmg 111 this regard concerns my own research on tax
         evas1on Enforcement actions by tax authont1es are pnvate matters
         Cnmmal prosecut10ns, however, are the except1on to this rule They
         necessanly mvolve public exposure Thus, from the taxpayer's per-
         spectve, crvl enforcement act1ons jeopardize money but not reputation
         whereas cnmmal prosecut10n ieoparchzes both In Klepper and Nagm
         (1989a, 1989b), we found that 1f respondents perceived no nsk of crmm-
         mnal prosecution, a majority of respondents reported a mater1al prob-
         ability of takmg advantage of noncompliance opportu111t1es However,
         the perception of a nonzero r1sk of crmmnal prosecution was sufficient
         to deter most of the m1cldle-class respondents to the survey Stated
          cl1fferently, 1f the tax evasion gamble also mvolvecl putt111g reputat10n
          and cornmumty stanclmg at nsk, the rnicldle-class respondents to the
         survey were less likely to consider takmg the gamble
              While my tax evas1on research does not pm down the specific
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        sources of these costs, other research on the effects of a cnmmal record
        on access to legal labor markets suggests a real basis for the fear of
        st1gmat1zat1on (Freeman 1991, Bushway 1996) Freeman estimates that
        a record of 111carcerat1on depresses probability of work by I 5-30 per-
        cent, Waldfogel (1994) estimates that convcton for fraud reduces 1n-
        come by as much as 40 percent, and Bushway (1996) concludes that
        even an arrest for a mmor offense 1mpa1rs access to legal labor markets,
        at least mn the short run
           The findings from the perceptual deterrence studies directly relate
        to two of the mam themes of this essay The first concerns the
        source of the "certamnty" effect In laying out the implications of the
        model of the decs1on to vctum1ze a target, 1t was pointed out that the
        cost of apprehension appeared m two of the terms on the nght-hand
        s1de of equaton (2) Thus s1de of the equation measures the potent1al
        cost of offend111g the term measurmg the cost of apprehension without
        convct1on and the term measurmng the cost of apprehens1on wth con-
        VICtlon Formal and mformal sanct10n costs appeared only 111 the sec-
        ond of these terms Stated differently, apprehension cost 1s 1curred
        regardless of whether a conv1ct10n ensues, whereas sanction costs can
        be 1curred only 1f apprehension 1s followed by convcton Thus struc-
        ture formah?es the argument of \Nilhams and Hawkms (I 986) that
        what they call "fear of arrest" serves as a greater deterrent than formal
        sancton cost It 1s also ons1stent with the conclusion of my own re-
        search with coauthors Paternoster (Nagm and Paternoster 1993, 1994)
         and Pogarsky (Nagm and Pogarsky 2001, 2003) that 111chv1duals with
         the greatest stakes 111 confonmty were the most deterred by mformal
         sanction costs
            The fourth branch of figure 31s the total cost of formal and informal
         sanct10ns The perceptions research combmed with the cnmmal record
         research suggests that, for people without a crmmmnal record, informal
         sanct10n cost makes a large contrbuton to this total That contnbu-
         t1on may be substantially reduced once an mdiVIdual has had contact
         with the cnmmal JUSt:Jce system and obtams a cnmmal record This
         observat10n relates back to a pomnt I emphasized 111 Nag111 (1998) If
         fear of stigma 1s a key component of the deterrence mechamsm, pun-
         1shment must be a relatively rare event Just as the stigma of Hester
          Prynne's scarlet "A" depended on adultery bemg uncommon mn Pur1 tan
          Amenca, a cnmmal record cannot be socially and economically 1solat-
          mg 1f 1t 1s commonplace For that reason, policies that work well 111
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        the short term may erode therr effectiveness over the long run f they
        mcrease the proportion of the populat10n who are stigmatized
           This observation 1s also germane to the recommendat10n that future
        emp1r1cal research and theonzmg should take account of whether and
        how the experience of pumshment (which mn my view 1s inappropriately
        referred to as specific deterrence) affects the response to the threat of
        pumshment, or general deterrence The experience of pumshment may
        affect general deterrence 111 two distinct ways First, 1t may affect per-
        cept1ons of sanction rsks Second, 1t may affect the basic procliVIty for
        offendmg Proclivity could be reduced by effective rehab1litat1on pro-
         grams or an mndvdual's conclusion that prson 1s not an experience to
         be repeated However, proclivity could also be mcreased by st1gmat1-
         zat1on, eros1on of human capital dunng a spell of mncarcerat1on, or the
         social mfluence of close contact with a mostly cnme-prone populat10n
         Nagn, Cullen, and Jonson (2009) provide a detailed discuss1on of th1s
         Issue

        B Sanctton Rzsk Perceptzons Studies
           Studies of sanction nsk perception come mn three primary forms
        surveys of the general public's knowledge of the sanction regime, stud-
        1es of the effect of apprehension (or nonapprehens1on) on r1sk percep-
        tons and subsequent behavior, and scenario-based studes mn which
        respondents are questioned about thenr pereptons of the risk of ap-
                                                               10
        prehens1on and pumshment 111 specific circumstances
            l General Populaton Surveys Apel (2013) 1dentufies only two sur-
        veys of the general pubhc's knowledge of the statutory penalties for
        the types of cnme that compose the FBI's cnme mdex (e g, murder,
        robbery) Both are dated A survey of Tucson, Anzona, residents con-
         ducted 111 the 1970s suggests generally good knowledge of the types of
         sanct10ns (e g, fine, pnson) available for the pumshment of the 14
         types of cnme surveyed (\Nilliams, Gibbs, and Enckson 1980) Enck-
         son and Gibbs (1979) also find that respondents were reasonably well
         calibrated on the relative seventy of pumshments across types of cnme
         (e g, punishment for robbery 1s generally more severe than for lar-
         ceny) However, a 1960s study comm1ss1oned by the Cal1form1a Assem-
         bly Committee on Cnmmal Procedure (1968) found that the general

              For an exhaustive and thoughtful review, on which thus discuss1on draws heavily,
         see Apel (2013)
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        public's knowledge of the statutonly prescnbed level of pumshment
        was poor Only about a quarter of the sample correctly identified the
        maximum pnson sentence available for the pumshment of the vanous
        cnmes 111cluded 111 the survey However, 62 percent of 111carcerated
        adults correctly 1dentufied the maximum I return to the large difference
        111 knowledge between the mcarcerated and not-mcarcerated samples

        below
            There have also been general populatron surveys of sanction per-
        ceptons for two types of crimes marijuana use and drunk drrvmng-
        that are far more prevalent 111 the general population than cnmes such
        as robbery or burglary The surveys suggest far better, although hardly
        perfect, knowledge of the legally avarlable sanctions for these two of-
        fenses MacCoun et al (2009) describe a study by Johnston Lloyd,
        O'Malley, and Bachman (1981) of student knowledge of pumshment
        for mar1yuana possess1on In states that decrmmmal1zed possess1on be-
         tween 197 6 and 1980, the percentage reportmg a possible Jail sentence
         declmed from 58 percent to 18 percent Correspondmg changes for
         students lvmng mn states that did not decrmmmnalze were not as large
         This finding suggests that for populations mn which there s greater
         need-to-know of sanction nsks, knowledge of the rsks 1s better but
         strll crude For example, MacCoun et al (2009) also report that knowl-
         edge of the maximum penalties for marijuana use was not good Sur-
         veys of knowledge among adults of drunk-dnvmg penalties by Ross
         (1973) and Grube and Kearney (1983) also suggest greater awareness
         of the drunk-drvmng sanctions and available enforcement tools (e g,
          Breathalyzers) than correspond111g knowledge for street-type cnmes
            The Tucson-based survey and more recent surveys by Kleck and
          colleagues (Kleck et al 2005, Kleck and Barnes, forthcommng) attempt
          to assess the accuracy of sanctron nsk percept10ns Kleck et al (2005),
          for example, survey adults res1dmng mn 54 large urban countes For
          cnmes such as honuc1de and robbery, they correlate respondent est1-
          mates of quant1t1es such as arrests per cnme and conVIctions per cnme
          with ratios based on the actual data They find that the correlat1on 1s
          close to zero
             The results of the surveys by Kleck and colleagues are not surpr1smng
          on several counts First, for the reasons elaborated long ago by Beccaria
          and Bentham and most recently by Wikstrom et al (2012) and Apel
          (2013), most of the general public has no 111tent1on of comm1tt111g the
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        types of cnme surveyed 111 these studies 11 Thus, there is no reason for
        them to be aware of the sanction regime for these types of cnme
        Consequently, their Ignorance of the sanction regmme 1s not informative
        about whether people who have a potential need-to-know of the sane-
        non regime obtam that knowledge, however crudely, and take lt mto
        account 111 the dec1s1on whether or not to offend Second, the rat1os
        calculated by Kleck and colleagues pertamn only to crmmmnal opportu-
        mtres that have actually been acted on As first pomted out by Cook
        (1979), the rat10 of arrest per crime is not a valid measure of the risk
        of apprehension for crmmmnal opportunutes that are not acted on
        Third, statistics such as arrests per crime are calculated at the county
        or city level and may be very poor mndtcators of risk at the specific
        locat10ns where would-be offenders are plymg then- trade (Apel 2013)
            2 Studies of the Effect of Experience on Perceptzons Salient findmgs
         of the early panel perceptual deterrence studies mclude considerable
         mnstab1h1ty mn sanction rsk perceptions and that nonoffenders and nov-
         1ce offenders have h1gher sanction r1sk perceptions than experienced
         offenders Paternoster and colleagues (Paternoster et al 1982, Pater-
         noster 1983) called this an experiential effect ,vhereby delmquent
         youths learned that sanction risks were lower than 1111t1ally ant1npated
            An nnportant study by Horney and Marshall (1992) of senous of-
         fenders finds that subjects who had higher arrest ratos, that 1s, self-
         reported arrests to self-reported crime, reported higher risk percept10n
          Smee that tune a large number of studies have used long1tudmal data
          to analyze whether the effect of success or failure m avmdmg appre-
          hension mfluences sanction risk percepaons The analytllal strategy
          mvolves relatmg experience with success or failure mn pr1or survey
          waves with percept10ns of apprehension risk 111 later survey waves
          Stud1es of thus type by criminologists were prompted by an mfluentral
          article by Stafford and Warr (1993), who distinguished between two
          sources of 111format1on on sanction risk one's own experience and the
          experience of peers A parallel literature has also appeared m econom1cs
          based on the concept of "Bayesian updatmg "
             The Bayesian updatmg model and the arguments of Stafford and
          Warr are complementary Bayes1an updating formalizes their argu-
          ments The Bayes1an updating model 1s designed to describe the pro-

           11 Jn the context of the dec1s1on model laid out 111 Sec l, these are 111d1V1duals for

         whom the net reward of committing a crime 1s negative even without cons1clerat1on
         of sanction costs
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        cess by which people update their perceptions of a phenomenon of
        mterest on the basis of new mformation about that phenomenon In
        th1s case, mnd1duals would update thenr percept1ons of sancton rsk
        w1th new mformation regardmg success or failure of themselves or
        their peers m avoiding apprehension The predictions of the model
        depend on the specifics of its mathematical specification, but models
        of this typ e make predictions about the updating process that are m-
        tmt1vely sensible The models predict that people generally do not
        entirely abandon prior beliefs as a result of new 111format10n _i\llost
                                                             12
        commonly, they only mcrementally adiust them
            In the case of percept10n of apprehens10n risk, this implies that the
        experience of apprehension wll result mn an mcremental upward shift
        mn rsk perception, and experience of what Stafford and Warr (1993)
        call "apprehension avo1dance" wall result m an mcremental reduction
        mn r1sk A second predict10n of the Bayesian updatmg model is that the
        magmtude of the change will depend on the depth of prior knowledge
        Indrvduals wth more pr1or knowledge wll tend to adjust less to new
        111format1011 than mdividuals with less pnor knowledge In the context
        of sanction rsk perceptions, thus mmplies that mndrvduals with more
         experience with offendmng wll make smaller adjustments mn therr risk
         percept10ns based on current expenence with apprehens10n than will
         mndrvduals wth less expenence Both of these prechctions are sup-
         ported by studies of risk perception updatmg
             Concernmg the first predict10n, numerous studies find that mcreases
         (or decreases) 111 perceived apprehension rsk are assouated wth failure
         (success) m av01dmg apprehension (Bndges and Stone 1986, Piliav111
         et al 1986, Paternoster and Pquero 1995, Pogarsky, Piquero, and Pa-
          ternoster 2004, Pogarsky, Kirn, and Paternoster 2005, Matsueda,
          Kreager, and Hmzmga 2006, Lochner 2007, Hjalmarsson 2008) There
          are, however, except10ns to this findmg Apospon and Alpert (1993)
          and Pogarsky and Piquero (2003) report evidence that is the reverse
          of thus prediction Pogarsky and Piquero attribute thus to a varant of
          what is called the "gambler's fallacy" whereby offenders believe that
          bad luck is not followed by bad luck. This 1s an mteresting poss1b1l1ty,
          but the evidence is overwhelrnmgly consistent with the Bayesian up-
          datmg model

           12 Prior history may be ignored 1f a regune change (e g, the occupymg German

         army arrestmg the Da111sh police force) makes 1t irrelevant
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             Evidence consistent with the second pred1ct1011 1s reported 111 Po-
        garsky, Piquero, and Paternoster (2004), Matsueda, Kreager, and Hu1-
        zmga (2006), and Anwar and Loughran (2011) Anwar and Louglu·an
        conducted a particularly thorough test of this pred1ct1on They ana-
        lyzed a sample composed of about 1,300 ad1ud1cated/conv1cted youths
        from Anzona and Pennsylvama enrolled m the Pathways to Des1stance
        study who were mterviewed eight times 111 5 years (Mulvey 2011) Be-
        mng arrested significantly increased subjective probabltes (predict1on
         1 ), but the magmtude of the change was less for more expenenced
        offenders (pred1ct1011 2) Spec1fically, they showed that experienced of-
        fenders placed relatively more weight on ther pror subjective proba-
        bilities and therefore updated less 111 response to new arrests Inexpe-
        r1enced offenders, by contrast, updated more by plac111g more weight
         on their current arrest ratios and less weight on thenr pr1or subjective
         probabilities It 1s also noteworthy that they concluded that the effect
         of arrest on subjective probablrtes was specific withmn classes of crmmmal
         behavors youths arrested for aggressive cmnes did not update their
         subjective probabihtes concerning mncome-generating crimes Thus find-
         mg implies tlrnt there are not spillover effects across classes of cnme
             3 Studies of Situational Effects on Rask Perceptions This groupmg of
         studies exammes the effect of s1tuat10nal factors on nsk perceptions
         Particularly important 111 this regard are s1tuatonal factors that can be
         mampulated by policy, such as official sanctions and police presence
             As already noted, knowledge of official sanctions seems to be
         strongly affected by the need-to-know prmncrple Knowledge 1s better,
         but hardly perfect, among populations with the greatest 111volvement
         111 the 1llegal actlV!ty On the basis of the Cahforma assembly study, for
          example, knowledge of maximum penalties for various FBI mdex-type
          cnmes was far better for mcarcerated sample members than for not-
          mcarcerated sample members
              Other 111terestmg evidence of awareness of official sanctions 1s the
          prev10usly discussed study by Hjalmarsson (2009) of the effect of
          reach111g the age of major1ty on perceptions of the nsk of mcarcerat1on
          for auto theft She found that male respondents 111 the 1997 Natuonal
          Long1tud111al Survey of Youth mcreased that nsk by 5 2 percentage
          pomts upon reachmg their age of ma1onty The 111crease, however, had
          no statistucally significant effect on behav1or
              Evidence on how police presence affects perceptions of apprehens1on
          1sk 1s scant In my own work with Paternoster, we constructed see-
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        nanos and exammed how respondent percept10ns of sanct1011 nsks were
        affected by scenano cond1t1ons (Nag111 and Paternoster 1993) We
        found that respondent perceptions of sanction cost 111 a drunk-drvmng
        scenario were higher m the scenario condition mnvolvmng a polce crack-
        down on drunk dnvmg versus a scenano cond1t1011 descnbed as 111-
        volvmg state police cutbacks In add10011, perceptions of sanct1011 cost
        were lower 1f surveillance could be avoided by drrang on back roads
        In scenarios concernmg peer provocaton, Wikstrom et al (2012)
        found that adolescents reported a lower likelihood of volent response
        m scenario concht1ons 111 which adult momtors were present Evidence
        from ethnographic studies suggests that offenders are very conscious
        of police presence when selecong targets vVnght and Decker (1994)
        report that burglars av01cl neighborhoods with a heavy police presence
        and that robbers prefer to target 111d1v1duals unlikely to report the
         cnme to the police, such as drug dealers

        C Summary
           Perceptual deterrence research has established that self-reported of-
        fendmg or 111tent1011 to do so 1s hanked to sanction r1sk percept1ons
        The outstandmg quest1011 1s whether those perceptions are grounded
        mn realty If they are not, behavor 1s beyond the reach of public policy
        The eVJdence on the sources of sanct10n nsk percept10ns suggests that
        r1sk perceptons are affected by an mchv1dual's own expenence with
        success or failure at avertmg apprehens1011 The lmk between percep-
        t1on and the legally authonzed sanct10ns 1s less compellmg but does
        mndcate that there 1s at least a rough awareness among mchviduals m
        a need-to-know scenano The other key component of the sanction
        regnne 1s the mtensity of application of the legally authorized sanc-
         tons Research on thus top1c 1s based on general population studies of
         the correlaoons of perceptions of quantities of the rat10 of arrest to
         cr1mes with estimates of these ratios calculated from official statst1cs
         For reasons cl1scussecl above, m my Judgment these stuches are not
         mnformatve about whether perceptons of mntens1ty among the popu-
         laton with need-to-know sancton r1sks are affected by the actual 111-
         tensity of applcat1on of legally authorzed sanctions
            Pogarsky (2007) offers a useful taxonomy of responsiveness to legal
         threats for cons1denng the 1mphcat1ons of these summary observatJons
         The taxonomy dist111gmshes three groups acute confonmsts, cleterra-
         bles, and mcorr1gables In the context of the deers1on model laud out
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        m Sect10n I, conformists are mdrvduals for whom reward mmus com-
        miss10n cost 1s negative For reasons I have already discussed, they have
        no need to gam knowledge of sanction nsks because there 1s no profit
        m cnme even without potential sanction costs Deterrables are mnd1-
        vduals for whom reward mmus comm1ss10n cost 1s positive and who
        are attentive to sancton threats For such mndrvduals the 1ssue 1s
        whether the net benefit of successful comm1ss10n exceeds the potential
        costs attendmg failure The mncorngble group 1s also composed of
        mchv1duals for whom cnme is profitable but who for whatever reason
        are not attentive to sanction threats The relative sizes of the 1corr1-
        g1ble and deterrable groups and the specific form of the sanction re-
        gme will determme the effectiveness of crmmmnal justice public pol1cy
        m preventmg crime via deterrence and thereby avmdmg the sanct10n
        costs of mncapac1tat1on
           Future research on sanct10n nsk percept10ns needs to target Pogar-
        sky's deterrables and 111corng1bles to gam better knowledge of their
        awareness of the two key elements of the sanction regune the legally
        author1zed sanctions and the mntens1ty of therr apphcat1on For the
        types of crmme mn the FBI mdex this will reqmre abandonmg surveys
        of the general population and mstead sampling populations with a large
        representation of deterrables and mncorrgrbles An example of such a
        survey 1s the Pathways to Des1stance project used 111 the Anwar and
        Loughran (2011) analysis, which sampled juveniles adjudicated for fel-
        ony offenses 111 Philadelphia and Phoemx
           Surveys targetmg deterrables and 111corng1bles should also mclude
        batteries of questons des1gned to learn how the actions of the police
         and other guardians affect perceptions of the probability of success,
        which, for the reasons described m Section V, 1s likely to be particularly
         dec1s1ve m the deterrence process


                    VII Conclusions
         Over the past four decades, much has been learned about the foun-
         datons of deterrence that were laid out more than two centuries ago
         by Cesare Beccaria and Jeremy Bentham We now know that deter-
         rence 1s ub1qmtous but that the effects are heterogeneous, rangmg 111
         size from seemmgly null to very large There 1s l1ttle evidence that
         mcreasmg already long prison sentences has a material deterrence ef-
         fect Evidence on the deterrent effect of the certamty of pumshment
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        1s more consistent, but the source of the effect 1s less clear In this essay
        I have argued that the certa111ty effect stems pnmanly from police func-
        toning m their official guard1an role rather than mn their apprehens1on
        agent role
             These conclusions have important policy 1mplicat1ons that are de-
        veloped m detail m Durlauf and Nagm (201 lb) They suggest that
        lengthy pnson sentences cannot be Justified on deterrent grounds, but
        rather must be JUSt1fied either on cnme prevention through mncapac1-
         tat1on or on retributive grounds The crime prevention efficiency of
         incapacitating aged crmmnals 1s dub1ous, and thus the case for lengthy
         pnson sentences must rest on retnbut1ve considerations The conclu-
         s1ons also suggest that cnme control effectiveness would be unproved
         by shifting resources from corrections to polemng methods that en-
         hance the effectiveness of police m the1r official guardian role
             \Nh1le much progress has been made m understandmg sources of
          deterrence and the Circumstances m which deterrence 1s and 1s not
          effective, much rema111s to be learned Theory needs to be generalized
          to comb111e the response to the threat of pumshments, known as gen-
          eral deterrence 111 cnmmology, and the response to the experience of
          pumshment, which I have argued 1s mappropnately labeled specific
          deterrence A second theoretical and empmcal gap concerns the con-
          cept of a sanction regmme and 1ts two dimensions the legal author1ty
          for chfferent types of sanct10ns and the way 111 which authonty 1s ad-
          mm1stered These two d1mens1ons combine to determme the certa111t:y,
          seventy, and celent:y of sanction options available for pumshment of a
          specific type of cnme Theories of deterrence, however, specify sanc-
          t1on threats m the smgular, not 111 the plural Theories of deterrence
           that conceive of sanctions 111 the smgular do not provide the conceptual
           bas1s for cons1dermng the differental deterrent effect of different types
           of sanction opt10ns The empmcal compamon to this theoretical ex-
           pansion mvolves assembl111g the data reqmred to measure sanct10n re-
           gnnes
              A th1rd theoretical and empirical gap mvolves sanction nsk percep-
           tons Deterrence 1s the behavioral response to the percept10n of sanc-
           t10n threats Establishmg the lmk between r1sk perceptons and actual
           sanction regimes 1s Imperative because policy cannot directly man1p-
           ulate perceptions Unless perceptons adjust, however crudely, to
            changes 111 the sanction regime, the des!fed deterrent effect will not be
            achieved More research on the sources of sanct10n nsk perceptions 111
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        crime-prone populations 1s hkely to pay large drvdends for theory and
        policy
           The fourth major gap 111 theory and empmcal knowledge 111volves a
        thorough test111g of my contention that the guardian role, not the ap-
        prehens1on role, of the police is the most important source of their
        effectiveness 111 cnme prevention This theory also needs to be ex-
        panded to account for how the police and other guarchans affect the
        dstr1but1on of crmmmnal opportunities




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Review
Like ripples on a pond: Behavioral spillovers and their                                                                                       CrossMark

implications for research and policy
Paul Dolan, Matteo M. Galizzi
Department of Social Policy, Behavioral Research Lab, London School of Economics, UK
Centre for the Study of Incentives in Health, Institute of Psychiatry, King's College London, UK



ARTICLE                 INFO                            ABSTRACT

Article history.                                        No behavior sits in a vacuum, and one behavior can greatly affect what happens next. We
Received 30 March 2014                                  propose a conceptual frame within which a broad range of behavioral spillovers can be
Received in revised form 15 December 2014               accounted for when applying behavioral science to policy challenges. We consider behav-
Accepted 18 December 2014                               iors which take place sequentially and are linked, at a conscious or unconscious level, by
Available online 5 January 2015                         some underlying motive. The first behavior leads to another behavior which can either
                                                        work in the same direction as the first (promoting spillover), or push back against it (per-
JEL classification:                                     mitting or purging spillover). Looking through this conceptual lens at the existing evidence,
C18                                                     we find pervasive evidence for all kinds of spillover effects across a variety of fields and
C91                                                     domains. As a result, behavioral scientists, especially those seeking to inform policy, should
C93                                                     try to capture all the ripples from one behavior to the next when a pebble of intervention is
D03
                                                         thrown in the pond, and not just at the immediate behavioral splash it makes.
PsycINFO classification:                                 2014 The Authors. Published by Elsevier B.V. This is an open access article under the CC BY
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 Keywords:
 Behavioral spillovers
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 Nudges
 Crowding in/out




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         Corresponding author at: Department of Social Policy, Behavioral Research Lab, LSE Health, London School of Economics, Houghton Street, G09 Cowdray
  House, WC2A2AE London, UK. Tel. +44 020 7955 5386.
     E-mail address: m.m.galizzi@lse.ac.uk (M.M. Galizzi).


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1. Introduction

    Policymakers have begun taking seriously the results of behavioral research (Camerer, 1999; Camerer, lssacharoff,
Loewenstein, O'Donoghue, & Rabin, 2003; Congdon, Kling, & Mullainathan, 2011, Dolan et al., 2011; Shafir, 2012;
Sunstein, 2011, Thaler & Sunstein, 2003). This trend is to be welcomed but the various discussions of the evidence are typ-
ically made in 'behavioral silos', focusing on one specific behavioral response at a time (Thogersen, 1999a). Yet no behavior
sits in a vacuum and we need to consider the possible spillover effects from one behavioral response to the next.
    Imagine an intervention that successfully reduces energy consumption in the home, e.g. by installing LED light bulbs, but
that has the spillover effect of increasing energy use elsewhere, e.g. through leaving more lights on at work. Some or all of the
benefits from the reduction in CO, emissions could be lost (Gillingham, Kotchen, Rapson, & Wagner, 2013; Jacobsen,
Kotchen, & Vandenbergh, 2012; Thogersen & Crompton, 2009; Tiefenbeck, Staake, Roth, & Sachs, 2013). To inform policy,
we should ideally capture all ripples of behavior when a pebble of intervention is thrown in the pond. The 'mapping of these
 ripples is now one of the most exciting pursuits in psychological research' (Kahneman, 2011, p.53).

    2. Behavioral spillovers

         We propose a conceptual frame within which a broad range of 'behavioral spillovers' (Thogersen, 1999a) can be system-
    atically interpreted when applying behavioral science to policy challenges. Our framework is based on three building blocks.
         First, we begin by assuming that two different behaviors take place sequentially: behavior 1 is followed by behavior 2. This
    differentiates the analysis of behavioral spillovers from the long-established, distinct, literature on adaptive learning, which
    typically focuses on the repetition of the same behavior over time (e.g. learning in repeated games, as opposed to playing
    one-shot games, Fudenberg & Levine, 1998; Goeree & Holt, 2001, Vega-Redondo, 1996).
         The typical situation we have in mind is a sequence of two different behaviors where behavior 1 is the target of an inter-
    vention. An intervention is defined broadly here: it could be a policy intervention by a public decision-maker, or an exper-
    imental manipulation by a researcher. Implicitly, the following discussion is conducted on the presumption that we can
    compare a 'treatment' case where behavior 1 is targeted by an intervention with a 'control' group where there is no inter-
    vention. What we would like to emphasize, however, is that the key focus of our interest here is what happens to behavior
    2 as the consequence of the intervention.
          It is not uncommon, in fact, to find studies in the economics and psychology literatures where it is looked at when and
     how a policy intervention could 'backfire' in the sense of having unintended compensatory or offsetting effects with respect
     to the ones originally envisaged by the decision-maker (e.g. Schultz, Nolan, Cialdini, Goldstein, & Griskevicius, 2007). For
     instance, for interventions in the context of risk and safety (e.g. seat belts in cars), the theories of risk compensation, risk
     homeostasis, or behavioral adaptation have since long argued that people can adjust their behavior in response to the per-
     ceived level of risk (Asch, Levy, Shea, & Bodenhomn, 1991, Bhattacharyya & Layton, 1979; Cohen & Einav, 2003; Evans &
     Graham, 1991, Garbacz, 1990a, 1990b, 1991, 1992; Peltzman, 1975; Rudin-Brown & Jamson, 2013; Schoemaker, 1993;
     Viscusi & Cavallo, 1994; Wilde, 1982a, 1982b, 1998; Wilde, Robertson, & Pless, 2002). This is an interesting but distinct ques-
     tion, the difference with our focus here being that those analyses typically look at the impact of the intervention on the same
      behavior originally targeted, not at what happens to another behavior occurring later on.
           To narrow further down the scope of our analysis, we exclude from our remit two types of 'interventions' that deserve
      separate investigation. The first one refers to all those situations where behavior 1 is not conceptually distinguishable from
      the intervention itself. Some archetypical examples of these situations refer to the literature on priming (Bargh, 1990;
      Gollwitzer, Heckhausen, & Steller, 1990). Priming occurs unconsciously when 'the passive activation of trait categories in
      one situational context carried over to influence social judgments in subsequent, ostensibly unrelated contexts' (Bargh, 2006,
      p.148). Among the many examples, more self-sufficient behavior was prompted by the mere presence of a pile of Monopoly
      notes or a screensaver with various denominations of currency (Vohs, Mead, & Goode, 2006), whereas more cooperative, or
      competitive, behavior was prompted by the mere presence of a backpack, or a briefcase, respectively (Kay, Wheeler, Bargh, &
      Ross, 2004). As another 'ideomotor' example, subjects shown pictures of a library spoke more quietly thereafter than subjects
      shown pictures of a railway station (Aarts & Dijksterhuis, 2003).
           While in all these priming situations, the intervention clearly affects a subsequent behavior, it is also clear that 'behavior
       1' consists of the mere exposure to the priming manipulation itself which, more often than not, is a subliminal presentation
       of words or images. In other words, rather than a triplet 'intervention -- behavior 1 - behavior 2' most priming situations con-
       sist of a manipulation and a single behavior.
           The second area excluded from our analysis pertains to price mechanisms and financial incentives. For instance, the overall
       use of energy can increase in response to an environmental policy intervention that results in lower costs of the energy. We
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do not see this effect as a 'behavioral spillover', though: it is merely a market adjustment to a relative price change, similarly
to many other 'rebound' effects commonly referred to as 'Jevons paradoxes' (Alcott, 2005; Jevons, 1866).
     Analogously, the economic and psychology literature on financial incentives has since long highlighted the 'hidden costs' of
incentives (Fehr & List, 2004), including crowding out of intrinsic motivation (Deci, Koestner, & Ryan, 1999; Frey &
Oberholzer-Gee, 1997); changing social norms or individual beliefs about social norms (Gneezy & Rustichini, 2000a,
2000b; Heyman & Ariely, 2004); interacting in unpredictable ways with reciprocity, reputation, and social comparison con-
cerns (Ariely, Bracha, & Meier, 2009; Dur, Non, & Roelfsema, 2010; Fehr & Gachter, 1997; Gachter & Thoni, 2010; Greiner,
Ockenfels, & Werner, 2011, Rigdon, 2009); and 'choking' due to the anxiety aroused by relating payment to performance
(Ariely, Gneezy, Loewenstein, & Mazar, 2009). In such cases, incentives may 'backfire', in that they result in the opposite
effects to the ones originally envisaged (Benabou & Tirole, 2003, 2006; Fehr & Falk, 2002; Kamenica, 2012). The focus of such
'unintended consequences' of financial incentives, however, has mainly been on the same behavior originally targeted by the
incentive. With few exceptions (e.g. AI-Ubaydli, Andersen, Gneezy, & List, in press; Dolan & Galizzi, 2014), this stream of lit-
erature has not looked at the spillover effects that incentives may have on behaviors other than the one directly targeted. For
the same reasons highlighted above about the studies on risk compensation and price adjustments, we thus exclude the lit-
erature on financial incentives from our analysis, and reiterate that our core interest here is on what happens to behavior 2
after the intervention.
     The second building block of our conceptual framework is that we assume that the two subsequent behaviors are linked,
 at a conscious or unconscious level, by some underlying motive. With motives here we mean a broadly intended range of
 factors that drive behavior (Bargh & Barndollar, 1996). When behaviors occur under conscious deliberation and individuals
 are fully aware of their preferences, the motive can be represented as the argument of a standard utility function, as typically
 postulated in traditional economics models.
      More generally, motives can also be conceptualized as deep preferences, 'self-defining' or 'identity goals' (Wicklund &
 Gollwitzer, 1981, 1982), or 'long-term goals, major affiliations, and basic values' (Baumeister, 1986): individuals may at times
 be uncertain over these motives, may not consciously attend to them, or may even be unaware of them, because, for instance,
 of imperfect recall, or because distracted by other more salient or tempting options (Aarts & Dijksterhuis, 2000; Akerlof &
 Kranton, 2000; Bargh & Barndollar, 1996; Bargh, Gollwitzer, Lee-Chai, Barndollar, & Trotschel, 2001; Benabou & Tirole,
 2006, 2011, Chartrand & Bargh, 1996; Della Vigna, 2009; Dijksterhuis & Bargh, 2001; Dijksterhuis, Bos, Nordgren, & van
 Baaren, 2006; Dijksterhuis & Nordgren, 2006; Gneezy, Gneezy, Riener, & Nelson, 2012; Gneezy, Imas, Brown, Nelson, &
 Norton, 2012; Gollwitzer, 1990; Kahneman, 2003; Kruglanski et al., 2002; Norton, 2012; Novemsky & Dhar, 2005; Trope
 & Fishbach, 2000).
      To visualize this most general case, what we have in mind is an analytical framework such as the prominent 'Beliefs As
 Assets' model for moral behavior by Benabou and Tirole (2011), to which we refer for a full theoretical analysis. For the sake
 of illustration only, we report here a simplified variant of the Benabou and Tirole (2011) model inspired to the 'general sat-
  isfaction' idea by Frijters (2000) and Van Praag, Frijters, and Ferrer-i-Carbonell (2003), and to its extension in terms of the
 Adaptive Global Utility Model (AGUM) by Bradford and Dolan (2010).
      In our setting, we imagine that an individual derives satisfaction from k= 1,. .K primitive life-satisfaction 'accounts': for
  instance, wealth, health, career, family, morality, friendship, pleasure, purpose, political engagement, the environment, and
  so on. In this setting, motives correspond to those life satisfaction accounts, the 'deep preferences' driving individual choices
  and actions. The multiplicity of motives reflects the fact that, in reality, we may hold different, possibly conflicting, identity
  goals simultaneously (Baumeister & Vohs, 2007; Carver, 2003; Carver & Scheier, 1998; Dhar & Simonson, 1999; Fishbach &
  Dhar, 2005; Kruglanski et al., 2002; Louro, Pieters, & Zeelenberg, 2007; Simon, 1967; Stroebe, Mensink, Aarts, Schut, &
  Kruglanski, 2008; Susewind & Hoelzl, 2014), and corresponds to the case of 'multidimentional identity' in Benabou and
  Tirole (2011 ).
      We next imagine that X" represents the space of all possible behavioral outcomes. For instance, think at an outcome as a
   consumption bundle, an allocation of money across different destinations, or a distribution of time or effort among different
   activities. A specific behavioral outcome x e X" is thus an observable metrics: the amount of money spent in a luxury good
   or donated to a charity; the hours in a day spent working, exercising, or volunteering; the number of CO emissions. Indi-
   viduals are assumed to have a, conscious or unconscious, single preference relation, >, which supports a one-dimensional
   ranking across all pair-wise comparisons of possible outcomes (x4,x,) e X" where (x4, x,) represent N-dimensional vectors of
   specific points in the overall behavioral outcomes space X.
       What is more, we assume that there exists a profile of preference relations
                                                                                                                                 (1)
 which maps the possible outcomes (x4.x,) e X" onto rankings defined over each of the k= 1, .K primitive life-satisfaction
 'accounts' for a specific individual. Thus, for instance, one behavioral outcome can be preferred to an alternative over a
 motive ( e.g. pleasure, career) but not over another one ( e.g. health, family).
     As in the AGUM model, one can visualize each preference relation using functional relationships
  v() XsR,             k=1,       ,k,such that /(x) v(x,) if and only if x,       xy. These functions can be rationalized as value
 functions of the direct satisfaction from a behavioral outcome for each of the k= 1,. K primitive accounts, such that the sin-
 gle vector of outcomes x; simultaneously generates K measures of direct life satisfaction. This reflects the idea that the same
  behavior or mean can serve more than one identity goal ('multifinality' in Shah, Friedman, and Kruglanski (2002)).
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    Importantly, besides direct satisfaction from a behavioral outcome, each motive's life satisfaction also includes indirect
utility from self-perception or self-image t( ) over that same account. This reflects the idea that we may derive satisfaction
not just from tangible behavioral outcomes, but also from the accumulation of signals and beliefs about our own identities
(Benabou & Tirole, 2011; Gomez-Minambres, 2012; Mazar, Amir, & Ariely, 2008; Nisan & Horenczyk, 1990; Tesser, 1988;
Wicklund & Gollwitzer, 1981 ). For instance, in the prominent context of donations, one can derive direct utility from con-
tributing to a public good ('pure altruism') but also indirectly from feeling good about the act of giving itself (e.g. the
'warm-glow' in Andreoni (1990)). In line with the 'self-inference' process described by Benabou and Tirole (2011), in fact, indi-
viduals derive indirect satisfaction from signals because they may have no conscious access to their deep preferences, or
because they recall their true motives and identities only imperfectly. The indirect satisfaction from self-image signals,
moreover, is a key channel through which the various self-regulation mechanisms based on entitlement and justification
take place (De Witt Huberts, Evers, & De Ridder, 2014; Hsee, 1995; Kivetz & Simonson, 2002; Kivetz & Zheng. 2006;
Merritt, Effron, & Monin, 2010; Mukhopadhyay & Johar, 2009).
    Alike in Benabou and Tirole (2011) we imagine that the accumulation of self-image follows a dynamic process, where the
 levels of!\ ) at t=2 typically depends on the outcomes of behavior 1 and on the initial level of self-image in that account,
 that is: I,,= I(a_;l,,)where t= 1,2 refers to the time when behavior 1 and 2 take place respectively. This reflects the idea
 that self-beliefs are, to some extent, 'malleable through actions' (Benabou & Tirole, 2011). In what follows we assume that
 there are no links between self-images across different motives (e.g. 'being healthy' and 'being green'), but we will return
 to this point in Section 7.
     We further imagine that the account value functions can be combined into an ultimate 'global life-satisfaction' function as
 in Frijters (2000) and Van Praag et al. (2003). Alike in the AGUM model, one way to do it is by attaching increasing and quasi-
 concave weights on() to each particular life account, and, for instance, taking a linear generalized utilitarian form for the
 global satisfaction such as

       Uoo =   )ova).1o»                                                                                                       (2)
                k

    The weight attached, consciously or unconsciously, to a specific life satisfaction account reflects the facts that the value of
a given motive can be known only at a subconscious level (Bodner & Prelec, 2003; Fishbach, Friedman, & Kruglanski, 2003;
Simon, 1967), and that at times people may even be unaware of the existence of some accounts ( e.g. one may be unaware of
career or family motives before getting a job, or meeting the significant other, respectively). This also reflects the idea of
'multidimentional identity' in Benabou and Tirole (2011), where people tradeoff between different dimensions of identity
'linked by uncertainty over their relative value' (p.815). Equivalently, the weights attached to each life satisfaction account
can be interpreted in terms of attention (Chabris & Simons, 2011, Dolan, 2014; Kahneman, 1973; Moskowitz, 2002), or as
indicators of the cognitive 'accessibility' of each specific construct: the higher is the weight, the more accessible is the motive
(Forster, Liberman, & Higgins, 2005; Goschke & Kuhl, 1993; Higgins & King, 1981, Kruglanski, 1996; Kruglanski & Webster,
1996; Shah & Kruglanski, 2002, 2003; Srull & Wyer, 1979; Zeigarnik, 1927).
     Finally, alike in the AGUM model, we imagine that the weights attached to each account can also change over time fol-
lowing a dynamic process similar to the one imagined for the self-images. In particular, the weight of motive k at time t=2,
co) typically depends on the initial level of the weight at t=1, and on the outcomes of behavior 1, that is
 0= (x,0,_) where t= 1, 2 refers to the time when behavior 1 and 2 take place respectively. Here too we imagine
 that there are no cross-motives effects on the weights. Such a dynamics of weights readjustment does not necessarily need to
 be conscious or deliberate, though. Weights attached to different motives can shift as result of an unconscious reprioritiza-
 tion process where an unattended goal 'demands' a higher priority by 'intruding on awareness' (Carver, 2003; Simon, 1967).
 For instance, not only intrusive thoughts, rumination, and dreams, but also moods, affects, and emotions can often manifest
 themselves as calls for reprioritizing weights across identity motives (Carver, 2003; Forster et al., 2005; Fredrickson, 1998;
 !sen, 1987, 2000; Isen & Simmonds, 1978; Lewin, 1951; Martin & Tesser, 1996; Simon, 1967; Tesser, Crepaz, Collins, Cornell,
 & Beach, 2000; Trope & Neter, 1994; Trope & Pomerantz, 1998).
     In our setting, thus, having a high motive is the amalgamation of three main factors: enjoying direct satisfaction from the
 behavioral outcome('/ have just donated £10 to a good cause'); benefitting from the associated self-inference('/ am a good
 person'); and, consciously or unconsciously, attaching a high weight to that motive in terms of life satisfaction ('Being a good
 person makes me happy').
     This conceptualization of the motives naturally lends itself to introduce the last building block of our framework, the link
  between behavior 1 and 2. In our framework, in fact, the first behavior leads to a subsequent behavior which, as the motive is
  concerned, can either work in the same direction as the first, or push back against it.
      Consider the initial motive to reduce CO emissions by cycling or car-sharing to work (Evans et al., 2013). This could lead
  to another behavior which also reduces emissions, e.g. by using the train instead of the airplane for domestic travel. We refer
  to this sequence of behaviors with concordant sign as a promoting spillover: the initial push to the motive promotes a further
  increase later on.
      The same first behavior, however, might instead lead to another behavior which increases emissions, e.g. using the car
  more with our family. We refer to this as a permitting spillover: the initially increased motive permits a subsequent disen-
  gagement from the same. There is then a final class of spillovers, which we call purging, where the second behavior is moti-
  vated out of a, conscious or unconscious, desire to undo some of the damage caused by the first behavior. For example, we
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might use the train for holidays in response to using long-haul flights for work, so that the 'environmental' motive is first
undermined and then restored.
     In practice, the sequence of concordant or discordant signs can be visualized referring to the observable behavioral out-
come, while the motive's self-image and weight mainly illustrate the mechanisms linking the two behaviors. Consider these
further examples.
     Wearing a charity's pin today (behavior 1) can have a number of effects on tomorrow's charitable giving (behavior 2). On
the one hand, it can highlight an underlying 'pro-sociality' motive of which we were previously unsure or even unaware,
leading us to attach a higher weight to that account tomorrow. This more accessible motive, in turn, may lead us to delib-
erately maximize the direct utility from donating to a charity tomorrow, thus triggering a promoting behavioral spillover.
Similarly, signing at the top of a tax return form before filling it out, can lead to unconsciously highlight a previously unat-
tended 'morality' account, with the result of cheating less in the subsequent tax declaration (Shu, Mazar, Gino, Ariely, &
Bazerman, 2012).
      On the other hand, if the 'pro-sociality' motive has already some positive weight attached to it, today's wearing of the
charity's pin can boost our self-image of 'being a do-gooder'. In turn, this can lead to permitting spillovers through two chan-
 nels. If the utility from self-image is a, perfect or imperfect, substitute for the direct satisfaction from donating money, we
can end up donating less to a charity tomorrow. Alternatively, or concurrently, having already accomplished, or attended to,
 the 'pro-sociality' motive today means that resources can be, consciously or unconsciously, redirected toward other accounts
 tomorrow, with a consequent reprioritization of weights that also leads to donate less to the charity tomorrow.
      On the other hand, a small lie today when claiming a welfare benefit (behavior 1) can have various effects on tomorrow's
 'moral' behavior (behavior 2). For instance, as long as the 'morality' motive is already accessible, today's lying can depress our
 self-image of 'being a good person'. In turn, this can lead to purging spillovers through two channels. If the disutility from a
 depressed self-image is a, perfect or imperfect, substitute for the direct satisfaction from paying taxes, we can cheat less in
 our tax declaration tomorrow in order to restore our satisfaction in that account. Alternatively, or concurrently, depressed
 self-image leads to a weight reprioritization that increases the accessibility of the 'morality' motive tomorrow. This height-
 ened accessibility, in turn, may also lead us to cheat less in our tax declaration tomorrow.
      Finally, one can also imagine cases of all-negative promoting spillovers. For instance, lying to claim a welfare benefit today
  can compress or temporarily 'shut down' the underlying 'morality' motive, leading us to no longer attach any weight to that
  account of life satisfaction tomorrow. This reduced accessibility, in turn, may lead us to cheat more in the tax declaration
  tomorrow under the presumption that our moral identity 'has already gone', thus triggering a 'downward spiral' all-negative
  promoting spillover.
      Fig. 1 illustrates some further possible examples of promoting, permitting, and purging spillovers in the context of health
  behavior.
      Our tri-partition of behavioral spillovers is thus in line with the well-established distinctions in psychology between con-
  sistency (assimilation) and contrast ( compensatory) behavior (Bargh et al., 2001, Bem, 1972; Cialdini, Trost, & Newsom, 1995;
  Conway & Peetz, 2012; Cooper & Fazio, 1984; Dijksterhuis & Bargh, 2001; Dijksterhuis et al., 1998; Festinger, 1957; Gneezy,
  lmas et al., 2012; Liberman, Forster, & Higgins, 2007; Mussweiler, 2003; Norton, 2012; Schwarz & Bless, 2005); and between
  reinforcing (highlighting) and compensating (balancing) self-regulatory dynamics (Baumeister, Heatherton, & Tice, 1994;
  Carver, 2003; Carver & Scheier, 1981, 1998; Dhar & Simonson, 1999; Fishbach & Choi, 2012; Fishbach & Dhar, 2005;
  Fishbach, Koo, & Finkelstein, in press; Fishbach & Zhang, 2008; Fishbach, Zhang, & Koo, 2009). In economics, our tri-partition
  echoes the distinctions between motivation crowding-in and crowding-out; complement and substitution effects; and positive
   and negative externalities (Benabou & Tirole, 2003, 2006; Frey & Oberholzer-Gee, 1997; Gneezy & Rustichini, 2000a, 2000b ).
       Also, our tri-partition openly reckons that, when it comes to compensatory or contrast behavior, the order of discordant
   signs really matters (Forster, Grant, Idson, & Higgins, 2001, Truelove, Carrico, Weber, Raimi, & Vandenbergh, 2014). The psy-
   chological drivers beyond permitting and purging spillovers, in fact, are conceptually and practically very distinct. The per-
   mitting versus purging distinction, for instance, is closely in line with 'self-completion theory' (Wicklund & Gollwitzer,
   1981, 1982), which postulates that, upon achieving an identity-relevant goal, we can feel 'complete' and thus 'temper'
   our future identity goal strivings. Conversely, upon experiencing a failure in pursuing an identity goal, we can feel 'incom-
   plete' and step up our goal striving. The distinction is also in line with the closely connected 'cybernetic control', 'feedback-
   loop', or 'cruise control' model (Carver, 2003; Carver & Scheier, 1981, 1982, 1990, 1998): while after feeling a failure we

                                                                             Behavior 2
                                                                      Eat healthy               Eat Less Healthy
                                                                      Promoting                    Permitting
                                                A run after
                                                               Iran an hour, let's keep     Iran an hour, I deserve a
                                                   work
                                                                  up the good work              big slice of cake
                                  Behavior 1
                                                                       Purging                     Promoting
                                                Sofa-sitting                                 I've been lazy today, so
                                                 after work    I've been lazy today, best   what the heck, let's have a
                                                                not eat so much tonight          big slice of cake

                          Fig. 1. Examples of promoting, permitting, and purging behavioral spillovers in health behavior.
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              Fig. 2. Main types of promoting, permitting, and purging behavioral spillovers documented in the behavioral science literatures.


typically try harder in an attempt to catch up, after experiencing a progress in excess of our envisaged target we are likely to
'coast' a little, 'not necessarily stop, but ease back' (Carver, 2003, p. 246). In our setting, this temporary 'pull back' dynamics is
one of the mechanisms explaining how 'freed up' resources can lead to reprioritize weights across motives.
    All the above conceptualizations in psychology and economics have insofar proceeded along parallel streams, and our
framework attempts to bring them closer together. Looking at the evidence from behavioral science through our conceptual
lens, we can see that spillovers are documented extensively across a variety of fields and domains: Fig. 2 summarizes the
 main types of promoting, permitting, and purging spillovers.

    3. Promoting spillovers

        The two archetypical promoting spillovers are the cognitive dissonance (Bern, 1972; Festinger, 1957; Festinger &
    Carlsmith, 1959) and the foot-in-the-door effects (Burger, 1999; Freedman & Fraser, 1966; Pliner, Hart, Kohl, & Saari,
    1974). What they have in common is that both essentially posit a preference for consistency (Alberracin & Wyler, 2000;
    Cialdini, 1984; Cialdini et al., 1995): we tend to behave consistently with our prior actions and beliefs. So, for instance, if
    we have already agreed to a relatively costless request (e.g. signing a petition in favor of 'Keeping California Beautiful'), we
    are more likely to agree to another more costly request ( e.g. displaying a large signboard in the front lawn supporting safe
    driving) (Burger, 1999; Freedman & Fraser, 1966). In an all-negative analogy, if we have already rejected a highly demanding
    initial request, we are less willing to grant a smaller request later on (Dejong, 1979).
        In some ways analogous to van Heisenberg's uncertainty principle in physics, the intention-behavior effect posits that the
    mere measurement of intention can have an influence on subsequent behavior (Morwitz & Fitzsimons, 2004; Morwitz,
    Johnson, & Schmittlein, 1993). Simply asking people whether they intended to vote increased their actual participation in
    the following day's elections, whereas merely measuring purchasing intention led to higher purchases of PCs or cars
    (Fitzsimons & Morwitz, 1996).
         Similarly, in question-behavior and survey effects, the mere fact of answering hypothetical questions or being surveyed can
    remind subjects of a motive not previously attended to (Fitzsimons & Moore, 2008; Fitzsimons & Shiv, 2001; Fitzsimons &
    Williams, 2000; Levav & Fitzsimons, 2006; Moore, Neal, Fitzsimons, & Shiv, 2012). Households assigned to more frequent
     health surveys, one year later had higher levels of chlorine in their stored drinking water, or were more likely to take up
     health insurance (Zwane & et al., 2011 ). Consumers who, during a door-to-door survey, were asked to imagine themselves
     subscribing to cable TV, few months later were more likely to actually subscribe to it than neighbors who just received infor-
     mation about the service (Gregory, Cialdini, & Carpenter, 1982).
         Rationality crossovers promote the use of economic rationality from a behavior occurring in market-like settings (e.g. a
     choice between two lotteries in presence of arbitrage), to a subsequent behavior taking place in the absence of financial
     incentives (e.g. non-market valuation of willingness to pay) (Cherry, Crocker, & Shogren, 2003; Cherry & Shogren, 2007). Sim-
     ilar forms of extrapolation have been documented by experimental economists looking at the links between the lab and the
     field (Harrison & List, 2004; Levitt & List, 2007a, 2007b; Levitt, List, & Reiley, 2010). Successful skills and heuristics evolved in
     some familiar situations carryover to other similar field or lab settings: for instance, experienced sports-cards dealers did not
     fall prey to the typical winner's curse in a lab auction (Harrison & List, 2008), whereas professional football players played
     more equilibrium strategies than students in laboratory coordination games (Palacios-Huerta & Volji, 2008). These
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rationality crossovers are conceptually close to some of the semantic or procedural priming effects documented in the psy-
chology literature (Forster, Liberman, & Friedman, 2007; Gollwitzer et al., 1990; Kruglanski et al., 2002; Neely, 1977).
     Experiments in game theory have found that playing a sequence of two different strategic games is not the same of play-
ing one of the games in isolation (Knez & Camerer, 2000). Two distinct cross-games spillovers can occur, both of which are
essentially promoting spillovers (Bednar, Chen, Liu, & Page, 2012). First, players can learn about the structural properties
of a game and transfer this knowledge to another game, e.g. whether the game is a coordination game (structural learning,
cross-games learning: Cooper & Kagel, 2003; Huck, Jehiel, & Rutter, 2011, Mengel & Sciubba, 2010). Second, when playing a
game, subjects can resort to cognitive or behavioral heuristics developed while playing another game (Bednar et a1., 2012). If
subjects had previously bid more aggressively in an auction, they next tended to contribute less in a subsequent public good
game ( Cason & Gangadharan, 2013; Cason, Savikhin, & Sheremeta, 2012; Savikhin & Sheremeta, 2013 ). Low donors to a char-
ity cooperated less in a subsequent, unrelated, prisoners' dilemma game (Albert, Guth, Kirchler, & Maciejkovsy, 2007). Play-
ers managed to coordinate their moves more efficiently in a game if they had previously played another game in which they
 had experienced efficient coordination (precedent: Knez & Camerer, 2000) (Ahn, Ostrom, Schmidt, Shupp, & Walker, 2001,
 Devetag, 2005; Knez & Camerer, 2000). If subjects had played a structurally similar (different) game before, they were
 quicker (slower) to achieve equilibrium in another game (Grimm & Mengel, 2012).
     Carryover effects of emotions and self-herding suggest that incidental emotions not only directly affect decisions at an
 unconscious level, but also indirectly spillover on other subsequent choices and actions taking place long after the initial
 emotional experience (Harle & Sanfey, 2007; Lerner, Small, & Loewenstein, 2004). This is because, when we look back to
 our initial behavior, we tend to misattribute it to some of our deep preferences rather than to a fleeting emotion, and we
 choose our subsequent actions to follow suit the same inferred path (Andrade & Ariely, 2009). For instance, subjects who
 first watched a video that induced anger were not only more likely to reject unfair offers in a following, unrelated, ultimatum
 game than subjects who watched a happy video; but also made fairer offers to their partners in a subsequent dictator game,
 and even in a second ultimatum game where they acted as proposers (Andrade & Ariely, 2009). Conceptually similar is the
 already discussed self-signaling or self-inference tendency (Benabou & Tirole, 2011, Gneezy, Gneezy et al., 2012). For instance,
 wearing counterfeit sunglasses can send a self-signal that we are cheaters, which can then lead us to actually cheat more
 when reporting our performance in a math puzzle task ( Gino, Norton, & Ariely, 2010).
      According to the what-the-hell effect, another all-negative promoting spillover, once individuals decide upon a course of
 behavior that is inconsistent with a motive (a diet), they are less likely to take the middle ground (low fat cookie) and more
  likely to exacerbate their failure to behave in line with the motive (eating the whole bag of cookies) (Herman & Mack, 1975;
  Herman & Polivy, 2010; Urbszat, Herman, & Polivy, 2002). Similar abstinence violation effects have been documented among
  alcoholics (Collins & Lapp, 1991), smokers (Shiffman et al., 1996), and drug users (Stephens & Curtin, 1994).

4. Permitting spillovers

     Ego depletion is perhaps the 'classic' case of permitting spillovers: after having exerted high levels of self-control or effort
 in the first behavior, the same subject exerts lower levels of effort or self-control in the second behavior. Having resisted the
 temptation of indulging in sweets, or stifled emotions in emotion-arousing movies, subjects gave up earlier in impossible-to-
 solve puzzles (Baumeister, Bratslavsky, Muraven, & Tice, 1998). Having completed a difficult puzzle, subjects were more
 likely to cheat on their performance in an ostensibly unrelated task (Mead, Baumeister, Gino, Schweitzer, & Ariely, 2009).
 Ego depletion has physiological roots, in that to exert self-control we draw from a limited pool of mental energy: physical,
 but also mental activities consume energy that is converted from glucose into neurotransmitters (Baumeister & Vohs, 2007;
 Baumeister, Vohs, & Tice, 2007; Gailliot et al., 2007).
      Moral licensing is a permitting spillover where, after having done 'well' in behavior 1, we act as ifwe have earned the moral
 entitlement to reward ourselves in behavior 2. Using the metaphor of a 'moral bank account', good deeds establish moral
 credits that can be withdrawn to purchase the right to undertake 'bad' actions. Subjects who, in a hypothetical choice to
  appoint a manifestly better candidate for a job, had the chance to establish they were not racist or sexist, were more likely
  to make prejudiced choices in a subsequent harder hiring decision (Monin & Miller, 2001 ). Subjects who said they were
  endorsing Obama in political elections, then allocated money to a charity fighting poverty in a white rather than in a black
  neighborhood (Effron, Cameron, & Mon in, 2009). Advisors who disclosed their conflict of interest to advisees provided more
  biased advices ( Cain, Loewenstein, & Moore, 2005 ). Subjects who first imagined teaching homeless children were less likely
  to donate to a local charity part of the experimental earnings, and made more frivolous purchases afterwards (Khan & Dhar,
  2006; Strahilevitz & Myers, 1998).
      Other related 'permitting' spillovers are the resting on laurels effect, by which seeing a progress as a sub-goal makes us
  spending less effort toward the final goal (Amir & Ariely, 2008 ); the single-action bias, by which an initial motive-directed
  action induces the impression that no further action is needed, even when is actually beneficial (Weber, 1997); the reverse
  foot-in-the-door effect, by which having said 'yes' to a request (e.g. signing a petition in favor of greater government aid for
   the homeless) leads to say 'no' to another request later on ( e.g. volunteering to help at a canned food drive for the homeless)
  (Guadagno, Asher, Demaine, & Cialdini, 2001 ); and the already mentioned 'coasting' tendency, by which after having
   exceeded our target rate of progress, we typically 'ease back' subsequent effort for the same motive (Carver, 2003).
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5. Purging spillovers

    Moral cleansing (or' Lady Macbeth effect') is the reverse of licensing: a purging spillover where, after having done 'badly', we
act as if we need to restore our integrity. Subjects who hand-copied a story describing in the first person an unethical act,
manifested higher desirability of cleansing products over neutral items, and, when offered the choice between an antiseptic
wipe and a pencil, were more likely to take the antiseptic wipe (Zhong & Liljenquist, 2006). Participants who recalled a past
unethical deed but also had cleansed their hands with an antiseptic wipe volunteered less to help out a colleague (Zhong &
Liljenquist, 2006). Subjects who first hand-wrote a story using words for negative traits gave more to a local charity
(Sachdeva, Iliev, & Medin, 2009), while participants who were induced to lie to a fictitious person on the phone, preferred
mouthwash over soap, whereas the opposite held for subjects induced to lie in an email (Lee & Schwarz, 2010).
    Similarly, the conscience accounting effect posits that people who have earned a given payoff by lying or stealing are more
likely to donate to a charity than subjects who have earned the same amount without deceiving: anticipating this, subjects
lied more when they knew that there would be an opportunity to donate immediately afterwards (Gneezy, Imas, &
Madarasz, in press).
    Other 'purging' spillovers related to moral cleansing are the transgression-compliance effect and the negative state relief by
which, after that our personal values or moods (respectively) are affected by a negative state, we tend to act more altruis-
tically in the attempt to restore them (Car!smith & Gross, 1969; Manucia, Baumann, & Cialdini, 1984). Subjects led to believe
that they had harmed someone else, were then more likely to comply with a request or to help a third person when given the
opportunity (Manucia et al., 1984). Subjects with artificially 'lowered' mood but who also received an unexpected gratifying
 praise, however, no longer had to act altruistically to restore their mood (Manucia et al., 1984).
    The moral balancing and self-concept maintenance effects share the same 'compensatory ethics' idea of both moral licens-
 ing and cleansing (Zhong, Ku, Lount, & Murnighan, 2010), and posit that people who think highly of themselves in terms of
 honesty behave dishonestly only to the extent to which they can retain their positive views of themselves (Mazar et al.,
 2008; Nisan & Horenczyk, 1990): when given the possibility to cheat on their payments with no consequences, subjects
 cheated only about 20 percent of the maximal possible amount they could get away with (Mazar et al., 2008).

6. Facilitating conditions for promoting, permitting, and purging spillovers

         Spillovers from one behavior to the next could thus lead to either amplify or offset the initial intervention effect on the
    motive. From both the research and the policy perspective it seems imperative to explore under which conditions behavioral
    spillovers are more likely to manifest themselves as promoting, permitting, or purging: when is an initial nudge likely to feed
    into a further push to the motive, and when instead into a push-back?
         There is, surprisingly, relatively little systematic research on this key point (Fishbach et al., in press; Susewind & Hoelzl,
    2014). Mazar and Zhong (2010), for instance, explicitly compare priming and licensing effects. Subjects who previously were
    merely exposed to a store selling green items, then, in an ostensibly unrelated dictator game, shared more money than those
    who were exposed to a conventional store. This pattern, however, completely reversed when subjects selected products to
    purchase: participants who had purchased in the green store shared less money in the dictator game than those who had
    purchased in the conventional store.
         Looking more broadly at the various literatures in the behavioral science, it is possible to identify at least five main
    streams of research that have looked at the boundary conditions that facilitate the occurrence of promoting, permitting,
    and purging spillovers. They focus, respectively, on: (i) the relative costs of behavior 1; (ii) the completeness of behavior
     1 and its interaction with the focus of attention; (iii) the concreteness and the (temporal or spatial) proximity of behaviors
     1 and 2; (iv) the trade-offs between different motives, or between a motive and a resource; and, finally, (v) the cognitive
     mindset during the two behaviors. In what follows we try to distill and summarize the state-of-the-art evidence from those
     streams of literature.
         On (i), Gneezy, !mas et al. (2012) explicitly investigate the role of different costs of behavior 1 on the type of spillover.
     They find that subjects who donated part of their own earnings to a charity were less likely to deceive their counterpart
     in a subsequent sender-receiver game, while subjects who participated into a costless charitable donation were more likely
     to lie. This suggests that permitting spillovers are more likely over promoting when the costs of behavior 1 are low. High
     costs, in fact, self-signal the commitment toward the motive in question. Dolan and Galizzi (2014) link these findings to
     the distinct literature on financial incentives in health: they focus on whether incentives targeting one health behavior
     (physical exercise) spillover to another non-targeted health behavior (healthy eating), and find that spillovers are more likely
     to manifest themselves as permitting when the incentives associated to behavior 1 significantly outdo its costs. Relatedly,
     and in line with counter-attitudinal advocacy, promoting spillovers are less likely to occur when we can attribute our behavior
      1 to an external cause, such as being paid or coerced to do something (Pittman, 1975; Zanna & Cooper, 1974). The different
     overall costs of behavior 1 can also explain why in some situations encountering and resisting a temptation can automati-
     cally activate the weight attached to a motive and thus lead to promoting spillovers, as postulated by counteractive control
      theory (Fishbach et al., 2003; Kroese, Evers, & De Ridder, 2009, 2011 ), while in other occasions it can trigger permitting spill-
      overs through the activation of justification and entitlement feelings (De Witt Huberts et al., 2014; Hsee, 1995; Kivetz &
      Simonson, 2002; Kivetz & Zheng. 2006; Merritt et al., 2010; Mukhopadhyay & Johar, 2009). The literatures on justification
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and entitlement, in fact, show that what matters for self-regulatory dynamics are perceived costs and efforts, rather than
their actual levels (Clarkson, Hirt, Jia, & Alexander, 2010; De Witt Huberts, Evers, & De Ridder, 2012; Kivetz & Zheng,
2006; Werle, Wansink, & Payne, 2011 ).
       On (ii), Fishbach et al. (in press) argue that permitting spillovers are more likely over promoting when, while pursuing a
goal, individuals focus on completed, rather than missing, actions. This is because, generally, missing actions increase moti-
vation by self-signaling a need for progress. This, however, depends on the underlying motive and focus of attention (Marsh,
Hicks, & Bink, 1998). Similarly to what discussed above, Fishbach and Dhar (2005) argue that what really matters is the
perception of progress rather than its objective level. Attention to completed actions, in fact, signals personal commitment
and increases motivation when we are not yet committed to our goals, while attention to missing actions signals a need
to progress and increases motivation when we are already committed.
       Fishbach et al. (in press) observe that this combines with the so-called 'goal-gradient hypothesis': regardless of the focus of
attention, motivation increases with proximity to a goal's end state (Brown, 1948; Forster, Higgins, & Idson, 1998; Hull,
1932; Kivetz, Urminsky, & Zheng, 2006). For instance, consumers in a coffee-shop's 'buy 10, get 1 free' program (a song-rating
website) accelerate their purchases (site visits) as they get closer to the final reward (Kivetz et al., 2006). A simple psycho-
 physical explanation of the goal-gradient effect is that 'the last action accomplishes 100% of the remaining progress, which is
 twice the impact of the second-to-last action' (Fishbach et al., in press, p. 39). Using a similar psychophysical argument,
 Fishbach et al. (in press) observe that, when striving toward a goal, we are more motivated when we focus on whichever
 is smaller in size between the completed and the missing actions. According to this 'small-area hypothesis', at the beginning
 of goal pursuit, when our commitment is typically low, the focus on completed actions increases motivation by signaling
 commitment, while later on, beyond the midpoint, the focus on remaining actions increases motivation by self-signaling
 need to progress (Fishbach et al., in press). This potential mechanism for promoting spillovers would also explain why moti-
 vation is typically lower in the middle of goal pursuit, a phenomenon known as 'stuck in the miclc/le' (Bonezzi, Brend!, & De
 Angelis, 2011 ).
       On (iii), Conway and Peetz (2012) find that permitting spillovers are more likely over promoting when we visualize
 behavior 1 in a concrete and tangible fashion. This is because abstract construals tend to activate self-identity considerations,
 while concrete constructs may activate self-regulatory or compensatory mindsets (Trope & Liberman, 2003). For instance,
  subjects who were asked to describe how they would perform a 'fair, friendly, generous' behavior donated less money to a
  charity than subjects who described how they would perform an 'unfair, unfriendly, greedy' behavior, whereas no difference
  was found for subjects discussing what those traits would mean for their personality. Similarly, subjects who were asked to
  make concrete plans to exercise later that day, consumed more sweet snacks in a subsequent tasting test than control sub-
 jects who only wrote abstract statements (Kronick & Knauper, 2010). Coherently with the idea that distal events are per-
  ceived in a more abstract way, while temporally proximate events are perceived more concretely (Liberman, Sagristano,
  & Trope, 2002; Trope & Liberman, 2003), the same pattern emerged when concreteness was manipulated in terms of recall-
  ing deeds 'within the past week' (concrete), as opposed to 'over one year ago' (abstract). Similarly, Fishbach and Zhang (2005)
  find that permitting spillovers are more likely over promoting when in each behavior the two options ( e.g. healthy and
  unhealthy food items) are physically presented together, and they seem to complement each other. Conversely, promoting
  spillovers are more likely to occur when the two options appear spatially apart, and seem to compete against each other.
        On (iv), Dhar and Simonson (1999) propose that promoting spillovers are more likely in situations where each behavior
  involves a trade-off between a motive (e.g. pleasure) and a resource ( e.g. money): for instance, after having chosen a tasty,
  expensive entree over a less tasty, less expensive entree, we are more likely to choose a tasty, expensive main course over a
   less tasty, less expensive one. Permitting spillovers, however, are more likely to occur in situations where each behavior
   involves a trade-off between two motives ( e.g. pleasure and health): for instance, after having chosen a healthy en tree over
   a tasty one, we are more likely to prefer a tasty, over a healthy, main course.
        On (v), Cornelissen, Bashshur, Rode, and Le Menestrel (2013) argue that permitting spillovers are more likely over pro-
   moting when we are in an outcome-based mindset rather than a rule-based mindset. The reason is that in an outcome-based
   ( consequentialist) mindset we appraise the consequences of each behavioral alternative both for ourselves and for the others
   involved, allowing us to be relatively flexible when trading off different motives. Moral rules, at the contrary, do not naturally
   lend themselves to such trade-offs, because 'a rule is a rule'. They find that subjects who recalled a past episode that they
    thought was ethical 'because it benefitted other people' (outcome-based mindset) cheated more in their payments than sub-
   jects who recalled a past episode that was unethical 'because it hurt other people'. In contrast, subjects asked to recall a past
    episode that was ethical because they did their 'duty to follow an ethical norm or principle' (rule-based mindset) cheated less
    in their payments than subjects who recalled a past episode that was unethical because they did not their duty.
        More broadly, it should be noted that exploring under which conditions spillovers are most likely to be promoting, per-
    mitting, or purging, is a necessary but not a sufficient condition to be able to draw conclusions on the overall effect of a
    sequence of behaviors. Both researchers and policy-makers, in fact, would typically be interested also in quantifying the rel-
    ative magnitude of behavioral spillovers. There is virtually no evidence at date, in the lab nor in the field, from systematically
    testing head-to-head two or more types of spillovers, with the objective of measuring their relative strength, magnitude, and
    persistence over time. Quantifying the magnitude of permitting and purging spillovers, in particular, is imperative in order to
    disentangle 'rebound' from 'backfire' (or 'boomerang') effects (Gillingham et al., 2013; Goeschl & Perino, 2009; Jacobsen
     et al., 2012; Jenkins, Nordhaus, & Shellenberger, 2011 ): although the two terms are often used interchangeably, from a policy
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perspective it is crucial to conceptually distinguish when the net effect of the two behaviors results in an overall increase or
decrease in the behavioral outcome (Tiefenbeck et al., 2013).

7. Future directions and challenges

     Lab and field experiments across all the behavioral sciences thus show that behaviors are history-dependent and that
spillovers are pervasive. From the methodological perspective, this reinstates the importance of the current best practices
by lab researchers of counter-balancing sequences of tasks and explicitly controlling for order effects. It is encouraging to
see that field and online experiments increasingly adhere to such practices even in settings which are naturally less control-
lable than the lab.
     Evidence shows that spillovers occur through deliberation and also unconsciously. This confirms the importance of con-
sidering a broad operational definition of behaviors and motives, consistent with the recognition of the major role of auto-
matic, involuntary, and unconscious processes in human decisions and behavior (Aarts & Dijksterhuis, 2000; Bargh &
Chartrand, 1999; Chaiken & Trope, 1999; Chartrand & Bargh, 2002; Chartrand, Huber, Shiv, & Tanner, 2008; Dijksterhuis
& Nordgren, 2006; Fitzsimons et al., 2002; Kahneman, 2003, 2011, Wilson & Schooler, 1991 ). Our framework can be used
to consider the ripple effects of sequences of behavior and not just the initial splash from the first behavioral response.
As such, it provides the glue that can help to hold together our understanding of the conscious and unconscious spillovers
from one behavior to the next. It also provides a useful lexicon for researchers and policy decision-makers from different
fields and perspectives.
     From a research and policy perspective, we should abandon 'behavioral silos' and 'sector-thinking' (Thogersen, 1999a).
The impact of a policy intervention can be greatly enhanced in presence of promoting spillovers, but it can also be severely
 hindered, or completely jeopardized, by the occurrence of permitting effects. And this is to further disregard the possible role
 of purging spillovers as potential levers to trigger envisaged changes in behavior.
     There are a number of outstanding issues. Most of the evidence to date documents the occurrence of spillovers within
 short temporal horizons. We know very little about the longevity of spillovers beyond the time frame typically considered
 in lab experiments (Fitzsimons & Morwitz, 1996; Gregory et al., 1982; Tiefenbeck et al., 2013; Zwane et al., 2011 ). The design
 of field experiments in naturalistic settings is practically challenging if one really wants to map all possible ramifications of a
 behavior. This gap in the evidence calls for a further integration of longitudinal surveys and experimental methods in behav-
 ioral science, and for higher efforts to link experiments, administrative records, and 'big data' that are already available
 (Dolan & Galizzi, in press).
      Future efforts should also be directed toward understanding the contexts and domains under which spillovers are most
 likely to take place. Most of the evidence at date, in fact, considers spillovers occurring within the same domain, such as envi-
 ronmental behavior (Evans et al., 2013; Jacobsen et al., 2012; Lanzini & Thogersen, 2014; Poortinga, Whitmarsh, & Suffolk,
 2013; Thogersen, 1999a, 1999b; Thogersen & Crompton, 2009; Thogersen & Olander, 2003; Tiefenbeck et al., 2013); pro-
 social behavior (Branas-Garza, Bucheli, Espinosa, & Garcia-Munoz, 2013; Cornelissen et al., 2013; Effron, Miller, & Monin,
 2012; Gneezy, Imas et al., 2012; Gneezy et al., in press; Jordan, Mullen, & Murnighan, 2011, Merritt et al., 2010, 2012;
 Norton, 2012; Ploner & Regner, 2013; Zhong & Liljenquist, 2006); or health behavior (Chiou, Wan, Wu, & Lee, 2011;
 Chiou, Yang, & Wan, 2011, De Witt Huberts et al., 2012; Dolan & Galizzi, in press; Effron, Monin, & Miller, 2013; Epstein,
  Dearing, Roba, & Finkelstein, 201 0; Kroese et al., 2009, 2011; Van Kleef, Shimizu, & Wansink, 2011, Werle, Wansink, &
  Payne, 2010; Wilcox, Vallen, Block, & Fitzsimons, 2009; Wisdom, Downs, & Loewenstein, 2010).
      There is little evidence on whether spillovers can occur across different domains, and whether such cross-domains spill-
  overs are most likely to be promoting, permitting, or purging (Baird, Garfein, McIntosh, & Ozier, 2012; Khan & Dhar, 2006;
  Mazar & Zhong, 201 0; Sachdeva et al., 2009). Conceptually, such spillovers can be visualized as cross-motives links between
  self-images ('I am healthy and environment-friendly'), accounts weights ('what makes me happy is working hard and being a
 goocl father') or both. From the policy perspective, a comprehensive mapping of the links between behaviors, contexts,
  and domains will illuminate not only which areas to target to induce behavior change, but also where to start from
  (Thogersen, 1999a). For example, does more responsible behavior at school feed into healthier choices, or what happens
  if we start by 'nudging' healthy behavior instead?
       Evidence is also missing on whether behavioral spillovers are only related to specific contexts, domains, and situations, or
  whether they are also explained by differences across people, such as personality, cognitive skills, and socio-economic con-
  ditions (Borghans, Duckworth, Heckman, & ter Weel, 2008; Heckman, 2007a, 2007b; Heckman & Rubistein, 2001).
      We should finally seek to better understand the neuro-physiological roots of behavioral spillovers. Research in neurosci-
  ence has substantially advanced our current understanding of the neural correlates of human decision-making and behavior
  (Camerer, Loewenstein, & Prelec, 2005; Glimcher, Fehr, Camerer, & Poldrack, 2008). The forthcoming efforts to thoroughly
   map the human brain will provide precious insights on how the numerous ripples documented here might spread through
   the complex network of our mind.
       Notwithstanding these open questions, the time seems ripe to explicitly account for the pervasive impact of behavioral
   spillovers. Behavioral scientists, especially those seeking to inform policy, should try to capture all the ripples when a pebble
   of intervention is thrown in the pond, and not just the immediate splash it makes.
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M ethodology


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Analyzing the concept of spillover effects
for expanded inclusion in health economics
research                                   Journal of Comparative
                                                                                                                       Effectiveness Research
                                                           1
K Jane Muir*· 1            & Jessica Keim-Malpass
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    Department of Acute and Specialty Care, University of Virginia School of Nursing, Charlottesville, VA 22903, USA
1

Author for correspondence: kjm5xw@virginia.edu



Background: The incorporation of spillover effects in health economic research is recognized by regulatory
agencies as useful for valuing health interventions and technologies. To date, spillover effects are not uni-
versally used within economic evaluations and conceptual definitions of spillover effects are vague within
the context of health economics research. Materials & methods: In an effort to enhance awareness of
spillover effects for health economic evaluations, a concept analysis using Walker and Avant's approach
was performed to elucidate the key attributes, definitions, antecedents and consequences of spillover
effects across a range of disciplines. Results: Key attributes included lack of intention, positive and neg-
ative impacts, and two entity/domain involvement. Antecedents included an initial action and desired
outcome. Consequences involved spillovers across industries, work life to personal life domains, patient
to family member domains and across healthcare markets. Conclusion: The analysis provides greater clar-
ification around the dimensions of spillover effects and reveals opportunities to enhance methodological
approaches to assessing spillovers.

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Keywords: concept analysis • economic evaluations • health economics • spillover effects


Health economic evaluations have been indicated to facilitate decision-making around medical interventions,
technological advancement, pharmaceutical innovation, healthcare professional workforce projections and other
healthcare-related topics [1-3]. Given rising US healthcare spending, information gleaned from economic evaluations
can lead to the appropriate allocation of resources needed to improve patient outcomes, healthcare systems, health
policy and other healthcare-related decisions [3).
   Economic evaluations are commonly classified as cost-effectiveness analyses, cost-utility analyses and cost-
benefit analyses [4]. The various economic evaluation techniques similarly compare costs in the form of monetary
units and differ with regards to measuring consequences (4,5). For example, cost-effectiveness analyses, as described
by Drummond and colleagues [4], measure a single consequence in the form of a natural unit, such as blood sugar
reduction, life years gained or averted missed work days. Cost-utility analyses can measure outcomes of interventions
based on preferences or utility weights. Cost-utility analyses are considered a broader type of cost-effectiveness
analysis. common cost--utility measurement is the quality-adjusted life year [). Cost--benefit analyses focus on
a single cost and benefit measurement in the form of a monetary unit alone t4,s). The availability of multiple
economic evaluation techniques is beneficial for evaluating health programs and interventions, as well as resource
allocation decision making where value judgments may vary by research question or approach [4,5].
   An important concept discussed in the health economics literature is spillover effects, known as the health impacts
and costs that extend beyond a health intervention or program's targeted recipient (the patient) to unintentionally
impact other recipients either in a positive or negative way [6,7]. Health economic studies have predominantly
assessed spillover effects within the family unit, where a patient's health status spills over to impact the quality oflife
of a family member [6]. Despite acknowledgement by the Second US Panel on Cost-Effectiveness in Health and
                                                                                                                                     Future?
Medicine that spillover effects are needed to enhance cost and benefit estimates of health interventions, a gap exists
                                                                                                                                     Medicine"

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Table 1. Spillover effect concept characteristics.
Attributes                                               Antecedents                             Consequences

• Unintentional                                          • Initial action                        • Unintentional impact from one entity to a second
• Positive or negative impacts                           • Desired outcome                       entity
• Two entity/domain involvement                                                                  • Cross-industry, interpersonal, professional life to
                                                                                                 personal life domain




                     in health economics research regarding universal inclusion of such effects [8]. A potential cause of such spillover
                     effect exclusion could be uncertainty around the concept of spillover effects, given the existing focus in health
                     economics on the family caregiver spillover domain [9,10].
                        The purpose of chis analysis was ro examine the concept of spillover effects in order ro identify defining attributes,
                     antecedents and consequences across a variety of academic disciplines. An expanded analysis of the concept across
                     multiple disciplines can inform increased integration of spillovers within health economic evaluations. Additionally,
                     an analysis of the concept may expand the types of spillovers evaluated in health economic studies. The concept
                     analysis consists of an eight-step process outlined in subsequent paragraphs, followed by implications for health
                     economics research.



                      Concept analysis of spillover effects
                      In analyzing the concept of 'spillover effects', a systematic eight-step procedure was conducted using Walker and
                      Avant's concept analysis process [9]. The Walker and Avant [91 concept analysis process consists of: selecting a
                      concept, determining the purpose(s) of the analysis, identifying uses of the concept, defining attributes, identifying
                      a model case, identifying contrary cases, identifying antecedents and consequences and defining empirical referents.
                      The first two steps of Walker and Avant's approach (concept selection and purpose development) are addressed in
                      the introduction; the remaining steps are discussed in the following sections [9].


                      Materials & methods
                      The concept of interest for the analysis was spillover effects, which is identified in a variety of terms in the
                      literature as 'spillovers', 'spillover effects' and 'externalities' among a wide range of academic disciplines. These terms
                      were all considered related to the identified concept of spillover effects. For the analysis, the literature search was
                      restricted to heal ch economics, psychology, sociology and business. A comprehensive search of the literature was
                      conducted using PubMed, Google Scholar and Ovid Medline to understand the range of definitions and uses of
                      spillovers. The primary search terms and Medical Subject Headings terms used either in combination or alone
                      were 'spillover', 'spillover effects', 'externalities, 'economic', 'economic evaluation', 'economic modeling', 'Markov',
                      'cost-effectiveness', 'health', 'nurse', 'nursing', 'physician', 'caregiver', 'psychology', 'sociology' and 'business'. The
                      search was filtered such that keywords were identified in the title and abstract of the articles. The article inclusion
                      criteria included: articles or white papers that included the words 'spillovers' or 'externalities' written in English
                       language within the past l5 years. Papers published in non-peer-reviewed journals, as well as gray literature and
                      editorials were included.
                          A total of 50 articles chat met the inclusion criteria were initially reviewed. A total of 34 articles were selected [10-
                      41,44,45). A total of21 articles were from the health economics discipline, six from psychology, four from sociology
                       and three from business. The majority of excluded articles discussed mathematical modeling of spillover effects,
                       which was not relevant to the current research topic. The identified literature was reviewed and analyzed to identify
                       attributes, antecedents and consequences of spillover effects (Table 1).


                       Identifying uses of the concept
                       The initial seep of the analysis involved examining the definition of 'spillovers' in the dictionary and uses in the
                       relevant published literature. According to Merriam-Webster (42), 'spillover refers to 'an extension of something,
                       especially when an excess exists' Use of the term 'spillover effects' are discussed in the following sections within the
                       domains of health economics, psychology, sociology and business. A total of 23 of the articles explicitly described
                       a definition of spillover effects, while the remaining articles described examples without clear definitions.



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                                                                                         Spillover effects concept analysis   Methodology



Uses in health economics
Spillover effects were examined within the academic discipline of health economics and were discussed as either
'spillovers', 'spillover effects' or 'externalities'. Within the health economics field, spillovers were most commonly
discussed in relation to a health intervention, scientific advancement or technological development. Gold m,
discusses spillovers, synonymous with externalities, as a positive or negative market exchange impacting individuals
or groups who are not direct participants in such exchanges (p. 66). In a case study discussion on measuring
spillover effects of patients with meningitis, Bhaduri and colleagues [22], refer to spillovers as 'wider health benefits'
 impacting patients in addition to individuals who are close to the patient (p. 1). Lakdawalla and colleagues [26),
defined spillovers within the concept of scientific spillovers as the benefit of a scientific advancement imparted upon
future knowledge development. Scientific spillovers occur when one advancement is made and other scientists,
researchers or innovators expand on the given idea or advancement over time.
   Much of the health economics literature studied spillovers in the context of the family caregiver or informal carer.
Caregiver spillover effects, first introduced by Basu and Meltzer [6], refer to the various conditions, treatments and
contacts that impact the welfare of family members. Spillovers manifest as the caregiver health effects and/ or informal
care time costs resulting from the health status/condition of a family member or close individual [13]. Spillovers
have also been explored in terms of their impact on healthcare markets and provider practice patterns. A study by
Johnson and colleagues [271, posited that decreases in fee-for-service traditional Medicare spending resulted from
the spillover effect of increased Medicare Advantage penetration within states. Baicker and Robbins [16], found that
a 10% increase in Medicare Advantage state penetration was associated with an approximate US$250 reduction in
fee-for-service traditional Medicare resource use per patient. Cost-controlling measures within Medicare Advantage,
such as the presence of health maintenance organizations, resulted in decreased costly inpatient hospitalizations
and more cost-reducing outpatient service use. Overall, the health economics literature considered spillovers the
 impacts that extend beyond a patient and impact individuals or groups within a social network of a patient.



 Uses in psychology
 Within the psychology discipline, spillovers were discussed as an attitudinal or behavioral transfer from one life
 to domain co another [30,32]. In smdying shift work among nurses with families, Kunst and colleagues referred
 to spillovers as "  transfers of mood, energy and skills from one sphere to another soy. Spillovers were described in
 psychology as bidirectional in movement, occurring between work and family life domains [30]. Behavioral spillovers
 were a particular domain of spillovers in the psychology literature defined as a secondary process that can lead
 to larger-scale societal and scientific consequences [33]. Nash and colleagues described behavioral spillover theory
 as, "a way to catalyze broad lifestyle change from one behavior to another in ways that generate greater impacts than
 piecemeal interventions" [34]. Behavioral spillovers have been contextualized within environmental impacts within
 countries, where the concept of a conscious spillover can be cultivated in countries that value pro-environmental
 behavior [34]. Additional behavioral spillovers have evaluated exercise and healthy eating practices [34]. Overall,
 spillovers in psychology emphasized behaviors and the transfer of emotional or behavioral influences from one life
 or societal domain co another.



  Uses in sociology
  Uses of spillover effects 111 the sociology literature shed light on intersections between individual disparities,
  institutions and social outcomes. Timmermans and colleagues situated their qualitative study on lack of health
  insurance spillovers based on neoclassical economic underpinnings (37]. Within chis study, spillovers were discussed
  as 'collateral effects' and 'externalities' that are costs or benefits resulting from activities impacting "an otherwise
  uninvolved party who did not choose to incur that cost or benefit ts7. Spillovers were further described as a tool to
  examine the effects of activities between entities that are unrelated but seemingly impacted by one another [37).
  In studying the spillover effects of deterrence strategies co reduce crime, Braga and colleagues did not explicitly
  define spillover effects, but reference them as synonymous with indirect effects (38]. Hagan and Foster (36], assessed
  spillovers in the context of incarcerated mothers and the associated 'social costs' incarceration can have on children's
  education. Thus, the identified sociology literature referred to spillovers as the unintentional impacts of a policy,
  process, or phenomenon on societal institutions and outcomes.



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                Uses in business
                In the business literature, spillovers were discussed in the con text of innovation and idea expansion between groups.
                Frischmann and Lemley [39], define spillovers as the, "uncompensated benefits that one person's activity provides
                to another". Grillitsch and Nillson (1), examined knowledge spillovers in Swedish firms chat are located within
                industrial 'clusters' or regions of high local knowledge density versus firms chat are located within a knowledge
                'periphery'. The study found that innovative firms in the knowledge periphery collaborate with external firms to
                compensate for the lack of knowledge spillovers that are gained by firms located within the knowledge/industrial
                cluster [41].
                    In a business advertising context, Sahni analyzed the impact of online advertisements on advertiser compe-
                tition [40]. The findings from the randomized field experiments from a restaurant-search website suggested char
                spillovers were significant when advertising efforts were of the lowest frequency, while minimal spillovers occurred
                with high-intensity advertising techniques. Thus, the stronger intensity advertising techniques saturated consumer
                interest in the main advertiser, which offset spillovers coward ocher competitors [40]. Business spillover effects in the
                identified literature referenced spillovers in the context of innovation, marketing influences and consumer activities.

                Defining attributes
                The determination of defining attributes is central to identify and define characteristics central to the concept under
                study. Based on the relevant review of the literature, three common attributes of spillover effects were noted: lack
                of intention, positive or negative impacts and two entity/domain involvement.

                Lack of intention (unintentional)
                The majority of the literature examined described spillovers as unintentional in nature. Frischmann and col-
                leagues [38], described spillovers as never planned nor calculated from the outset of an activity, process, intervention,
                or phenomenon. Thus, the receiving individual or third party is not privy to a transaction or compensations [19,22,39).
                Sahni discusses the unintentional nature of advertisement techniques chat invoke consumer memory recall of associ-
                ated brands or products 140]. The literature described advertising techniques as having an unintentional consequence
                of priming a consumer to recall a non-advertised option in addition to the primary product/service advertised [40].
                Health economics spillover effects around health interventions were described as an unintended effect on informal
                caregivers, family members, or other individuals within the social network of a patient. The majority of the identified
                spillover literature in the psychology and sociology disciplines discussed spillovers within the frame of being unin-
                 tentional. One domain of psychology with a greater level of intentionality described was within behavioral spillovers
                specifically within environmental research. For example, Nash and colleagues [34] described behavioral spillovers as
                 strongly influenced by "behavioral interventions, changes in awareness, availability of infrastructure and resources and
                 technological advances and policy change. Across the identified literature, spillovers were not intentionality imparted
                 upon the indirect recipient.

                 Positive or negative impacts
                 Each of the disciplines characterized spillovers as capable of causing positive or negative effects. Within the realm
                 of business and innovation, spillovers were cited as a social benefit that expands the influence of ideas to wider
                 groups [39,40]. The social benefit of such a spillover is viewed as the advancement of an idea or innovation for
                 the benefit of an industry. Furthermore, ideas cultivated in one industrial field were considered to commonly
                 spill over into ocher fields - considered an interindustry spillover - in which case the benefit of these spillovers
                 are accrued by both fields [39]. Frischmann and Lemley [39] attributed, in pare, the 1980s computer boom to
                 positive spillovers effects due to knowledge spillovers moving freely within Silicon Valley. Similarly, Grillicsch and
                 Nillson's examination of knowledge spillovers between firms further supports the .notion of positive innovation
                 spillovers within regional clusters [41]. The study demonstrated that innovative spillovers between firms is positive,
                 valuable and firms will strive to obtain these spillovers either through geographical means (internal access) or
                 through collaborations externally [41]. Sahni discussed spillovers within advertising as positive or negative, based on
                 the advertising effort companies implement [4o). Lower frequency advertising strategies resulted in positive spillovers
                 for the advertising company's competitors, while higher frequency techniques resulted in positive spillovers for the
                 advertising company.
                   In the discipline of psychology, spillovers have been described as both positive and negative within the work-
                 family life spheres. Amstad and Semmer (32] describe work as a positive spillover where workers can develop



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beneficial time management and efficiency habits that benefit productivity and communication within the family
unit. Conversely, work is described as a negative spillover when stress transfers from the work domain ro the home
life domain (32). Negative spillovers manifest as the undue stress imparted to family members by an employee
ruminating at work within the family setting [31].
    Much of the literature on spillover effects within health economics described the negative spillovers from a
patient illness to a family member or individual close to the patient. Caregiver spillover effects, first introduced
by Basu and Meltzer [6], refer to the various conditions, treatments and contacts that impact the welfare of family
members. Such spillovers manifest as caregiver health effects and/or informal care time costs resulting from the
health status/condition of a family member or close individual [13]. Al-Janabi and colleagues [22), describe family
caregiver spillovers as the psychological, physical, financial and emotional burden that family caregivers experience
while caring for a sick family member. Family caregiver spillovers have been studied among parents of children
with medical complexity and autism, as well as spouses of adult patients; such effects include increased parent
 absenteeism, physical injury, depression and anxiety [IO, 12]. Bhadhuri and colleagues assessed meningitis family
 spillovers and found that long-term morbidity for meningitis survivors caused negative spillovers in the form
 of family member health losses [23]. Thus, negative spillover health impacts coward family members/caregivers
 predominated the health economics literature.

Two entity/ domain involvement
A unifying theme across the spillover effect literature was the involvement of two entities or domains impacted by
an action or process. Specifically, spillovers were described to have a direct impact on a targeted entity (or domain),
as well as a second entity unintentionally. This common characteristic manifested within the business literature
as innovation spillovers from one entity, or industry, to another. Within one sociology study, one family entity,
an incarcerated mother, had an unintentional impact on her child's performance in the school domain [36]. An
additional sociology perspective assessed the impact of a health insurance domain on societal institutions (schools
and churches) [37]. Among the identified literature, there were noted similarities between psychology and health
economics in that family members were the two entities frequently impacted by spillovers [10-13,30-32). As mentioned
previously, spillover effects studied within the psychology discipline assessed professional life spillovers to the home
and family setting (30,32). Within the health economics literature, spillover effects were most commonly referenced
as well-being impacts on family members of patients. Further health economic studies referenced changes in
innovation from a present scientific to future scientific domain [26).


 Identifying a model case & contrary case
 Model case
 Model case construction is the fifth step of \'v'alker and Avant's [9] concept analysis and consists of including the
 identified attributes in a model case based on literature or invention by the author. The following case was created by
 the author and discusses the spillover impacts of a healthcare unit systems-level intervention on patient outcomes.
     Ellwood Hospital Emergency Department (ED) provides adult, pediatric and women's health services. It has a
  triage section, a main ED treatment area and a pediatric treatment area. Recently, the ED has experienced a surge
  in patient volumes due to local population growth. The department decides to implement a new triage worklow
  configuration for patients after identifying that 70% of all presenting ED patients are low acuity and do not need to
  be seen in the main ED treatment area. Thus, the department initiates a 'triage quick assessment' process facilitating
  quick assessment and treatment of low-acuity patients in order to free up bed and clinician resources for high-acuity
  patients and to reduce patient wait times.
      In order to increase efficiency in the new triage center, patients are initially brought into a triage room after
  patient registration where vital signs, initial assessments and labs are taken by a nurse. After this process, the patient
  is returned to the waiting room where they wait to be called back into the triage room for a physician assessment. As
   the first patient waits in the waiting room, new low-acuity patients are brought into the triage room to go through
   the same process by the nurse.
      The new triage configuration is efficient in chat it facilitates a quick assessment of every patient, where a nurse can
   identify if a patient is truly stable (or not) and return patients to the waiting room until their physician assessment.
   The additional benefit of the quick assessment process is that it allows for continuous bed availability should a
   high-acuity patient present in need of immediate stability and subsequent transfer to a permanent room.


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                   Over time, the ED observes significant drops in patient wait times due to this new configuration. However,
                although the process has benefited overall patient time metrics in the ED, the process has been detrimental to
                patient satisfaction ratings. Patients have reported negative feedback regarding the constant transport between the
                triage room and the waiting room and report perceived fragmented care imparted by the staff. Additionally, the
                department has observed a 10% increase in clinician turnover since implementation of the new triage configuration.
                Nurses on the unit cite increased moral distress due to the rising time pressures and increased time constraints related
                to quickly completing patient registration, assessments and labs. The physicians have reported missed nursing care
                on common tasks, such as incomplete viral signs and delayed medication administration. Upon closer evaluation,
                the direcror of the ED has noted rising patient re-admissions co the ED. Despite quick evaluations among these
                low-acuity patients, approximately 30% are returning within one week to the ED again.
                   This case addresses the defining attributes of spillover effects wherein the intervention resulted in unintentional
                impacts such as decreased patient satisfaction, clinician turnover, nurse moral distress, patient adverse events and
                increased patient re-admissions. The department did not intend from the outset for a systemic intervention co
                cause clinician moral distress impacting clinician performance and patient outcomes. The resulting spillovers of
                increased efficiency in one arena (reducing wait times) included increased clinician error detrimentally impacted
                patient outcomes and/or reduced patient satisfaction impacting patient utilization.
                    The case results in negative spillovers, evidenced by increased patient utilization, clinician error, moral distress and
                patient dissatisfaction. Though the same entities are involved (patients, clinicians and the emergency department),
                different domains, or 'arenas' as mentioned in the psychology literature base, are impacted. Overall, the primary
                 intention of the intervention was to increase patient efficiency (domain 1), while a variety of secondary domains
                were unintentionally impacted through spillovers (patient satisfaction, quality of care delivery, clinician turnover,
                 patient health status, patient utilization).

                Model case: methods expansion
                This case additionally highlights the need for close examination of the methods used to measure the identified
                spillovers. A mixed-methods approach could be used to elucidate such effects mentioned within the case, particularly
                within an economic evaluation (43,44]. For example, a cost-benefit analysis could be conducted co quantify the
                impact of the new triage intervention, with spillover effects evaluated through increased patient re-admission costs
                and clinician turnover-rate cosrs. Furthermore, qualitative methodologies could be used co elucidate the systemic
                impacts on clinician challenges linked co fulfilling the identified workflow. Mixed-methods approaches could be
                employed to assess the quantifiable aspects of these spillovers, with qualitative methods informing the moral distress,
                intention to leave the workplace and patient dissatisfaction [43,44]. Thus, a variety of measurement strategies could
                be employed to best understand spillovers in the context of a health system intervention.

                 Contrary case
                An ED creates a triage configuration to rapidly assess patients. Upon evaluating performance metrics, ED identifies
                chat on a daily basis, 70% of the total patients seen in the ED who are low-acuity patients are successfully being
                treated and discharged from this new triage configuration. The physicians and nurses who work in the main section
                of the ED have noticed that the time to treat patients who are high acuity has decreased, meaning clinicians are
                seeing the sickesr patients faster than before the intervention. This is a contrary case to a spillover because the
                implementation of the new triage configuration is intended to increase efficiency for low- and high-acuity patients.
                The ED aimed to treat 70% of the patients through a rapid assessment configuration in order to increase time to
                treat efficiency for high-acuity patients. Only one domain is impacted in this case - patient efficiency- given that it
                is the ED'ks intent to reduce wait times for all patients due to a worklow change. Thus, this case lacks the attributes
                of two entities and being unintentional in nature.

                 Identifying antecedents
                 Antecedent identification helps to understand the characteristics of attributes of spillover effects that exist prior
                 to fulfillment of the concept p9). There are two antecedents of spillovers: an intentional first action and a desired
                 outcome. The intentional first action is the act of delivering or implementing a primary process. The desired
                 outcome is inherently linked to the first action. A first action would be considered, for example, the development of
                 a new healthcare technology to help patients with chronic pain. The desired outcome of technological advancement
                 would be to reduce a patient's perceived or pathophysiologic suffering from pain. An initial action and desired



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outcome are an antecedent because it determines the first entity or domain impacted in the spillover effect cascade.
The secondary aspect, or consequences of the spillover effect involves impacts to secondary entities. Consequences
are discussed in subsequent paragraphs.


Identifying consequences
Consequences are resulting events or phenomena that emerge from the identified concept [9). As previously
described, consequences of spillovers are considered the unintentional impacts resulting from an intentional first
action and can have positive or negative impacts. The magnitude of the spillover effect consequences varied among
the disciplines reviewed and provided rich perspectives on micro- and macro-level impacts among various entities
under study. For example, the business literature predominantly described spillover effects as having a large-scale
impact as various industries were involved [39-41]. Geographic context strongly influenced the transference of
knowledge and innovation spillovers [39,41).
   Similarly, health economic spillovers were discussed in the context of scientific innovation, however the majority
of studies discussed spillover impacts between individuals [26]. Specifically, individuals with illnesses and their social
networks were the focus of health economic spillover effect research [19,20). Health economic studies, therefore
focused mostly on individual versus industry spillovers. A noted methodological consequence of measuring spillovers
relates to the issue of double-counting [25). An example is in the case of a patient experiencing depression or anxiety
related co watching a family or clinician caregiver provide challenging care. This situation poses a methodological
risk of double counting, in which the quality of life decrement is 'counted' as a utility for the patient when it could
already be 'counted' in the utility of the caregivers [25).
   The discipline of psychology also discussed smaller magnitude spillovers within the family unit, however be-
havioral spillover literature addressed environmental spillovers on a national level of larger magnitude [32,33].
Finally, spillovers within the sociology context assessed broader societal impacts of policies, processes, or access
challenges [35-37). Though individual family unit spillovers were assessed, a broader spillover focus was on societal
impacts. The analyzed literature expressed a variety of spillover effect impacts char are important to consider in
developing research around spillovers.


Identifying empirical referents
The final stage of Walker and Avant's approach [9] is identifying empirical referents, specifically how the concept
is measured. The measurement of spillover effects was identified as highly variable across the various disciplines.
Although definitions of spillovers across the disciplines overlap, there existed noted differences in the measurement
of spillovers among the examined literature.
   Spillovers evaluated within the fields of psychology, sociology and business have used both qualitative, quantitative
and mixed-methods approaches to assess spillover effects. In the sociology con text, Timmermans and colleagues [37]
evaluated how lack of health insurance affects religious institutions and school (kindergarten-12th grade) function-
 ing. Using in-depth, qualitative interviewing methods, the authors found negative education spillovers relevant to
 increased student absenteeism, as well as increased ED utilization rates and 'waiting illnesses out' (p. 367) [37). In
 examining spillover crime impacts, Braga and colleagues [38] used a quasi-experimental design and regression analysis
 to examine gang shooting trends. During data collection for the study, the team employed qualitative interviewing
 co gain insight into shooting events, relationships between gang victims and ocher contextual information relevant
 co gun-related gang activity (38). Spillover inclusion in the examined business literature has predominantly included
 quantitative regression analyses of marker impacts or consumer behaviors [39,40].
   Within the health economic literature, quantitative approaches to assess spillovers have dominated over qualitative
 approaches. Health economic studies have assessed spillovers using state-preference valuation techniques, such
 as surveys like the EuroQoL-5 Dimension (EQ-5D-3L) and the Short Form-6 Dimension (SF-6D) to assess
 individuals' health status (45,46). Such surveys ask participants to rate their health within a wide range of dimensions
 such as sleep quality, anxiety/depression, pain/discomfort and more. Data from these surveys are then quantitatively
 evaluated using regression-based or correlational analyses to understand associations between patient health quality
 and caregiver quality to determine potential spillovers [23).
    Additional spillover assessments in economic evaluations include discrete choice experiments, where caregivers are
 given a set of scenarios and are asked to select their preferences of variables/ choices within specific scenarios [15). Such
 assessments are useful in determining willingness-co-accept values regarding caregiver informal care payment [20,28).



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                Other spillover assessments include accounting for displaced time due to caregiving through opportunity coses in
                economic models and recording caregiver casks in diary logs [13].
                    Qualitative approaches have been used sparsely in health economic studies [47]. One identified study by Canaway
                and colleagues [19] used in-depth interviewing and hierarchical mapping to identify the social networks of end-of-
                life (EOL) patients [19]. The authors found that EOL patient caregiving network size was dependent on disease
                trajectory; EOL patients had an average of eight close family members/and or caregivers. Information gleaned from
                the interviews can be used by economists to assess the emotional and personal connectedness spillover effects of
                EOL caregiving within a network [19].
                    Despite the use of mixed-methods and qualitative approaches in the fields of psychology and sociology, qualitative
                methodologies are less prominent: in health economics literature. No general consensus existed among the selected
                literature on how to universally assess spillovers. The implications of the identified diverse approaches to assessing
                spillover effects is discussed in subsequent paragraphs.


                Implications for health economics & comparative effectiveness research
                Implications from chis concept analysis include expanding the types of spillover effects assessed in economic
                evaluations, as well as the methods used to assess spillovers. First, this concept analysis demonstrates an opportunity
                to expand spillover effect analyses to include entities beyond family caregivers or scientific innovation advancement
                in the future. Heal ch economic studies have evaluated spillovers between healthcare markets in a similar manner to
                inter-industry spillovers in the business literature. However, increased opportunity exists in quantifying spillovers
                beyond the patient social network to include frontline caregivers, systems-level spillovers of health interventions
                (i.e., increased outpatient clinic visits, ED re-admissions) and health intervention spillovers to manufacturing
                industries (19y. Additionally, there is a gap in understanding the existence of and potential impact of multiple
                spillovers occurring at the same time. Future research is needed to understand multidimensional spillovers, where,
                for example, an entity experiences multiple spillover effects at once. Family caregivers, for example, may experience
                 health spillovers while informally caring for a sick loved one while simultaneously experiencing financial spillovers
                 from a new medication for the patient's symptom relief.
                    Second, the examined methods used to assess spillover effects (empirical referents) from the examined literature
                 can be applied to health economic studies to further elaborate on spillover effects comprehensively. Qualitative
                 methodologies, for example, can be used to best elaborate on spillover effects that may be challenging to quantify
                 in traditional spillover effect measures such as regression analyses, choice experiments or surveys. Dopp and
                 colleagues (4) suggest that qualitative perspectives can facilitate mixed-method approaches in economic evaluations
                 to fill a 'qualitative residual' where stakeholder and contextual information is traditionally absent (p. 2). The mixed
                 approaches to assessing spillovers, for example in the sociology literature, where qualitative methods were used,
                 suggests that spillovers may employ rich, descriptive contextual perspectives that are well-suited to compare health
                 interventions [18,37]. Qualitative methodologies are well suited to assess spillovers due to inherent epistemological
                 underpinnings in thick, contextual descriptions, emic-etic (insider, outsider) perspectives and observational data
                 on drivers and mechanisms of topics under study [48-50,53]. Inclusion of qualitative methods to assess spillovers in
                 economic studies may result in the investment of healthcare resources that are appropriately allocated to targeted
                 populations. The subsequent section addresses factors to consider when integrating spillover effect assessments into
                  health economic research.


                 Expanding spillover effect inclusion in health economic studies
                 Figure 1 can be used as a framework to guide spillover effect inclusion in health economic evaluations. Adapted
                 from Galizzi and Whitmarsh's [291, methodological recommendations for behavioral spillovers, relevant questions
                 to consider about spillover effect inclusion based on Figure 1 factors are listed below.
                    Context: What is the setting where the spillover effect(s) takes place?
                    Entities: What are the entities, domains and/or populations involved? What is the intended (directed) and
                 unintended impact? What are any targeted interventions targeting directed outcomes?
                    Magnitude: What are the potential outcomes from the intended outcome? What is the breadth and depth of the
                 impacts?
                    Methods: Can these spillovers best be elucidated through experimental or non-experimental approaches? Are
                 there opportunities for qualitative or mixed-method approaches?



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                                    Framework for spillover effect research inclusion




                                        Context                     Entities involved

                               Nature and environment               Intervention intended
                               where spillover observed             recipient versus
                                                                    indirect recipient

                               Eg. clinical setting,
                                                                    Eg. patient (direct) and
                               patient home, healthcare
                                                                    caregivers (indirect)
                               industry, markets




                                Magnitude                                        Method


                            Perceived impact of                     Approach that can best glean
                            spillover effect                        desired magnitude and
                                                                    characteristics of
                                                                    spillover
                          Eg. inter-industry, cross-national,
                          inter-personal, inter-professional
                                                                  Eg. regression analyses,
                                                                  choice experiment,
                                                                  qualitative descriptive,
                                                                  mixed-methods




Figure 1.    Framework for spillover effect research inclusion.


   The highlighted factors are gleaned from the concept analysis and were developed after assessing relevant at-
tributes, antecedents, definitions and overall characteristics of spillover effects. The first relevant factor-context de-
scribes the need to identify the environment where the spillover effect takes place. Such settings could include a
hospital, a patient/family home, a healthcare corporation, or an academic evaluation of a healthcare market. The
second important factor to consider is entities and domains. This factor aims to identify what/who is the entity
intended to be impacted and which entity is receiving a potential spillover impact. Subsequently, the third domain
is the magnitude or overall impact of spillovers. Magnitude can be considered a geographic, interpersonal or in-
terindustry impact. Estimating the potential magnitude can aid in understanding the extent to which the spillover
needs to be studied. A final consideration is the methods approach. Finally, methods selection should be guided by
the contextual, entity and magnitude considerations. Such evaluation of important factors driving spillover effects,
as determined from this concept analysis, can guide spillover effect integration in health economic studies.

Conclusion
This concept analysis expands definitions and characteristics of spillover effects for consideration in health economic
studies. Few heal ch economic studies to dace adequately incorporate spillover effects and when incorporated, most
evaluations focus on family spillovers evaluated quantitatively [20]. Spillover effects serve a role in enhancing the
societal perspective of a study, given char they reveal contexts and unintended effects of a strategy or intervention
on various groups or entities that have been traditionally overlooked in a traditional economic model [25,51]. This
concept analysis used a multidisciplinary lens to identify defining characteristics of spillover effects to expand
considerations of spillover effects for use in health economic evaluations.



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                 Summary points
                 • Within health economics research, spillover effects are traditionally considered the health impacts of an
                   intervention unintentionally imparted upon the family member of an ill individual. Broader considerations of
                   spillover effects can enhance economic evaluations.
                 • A concept analysis was conducted across academic disciplines. Key attributes included: lack of intention
                   (unintentional), positive or negative impacts and two entity/domain involvement. An initial action and targeted
                   outcome were identified antecedents of spillover effects. Consequences varied in terms of magnitude and
                   domain of impact across industries, life domains and interpersonal relationships.
                 • Expanded conceptualizations of spillover effects can strengthen economic evaluations. Economic evaluations
                   assessing spillovers should consider the context, entities and magnitude of spillovers to inform method selection.



                Author contributions
                KJ Muir contributed substantially to manuscript conception and design, literature review and drafting of manuscript work. J Keim-
                Malpass contributed substantially to manuscript conception and design, drafting of manuscript work and revisions of drafts. Both
                authors agree to be accountable for all aspects of the work, inclusive of manuscript integrity.


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          a see ore                                                                                                      www.futuremedicine.com                765
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Methodology    Muir & Keim-Malpass



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                          EXHIBIT P
        to Expert Report of Professor Louis Klarevas
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    ANNALS, AAPSS, 455, May 1981




            The Effect of Gun Availability on Violent
                         Crime Patterns

                                  By PHILIP J. COOK


          ABSTRACT: Social scientists have started to fnd answers to
        some of the questions raised in the ongoing debate over gun
        control. The basic factual issue m this debate concerns the
        effect of gun availability on the distribution, seriousness, and
        number of v10lent cnmes. Some evidence is available on each
        of these dimensions of the violent crime problem. The
        distribution of violent crimes among different types of victims
        is governed m part by the"vulnerability pattern' in weapon
        choice. The seriousness of robbery and assault incidents 1s
        mfluenced by weapon type, as indicated by the objective
        dangerousness and instrumental violence pattern. A reduc-
        tion in gun availability would cause some weapon substitution
        and probably little change in overall robbery and assault
        rates-but the homicide rate would be reduced.



       Philip J Cook is an associate professor of public policy studies and economics,
     Duke University Hs research has focused primarily on the criminal justce system
     and other aspects of socal regulaton He has collaborated with Mark H Moore on
     a series of studies relating to gun control
                                            63
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    T     HE DEBATE over the appro-
           pnate degree of gove1 nmental
    regulation of firearms has been a
                                              and because, unlike most other com-
                                              monly used weapons (hands, kitchen
                                              kmves, and baseball bats), 1t 1s con-
    promment feature of the political         cervable that we mght reduce the
    landscape for the last two decades        avanlablty ot guns without 1m-
    The claims and counterclaims for          posmg unacceptable costs on the
    vanous gun control strategies have        public. The pnnc1pal factual ques-
    been bnnted mn congress1onal and          tion 111 the gun control debate 1s
    state legislative hearings, poht1cal      whether reducmg gun avalab1hty
    campaigns, ed1tonals, and bumper          would reduce the amount and/or
    strps. The ssues are by thus tme          5enow,ness of v10lent cnme Can
    famhar to even drsinterested by-          potental volent crmmals be de-
    standers. the proper interpretation       terred from obtammg guns, carrymg
    of the Second Amendment, the value        guns, and usmg guns 111 cnme? If
    of guns as a means of defense             so, will this reduction 111 gun use
    agamst burglars, or foreign mvaders,      make any difference, or wall crn1-
    or local tyrants, the difficulty of       nals s1ply substitute other weap-
    depnvmg cnminals of guns without          om to equal effect? The answers to
    deprvmng the rest of us of basic          these questions are crucial to policy
     nghb, and '>O forth Thi'> "great         evaluaton Our ability to answer
     Amencan gun war" clearly mvolves         these quest10n'>-to make accurate
     both value quest1ons and questons        predetons about the effects of legal
     of fact, and the latter have been the    mtervenhons 111 this area-1s one
     subject of numerous statstcal skr-       measure of ou1 scientific under-
     m1she5     Strangely, however, the        ~tandmg of the role of weapons 111
     relevant factual questons have not        volent ere
     attracted much attenton from schol-           At the sacrifice of some dramatic
     ars untl very recently The role of        tens1on, I provide a prevew of my
     guns-and other types of weapons           results here The type of weapon
    mn vuolent crmme 1s a fit and mm-          used m a v10lent cnme 1s 111 part
    portant subject for scientific inquiry     determmed by the nature of the
     No etologcal theory of volent             vctm, guns are most likely to be
    crmme 1s complete without due con-         used agamst the least vulnerable
     s1deration of the technology of           vctms m robbery and homede.
     v10lent cnme This would be true           The type of weapon used ma v10lent
    even m the absence of political            crmme mfluences the outcome of the
     mterest 111 gun control.                  cnme: gun robbenes, when com-
        Each of the maJor categones of         pared with other types of robbery,
     v1olent crmmecrmmmnal home1de,            are more hkely to be successful,
     aggravated assault, robbery, and          less likely to result m mnyury to the
     rape-is committed with a variety of       vctm, and more likely to result m
     weapons Guns are used 111 a mmor-         the victim's death, gun assaults are
     1ty of volent crmes, but are of           more likely to result m the v1ctnn' s
     spec1dl concern because they are          death than kmfe assaults, ceteris
     used m almost two thuds of the most       paribus A general mcrease 111 gun
     senous events, cnm111al hon11c1des,       ava1lab1hty would probably have
                                                little effect on the overall robbery
                                                rate, but would mcrease the hom1-
       1 A phrase corned by B Bruce-Br1ggs,
     "The Great Amencan Gun War," The Publc     c1de rate, mcludmg the rate of rob-
     Interest, 45 1-26 (fall 1976)              bery murder, and possibly reduce
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                                     GUN AVAILABILITY                                        65

    the number of aggravated assaults               stitutibihty" between guns and other
    These and other predetons emerge                weapons m home1de and other
    from the empmcal results presented              v10lent cnmes. In short, does the
    here Mv overall conclus10n 1s that              type of weapon matter?
    the technology of volent crime                     Supposmg that we were somehow
    matters a great deal m a number of              successful mn discouraging some v1o-
    d1mens1ons, with important 1mph1ca-             lent people from obtamnmng guns and
    tons for the gun control debate                 usmg them m cnme, how might v1o-
                                                    lent cnme patterns change? Three
              THE BASIC ISSUES                      dmmensons of the volent erme
                                                     problem are important. (1) the dis-
        Gun control measures come m a
                                                    tnhution of robbene5, aggravated
    vanety of forms, but most share the
                                                    assaults, rapes, and homicides across
    objective of reduemng the avalab1hty
                                                     dfferent types of victims, for ex-
    of guns for use 111 v10lent cnme Most
                                                     ample, commercial versus noncom-
    federal and state gun regulatons
                                                     mercial robbery, (2) the seriousness
    111 the Umted States are moderate
                                                     of robbenes, rapes, and aggravated
    111tervent10ns mtended to reduce
                                                     assaults, and (3) the overall rates of
    cnmmal use while preservmg the
                                                     each of these cnmes These three
    mayorty's access to guns for legit1-
                                                     dimensions are considered mn turn 1n
    mate u<;es.2 Washmgton, D C, and
                                                     the next three sectons,
    New York City have adopted a much
    broader attack on the handgun prob-                     DISTRIBUTION: THE
    lem, with a ban on sales to all but                   VULNERABILITY PATTERN
    a few people Whether the regula-
    tons are moderate or extreme, some                People who attempt robbery or
    opponents of gun control ns1st that a           homicide are more likely to succeed
    regulatory approach will be mneffec-            with a gun than with other commonly
    tve mn reducmg crmmal violence                  used weapons A gun is particularly
    Thenr pos1ton 1s summarzed m two                valuable agamst vetmms who are
    bumper stnps. "When guns are out-               physically strong, armed, or other-
     lawed, only outlaws will have guns,"           wise relatively mvulnerable-the
     and "Guns don't kill people-people             gun 1s "the great equalizer." The
     kill people." The former suggests              patterns of weapon use m crmmnal
     that "outlaws" will acqmre guns,               hom1c1de and robbery demonstrate
     despite whatever steps are taken to            that perpetrators are most likely to
     stop them, that 1s, that cnmmals wall          use guns agamst victims who would
     contmue to do what is necessary to             have the best chance of defendmg
     ob tam guns, even 1f the pnce, hassle,         themselves against other weapons,
     and legal threats associated wth               that 1s, the hkehhood of a gun bemng
     obtammg a gun are mcreasecl ~ub-               chosen by a robber or killer mcreases
     stantally. The latter bumper stnp              with the value of a gun 111 effectmg
     apparently 1s meant to suggest that            a successful complet10n of the cnme.
     people who dee1de to kill wall find a          These observatons suggest that a
     way even 1f they do not have access            program that 1s successful m re-
      to guns. This 1s one aspect of a more
      general 1ssue, the degree of "sub-               3 I am mdebted to Mark Moore for this
                                                     approach to carving up the volent crme
       2 For a summary of federal and state gun      problem In the review that follows I omit any
     control measures, see my article, with James    dscuss1on of rape, snce relevant emp1real
     Blose, m this issue                             ,tuches are lackmg for this crime
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   ducmg the rate of gun ownership                   gun use also reflects the vulner-
   by potential robbers or killer!> will             ability pattern about 70 percent of
   change the relative d1stnbut10n of                victims aged 20-44 are shot, but
   these cnmes among different types                 this fract10n drops off rapidly for
   of victims. The evidence and impli-               younger and older-that 1s, more
   cations of the vulnerab1hty pattern               vulnerable-v1ctJms.6
   are presented m the followmg sec-                    Vulnerablty 1s of course a rel-
   tons, beginning with crmmmal hom1-                ative matter. We would expect that
   c1de.                                             the lethality of the murder weapons
                                                     would be directly related to the dif-
   Criminal homicide                                 ference    m physical strength be-
                                                     tween the victim and killer, other
      A decs1on to kall is easier and thmgs bemg equal. To mnvestgate
   safer to implement with a gun than tlus hypothesis, I used FBI data
   with other commonly avalable weap- coded from the supplemental hon-
   ons-there 1s less danger of effec- c1de reports submitted for 1976 and
   tive victim resistance during the 1977 by police departments m 50
   attack, and the kalhng can be ac- large cities. These data mclude the
   complshed more quickly and 1m- demographic charactenstics of the
   personally, with less sustamed ef- victim and, where known, the of-
   fort than 1s usually required with a fender, as well as the murder weapon,
   knfe or blunt object A gun has mmmed1ate circumstances, and ap-
   greatest value against relatively parent motive of the cre The
   Invulnerable vctms, and the vul- results calculated from these data
   nerablty of the victim appears to be tend to confirm the relative vul-
   an important factor m determmmg nerabnhty hypothesis. First, women
   the probabhty that a gun wall be tend to use more lethal weapons to
   used as the murder weapon                          kall thenr spouses than do men. 97
       The least vulnerable vetms are percent of the women, but only 78
   those who are guarded or armed All percent of the men, used a gun or
   presidential assassmat10ns m U S. kmfe The gun fractons n spouse
   history were committed with a hand- k1llmgs are 67 percent and 62 per-
   gun or rifle. Almost all law enforce- cent, respectively-not a large dif-
   ment officers who have been mur- ference, but one that 1s notable,
   dered m recent years were shot: 1n !,ll1Ce women typically have less ex-
    1978, 91 of 93 murdered officers penence than men mn handlmg guns
    were killed by guns.4                             and are less likely to thmk of any
       Physical size and strength are also guns kept m the home as thenr per-
    components of vulnerabhty. In 1977, sonal property. It 1s also true that
    68.5 percent of male homede v1e- women who kill their "boyfnends"
    tims were shot, compared with only are more likely to use a gun than
    51.0 percent of female home1de vc- men who kll then "gnrlfrends."
    tnns.5 The v1ctnns' age pattetn of                   Table 1 focuses on kallgs re-
                                                      sultmng from arguments and brawls
       4 FBI Crime in the United States, 1978 1n wheh both the kller and the ve-
     (Washmiton, DC U S Government Pnntmg tim were males The gun fract10n
     Office)                                          mcreases with the age of the killer
       5 U S Department of Commerce, Bureau
     of the Census, Statistical Abstract of the US ,  and   1s mversely related to the age
    1978 (Washington, DC     US   Government
    Printmg Office)                               6 FBI
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                                          GUN AVAILABILITY                                              67

                                                   TABLE 1

                  GUN   Use IN MURDERS AND NONNEGLIGENT HOMICIDES RESULTING FROM
                        ARGUMENTS OR BRAWLS, MALE VICTIM AND MALE OFFENDER

                                                                     OFFENDER S AGE

                   VICTIMS AGE                       18-39                 40-59                 60+

            18-39 (in percentage)                     68 0                  79 6                87 2
              N'                                    1906                   368                  47
            40-59 (in percentage)                     54 5                  64 1                66 7
              N                                      398                   245                  57

            60+ (in percentage)                        48 3                 49 2                 63 3
              N                                        58                   61                   30

       SOURCE FBI Supplemental Homicide Reports, 50 large cities, 1976 and 1977 combined (unpublished)
       • N = the sample size that is, the denominator of the fraction Cases in which the age of the killer is
     not known are excluded



     of the victim. the highest gun frac-                 vctmm's ab1lty to defend himself
     hon-87 percent-mvolves elderly                       acts as a deterrent to would-be
     killers and youthful victims, the                    killers-but this deterrent is much
     lowest gun frachon-48 percent-                       weaker 1f the killer has a gun than
     mvolves youthful killers and elderly                 otherwise. (3) In the case of a planned
     vctms. Smce age 1s highly corre-                     murder, the killer will have the
     lated with strength and robustness,                  opportumty to equip himself with a
     these results offer strong support                   tool that 1s adequate for the task.
     for the relative vulnerability hy-                   Agamst well-defended victims, the
     pothes1s.                                            tool chosen will almost certainly be
        Why are less vulnerable murder                    a gun, if one can be obtained without
     victims more likely to be shot than                  too much difficulty.
     relatively vulnerable vetms? A                          Each of these mechanisms 1s com-
     natural mterpretation of this result                 patble with the preduction that a
     1s that mtended vctms who are                        reduct1on 1n gun avalablty will
     physically strong or armed mn some                   cause a reduct1on mn homcide, a
      fashon are better able to defend                    reduction that will be concentrated
      themselves agamnst home1dal as-                     on kllings that mvolve a vctm who
      sault than more vulnerable v1chms-                  is physically stronger than the killer.
      unless the assailant uses a gun, the                A number of specific hypotheses are
      "great equalizer." The "vulnera-                    suggested by this observation, m-
      bility pattern can then be ex-                      cludmng the following: a reduction
      plamed as resultmg from some com-                    mn gun availablty wll reduce the
      bmat10n of three mechanisms. (1)                     male:female victimization ratio 1n
      Home1dal attacks are more hkely to                   killings of spouses and other inti-
      fail agamst strong victims than weak                 mates, reduce the fraction of hom1-
      ones, and the difference m the likeli-               cide victims who are youthful males,
      hood of fa1lure 1s greater for nongun                and reduce the fraction of killers
      attacks than attacks with a gun. (2)                 who are elderly.
      The hkeh1hood that an mdrv1dual
      wll act on a home1dal impulse                          Robbery
      depends mn part on the perceived                         Robbery 1s defined as theft or at-
      probability of success The mtended                     tempted theft by means of force or
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   the threat of v10lence.7 The robber's          empt any rat10nal victim's mclma-
   essential task is to overcome through          hon to flee or resist 8 Wesley Skogan
   mtmmdaton or force the vctm's                  documented the effectiveness of a
   natural tendency to resist partmg              gun 111 forestallmg victim resistance
   with his valuables A variety of                111 his analysis of a natonal sample
   techm1ques for accomplshmng th1s               of victim-reported robbenes. 9 only 8
   task are used 111 robbery, mcludmg             percent of gun robbery victims re-
   actual attack-as m "muggings and               s1sted phys1cally 111 noncommercial
   "yokmgs'and the threaten mg dis-               robbenes, compared with about 15
   play of a weapon such as a gun, kmfe,          percent of vctmms m noncommercial
   or club. Whatever the means em-                robbenes mnvolvmng other weap-
   ployed, the objectve 1s to quickly             ons " Other types of res1stance
   gam the victim's compliance or to              arguing, screaming, and fleemg-
   render him helpless, thereby pre-              were also less common 111 gun rob-
   venting the victim from escapmng,              bery than 111 robbery mvolvmng other
   surnrnonmg help, or strugglmg The              weapons.
   amount of what could be called                     It seems reasonable to assume
   "power" -capability of generatmg               that, from the robber's vewpomnt,
   lethal force-the robber needs to               the value of employmg a gun tends
   ach1eve these obyectves with hgh               to be mversely related to the vul-
   probability depends on the char-               nerablty of the target A gun wall
   actenshcs of the robbery target-               cause a greater increase mn the hkel1-
   v1chm-and m particular on the
   vulnerability of the target The                   8 Ibid, pp 110-11, Conklm analyze, a
    most vulnerable targets are people            gun's usefulness m terms of the abhty 1t
    who are young, elderly, or other-             provide; the robber to (1) mainta111 a buffer
    wuse phys1cally weak or disabled--            zone, (2) intimidate the vctm, (3) make good
    for example, by alcohol-who are               the threat, 1f necessary, and (4) emu re escape
                                                     9 Wesley Skogan, 'Weapon Use 111 Rob-
    alone and without ready means of              bery Patterns and Policy lmplicat10ns," un-
    escape The least vulnerable targeb            published manuscrpt (Northwestern Un1-
    are commercial places, especially             vers1ty Center for Urban Affairs, 1978) He
    where there are several customers             used the robbery mc1dent report, colle<.ted
                                                  from the Natwnal Cmne Panel, which oc-
    and clerks and possibly even armed            wrred durmg calendar year 1973 It should be
    guards-a bank bemg one extreme                noted that any analysis of vctmm survey data
    example                                       rehes on the vtmm's Impress1on of the nature
       A gun 1s the most effective tool for       of the weapon that was employed m the
                                                  robbery In some cases the "gun" may be a
    enhancmg the robber's power. Un-              toy, or srnmlated, Floyd Feeney and Adnanne
    like other common weapons, a gun              Wen [The Prevention and Control of Rob-
    gives a robber the capacity to threaten       bery A Summary,'' unpublished manusenpt
    deadly harm from a distance, thus             (Um1versty of Calforna, Davs Center on
    allowmg him to mamntam a buffer               Admn of Crimmal Justice, 1974] report that
                                                  of 58 "gun" robbers mtervewed m Oakland,
    zone between himself and the vic-             3 lammed to have med toy, and 4 to have
    tim and to control several victims            simulated the possess1on of a gun
    simultaneously A gun serves to pre-              10 Richard Block [Violent Crme (Lexmng-
                                                  ton, MA Lex111gton Books, 1977)) found from
                                                  studymg robbery police reports 111 Chicago
     7 The perspective of ths section was first   that vuctmms who resisted wth physeal force
   developed mn John Conklm's semmal work on      typically (68 percent) did so 111 response to the
   robbery 111 Bo,ton Roh/Jery and the Criminal   robber's use of force Other type, of re-
   justice System (Philadelphia J B L1ppm-        s1stance typally (70 percent) preceded the
   ott, 1972)                                     robber's use of force
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                                    GUN AVAILABILITY                                      69

     hood of success agamst well-de-               fine the "value of a gun's margmal
     fended targets than agamst more               product" as its margmal product
     vulnerable targets. A strong-arm              (increase in success probability)
     technique wll be adequate against             multiplied by the amount of loot if
     an elderly woman walkmg alone on              the robbery 1s successful Since for
     the !>treet-a gun would be re-                obv10us reasons, targets with greater
     dundant with such a victim-but a              potential loot tend to be better de-
     gun 1s virtually a reqmrement of              fended agamst robbery,13 the value
     successful bank robbery. Skogan               of the gun's margmnal product1s even
     provides evidence supportmg this              more strongly related to target vul-
     clamm he finds httle relatonsh1p              nerabnhty than 1s the marginal prod-
     between robbery success rates and             uct of the gun The concluswn can
     weapon type for personal robbery,             be put m the form of a proposton.
     but a very strong relat10nsh1p for
                                                     The economic value of a gun m
     commercial robbery He reports that
                                                     robbery tends to be greatest agamst
     success rates 111 commercial robbery
                                                     commercial targets and other well-
     were 94 percent with a gun, 65 per-
                                                     defended targets, and least agamst
     cent with a kmfe, and 48 percent
                                                     highly vulnerable targets.
      with other weapons 11
         In economic terms, we can char-           It makes good economic sense,
      actenze robbery a!> a productwn              then, for gun me 111 robbery to be
      process with weapons, robbers, and           closely related to target vulnera-
      a target as "mputs "12 The "output"          blty Ths 1s mdeed the case, as
      of the product1on process can be             demonstrated m Table 2, whch 1s
      defined as the probablty of success          based on tabulating results of more
      Thus probabhty increases with the            than 12,000 robbery reports taken
      number and skull of the robbers, the         from vctmm survey data gathered
      vulnerabhty of the target, and the           111 26 large c1tie,
      lethal effect of the weapons For                 From Table 2, we see that 55 per-
      given robber and target character-           cent of gun robbenes committed by
      1stcs, the "marginal product of a            adults, but only 13 percent of other
      gun can be defined as the mcrease m          adult armed robbenes, mvolve com-
      probability of success 1f the robber(s)      mercial targets. Those relatively few
      substitute a gun for, say, a kfe The         gun robbenes that were committed
      evidence presented m the precedmg            agamst people on the street are con-
      paragraphs suggests that the mar-            centrated on relat1vely mvulnerable
      gmal product of a gun 1s small agamst        targets-groups of two or more v1c-
      vulnerable targets and is relatively         tms or prune-age males-while
      large agamst well-defended targets            street robbery with other weapons
      We can go one step further and de-            was more likely to mvolve women,
                                                    children, and elderly victims Skogan
        11 Skogan
        12 This perspective 1s further developed       13 It 1s obvous that commenal targets
      m Philp J Cook, "The Effect of Gun Avail-     tend to be more lucrative than noncommer-
      ab1hty on Robbery and Robbery Murder A        cal and that a group of two or more vtams
      Cross Secton Study of Fifty Cites," 1         will be more luuative on the average than a
      Policy Studies Review Annual, eds Robert H    smgle v1ct11n Feeney and Weir (p 24) report
      Haveman and B Bruce Zellner, Vol 3            the not-so-obvious result that robberes of
      (Beverly Hlls, CA Sage, 1979), pp 752-        male vetms resulted mn a much higher
      53 (hereafter cited a, "The Effect of Gun     median take ($50) than robhenes of female
      Avaulabnlty")                                   utms (less than $20)
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                                                   TABLE 2
                              DISTRIBUTION OF ROBBERIES (IN PERCENTAGE)

                                         ALL ROBBERIES ACROSS LOCATIONS

                                                                                    KNIFE OR
                                                                   GUN           OTHER WEAPON        UNARMED


   Commercial                                                      55 1              13 3              191
   Residence                                                        64               10 4               85
   Street, vehicle, and so forth                                   38 5              76 3              72 4
   Total                                                          100 0             100 0             100 0

                                    STREET ROBBERIES BY VICTIM CHARACTERISTICS

                                                                                    KNIFE OR
                                                                   GUN           OTHER WEAPON        UNARMED


   Male victim age 16-54                                           59 8              53 8              411
   Two or more victims                                             105                58                37
   All others (young, elderly, and/or female victim)               29 7              404               55 2
   Total                                                          100 0             100 0             100 0

      SOURCE Adapted from Philip J Cook, ' Reducing Injury and Death Rates in Robbery, p 43 © 1980
    by The Regents of the University of California. Reprinted from Policy Analysts, Volume 6, No 1 (Winter
    1980), by permission of The Regents The distributions are calculated from National Crime Panel vIctIm-
    ization survey data of 26 cities
       NOTE All incidents involved at least one male robber age 18 or over Entries in the table reflect survey
    sampling weights



    provides further detail for com- the available weapon helps define
    mercial robbenes, reportmg that the the task. There is doubtless some
    likelihood that a gun is present m     truth m both explanations.
    such robber1es 1s only 44 percent for     The first explanaton suggests that
    commercial places that have only the observed relationship between
    one employee, but 68 percent for gun use and target choice 1s the re-
    commercial places with two or more sult of differences between the kmds
    employees.14                           of people that rob lucrative targets
       What is the causal process that and those who commt relatively
    produces these patterns in gun rob- petty street robberies-a difference
    bery? There are two plausible ex- remm1scent of John Conklin's dIs-
    planatons, both compatible wth the tmctrnn between "professionals" and
    evidence presented in the precedmg "opportunists,"" Victim survey evi-
    paragraphs: (l) robbers who aspire dence does suggest that gun robbers
    to well-defended, lucrative targets as a group have more of the earmarks
    equip themselves with a gun in of profess1onalism than other armed
    order to mcrease their chance of robbers: besides the fact that they
    success or (2) robbers who happen to make bgger "scores, gun robbers
    have a gun are more tempted to rob are older, less likely to rob acquamt-
    lucrative, well-defended targets than ances, and less likely to wonk m
    robbers who lack this tool In short, large groups of three or more. The
    the question is whether the weapon factors that determme a robber's
    is chosen to suit the task or, rather, cho1ce of weapon have some ten-
                                            dency to persist. a cohort of adult
      14 Ibid, calculated from figures mn his
    Table 3                                                  15 Ibid
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                                       GUN AVAILABILITY                                      71

     men arrested for gun robbery 111                    An mcrease m gun availability ma
     the Dstrct of Columbia showed a                     city wll (l) increase the fracton ot
     greater propensity to use guns 1n                   noncommercial robberies com-
     sub5equent robbenes than the cor-                   muted wth a gun and (2) increase
     respondmg cohort of nongun rob-                     the fraction of robbenes committed
     bery arrestees l°                                   agamst commercial and other well-
         It seems reasonable to hypothe-                 defended targets.
     s1ze, then, that robbers who engage
                                                       In an earlier study of robbery pat-
     mn plannmg and who seek out big
                                                       terns across 50 cities, 17 I found some
     scores will take pams to equp them-
                                                       confirmaton for the first of these two
      selves with the appopr1ate weapon
                                                       pred1ct10ns, controlling for other
          usually some type of firearm.
                                                       robbery-related vanables, the frac-
     The frequency with whch other less
                                                       ton of robbenes commutted wth a
     profess1onal robbers use guns, and
                                                       gun increases wth the dens1ty of
      hence the k111ch of targets they
                                                       gun ownerslup m a city A 10 per-
      choose, may be more sensitive to
                                                       cent 1crease m the fracton of house-
      the extent to whch such people have
                                                       holds that owns guns 1s assoc1ated
      access to guns and are 111 the habit of
                                                       with approximately a 5 percent m-
      carrymg them, for whatever reason.
                                                       crease mn the rate of gun robbery
      Increased availability of guns may
      then result m some target sw1tchmg
      by this group-substitut10n of more               Conclusons
      lucrative, better-defended targets for              The precedmg evidence demon-
      more vulnerable targets Increased                strates the existence of an 1mportant
      gun avalablty may also result in                 vulerabnlty pattern 1n weapon
      weapon substatuton for a given type              choice m homicide and robbery.
      of target, 1mply111g an mcrease 111              Guns give assailants the power to
      the fracton of street robber1es com-             succeed mn kallg or robbmg rel-
      matted with a gun, that 1s, guns wall            atvely invulnerable vctms who
      be put to less valuable uses, as guns            would have a good chance of fendmg
      become "cheaper" These hypoth-                   off attack with a less lethal weapon
      eses can be stated more prec1'iely               If some potential killers were de-
       as follows:                                     prved of guns, the crmmmal hom1-
                                                       c1de rate would be reduced The
        16 Plultp J Cook and Darnel Nagm, Does         reduct10n would be concentrated
     the Weapon Matter? (Washmgton, DC In-             among the least vulnerable types of
     stitute for Law and Social Research, 1979)        potential victims-law enforcement
     The results uted here are based on 541 adult      officers, people with bodyguards,
     male gun robbery arrestees and 761 nongun
     robbery arrestees This cohort, winch was          husbands of homedal women, youth-
     arrested 1 1973, was tracked through 1976         ful men, and so forth. If robbers were
     through Prosecutor's Management Informa-          depnved of guns, there would be a
     ton System (PROMIS) The robbery re-               reduction m robbenes aga111st com-
     arrest rate tor the gun cohort was 43 percent,
     of which 58 percent were gun robbene, The
                                                       mercial places and other well-de-
     robbery re-arrest rate for the nongun cohort      fended victims. In general, a reduc-
     was 45 percent, of whh 40 percent were gun        ton mn gun availability would change
     robberies The two cohorts had the same re-        the dastr1but1on of volent crmes,
     arrest rate for burglary ( 13 percent), but the    with greater concentration on vul-
     nongun cohort was much more likely to be re-
     arrested for assaultive cnmes (22 percent, as     nerable victnns.
     opposed to 13 percent for the gun cohort), see
     'fable 9 of Cook and Nagmn                          17 Cook "The Ellect of Gun A, a1labihty"
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        SERIOUSNESS THE OBJECTIVE          assailant who merely mtends to hurt
         DANGEROUSNESS PATTERN             his victim. Furthermore, an attack
      Recall that I am concerned with that 1s mntended to kill is more likely
   three dmmens1ons of volent crmme. to be successful f perpetrated with a
   the d1stnbution, the senousness, and gun than with a kmfe or other weapon
   the number of 111c1dents. The vul- -especially against victims who are
   nerability pattern suggests that gun capable of defending themselves
   ava1lab1hty wll m certamn respects But differences m mtent and capa-
   influence the d1str1but1on of rob- blty are not the whole story
   beres and home1des across differ-          Franklm Znnnng has demonstrated
   ent categones of vctms. I now turn      that  a large proportion of murders
   to the senousness d1mens10n of are similar to serous assaults19111 that
   volent crime. 'Seriousness' m th1s the attacks are unsustamed -the
   discuss1on wall be defined as the assailant does not admmster the
   degree of mury to the vetum A coup de grace, the blow that would
   volent or potentally volent con- ensure the death of his v1ctJm In-
   frontaton, as 111 robbery, rape, or deed, the victim was shot only once
   assault, can result 111 a range of pos- mn about two thuds of the gun hom1-
   s1ble outcomes, from no physical c1des m Zimrng's Chicago samples
   harm up to senous mJury or death These cases chffer very little from
   of the v1ctun The likelihood that the senous assaults for every death re-
   vctm will be kalled 1s mfluenced sultmng from a s1ngle wound m the
   by the lethal effects of the weapon head or chest, Zamrmng found 1 8
   used by the perpetrator The evi- vctms wth the same type of wound
   dence on this "objectve danger- who dd not de vct1ms who
   ousness" pattern 15 presented first were clearly not saved by any df-
                                           ferences mn the gunman's 1tent or
   for senous assaults, and subse-
   quently for robbery                     capability, but rather Just by good
                                           luck with respect to the precise loca-
                                           ton of the wound.
   Serious assaults
                                               Evidently, some proporton of gun
       The fract10n of 5enous gun as- murders are not the result of a clear
   saults that result mn the victim's mtent to kill, given that the maJonty
   death 1s much higher than for as- of murders are the immediate result
   saults with other weapons. Richard of altercat10ns, often mvolvmg alco-
   Block, for example, found that of all hol and rarely much thought, 1t seems
   aggravated assaults resultmg m m- unlikely that many killers have any
   jury to the victim-and reported to clearly formulated "mtent" at the
   the Chicago Pohce-14 percent of time of their attack. The assailant's
   the gun cases, but only 4 percent of mental state 15 charactenzed by an
   the kmfe cases, resulted 111 the v1e- Impulse-to pun1sh, avenge an mn-
    tum's death " In part, ths difference sult, or stop a verbal or physical
    1s the result of chfferences between attack-backed by more or less
   gun and knife attacks 111 mtent and
   capability. An assailant who mtends        19 Franklin Zmmrmng, 'The Medium 1s the
    to kill his victim, and who has some Message Firearm Calibre as a Determinant
                                           of Death from Assault," J Legal Studies, Il)
    chance to prepare, 1s more likely to 97 -124 Jan 1972), and idem, "Is Gun Con-
    eqmp hunself with a gun than an trol Lakely to Reduce Violent Kllmngs?"
                                              Un   Chicago Law Revew, 35 721--37(1967)
        18   Ibid, p 33                         20 Ibid, computed from Table 7,p 104
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                                    G U N AVAILABILITY                                  73

    cathex1s The nnmediate availability                Richard Block extended Zamrng's
    of a gun makes these circum<;tance!,           work on rn:,trumentahty hy com-
    more dangerous than would a less               par111g death rates 111 aggravated as-
    lethal weapon because an unsus-                sault and robbery cases. He con-
    tamed attack with a gun-a smgle                cludes that "the relative fatality of
    shot-is more likely to kill than               cltfferent weapons mn volent crmme
    an unsustamed attack with another              may be a technological mvanant-
    weapon.                                               the probability of death given
        Zamrng buttressed the conclu-              mnyury and a particular weapon re-
    s1ons from lus first study, which com-         mams relatively constant and un-
    pared kmfe and gun attacks, with a             related to the type of c1 une corn-
    later study companng large and                 nutted "14
    small caliber gun attacks Even after               The noton that the number of
    controllmg for the number and loca-            deaths per 100 mnyur1es 1s a "tech1-
    ton of wounds, he found that 38                cal" constant, largely determmed by
    caliber attacks were more than twice           the lethality of the weapon, 1s not
    as hkely to kill as 22 caliber at-              supportable, however. Zmmrmg dem-
     tacks 21 It appears, then, that weapon         onstrated that the type of weapon
     dangerousness has a substantial 1n-            was one important detenmnant of
     dependent impact on the death rate            the outcome of <,enou~ attacb, but
     from senous assaults                           did not claim it was the only deter-
        Zamrmgs semmal work 111 this                mmant Presumably the weapon-
     area supports several important pro-           specific death rates mn such attacks
     pos1tons, mcludmg                              wall dafter across Junsd1ctons and
        1. A restnct1ve gun control pohcy           vary over tmme dependmg on the
     that cause, kmves and clubs to be              mix of cucumstances, the quality of
     substituted for guns will reduce the           medical care, and so forth Arthur
     death rate 111 senous assault                  Swersey presents an mterestmg case
        2 A gun control policy that focuses         111 pomt 25
      on handgun<; may mcrea~e the death               Swersey reports that the number
      rate from gun assault 1f shotguns             of assaultve-as opposed to fe]-
      and nfles are substituted for hand-           ony-gun home1des m Harlem mn-
     guns as a result ?                             creased from 19 111 1968 to 70 1 1973,
        3 In setting prosecuton and sen-            and then fell back to 46 111 1974
      tencmg prontes for aggravated as-             Much of the change between 1968
      sault cases, gun assaults should be           and 1973 was from an met ea ~e rn
      vrewed as more serous than assaults           mtentonal kllmgs resulting fom
      with other weapons, ceters parbus,            disputes mvolvmng marcots actv1-
      smce there 1s a higher probability of         hes. The importance of changes m
      the vetum's dying m the gun as-               the mtent of violent perpetratos
      saults This 1s Zamrmg's "obyectve             durmg th1s perod rs md1cated by the
      dangerousness doctrine "                      fact that the death rate 111 gun attacks
                                                    doubled between 1968 and 1973,
      21 Ibid , 1972
      22 Thi, 1111plicat1011 has been pomted out    and then fell back 111 1974 Swersey
    by Gary Kleck, 'The Assumptuons of Gun          conclude<, that more than 80 percent
    Control" (Flonda State Urnversity, 1980)
    (unpublished)                                    24 Blok, p 32
      23 "In the generality of cases, how likely     25 "A Greater Intuit to Kill The Chang-
    s 1t that conduct such as that engaged in by   mg Pattern ol Hom1nde 111 Harlem and '\ew
    the offender will lead to death'?' Zmmng,      York City" (Yale School of Orgamzaton and
    p 114                                          \1anagement, 1980) (unpubltshecl)
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                                                   TABLE 3
              LIKELIHOOD OF PHYSICAL ATTACK AND INJURY IN ROBBERY (IN PERCENTAGE)

                                                        GUN"         KNIFEt      OTHER WEAPON       UNARMED

    Noncommercial robbery"
      Victim attacked                                    22 1        39 4             60 4             73 5
      Victim required medical treatmentt                  72         10 9             15 5             111
      Victim hospitalized overnight                       20          26               27               1 6
      Number of cases (not in percentage)               892         841             1060             1259
    Commercial robbery
      Victim required medical treatment                  48          108              17 9              51
      Victim hospitalized overnight                      1 5          35               60               04
      Number of cases (not in percentage)             2307          288              117              570
       SOURCE National Cnme Panel v1ctim1zation surveys of 26 cities This table is excerpted from Philip J
     Cook Reducing Injury and Death Rates in Robbery Table 2            1980 by The Regents of the University
     of California. Reprinted from Policy Analysis Volume 6 No 1 (Winter 1980) by permission of The Regents
       NOTE All 1ncIdents included ,n this table involved at least one male robber age 18 or over Entries in
    the table do not reflect the survey sampling weights which differed widely among the 26 cities
       " Many robberies involve more than one type of weapon Incidents of that sort were classified according
    to the most lethal weapon used
       ·• Robberies occurring on the street in a vehicle or near the victims home
       t Only about one third of the injured gun robbery victims were actually shot Two thirds of the injured
    knife robbery vIctIms were stabbed



    of the rse and fall m Harlem hom1-                    uous The fracton of home1des that
    c1des was due to changes m the num-                   can be viewed as delberate-unam-
    ber of deliberate murders He finch                    b1guomly 111tencled-vanes over
    a smmlar pattern for the rest of New                  tume and space, but 1s probably fanrly
    Yo1k City as                                          small as a rule The fraction of gun
       Swersey's findings do not under-                   assaults that results m the death of
    mmne Zamrmg's pos1ton Zmmrmng                         the vctmm 1s one mnd1cat1on of the
    did not deny that some kllmgs were                    relative prevalence of deliberate
    unamb1guously motivated, or that                      gun murders
    the importance of 1tent m murder
    wa~ subJect to change over tune, or                   Robbery
    that 1t mght be more Important 1n
    Harlem than 111 Chicago. In any                         The prnepal role of a weapon 111
    event, Swersey's results are useful                   robbery 1s to aid the robber mn co-
    mn documenting these poss1b1ht1es                     ercmng the vctmm-ether by force
       My conclusions can be brefly                       or threat-to part with his valuables
    state'd The hkehhood of death from                    If the threat 1s suffcently con-
    a serous assault is determined, inter                 vmemng, phys1cal force s not neces-
    ala, by the assailant's 1tent and the                 sary For this reason, 1t 1s hardly sur-
    lethal nature of the weapon he uses                   prsmng that the use of force 1s closely
    The type of weapon 1s especially                      related to the weapon type m rob-
    important when the mntent 1s amb1g-                   bery, bemg very common 111 un-
      26 Swersey also notes several other md1-            armed robbery and rare in gun rob-
    cations of an increasing fractuon of deliberate       bery Table 3 documents this pattern
    murders m the homede statstes for New                 for both commercial and noncom-
    York City as a whole During the 1970s, the            mercial robbenes committed by
    clearance rate declmed for hom1ude, as did            adult males As shown 111 this table,
    the fract10n of hom1c1des occurring on the
    weekend and the fract10n mvolvmg family               gun robberies are less likely than
    members                                               other armed robbenes to mvolve
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                                      GUN AVAILABILITY                                     75

    phys1cal volence and, furthermore,                  These findings are different as-
    are less likely to mJure the victim.27           pects of an excess volenee' pat-
    These patterns are compatible with               tern: much of the violence in rob-
    the not10n that violence plays an                bery is not "necessary," in the sense
    instrumental role m robbery-that                 of being an instrumental response to
    it is employed when the robber                   anticipated or actual resistance by
    believes it is needed to overcome or             the victim. Rather, it is motivated
    forestall victnn resistance and that             by objectives or impulses that have
    this need is less likely to arise when           little to do with ensuring success-
    the robber uses a gun than otherwise.            ful completion of the theft In par-
       There is evidence, however, that              tcular, the high incidence of vio-
    this "mstrumental violence" pattern              lence mn street robbenes committed
    can account for only a fraction of the           by larger groups-which typically
    injuries and deaths that result from             have a low "take" -is best viewed
    robbery. Three observations are rel-             as a form of recreaton, and the
    evant in this respect First, over two            gratmtous violence aga111st the vic-
    thirds of vctmms myured m noncom-                tm may be Just part of the fun
    mercial gun robberies do not res1st                  Given these findings, 1t 1s useful
    many way-even after the attack,28                to attempt a distmction between
    similarly, 20 out of 30 victims killed           "robbery with 111tent to mjure" or
    mn gun robber1es mn Dade County be-              kill and robbery without such m-
    tween 1974 and 1976 dhd not res1st               tent-mn whch volence would only
    the robber. Second, the hkelhood                 be used to overcome victim re-
    that the vetm wall be myured m an                s1stance The latter form of robbery
    armed robbery 1s much hgher 1f the               dommates the statistics-most vic-
     robbery is comnutted by a gang of               tms are not m fact mjured, and the
    three or more than otherwise, smce               hkeh1hood of injury 1s less with guns
    victims are less likely to offer re-             than with other weapons. However,
     stance to a group of three or four               the more volent stram of robbery,
     robbers than to a lone robber, this              Involving an intent to mnjure, ap-
     result is clearly mcompatible with               parently accounts for a high percent-
    the "mstrumental v10lence" hypoth-                age of the senous mJunes and deaths
     esis. Thrd, judging from re-arrest               that do occur m the robbery context,
     statstes for a large cohort of adult             Furthermore, the 111cidence of ex-
     robbery arrestees in Washington,                 cess volence m robbery s subject
     D.C., 1t appears that robbers who                to change over time, as Zamring
     myure their vetmms tend to be more               demonstrated m his study of robbery
     volence prone than other robbers.29              murder m Detroit 30 He found a
                                                      sharp dscontinuity 1 1972 in the
                                                      fracton of vuctms kalled m armed
        27 Other sources on thus pattern mclude       robbery· after 10 years of stable
      Conklm, Skogan, and Philip J Cook, "A
                                                      weapon-spec1fie death rates, th1s
     Strategic Choice Analysis of Robbery" m
     Sample Surveys of the Victims oJCnmes, ed        fraction doubled between 1971 and
     Wesley Skogan (Cambridge, MA Ballinger,           1973 for gun robbenes and 111creased
      1976) (hereafter cited as "A Stratege Cho1ce    even more durmg th1s penod for
     Analysis of Robbery'')                           other armed robbenes
        28 Ph1hp J Cook, 'Polices to Reduce In-
     jury and Death Rates m Robbery," Policy
     Analysis, 6(1) 36 (wmter 1980) (hereafter         30 Franklin Z1mring, "Determmants of
     cited as "Poles to Reduce Injury and            the Death Rate from Robbery A Detroit Time
     Death Rates")                                   Study,' J Legal Studies, 6(2) 317-32 (June
        29 Cook and Nag1n, p 39                      1977)
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       Are gun robbenes more dangerous                      well as assault, for reasons that re-
    than other armed robbenes, 111 the                      mamn a hit obscure.
    sense of bemg more likely to result                        Why does the presence of a loaded,
    111 the victim's death? Victims are                     authentic gun 111 robbery mcrease
    killed in a higher fract10n of gun                      the probablty of the vctum's death?
    robbenes than others: based on v1c-                     My studies of robbery murder m
    tm surveys and home1de data mn                          Atlanta and Dade County33 111d1cated
    eight cities, I calculated that there                   that 111 at least haH of the cases the
    are 90 vctmm fatahtes for every                         killmg was deliberate for example,
    1000 gun robbenes, compared with                        the victim was tied and then exe-
    1.7 v1ctnn fatalities per 1000 nongun                   cuted, or shot several time& from
    armed robbenes.31 Furthermore, 1t                       close range But 1mofar as 111tent
    appears that the type of weapon                         could be ascertamed from police
    plays an dependent role 111 deter-                      reports, 1t appears that these 111-
    mmmg the likelihood of robbery                          tent10nal killings were not premed1-
    murder, 111 a cross-sectional analys1~                  tated, but rather decided on dunng
    of 50 cities, I found that the fracton                  the course of the robbery. Perhaps
    of robbene& resultmg 111 the v1ctnn' s                  the explanaton for why these spon-
    death 1s closely related to the frac-                   taneous deers1ons are more lkely to
    tion of robbene-; that mvolve fire-                     occur when the robber 1s holdmg a
    arms 32 Thus the objective danger-                      gun 1s related to Marvm Wolfgang's
    ousness pattern applies to robbery as                   suggest1on. "The offender's phys1-
                                                            cal repugnance to engagmg 111 direct
       31 Cook, ' Pohies to Reduce Inyury and               phys1cal assault by cutting or stab-
    Death Rates," p 39                                      bmg hs adversary, may mean that mn
       32 Cook, "The Effect of Gun Avaulabl                 the absence of a firearm no homicide
    1ty,"p 775 The regress1on equaton s as                  Occurs "3
    lollows
                                                                Two conclm,1ons can be mferred
     Hobbery murders                                        from the precedmg d1scuss1011.
      1000 robberies                                            l A reducton m gun avaalablty
                   =            +            Gun robberes   wll 1crease the robbery 1njury
                        1 52         5 68                   rate,35 but reduce the robbery mur-
                       (1 16)       (2 38)    Hobbene,
                                                            der rate
    A closely related result mes the per capita,                2 Given the excess violence pat-
    rather than "per robbery,' murder rate
                                                            tern mn robbery, the robbery cases 1
     Rob murders = _                +           Gun robs     which the vctm s myured should
                           284           907
         100,000          (232)         (089)     1000      he allocated special emphasis m
                                                            estabhshmg cnmmal prosecut10n
                                +            Nongun robs    and sentencmg pnonties.36 In a
                                      136
                                    ( 072)       1000       hgh proporton of these cnmes, the
    (Numbers m parentheses are the standard                  attack that caused the mJury was not
    errors ol the ordmary least squares regress1on           mstrumental to the robbery, but
    weffiuenb) The data for 50 ates are 1975-
    76 averages The second equaton has an
    R? = 82, suggestmg that robbery murder 1s                 33 Cook, "Pohc1es to Reduce Injury and
    \ery dosely lmked to robbery Inelus1on of               Death Hate, "
    the assaultive murder rate 111 this equat10n as           34 Marvm Wollgang,Patterns in Criminal
    an rndepenclent vanable does not affect the             Homede (Phladelpha University of Pen-
    other loeffiuenh much-and the coefficient               sylvama, 1958), p 79
    on the murder varable rs not statstcally s1g-             35 See Skogan
    mficant I umdude that robbery murder 1s                   36 Cook, 'Pole1es to Reduce Injury and
    more robbery than murder                                Death Hates "
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                                  GUN AVAILABILITY                                 77

    rather was a di,tmct act A relatively   of 111cidents 111volv111g gum. But for
    severe judicial response to such        each crmme there 1s a real poss1bl1ty
    cases might act as a deterrent to       that the number of 111cidents in-
    excess volence m robbery.               volvmng weapons other than guns
                                            would 111crease as a result of the
    Coercion and assault                    reduction    111 gun availability. If this
                                            weapon substtuton does occur, the
       Does the mstrumental v10lence net effect of reduced gun availability
    pattern m robbery have any parallel on cnme rates could be either posi-
    m assault? I suspect the answer is tve or negative
    yes, but I know of no empincal             First, cons1der the crmme of assault
    evidence                                In an environment m whch a hgh
       Some unknown fraction of assault percentage of the volence-prone
    cases are similar to robbery 111 that people carry guns, 1t 1s poss1ble that
    the assailant' 5 obJectlve 1s to coerce a sort of mutual deterrent 1s created,
    the victim's compliance-the as- whereby a rational person would
    sa1lant wants the victim to stop thmk twee before pckmg a fght
    attackmg lum, physicalry or verbally, A protagomst that is foolish enough
    or stop dancmg wth hrs grlfr1end, to start a fight m such an environ-
    or get off his favonte barstool, or ment may be persuaded to back off
    turn down the stereo. And, as m the if hs mtended victmm pulls a gun
    case of robbery, the probability of a When physical attacks do occur,
    physical attack m such cases may be they are likely to be perpetrated with
    less if the assailant has a gun than a gun and to be senous. Tlus lme of
    otherwise because the vctm wall be argument may explam why the Bart-
    less mcled to ignore or resist a ley-Fox Amendment m Massachu-
    threat enforced by the chsplay of a setts-an antlcarrymg law that was
    gun It may also be true that the as- apparently qmte effochve-may have
     saulant would be more hesitant to use resulted m an ncrease m the rate of
    a gun than another weapon to make aggravated assaults-the gun assault
     good his threat. If ths reasonmg 1s rate went clown substantially fol-
     correct, than a general 1crease 1n lowmg 1mplernentat10n, but the non-
     gun availability may reduce the gun assault rate 1creased even
     number of assault-related myur1es       more ?' A legal mterventon that 1s
                                             successful 111 gettmg guns off the
       INCIDENCE THE SUBSTITUTION            streets may encourage relatively
                    PATTERN                  harmless   fights wth fists and broken
                                             bottles. Defimtive results 111 this
       The precedmg evidence suggests area are hard to come by, 111 part due
    that gun availability has a substantial to the dffculty m measurmng the as-
     effect on the dstrbuton and senous- sault rate 111 a consistent manner
     ness of violent crime The thrd d1- over tune or across Junsclichons.
     mens1on of the volent er1me prob-          My cross-<;ect10nal analysis of rob-
     lem is 111c1dence-the number of bery m 50 c1t1es found that one
    v10lent confrontat10ns and attacks       measure of gun availability-the
     For each of the cimes under con-
     siderat10n-assault, robbery, and          37 Glenn L Pere and Wilham J Bowers,
     homicide-a reduct10n 111 gun avail- "The      Impact of the Bartley-Fox Gun Law on
                                             Cme in Massachusetts,'' unpublished manu
     ability to crmmmals would presum- sr1pt (Northeastern Unversty Center for
     ably cause a reduction 111 the number Applied So1al Research, 1979)
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   density of gun ownershp--was sta-              crackdown focw.ed on the least
   tstically unrelated to the overall             lethal type of gun-small caliber
   robbery rate when other caw.al fac-            handguns-might not have the de-
   tors were taken mto account.38 By              s1red effect on crimmal home1de 1f
   way of illustratron, the two cities            perpetrators substituted large cali-
   with the highest robbery rates De-             ber handguns or longguns.
   trot and Boston-differed markedly                 My conclusIOn 1s that effective
   mn gun ownership. Boston was one               gun control measures are unlikely
   of the lowest, and Detr01t was above           to reduce the total number of volent
   average The same study demon-                  confrontatIOm and attach, but may
   strated that the fraction of robbenes          well reduce the cnmmal homicide
   committed wth a gun was closely                rate
   related to the density of gun owner-
   ship m the city. Apparently robbers                       CONCLUSIONS
   tend to substitute guns for other
   weapons as guns become readily                    The type of weapon matters 111
   available, but with little or no change        volent crmme, both mn terms of its
   mn thenr rate of comm1ss1on.                   seriousness and 1ts dstr1but1on If
      If guns were less widely available,         robbers could be depnved of guns,
   the cnmmal hom1c1de rate would                 the robbery murder rate would fall,
   fall. Ths prediction 1s justified by           the robbery mnyury rate would nse,
   three d1stmct arguments developed              and robber1es would be red1stnbuted
   111 this article. (1) kmves and clubs          to some extent from less to more
   are not close substitutes for guns for         vulnerable targets The assaultive
   Implementing a dee1s1on to kl],                murder rate would decline, with the
   especially when the mntended vctmm             greatest reductons mvolvmng the
   1s relatively mvulnerable, (2) Znn-            least vulnerable vctms The over-
   nng's "obJective dangerousness" re-            all assault rate might well mcrease.
   sults demonstrate that a reductron 111         These pred1ctIOns are based on com-
   gun use m senous-but ambiguously               mon sense and a vanety of emp1ncal
   motivated-assaults will reduce the             observatons. None of ths evidence
   hom1c1de rate, and (3) my results on           1s conclusve, but it 1s the best that 1s
   robbery murder m the 50-cities                 currently available.
   study mndrcate that the fracton of                Is 1t reasonable to suppose that
   robberies that result m the victim's           moderate gun control measures have
   death 1s closely related to the frac-          the potential to discourage some
   ton of robber1es mvolvmng guns A               violent crmmnalspotential or ac-
   final bat of evdence comes from eval-          tve from obtammg guns? No doubt
   uatons of the Bartley-Fox Amend-               there are some active cnmmals and
   ment, which suggest that t reduced             other volence-prone people who
   the crmmmnal homie1de rate m Massa-            have the mncentve and resources re-
   chusetts :19 The tough new handgun             qmred to acqu1re a gun even mn the
   law 111 the D1stnct of Columbia has            face of substantial legal barriers. But
   also apparently been effective 111 this        such determined people do not
   regard." It should be noted that a             figure importantly m the volent
                                                  cnme statistics-mdeed, most as-
     38 Cook, "The Effect of Gun Availability"
     39 See the article by Pierce and Bowers mn   saults and robberies do not even In-
   thus issue                                     volve guns now, despite the fact that
     40 See Jones's artrele mn th1s issue         guns are readily ava1lable m most
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                                  G UN A VAILABI LI TY                             79

     yunsd1tons A gun control measure          availability are attractive None of
     that 111creases the average cost and      the!>e pred1ct10m can be made with a
     hassle of a youthful urban male           high degree of eertarnty. But 1t is not
     acqumng lus first handgun may at          unreasonable to suggest that a mod-
      lea,t delay acqms1t10n for a year or     erate, vigorously enforced program
     two-with noticeable effect on the         for regulatmg the sale and use of
      gun cnrne rate A v1gorou\ crack-         gun, would save a substantial num-
      down on carrymg concealed weap-          ber of hves Gun control 1s not "the
      ons may have a similar benefical         soluton'' to Amer1ca's volent cr1me
      effect.                                  problem, but perhaps 1t should be
        Not all of the predicted effect!> on   one aspect of the effort to find a
      v10lent cnme of a reduton mn gun         soluton
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                          EXHIBIT Q
        to Expert Report of Professor Louis Klarevas
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    ' ANNUAL
    lREVIEWS
                                                       Annual Review of Criminology

                                                       Firearm Instrumentality:
                                                       Do Guns Make Violent
                                                       Situations More Lethal?
                                                       Anthony A. Braga,1 Elizabeth Griffiths,2
                                                       Keller Sheppard, 1 and Stephen Douglas'
                                                       'School of Criminology and Criminal Justice, Northeastern University, Boston,
                                                       Massachusetts 02115, USA; email: a.braga@northeastern.edu
                                                       2School of Criminal Justice, Rutgers University, Newark, New Jersey 07102, USA




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    September 14, 2020

    The Annual Review of Criminology is online at      Abstract
    criminol.annualreviews.org
                                                       One of the central debates animating the interpretation of gun research for
    htcps://doi.org/10.1146/annurev-criminol-061020-   public policy is the question of whether the presence of firearms indepen-
    021528
                                                       dently makes violent situations more lethal, known as an instrumentality ef-
    Copyright 2021 by Annual Reviews.                  fect, or whether determined offenders will simply substitute other weapons
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                                                       to affect fatalities in the absence of guns. The latter position assumes suf-
                                                       ficient intentionality among homicide assailants to kill their victims, irre-

    ##CONNECT                                          spective of the tools available to do so. Studies on the lethality of guns, the
                                                       likelihood of injury by weapon type, offender intent, and firearm availability
•   www.annualreviews.org                              provide considerable evidence that guns contribute to fatalities that would
    • Download figures                                 otherwise have been nonfatal assaults. The increasing lethality of guns, based
    • Navigate cited references                        on size and technology, and identifiable gaps in existing gun control policies
    • Keyword search
                                                       mean that new and innovative policy interventions are required to reduce
    • Explore related articles
    • Share via email or social media                  firearm fatalities and to alleviate the substantial economic and social costs
                                                       associated with gun violence.


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             INTRODUCTION
             Weapon instrumentality is based on the straightforward idea that the type of weapon deployed
             in an assault influences the mortality of the victim. Logically, guns are regarded as more lethal
             instruments than knives, knives more lethal than blunt instruments, and so on. Yet the National
             Rifle Association and other progun activists often invoke the familiar slogan "guns don't kill peo-
             ple, people kill people" to support their arguments for more-permissive gun controls (Henigan
             2016). This perspective suggests that an attacker who has a very strong determination to kill will
             take the necessary steps to be successful regardless of available weapons (Cook 1991, Cook et al.
             2011). As such, the assailant's will to kill is reliably measured by whether the victim survives or
             perishes (Braga & Cook 2018, Zimring 1972). This perspective is reified in criminal law, wherein
              murderers are subjected to the harshest sanctions, including life without the possibility of parole
              or even death (Vernick & Hepburn 2003). The "people kill people" perspective further suggests
              that gun control is futile in reducing homicides because determined killers will simply find an-
              other way (Kleck 1997, Wolfgang 1958, Wright et al. 1983). If guns are not available, assailants
              will substitute knives, blunt instruments, or other means.
                  The alternate view is that "guns do kill people" and gun control advocates suggest that re-
              ducing firearm availability to violent people will save lives even if determined killers select other
              weapons instead (Cook 1991, Cook et al. 2011, Henigan 2016). Injuries in assaultive violence are
              often inflicted by whatever means are most available to the attacker, most commonly fists or feet
              followed by other objects that are close at hand (Hedeboe et al. 1985). Although a person who is
              determined to kill will sometimes acquire a lethal weapon, gun-inflicted deaths often ensue from
              varying kinds of impromptu arguments or fights (Spitzer 1995, Zimring & Hawkins 1997). Gun
              control advocates suggest that many of these deaths would be replaced by nonfatal injuries if guns
              were not available; in essence, they suggest that a more refined slogan would be "people without
               guns injure people; guns kill them" (Baker 1985, p. 588).
                   The purported strong will to kill as the key determinant of mortality is challenged by the note-
              worthy similarity in the characteristics and circumstances of fatal and nonfatal gun-assault inci-
               dents (Cook et al. 2019). Mortality in many gun attacks seems to be influenced by chance events,
               such as the number and placement of wounds, the availability and quality of medical help, and
               other factors (Braga & Cook 2018). The considerable overlap between fatal and nonfatal shoot-
               ings is well captured by the observation of a Boston police investigator that the difference between
               the two events "is often only a matter of inches and luck-a lot of times a nonfatal shooting is just
               a failed homicide" (Braga et al. 2014, p. 119). In her in-depth examination of South Los Angeles
               homicides, investigative reporter Jill Leovy (2015, p. 49) notes that there were approximately five
               nonfatal injury shootings for every one gun homicide and, given the similarity between the events,
               detectives called these nonfatal shootings "aloscides, for 'almost homicides." Research on fatal
               and nonfatal gun assaults further suggests that mortality is influenced by the type of gun used in
               the attack, and the selection of the gun in these events is largely independent of other indicators of
                the assailant's intent (Braga & Cook 2018, Zirnring 1972). As such, the types of guns deployed in
               assaults dramatically influence whether the intended victim lives or dies beyond the determination
                of the assailant to commit murder.
                    Firearm instrumentality is controversial among academics who study gun control policy issues.
               The controversy stems from disagreement over an assailant's purported intention to kill and
                whether a would-be killer would merely substitute other means to complete the act if guns were
                not available. In their recent survey of gun policy experts, the RAND Corporation discovered
                two distinct groups of scholars: those who favored more-restrictive gun regulations and those
                who favored more-permissive gun regulations (Morral et al. 2018). According to this research, "a


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striking result of the survey concerns the wide disparity between estimates made by the two expert
groups about means substitution.       That is, they disagree about the extent to which any reduc-
tions of firearm. .homicides attributable to a policy are undermined because individuals simply
use other means to achieve those ends" (Morral et al. 2018, p. xii). The average survey participant
who favored more-permissive gun controls responded that if a policy successfully reduced a state's
firearm homicides, 90% of the prevented homicides would still end as a homicide by some other
means. In contrast, the average survey participant who preferred more-restrictive gun controls
indicated that only 20% would still end in homicide. As such, gun policy experts with preferences
for more-permissive gun regulations view legislative efforts to reduce gun homicides as futile
since they believe would-be killers will complete their murderous acts through other means.
     Firearm instrumentality is clearly a foundational issue in the great American gun control de-
bate. Broader arguments that seek to limit the availability of guns to violence-prone individuals
through the adoption of more-restrictive gun controls are based on the idea that lives would ul-
 timately be saved (Cook et al. 2011). In this review, we examine the available scientific evidence
on whether guns make situations more lethal. The review begins by examining extensive research
 on the lethality of gun assaults, focusing on a range of studies that attempt to determine the ex-
 istence of instrumentality effects in violent gun and non-gun crimes. Extended coverage is given
 to two comprehensive studies that estimate whether gun caliber, killer intent, and other chance
 elements in gun assaults determine the likelihood of death for victims. We find strong support for
 gun instrumentality effects in our review of the literature. The final sections consider the policy
 implications of these findings and offer recommendations for further research in this area.


THE LETHALITY OF GUNS
Guns are obviously designed to be lethal instruments. And although guns in civilian hands are used
for sport shooting, hunting, and dealing with animal pests, they can also be deployed against people
for legal self-defense or criminal purposes. In 2018, guns were used in more than 10,000 murders,
38,000 rapes/sexual assaults, 42,000 aggravated assaults with injury, and 96,000 robberies (Bur.
Justice Stat. 2019, FBI 2018). However, it is important to note that most serious violent crime
victimizations do not involve guns. The 2018 US Bureau of Justice Statistics National Crime
Victimization Survey (NCVS) reveals that only 5% of rapes/sexual assault, 11 % of aggravated
assault with injury, and 17% of robbery victimization incidents involved a firearm (Figure 1).
When used in violent crime, guns are usually not fired; more than three-quarters of nonfatal gun
crime victims do not suffer gunshot wounds (Planty & Truman 2013). Instead, as is discussed
further below, guns are typically deployed by criminals to gain compliance or threaten victims
rather than to injure them. Most gun crimes involve handguns, which are used in roughly two-
 thirds of gun homicides and 90% of nonfatal gun violence (Planty & Truman 2013).
     Among those violent gun incidents that do generate injuries, whether the victim lives or dies is
 often dependent upon the technology (i.e., type and characteristics) of the guns used in the assaults
 (for an excellent overview from a public health perspective, see Karlson & Hargarten 1997). The
 kinetic energy of a bullet is determined by its mass and velocity when fired from a gun. In general,
 the larger the caliber, the more mass the bullet will have. Larger-caliber bullets (such as .40, .44,
 and .45) generate more tissue damage than smaller-caliber bullets (such as.22,.25,and .32) when
 they strike the same body parts (Hargarten et al. 1996). Jacketed bullets tend to cause perforating
 wounds with less tissue damage relative to bullets designed to fragment and/or mushroom (Fackler
 et al. 1988). Caru·idge cases can vary in the amount of explosive gun powder they hold, with larger
 cartridges generating higher bullet velocities when fired. Rifles are considered more lethal than
 handguns given the higher bullet velocities generated by the larger cartridges and the increased

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                        800

                                                                                                            □ Without gun -
                        700
                                -                   697
                                                                                                            □ With gun
                        600 b                                                                                                -
                                                                                                               477


             Personal
       victimization
                        500
                                -                                                                                            -


            incidents   400 I-                                                                                               -
                                                                              353
              in 2018
        (thousands)
                        300
                                -                                                                                            -


                        200 I-                                                                                               -


                          100
                                -                                                                            96 (17%)
                                                                                                                             -

                                                   38 (5%)                  42(11%)
                            0
                                        Rape/sexual assault      Aggravated assault with injury             Robbery

Figure 1
Personal violent victimization with and without guns, 2018. Data taken from Bureau of Justice Statistics (2019).

                                accuracy of the longer barrel lengths (which also contribute to increased bullet velocity). Shotguns
                                generally fire shells filled with multiple small pellets (gauges represent pellet sizes with 10 and 12
                                gauge being the most common; shotguns can also fire a single rifled "slug") that can be quite lethal
                                at close range because of the extensive tissue damage generated by a concentration of pellets and
                                much less lethal at distance because of the dispersion of pellets after firing (Karlson & Hargarten
                                1997).
                                    The number and location of gunshot wounds also influence the mortality of the victim in
                                gun-assault incidents. Holding other factors constant, injuries to the head and upper spinal cord
                                are considered the most lethal gunshot wounds followed by injuries to the chest and abdomen
                                (depending on whether vital organs are hit) and to extremities such as arms and legs (Karlson
                                & Hargarten 1997, Kellermann et al. 1991). The number of gunshot wounds involved in a gun
                                assault also elevates victim mortality, as each wound represents additional traumatic tissue injury
                                (D'Alessio 1999, Hargarten et al. 1996). Other factors, such as the availability of quality trauma
                                care to save injured victims (Coupet et al. 2019) and the speed at which first responders locate
                                gunshot victims also influence the lethality of gun attacks. By one estimate, almost three-fourths
                                of gun homicide victims die before they reach the hospital (Karlson & Hargarten 1997).
                                    Empirical evidence suggests that guns are becoming more lethal over time with larger shares
                                featuring higher-capacity magazines and using larger-caliber bullets (D'Alessio 1999, Kellermann
                                et al. 1991, McGonigal et al. 1993, Webster et al. 1992, Wintemute 1996). For instance, in Boston,
                                higher-capacity semiautomatic pistols capable of shooting more bullets replaced revolvers as the
                                most frequently recovered type of handgun beginning in the 1990s (Braga 2017). As a conse-
                                quence, the share of smaller-caliber handguns among crime gun recoveries decreased over the
                                 2000s as the prominence of larger-caliber handguns increased. According to Table 1, the share
                                 of semiautomatic pistols recovered by the Boston Police Department increased from only 34.6%
                                 of total handguns recovered between 1981 and 1985 to a peak of 7 5.7% between 2001 and 2005,
                                 before dropping to 66.6% between 2011 and 2015. Table 1 shows that large-caliber handguns


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Table 1 Types and calibers of recovered handguns in Boston, 1981-2015
                                         Percent          Percent             Percent               Percent          Percent
       Period                   N       semiauto        .22, .25, .32        .38, .357            .380, 9mm         .40, .44, .45
 1981-1985                    3,134        34.6             44.9                38.6                   7.5               4.3
 1986-1990                    3,114        41.6             44.2                33.2                  14                 5.1
 1991-1995                    3,449        60.9             38.3                23.3                 30.2                4.8
 1996-2000                    2,008        74.2              38.9               23.9                 27.5                6.8
 2001--2005                   2,905        75.7             29.2                20.9                 29.7               12.9
 2006-2010                    2,195        65.7              26.4               20.6                 33.4               18
 2011--2015                   2,352        66.6              26.7               20.7                 31.7               19.9

Table adapted from Braga (2017).


(.40, .44, and .45) increased almost fivefold from 4.3 % of total handguns recovered between 198 l
and 1985 to almost 20% of total handguns recovered between 2011 and 2015. Equally important,
Table 1 also documents the noteworthy shift away from medium-caliber bullets often used in
revolvers (.38, .357) toward medium-caliber bullets typically used in semiautomatic pistols (.380,
9mm). The transition from revolvers to semiautomatic pistols and from smaller to larger-caliber
handguns mirrors national trends in handgun production in the United States between the 1980s
and 1990s (Wintemute 2010).
    The increased killing power of handguns recovered by law enforcement agencies in the United
States seems to have increased the lethality and number of wounds that gunshot victims experience
over time. In epidemiology, the case-fatality rate is generally defined as the proportion of deaths
(i.e., gun homicides) within a designated population of cases (total gunshot injury victims) (see
Efron et al. 2006). For gun-assault victimizations, the case-fatality rate is roughly I in 6, wherein
approximately 17% of gun-assault victims with injuries die from their wounds (Cook 1985). Fur-
thermore, this rate has remained fairly stable since the 1980s, leading Cook and colleagues (2017)
to conclude that national declines in gun homicide rates were better explained by decreases in the
number of gun assaults rather than improvements in trauma care for firearm injuries. City-level
studies, however, show that local case-fatality rates can diverge markedly from national trends and
these differing patterns may be linked to changes in the technology of guns used in assaults. For
instance, an analysis of gunshot wound patients treated in a Denver trauma center between 2000
and 2013 suggests that case-fatality rates increased over time as gunshot patients suffered more
severe wounds and an increased number of serious wounds per patient (Sauaia et al. 2016). A simi-
lar study of 6,322 gunshot wound patients treated at the New Jersey Trauma Center at University
 Hospital in Newark reported significant increases in patients with three or more wounds from
 13% to 22%, with a corresponding increase in mortality from 9% to 14%, between 2000 and
 2011 (Livingston et al. 2014).
    Criminological studies have shown that case-fatality rates can vary over the course of gun vio-
 lence epidemics. For instance, in a classic study of the influence of the heroin epidemic on serious
 violence in New York City, the RAN D Corporation found that the rapid increase in homicide in
 Harlem between 1968 and 1974 was driven by an increase in the case-fatality rate of gun assaults
 rather than an increase in the number of gun assaults (Swersey & Enloe 1975). More recently,
 Braga (2003) analyzed youth gun assaults in one police district located in a mostly black disadvan-
 taged neighborhood in Boston between 1987 and 1995, representing the years before and during
 a gun violence epidemic initiated by the emergence of crack cocaine in the city. He found that the
 nature of youth gun assaults changed over time in several noteworthy ways: Larger-caliber semi-
 automatic pistols were more likely to be fired in gun attacks, incidents were likely to occur in public

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             places, a larger share of youth gun assaults resulted in a wound, and, for those assaults that involved
             a wound, a larger share involved multiple gunshot injuries. Most importantly, although the abso-
             lute number of youth gun assaults in I 995 was essentially the same as 1987, the case-fatality rate
             in this high-risk policing district tripled over the study period. Braga (2003) identified changes
             in both firearm instrumentality effects, as indicated by increased use of more powerful handguns
             with higher-capacity magazines, and shooters' intent to kill, as indicated by the increased number
             of wounds on youth gun-assault victims.
                The empirical evidence reviewed above shows that there are several factors associated with the
             lethality of guns deployed in criminal assaults. In sum, it is not controversial in public health and
             medical research that mortality increases with the power of the gun deployed in assaults. As such,
             this research suggests the existence of firearm instrumentality effects. However, some observers
             argue that the selection of the firearm used in gun attacks is simply a reflection of the shooters'
             intent to kill and determined killers will complete their acts by substituting other deadly means if
             guns are unavailable. The next section considers findings of the criminological research on firearm
             instrumentality, intentionality, and the lethality of possible weapon substitution effects.


             Intention Versus Instrumentality
             There is considerable evidence that the risk of death is elevated when a violent incident involves
             a gun. In particular, Cook (2018) found that crime victims who suffered gunshot wounds were
             more than seven times as likely to die when compared to knife attack victims who were seriously
             injured. In the case of robbery, the greatest difference between fatal and nonfatal robberies was the
             perpetrator's choice of weapon, wherein the likelihood of victim death in gun robberies (0.41% or
             approximately I in 250) was three times higher than knife robberies (0.13 % or approximately I in
             750) and 10 times higher than robberies committed with other weapons (0.04% or approximately
              I in 2,500), such as blunt instruments (Cook 1987). The likelihood of death in an unarmed robbery
             was approximately 1 in 5,000 (or 0.02%). Given that only 17% of total robberies involve firearms,
             but 65% of robbery murders are committed with a gun, the choice of weapon appears to have a
              significant and independent effect on the likelihood of victim fatality (Cook 1987). Cook (1987)
              found further evidence of firearm instrumentality effects in his panel analysis of changes in crime
              rates across 43 US cities; in this case, an additional 100 gun robberies increased the robbery-
              murder rate by three times as much as an additional 100 non-gun robberies. Cook (20 18) observed
              that the 3: I ratio was congruent with the difference in case-fatality rates for robbery and suggested
              a possible causal impact where robbery-murder was a by-product of robbery that occurred with a
              likelihood determined by the intrinsic lethality of the weapon deployed.
                  Using data from the National Incident-Based Reporting System (NIBRS), Libby & Corzine
              (2007) investigated the impact of weapon type on the lethality of violent interpersonal encoun-
               ters. Controlling for incident circumstance, the relationship between the offender and victim, and
               their respective characteristics, firearms were found to have the strongest effect on the lethality
               of violent encounters, with handguns and shotguns representing the most lethal weapons overall
               (Libby & Corzine 2007). Similarly, Weaver et al. (2004) found that incidents involving firearms
               were 11 times more likely to result in victim homicide compared to unarmed assaults, whereas the
               use of knives was only approximately 2.5 times more likely to result in victim homicide. These
               findings support previous research in demonstrating independent weapon instrumentality effects,
               even when controlling for approximate measures of offender motive and intent (Wells & Horney
              2002).
                 Weapon type has also been shown to influence victim mortality in family and intimate assaults.
              Research by Saltzman et al. (1992) showed that firearm assaults were three times as likely to result


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111 death as assaults mnvolvng knives or other cutting weapons, and approximately 23 times as likely
to result mn death as assaults mvolvmng other weapons or bodily force Overall, family and mtimate
assaults with a firearm were 12 times more likely to result m death than non-firearm assaults
Add1t10nally, approximately 50% of assaults with firearms resulted 111 a nonfatal !Il)llry, compared
to 66% of assaults with knives, 111d1cat111g that firearm attacks were less likely to result 111 nonfatal
mnJuries than were kntfe attacks (Saltzman et al 1992)
     These findmgs re111force other research 111 demonstrat111g that gun assaults are particularly
lethal For example, Felson & Messner (1996) found that offenders who used a gun were more
than 40 times more likely to kill the victim than offenders who did not use a weapon, compara-
tuvely, offenders who used a knife were only 4 4 times more likely to kill the victim than offenders
without weapons Add1t10nally, guns were more strongly associated with homtc1des when the mnt-
 tiatmg offense was an assault compared to a robbery, suggestung that guns facilitate hom1c1de for
 offenders with a determ111at10n to kill, as offenders engag111g 111 assault are more likely than of-
 fenders engag111g 111 robbery to harbor lethal 111tent (Felson & Messner 1996)
     Thus quest1on of intent motuvated some of the earliest studies related to firearm 111strurnental-
 1y Wolfgang's (1958) seminal study of homtctde m Philadelphia posted that few homicides would
 be prevented solely by elmmmnatmg the presence of firearms, as determmed offenders would likely
 substitute other weapons to achieve the same result. vVnght et al (1983) concur with tlus obser-
 vation and suggest that firearms simply make the act of killing easier If no guns were available
 and the assailant was committed to completmg the act, they would find another method of ach1ev-
 1ng It But 1t was roughly 50 years ago that Zmmrmg (1968, 1972) offered the first cntlcal tests of
 the extent of overlap between fatal and nonfatal attacks 111 an effort to disentangle whether m-
 strumentalty or mntentuonalty d1stungu1shed homtcrdes from serous assaults (either with guns or
 wIth other weapons) Although he could not directly measure mntentuonahty with ex1stung official
 data, he suggested that 1t could be mferred 1f firearm home1des exhtbrt different features such as
 victim-offender relat10nsh1p, motive, locat10n of wounds, number of wounds, etc from nonfatal
  attacks Contrary to vVolfgang (1958), Znnrmg (1968, p 722) believed that at least some hom1-
  c1des may be ambiguously motivated rather than "deliberate and determined," and "If the probable
  substitute for firearms in these situations 1s less likely to lead to death, then the elim111at10n of guns
  would reduce the number of hom1c1cles "I-I1s research showed substantial snmlarmes between the
  profiles of homicides and serous assaults, mmplying an ambiguity 1n intent to kall and leading hmm
  to conclude that what chst1ngmshes a horn1c1de from an assault 1s simply that the vctum does not
survive the attack
    As noted earlier, 111tent1onality may be evaluated even more chrectly on the basis of the location
of the wound (Braga & Cook 2018, Zamrmg 1968, 1972) Those determined to commit homicide
should target vital organs or areas of the body, mcludmg the trunk of the body or the head, rather
than extrem1t1es, like arms or legs Yet Zmmng (1968) found that nearly half of all gun attacks
(44%) 111 Chicago resulted mn wounds to nonvtal parts of the vctum's body, whereas a maJonty
of kmufe attacks known to police resulted 111 wounds to the head, neck, chest, or back This means
that attackers with a gun appear to no more mtencl a fatal outcome than do attackers usmg other
weapons, and because "the rate of lm1fe deaths per 100 reported kmfe attacks was less than 1/5 the
rate of gun deaths per 100 reported gun attacks" (Zmmng 1968, p 728), subst1tutmg kmfe attacks
for gun attacks should dnve the horn1c1de rate down by a large margm If 111tent1on is relatively
even across attacks that encl 111 fatalmes and those that do not, then the maJor factor chstmgmshmg
home1des from assaults rs the dangerousness of the weapon Thus 1s particularly problematic, as
guns can be fired from longer ranges, more easily, and with less skill than can other weapons of
 choice for assailants



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                  Even among only those attacks committed with a gun, 1f larger-caliber guns produce a greater
              proporton of homicides versus assaults under s1mular circumstances, then the dangerousness of
              the weapon can be said to mdependently contribute to fatalities Exclud111g shotguns and large-
              caliber riflcs, Z1mr111g's (1972, p 105) analyses showed that 38 caliber attacks to the head and
              chest, 111 particular, but also the abdomen, back, and neck were "more than twice as deadly as 22
              caliber attacks" to the same areas, prov1dmg addiuonal support for an mstrumentaliLy argument
              Based on these two 111fluent1al studies, Z1mnng (1972, p 110) concluded that patterns 111 fatal and
              nonfatal gun attacks are highly similar mn "structure, intent1on, and motivational background" and,
              furthermore, that mtent to kill is largely ambiguous across gun honuc1des and serious but nonfatal
              gun assaults The results of this early work and later replicat10ns (Sarvesvaran & Jayewardene
               1985, Vinson 1974) provide direct support for the 111strumentality effect, wherem guns 111fluence
              the lethality of attacks pnmanly as a function of their dangerousness (see also Braga & Cook 2018,
              Cook 1991, Cook & Ludwig 2000, Cook et al 2019, Z1rig & Hawkins 1997)
                  In a more recent and comprehensive study on weapon 111strumental1Ly and 111tent1onaliLy, Braga
               & Cook (2018) demonstrated that, compared to smaller-caliber firearms, larger-caliber guns pro-
               duce substantially more fatalltles among shoot111g victims 111 Boston fheir research showed that
               the circumstances, neighborhood, pr1or crmmal h1story, and demographc characterstucs of fatal
               and nonfatal shootmgs are mchst111gmshable Given the substantial overlap 111 the features of gun
               homicides and nonfatal shootings, and mirroring the findings m Zamrmg's 1970s Chicago studies,
               Braga & Cook (2018) argued that there was little evidence to support the content10n that fatal
               and nonfatal shootungs are qualitatively dustunct They then examined a subset of those eases 111
               which the caliber of the weapon used 111 the shoot111g was known to police Compared to nonfatal
               shootings, gun homicides were found to be significantly more likely to involve large-caliber hand-
               guns, to be characterized by a greater number of shots fired, to result 111 multiple gunshot wounds
               to victims, and to wound the victim 111 the head or neck relative to peripheral parts of the body
              (Braga & Cook 2 0 I 8)
                  If the select10n of a more powerful, larger-caliber handgun were dependent on the attacker's
              111tent10n to loll, however, then the character1stucs of shootings involving small caliber handguns
              should cltffer from the features of shoot111gs mvolv111g medmm- and large-caliber handguns re-
              spectvely Yet Braga & Cook's (2018,p 1) research illustrated that "caliber was not sigmficantly
              correlated with other observable charactensl!cs of the assault, Including mndrcators of 1tent and
              determmat10n to loll," such as the number of wounds, the locat10n of wounds, and vctmm charac-
              tenst1cs In effect, there was no evidence that sex, race, age, cnmmal history, cu-cumstances of the
              shootung, the skull and determmnatuon of the shooter, or other features of 111c1dents were associated
              with the caliber of the handgun med 111 the attack Consequently, shooters do not appear to be
              selectmng a more powerful handgun according to their intent to lull Thus "lack of systematic asso-
              c1at1on 1s what would be expected 1f caliber were ass1gned at random, as mn an experiment" (Braga
              & Cook 2018, p 6)
                   fhe overlap 111 profiles of fatal and nonfatal shootmgs combmed with the failure of mc1dent-
              spec1fic characteristics to distinguish shootings involving small versus large-caliber guns enables a
              stnct test of weapons instrumentalty That1s, 1f the size and power of the handgun used 111 a shoot-
              mg Influence the likelihood of death 1dependent of other features of the v10lence, and there is no
              clrrect effect of those features on the select10n of tl1e type of handgun, then the argument form-
              strumentalty 1s considerably stronger In a model pred1ctmg fatal versus nonfatal shootings, Braga
              & Cook (2018) found that v1ct1ms of attackers who use a medmm-calrber handgun are more than
              twice as likely to die as a consequence of the shootung as those who are shot with a small-caliber
              handgun, and those odds double for v1ctuns shot with large caliber handguns They conclude that
                f the medrum- and large-caliber guns had been replaced with small-caliber (assummg everyt:h111g

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else unchanged), the result would have been a 39.5% reduction in gun homicides" (Braga & Cook
2018, p. 7). Importantly, then, gun fatalities are substantially elevated in the context of attacks with
more powerful firearms, holding other features of the shooting constant.
    Collectively, the studies that most directly focus on intentionality and instrumentality in gun
violence point to a relatively clear conclusion: the dangerousness of the instrument used in vio-
lent attacks plays a critical role in producing fatal outcomes. Attackers using larger-caliber guns
conduct attacks that bear striking similarities to those who use smaller-caliber guns in circum-
stance, accuracy, number of shots fired, and the location of wounds to victims (Braga & Cook
2018; Zimring 1968, 1972). Yet the likelihood of death increases with the power of the firearm
used in the attack; larger-caliber weapons are increasingly likely to produce lethal consequences.
Ultimately, then, "whether the victim of a serious assault lives or dies is to a large extent a matter
of chance, rather than a question of the assailant's intent. The probability of death is connected
 to the intrinsic power and lethality of the weapon" (Braga & Cook 2018, p. 8). From a public
 health perspective, reducing the objective dangerousness of gun violence could be accomplished
 more readily by controlling the size and power of firearms available to the public than by assum-
 ing intentionality on the part of the offender on the basis of what amount to chance outcomes in
shooting incidents.


Offender Firearm Use, Victim Compliance, and Injury Incidence Rates
Weapon instrumentality effects also appear to influence the likelihood that violent incidents result
in any injury to victims. Using data from the 1979-1985 NCVS and the FBI's 1982 Supplementary
Homicide Report, Kleck & McElrath (1991) assessed the impact of various weapon types on the
likelihood that a threatening situation escalated into a physical attack, whether the attack resulted
in an injury, and whether the injury resulted in the death of the victim. Regarding the likelihood
of injurious attacks on victims, the study suggested that the net effect of the presence of deadly
weapons-firearms and, to a lesser extent, knives-in threatening situations is to reduce the prob-
ability that the possessors of the weapons attack. As tile lethality of tile weapon present increases,
 the probability of a physical and injurious attack decreases (Kleck & McElrath 1991). In effect,
 the threat alone is sufficient to subdue the victim. Libby (2009) attempted to replicate these find-
 ings using National Incident-Based Reporting System (NIBRS) data for 2003--2005 and generally
 confirmed the results of Kleck & McElrath (1991). His analysis indicated that the chances of non-
 lethal victim injury decreased by approximately 80% in incidents featuring a firearm. However,
 when firearms were used in the commission of a crime, the likelihood of death was substantially
 greater (Libby 2009).
     Research suggests the source of these more nuanced instrumentality effects of guns on injury
 incidence may be rooted in offender decision-making processes and victim resistance in violent at-
 tacks. Criminal offenders may use firearms to facilitate the successful commission of their intended
 crimes (Jacobs 2000, Kleck & McElrath 1991, Wright & Decker 1997, Wright & Rossi 1994).
 Guns also tend to be used when offenders are planning robberies that involve larger amounts
 of cash and/or more expensive items (Cook 2009). Robbers report their desire to use the over-
 whelming force made possible through firearms to secure victim compliance via the threat of
 serious injury and death (Feeney 1986, Jacobs 2000, Wright & Decker 1997). In noncommercial
 robbery cases, the standard technique is to threaten victims and take their valuables without actu-
 ally attacking them [78% of gun robberies and 64% of knife robberies (Cook 1980)). In contrast,
  74% of unarmed noncommercial robberies and 60% of blunt instrument noncommercial rob-
  beries involved physical attacks on victims followed by attempts to take their valuables by force
  (Cook 1980). The likelihood of injury followed the same pattern, ranging from only l 1 % of gun

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             robberies to 36% of robberies with blunt instruments (Cook 1980). As described earlier, when
             guns are present and fired, victim injuries are far more likely to be lethal.
                 Although less developed than the empirical evidence on weapon use in robbery, qualitative
             interviews with sexual assault offenders similarly show that they use weapons like guns to control
             their victims, discourage resistance, and secure compliance (Beauregard & Leclerc 2007, Reid &
             Beauregard 2017). As one serial sex offender noted, "It was better to threaten a victim with a gun
             when she was further away; she knew I could shoot her from that distance, which isn't the case
             with a knife" (Beauregard & Leclerc 2007, p. 123). Offender views on the subduing power of guns
             seem to be well supported, as victims were less likely to resist and offenders were more likely to
             complete the robbery or sexual assault successfully when a firearm was present (Cook 1980, 2009;
             Kleck & DeLone 1993; Libby 2009, Tillyer & Tillyer 2014).
                  Physical assaults sometimes serve as an inappropriate outlet for negative emotions or deep
              frustrations held by violent offenders (Langhinrichsen-Rohling et al. 2012). Kleck & McElrath
              (1991) considered a broad spectrum of assaults ranging from mere threats to homicides at multiple
              stages of the incident to explore this hypothesis. They suggest that offenders can successfully
              threaten or intimidate their intended target with the mere presence of a firearm, whereas they
              may need to objectively demonstrate their power through actual physical harm if in possession
              of another weapon type. Using event history analysis, Wells & Horney (2002) extended this line
              of inquiry by assessing how possession of a weapon influenced the likelihood of an attack and
              subsequent injury while controlling for offender intent. Their results indicated that persons armed
              with a firearm were more likely to confront a victim than those armed with another type of weapon;
              however, incidents featuring firearms were substantially less likely to result in any injury to victims.
                  Despite some contradictory evidence (Tark & Kleck 2004), the available research generally
              suggests that the mere threat of gun injury assists offenders in achieving their aims and often
              nullifies the need to use deadly force. As such, offenders do not typically employ firearms in an
              effort to inflict maximum harm against their victims (Zimring 1968) but rather to avoid potential
              confrontation and injury through implicit assertions of dominance. However, in cases in which
               the victim is attacked and injured, the likelihood of death in violent gun crimes is far higher than
               with knives or blunt objects, which accounts for the relatively high case-fatality rate for incidents
              featuring guns.


              POLICY IMPLICATIONS
              The most important implication of instrumentality effects is that policies that decrease gun use
              in violent crime should reduce the homicide rate even if the overall volume of violent crime was
              unchanged (Cook et al. 2011). A variety of law enforcement approaches attempt to reduce gun
              violence by incapacitating those who have been convicted of gun crimes and deterring future gun
              crimes. Others suggest that policies designed to deprive potentially violent people of guns could
              save lives (Cook et al. 2011). This is a central element of the argument to restrict gun availability.
              In this section, we first discuss criminal justice approaches to reduce gun use by violent crimi-
              nals, briefly review the existing evidence on the relationship between gun availability and violent
              crime, and summarize the impacts of gun control legislation designed to reduce gun availability
              on violence.
                 Firearm sentence-enhancement laws require minimum mandatory sentences or additional time
              in prison for gun felonies. To many observers, gun use in robberies and assaults deserves harsher
              punishments because of the increased chance that victims are killed (Cook & Nagin 1979). Sen-
              tencing enhancements are intended to reduce gun use in violence, encourage desistance from
              violent gun crimes, and induce prospective gun offenders to substitute less-lethal weapons. What


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1s more, stuffer pr1son penaltues for gun crmmes do not impact the ably of law-ab1dung c1tuzens
to own guns for recreattonal and self-defense purposes As such, this approach 1s supported by
gun control and gun nghts advocates alike Although there 1s some evidence to the contrary (e g,
Marvell & Moody 1995), the available research evidence suggests firearm sentence-enhancement
laws generally seem to work 111 reducmg gun v10lence (see, e g, McDowall et al 1992, Pierce &
Bowers 1981) In a careful analysis of state-level firearms sentence enhancements, Abrams (2012)
found that the 111troduct10n of these laws 111 several states reduced gun robberies by 5% without
any discermuble 1mpact on non-gun robber1es
   A more controversial approach to reducing gun volence Involves focusing local law enforce-
ment agencies on deternng illegal gun possess10n and carrymg 111 public spaces Police depart-
ments need to ensure that such approaches safeguard agamst illegal searches and seizures and
do not devolve mto harassment of citizens, especially young mmnorty men, lawfully present 111
public places (Moore 1980) However, the available empmcal evidence suggests gun-oriented pa-
trols can reduce gun v10lence (Cohen & Ludwig 2002, McGarrell et al 2001, Sherman 2000)
Gun v10lence tends to concentrate 111 very small hot-spot locat10ns m urban environments (Braga
et al 2010) Hot-spots polcmng programs designed to 111crease gun seizures have been shown
to generate s1gntficant reductions mn gun violence without causmng negatve externaltues such as
cnme displacement or police-commumty relat10ns problems (Braga et al 2019, Sherman & Rogan
1995)
    Another cnm111al Justice-led 111tervent10n attempts to deter groups oflugh rate offenders from
usmg guns to settle ongomg disputes with other cnm111ally active groups Focused deterrence,
sometimes called pulling-levers pol1cmng, follows an act1on research model that tailors the strategy
to specific gun violence problems and builds upon local operational capacmes to deliver sanctions
and mob1lze support to control those hugh-rate offenders who drve persistent gun violence (Braga
et al 2001, Kennedy 2011) Focused deterrence attempts to prevent gang and group-111volved
v10lence by makmg group members believe that gun use by any one member of the group would
result 111 legal problems for all members The mtent 1s to create an 111cent1ve for group members to
cliscourage each other from gun play, thus reversmg the usual group norm 111 support of v10lence A
key element of the strategy mvolves the delivery of a direct and explicit "retail deterrence" message
 to a relatively small target auchence regardmg what Jund of behavior would provoke a special law
enforcement response and detatlmng what that response would be Soc1al servtces are provided
 to gang and cnmmally active group members who want to change their life traJectones rhe
 deterrence message 1s delivered by talking to gang members on the street, handmg out fliers 111 the
 hot-spot areas explamnmng the enforcement actions, and orgamzmg forums between v10lent group
 members and representatives (Kennedy 2011) A grow111g body of rigorous program evaluation
 evidence suggests focused deterrence programs are effective mn reducing gang and group-involved
 gun v10lence problems (Braga et al 2018)
    Reducmg firearm avatlabtlity can make volent events less lethal The difficulty and legal risks
 associated with obta111111g and usmg guns mfluence offender dec1s1ons on what weapon to use when
 commttting a crime (Wright & Rossi 1994) Reduc111g firearm availab1hty should, 111 turn, reduce
 the prevalence of guns used 111 v10lent cnmes However, to some observers, widespread access to
 guns mduces a deterrent effect on cnmmal behav10r as offenders' fear of confronting potent1ally
 armed vctmms should dissuade them from crime (Kates & Mauser 2006, Lott 2010) The proposed
 negative relauonslup bet,veen firearm availability and cnme reduct10n (or "more guns, less cnme")
 has been generally unsubstantiated when sound measurement and methodological strategies are
 utulrzed (Cook & Ludwag 2006a, Kleck 2015) And although guns certainly gve some law-ab1dmg
 crtzens the opportunity to escape injury at the hands of v10lent crnmnals, It remams unclear how
 often guns are actually used m self-protect10n Defimt10nal issues about what constitutes defensive

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              gun use make 1t difficult to develop reliable and valid estimates of the annual frequency of such
              events (Cook et al 2011, Natl Res Counc 2005)
                  Attempts to analyze the relationship between firearm ava1lab1lity and v10lent cnme are char-
              acter1zed by substantal var1at1on mn the methodological approaches used by analysts The current
              state-of-the-art considers how temporal and spatial differences mn community gun ownership af-
              fect the extent and nature of violent crime The Untted States exhibits the highest rate of crvlan
              gun ownership 111 the world with more than 350 million guns 111 private hands (Inst Med & Natl
              Res Counc 2013) However, gun prevalence vanes markedly across commu111t1es--e g, states,
              counties, and cities-and over time (Cook et al 2011) Compansons across place, tune, or both
              afford researchers mns1ght into the relatuonshup between community gun availability and volent
              crime However, such analyses are often complicated by unreliable measures of commumty firearm
               prevalence Although a precise measure of gun prevalence proves elusive due to the lack of cen-
               tralized ad1111111strat1ve data on gun ownership, the proportion of sutc1des that Involve a firearm
               [firearm suicides/total suicides (FS/S)] 1s generally regarded as a well-validated proxy measure
               (for a d1scuss10n, see Natl Res Counc 2005) Analyses of survey data generally find that FS/S 1s
               highly correlated with gun ownership rates and, furthermore, these data can be used to reliably
               track trends 111 gun prevalence over both space and tume (Azrael et al 2004, Cook et al 2011, Kleck
              2004)
                  The preponderance of empmcal evidence md1cates that higher levels of firearm ownership do
              not have any effect or, at best, only modest effects on overall v10lent cmne rates (Cook & Ludwig
              2006b, Cook & Pollack 2017, Duggan 200 l) Firearms do not necessarily mtens1fy the prevalence
              of v10lent crime, as rates of assaults and robberies appear largely unaffected by the availabillly of
              guns However, exammnmng the effects of gun avalabhty on home1des demonstrates then cr1tr-
              cal role mn shapmng the outcomes of violent encounters Whereas the connecton between firearms
              and the general mcidence of v10lence appears weak, strong and posittve assoc1attons between com-
              munuty gun ownershup rates and homucde rates Indicate that guns do mncrease the mntens1ty and
              lethality of violence These positive assoc1at1ons are observable across reg1ons (Muller et al 2002),
              states (Siegel et al 2013), counues (Duggan 2001), and cites (Cook 1979) Furthermore, studies
               us1ng longitudinal methods and appropriate measures of gun prevalence suggest that th1s mncrease
               mn lethality 1s restricted to just the firearm homicide rate, as non firearm homicides, hke general
               levels of nonlethal cnme, appear unrelated (Cook & Ludwig 2006b, Miller et al 2002, Siegel et al
               2013) Consistent with the mstrumentality hypothesis, firearms alter the quality and lethality of
               v10lence but not its quantlly
                    Recent stuches 111d1cate that high levels of commumty gun ownerslup may extend to other forms
               of lethal v10lence such as police use of deadly force and the hmmcide of on-duty police officers
               The ma1onty of persons shot at and/or killed by the police were 111 possess10n of a firearm at the
               time of the mnc1dent and the majority of felonious killings of police officers are conmutted with a
               firearm (Klmger et al 2016, Zmrng 2017) State-level analyses document s1grnficant and positive
               associations between state gun ownership rates and both rates of fatal pohce-mvolved shootmgs
               and homicides of law enforcement officers, mdependent of other contextual factors (Hemenway
               et al 2019, Swedler et al 2015) In the case of police use of deadly force, gun prevalence was
                positively associated with the shooting rate of crtrzens armed with guns and, to a lesser degree,
                cltlzens armed with other types of weapons Nagmn (2020) similarly found positive assoc1at10ns
                between firearm ownerslup and the prevalence of fatal police shootmgs, demonstratmg that this
                relat10nsh1p was observed across race
                    Fmally, some studies have also examined thus issue by evaluatung the impacts of gun control
                leg1slat1on and gun ownership levels on volent crime rates For stance, a cross sectional analysIs
                of 170 cmes with a 1980 population of I 00,000 residents or greater found that gun prevalence


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levels generally had no net positive effect on total violence rates; homicide, gun-assault, and rape
rates increased gun prevalence; gun control restrictions had no net effect on gun prevalence levels;
and most gun control restrictions generally had no net effect on violence rates (Kleck & Patterson
 1993). These findings provide some support to the notion that more-restrictive gun laws merely
 force offenders to shift from guns to other weapons in their criminal pursuits while failing to
 reduce overall homicide or crime rates (Kleck & Patterson 1993). Relatedly, Kleck (1984) suggests
 that criminals might substitute rifles and shotguns in response to handgun control policies, and
 the use of more powerful firearms could ultimately serve to increase the death rate.
     Other research, however, supports the use of policies that are aimed at restricting the accessi-
 bility of handguns to high-risk individuals (Cook et al. 2011). For instance, Wright et al. (1999)
 assessed whether denial of handgun purchase can influence an individual's subsequent risk for
 crimes involving guns or violence. Specifically, individuals with a prior felony conviction who
 were denied the purchase of a handgun were compared over a 3-year period to individuals with
  prior felony arrests who purchased handguns. The results indicate that the denial of handgun
  purchase was associated with a 20% to 30% reduction of risk for new crimes involving guns or vi-
  olence (Wright et al. 1999), supporting the findings of other research (Wintemute et al. 1999).
  Indeed, much of the gun violence problem is concentrated among prohibited possessors and
  other high-risk individuals and gun control policies designed to keep firearms out of the wrong
  hands could be used to good effect in reducing serious violence (Braga & Cook 2018, Cook et al.
 2005).


 CONCLUSION
 The potential lethality of gun violence has motivated vigorous debate about the utility of gun con-
 trol for reducing fatalities. From a dangerousness perspective, if the weapons used in assaults were
 less deadly (hands, knives, etc.), fewer people would die. But this premise rests on the assumption
 that there is nothing distinctive about gun violence vis-a-vis non-gun violence, save for the weapon
 of choice. That is, those intent on committing assault may be more likely to cause fatal injuries to
 the victim if they attack with a gun; however, their intent to injure is no different than had they
 opted for a knife or stick or any other available weapon. The outcome may vary, but the goal does
  not. Consequently, the instrumentality of firearms, or their heightened potential for causing fatal
  injury relative to other kinds of weapons, elevates the chances of death (Braga & Cook 2018; Cook
  et a1. 2019; Zimring 1968, 1972). Alternatively, if gun violence represents a clear intent to kill that
  is absent in other types of assault or attack, the features of assaults with guns versus assaults with
  other weapons should be distinctive. In this latter scenario, intentionality drives the attack; fatal
  outcomes are more likely not because guns are more dangerous but rather because the attacker
  chooses a more dangerous weapon to achieve the result they intend.
      Our review of the available scientific evidence suggests that guns do indeed make violent situa-
  tions more lethal. It is important to note that the type of weapon used in violent situations matters
  in several ways. Guns are usually not fired and the victims of most gun assaults and gun robberies
  are not injured. Criminals deploy guns to control violent encounters and intimidate their victims
  without actually firing bullets and generating gunshot wounds. Victims are much more likely to
  resist attackers who use knives, blunt instruments, and other means. As such, victims in non-gun
  assaults are more likely to suffer injuries. However, when gun assaults and gun robberies result
   in injuries, victims are much more likely to die. Many factors influence mortality in injurious
   gun assaults; the number and placement of gunshot wounds on victims significantly influence the
   lethality of gun attacks, as do factors such as how quickly first responders provide initial aid and
   the proximity of high-quality trauma care centers. Finally, the technology of the guns deployed

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             In mnyunous assaults Influences mortality, wheremn firearms with hugher-capacity magazines and
             larger-caliber bullets are more deadly than guns without these features
                 The guns used mn volent crme are becommg more deadly over tnne, with the police recov-
             ering increasing shares of higher-capacity, large-caliber sem1automatic pistols Yet case-fatality
             rates have stabilized, despite the more lethal technology of contemporary firearms, at roughly one
             gun homicide for every sx victums with nonfatal gunshot mjur1es Some evidence suggests that
              improved trauma care may be offsettmg the mcreased lethality of handguns available to v10lence-
              prone 111d1v1duals Unfortunately, one-third of roughly 74,000 annual emergency department ad-
              muss1ons for gunshot mnyur1es are treated 111 commumLy hospitals that do not have h1gh-qual1ty
              trauma centers (Coupet et al 2019) Increasmg the number of hospitals that can provide life-savmg
              care for traumatic gunshot lll)Uries may save lives and decrease case-fatality rates m underserved
              areas It 1s also temptmg to consider mcreasmg the use of new technologies, such as Shotspotter
              acoustic gunshot detectuon systems, that get first responders to hfe-threatenmg gun assault scenes
              quickly so short-term care can be adm1111stered 1mmed1ately and patients can be transported to
             trauma centers more rapidly
                  The available program evaluat10n evidence suggests that cnmmal Justice mtervent10ns de-
             signed to change offender dec1s10ns to use guns m v10lent cnmes, such as firearm sentencmg en-
             hancements and proactive pohcmg efforts, are effective mn reducmg gun volence Another policy
             issue that undergirds cons1derat1on of firearm Instrumentality effects, however, ts whether inter-
             vent1ons that reduce the ava1labtltty of guns to potentially volent people reduce the homede rate
             To gun nghts advocates, gun controls are futile, as determined kallers will smmply complete their
             acts via the substitution of other means Research highlighted here appears to provide a strong
             counter to this enclunng argument made by gun nghts activists by challengmg the notion that
             gun-assault outcomes are determined by the intent of the shooter Zamrmg's (1968, 1972) semmal
             stuclies and the Braga & Cook (2018) update md1cate enhanced gun controls could mndeed reduce
              homrc1de These studies suggest that gun homicides and nonfatal gun assaults wth mjury are very
              snmlar 111 terms of mc1dent circumstances and the charactenst1cs of offenders and vctums Fur-
              thermore, mortality 111 gun assaults seems to be strongly mfluenced by chance events rather than
              Ind1cators of assailant Intent to lull Importantly, the research finds that the likelihood of death
              was systematically associated with the caliber of the gun deployed 111 the attack More powerful
              handguns were more likely to result 111 the death of the g·unshot victim The selection of gun cal
              1ber mn these volent events was not correlated wth available indicators of shooter determination
              to kill, such as the locatuon and number of wounds In sum, reducmng the lethality of the weapons
              available to would-be killers may result 111 fewer fatalities 111 gun-assault events
                   The existence of firearm 111strurnentalrty effects supports a wide range of gun control efforts lo
               reduce the availab1lrty of firearms to lugh-nsk people (Cook et al 201 l) These policy 111terven-
               tons Include tax mn1tatves to rarse the pr1ce of guns and ammunut1on to dissuade violence-prone
               1ndrv1duals from making purchases (Cook & Leitzel 1996), screening out high-risk purchasers v1a
               background checks (Ludwig & Cook 2000, Wintemute et al 1999), regulating secondary firearms
               markets (Cook et al 1995), and reducmg illegal gun trafficking (Braga et al 2012) Unfortunately,
               we do not currently have much gmdance on what works 111 reduc111g the availab1lily of guns to
               high-risk md1duals (Inst. Med & Nad Res Counc 2013, Natl Res Counc 2005) Lake others,
               we think that 1t 1s tume to experiment with alternative gun control measures 111 an effort to de-
               velop more effective 111tervent10ns than the current array of policies and programs And, 111 do111g
               so, we should be mindful of potential substututuon effects mn whch prohbrted persons acquire guns
                through other mechanisms For 1stance, a longitudinal study found that the passage of the Brady
                Handgun Violence Prevent10n Act of 1994, 1ntended to screen out prohbrted handgun purchasers
                through mandatory cnrrnnal history background checks at licensed gun dealers, had a negligible


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effect on homicide rates (Ludwig & Cook 2000). However, the study authors suggested the homi-
cide reduction impact of the Brady Act may have been undermined by continued criminal access
to firearms through unregulated transactions made by unlicensed private sellers.
    The potential impacts of developing such a portfolio of evidence-based gun control interven-
tions could be quite large. One estimate suggests gun violence in the United States costs roughly
US$! 00 billion per year (Cook & Ludwig 2006b). In their simulation of the impacts of the effects
of replacing medium- and large-caliber handguns with small-caliber handguns on gun-assault out-
comes, Braga & Cook (2018) estimate a near 40% homicide reduction if all shootings were com-
mitted with small-caliber handguns rather than the existing mix of large-, medium-, and small-
 caliber handguns. The RAND Corporation estimates that each murder costs some USS8.6 million
 and each aggravated assault costs roughly US$87,000 (RAN D 20 l 0). In 2018, there were approx-
 imately 10,265 gun murders in the United States (FBI 2018). If we were able to achieve a 40%
 reduction in gun deaths, the monetary savings would be in the range of US$3 5 billion. And, more
 importantly, such an intervention would spare families and friends the devastation of losing loved
 ones to senseless gun violence. As such, expenditures to test new interventions could ultimately
prove to be highly cost-effective and reduce the tragic human costs perpetuated by ongoing gun
violence in the United States.

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PA 13-3, SB 1160

Senate Session Transcript for 04/03/2013


SENATOR LOONEY:

Thank you, Madam President.

Having adopted the three Agendas, would ask the Clerk to
immediately proceed to call the single item appearing on Senate
Agenda Number 3, which is Emergency Certified Bill 1160, if the
Clerk would please call that item.

THE CHAIR:

Mr. Clerk.

THE CLERK:

 Emergency Certified Bill Number 1160, AN ACT CONCERNING GUN
 VIOLENCE PREVENTION AND CHILDREN'S SAFETY, LCO Number 5428
  [sic], introduced by Senator Williams and Representative
 Sharkey.

 THE CHAIR:

 Senator Williams.

 SENATOR WILLIAMS:

 Thank you, Madam President.

 I move adoption and passage of the Emergency Certified Bill and
 seek leave to summarize.

 THE CHAIR:

 The request is on passage. Will you reply (inaudible).

  SENATOR WILLIAMS:

  Thank you, Madam President.

  I would like to take us back to December 14, 2012. Here at the
  State Capitol, leaders, Democrats and Republicans, were involved
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in negotiations concerning the budget of the State of
Connecticut. We were working through the morning when word came
to us that there had been a shooting at an elementary school in
our state. Initially, that's all we knew about it. A little
later, we heard that there was a possible fatality, an
admunstrator, perhaps the principal.

We continued our work. We left to go to the press quarters here,
where they were having their annual Christmas party and
luncheon. As we spoke with reporters, the TV monitors were on in
the background. All at once, there was a report that as many as
20 children had been killed, together with a number of teachers
and administrators.

For a few seconds, it was hard to breathe. I looked around at my
colleagues, as we recoiled at the horror of what we were
learning at that moment. The center of the world's attention was
Newtown, Connecticut, and the Sandy Hook Elementary School.

I remember thinking this could not be happening in our state. It
could not be happening in our country and to our children.
Senator McKinney went directly to be with hus constituents 1n
Newtown. Later, Governor Malloy Joined the parents and the first
responders.

At the end of that unimaginable day, we learned that we had lost
20 elementary school children and 6 teachers and administrators.
They were killed with a weapon of war, a semi-automatic assault
rifle, the platform of which was-- was originally designed for
the battlefield and for mass killings. That was 110 days ago.

As we take action today, and as stunned as we are at the events
of Newtown, we must also acknowledge this is not the first time
in the history of the United States, most importantly the recent
history of the United States, that we have confronted horrific
gun violence. Think of Columbine High School; a nursing class at
a college in Oakland, California; an Amish school, in
Pennsylvania; Vurgin1a Tech University; a shopping mall, 1n
Nebraska; Fort Hood, Texas; a parking lot, in Tucson, where
Congresswoman Gabby Giffords was meeting with her constituents;
a Sikh temple, in Wisconsin; a Baptist Church, in Fort Worth; a
movie theater, in Aurora; and, workplace shootings in every
state 1n Amer1ca, including a beer distribution center 1n
Manchester, Connecticut, and the Connecticut State Lottery
Offices. And those are Just a few of the mass killings that
receives tremendous attention. Every day in America, children
are killed 1n our cut1es, without the attendant publicity. Every
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day in America, urban gun crime claims the lives of tomorrow's
Amer1cans.

We are obligated as leaders of this state to do all we can to
protect our communities and our children. I remember the father
of one of the slain children at Newtown, at a public hearing
that we held in Newtown, who reminded us that his child deserved
the rights of life, of liberty, and the pursuit of happiness.

Madam President, the tragedy in Newton demands a powerful
response. It demands a response that transcends politics. Today,
we have before us legislation that is the culmunat1on of a
bipartisan effort in the Connecticut State Legislature. It's the
product of a task force of Democrats and Republicans, of public
input at an unprecedented four public hearings, and a fifth
public hearing conducted by the Public Safety Committee.

This bill addresses gun violence prevention, school security,
and mental health services. It is the strongest and most
comprehensive bill in the country.

I am going to now recount some of the main points of this bill.
Then, Madam President, I will yield to Senators Looney, Harp,
Boucher, Bye, and Stillman, for a more detailed review of those
provisions of the bill, and then I will accept questions, Madam
 President.

 But at this time I would like to say as to gun violence
 prevent1on, the bull includes a first-in-the-nation dangerous
 weapon offender registry. It requires criminal background checks
 for the purchase of all firearms. It expands and strengthens
 Connecticut's assault weapon ban and requires permits for
 ex1sting weapons.

 It bans the sale or purchase of high-capacity magazines,
 magazines containing more than ten rounds and requires a
 declaraton of ex1stung magazines. It requires a criminal
 background check for the purchase of ammunition.

 It increases penalties for firearms' trafficking and illegal
 possess1on.

 It amends the earned risk reduction program to ensure that gun
 offender felons and other violent criminals serve at least 85
 percent of their sentences.

 It bans the sale of armor-piercing ammunition.
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In terms of mental health issues, it prohibits the possession of
a firearm by a person who has been involuntarily committed to a
hosp1tal for persons with psych1atrc disabilities; 1t expands
the prohibit1on period from one year to five years. It proh1bits
the possession of a firearm by a person who is voluntarily
committed to a hospital for persons with psychiatric
d1sabl1t1es, and that prohibition period 1s sax months after
release.

It requires the Department of Mental Health and Addiction
Services to work with the Department of Education to provide
mental health training for teachers and school employees, that
they might catch cases earlier and obtain counseling and
programs for our children.

It requires the Department of Mental Health and Addiction
Servaces to create three additional, assertive community
treatment programs designed to provide recovery oriented
treatment and support services.

It requires the Department of Children and Families to implement
a behavioral health consultant program to provide care
coordination for primary care providers, that they can turn to
experts in the field of mental health as they serve our
children.

And it requires the Insurance Department to determine compliance
with state and federal mental health parity laws.

As to school security, we are creating a fund so that schools
may access the resources necessary to strengthen the -- the
security at all of our schools. It also requires that an audit
be conducted at our schools to pinpoint any particular safety
problems. And it also requires that our teachers and
administrators have heightened awareness, and in some cases
receive training, so that they can detect issues resulting from
behavioral problems or mental health issues and ensure that
children get the attention and care that they need.

 Madam President, at thus time for the discuss1on of additional
 detals regarding gun violence prevention, I would yield to
 Senator Marty Looney.

 THE CHAIR:

 Senator Looney, will you accept the yield, sir?
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SENATOR LOONEY:

Thank you, Madam President; I do.

I wanted to thank Senator Williams for the yield, but in
particular I wanted to thank him for his superb leadership in
every way leading up to today's vote on this bill. Beginning on
that tragic day of December 14th and through every twist and
turn of our process leading up to today, his leadership has been
magnf1cent.

It was my great honor to be the Co-chair     of the Gun Violence
Prevention Working Group, which was part     of the -- the Task
Force on Gun Violence Prevention, School     Security, and Mental
Health issues that was set up in January     in the wake of the --
the Newtown tragedy.

As Senator Williams said, we had a lengthy pubic hearing of
that, of that working group, followed by a second, follow-up
hearing. The other working groups also had public hearings.
There was a hearing of the entire task force that was held in
in Newtown, at Newtown High School, on the evening of -- of
January 30th, and in -- in addition to that, another lengthy,
marathon hearing in the Public Safety Committee recently so that
all of the concepts considered in this bill had been the subJect
of public comment 1n public hearings.

Would like to, as Senator Williams said, highlight some of the
additional items related to the gun violence prevention section
in more -- more detail. Obviously, one of the -- the key
components is that now we establish our permitting process to go
beyond pistols and revolvers to cover, to cover long guns, also
a certificate of eligibility for the, for the possess1on, the
legal possess1on of ammunition.

 One of the great flaws in our law up until now is that someone
 who was in illegal possession of a gun, because he was a
 convicted criminal or one of the other reasons for -- for legal
 disability under our statutes, was able to -- to go in and
 legally buy ammunition for the gun which he was unable to
 possess legally. We are closing that loophole in our law with a
 provision in thus, 1n thus current bull. So we have the
 s1gn1f1cant expans1on of our, of our permitting and our-- our
 background checks, which is something that will put us, I think,
 in a much better position in terms of protecting public safety.
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And also, Madam President, clearly there is, there is nothing in
thus bill that should be seen as-- as improperly infringing
upon the rights of legitimate gun owners under either the Second
Amendment, either under the Second Amendment of the Constitution
or the corresponding provisions of our own, of our own State
Const1tut1on.

One of the things I would like to -- to point out is a key
prov1s1on in thus bull 1s something that a number of us who
represent urban areas in the state have been advocating for, for
several years, and that is for the establishment of a deadly
weapon offender registry. And that is addressed in Sections 18
to 22 of the bill, and it highlights a problem that has been
brought to us by many of our police chiefs, especially in urban
areas. And that is the fact that in some cases, violent
offenders, those who committed their -- their crimes with
with deadly weapons, often come out of prison under no
supervision at all because they have been, in effect, hard-core
offenders who have not been able to earn any -- any reduction in
their sentence, serve their maximum time, and come out into our
communities, once again, without any additional restriction. So
the irony, of course, is that some of these, the people who are
 the ones in -- in most need of -- of supervision get the least
 of 1t.

But under this bull, they will be required to -- to register
with the department, with -- with DESPP, Department of Emergency
Services and-- and Public Protection for a period of five years
and be required to report in annually to their local police
department as to their residence and their, and their current
status. This is the way, I think, to -- to have these offenders
given a cautionary warning by their local police department that
where they are is known to the police and that they are, in
effect, on a watch list.

This is, 1n-- 1n a way, somewhat analogous to the -- the
Megan's Law registry for -- for sexual offenders, although this
list is not one that would be accessible to the general public
but for law enforcement purposes only, so that this is a -- a
s1gn1f1cant advance, I think, 1n-- in helping to put additional
restrictions on those who have already demonstrated a propensity
for violence by conviction of many violent offenses using guns
and other weapons; so that is a -- one key section of the, of
the bill.

 As Senator Williams mentioned, of course, the bill also expands
 our -- our definition of assault weapons. We first passed an
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assault weapons ban in 1993, here in Connecticut, a year before
the -- the federal ban went into effect, that was in effect for
a ten-year period, until it expired.

We are expanding that in    in this bill and also addressing the
issue of -- of large-capacity magazines, as Senator Williams
said, that after, on or after January 1, 2014, anyone who
possesses a large-capacity magazine obtained before the bill's
effective date would be guilty of an infraction punishable by a
$ 90 fine and a class D penalty for any subsequent offense. So
we will have a -- a relation and a prospective prohibition on
the purchase of large-capacity magazines under the provisions of
-- of this bill. It is a very significant component that there
was a great deal of interest in.

As we sad, we have an expansive definition of what constitutes
an assault weapon, that those who possess them currently would
have to register them and -- and banning future purchase of
those, of those weapons.

So we have in addition, Madam President, as we said, one of the
other things that was requested and that we included in this
bill, the Connecticut Police Chiefs Association had asked that
we expand our definition of armor-piercing bullets. Under
current law, only . 50 caliber armor-piercing bullets were
prohibited under

-- in Connecticut. This bill will expand that definition to
include ammunition of other calibers, other than . 50 caliber,
that are designated as "armor-piercing bullets. "This has been,
again, at the request of our police departments around the
state.

 In addition, Madam President, while current law allows for the -
 - the seizure of weapons that police officers under limited
 circumstances can secure warrants to seize guns from anyone who
 poses an 1mmnent rusk of injuring himself or herself or someone
 else or has a-- a criminal convact1on or restraining order
 against that person, the bill expands that legal-seizure
 provision to also include ammunition, as it could, because as we
 all know, without the ammunition, a gun is only a club. And so
 the -- the bill confronts -- conforms the law to current
 practice, by allowing an ammunition seizure by the police as
 well.

 We also provide an expansion in funding for the state-wide
 trafficking task force, and another very significant section of
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the bill. Throughout the bill, we have in Sections 42 to 43, 46
to 50, and 52 and 53, increased criminal penalties for gun
trafficking and other gun-related offenses, a very important
provision of the bill, that many of these crimes that previously
were perhaps class D felonies are now being raised to class C
felon1es or class C felon1es being raised to class B felonies,
and also establishing substantial fines, as well, for people who
have the capacity and financial resources to pay a fine. And the
fines wall be required unless the court makes a specif1c finding
on the record to remit or reduce the fine and find 1nab1l1ty to
pay.

So, for instance, the crime of trafficking 1n f1rearms, under
Section 53-202 of our statutes, that currently is a class C
felony if the transfer is less than five firearms, that are
class B felony, if more than five firearms. Now we make it a
class B felony for all and also creating a minimum mandatory
three-year prison term and a$ 10,000 fine.

The crime of stealing a firearm, which currently is a class D
felony is going to be elevated to a class C felony, with a
mandatory minimum two-year prison term and a$ 5000 fine.

The -- the crime of transferring a pistol or revolver to a
prohibited person or violating transfer procedures, which is
currently a class D felony, will be elevated to a class C
felony, with a mandatory minimum two-year prisons term and$
5000 fine.

And then the crime of transferring a pistol or revolver to a
prohibited person or violating transfer procedures knowing the
transferred weapon is stolen or has an altered identification
mark, which is currently a class B felony, will continue to be a
class B felony but now will also have with it a mandatory three-
year prison term and$ 10,000 fine.

So one of the -- the areas of concern in this bill was that we
also needed to try to find ways to address urban crime, which is
also often committed with -- with handguns and illegally
transferred handguns through straw purchasers and other things.
And those concerns are addressed in this bill as well. So we
have the -- the crime of an ineligible person soliciting a
firearm through a straw man, which is currently a class B
misdemeanor. That is be -- go1ng to be elevated to a class D
felony 1n thus bull, with a mandatory mun1mum one-year prison
term and a $ 3000 fine. An ineligible person obtaining a firearm
from a straw man, class -- 1t will now be a class C felony.
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So we have, throughout our criminal penalty statutes, enhanced
penalties and mandatory provisions added to thus bull that did
not exist previously. So there, this is almost every element of
gun-related crimes for possession or sale has an enhanced
penalty under this bill.

Another provision, Madam President, that's an expansion upon
existing law, is the safe-storage requirement. Under our law
currently we have a provision that anyone who is in legal
possession of a weapon but is in a household where there is
someone under the age of 16 has to have the safe-storage
provisions in our law that the weapons be kept secured and under
lock and key. We are expanding that under this bill in two ways.

First of all, the -- the safe-storage requirement will be
imposed on people who if they know or should know that a
res1dent of the premises, one, 1s 1nel1gable to possess the
firearms under state or federal law; so, for instance, anyone,
if anyone in the household has any legal disability because of a
pr1or criminal conviction or -- or mental health commitment,
that would also impose the safe-storage requirement rather than
Just the age requirement under current law.

And, also, anyone who poses a risk of imminent personal inJury
to himself -- himself or others, if that is known by the, by the
owner, that also would invoke the safe-storage requirement, so
that's also a s1gnuf1cant expans1on of our, of our ex1sting law.

So there are -- we also in the bill make a-- a couple of
changes to the Board of Firearm Permit Examiners, expand that
board from seven to nine by adding one, retired, Superior Court
judge to be appointed by the Chief Court Administrator and
Department of Mental Health and Addiction Services' nominee to
be appointed by the, by the Governor.

 In addt1on, Madam Pres1dent, we have a-- a provision that will
 prevent forum shopping for -- for pistol permits, by requiring
 that someone who is seeking a permit would only be to-- able to
 file one application per year and also would only be able to
 file in the town of residence rather than in the town where
 someone is employed. And we have seen some cases where people
 tried to perhaps forum shop, in that category. They will no
 longer be able to do that.

 So there are a number of provisions, Madam President, that --
 that address the concern about -- about excessively dangerous
 weapons but also, as we said, enhancing penalties, where
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penaltes ex1st under -- under current law, and trying to
address the -- the concerns that arose in the wake of the
terrible tragedy in Newtown but also the concerns that have
existed in many of our urban areas for so many years.

So I am pleased to support this bill and all of its particulars,
Madam President and would, at this point, yield to Senator Ton1
Harp to address the -- the mental health components of the bill.

THE CHAIR:

Thank you.

Senator Harp, will you accept the yield?

SENATOR HARP:

Yes,   I will. Thank you, very much --

THE CHAIR:

Thank you, Senator.

SENATOR HARP:

   Madam President.

I, too, want to thank Senator Will1ams for has leadership an
this 1ssue, and I also want to thank hum for appointing me Co-
chair of the Mental Health Working Group. And I'm going to thank
d -- a hunch of people, because this is really the first time
that we have worked in a bipartisan way. So, with that, I want
to thank Senator McKinney as well.

I want to thank my Co-chair, Representative Terrie Wood; she was
a JOY to work with. I also want to thank the members of the
Bipartisan Mental Health Working Group. The Mental Health
Working Group had one of the best-attended -- by Legislators
public hearings this year. All members stayed throughout the
over-12-hour hearing. I want to thank them for their
participation throughout thus process.

 I also want to thank caucus staff members who helped our working
 group, Ellen Scalettar, Katie Duggan, Mary Cyriac, Cara Passaro,
 Michael Goodwine, and Jason Stark.
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This part of the bill requires the Department of Mental Health
and Add1cton Services, 1n consultation wth the State
Department of Education, to administer a mental health first aid
training program that teaches educators and related staff to
recognize the signs of mental disorders in children and young
adults and helps them connect those children and young adults
needing services to services.

Mental health's first aid is an established, evidence-based
approach that has proved to be effective in helping participants
learn to recognize and respond to ind1v1duals showing signs of
mental illness. The bill creates a task force to conduct a
comprehensive study of Connecticut's mental health delivery
system, with a special focus on vulnerable 16 through 25-year-
olds in our population.

The research topics include early intervention, the mental
health work force, mental health professional's reporting
respons1bl1t1es, 1ntervent1on services available in our state
and provided in our schools, behavioral health screening,
involuntary outpatient commitment, and reducing mental health
stigma, among other things. The behavioral health task force is
charged to report to the General Assembly by February 1, 2014.

The bill also expands the Department of Mental Health and
Add1ct1on Servces assertive community treatment program to
three additional locations. The assertive community treatment
program or "ACT teams," as they are called, are mobile, multi-
disciplinary teams that provide recovery oriented treatment and
support to those who have severe and persistent mental illness.

The bill adds, as well, more case management and coordination
slots to assist people with mental illness who are involved with
the probate system. And we heard from a program called
"Melissa's ProJect" which is currently in the state, that we
hope will be expanded through this author1zat1on.

As well, the bill establishes an access mental health program,
modelled after the Massachusetts Child Psychiatry Access Project
and similar programs in 26 other states. The program will
provide training, support, and professional consultations for
pediatric1ans to help them intervene with children who have a
mental health condition.

 The bill also makes various changes to insurance statutes to
 improve the operation of the state's mental health parity
 statute, based upon the recommendations of the Program Review
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and Invest1gations Committee. This legislation responds to
concerns that patients with mental health and substance abuse
treatment needs have faced barriers when attempting to utilize
private health insurance to access needed services. In some
cases, the costs of these uncovered treatments are borne by the
state, either through the Department of Children and Families
voluntary Behavioral Health Services for children program or
through the Department of Mental Health -- Department of Mental
Health Services for the services that they provide to adults.

There has also been confusion about the rationale behind the
carriers' decisions about what services are medically necessary.
These provisions seek to increase transparency and consistency
1n that decision-making process.

And with that, I urge adoption, Madam President, but yield to
Senator Boucher.

THE CHAIR:

Senator Boucher, will you accept the yield, ma'am?

SENATOR BOUCHER:

Yes. Thank you, very much, Madam President.

Madam President, when a child is sent to school, their parents
expect them to be safe. The Sandy Hook Elementary School
shooting rampage was a parent's, school system and community,
and the nation's worst nightmare. Newtown teachers, first
responders, town leaders, first selectwoman, and the community
response was heroic, and we couldn't be more prouder of them.

 I also would like to take this opportunity to thank my Co-chair
 from the House, Representative Fleischmann, and the wonderful
 members of the committee, who many were Chairs of various
 relevant committees of the Legislature in their own right and
 added valuable expertise and consensus recommendations to the
 task force.

 On behalf of the very conscientious and hardworking, Bipartisan
 School Security and Safety Subcommittee members, we thank the
 staff and the over 200 individuals that supplied written
 testimony and over the 100 individuals who testified 1n person
 on ths very cr1t1cal 1ssue.
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To guide our consensus recommendations, the School Security
Working Group held two informational forums. The first included
the Connecticut Association of School Superintendents; CAS, the
Connecticut Assoc1at1on of Schools; Connecticut Assoc1at1on of
School Business Officers; the State Department of Education
commass1oner; the Police Chiefs Assoc1at1on; Fire Chiefs
Association; the Board of Regents; the UConn Security Police
chief, who was very instrumental in more than one meeting, I
might add; the CEA; the AFT; the Connecticut Association of
School Administrators; the Connecticut Assoc1at1on of School
 Psychologists; CCM; and the-- also, COST.

The second meeting that we had included two recognized threat
assessment and forensic psychology experts, as well as an
add1t1onal meeting with state police, the State Department of
Education school construction personnel, and SROs.

Our public hearings, as I have just mentioned a minute ago, had
a hundred in-person testimony and over 222 written testimonies,
and we participated also in another meeting where we all met
together as combined subcommittees in Newtown, itself.

It's very important to note that the committee was able to
proceed expeditiously and wath great efficiency 1n consensus, by
taking two very controversial proposals off the table; the
first, not creating costly mandates for our towns and cities by
requiring either ratios or quotas for added personnel; the
second, not arming or training teachers for school shootouts, as
80 to 90 percent of all stakeholders that contacted us, that
provided testimony, opposed this action as well as our law
enforcement community.

 It was believed that the potential for collateral damage is too
 risky when the safety of children and staff is at stake. In
 fact, there was general consensus, even, that school security
 guards or armed SROs should also be POST-Certified, and I think
 that came across in some of the material we provided.

 As far as our school security and safety plans, in our first
 meeting we reviewed current law regarding school safety, and
 what we learned is that there is no real, current, specific
 state statute that requires school boards to establish an
 emergency management plan. While we do not think that yet we
 have the final police report on thus particular tragedy, 1t 1s
 pretty safe to assume that the emergency policies and procedures
 that were employed by the brave staff and students at Sandy Hook
 saved lives. We wanted to ensure that not only do we require
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that every school have a school safety and security plan but
that we should gave mun1c1pal1ties the guidance and tools
necessary to develop and implement these plans.

It was also of prime concern to our school communities that came
before us and asked for guidance and best practices so that they
can use them as they develop their own, local procedures. And
they asked for this assistance. Section 86 of the bill requires
our DESPP or Department of Emergency Services and Public
Protection, along with the Department of Education to develop
standard and state-wide school security and safety plans.

There are currently some really great plans that are being
ut1l1zed by schools n Connect1cut and in different
mun1c1pal1t1es, Westport being one that 1t was often cited as a
good model. We wanted to give, however, the communities
flexibility to develop and implement their own plans but also
have state-wide standards that had to be met.

The standards developed by DESPP and the State Department of
Education must include some of the following, as recommended by
our working group: An all-hazards approach; the involvement of
local off1c1als, including the chief executive off1cer of the
municipality; the superintendent of schools; law enforcement;
fire; public health; emergency management, and emergency medical
services; a command center organizational standard; a
requirement that a School Security and Safety Committee be
established at each school; crisis management procedures; a
requirement that local law enforcement and other local safety
officials evaluate, score, and provide feedback on fire drills
and crisis response drills and annually submit this report to
the DESPP regarding such fire drills and criss response drills;
procedures for managing various types of emergencies, because as
we all know, there are many others, and that's why an all-
 hazards approach was recommended strongly; a requirement that
 each local and regional board of education conduct a security
 and vulnerability assessment for each school under the
 Jurisdiction of such board, every two years, and develop a
 school security and safety plan for each such school; a
 requirement that the school's Safe Climate Committee, which is
 the bullying committee, collect and evaluate information
 relating to the incidences of disturbing and threatening
 behavior that may not meet the current definition of bullying; a
 requirement that school security and safety plan for each school
 provide an orientation on such school security and safety plan
 to each school employee at such school and provide violence
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prevention training in a manner prescribed in such school
security and safety plan.

Now, under this bill, the DESPP and the State Department of
Education must develop these standards, by next January. In
researching these issues nationwide, we found many states with
excellent school safety programs, so it is our hope that our
agencies don't try to reinvent the wheel but rather use existing
or proven records and methods.

Section 87-- 87 of the bill requires local and regional boards
of education to develop and implement a school security and
safety plan based on the new standards being provided, by July
2014. And they should review and submit these plans on an annual
bas1s.

Section 87 also will -- requires the establishment of a School
Safety and Security Committee at each school to assist in the
development of safety and security plans. The committee must
include in those particular committees a local police officer, a
first responder, a teacher and administrator employed at the
school, and a mental health professional. The board of education
has the ability to name others to this particular group if they
wish, such as, perhaps, a custodian or a paraprofessional. We
all know the custodians know everything about the school, for
sure.

The subcommittee heard compelling testimony regarding the free
flow of information on potentially disturbing behavior 1n
schools. Experts told us that following a school shooting, in
interviewing those who had contact with the shooter prior to the
incident, many had information that, when seen in isolation may
not have seen like a problem at first, but when taken together,
may have given a clue as to the mental state of the individual.

 Maybe a student drew something disturbing in art class or wrote
 a disturbing essay in English or perhaps withdrew from sports or
 other extracurricular act1vat1es. We need a mechanism for
 someone to connect all the dots and evaluate and report this
 information. The bill utilizes an already ex1sting model, as was
 mentioned, to accomplish this goal, as the school Safe Climate
 Committee, which s Connecticut's bullying statute.

 Under this bill, this committee would be the repository of
 disturbing and threatening behaviors that do not meet the
 already established defnat1on of bullying. The 1dea 1s not to
 1nvest1gate every instance of disturbing and threatening
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behavior, rather to look at the information in total and report
as necessary to the district school safe school climate
coordinator and the School Security and Safety Committee.

In Section 90, we require Mental Health and Addiction Services,
with the State Department of Education, to administer a mental
health first aad training program and require the distract-- a
d1strict-wade safe school cl1mate coordinator to participate 1n
this particular program.

Of course, on everybody's mind right at first is infrastructure,
the infrastructure of a school. The subcommittee discussed this
physical infrastructure and received valuable, very valuable
public testimony on methods to harden our schools without making
them pr1sons. It 1s very important to maintain a proper learning
environment while balancing safety, and that was heard time and
again.

In Section 80 of the bill, we establish a School Safety
Infrastructure Council consisting of experts in school and
buildings security. The council must develop school building
safety standards, by next January.

In the bill, we ask the council to develop standards based on
some of the recommendations we learned through the subcommittee
process including: Entryways to school buildings and classrooms,
such as reenforcement of entry ways' ballistic glass, solid-core
doors -- that was mentioned time and again as the most effective
and least costly -- double-door access; computer-controlled
electronic locks; remote locks on all entrances and exists; and
a buzzer system; the use of cameras throughout the school
building and all entrances and exits, including the use of
close-circuit television monitoring; penetration-resistance
vestibules; and, other security infrastructure improvements and
devices as they become industry standards.

 After January 2014, all new school construction proJects must
 comply with these standards, which will be reimbursable through
 the regular school construction process, and these requirements
 are contained in Sections 81 through 82 of the bill.

 But we didn't want to wait until 2014 to assist our
 mun1cipalit1es with the expense of school security
 infrastructure, so in Section 84, you'll find that we
 resurrected the 2007, school security competitive grant program
 to reimburse towns for certain expenses incurred in the
 development and the improvement of school security.
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The DESPP, along with Construction Services, and the State
Department of Ed, will jointly administer thus program, and
towns are eligible for a grant percentage equal to the same
percentage used in our school construction process. Once the
program is up and running, funds should be made available
immediately, if anyone asks about that in your local community
in Section 85, we authorize bonds in the amount of 15 mull1on
for th1s particular competitive grant.

I'm going to end with the area of higher education. While the
subcommittee on school security focused on K-12, and most of
this bill does deal with that, we believe that a safety
component for our colleges and universities should be raised and
was raised by the Higher Education Committee for a public
hearing, as the leadership of this committee were also
represented on our subcommittee.

And 1n yielding to the distinguished Charwoman of the Higher
Education Committee, Senator Bye, who will proceed to outline
the -- the content of this portion of the bill, I wanted to end
with -- by saying that it was truly a privilege to serve as your
Co-chair on the School Security Subcommittee and very proud to
report that our recommendations were developed in a bipartisan
and fully consensus manner. The members of this committee were
grateful to see that the school security language contained in
this bill substantially matches the spur1t of the subcommittee
recommendations.

And I would also like to thank, very much, the President of our
Senate, Senator Williams; MaJority Leader, Senator Looney;
Minority Leader, John McKinney, who's a great mentor and a
wonderful friend to all of us on our side of the aisle; and,
also, to Speaker Sharkey, for their guidance and leadership
throughout this very difficult but very vital process.

 Thank you, very much. And I yield,    again, to my wonderful Co-
 chair, Senator Bye.

 THE CHAIR:

 Senator Bye, will you accept the yield, ma'am?

 SENATOR BYE:

 Yes. Thank you, Madam President.
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And through you, Madam President, thank you, Senator Boucher for
that summary of the school safety. And I Just want to Join you,
while you've ust finished in thanking our leaders for their
work on this bill and ther incredible leadership. I think 1t's
a very proud day for the state, and your leadership made that
happen. And you were also very supportive of our subcommittee
work, as Senator Boucher said.

Let me start, as many have, by thanking Senator Boucher, who's
always there on Higher Ed asking tough questions and pushing
important pol1c1es and making pol1c1es better, also, our-- our
House Ranking Member, Representative LeGeyt, was very helpful
with thus bill and my Co-char, Representative Walls, has such
a deep understanding of higher education and our system in
Connecticut, and that helped this process as well.

I'm sure that members of this body know that, as Senator
Williams referenced, there have been mass shootings on campuses.
Our campuses house adolescents and we all know that a lot of
times when people have mental health challenges, it's that early
adolescence when that happens. And so we really believed that a
part of thus educat1on security provas1ons and safety should be
extended to higher education, and we worked with the Education
Co-chairs, Senator Boucher, and Representative Fleischmann to
develop these, but it was a very collaborative process.

And I must thank the police officers at our CSUs, community
colleges, and UConn, who are such a source of knowledge and
understanding about adolescents and about what their campuses
need to make sure that our students are safe on those campuses.
And our independent colleges were also a part of this work and
real team players.

 So the higher education portion of this bill asks that state and
 independent colleges submit a security plan to the Department of
 Emergency Services and Public Protection. One thing that Sandy
 Hook showed us is how important it is that everybody
 understands, if you will, the lay of the land. And it's
 important to have a state and a local component, and so this
 bill will have those plans for all our public and private
 colleges.

 It also requires a security and vulnerability assessment of
 campuses every two years, and each campus will be required to
 develop a threat assessment team that brings in input from many
 different sources. It also requires a board of regents for
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higher education to study the creation of a police department at
our community colleges and when that might be appropriate.

We all remember, Just several weeks ago, the scare that happened
on Manchester Community College campus. Senator Cassano has been
a real champion for doing this study and having a set of
pol1c1es about pol1ce off1cers on campus.

It also requires that there are security audits of the state
universities and community colleges, that are performed by the
Department of Emergency Services and Public Protection.

That summarizes the broad points, Madam President. I'll be happy
to entertain questions, but at th1s point I would like to yield
to the fabulous Co-chair of the Education Committee,
Representative [sac] Stillman.

THE CHAIR:

Representative Stillman, will you accept --

A VOICE:

No,    it's Senator.

 SENATOR BYE:

 Senator Stillman.

 THE CHAIR:

 What are you doing to me? Senator Stillman, will you accept the
 y1eld, please?

 SENATOR STILLMAN:

 Yes, thank you, Madam President,       I do accept the yield.

 And thank you, Senator Bye,       for that lovely introduction; I
 appreciate 1t.

 I -- I, too, aS-- aS a member of the School Security
 Subcommittee and -- and a member of the task force, itself, was
 honored to play a role in developing policy, a new policy for
 the state; specifically in my, in my role as the Senate Chair of
 the Education Committee, that was really my focus. And I want to
 thank Senator Boucher for her leadership on that subcommittee
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and for her very clear and synopsis of what is in this
particular bull 1n reference to school security and outlining
the steps that it took to develop these policies that are in
front of us today.

I, too, would like to thank Senator Williams and Senator Looney
for their leadership, and Senator McKinney on -- in terms of
make-- continung to make thus a true bipartisan ball and a
b1partisan effort to address an issue in the state which was
was so overwhelming for so many of us, as we wrapped -- grappled
with the events that happened at the Sandy Hook School.

You know, for the parents and families that send their children
to school every day, this was a real wake up call for them, in
terms of the fact that, as parents and members of families who -
- who send our children to schools, there's that very long day
that we -- we are not 1n control of our children's act1vat1es
and we rely on our schools to keep our children safe and secure
and -- and feel comfortable in their respective school settings.
And it's so for those reasons we really did need to address
enhanced safety measures at our schools.

And Senator Boucher dd, as I sad, a very good yob outlining
the concerns that were raised and what do we do about it. I -- I
will tell you that the subcommittee, itself, worked very hard,
and all the members of the subcommittee, I -- I thank them,
actually members of every single subcommittee, for the extra
hours that they put in, 1n this Leg1slat1ve Session to craft a
bill that is before us today.

You know, I think it's important to remember, though, that even
though the state is going to develop some standards through the
new School Safety Infrastructure Council, that these will still
be standards that when they are developed will be an opportunity
for our schools to determine if they are appropriate for their -
- their school bu1ldungs. Thus bill really focused more on the
infrastructure, aS-- aS opposed to some other issues that came
before us that many felt were more appropriate to the Mental
Health Subcommittee. And I -- I thank them for addressing some
of the concerns that were raised in our subcommittee.

 One thing that we established when the bullying bill was passed,
 a couple of years ago, were the Safe School Climate Committees.
 And I think the fact that we had put that in place really
 allowed us to enhance their value in our schools. And that's
 what these recommendations are doing; that's another part of the
 recommendations, to enhance how this -- those School Safety
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Climate Committees, who are dealing, some of them with bullying
issues -- can also be a new resource, a new opportunity, too,
for people, for kids, especially in the schools or for teachers
to go and have someone to talk to and say, You know, I'm
concerned about what I saw or I'm concerned about a certain
child; I'd like to bring it to your attention or -- or I don't
like what I heard.

And so I -- I think the fact that we had advanced such a
comprehensive school bullying bill, I -- is really helpful to
this process as we make our schools even more safe and secure.
And so when we do send our children to school every day, we can,
we can feel as though they are in -- in the safe place that
we've always hoped they -- they would be in every single day,
because if they don't, if the children don't feel safe in their
schools, they're not going to learn. And the teachers aren't
going to be able to teach as

-- as well as they do, so it's, so I'm very pleased that the
provisions are in thus bill.

And, again, I want to thank the leadership for leading us to
th1s point of a comprehensive bill on a b1partisan bas1s, one
that I'm proud to support and certainly hope that my colleagues
here in the Circle wall do the same. I believe that this bll 1s
a great opportunity for Connecticut to set a framework for other
states to follow.

 And with that, I will, if I may, Madam President,        I would like
 to y1eld back to Senator Will1ams.

 THE CHAIR:

 Senator Will1ams, wll you accept the yield,       s1r?

 SENATOR WILLIAMS:

 Thank you, Madam President. Yes,    I accept the yield.

 I, too, would like the thank my fellow Senators, particularly
 those who Just spoke, Senator looney, Senator Harp, Senator
 Boucher, Senator Bye, Senator Stillman. I also want to thank all
 of the Senators and Representatives who served on the Bipartisan
 Task Force addressing Gun Violence and Children's Safety. And,
 in particular, Speaker Sharkey; Minority Leader in the House,
 Larry Cafero; but, especially my friend and colleague, Minority
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Senate Leader John McKinney, all have provided tremendous
leadership on th1s 1ssue.

And, Madam President, as a process clarification, I do want to
underscore the fact that Connecticut is doing something that no
other state has done. It's addressing this issue not in a
partisan way, not 1n a political way, but 1n a b1part1san way
with Democrats and Republicans working together. After the
tragedy in Newtown, I -- I spoke with Senator McKinney; I spoke
with Speaker Sharkey, and we decided to approach it in that way.
We have been criticized by folks on both sides for that
approach, but we have done something fundamentally different in
the State of Connect1cut. And the leg1slat1on that is before us
is a better product for it.

Thank you, Madam President.

THE CHAIR:

Thank you.

Will you remark?

Senator Kissel.

SENATOR KISSEL:

Thank you, very much, Madam President.

December 14, 2012, for our family, was holiday time. It's a
Friday. Many of us who have children drove them to school,
kissed them good-bye. My friends and colleagues here in the
Circle are well aware that I have two sons that I am extremely
proud of, my son Nathaniel, who's 17, but my little guy,
Tristan, who Just happens to be born on December 15th. So on
that Friday, not only was our family looking forward to the
Christmas holidays but we were very much looking forward to that
Saturday when we would celebrate Tristan's 9th birthday.

 And as I drove home that Friday and listened to all the accounts
 on the radio and was completely overwhelmed that what I saw at
 the beginning of day, while physically it had not changed,
 emotionally it had clanged because of the events that we were
 being told had enfolded in Newtown. There was a pall not only
 over Connecticut but our entire nation and to those that were
 following the story from throughout the world.
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And when I got home, my little guy was there, and as all moms
and dads did that night and probably have reassured themselves
to do every day, 1s I gave Tristan in particular a hug and a
kiss. And I said, Did you know what happened today? And he did.
Not 1n any great detail, but they had explained it at h1s
school. And we went over and we chatted a little bit. Was he
afraid? And he actually wasn't.

He actually confided that he was more disturbed by the fact of
what took place in Colorado, because as a little 9-year-old or
8-year-old, going on 9, he was a huge Dark Knight, Batman fan.
And it's almost as if he understood that there weren't -- might
be rigors in a school environment, but a movie theater, that's
where magic was supposed to happen. You're supposed to be safe
and transported into a different world. Wow. So I would
acknowledge that these events do have an impact on us as well as
our children. And to the extent we make efforts to try to stop
these events, those efforts are worthwhile.

We had an enormously long public hearing on the 28th of January;
I've had longer in Judiciary, when we would start at ten and end
at quarter-to-three. We had panels in the morning, and the
publ1c didn't began testifying until one. But, again, 1t was one
of those marathon hearings where we didn't end until about
quarter-to-three.

And then on that Wednesday, everybody who was honored enough to
serve on the General Task Force was invited to go to Newtown
High School, and it was an unusually warm January 30th, but
still overcast. And I arrived in Newtown, a town I had passed
through probably dozens of times but hadn't really spent an
awful lot of time 1n the town. And our hearing was to begun at
six, and I got there an hour early, and I and I just wanted to
drive around and get a feel for the community. And I drove by
the front of Sandy Hook Elementary School and saw probably four
cones blocking the entrance, and where that fire department is.
And clearly no one was going down that -- that roadway.

 I Just wanted to drive around the neighborhood, and I saw houses
 with-- with tributes on their front of their houses. And I just
 sort of followed the roads, and I followed a road up a hill. And
 lo and behold, to my right I saw a beautiful park, and I Just
 decided to go in there. And there was only one vehicle in there;
 1t was a commercial trucker, just finishing up his paperwork.
 And as I parked, he drove out, and now I'm in a park up on a
 hill 1n Newtown, 1n the Sandy Hook sect1on of town, just looking
 about, trying to get a feel for that community.
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I think the school is close to that park. I got a sense that
that was the case. It was a beautiful park; 1t stll 1s. I
haven't been back to Newtown since that day, January 30th, but I
remember walking. There was an area, pool area, soccer fields,
picnic pavul1on, and up near the edge of a hull, that little
playscape area where you know little kindergartners and first-
graders and second-graders would like to play.

And I walked near that area. And in that park it sort of falls
down, and there's deep woods and paths. And it was too muddy to
-- to even travel down there, but I had a sense that near that
park was that school. And I almost had a sense that perhaps some
of the souls of those little children, administrators, and
teachers -- I like to believe that one goes up to Heaven -- but
if they were going to come down as angels and visit, that would
be familiar territory and friendly territory, a happy memory.

What do those moms and dads feel? They testified before us on
that Monday. They came to Newtown High School and testified
again. I have told my constituents, I said, as a dad, if that
happened to my children, I don't know what I would fight for or
not fight for, because to lose a child before yourself and to
lose a child in that kind of situation has got to be every
parent's worse nightmare.

So I spent a good half-hour in that park, Just trying to get a
sense of where I was, wondering if maybe down that hill, in
those woods was that school. But I wanted to be up where the
playscape was, trying to hope that there were still some of
those good sentiments. And before I left, a young woman with an
English accent -- I don't know if she was the mom or the nanny -
- but two little kds on little bikes with little training
wheels, and it was nice. They were just -- I mean, when in
January 30th do you get to go to a park? And they got to go to a
 park.

 And I go, lucky day for these guys. And she goes, yes. I go,
 what's the name of this park? And -- and I thought she said
 "Dreadwell," and that seemed sort of -- she goes, "No,
 Treadwell" -- maybe that was a Freudian slip. But that was the
 park. That was the place. I will always remember that place
 because I think there's something special there. There's
 somethng spec1al in that community, and they wall struggle with
 this for the rest of their lives, but to the parents and the
 first responders and everybody that came and testified, I have
 got to give them huge respect.
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Now, very briefly, I want to bring you back 30-odd years to when
I was a student, an undergrad student, at the University of
Connecticut, and it was a beautiful, late-September, early-
October day. It was a Saturday or Sunday and I Just decided to -
- I was a freshman -- I wanted to explore the territory. I
didn't, you know, you know where you are. You have your dorm; it
was the Northwest Quadrangle. I wanted to take a walk, and it
may have been North Eagle Hill Road -- I'm not exactly Sure --
but I walked by myself, Just enJoying the autumn leaves. And I
stumbled upon what could only be a colonial graveyard, and I
read some of the tombstones over on the right-hand side. And
they were really incredible, and I actually wrote, wanted to
write one down, use it for myself.

Sort of being a little -- and I wouldn't -- necessarily
adventurous, but I like to explore, I walked into this colonial
graveyard that didn't really have a formal gate opening or
anything; it was just tucked away from the woods, and I went to
the back of it. And I was startled by what I saw -- 18-year-old
kid, new to a territory, a State of Connecticut -- and over in
the distance I saw something that was so strange, it was like
out of a movie.

And it was a set of buildings, stark, and someone was in a caged
area with someone standing not too far away, maybe holding a
baton or holding the keys to the, to the caged area. And this
person was, like, just kept, lake, shaking spiders off
themselves or something like that; it was, it was very odd. I
couldn't actually, I mean, part of it is you watch that and then
you skedaddle out of there as fast as you humanly can.

 Well, turns out, lo and behold, I had stumbled into one of the
 back areas of Mansfield Training School, and back in those days,
 people with severe mental illness were housed in these
 institutions. And folks got 1t in their heads that, you know
 what, this is not a humane way to treat people with mental
 d1sab1lit1es.

 And so we went about as a society in the last 30 years or so
 de1nst1tut1onal1zing ind1vaduals, and those that are severely
 disabled, we still make sure have appropriate housing and care.
 But for so many with mental d1sabilities, there 1s not the
 appropriate med1cal attention. There 1s not the appropriate
 housing. There is not the appropriate care as a society, whether
 they are new Veterans returning back from war, whether they are
 the homeless, whether they are young people spotted in schools,
 even at the earliest ages, we don't do a good Job in that area.
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We d1d a good job letting folks out of the institutional
climate, but we haven't really done the other part of it. And
there are good things in this bill regarding mental health
parity, the recommendations of the Program Review and
Invest1gations Committee. In fact, n the bill that we have
before us, there's a lot of good things.

But then I get to my other point, because we had the litany of
experiences that people have pointed to and said look at this
horrific event and look at that honorific event. And I say look
at 1t in the totality of circumstances 1n our country. And while
in many instances guns are involved, the thing that I see as the
common thread is the mental health issue. And while the bill
before us this afternoon touches that and creates a task force
to study 1t further and 1s very ambit1ous 1n 1ts laudable goals,
to my mind, that's where we need to look first.

And, unfortunately, what I have seen over the years, whether one
disagrees with me or agrees with me, is that we turn to guns
first. It's like that movie "Casablanca," where the French
police chief goes, bring in the usual suspects. Well, anybody
involved in law enforcement knows you match the evidence to the
suspect; you don't bring in the usual suspects.

There are people that will be against certain guns, no matter
what. I do not state that any of my colleagues whom I care for
in the Circle feel that way, but there are folks out there that
have no use for the Second Amendment, whatsoever. And so the
first thing they look to is how do we regulate guns even
further; how do we regulate ammunition? How do we make it more
d1ff1cult?

And I say that's okay to discuss; it's worthwhile. We owe it to
the parents and the loved ones and the sisters and the brothers
and the husbands, the moms and the dads, we owe them that
discussion. But at the end of the day, making it more onerous,
more cumbersome, more burdensome on law-ab1dung citizens 1n our
state is not the solution.

 Please don't. Please don't.

THE CHAIR:

 Excuse me, Senator.

 SENATOR KISSEL:
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You -- you

THE CHAIR:

Excuse --

SENATOR KISSEL:

You are

THE CHAIR:

-- me, Senate      Senator --

SENATOR KISSEL:

You are not

THE CHAIR:

Excuse me.

SENATOR KISSEL:

-- helping my argument.

THE CHAIR:

Excuse me, a minute,    Senator.

Lad1es and gentlemen, I asked before, I ask you again, please
hold your applause or your boos. This 1s not the t1me. I have
been told and asked by the -- the state police, the Capitol
Police to-- 1f you continue th1s, they are going to remove you.
I ask you not to do that, because we really do think you should
be 1n thus Chamber.

 Thank you, very much

 SENATOR KISSEL:

 Thank --

 THE CHAIR:

 -- Senator.
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SENATOR KISSEL:

Thank you, Madam President.

And it's not an easy decision. I can tell you right here and
right now, I didn't sleep at all Monday night because I had the
1mages of little kds 1n my face, 1n my dreams, the 20, little,
first-year, first-graders.

So I have my public policy vuews. I have what I believe in, that
I've stood for, for over 20 years. But I will say this to
everyone in the State of Connecticut, this is not an easy vote
for any of us. If any one of us had the magic solution, we would
be done. Nothing could make me happier than if this bill solved
all of these issues. But in my heart of hearts, I don't believe
that to be the case.

I respect those that brought this bill before us. I can state
unequivocally that if it were not for Senator McKinney,
Representative Cafero, and others in that room negotiating this
bill, it would be far more onerous on law-abiding gun owners,
hunters, sportsmen, competitors, those that Just want to collect
firearms. But at the end of the day, I have to weigh all the
good things -- and there's lots of good things in here -- versus
those steps that I feel that go too far in maybe not necessarily
demon1zing law-ab1dng gun owners but making their lives much
more duff1cult.

Some people have said have you changed your position, because
you've got the bill here and you're going through it. This isn't
the bill. Th1s isn't the bill. This 1s five years old, Dstr1ct
of Columbia v. Heller; this is the United States Supreme Court
decision, that finally was handed down, that stated succinctly
that that prefatory clause in the Second Amendment does not
limit the substantive clause that people have a right to bear
arms. And you don't have a right to bear arms in the United
States because you need to join a malt1a; you have a right to
bear arms because you can protect yourself. That has been the
multi-centuries' history of folks blazing a way through the
wilderness and protecting themselves through all sort of hazards
in the United States.

I have heard there will be legal challenges to the bill before
us this afternoon. I do not know if this will be grounds to
overturn any of the portions in the bill before us, but I will
say this -- and I will conclude with these sentiments -- our
founding fathers knew exactly what they were doing.
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And I stumbled upon something in the last couple of months,
purely be chance -- hard winter, cold-- cold now-- 1t's April;
it's cold -- I was listening to an audio book, going to and from
work, to and for -- from session, sometimes Just taking half-
hour walks in my neighborhood, Just trying to get out of that
house, because it's winter and you get cabin fever. And the book
I selected, a long one, was the Biography of John Adams. I was
fascinated. I'm a New Englander; he's a New Englander. I always
thought he got a little short shrift, being boxed in between
Washington and Jefferson, and it was fascinating. My love and
respect for that man, that president, went up astronomically
with the rendition of his story of his life.

One of the things I liked the most is he doesn't view life as a
ladder, where you're trying to always get ahead; he viewed it as
a Journey, where you need to try to learn something all along
the way. But bur1ed 1n there, as I'm listening, sax, seven,
eight weeks ago, on March 14, 1776, the Continental Congress --
not the bad guys, the good guys -- as they voted on all issues
at that time, knowing that they were about to go to war with
Br1tan, 1n revolution -- obviously behind closed doors, because
you don't want to be accused of defying your nation -- on March
14, 1776, they voted to take away all the firearms of every
Colon1al citizen that was leaning towards or supportive of the
Brit1sh, any Tory, approximately one-th1rd of the colonists.
They don't teach us that in school, but that's what they voted
on. John Adams, Ben Franklin, our heroes. They knew war was on
the horizon and they said, well, better get the guns away from
these folks so that we don't have to watch behind our back as
we're fighting the Brt1sh in front of us.

Well, doesn't then it make sense, they knew how powerful a
weapon that was, that later on, as the Constitution is being
formed and they amend the Constitution, right to keep and bear
arms shall not be infringed. That makes sense, because guess
what? Most of those folks were the same. They were certainly
informed about the same events. And they said to themselves,
wow, we were able to go do that. Granted it was the anticipation
of war, but you know what? We got to make sure that never
happens to us. So going forward, we're going to make sure that
we have that right so that never can happen to us, because we --
that's a scary thing.

Is 1t something legit1mate that I'm concerned about happen1ng a
year from now or two years from now or three years from now? I
don't know. I would not suspect it to be so. But for those
individuals that are concerned about their Second Amendment
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r1ghts, incremental1sm 1s a real concern. And having all the
information in one area 1s a real concern, because while th1s
year people are grandfathered, there clearly are individuals
that would not go that far and would say, you know what, these
magazines should be gone now. And you know what? We're not going
to compensate you for them. And you know what? These hundred
guns should be gone now. And you know what? We're not going to
compensate you for them, and if you don't like us, like it, sue
us.

And then maybe the Supreme Court would decide it five or six or
seven years down the line, because my constituents in north-
central Connecticut and many other places that I've heard from
understand incrementalism. They understand big government. They
have a slight suspicion. Oh, you only want to go this far today
but tomorrow you might go a little farther. And I can't blame
them for that concern when I hear that we have this great
compromise in the bill -- the bill before you -- but at the same
time both Governor Malloy and advocates for further gun control
say it doesn't go far enough but 1t's -- 1t's a good first step.

How can I turn to my constituents that are concerned about
incremental1sm and losing their Second Amendment rights? How can
I turn to them and say they're not being reasonable when at the
very same time this bill is before us, folks that want further
control are saying it's just a good first step. That's the1r
proof. And while there may be an agreement between the leaders
not to go further this year with further gun control efforts,
it's my understanding there is no such agreement for next year
or the year after or the year after that.

So I will conclude by saying this: You Just can't have a heart
at all if you don't feel for the families and friends and
neighbors of the victims of that Newtown massacre. You don't
have to be a mom or a dad to know how diabolically eval 1t 1s
for someone to go in there and shoot first-graders. Everyone
understands that we need to do something to address that. Mental
health issues, school safety enhancements, but when it comes to
further regulations on guns and ammunition, in one of the states
that is touted as having right now some of the most tough gun
laws 1n the United States of Amer1ca, I think goes one step too
far.

And for that reason, Madam President, with the utmost respect to
the proponents of legislation, and with the utmost respect to
the moms and the dads and the husbands and the wives and the
brothers and the sisters and all of the God-fearing, law-abiding
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citizens in the State of Connect1cut,    I will have to vote no
this afternoon.

Thank you.

THE CHAIR:

Thank you.

Senator Meyer.

SENATOR MEYER:

Thank you, Madam President.

What a Journey it's been for us, these last several months, for
each one of us. I'm 77 years of age, and yet I have learned so
much in the last two-and-a-half months about Connecticut, about
our residents, about their feelings.

I heard, first and foremost, fear because of Newtown. And fear
came from two sources -- and you, you heard it too, I'm Sure --
the fear of -- of homeowners that if they didn't have guns with
multiple rounds, they would never be able to protect themselves.
One-- one constituent of mine, in Guilford, said to me, I need
more than ten rounds in my gun magazine because I'm lousy shot.
When they come in my home, I'll -- I'll miss the first ten
rounds.

Hnd-- and I also heard fear, as you've heard fear, from so many
people who have families and are concerned about what's going to
happen as long as we have this obsession with guns. And I -- I
felt and I've -- I'm sure many of you feel that there is too
great, 1n Connecticut and in the country, an obsession with
assault guns and with the large-capacity gun magazines.

 I also heard -- we heard a bit from Senator Kissel on this
 about great obJection to government interference. I went into a
 gun shop yesterday. There was a huge poster, as you walk in the
 gun shop. It said, Background checks start with the President;
 okay? Government interference is another thing that I heard more
 loudly than I've ever heard before, in my eight years in the
 State Senate.

 So what do we have before us today? Clearly we have the most
 comprehensive gun violence legislation in America. It deals with
 so many facets and in such a comprehensive way; reasonable gun
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restriction; mental health; school security, as our colleagues
have well articulated thus morning and thus afternoon.

But I must say to you, too, that thus bill has a s1gnf1cant and
alarming omission that we must in the future address, and that
omission is that it allows gun owners today who have the large-
capacity magazines of more than ten rounds, it allows them to
keep them for the rest of their lives.

Adam Lanza killed those kids and adults because he had a 30-
round -- he had 10, actually -- 30-round magazines that he
brought to that elementary school that morning. And we learned
that because of these gun magazines, he was able to fire what
looks like 154 bullets, 154 rounds in about 4 minutes.

The Newtown parents, we all got a letter from them on Monday of
this week. They reminded us of the key issue here. The letter
says that our proposal grandfathers existing, large-capacity
magazines, leaving a gaping hole on what we believe 1s the most
dangerous feature of an assault weapon. And it goes on and says
how can we not remove large-capacity magazine from Connecticut
if we know that it might save even one more child, teacher or
parent? That addresses a problem that we in the future must
undertake.

Yesterday, I stood in line, for a long time, at a gun shop and -
- and purchased a couple of gun magazines that I want to share
w1th you. This -- thus one here 1s-- 1s the kind that the--
the Newtown killer used. It's a 30; it contains 30 bullets, 30
rounds in it. And, unfortunately, those of -- those people who
have this magazine will be able to keep it under the current
legislation. Ths one actually contains 60 rounds. The salesman
in the gun shop said, you better grab it quick; it's the last
one. We won't get any more in until Friday, he said. Okay?
That's the climate. That's the environment that we're facing
today.

I did prepare, I did prepare an amendment that I'm not going to
call. I prepared an amendment, which actually is LCO 5453, to
deal with this omuss1on, what I bel1eve 1s an omuss1on. We wall
look at that some other day, maybe in some other year. But we
made a step today, but I want to Just remind you from the
vantage point of many of us and many of our constituents, what
we're doing today is a work in progress.

 Thank you, Madam President.
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THE CHAIR:

Thank you.

Senator Guglielmo.

SENATOR GUGLIELMO:

Thank you, Madam President.

You know, I have -- I'm the Ranking Member on Public Safety, so
I sat through the two, 18-hour-or-so public hearings, and I
heard from a lot of people. And like Senator Meyer, I learned a
lot, myself. I -- I did know something about firearms from my
time in the service and because I'm a member of a local rod and
gun club, but rather hardly an expert; but I did learn.

But even before we get 1nto the weeds of thus bill, wh1ch 1s--
I don't know, Scott has it here -- 140 pages or so, I -- I knew
I was going to vote no because I didn't need to get into the
weeds of the legislation; I can't get by the premise.

See, the premise set, that boggles my mind and boggled the minds
of so many of the people who testified in front of our
committee, is you have two columns, you know. And one column you
have a deranged young man, a mass murderer. I wouldn't even call
him a "shooter" -- that kinds of glorifies ham -- he's a mass
murderer. A s1ck 1nduvudual hero-worshipped other mass murders,
apparently. We don't know that for a fact, because we don't have
the police report; we got drips and drabs, but that's an
argument for another day. I mean, should we even be here without
a complete police report? I -- I think not, but that's what
happened.

So that's the column we have; we have a mass murderer, somebody
who's very, very sick. And then in the other column, we have
ordinary citizens, clean record, work hard, pay their taxes,
many of them Veterans, want to be left alone, never caused a
problem in the past, won't today, won't tomorrow. So how does
this body connect the dots between the mass murderer and the
ordinary citizen? See, that's what I don't get. So getting 1nto
the weeds about what we're going to ban from the average
c1t1zen, the ordinary guy and gal, I'm not interesting in that.
Because anytime you go down that path, I think it's wrong,
because you're punishing the wrong teem; it's Just simple. The
premise 1s wrong.
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And I'm going to wait today to hear if anybody connects those
dots for me, how we get Adam Lanza tied up with the guys at the
Rockville Fish and Game Club. That's what I want to know. And I
have a lot of rod and gun clubs in my district. I'm a member of
Rockville Fish and Game. I'm an honorary member of the Fin Fur
and Feather, up in Chaplin. I've gone to all the game dinners,
wondered what I was eating in the game stew, always a concern of
mine but a lot of, lot of others, too, I think. We got Somers
sportsmen's club, one in Ashford, one in Pomfret, so I know a
lot of these folks over the 21 years that I've served.

I'm a city boy, basically, so thus was all an education to me
when I moved up here in the 1960s. And so I got to know these
people. So what I do know is that they're not a problem; never
were, never will be, not now, not ever. But I also know we're
doing them great harm psychologically, because they feel hurt
that they're being lumped together with somebody who's obviously
sick and deranged, and being a straw man, basically, to be
knocked down for what happened in Newtown. I don't know if
they're more sad than mad, but I've been talking to a lot of
them and it's hard to say.

The other component of this, which I'll Just touch on, is there
is an economic component to this; and they were here a couple of
weeks ago, all the guys and gals that work in the industry in
Connecticut that produces firearms and ammunition. We're a state
that's known for that. We had pride in being -- oh, in fact we
designated a park over there, at Colt. It was state money, as I
recall, because we were proud of our history of firearms, but
now I don't know aS -- I guess we're not.

But the point I'm having to make or want to make is there's 5000
jobs connected indirectly or directly with the f1rearms'
industry is Connecticut. Hartford Courant today, if you haven't
read it, there's a column in the business page and Dan Haar
makes that point, made 1t -- has had several good columns on the
economic 1mpact.

 But one point I hadn't thought about until today, when he raised
 that in has column, I thought that, well, this wall be bad for
 these manufacturers because they'll lose the Connecticut market.
 But see, there's a component that I wasn't aware of that he
 brought up in the article, that people who buy f1rearms 1n other
 states, the other 49, boycott guns that are made in states that
 have a bad repetition, who stick a sharp stuck 1n the eye of gun
 owners. So you can buy that AR-15, because there's no patent, in
 several states by several manufacturers; don't have to buy the
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Connecticut AR-15, and they won't. And that's what happens in
other states, have done this.

And I believe 1t was the Vace Pres1dent of Mossberg who said, he
called it "brand damage. "We're going to have damage to the
brand. He is getting offers every day, from all over this
country, from other states, to relocate. And we all know here
that this is not exactly the home of business friendly. We tax
people too much. We regulate them too much. I ran a small
business most of my l1fe, my daughter runs 1t now; 1t 1s hard.
It's hard everywhere, but it -- we make it really hard in
Connecticut, almost adversarial in Connecticut. So now he's
getting all these offers from other states, and his quote was
something to the effect, if I stay here I might be out of
business in three years because of this brand damage. What
choice do I have? So that's the economic component.

You never want to trade, you know, guns for blood -- I mean
money for blood, but there is an economic component, and I think
1f you don't menton at, you're make-- it's avoiding part of
the equation.

Then, you know, the interesting thing that I thought about, you
-- you know, most of the, most of you who know me know I don't
care for corporate welfare. I don't like giving money to big
companies, but we do it. We did it under Republican Governors,
too, so I'm not blaming Governor Malloy. I think it takes -- 1s
a bad precedent for Governor -- government to pick winners and
losers; never made any sense to me. I was a small-business guy.
I never understood why government was in that business of
p1ck1ng winners and losers, but we do 1t.

So here we are willing to throw out, potentially, 5000 Jobs, and
we gave$ 291 million to Jackson Laboratories for 300 Jobs; I
didn't vote for that. That didn't make any sense. Ninety-one
million to Starwood Corporation for 800 Jobs. We have ESPN,
CIGNA, and its goes on and on. So what are we going to -- you
know, it Just doesn't make any sense to me.

 On the one hand -- 1n fact, when Cabelas came in, we

    we -- they got state aid. Any you, any of you've gone to
 Cabelas, you see where that road leads. You get off 84; you
 drive into their parking lot. You go there before you go to
 Rentschler Field; it's easier to get in there. And we designed
 that for them because we wanted them here. Now we're saying,
 apparently, we don't want them here.
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And, finally, like Senator Kissel said, you know, Just because
I'm on this side of the issue does not mean I don't respect the
others; I do. And Just because I'm on this side of the issue
doesn't mean that I'm not appalled by what happened in Newtown.
I'm a grandfather of eight. I've got three in elementary school,
and if you think that I thought that anything in this bill would
help make them safer, that I wouldn't vote for it, you're
mistaken.

The morning that this happened, I was in my youngest grandson's
preschool class. Preschool and kindergarten, December 14th, 9:
30, had their Christmas pageant. My little guy has got red,
curly hair and blue eyes. I don't know where that came from but
I don't ask. But he's a red, curly headed guy, blue eyes, and if
I may say so, really cute as a button. They're all in there and
they've got their little hats, their elf hats, taped to their
head that they made in art class. And they're singing Christmas
songs and Kwanzaa and -- and all the different songs of the
season. And they're so earnest and they're trying so hard. You
know, you can't walk -- everybody walked out with a smile. My
my mother was there; she's 96. Even my oldest grandson, who's
20, he came. Obviously my daughter and son-in-law and my wife
and I, along with a packed room full of people, grandparents,
parents, aunts and uncles, everybody is smiling.

And then you get into your car. You turn on the radio and you
say, wow, how can this happen? How can somebody be so sick as to
kill 20 bab1es, like my little guy, like John's little guys? So
I understand that we have to do something.

People say you have to do something, but we could do a lot of
things, and some of them are 1n thus bill. We could reinstate
the gun trafficking task force, for a mull1on bucks; it's 1n
this bill. That's a good thing, like John sand, you know,
Senator Kissel said, there are good things 1n thus bull. That's
a good thing. It worked.

We can make a minimum mandatory sentence for straw buyers. You
buy a, you buy a weapon for somebody who is illegal and you know
what? That judge has got no discretion. You're going to ya1l for
two or three years, whatever we say. And if you think that
wouldn't be a deterrent, I think you're mistaken. Because to be
a straw buyer, you got to have a clean record. To have a clean
record, you can't be familiar with our corrections' system. And
the last thing most people with clean records want to do is go
into our correction system. That would be a real deterrent. That
would be doing something.
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You could put more money into Senator Williams' hand for school
security, which we dud do in this bull, $ 15mull1on.

You   could totally eliminate the early release program, which I'm
not   sure whether this does it or not. There's -- we've only had
the   bill for a little bit, so I'm not sure. It says it does it
but   I'd like to read the details.

So basically, I guess, the problem is I can't connect the dots
between Adam Lanza and the -- and the good guys. So I think we
need to do something, but I guess we should be doing something
that does good, not something that Just feels good.

Thank you, Madam President.

THE CHAIR:

Thank you.

Senator Coleman.

SENATOR COLEMAN:

Thank you, very much, Madam President.

I rise 1n proud support of this bill before us, and the first
thing that I want to do is to commend all of the members who
served on the Bipartisan Task Force, but, in particular, Senator
Williams and Senator McKinney for, I think, the phenomenal
leadership that they exhibited in the work that they dud 1n
connection with the task force.

I'm very pleased that the task force efforts were characterized
by bipartisanship and that the approach, as well as the product
that was yielded, was comprehensive in nature. And I had the
honor of serving on the Gun Violence Prevention Work Group that
was chaired or Co-chaired by Senator Looney, who did his usual,
very capable and thoughtful Job in leading the work of that work
group.

I'll be very brief. I certainly Just wanted to make two
comments, and the first was that I do believe that what we do
today w1ll make 1t less likely that an incident like the
1nc1dent that occurred 1n Newtown will occur again. Will 1t
guarantee that such an incident will not occur? I don't believe
so. But, frankly, I have a d1ff1cult time in understanding those
who argue that because we can't guarantee that regulation of
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firearms wall prevent such an inc1dent from occurring 1n the
future, that we should do -- do nothing.

Doing nothing, it seems to me, would tend to make it likely that
such an incident will reoccur, and that is not sensible to me. I
think the young lives that were taken in Newtown demand some
type of action on our part and including some type of action
that will involve regulation of firearms.

The second point that I wanted to make very briefly is that I
find it to be tragic and unfortunate that 1t took an 1nc1dent
like the one in Newtown to focus our concern and our attention
on gun violence. And I say it because gun incidents and killings
occur on too frequent and regular basis in some of the urban
centers in our state; but having said that, I'm very gratified
that there was an effort, considerable effort that was made in
the provision that's 1n -- of this bull that wall have the
effect of addressing some of the violence, that occurs in
districts like mine and in some of the urban centers throughout
our state.

There was reference made to the Heller Decision. And the thing
that struck me about the Heller Decision is paraphrasing. I
believe it was Justice Scalia who said that no person has the
right to own any kind of weapon for any purpose whatsoever. And
I find that language in that U. S. Supreme Court decision to be
very consistent with what we're doing 1n thus ball, and
particularly as regards the expansion of our assault weapons
ban.

And our own State Supreme Court, in BenJamin v. Bailey, upheld
our assault weapons ban, which, again, is consistent, I think,
with our effort here today. And so, Madam President, again, I
commend the members of the task force and particularly the
leaders of that group, and I intend to be a proud supporter of
this bill.

Thank you, Madam President.

THE CHAIR:

Thank you.

Senator Frantz.

SENATOR FRANTZ:
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Thank you, Madam President.

I rise to make one, very short comment about the bill in the
backdrop of what every single person in this Circle would agree
to be a completely unacceptable massacre that occurred on
December 14th in Sandy Hook. And my short comment, before I
introduce a couple of amendments, three amendments, through you,
Madam Pres1dent, 1s that way too much of this bill 1s, 1t
emphasizes gun-related regulations and rules and conditions.

If you look at the 139 pages of this bull, two-thirds of 1t 1s
devoted to guns, and it happens to be in the first section of
the bill, as opposed to the second or third section of the bill,
which cover mental health and school security. It's a big bill
and, as usual, we got it very shortly before we came onto the
floors here, so we haven't had a chance to completely review
everything, but we got the gist of it, thanks to the people at
OLR who was -- who were able to summarize it.

So, despite the fact that I believe, 1n my judgment, there 1s
too much emphasis on gun regulations and new ones, it does have
and make provisions for mental health improvements and school
security improvements, and the money is there. And so there are
some good parts to this bill.

And so through you, Madam President, the Clerk has an amendment,
LCO Number 5458. Will the Clerk please call that amendment.

 THE CHAIR:

 Mr. Clerk.

 Senator, do you want to summarize?

 SENATOR FRANTZ:

 Yes. I move adoption of the amendment, waive the reading,       and
 seek to summarize, if okay

 THE CHAIR:

 Please --

 SENATOR FRANTZ:

 -- w1th you.
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THE CHAIR:

-- Senator -- Mr. Clerk.

THE CLERK:

LCO Number 5458, Senate Amendment Schedule "A," offered by
Senator Frantz.

THE CHAIR:

Senator Frantz, now you make your motion, please.

SENATOR FRANTZ:

Thank you, Madam President.

I do move -- I move adoption of the amendment, waive the
reading, and seek to summarize. And

THE CHAIR:

The motion 1s on adopting and summarize. Will you remark,       s1r?

SENATOR FRANTZ:

Thank you, Madam President.

What this amendment does, 5458, 1s it simply carves out shotguns
from all of the new regulations that are suggested in the bill
before you today. And additionally what it does is it carves out
shotgun shell purchases from all the regulations that are
suggested in today's bill before us.

Everybody who has read the bill knows that if you are going to -
- 1f thus bull 1s signed into law-- 1n the future go out and
buy a couple of boxes of shotgun shells, you will have to show
some form of credent1al, whether it's an ammunition certificate,
an elug1bnlty certificate, a carry permit or the like.

Th1s -- th1s covers shotguns, which as most of us know who are
involved with the sport of shooting, shotguns are pr1mar1ly used
for recreational purposes. They're used to train younger people
how to shoot d-- a longer gun responsibly, used for sporting
clay purposes and for bird hunting, and that about it. And there
aren't very many of those types of firearms that are used in
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cr1munal act1vat1es, and therefore I think it's a reasonable
request to -- to carve them out.

Additionally, gun clubs -- there are many, many of them
throughout the entire State of Connecticut -- and it's going to
be a nightmare to try to figure out how to get rounds of -- of
shotgun shells to club members as well as to guests. Are they
purchasing ths ammunition? Are they not purchasing 1t? Is 1t
part of the, you know, guest fees that they pay? Is part of the
   membership fee? We don't know. It's a can of worms. How are
we going to enforce something like that?

So, Madam President, I would ask for a roll call vote on this
particular amendment, whenever you're ready.

THE CHAIR:

A roll call will be had, sir.

Senate -- Senator Williams.

SENATOR WILLIAMS:

Thank you, Madam President.

I rise to oppose the amendment. What we're striving for 1n th1s
ball 1s consistency as to ammunition and to firearms, for that
matter, in terms of the permitting process and the certificates
that are required.

I certainly agree with Senator Frantz that shotguns, when
properly used, are absolutely legitimate sporting rfles and
they have been for many, many years. However, shotguns,
unfortunately, are not immune from being used by criminals for
illegal purpose. As a matter of fact, there are some shotguns
that have nicknames such as "street sweeper. "For that reason,
Madam President, I oppose the amendment.

THE CHAIR:

Thank you.

Will you remark? Will you remark?

 If not, Mr. Clerk, will you call for a roll call vote on Senate
 "A," and the machine will be open.
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THE CLERK:

Immediate roll call has been ordered in the Senate. Immediate
roll call has been ordered in the Senate.

THE CHAIR:

Have all members voted? If all members have voted, the machine
will be closed. And Mr. Clerk, will you call the tally, please.

THE CLERK:

Senate Amendment Schedule "A," for Emergency Certified Bill
Number 1160.

Total Number Voting 36 Necessary -- those voting Yea 11

Those voting Nay 25

THE CHAIR:

The amendment fails.

Will you remark?

 Senator Frantz.

 SENATOR FRANTZ:

 Thank you, Madam President.

 Second amendment of the three that I'd like to introduce to you,
 the Clerk has that amendment. It's LCO Number 5459. Will the
 Clerk please call that amendment.

 THE CHAIR:

 Mr. Clerk.

 THE CLERK:

 LCO Number 5459, Senator Amendment Schedule "B," offered by
 Senator Frantz.

 THE CHAIR:

  Senator Frantz.
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SENATOR FRANTZ:

Thank you, Madam President. I move adoption and seek to
summarize.

THE CHAIR:

The quest1on 1s on adopt1on. Will you remark,      s1r?

SENATOR FRANTZ:

Thank you, Madam President.

What 5459 does 1s 1t distinguishes handguns and pistols from
long guns, 1n terms of their max1mum magazine capacity. In th1s
bill, we're looking at a maximum capacity of 10 for the long
rifles and 10 for pistols and handguns. What the amendment calls
for is there to be a carve-out of handguns and pistols and allow
that maximum capacity to be 17 as opposed to 10. The simple
reason for that is that you have a much shorter gun, which is
much more inaccurate because of its shorter barrel length,
typically about three-to-five inches -- some are longer, but
three-to-five inches is a normal pistol barrel length -- and the
 fact that it's very hard to steady, unlike a rifle which you can
use your shoulder to steady and draw a bead on whatever the
 target is.

If, 1n fact, the Const1tut1on, both the State Constitution and
the U. S. Constitution guarantees our right to defend ourselves
w2th firearms, I believe that it's a fair concession to make
because they're more inaccurate. It's probably about the
equivalent of 10 in a longer gun in terms of accuracy. But when
you're trying to defend yourself, it's very difficult to hit
your target. We know for a fact that police departments average
about 16 percent when they're going after a perpetrator. It
takes a lot of rounds to stop that perpetrator in his or her
tracks.

 So with that, Madam President, unless there are any questions,          I
 would ask for a roll vote as well.

 THE CHAIR:

 A roll call vote will be taken --

 SENATOR FRANTZ:
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A roll call vote.

THE CHAIR:

-- at the time.

Will you remark?

Senator Williams.

SENATOR WILLIAMS:

Thank you, Madam President.

I rise to oppose the amendment. Again, we want to be consistent.
We want to have our ten-round limitation for magazines to be
consistent throughout, whether it's long guns or pistols.

I would also point out the worst mass shooting in American
history, at Virginia Tech University, was conducted with
pistols, more than 50 people shot, more than 30 people killed.

 THE CHAIR:

 Thank you.

 Will you remark? Will you remark?

 If not, Mr. Clerk, will you call for a roll call vote, and the
 machine will be open.

 THE CLERK:

 Immediate roll call has been ordered in the Senate. Senators
 please report to the Chamber. Immediate roll call has been
 ordered in the Senate.

 THE CHAIR:

 If all members have voted, if all members have voted, the
 machine will be closed. Mr. Clerk, will you please call a tally.

 THE CLERK:

  Senator Amendment Schedule "B," for Emergency Certified Bill
  Number 1160.
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Those voting Yea 10

Those voting Nay 26

Absent, not voting O

Total Voting Number 1s 36

THE CHAIR:

Senate Bill -- Senate Amendment "p" has failed.

Senator -- Senator Frantz.

SENATOR FRANTZ:

Thank you, Madam President.

The last amendment is LCO 5461. The Clerk, I believe, has that
amendment. And will the Clerk please call that amendment.

THE CHAIR:

Mr. Clerk, will you please call the amendment.

THE CLERK:

LCO Number 5461, Senate Amendment Schedule "B,"      [s1c] offered by
Senator Frantz.

THE CHAIR:

Senator Frantz.

SENATOR FRANTZ:

Thank you, Madam President.

I move adoption and seek to summarize      (unaud1ble)   --

THE CHAIR:

The mot1on 1s on adoption. Will you proceed,      s1r?

SENATOR FRANTZ:

Thank you.
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Madam President and colleagues around the Circle, 5461 very
simply exempts from the regulations called for in today's bill
the scrutiny and the required credentials to purchase . 22
cal1ber ammunat1on. Most of you know what 1t 1s. It's very
small. It's about an inch long or so, something like that. And,
you know, 20 -- 1t's quarter-of-an-inch in diameter, as far as
the proJectile, the actual bullet part of the, of the round is
concerned. It's not very powerful. It's used primarily for
plinking and for target shooting. It's used by young,
youngsters, you know, as young as 8 and 10 years old, when
they're first learning how to use a firearm for target practice.

It's -- I think the law Just goes far too -- 1t Just goes too
far when it comes to regulating essentially a very, very tiny
round of ammunition that 1s enjoyed by older folks, younger
folks, and people of all ages, for that matter.

And, with that, Madam President,    I would also ask for a roll
call vote.

THE CHAIR:

A roll call vote will be had.

Senator Wall1ams.

SENATOR WILLIAMS:

Thank you, Madam President

I rise to oppose the amendment; . 22 caliber can certainly be
fatal. And, again, what we want is consistency in how we treat
the purchase of ammunition and the credent1al1ng and the
background checks that are required.

Thank you, Madam President.

THE CHAIR:

Thank you.

Will you remark? Will you remark?

If not, Mr. Clerk, please call for the, a roll call vote, and
the machine wall be open.

THE CLERK:
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Immediate roll call has been ordered in the Senate. Senators
please report to the Chamber. Immediate roll call has been
ordered in the Senate.

THE CHAIR:

Have all members voted? If all members voted, the machine will
be closed. And, Mr. Clerk, will you please call the tally.

THE CLERK:

Senate Amendment Schedule "B,"    [sic]   for Senate Bill 1160.

Those voting Yea 10

Those voting Nay 26

Absent, not voting 0

Total Voting Number 36

THE CHAIR:

Senate Amendment "C" fails.

Will you remark?

Senator Duff?

SENATOR DUFF:

Yup. Thank you, Madam President.

You know, we go back to that day, on December 14th, and it
started off like any other day. It was a cold, clear day, almost
like today is, and we were having meetings. As a matter of fact,
Senator Boucher and I were sitting next to each other at the
Norwalk Senior Center when we received an e-mail about a
shooting in Newtown and not quite sure what that meant and what
was really happening, on only to find out later the horror of
that day, what really had actually happened.

And I remember thinking that we all wanted to do something. And
as elected officials, that's kind of why we're here; we like to
fix things. We want to help people and do good. And I remember
that a lot of other people felt the same way as well. Everybody
wanted to do something, where it was money to Newtown, whether
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it was-- people were sending Teddy Bears. It almost evoked
memories after 9-11.

And today, because of the hard work of so many people, my
colleagues who worked on those committees, our Legislative
leaders, our Governor, our Lieutenant Governor, we're here today
to vote on something that will hopefully prevent future
tragedies like the one that we saw in Newtown.

As a citizen of this state and as a State Senator, I'm honored
and privileged to vote for this bill today. I'm proud of the
fact that 1t 1s a bipartisan bull, that Democrats and
Republicans have come together to make a law that addresses not
only gun violence but also mental health and school security.

I would hope that the residents of the state are proud that we
have a strong, comprehensive, and bipartisan bill. Indeed, the
eyes of the state and the nation are on us, and I can only hope
that other Legislatures around the nation and in Washington wall
follow our bipartisan lead today.

Some will say that we have gone too fast, but the process that
we have has worked. We have taken our time. We are here to pass
laws without pass1on or prejudice, and I would say that 1f we
came in a few days after the Newtown tragedy, a bill that we
have might look a lot different than the one we have today.

But we had bipartisan committees to look and investigate and to
make recommendations. And I was not on those committees, but
whether you were on those committees or not, we've all taken the
time and met with our constituents here at the Capitol, 1n our
districts, we've talked on the phone, we have literally returned
thousands of e-mails to our constituents, and we have attended
forums. We've had a lengthy and a thoughtful process, whether
you agree or dsagree with the legislation we have today.

 And because of that, while not a unanimous sentiment, I feel
 confident n how a majority of my constituents feel about th1s
 issue today. Therefore, I will be voting yes and I urge my
 colleagues to do the same.

 Thank you, Madam President.

 THE CHAIR:

 Thank you.
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Senator LeBeau,   first.

SENATOR LeBEAU:

Thank you, Madam President.

I rise in support of the bill, and I'd like to thank the
leadership of this Chamber, particularly Senator Will1ams and
the -- and Senator McKinney for their work, and all of the
members of the task force that led us here today.

I did not attend many of those meetings, but I have to tell you
I watched some of CPTV that went late into the night. I could
not believe the numb er of people who showed and gave of
themselves and their opinions, many of here -- I'm sure are here
today, and the -- the patience and the forbearance of the -- the
Legislators who were part of that process. I, in some ways, this
was our finest hour.

I find the debate and the general debate that we've had over the
last three months rather ironic, because it seems that both
s1des-- and actually Senator Meyer mentioned thus earl1er--
that both sides are coming from a place of fear. We saw a
slaughter in Newtown, and I think that's what we fear. We fear
that again. We fear that for our kids. With fear that for our
families. And we've, the other s1de -- and you can tell from
their signs and their words-- they fear tyranny, the -- the
loss of the1r rights.

And I'm reminded of a book that I recently read for the second
time, the Pulitzer Prize-winning book called, "The Battle Cry of
Freedom. "It's about the Civil War. And in the preface to the
book, the author, McPherson, talks about how both and -- both
sides thought they were fighting for freedom, the South for the
freedom to have its way of life; the North for the personal
 freedom for the slaves.

 Now, interesting that that is not what the war started off as.
 The South, because of its fear, because of its fear of its loss
 of rights, started the war. The North was not there to get rid
 of slavery; they Just didn't want the expansion of slavery. But
 by 1863, the purpose of the war had changed for -- to have to

    as a declaration for freedom for all.

 Today, there's a war, and thank God it's not a war. Thank God
 that we're not fighting each other. We're disagreeing with each
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other 1n a c1val way, 1n a, 1n a way that our forefathers la1d
out for us to settle our differences. The hearing process that -
- that was an-- an 1ncred1ble-- as I was referring to earlier
-- an incredible hearing process, over 60 hours of hearings and
people listening and to each other and trying to reason with
each other.

And I believe that what has come out of this is a balanced bill,
a bill that contains -- I, you know, I out talking at a-- a
meeting the other nght 1n South Windsor-- it's part of my
district -- and people, all they could, all they focused on were
the gun aspects of the bill. And I said, no, there's -- there's
a lot more to this bill. There's a maJor emphasis on mental
health. There's a maJor emphasis on school safety. And, yes
there are restrictions on guns and ammunition.

And so I think -- and I think that part of the bill is balanced.
I know some folks in the audience here today, and in the
galleries, do not believe so but I do. And it balances the need
that we have, our basic needs for public safety versus the need,
as -- and said by Senator Kissel -- for -- for self-prosect1on
and the Second Amendment rights.

But let me remind folks that no rights are unabridged. There is
no right in the Constitution that 1s unabridged, whether--
whether it's the right to free speech or the right to gun
ownership. There's nobody here asking because want to have RPGs
or a tank or a nuclear weapon or grenades. That's an abridgment
of the rights, and those have been accepted by the Supreme
Court. The question is whether these rights, these abridgments
of rights are reasonable. And I believe that are.

And I find 1t ronuc, I-- listening to Senator Kassel, who I
have tremendous respect for and is my neighbor, that h1S -- we
come back to fear, the fear of incrementalism, the fear not of
what we're voting on today but what we might vote on tomorrow.

 I accept what we're voting on today as a good and balanced bill,
 and I will vote for it for that reason. And I respect the
 members of this Circle, and I respect the members up in the
 galleries. And I respect the voters at home, to ensure that as
 we move forward, we will continue to act in a fair and balanced
 way.

 And to Senator Guglielmo, my other neighbor on the other side,
 and that we share Ellington, we don't share this view, Senator,
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because I believe that this bill does good and not JUSt feels
good.

Thank you, Madam President.

THE CHAIR:

Senator Gerratana.

SENATOR GERRATANA:

Madam President, thank you, so much, for the opportunity to
speak today n favor of th1s emergency certified bill. Yes 1s 1t
emergency certified, but let me tell you, many, many months of
work has gone into it.

I want to thank my leadership, Senator Williams, and, of course,
Senator Looney for appointing me to the Bipartisan Task Force.
My focus and my energy was on the subcommittee, the Mental
Health Subcommittee, and I am proud to say that the work that
Senator Harp, under the leadership of Senator Harp and also
Representative Woods, we came up with some legislation that goes
a long, long way to helping us all deal with the, not Just with
the tragedy that happened in Newtown but for our state in
understanding what the mental health challenges are going to be.

Amongst the provisions are ones that we talked to about with the
health care providers in our state and, indeed, beyond our
state. And I have to applaud them all. They came to our hearing,
our 12-hour hearing on mental health issues; many of them came
with such wonderful suggestions. And, also, we got to know so
many things about behavioral mental health that we were not
totally aware of. Amongst that information was that we have many
loops and gaps in our system of delivery, here in the state. So
this underlying bill, of course, goes to address that.

I want to thank, in particular, the American Academy of
Pediatric1ans. Our pediatricians 1n our country have been,
indeed, on the front lne in bringing forth to us the changes 1n
health care and health care reform. They have developed a
concept called the "patient-centered homes. "This is where, for
pediatric1ans, 1t 1s the child who 1s at the center, and 1t 1s
for pediatricians to coordinate all the care for that ch1ld.

So I want to applaud them and, in particular, two doctors, two
d1st1ngu1shed doctors here 1n our state. One 1s Dr. Andrew
Lustbader, of Yale University, and the other is Dr. Dan Connor,
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at UConn Health Center, both researchers in child psychology and
actively treating children and also adolescents. I thank them
for their work and for bringing to us a plan that will make sure
that no child, no child in the State of Connecticut will go
without some access to mental health, a system of coordination
and care that we are badly in need of. And this came out during
the task force, and that is being enacted.

I also want to say that, you know, we all spent a lot of time
researching and reading, and 1n hs book, David Hemenway, 1n
"Private Guns and Public Health" says public health is pro-
health; 1t 1s not ant1-gun. And access to guns 1s a big part of
the public health challenges in our country today. Nine thousand
people are killed a day, due to this chronic illness.

So I want to say that the underlying bill also provides for us
further work to do. But, Senator LeBeau, I want you to know that
we should not live in fear. Connecticut should not live in fear,
and Connecticut should know that from this day forward, with
passage of this bill, that we will heal.

Thank you, Madam President.

THE CHAIR:

Thank you.

Senator Bye.

SENATOR BYE:

Thank you, Madam President.

Thanks to members of the Senate for their comments so far.

I want to focus on five ways that this bill and the process to
getting here makes Connecticut safer. Number one, this bill
requires an ammunition eligibility certificate to purchase
ammunition. This could easily be an overlooked part of th1s
bill, but this requirement keeps ammunition out of the hands of
illegal gun owners. So I think, you know, Senator Looney has
been championing this, and I think he's right. I think this 1s
one of the most important parts of this bill.

The bill, also, number two, establishes a behavioral health task
force that will work to create a system of supports for
adolescents who have behavioral health challenges. As many of
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you, I heard from so many people through this process. But one
Connecticut tragedy is the supports that are not there for
families who are begging for help for their adolescents who need
mental health supports. That's a tragedy that's going on now,
and this bill has a process in place to address that Connecticut
tragedy. Parents' stories are so difficult to hear, those who
are struggling.

Number three, thus bill bans high-capacity magazines with over
ten rounds. Again, over the fourth -- four months, I've come to
understand that this accessory is what enables mass destruction,
the number of bullets that can be fired so quickly. And this
b1ll 1s 1n react1on to a mass shooting. This 1s a critical
component of this bill that will make Connecticut safer.

The bill also addresses safety in our schools and safety on our
college campuses in a smart, systematic way. It will be informed
my best practices and by law enforcement professionals in our
state.

Th1s bill also wall set up a process that-- again, something
that could be overlooked -- to develop standards for our public
schools. Right now, there are really no standards that
superintendents have to say how many social workers do I need;
how many guidance counselors; how many school psychologists. And
I'm really proud that this was added into the task force, the
behavioral health task force. Because, let's face it, schools
are focused on education, but that's where the kids are. That's
where some of these problems are expressed, and that's a really
critical component.

The fifth way that thus bill makes Connect1cut safer 1s the
model that our leadership presented to us and to our state about
how to solve problems with a democratic process. Sandy Hook
brought us together as a state. We had a collective grief, a
collective love for the families of the vuctams, and a
collective resolve to address all the different facets of this
terrible tragedy.

What's making us different is how we're approaching it. We took
our time. We listened to both sides. We were bonded by this
experience, and we knew that for our state to heal, we needed to
model respectful discourse; that's what democracy is. And a fair
and balances democracy helps avoid violence; there's a peaceful
transfer, a peaceful imposition of laws.
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Our grief, our love, and our resolve for change in Connecticut
does not know party labors -- party labels. Our legislative
leaders decided that we would Just proceed in a bipartisan
fashion and we would have a conversation as a state. We had many
hours of conversations and not Just here. Like many of you, I
spent hours in hearings.

I also talked for hours with mothers who organized and were
horrified by these murders and mobilized to make a difference. I
spent an afternoon at a gun club, and I learned a lot that
helped me understand about guns.

I went to community forums about gun safety. One gun owner spent
hours in has laving room showing me has equipment, how easily
guns are adapted, what a magazine is. He -- he literally wanted
me to understand the vocabulary and the way that the guns
worked.

And then last Monday I was privileged to join the Episcopal
B1shops of Connect1cut n the Stat1ons of the Cross 1n honor of
Sandy Hook.

These are the five ways, the process, and the items in that bill
that I believe Connecticut will be safer, democracy at work.

There are members of this Senate who are going to vote against
this bill, and they've told you their concerns, and -- and
others will too. That's part of democracy. But be sure that
every member of this Circle cares deeply for the victims and for
their faml1es and made contributes to thus bill or other
pol1c1es that help the public be more safe in Connect1cut.

 Our Senate leaders spent weeks, literally weeks negotiating and
 talking through proposals in good faith. Thank you for your
 belief in us and for your determination to get a bill that was
 collective and that will make a difference for Connecticut.

 I'm so proud of our state today, but I wish we weren't here
 right now doing thus emergency certified bill. Luke everyone
 sitting here today, I wish we could turn back the clock and take
 back those five minutes, about as long as my remarks; that's how
 long it took for that mass destruction where over 150 bullets
 were fired at children and at teachers, and 26 of them were
 murdered.

 Courageous staff put themselves in harm's way; some were killed.
 Countless others' lives were saved because of the courage of
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other teachers. That day, every parent and every teacher
realized that any teacher would give what Lincoln coined "the
last full measure of devotion" for their students to protect
them. I wish Connecticut never had to realize that.

Families in Sandy Hook faced terror as they raced to gather
their children. Twenty of those faml1es would return with a
state trooper and not with their child. No one wishes we could
turn back the clock more than those families or the hundreds of
others whose children escaped but who face repercussions of this
senseless violence.

In his calls for improved gun safety laws, our President keeps
referring to all the mussed birthdays, the mussed graduations
and other life events that have been robbed by Amer1can -- from
American families because of gun violence. In Connecticut, these
references hold special meanings for so many of us sitting here
today and at home.

Some of us in the Chamber know someone who will miss a life
event in the wake of Sandy Hook, like President Obama referred
to. For me, it's Ana Grace Marquez-Greene. Ana Grace would have
turned seven this week. Anyone who's seen her pictures or heard
her sing knows that our whole world lost a Connecticut treasure
on that day. Her brother and parents will never have that
amazing little g1rl in their laves again. We all wish she was
having an uneventful seventh birthday this week and that she
would be showered with the love and caring that her family
showered on her each day; if only. But we can't turn back the
clock; we can only go forward.

And we've gone forward with collaborative, innovative, ground-
breaking legislation, and we can look forward wth Connecticut
and with prude 1n thus democrat1c process. And in the legacy and
1n the model policies that I believe thus legislation brings to
these United States.

 Thank you, Madam President.

 THE CHAIR:

 Thank you.

 Senator Model Bottolea -- Bartolomeo -- I'm sorry, Dante, again.

 SENATOR BARTOLOMEO:
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Thank you, Madam President.

I stand here to thank our leadership, the Republican leadership
and every single one of --

THE CHAIR:

Senator, the microphone is not on.

SENATOR BARTOLOMEO:

Hello?

A VOICE:

(Inaudible.

THE CHAIR:

Senator, would you use-- oh, there you go.

SENATOR BARTOLOMEO:

I think

THE CHAIR:

Try 1t.

SENATOR BARTOLOMEO:

-- we're on. Are we

THE CHAIR:

No.

SENATOR BARTOLOMEO:

-- l1ve?

THE CHAIR:

Why don't you try Senator Meyer's microphone.

SENATOR BARTOLOMEO:
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Thank you, Madam President.

THE CHAIR:

Thank you.

SENATOR BARTOLOMEO:

I would like to thank not only our leadership on the
Democratic's Caucus but also the leadership of the Republican
Caucus and every Senator and Representative who serves in this
building and serves their community, because each and every one
of us, regardless of how we choose to vote on this bill, has
spent countless hours of research or reflection to do what's
right for them and to make this decision, and no one has taken
th1s lightly.

I do support this bill and I'd like to mention a few of the
things that I appreciate most, that are within thus bill. Th1s
bill works to strengthen laws that we already have on the books.
We look to straw purchases, which was previously a class B
misdemeanor. And the penalty at that point was a slap on the
wrist. And now we are increasing this penalty to a two-year,
mandatory minimum, with prison sentence, and we do that for at
least ten other felonies.

It also closes at least one of the loopholes in the earned risk
reduction credit program, and these are both issues that I have
fought for since I began here, recently.

It also -- I served on the School Safety and Security Working
Group, and this bill helps our districts who are looking for
guidance with the existing and future school construction so
that we can harden our buildings but not our learning
environment. And, for me, that's very important, and for
educators and for children. We need our schools to remain a
place where our students and our teachers feel comfortable and
enthusiastic about learning. So ths bull wall help us to
recognize that school districts are already struggling for
funding for educational purposes and for their, for their
educational programs. And it will make available grant funding
to increase the security measures to harden their exteriors and
not their inter1ors.

 This bill also has the Department of Mental Health and Addiction
 Services working in collaboration with the State Department of
 Education to administer training of an international, already
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established program called the "mental health first aid program.
"It teaches educators and staff to recognize this, the signs of
mental health issues and concerns, and it connects them to those
mental health services.

Certainly there's aspects of thus bill that may be d1ff1cult for
some of us to swallow. But, actually, as my grandmother always
sad, when you're faced with a very dff1cult decision, you have
to weigh your pluses and minuses. The fact that we've
compromised and worked 1n a b1partsan way to put together a
bull that I believe will lead the nation 1n very important and
much-needed reform absolutely 1S -- 1S a positive. And I am
proud and pleased to be able to support this bill.

Thank you, Madam President.

THE CHAIR:

Thank you.

Senator Markley.

SENATOR MARKLEY:

Thank you, Madam President.

I want to say that it's a difficult thing to speak about
anything in reference to this tragedy. I think that our language
is inadequate to the pain that we know was suffered, especially
by the parents involved, by the relatives of the children and
the teachers who were involved and by the responders, by the
people who -- who felt the pain, you-- you, yourself, Madam
President, and the Governor who were very much on the scene
throughout it.

We only have the language that we have, ourselves, to speak
with, and that's the best we can do. I think that it's a tragedy
that made me think back to other experiences I've had in my life
that I think we all shared. I'd go back so far, beyond most of
you here in this Circle or most of you 1n thus room, back to the
moment I remember in second grade when I heard that President
Kennedy had been shot, something that I'll never forget, one of
those experiences where I can see where I was sitting and who
was standing where and how we were told about it and over the
years, other such events, that sometimes I think are what makes
old men and women of us, the emotion that we go through and what
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it takes out of us; so my apologies for not having words
commensurate to address such a situation.

I'm also going to -- 1n the course of what I have to say-- use
a few analogies, and I feel like analogies are always dangerous
things, because they're inherently imperfect, illuminating, as
far as it goes, but I think they can tend to be reductive Of --
of the situation, and I -- I certainly don't mean to do that.

But I want to express myself as clearly as I can and speak my
mind on this, and not at great length. I've kind of taken an
oath to myself not to impede unnecessarily the business of this
Chamber. I'd like to use my words as much as possible to
illuminate, if nothing else, my own perspective but not to be a
barrier to finishing the work that needs to be done here.

Let me say it's a strange thing in my own mind that I've become
so involved and so committed on this issue. I'm not a gun owner.
I was not raised in that, in that culture. I think I probably,
as a young person, shared some of doubts about the reasons that
somebody would be interested in those act1vat1es, and hunting,
so forth.

I had a period of my life when I had the experience of l1vung
with a number of young men for, well, from out West, who came
from a very different part of the world and had a very different
background and who became very good friends of mine, who I've
had affection and respect for. And it was at that time that I
realized that my own perspective on these things WaS -- WaS not
the only perspective that existed but that one is accustomed to
what you grow up with that seems right, and it seems natural.
And it made me, let's say, neutral on the subject 1n a certain
way, neither drawn to or interested, particularly, in guns but
appreciating the fact that others were drawn to them and as,
perhaps, was an important lesson for me to learn at that point
 in my life, because I've seen that in many other ways in many
 other things since then.

 I guess the question when you look at a gun is to some extent
 what do you see. Do you see something which is a -- a tool, a
 mechanical object designed, whether it's for shooting a target,
 shooting an animal, for self-defense, whatever it is, but a
 neutral obJect in the way that most mechanical obJects we deal
 with in th1s world are? Or do we see something which 1s
 essentially, inherently a bad thing, an evil? And I would say if
 1t 1s, 1f a gun 1s a tool like other guns, 1f it's some -- lake
 other things -- like other mechanical obJects, it's reasonable
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to expect restrictions on its safety, like we would with
anything else, like we do with cars, for instance, to say they
have to be operated safely, there has to be a reasonable amount
of regulation and so forth. And if there are problems with them
that can be addressed by putting restrictions on them, we might
cons1der those restructuons, leaving aside the quest1on of
whether guns for other reasons have -- are -- are privileged.

If you see a gun inherently as an evil thing, then I think it's
a natural thing to want to restrict it to the point of
extinction. And I thunk that's the basic duvus1on in th1s
Chamber. And, again, I don't say this to put words in anyone's
mouth -- and forgive me if I do that -- but I think that there's
an outlook toward guns, which naturally lends one to want to
restrict it as much as possible.

I used the analogy in discussing this, a few months ago, to
alcohol. I think that alcohol is, perhaps, as much an evil, in a
way, as anything that we have in common circulation; I say that
as one who has tasted and enJoyed that evil myself. But it is,
what I can tell my young nephews, it's a vice, and a vice to my
mind is something that you always want to be trying to do less
of and not more of, that you want to be consciously aware of.
But I think alcohol has done -- and I've seen in my own l1fe --
more damage that maybe anything else that I've seen and I think
something that kills more people a year than almost anything
else.

It was recognized; a movement emerged in this country a-hundred-
and-fifty years ago, a-hundred-and-forty years ago to get
alcohol out of our society, I think a reasonable position, 1n
many ways. And by political process and political pressure, it
triumphed finally, and the decision was made to el1munate 1t
entirely. That, to my mund, 1s a reasonable position 1f you see
something as an inherent evil, which 1s to get rid of 1t, to say
no more of it. The trouble in that case was it couldn't be done.

And I would say the trouble with, in this case, is it can't be
done either, whatever you mught think of the wisdom of 1t. What
I think we have with guns is an attempt to identify some of them
as particularly bad as opposed to others, as if we were to say
we have an alcohol problem, we have a drinking problem, so we're
going to ban not even hard liquor, let's say, but -- but mixed
drinks that are served in cocktail glasses. We'll ban
Manhattans; we'll ban martinis. Well, if you think there's a
drinking problem, that might have some very small effect, but it
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doesn't get at it, because essentially the danger is still
there.

I feel that we're doing a very similar thing, when we talk about
what we call "assault weapons. "Every gun is an assault weapon
1f 1t 1s used with the intent to commt an assault. And to try
to puck out certain guns and say this 1s the problem, I think 1s
intellectually dishonest in the sense that we're not really
addressing what the problem is nor are we really being honest
about what we're trying to accomplish.

I think that the character1st1cs by which we define an assault
weapon are, in fact, largely cosmetic. We were sitting in the
caucus on Monday, looking at pictures of different guns which
would or would not be prohibited. If we wanted to talk about
what makes the guns dangerous, I think we'd talk about what's
brought to my attention many times by people who are in favor of
gun control, which is the rate of fire of the guns. But the fact
is all these guns fire fast.

The -- with a semi-automatic gun -- and almost the guns that we
- are manufactured and bought now in our society are semi-
automatic -- the l1muting factor on the rate of fire 1s not the
gun, 1t's-- 1t's the finger on the trigger. And the bullet, one
bullet 1s going to come out every tame that trigger 1s squeezed.
And, really, the only thing to control that finger is the mind
of the person that's holding the weapon or the potential weapon
and the soul of the person that holds that weapon.

There's something wrong in our society that events take place
like what happened in Newtown, that can't be, can't be credited
to any inanimate obJect. They are the result of a kind of a
derangement that I think is beyond our understanding. The idea
that a young man could -- whatever he might have fantasized
about or imagined -- that he could actually walk into a
classroom and look at those young children and do what we did is
-- 1s something that, to my mind, 1s closer to a kind of a
possession. And I don't believe that as Legislators, we can do
very much to address that.

I think that it behooves us to look about it, to look at it in
the broadest sense that we possibly can and not in the narrowest
sense. And I think the broadest sense is a lack of humanity that
has occurred between people, in part because of the way that we
relate to each other and that we communicate with each other. I
feel like there's -- there's a dissociation that I've -- I've
witnessed increase n my own lifetime.
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We might say, what 1s the harm of attempting to limit the kind
of guns that are available? I'd say that at the point that we
recognize that that is not the solution to the problem and that
the discrimination between guns 1s not going to make thus world
a safer place, I think then we face the problem that we have
people who have a deep interest in this, Just as they, as they
might have an interest in anything else. And that's something
you can only understand by knowing the people involved, law-
abiding, and in many ways could not be more law abiding, the
pillars of the society, frequently Veterans, frequently law
enforcement officers who have not done anything to -- to
threaten or to destroy life in this society, who find that their
-- their past time, their interest 1s going to be demon1zed and
they, themselves, brought under suspicion and made to be in a
 criminal posit1on to suit what I would only say 1s an obscure
 agenda. And if they feel that what is going on moves in the
direction of confiscation, I thunk they are entitled, and I
 think they're right to feel that way, because I see no sense
 that there is an end to what those who are suspicious of guns
 would ask for to try to make the society safer.

We've heard today, and I don't -- I    I think it's an honest
response -- I don't -- I don't mean to criticize the statement,
that this 1s -- from some advocates of this legislation -- that
this is a step in the right direction. I've not heard anyone who
advocates it say this is the end of what needs to be done. If it
were, we might at least have something to talk about, but I feel
that 1f the point of thus 1s to, 1s to take at any gaven moment
what can be taken, then to come back for what remains at another
moment, then those who are being affected by it are bound to
feel that way.

I'd say that there's two other issues, I think, in America, one
in history and one current, that are very similar that way. One
was abolition, where the South was very defensive, not
necessarily because of what they were defending as far as the
rights to open the territories up to slavery and so forth, but
the sense that any constriction of those rights put them on the,
on the way to the elimination of slavery.

 I think the same situation exsts today wuth abortion. Those who
 defend abortion are very Jealous of every kind of abortion,
 every situation, every restriction on abortion, because they
 know that once the, once the -- the ban starts to tighten around
 it, that the practice or the legality of the practice moves in
 the direction of extinction, the same as the case with gun --
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with guns. And I think that -- that their, that those who are
concerned are right to be concerned.

In response to this situation and in response to the fact that I
think that the bill before us contains many things which are
helpful -- I don't think anything which 1s decisively helpful--
you know, I think the task forces did the best Job they could in
the time they had available to them. I was on the Mental Health
Task Force. Senator Harp, my respect for Senator Harp over the
years, working with her on Appropriations has risen week by
week, and I thought she did an excellent Job, and Terrie Wood,
my Co-Ranking Member on Human Services, likewise, yet all we
really could do was to identify a few things that we thought
were working and put more weight behind them and identify a few
things that we thought needed to be looked at and ask that they
be looked at, nonetheless, I think a step in the right
direct1on, the same with the school security sect1on.

And the gun safety section, I think, also has elements in it
that we all agreed upon, what elements of what started out to
be, to my mind, a genuinely bipartisan bull, a genuinely
consensus bill that could attract the votes of everyone in this
Chamber.

In the interest of promoting that approach,      I would ask that the
Clerk call an amendment, LCO Number 5460.

THE CHAIR:

Mr. Clerk, will you please call the amendment.

 THE CLERK:

 LCO Number 5460, Senate Amendment Schedule "D," offered by
 Senator Markley, and Representative Sampson.

 THE CHAIR:

 Senator Markley.

 SENATOR MARKLEY:

 Thank you, Madam President.

 I would move adoption of the amendment and beg your leave to
 summarze without reading.
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THE CHAIR:

The mot1on 1s on-- on adoption. Will you remark,       s1r?

SENATOR MARKLEY:

Thank you, very much, Madam President.

As I said, this preserves the recommendations of the

   the Mental Health and the School Safety Task Force. It also,
it also preserves those aspects of the Gun Safety Task Force
that I think are, in fact, the most likely to deal with the
kinds of problems which led to the tragedy in December; that is,
it includes the mental health look-back periods. It includes the
1ncreased penalty for crimes, either committed with a gun or
involving the possession of a gun illegally. It includes the
safe-storage provisions and, in fact, also offers a tax credit
to encourage the purchase of safes, which would enable safe
storage. And it also provides an opportunity for schools to
incorporate into the grants, which we've made available to them
for school security, the opportunity to apply for funds to be
used for school security officers, as well as for the hardening
of the, of the building, itself.

I think 1t 1s, I think it's a good bill, whach I do not believe
infringes on the rights of law-ab1ding gun owners, who I do not
believe are the people who deserve to be-- who -- who deserve
what the, what the bill before us would do. And I urge adoption
of the amendment.

THE CHAIR:

Will you remark?

 Senator Will1ams.

 SENATOR WILLIAMS:

 Thank you, Madam President.

 I would ask that then the vote is taken,     it be taken by roll.

 And I rise to oppose the amendment. In my review of this, it
 appears that it strikes out more or less the essence of the gun
 violence preservation or protection and prevention measures. You
 know, I -- I appreciate Senator Markley's point of view, but I
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believe I don't see anything in here in term of the background
checks. Am I wrong about that? I -- I mean, I don't, I don't
mean to ask that as a, as a question, but I -- I -- and, of
course, the dangerous offender registry is very important.

But, Madam President, really, the heart of our response in terms
of gun violence prevention when it cams to the Newtown tragedy
and all of the other mass shootings that I enumerated at the
outset, come down to a stronger restriction on the assault
weapons that have been used in these mass shootings and a
lm1tat1on on the large-capacity magazines. So for those
reasons, Madam President, I oppose the amendment.

THE CHAIR:

Will you remark?

Senator Welch.

SENATOR WELCH:

Thank you, Madam President.

I -- I rise in support of this amendment, and my purpose for
speaking 1s something that I think Senator Coleman mentioned
earlier, and that is that those of us who do not support the
underlying bill couldn't fathom that, that doing nothing was an
opt1on. And th1s us to say that we're not for doing nothing; 1n
fact, we are for doing something. All of us have been moved,
have been touched by this horror that happened in Newtown and--
and all that was revealed to us in the days that follow.

 An act1on 1s appropriation, action with mental health, act1on
 with hardening our schools, even action in keeping guns out of
 the hands of felons, on ending straw purchases, on background
 checks. We need to do something and this amendment, I think, is
 an appropriate something.

 Thank you, Madam President.

 THE CHAIR:

 Thank you, Senator.

 Will you remark?

 Senator Boucher.
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SENATOR BOUCHER:

Thank you. Thank you, Madam President.

Madam President, I have a question, please, through you to the
proponent of the amendment, if I could, please.

THE CHAIR:

Senator Markley, prepare yourself.

Please proceed,     sir

SENATOR BOUCHER:

Madam --

THE CHAIR:

-- ma'am.

 SENATOR BOUCHER:

 Madam President, the question has to do with school resource
 offices and the funding of school resource office, if I could
 get clarification on that point, through you.

 THE CHAIR:

 Senator Markley.

 SENATOR MARKLEY:

 Senator Boucher, and through you, Madam President,       I

 -- I believe as the, as the bill was put together by myself and
 Representative Sampson, that the 1dea 1s that the money wh1ch 1s
 available for -- for towns to apply for -- for grants for
 hardening of the schools would also include in a competitive
 grant basis the possibility of applying for grants for school
 security officers as well.

 THE CHAIR:

  Senator Boucher.

  SENATOR BOUCHER:
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Thank you, Madam President.

I appreciate that clarification. The-- the further quest1on,
and the last quest1on would be, would that funding continue unto
the future or 1s 1t a one-time, one-year funding; and, does then
the school district have to support that add1tonal operating
expense going forward? Through you, Madam President.

THE CHAIR:

Senator Markley.

SENATOR MARKLEY:

I believe that the funding would last as long as the

-- and from the state -- as long as the money which is
designated for the general program of school hardening WaS --
was available. If that was no longer there, then it would not go
forward unless the state made a decision to fund -- fund it.

THE CHAIR:

Senator Boucher.

SENATOR BOUCHER:

Thank you, Madam President.    I'm much appreciative for the
answers.

THE CHAIR:

Thank you.

Will you remark? Will you remark?

 If not, Mr. Clerk, will you please call for a roll call vote and
 the machine wall be open.

 THE CLERK:

 Immediate roll call has been ordered to the Senate. Senators to
 the Chamber. Immediate roll call has been ordered in the Senate.

 THE CHAIR:
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If all members have voted, all members have voted, the machine
will be closed. Mr. Clerk, will you please call a tally.

THE CLERK:

Senate Amendment Schedule "D," for Senate Bill 1160.

Total Number Voting 36

Those voting Yea 11

Those voting Nay 25

Absent, not voting 0

THE CHAIR:

Senate "p" has failed.

Senator Markley.

SENATOR MARKLEY:

Thank you, Madam President.

If I may continue briefly, one aspect of this amendment that I,
in fact, neglected to mention is addressing the section
concerning the Risk Reduction Earned Credit Program, the so-
called "early release" program. I voted against that when it
first showed up as an implement in the implementer bill and have
been ah opponent of the program ever since. I know it is
addressed in the bill which we have before us. I feel that what
has been done in that bill is inadequate and, again, possibly
worse than inadequate in that it-- it would seem to make almost
no difference, while giving us the sense that we've addressed
something which is a danger.

And if I may say in -- in reference to that, we're told in this
bill that violent criminals will be forced to serve at least 85
percent of their original sentence. It's my understanding, from
what both the Governor and Mike Lawlor, his advisor on these
issues has said, that the violent criminals are already serving
85 percent of their sentences. I think they've been thoroughly
clear on that, and I feel like either this program needs to be
changed to change clearly or we should get rid of it and start
over again.
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I'm going to say after we're done on this amendment, I have just
a word to say about the process by which we arrived here today,
but I think that we are repeating the mistake we made with the
early release program when 1t was 1nut1ated. It was 1nutated
without any hearings, as part of an implementer bill, something
that was so little understood at the time it was voted on that
the -- the fine Democratic State Representative who brought it
out had to explain the next day, after the vote had taken place,
that he had not been correctly informed as to the terms of the
b1ll. We've lived with 1t since, and I believe that we have
lived with 1t and we've lived with tragedy as a result of 1t
s1nce.

We have another one before us, again, on very short notice, and
one part of the bill that changed between yesterday afternoon
and thus morning was specifically the Risk Reduction Program. I
think that I have no confidence in the changes that have been
made, and I don't have the opportunity between now and the
moment that we vote to gain the confidence that I'd need to in
these changes.

So I have a second amendment, LCO Number 5462. If

I --

THE CHAIR:

Mr. Clerk.

SENATOR MARKLEY:

-- may ask the Clerk.

THE CLERK:

LCO Number 5462, Senate Amendment Schedule "E," offered by
Senator Markley.

THE CHAIR:

Senator Markley.

SENATOR MARKLEY:

Thank you, Madam President.
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Again, if I -- I would move adoption of the amendment and ask
that the reading be waived, so that I may summarize it.

THE CHAIR:

Mot1on 1s on adopt1on. Will you remark,     s1r?

SENATOR MARKLEY:

Thank you, Madam President.

This amendment would simply eliminate the Risk Reduction Earned
Credit Program. I believe there may be aspects of it which are
worthwhile, but I think that, I think fiddling with t 1n the
way that we're doing with the underlying bill 1s going to gave
us a false sense of security. And unless we can take this up,
from the ground up and subJect it to the regular public hearing
process, which it has never been through, and have a full
d1scuss1on of 1t, we will not have a pece of legislation we can
all have confidence in. So I would urge adoption of this
amendment.

Thank you.

THE CHAIR:

Thank you.

Senator Williams.

SENATOR WILLIAMS:

Thank you, Madam President.

I rise to oppose the amendment and also to -- to bring good news
to Senator Markley, even though I'm opposing the amendment.

The good news is that the -- the language which affects the risk
reduction credit in our bill, which prohibits anyone who's been
convicted of a violent crime as defined in the statute from
being released pr1or to serving a minimum of 85 percent of their
original sentence, that language is identical to language in
Raised Bill 6657 of the current session, sponsored by your
colleagues, Senators Kissel and Welch. That bill had a public
hearing before the Judiciary Committee on March 22nd.

For those reasons, Madam President,     I oppose the amendment.
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THE CHAIR:

Will you remark?

Senator Boucher.

SENATOR BOUCHER:

Thank you, Madam President.

Madam President, I actually rise to support the amendment. I
think our good colleague, Senator Markley, has made excellent
points. I think the fact that thus particular program, after 1t
was rolled out, clearly was seen to have serious flaws,
problems, and actually resulted in some very serious crimes
being perpetrated after the fact.

And I think he does bring up a good, a good argument for the
support of this particular amendment, although I do appreciate
the Pres1dent of the Senate's description of the fact, 1n guvang
us at least some amount of comfort, that possibly this works to
mitigate some of the issues. However, I think the 1dea of
eliminating the language and starting fresh and looking at the
issue does deserve some credit. For that reason, I am supporting
the amendment.

Thank you.

 THE CHAIR:

 Thank you, Senator.

 Will you remark?

 Senator Will1ams.

 SENATOR WILLIAMS:

 Madam President, I must have neglected to ask for a roll call
 vote. I do that, so at this time.

 Thank you.

 THE CHAIR:

 A roll call vote will be had.
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And will you remark? Will you remark?

If not, Mr. Clerk, will you open the machine -- oh, yeah -- call
for a roll call vote, and I will open the machine.

THE CLERK:

Immediate roll call has been ordered in the Senate. Senators
please return to the Chamber. Immediate roll call has been
ordered in the Senate.

THE CHAIR:

If all members have voted, if all members have voted, the
machine will be closed. Mr. Clerk, will you call the tally.

THE CLERK:

Senate Bill -- I'm sorry -- Senate Amendment Schedule "E," for
Senate Bill 1160.

Total Number Voting 36

Those voting Yea 14

Those voting Nay 22

 Absent, not voting 0

 THE CHAIR:

 The amendment fails.

 Will you remark?

 Senator Markley.

 SENATOR MARKLEY:

 Thank you, Madam President.

 Let me say one thing as I've, as I promised, about the process
 of this -- which I was referring to the process of the amendment
 before -- the process of the bill that's before us. I may be the
 only person that rises to say this, and I say it with all
 respect for the leadership we have here, which I've -- I deeply
 respect on both sides -- but I think we made a mistake by trying
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to move forward with this bill the way we did. I think that we
have the experience in this Chamber of moving bills through a
regular process, through committees, and subJecting them to
normal public hearings. And I think that when we step away from
that process, we are on, we are on shifting ground, and we never
know how it's going to end up.

In this case, I think it was done, as I think almost everything
here is done, with the best intentions. But I feel that the
intent1on may have been, first of all, to bring unanimity, which
we will not achieve and maybe could not achieve, and, second, I
think to speed the process. I think in the end, it's rather
paralyzed our process here.

I think that we've gone through a period of a couple of months
when other business has moved forward in a desultory way while
the attention of the leadership was focused on reaching an
agreement on these issues.

I'd further say, and maybe most pointedly, that although the
process lasted a number of months, it still has ended in an
unseemly rush, to my mind. A final version of thus bull was only
in my hands this morning. The bill that we had before us
yesterday afternoon was still not the final bill, and it wasn't
until Monday that we really knew for sure what the outlines of
that final bill were going to be. That's not time enough for us
to act properly, and I would -- I'm somewhat at a loss as to why
the extra days -- because it would only be a matter of days and
not weeks -- were not granted for us to examine this bill.

 I'm also at a loss to understand why there was no hearing on the
 bill in its final form. Thus has been -- and 1t's something that
 I've brought up throughout the process -- I know that it can't
 be guaranteed by any given party involved in it, but I think
 it's something that we owe to the people of Connecticut with
 these bills. The fact that there were hearings on the subJect
 matter, that there were opportunutes on different ind1v1dual
 bills that were going through the process for people to testify
 -- well, it may be better than nothing, but to my mind it's not
 adequate, espec1ally to-- for a bull of the significance of
 what we're voting on here today.

 And, again, when we're talking about something that is only a
 matter of days or a week, I wouldn't be favoring delaying this
 process for a matter of months but long enough for the people to
 weigh 1n on 1t. I think we do wrong when we do this, and I've
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seen 1t more times than I l1ke since I've been back 1n th1s
Chamber.

I'll say two final things. One is I've had a very unusual
experience in returning here after many years, and I wasn't sure
how well I'd handle it. Until recently, I thought I was handling
it pretty well, but I have thought to myself what -- what was it
that -- that -- what was it that -- why did fate desire that I
should be here again at this time. And every now and then I feel
like I have a message from the past to deliver. So my message
from today, for those who mught be weighing in their own minds
how to vote on this, I was out of this Chamber for 24 years
fully -- I won't say, I won't, I won't round up -- 24 years from
the end of my first term to the beginning of my second term.

And I didn't think about my service 1n thus. You know, my name,
my name is on that plaque over there, because I happen to be
here when we renovated the hall. I used to drive by and think
isn't it funny I used to serve there and that my name is there,
never thinking that I'd -- I'd yo1n it, I'd -- I'd be reunited
with my plaque.

I didn't think obsessively about that term but I thought about
it from time to time. And one thing, when I thought about votes
that I cast, was I thought I have never regretting doing what I
thought was right, looking at it over decades. The only votes I
regretted were the votes that I cast for what I thought were
political reasons, because I felt pressure of one sort or
another. And take that as the advice of somebody who had a long
t1me to reflect on 1t.

And the second thing I'd say, as I said before, I don't have a
passion for firearms. But for whatever reason, I have a passion
far personal liberty, and I am very wary to do anything without
extremely strong cause which restricts personal liberty. And I
also have a passion and a deep respect that has grown throughout
my life perhaps to love, for the Constitution of this country,
which is really what makes us a country. We don't come from the
same place. We haven't always occupied the same piece of land.
We don't even necessarily share the same history, but there is
one document that defines what the country is. And out of
respect for that document, among other reasons, I will oppose
this bill.

Thank you.

THE CHAIR:
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Senator Hartley.

SENATOR HARTLEY:

Thank you, very much, Madam President.

Madam President, it was some weeks ago when we gathered in this
Chamber to deal with the first responders on that day, to
provide for them a safety net which we never had to previously
think about before, never having been faced with th1s kind of
tragedy. And we came together and did that, and there -- there
was a collective sigh of rel1ef at-- as we fin1shed that
proposal that day.

But it was truncated because we knew that our work had only Just
begun. We knew that the next iteration was one that was going to
be far more d1ff1cult of a task. And from that time to th1s
afternoon, and perhaps going into this evening, we have strived
to resolve that next and looming part of this situation.

Madam President, in all of my years of service -- and I served
with you in the House and now have the pleasure to have you
off1c1ate 1n this Chamber -- I have never seen a more polar1zed
issue than this. And yes it is a tragedy that brought us here.
We, I don't believe, would be talking and dealing with the --
the gravity of this situation, that unspeakable day, that
horror, the -- the mass, the violent slaughter of the innocents
and those who were their appointed caretakers.

But this assembly came together and we came together in a way
that we have never come together before. It wasn't partisan and
was beyond bipartisanship; it was a way that we've never been
together before. We were one body. There were no divides, no
D's, no R's, we were talking about policy and the terrible
circumstances that brought us here. And we strove to recognize,
to the best of our ability, that it is our Job to ensure the
welfare and the security of our citizenry, our faml1es, our
children, but we also knew, at the very same time, that it was
our duty, our charge to protect the rights of the law-abiding
citizens of thus state, and that weighed upon us equally.

As the Chairman of the Public Safety Committee and as also a
member of the Gun Task Force, I would be derelict if I didn't
recognize the incredible efforts that went in. nd -- and I
would also like to say that perhaps maybe some might interpret
this as self-congratulations and back-patting; there is none of
that here today. It is about a tragedy that brought us here and
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about our respect for each other; opinions, the same or
different; and, how we proceeded in a respectful, dignified
manner with a task that we all would choose not to have had
before us.

But I -- I do want to recognize the work of the Public Safety
Committee and particularly our clerk, all of our members, and
and probably most of all the hundreds and the thousands of
citizens who communicated with us, e-maul, letters, phone calls,
and -- and those who then came to all of the hearings, and --
and to the hearing that the Public Safety Committee had, which
was some 16 hours in the offing.

And especially to those who came and signed up that day but
couldn't stay to testify, because as we went into the wee hours
of the morning, one particular 1nduv1dual who was there with
their children who could not stay, another individual who had to
get home to take care of a family member, know that we read your
testimony. We recognized your presence, and it was all very much
part of our process.

And for those who actually were in the room and testified and
felt outnumbered, felt outnumbered because their position was
very different than perhaps the greater number that were in the
room, I apologize to you if you felt outnumbered. But you should
know that everyone who came before us was on an equal footing
and everyone's input counted in the same manner.

And I should hope that as you look at this legislation today,
you will see the reflection of your input, of your
participation, because it clearly is a result of all of that
input. I think what we have here today is very, very different
than where we started in this conversation, and that is to your
credit and in large measure because you, in a very respectful,
democratic way, worked with us and -- and continued to dialogue
w2th us.

Having said that, though, thus legislation 1s not unlike other
legislation that we pass, and it is far from perfect. It is very
infallible; we recognize that. In fact, there's no legislation
that we can pass or even presume to pass that is going to be the
legislation, the end-all, the be-all, in terms of the cure. And
many have said it before me, and probably far more articulate,
that we cannot ensure, as we stand here today, to those families
and to th1s entire state that th1s wall never happen again, but
yet we can do our best.
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And I recall the affirmism which says that the perfect is the
enemy of the good, and we know that we're not perfect. In fact,
we know how imperfect we are and we know how imperfect our work
is. However, that does not mean that we should ever sit by idly
without trying to do better.

I recognize the shortcomings in S. B. 11-- what is it, 1160?
But there are some very important parts to that, the gun felony
registry, the universal background checks, the addressing the
issue of the private transfers; we recognize the -- the flaws
and the holes in those processes, they, the behavioral health
portion, which is so important, which so many families who find
themselves in these circumstances recognize the need for,
whether they have insurance or not. And-- and, of course, the
school security piece.

And so, Madam President, for those reasons and recognizing our
shortcomings, I would like to point out that this is our humble
effort and it will bear a dividend.

Thank you, Madam President.

THE CHAIR:

Thank you.

Senator Cassano.

 SENATOR CASSANO:

 Thank you, Madam President.

 I, too, rise to support the bill, and I'd like to make a couple
 comments about the bill, itself, and-- and why we're here, I
 guess. Obviously Newtown was the trigger.

 I grew up in Nantucket. I'll never forget, as a junior in high
 school, I had to go to a town meeting to -- as part of a
 political science class or history class and see our town
 meeting form of government work. The town meeting had a bill
 before it, $ 15,000; an allocation of$ 15,000 would be the
 local share to pay for an instrument landing system for
 Nantucket. The federal government would have paid the rest; I
 think it was 85,000, and the good voters of Nantucket voted it
 down. It was too much money.
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August 15th that year, 1958, about 11 o'clock, I was driving in
from the beach. We were fishing and we could hear a plane, but
we couldn't see it in Nantucket fog, and it crashed. Twenty-four
Nantucket people died that night. And they called for a special
meeting, and we appropriated the $ 15,000, a month later.
Tragedy brings about a response.

And the tragedy of Newtown has brought a response, a response
that for many of us is very difficult to support because none of
us can be happy with every part of the bill. Perhaps the good
thing is that it's taken a month for the bill to pass, over a
month. Four hearings have taken place. I was not on a committee
but I kept going in and out on that hearing that went until 3 a.
m. in the morning. I left by ten o'clock. I congratulate those
that waited and stayed through it.

The courtesy, the respect of the hundreds who waited all day,
came here in the morning and left here at night was 1ncredble
to see. Some of the things that we might have included in the
b1ll 1f we passed it then, antique guns mught have had to be
registered, retroactive takings, a whole bunch of things that
would have made the bill far more draconian are not in this
bull, as we tried to balance 1t.

Mental health issues are now a part of the bill that might not
have been at that time. Think about what that might have meant?
Columbine happened years ago; maybe the bill should have been
written after Columbine or after the movie theater massacre or
after one of those other types of events that has happened. But
when it happened in our own state, we had to react.

As we see the recent news of both the shooter and his mother,
maybe if good mental health was available to either one of
those, this might not have happened, but we don't have those
protections. Th1s bll provides those protections.

I've heard from people that, you know, the gun, that the gun
manufacturers will leave. If I live in Montana and I want a
Colt, I'm buying a Colt; it's as simple as that. When you buy a
gun, you buy a brand. You buy something that you're comfortable
with, Remington 1f you do or (anaudable), whatever t mught be,
Winchester, you buy a brand. So I'm not concerned about that.

Schools; I think it's a start. I'm not satisfied with that part
of the bill. I don't think it goes far enough. We have a public
school in Manchester for children through -- two through four,
five; Head Start school, 212 kids. Why aren't they protected or
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the parochial schools? And maybe some day they will be, as we
look at future legislation to deal with those 1ssues. I
understand that you have to start somewhere, and what this bill
does,   it starts.

E-mails; we have literally hundreds of e-mails. I have 192 e-
mails in the last 24 hours. I get a kick out of one guy, said I
had to e-mail you three times because I get points. I don't know
who's guvang the points out, but the e-mauls are pretty much
split, maybe 55/45, whatever it might be, mostly, many of them,
good friends of mine, former police officers. I was a mayor for
14 years; I used to go and qualify every year when they
qual1fled. And friends that I qualified with are saying you
can't support this. I think we have to support it because it's a
step forward.

And to the crowd that came that night, to the crowd that's here
today, I applaud them. I applaud them for either side that they
stand on because of the respect that they have offered us
through this process today.

When I went on Public Safety, three years ago, they said, oh,
Public Safety; ha-ha, you got the gun crowd. Well, the gun crowd
ought to be pretty proud of themselves, the way they handled
themselves in this whole process, because they did try to
provide information.

 I can't tell you how many times I met with people in my office,
 in town, and so on, to learn about this gun and that gun and
 this clip and that clip and this magazine, and so on. And so I
 look at this, I look at this as a, as a compromise that is
 important to Connecticut, because I think it will make us a
 better state.

 And I would hope that as we have bills in the future dealing
 with things such as a bill1on-dollar defct and some of the
 other types of leg1slat1on, that we get the same kind of citizen
 support that this bill has gotten from both sides.

 Thank you.

 THE CHAIR:

  Thank you.

  Senator Crisco.
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SENATOR CRISCO:

Thank you, Madam President.

Madam President, I rise 1n-- 1n support of the bull. I wash to
commend Senator Williams and Senator Looney and Senator McKinney
and Senator Fasano and the Chairs of our various subcommittees
for their leadership. I was particularly impressed not with the
knee-jerk reaction to 1ssues that occur from time to time, but
about the, but also about the thoughtful, responsible
cons1derat1on with the numerous hearings and the hours by
various Chairmen, like Senator Hartley, to wee hours of the
morning to hear every posit1on poss1ble. And I just want to laud
my -- my colleagues for what, for their leadership, what they
have done.

Because what we are doing, we're acting responsible. We are not
addressing gun control; we're addressing gun sense. And we heard
many times that the maJor issue is mental illnesses. And through
the leadership of Senator Harp, we have drafted something like
12 different measures, 12 different measures in regard to mental
illness. Granted, maybe some of them should have been addressed
before and it took a tragedy like Newtown to refocus us on
mental illness.

I have the utmost respect for those people who have their
ideology in regards to the Second Amendment, their rights. But
what about the rights of Ana, Daniel, and-- and Madeline; they
have rights too. As in the Declaration of Independence, they
have the right to life. That right was taken away from them, and
1n their honor, the least we could do 1s provide leg1slat1on
that will address the issue, not a hundred percent; that can
never happen, but hopefully it could address the issue that
might avert another Newtown.

So, you know, the -- we have been criticized for our process,
but I believe it's better to have tried than to not have tried
at all. And I Just take great pride as being a member of this
Circle. There are great many profiles in courage by both sides
of the issue, and I hope that when we take the final vote, that
they'll be all green lights for the children of Newtown and the
adults.

Thank you.

THE CHAIR:
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The next speaker will be Senator Welch, followed by Leone,
followed by Musto, followed by Ayala -- Ayala.

Senator Welch

SENATOR WELCH:

Thank you, Madam President.

As I said in support of Senator Markley's amendment, there is no
doubt that this tragedy has touched every person, every heart in
this Circle, 1n th1s room, in the stands there, whether as a
citizen watching the horror on TV that day, whether as a member
of this government or a Legislator on the ground there that day,
whether as a part of a task force.

And I do thank Senator Williams, Senator Looney, and Senator
McKinney for placing me on the Mental Health Task Force, where
you could hear the testimony of the moms and dads, the brothers
and sisters, the friends who lost their loved ones that day. No
doubt 1t was moving.

It was moving to me, even the next day, as I dropped my wife off
to go into the bakery to pick up some cookies for an event we
were going to, to listen to my 5-year-old girl, my 5-year-old
daughter say, Daddy, I hope they don't shoot her in that
restaurant. It 1s moving. It motivated me. It motivated me to
roll up my sleeves and be a part of a task force to make sure
that a madman could never commit a mass murder like this again.

But the bill we have before us falls short of that. If that is
our goal, this bill falls short. And it does so at the cost of
losing liberty. What this -- this country is all about freedom;
1t's all about liberty. Whether you bel1eve 1t was divinely
given to us, whether or not it was a natural progression of
government over the years, whether or not it was our following a
natural law, this country is about freedom. And with great
freedom comes great responsibility; I think everybody here
acknowledges that, great responsibility. And I will be the first
to concede that as -- as citizens, as moms and dads, as
neighbors, we have not lived up to that responsibility. But the
irresponsibility of some ought not to mean the loss of liberty
for others.

 Senator Kissel, I think, rightly noted on the fear of
 incrementalism, fear shared by some in the Circle, fear shared
 by people we represent out there. And no sooner did he express
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that fear that I think it was somewhat confirmed by the comments
that Senator Meyer made then; there's more to be done here. And
I think Senator Markley rightly noted that if this was the end,
if this was all we were talking about, maybe there would be more
consensus. But I think there's a general consensus that that is
not all we are talking about.

I think Senator Williams appropriately listed the horrible
events that have taken place in this country over the years and
identified a common theme of weapons, guns used in those
horrible events. But -- but I see another common theme, and that
is evil. That is evil men and women doing evil things,
irrespective of what the modality is. And I don't see this Bill
1160 getting to the heart of evil. I don't see this bill
convincing the mass murder of Newtown that there's another way,
that he could change. I don't see this bill accomplishing those
goals.

What I do see is I see us saying to one generation, it is okay
to defend yourself in a certain manner but to the next
generation, in a world that continues to grow darker, that
continues to become less safe, that continues to become scarier,
it's not okay for you to defend yourself in that same manner.

I do applaud those who put the process together, who worked so
hard to come up with some really good ideas. And 1160 does
contain some really good ideas, things we ought to do, things we
ought to execute on. But at the end of the day, weighing what
this country is about, I cannot support it.

Thank you, Madam President.

THE CHAIR:

Thank you, Senator.

Senator Leone.

SENATOR LEONE:

Thank you, Madam President.

I wish to rise, just to make some brief comments on the bill
before us. And first, I'd like to thank our Senate leadership on
both sides of the aisle, as well as our House leadership on both
sides of the aisle for all the work that has been done to
present what's before us today. And I know it couldn't have been
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easy; rightly so, it shouldn't be easy. This is a very, as was
mentioned, polar1zing, personal, emotional 1ssue.

We have a lot of history in our country on the ability to defend
ourselves, and we should be able to defend ourselves. I respect
the ability for a person to defend their life, their personal
property, ther family, and I don't see anything in this bill
that takes that away. You can still own your weapons. You can
still have your ammunition. You can still defend your personal
property, your family. You can still go to the gun clubs and the
shooting ranges for your sport. You can still do those things.
And as I look at the -- the language of the bill, and as I look
at the title-- and I think the title says 1t all 1n term of
what we're trying to do here -- th1s is AN ACT CONCERNING GUN
VIOLENCE PREVENTION AND CHILDREN'S SAFETY. Again, that's gun
violence prevent1on, not gun violence taking-away, gun violence
prevention and improving children's safety, all because of what
happened that dreadful day, December 14th, in Newtown.

And as I look back at the common thread of all the other areas
that had those mass shootings, those mass killings, whether it
was the two times in Colorado, Arizona, Virginia, numerous
others, the common thread is not the one rifle, the one pistol,
the one revolver; it's these assault weapons with high-capacity
rounds that can shoot multiple rounds in a minute, weapons that
are meant for war to defend our country, not to shoot our
neighbors, not to shoot our loved ones, not to shoot someone
going to school, not to shoot someone going to the store or to a
place or worship. It's for war.

And if anyone has been in the military and has shot those
weapons, you would know the destruction that it's capable of.
And I suspect that many of these mass murderers never served a
day 1n their life in the military to know what it could do, to
see the effects. And I respect all the people that are here
today on both sides of the issue. I know they're -- they're
real; we can't discount them but we do have to confront them. We
do have to debate this issue to find the way to move forward to
protect the public welfare, to protect the safety of our
constituents.

 So December 14th, unfortunately, is going to be forever etched
 1n the minds of every Connecticut c1tzen, maybe not other
 states. I suspect so, because it seems that this particular act,
 that has culminated after so many others, all of which we had
 hoped something would have done then, but because this was so
 heinous, so horrendous that it went after our children, five,
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six, seven years old. And any parent that has children in that
age range -- and I'm one of them, as well as many others -- and
even for those that have older children, you can still see that
face in your children when they were that old or that young, I
should say, the kind of impact that it has on any parent, on
anybody. I don't think you would have a heart 1f -- 1f it
didn't.

So today I see as a defining moment for us here 1n Connecticut.
It's a defining moment because we have to act. We can choose not
do something here because of the tragedy that happened, and I
ask how can we not? We must. Those children, our children are
our future. Those deaths in Newtown-- and I don't call Newtown
as some other place; it's not my town; those aren't my
constituents -- I look at them as they are my constituents.
Those are our children. It could have been any of our children.
It's the old phrase it happened over there; it's not going to
happen here.

Well, in fact, it did happen here, and those deaths in Newtown,
they represent the loss, not only the future of those children
and those families but all of us. We've all lost a sense of
humanity when that happened. And if we choose not to act, to
address 1t 1n some way-- and 1t's been mentioned, this may not
be perfect. It doesn't address every need. It may go too far for
some, not far enough for others, but the point is we're here to
try and prevent it from happening again, to have some measure of
prevention, to have some measure of improvement in our
children's safety.

 So I hope that some day when history looks back and looks back
 on this Chamber and the House and the State of Connecticut --
 and I hope all eyes are watching us in what we're trying to do
 here -- the message that we're trying to send is not to harm
 people and to harm their rights but to protect those rights and
 to protect our children, to protect our people from having this
 kind of tragedy happen again here in Connecticut, and not just
 in Connecticut but in other states as well and across the world,
 I hope.

 I Just don't want another senseless act to happen and we have
 not acted. At some point, we have to ask ourselves, when is it
 enough? When, how terrible does it have to be for us to do
 something? I believe thus legislation wall help. I pray and hope
 that 1t wall, not just in Connecticut but everywhere.
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And it's because of that, it's because of the prevention and the
improvement in safety for our children and our famules and our
neighbors that we hope this never happens again. And 1f there's
some other loophole where some madman finds a way to circumvent
these, these precautions that we've put into place, we'll have
to come back. We'll have to do something. But my hope is well,
we don't. My hope is that this sends a clear message, and it's
for that, that I support this bill.

And I thank you.

THE CHAIR:

Thank you.

It'll be Senator Musto,   followed by Ayala, Maynard, and Linares.

Senator Musto.

SENATOR MUSTO:

Thank you, Madam President.

Madam President, I rise 1n support of thus bill. The inc1dent 1n
Newtown may have gotten us here today, but what we are doing is
we are setting policy for the whole state, both those people who
own guns, the sportsmen, people who enJOY shooting them, people
who collect them, and also for people who are victims of gun
violence and the rest of us who are neither.

 I support both sides of this argument and my concerns with th1s
 bill, I share some of them. Senator Markley brought up some;
 Senator Kissel brought up some. I share some of those concerns,
 but on balance, I think this bill strikes the right balance for
 the State of Connecticut and the people here.

 We have heard a great deal from people who are opposed to this
 bill, and one of the reasons I support this bill is because a
 lot of those concerns are addressed in the bill. We've heard
 that we should not be confiscating people's magazines,
 confiscating people's guns. This bill does not do that.

 We have heard that we should be focusing on mental health. We
 should be focusing on school safety. We should be focusing on
 the things that make people safer outside of the gun arena
 this bill does do that -- and that we should enforce the laws we
 have on the books and make them stronger for people who are
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actually criminals, who are using guns in a way that harm other
people, not for self-defense, not guns in the hands of our law
enforcement and military, but for those criminals who are using
them 1n robber1es, n murders, in home invasions, who are
trafficking guns to those people who shouldn't have them, who
are trafficking ammunition to those people who shouldn't have
them. This bill does that as well.

We are talking about school safety here as well and trying to
figure out how to make those areas where we leave our children
every day safer. Senators Cassano -- Senator Cassano's points on
that are well taken as well. There are a lot of good arguments
from the people around the Circle on all sides of this bill, and
I'm proud to be part of this debate. I'm not going to talk a lot
about those things that have already been spoken of, because
there's no need to hear it again.

This bill will not prevent all gun crimes. It will not prevent a
lunatic from getting a hold of a firearm and killing a bunch of
people, children, adults, teachers, law enforcement, others. But
we all hope, even those who are not supporting this bill, I
suspect, hope that this bill will at least save some lives, that
1t will prevent some gun cr1mes.

And that 1s why I'm supporting thus bull, 1n the hope that 1t
will prevent future crimes that some people will be saved by it,
and that it does not take anything away from the people who
currently have guns and it puts the proper focus on criminals
and our mental health system and the safety of our society.

So if there is, I know there are some people in this Circle who
have, are still thinking about this; I would Just ask you to
consider the arguments that have been made against the bill or
against thus process, 1n general, are addressed 1n thus bill.
The good things are addressed in this bill and we do them. The
things that we've been warned against, this bill does not do.
And for that reason, I support it.

Thank you, Madam President.

THE CHAIR:

Thank you, Senator.

Senator Ayala.

SENATOR AYALA:
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Thank you, Madam President.

Today I stand in support of this bill. I want to thank the
leadership in this Chamber and the leadership in the Chamber
below in spending the countless hours, days, in putting together
this bill that we're going to vote for.

We're here today because of that tragic event that happened in
Newtown, and many people in this Circle have spoken, probably
much more eloquent that I can, in defense of those little ones
that their lives were so tragically taken.

But today I stand in support of the people in my community, in
my district, 1n urban centers that have faced thus, year 1n,
year out, countless number of youth who have died in the streets
of our urban centers. Their stories are not told. They have been
forgotten. The mothers, fathers, family members, brothers, and
sisters who in their own way have lost a piece of their l1ves;
they didn't have advocacy groups stand up for them. They had no
e-mail campaigns done in favor of them.

They have had vigils. They have had church services. They have
had moments in places like Bridgeport, New Haven, Hartford, and
other urban centers where they reach out to their community
leaders. They reach out to their mayors. They reach out to their
council members. They reach out to local law enforcement, and
they reach out to Legislators.

And in a roundabout way, we've gotten here today, and today I
want to present their stories. And I want to support this bill
because I do believe that there are portions in this bill that
speak directly to the tools, to the resources that our police
officers can use to combat gun violence in our urban centers.

I pray that there will never, ever be another Newtown tragedy in
the State of Connecticut or in these, in these United States. I
don't know if that will happen or not. Unfortunately, what I can
predict is that somewhere, sometime before this year is out, the
cty that I call home, Bridgeport wall face gun violence again.
New Haven and Hartford, other places that without a doubt,
probably they can't predict the day or time, but somewhere
throughout, gun violence will erupt.

 When I look at this bill, I had the opportunity to speak to our
 chief of pol1ce, Chief Gaudette, 1n Bridgeport, and one of the
 items that he asked us to do, one of the points that he thought
 was important was having a gun offender registry. This 1s 1n
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this bill. This piece provides another tool, another resource
for our chief of police, for local police to go after the bad
guys, to go after those people that would terrorize our
community.

As I continue to look at this bill and I look at another piece
that speaks to becoming another tool or resource for our police
department and our legal system is the reclassification of gun
trafficking laws, higher fines and higher penalties. That's
where the problem is at when we look at places like Bridgeport,
the trafficking of guns, people comang into our city, bring1ng
these guns and putting them into the hands of criminals, of
people who want to do bad. I have no pity for any one of those
if they have to serve more time or if they have to pay more
money because they decide that the City of Bridgeport is fair
game to bring n ther guns.

I don't mind if a person from the City of Bridgeport attains a
gun legally through gun permits and does what he or she have to
do. That's the law; I respect that. But when I have thugs, and
when I have folks coming into my community and they want to put
the -- ther -- those guns into the hands of little ones,
teenagers who may not necessarily have the level of respect for
life as a grown folk, there's a problem. Our little ones,
unfortunately through all types of different issues, whether
it's violent games that they're playing or any other things that
they might be seeing on TV, sometime are conditioned to think
 that life is a game and that you can hit the restart button
 after you lose a life, that things come back to normal. Well,
 that's not the reality that we live in, and I hope that after
 this bill gets passed, it's not the reality that those drug--
 those-- excuse me -- those gun traffickers are going to have
 thinking that Bridgeport is still open for business for them.

 The last piece that I'd like to address, I'd like to address the
 issue of mental health. The mental health issue is a serious
 component to thus bll and one that I thunk 1s just as important
 as the violence, the gun violence prevention.

 As a teacher, I've had the opportunity to see many students,
 students that for whatever reason may have been socially
 awkward, introverts, students that may have had a tough time in
 socializing with other students. And there's a tremendous
 responsibility as a classroom teacher to identify who those
 students are, because in doing so, we can prevent some honorific
 other event from happening.
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But it goes much further than Just having a teacher identify.
Most of my colleagues, I would say a great portion of them, are
able to do, are able to do so, but it goes a step further than
that. After identifying who these students are, after putting in
a referral into a school social worker, school psychologist,
it's about having the resources at the schools to be able to
take that referral, analyze, talk with the student, and
hopefully bring this young man or young lady to a place where
they're not at odds with who they are. Will we save a life
because of that? Your guess is as good as mine, but I do believe
that we do prevent anything from happening if we have those
resources there.

So I hope that 1n thus brief moment in sharing my thoughts with
my colleagues around the Circle and sharing the stories of the
countless number of individuals in my 43 years that I lived in
the City of Bridgeport who have lost their lves, fr1ends,
relatives, and on a very sad note, several of my students,
former students of mine who have lost their lives on the streets
of Bridgeport because of the senseless gun violence.

I believe that thus 1s a proper step. I believe that this 1s the
right thing to do for the State of Connecticut, and, as such, I
will be voting n the -- I mean the affirmative, today.

Thank you, Madam President.

THE CHAIR:

Thank you, Senator.

Senator Maynard.

SENATOR MAYNARD:

Thank you, Madam President.

We consider today legislation that was conceived 1n tragedy and
borne out of the hard labor of political compromise, and it's
that compromise that I think has led us today to a lot of the
discussion and m1sguvungs that some of us feel about the ball. I
speak to colleagues with whom, for whom I have the highest
regard, and I am so grateful for the opportunity over the last
three months to have had, even at different times in the moments
of heating dialogue and debate, a mutual respect that was
offered to each of us on both sides of the aisle.
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I think the tragedy at Newtown left us 1n 1ts 1nit1al days with
a -- a sense that we needed to act with a spirit of unity and
bipartisanship and that we wanted a bill that would address
comprehensively what we thought might be the underlying causes.
I think, unfortunately in some respects, the bipartisanship that
we have sought and that we are achieving in some measure today
also put some of us in a bit of a box as we began to consider
what elements of a bill we could all agree upon. And I think it
was there that we began to see the challenges of bipartisanship
on an issue so emotionally driven.

I come from a part of the state that has a great many rural
residents, has d-- a proud gun tradition, and has so many folks
who are friends and neighbors, sportsmen, gun owners, folks who
really take great pride personally in their safe handling of
guns and their knowledge of weapons, in their respect for the
rule of law, 1n teaching those to their children and enjoying
hunting and competitions and shooting and also feel a very
strong connection to the right to protect themselves personally,
either against intruders or against, as they feel mught occur 1n
some future time, a-- an oppressive government.

It is their right to feel that. I don't share their same
wariness of the government, because I have the great privilege
of working within a governmental body. And I know that while we
don't always get everything right, we do have the opportunity to
change the law, and undoubtedly will again, as we discuss these
issues down the road.

But I understand the msguvungs of my neighbors and fr1ends and
people from all over the state and, indeed, all over the country
who feel very passionately about any erosion of their Second
Amendment rights and will defend them as a principle, not
because their gun nuts, not because they're some fringe element,
but because they hold thus deep conviction that thus 1s part of
who we are as a people. It was established in the Bill of Rights
when we, when we confirmed the Constitution, itself, when it was
ratified. So I understand that passion, and I often think, as a
Democrat, we also defend hard-won rights as we perceive them.

And I know it's not analogous, except for the underlying right,
that we Jealously guard a woman's right to choose. After that
hard-won battle, Democrats are very wary of giving any ground,
even if it seems reasonable, even at something as simple in --
1n some states as a, as a 24-hour wa1tung period, we wall not
see to any infringement of that right.
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And so while I don't share the same doubt and misgiving about an
abusive government that my Second Amendment friends do, I
understand their passion. I understand their desire not to let
government act precipitously and infringe that right without
deep reflection and care. We've sought to do that here. I
believe our leaders have done an incredible Job trying to forge
a package that we can have broad bipartisan support. And I
believe that they sought with the best of intentions to protect
the ct1zens of this state, particularly our young children 1n
this aftermath of such a horror.

On the other hand, I feel that the process, itself, confined us
to a point where I am not comfortable with some provisions of
the bill that I feel I don't have a great enough understanding
of or a comfort level with what it might mean down the road. I -
- I think a bill thus large, thus comprehensive, and with as
many moving parts as it has really deserves more scrutiny than I
feel I've had the ability to give 1t.

Now, there's no question everyone in this room wants to ensure
that no tragedy occurs to the lives of any children in this
state or any person in this state, similar to the kind of mass
shooting that we experienced. I think where, in my view, the
bill runs a little off track is that it seeks to address the
actions of people determined to inflict harm on others in a mass
shooting.

You know, ten of the worst mass murders in the history of the
United States were committed by white men under 25 years of age.
They're all -- many ended in suicide, and -- and the acts were
carried out with a kind of calculated indifference and
dispassion that is Just hard for us to comprehend. We come to
the conclusion that these people must be mentally hill because
who but a-- a crazy, mad person could -- could kill people
wantonly without cause. And yet it happens over and over again
in various parts of our country, perpetrated by people who are
not making a political statement so much as acting out in
frustration. Perhaps it is a political statement. Who knows the
minds of these people; they die, often at their own hand, before
we have the opportunity to understand what could have provoked
such an attack.

But I bel1eve that our law-ab1dung citizens who are going to be
affected by this bill deeply resent, as I would, the implication
that they cannot be trusting with these weapons, that they
cannot be trusted to abide by the law, and that somehow the
gesture that we're making to hopefully assuage the pain and
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suffering of those who've been so affected by the shootings in
Newtown, that -- that may must give up or be burdened with a new
set of requirements and reporting and -- and potential felony
convictions, should they choose not to or make some kind of
m1stake 1n the future.

I Just don't have a comfort level with a bill that goes that
far, and I know it's very hard to balance things at -- these
things out. We live in a, in a country that respects the rule of
law, and we, and we try our -- our very best to respect each
other's rights.

I've -- I've operated as a Democrat, again, as I say, under the
principle that I would like to pass laws that provide maximum
benefit, while preserving max1mum liberty.

                    CONNECTICUT GENERAL ASSEMBLY

                                 SENATE

                       WEDNESDAY, APRIL 3,   2013

 SENATOR MAYNARD:

 -- and that is a tough balance to achieve very often in this
 country. And as a member of this body, I feel a much greater
 level of comfort as, as someone who deals with the law, because
 I know, as I said at the beginning, that we have the ability to
 change it.

 But I am aware of the discomfiture of those who feel that we may
 not come back, we may not correct those excesses in this law.
 And they may see, now or in the future, a dumunuton of the1r
 Second Amendment rights or their right to defend their family or
 themselves.

 So I guess what I'm asking of this body is even if we make the
 decision today, as we 1n every likelihood will, to go forward
 w1th thus bill that we maintain a respect for the rights of
 those people who think differently about the role of government
 who are not quite as comfortable with it as we are, who don't
 feel that it always provides a benevolent protection for them
 but sometimes may, actually, appear to them as, as something
 that 1s intrusive in their lives. And that 1s ther rght, as 1t
 is ours, to, to believe differently.
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While I'd like to Join today with colleagues who've worked so
diligently to produce this bill, I find myself troubled, as I
said, by those aspects of the bill and will be voting no today.
The hard work that's gone into this bill though is not without
merit. I am deeply committed to future efforts toward greater
gun safety and improved mental health access.

And I intend to Join with my colleagues as we leave here and go
forward either in this sesson or 1n future sessions to do that
which protects the lives of our children and, and makes the
kinds of laws that, that can balance the interests of our, of
our citizens against the need for further protection. So I thank
you, Madam President, for the opportunity.

THE CHAIR:

Thank you.

Senator Linares.

SENATOR LINARES:

Thank you, Madam President.

I represent 12 towns, 12 beautiful towns, on the Connecticut
River and the Connecticut Shoreline. And on behalf of my entire
district, I wanted to take a moment to share my thoughts and
prayers with the famul1es that were affected by this horrfc
tragedy in Newtown, Connecticut.

 When just making a decs1on about thus ball, ultimately my, my
 thought was that at some point I'm going to be knocking on the
 door of a, of a constituent's house and looking in the eyes of a
 mother with her kids by her side. And ultimately, my decision
 would be based on whether or not I feel we have done the best
 work to help prevent another act of evil from horrifying our
 state.

 Today, I will vote no on this bill and stand here for the
 honest, hardworking, law-ab1dung citizens that I feel we are,
 1s, thus bll 1s creating unnecessary harm for. I do believe
 that we need to head in the direction of improving our mental
 health system in the State of Connecticut. I believe that we
 missed an opportunity to reform our mental health programs in a
 responsible and thoughtful way.
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As I was sitting here, an e-mail came to me from a constituent.
He said, I'm writing to ask for your help. There has been a
proposal that will eliminate all grant funding for inpatient and
outpatient mental health programs. That means nearly$ 3 million
in reductions to mental health programs for people in your
d1strict. Ths s not the direct1on I bel1eve we need to head 1n
in order to prevent another tragedy like this from occurring.

I also feel that never should the voice of the people be
silenced. I do have my reservations with the fact that the
people have not had a chance to voice their opin1on on the f1nal
language of this bill. I think that we, more work needs to be
done, that we need to focus on mental health, and I stand today
1n opposition to this bill for those reasons, and I ask my
colleagues to follow. Thank you.

THE CHAIR:

Thank you.

 Senator Fonfara.

 SENATOR FONFARA:

 Thank you, Madam President.

 I rise in support of this bill, and I want to thank all those
 who helped us get us to this point today. Madam President, there
 are two things that are true, among many things, particularly
 true about the legislative process. The first is that we rarely
 act proactively, and the second is that we deal with issues du
 Jour or of the day.

 With respect to the tragedy that has brought us here today,
 we're unable to do anything to address that issue proactively,
 sadly. But I pray that we do not treat what happened in Newtown
 and the effects of it as the issue du your, because,
 unfortunately, and sadly likely, somewhere in this country, and
 hopefully I'm wrong on this but maybe even in this state, there
 exists and likely will exist other Adam Lanzas.

 And while this bill and this process never will allow us to
 prevent fully a repeat of the horror of Sandy Hook or Aurora,
 Colorado, or Virgina Tech, our charge 1s to do everything we
 can to mun1maze such a thing from happening again. I thunk th1s
 bill goes a long way in making that effort.
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What is the profile, sadly, what is the profile of these
individuals, young, angry and withdrawn, some mentally
disturbed, maybe a video game watcher, a violent video game
watcher, access to firearms, maybe copycatters? Like with
suicide, many contemplated, few committed.

But as lawmakers, it is impossible for us to write a law that
could identify that, those few ind1v1duals that go from
contemplation to act1on. And I believe that 1t 1s our
responsibility to not treat this tragedy and the results of it
as an issue du our. The mental health aspect of this must
continue to be our challenge.

We must find ways to identify those better, the Adam Lanzas of
our communt1es better so that the famul1es who are laving wath
and wall lave with thus tragedy for the rest of ther lives wall
feel at least something, something positive came from it so that
others don't have to live with it as well. And I pray that we
will continue to work at that aspect of this as we move beyond
today. Thank you, Madam President.

THE CHAIR:

Thank you, Senator.

Senator Boucher, for the second time, and then followed by
Senator McLachlan and then Senator Kane.

SENATOR BOUCHER:

Thank you, Madam President.

And for the second time, as was mentioned very often this
afternoon, that this has become one of the most polarizing
issues that we have faced and that we have 36 Senate seats
around this circle, all of them about exactly the same size. And
I have to say that the district that I represent with seven
towns is probably one of the most polarized in this particular
1ssue and oftentimes in other district, other 1ssues as well.

I might add just as an aside that those individuals that res1de
in that Senate seat tend to vote maybe 15 to 20,000 more
individuals or votes that are cast in many of our elections,
which means they're very politically active. And they were never
more active than they were on this particular issue. I think
many of the busses that came up here on both sides of the issue
probably emanated from the 26th District.
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I can tell you this, that I, you have all received phone calls
and e-mails by the hundreds. We have received them by the
thousands. And it's one person, our aide, that's there that's on
the front line of these phone calls and these e-mails. And
although you strive to get back to everyone, it's become
literally impossible to do that given the reaction that we've
received.

And I have to say that this issue has touched all of us
personally in some way or another. And some of those very
children that were in the room next door to the ones where none
of the children survived sat with me here 1n th1s chair on many
an occasion and in cars and in parades. And, fortunately, they
survived but not without the kind of emotional damage that those
children have received.

And I know that even those that were not immediately there, my
next-door neighbors' fifth graders and fourth graders come over
regularly and tell me about how they're practicing hiding in
their closets to see if they can all fit in their school
closets. And one of them said to me she's even tried to fit in
her locker, and she can do it. To think that that is what is
go1ng through their minds right now 1s absolutely devastating.

But I also have to speak up on behalf of some parents and family
members that have individuals like Adam Lanza 1n the1r
household, and they live in fear in every day. And I have to
speak on behalf as well, because one of my priorities is not
Just school security, but it's mental health issues.

And I was very torn on the area to spend some time on in delving
into this issue and in speaking on behalf of them and the many
hospitals that we have in our state that have told me that their
psychiatric units and ERs confront this issue every day where
they have the severely mentally impacted and ill individuals
that they do not have a place to, to put them at the same time
that we, as a state, have closed down mental health facilities
that the Mental Health Subcommittee has done a lot of work but
has left a bug, gaping hole and gap 1n addressing the ser1ous
lack of placement, appropriate placements, in institutions that
we have closed for politically correct and, and cost-related
reasons.

One of the individuals from one of my districts n Ridgefield
called me to talk to me about the fact that their son was also
killed by someone that was let out of Fairfield Hills, which was
a mental illness facility 1n Newtown, Connect1cut. That patient
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was mainstreamed and put in a community in Stamford. They ended
up burning the apartment where their son resided and was killed.
Th1s 1nduv1dual should have had oversight.

Someone should be, have been watching to see that they received
their med1cat1on. When they were 1n a facility, they had that
oversight. They had that expertise located there. We have to ask
ourself as a state, are we going to continue to be politically
correct, or are we going to broach this subJect in an honest
way, and is there a proper place for institutionalization and
the 1ssue of nvoluntary commitment, all of which in thus bull
becomes a study?

And I understand that there's financial constraints, but we have
to address this, and I hope that we do look at this very serious
issue in a future session. And also to mention in support of our
good, new Senator from Bridgeport, Senator Ayala, he is so right
that we have gun violence every single day and every single week
1n our major cities in Connect1cut. It disproportionately
affects our minority populations 1n those cities, and it's
something that we can't turn a deaf ear to and eye to. And
fortunately, there are some aspects of this bill that do think
about that.

I had an interesting experience that maybe some of the others
here had as well in the House when we were debating the assault
weapons ban when members of the Clerk's Office would follow me
into the ladies' room to say, you know, I live in the inner city
in Hartford, and every weekend somebody comes in there with a
vehicle full of contraband weapons and opens up the trunk of
their car and sells them straight out for cash without any
background check, without any permits. And how do we address
that? I'm very pleased to see that some of that is in here.

I know that finally what I wanted to talk about was the fact
that our founding fathers were actually, and mothers, I might
add, were brilliant, brilliant in the aspect that they created
three branches of government, the executive branch that
proposes, the legislative branch that disposes or decides, and
the judiciary, whch adjudicates.

And although the Connect1cut Constitution gives every citizen
the right to bear arms in defense of himself and even the state,
the law though also does regulate the sale, the use, and the
possession of firearms. And as such, our Judiciary, some say
that this bill is too far-reaching. It goes too far. Then, in
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fact, it will be adJudicated, and those aspects that don't pass
muster can be struck down as was in New York.

This was quite an effort, and for those that say it was a closed
effort, I don't believe it was. I think it was one of the more
open that we've had 1n a long tame just yudgang by the
individuals that have come forward, provided testimony, that
provided e-mails, calls, all of which we have read and all of
wh1ch were considered with, wuth regards to the f1nal product.

Thank you, Madam President. Appreciate the opportunity to Just
say a few closing remarks.

THE CHAIR:

Thank you.

Senator McLachlan.

SENATOR MCLACHLAN:

Thank you, Madam President.

 I was proud to have served on the bipartisan task force that
 studied the problems following December 14th and was assigned to
 the School Security Subcommittee where we clearly identified
 that Sandy Hook Elementary School's procedures, including
 lockdown, actually saved lives. But the process of our study
 told us there's much more that can be done.

 This bill begins the process of looking carefully at security of
 our children. But let us be clear that we can't possibly expect
 our school buildings to become Fort Knox. We should look
 carefully, much more carefully, though at mental health in our
 state. We've heard a lot of comments about that today, but it's
 not proportionately show1ng 1n thus piece of leg1slat1on. And I
 think that 1t deserves pr1or1ty attention.

 I must say I am disappointed the bill has created a task force
 where we really should be leaving the real action, should not be
 leaving the real action for another day. It's a complicated
 question. Clearly understood, it's very complicated. How do we
 address the nightmare of a madman? No question that's a
 d1ff1cult quest1on.

 But the professionals in the mental health field have told us
 and have made it really very clear that one of the maJor
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problems 1n Connect1cut 1s insufficient resources. Senator
Linares just mentioned a, an e-mail that he received just today,
and I've gotten several of those over the last several days,
whereby mental health funding is being dramatically cut. That's
a problem.

I also heard many stories of faml1es struggling with challenged
children. They were very vocal over the last several months,
those families who have lived through apparently what the
murderers' family may have lived through, the challenge of how
to, to get resources within the system in Connecticut.

Now we have some best practices here in Connecticut. One of them
I learned from the Commissioner was something known as assertive
community treatment, and that's in this bill today. That's good
news. But here's the problem. It's currently in three cities,
and we're only adding three more. We have 169 towns in
Connecticut.

Now granted, this is an expensive program that needs to be
prioritized, and I understand that. But if we have a best
practice like that, let us find ways quickly to use those best
practices in a more cost-efficient manner and make at statewide
or more readily available than what we're talking about. So we
have much more work to do.

 Gun control is a very tough topic for everyone in this room
 today, for the literally thousands of people that I have heard
 from and tried to communicate with over the last several months
 who have called my office, my home, my cellphone, e-mails,
 thousands of people. And I'm Just one of 36 Senate districts.
 And I heard from people across the state. It wasn't Just Western
 Connecticut who was communicating with me. They were calling and
 writing from all over the state.

 It's a very challenging topic and, I must tell you, a painful,
 sleepless night challenge for me. The maJor problem that I had
 with early discussions about gun control here since the task
 force started working was seizure. There seemed to be a need,
 and I heard it again today from Senator Meyer, who he and I
 disagree that illegal seizure 1s a priority 1n the Constitution,
 and we should not be going down that road.

 And so I'm thankful that the bill before us today does have the
 grandfather clause and allows for those responsible gun owners
 to keep the property that they've bought and paid for. Now that
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comes with strings, and I understand that. And they're not happy
about that either, but that's a balance. That is a balance.

Our State Constitution has very firm rights to bear arms. Some
would say that the Connecticut Constitution right to bear arms
exceeds that of the United States Constitution. And so I asked
questions of a lot of experts in constitutional law. What
happens with the legislation before us 1n a future contest 1n
the court?

I'm told, and this is a matter of opinion that I've gotten from
professionals -- I'm not a lawyer, I'm a layperson Legislator, I
call myself -- th1s, I am told this ball will withstand a
challenge. And the reason why is that the leadership decided to
take out the grandfather, take out the, the seizure part of it
and add the grandfather clause to the bill. There are so many
more things about thus legislation that make so many people
uncomfortable, including me.

But I've got to share with you where I was on December 14th.
Immediately upon hearing news of this tragedy -- I was in
Danbury -- I drove straight to Saint Rose of Lima Church in
Newtown where I have friends who are parishioners there, family
members who are parishioners there and whose, the pastor,
Monsignor Bob Weiss, is someone who I respect a great deal.

 So I went to Saint Rose and kneeled down and prayed for hours.
 And during that period of time in the afternoon, I greeted
 family members who lost their family member at Sandy Hook
 Elementary School. And later that day, in the evening, I stayed
 there and yo1ned the community 1n a prayer service.

 December 14th changed a lot of people's viewpoint on a lot of
 things, on the preciousness of life, on the priority of our
 l1ves, and 1t certainly affected me 1n a very great way, quite
 frankly, more than I would have anticipated, something as
 emotional as that would have done for me. And so it forced me to
 take pause and think about this debate in a different way that I
 never had before.

 What I found was that Caroline Phoebe Previdi, who was six years
 old, a first grader, an adorable young girl whose grandparents
 and great-grandparents I've known all of my life, was lost that
 day at Sandy Hook. And that's what I'm talking about, that it
 forces you to really look at things differently, I, I hope
 obJectively, because under different circumstances, I would look
 at this bill very differently.
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But today I'm supporting this bill in hopes,     in hopes that I am
properly honoring Carline Phoebe Previdi.

Thank you.

THE CHAIR:

Thank you, Senator.

Senator Kane.

SENATOR KANE:

Thank you, Madam President.    If I may,   I have a few questions to
the proponent of the bill.

THE CHAIR:

Please proceed, sir.

Senator Williams, prepare yourself.

SENATOR KANE:

Thank you, Madam President.

Just a few questions, if I may, Senator Williams. In the bill,
it talks about the prov1s1on of individuals under the age of 2l,
and 1t says that mul1tary 1ndavuduals may use or may be exempt
1n the use and discharge of their dut1es.

What about those individuals who may have been, who have served
their service through our country, come back, and they're still
under 21, poss1bly -- maybe they were inJured, maybe, who knows
-- and want to purchase a long gun? These individuals, are they
still exempt? I mean, they served our country. They have
incredible training 1n the military. They come back, and they're
not able to get a gun without a certificate or a permit.

 Through you.

 THE CHAIR:

 Senator Will1ams.

 SENATOR WILLIAMS:
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Thank you, Madam President.

Federal law, from what I understand, prohibits them from
purchasing a pistol. And in the State of Connecticut, the law
before us conforms that to centerfire assault rifles as well.

THE CHAIR:

Senator Kane.

SENATOR KANE:

Thank you, Madam President.

So a . 22-caliber or a shotgun, that, that would be okay? It's,
you know, hunting, that kind of thing. It's Just not the
centerfire, centerfire.

Through you.

THE CHAIR:

Senator Will1ams.

SENATOR WILLIAMS:

Through you, Madam President, that's correct.

SENATOR KANE:

Thank --

THE CHAIR:

 Senator Kane.

 SENATOR KANE:

 Thank you, Madam President.

 Thank you for that answer.

 On the mental health el1gability verification, at, I think 1t
 says that 1f you were voluntarily 1n a facility, let's say, 1t,
 with1n sx months or involuntary, involuntarily within f1ve
 years, there would be this look-back. The, is, is that Just a
 check-off on the application?
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Through you, Madam President.

THE CHAIR:

Senator Will1ams.

SENATOR WILLIAMS:

A check-off on the application, you mean if they are attempting
to purchase a firearm? Yeah, they would be asked that question,
but it's my understanding, and I can double check this, that
that information of the commitment at a hospatal for psychiatric
d1sab1lit1es, which 1s the commitment that we're talking about,
would be reported to the Commissioner of DMHAS, the Department
of Mental Health and Addiction Services, and that that could
also be reported to DESPP --

THE CHAIR:

Senator Kane.

SENATOR WILLIAMS:

-- which is our public safety agency.

 SENATOR KANE:

 Thank you, Madam President.

 And 1s that a violation of our HIPAA laws?

 Through you.

 THE CHAIR:

 Senator Will1ams.

 SENATOR WILLIAMS:

 Not that I'm aware of.

 Madam President, through you.

 THE CHAIR:

 Senator Kane.
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SENATOR KANE:

Thank you, Madam President.

There's also in the bill a gun offender registry, but it says
that it is not public record or subJect to FOI. And part of the
argument that law-abiding gun owners make and I will make and
many people will make is that many of the crimes that are
committed by, with guns are committed by the bad guys.

And why wouldn't this registry be eth1-l1able? I mean, 1f we
have a sex offender registry, and you're able to know if in your
neighborhood there is a, a sex offender, why wouldn't we be able
to know if someone 1s a convicted felon with a gun crime? Why
wouldn't we have that information available to our public?

Through you.

THE CHAIR:

Senator Will1ams.

SENATOR WILLIAMS:

Madam President, through you to Senator Kane, the purpose of the
registry is to assist law enforcement. So law enforcement has
access to this list for the very purpose that you're talking
about to be aware of the propensity, not the guarantee, but the
propensity of those who have offended in the past in terms of
gun crimes to offend again.

 THE CHAIR:

 Senator Kane.

 SENATOR KANE:

 Through you, Madam President.

 Thank you, but what's the difference between a gun offender
 registry and a sex offender registry? If, if those are made
 public, why wouldn't this be made public? I would consider, I
 don't know, but maybe they're equally as dangerous if not more.

 Through you.

 THE CHAIR:
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Senator Will1ams.

SENATOR WILLIAMS:

Thank you, Madam President.

I can only tell the good Senator Kane that the purpose of this
was as a tool for law enforcement. It was not discussed in terms
of the sex offender list. I suspect if we had discussed that, we
might have talked about the different natures of the crime.

In terms of a sex offender list, you're very concerned about
whether that person might be around young people in some way.
In, in this instance, we are talking about a tool for law
enforcement. Whether we want to consider what you are proposing
to make thus public in the future, that 1s something that we
could certainly consider. Right now, it's for law enforcement.

THE CHAIR:

Senator Kane.

SENATOR KANE:

Thank you, Madam President.

I, I appreciate that answer. That's, that's, I appreciate that.
That's, I think it's important, because we, we're, you know,
we're talking about the bad guys here. I think the public has a
right to know, so I, I appreciate that answer.

When we talk about the, registering the high-capacity magazines,
it's, 1t, one of the stipulations 1s that that registration
would go to the DMHAS Commissioner. A, am I right about that,
and, B, why would we submit those names to the Commissioner of
DMHAS, Department of Mental Health?

 Through you.

 THE CHAIR:

 Senator Will1ams.

 SENATOR WILLIAMS:

 You're talking about the magazines that are in possession now
 prior to the enactment of this law that would be declared.
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SENATOR KANE:

Yes.

SENATOR WILLIAMS:

Because there has to be a repository for that declaration, and
to us, it made the most sense to have that repository in our
public safety agency.

THE CHAIR:

Senator Kane.

SENATOR KANE:

Thank you, Madam President.

I'm not disputing that. I, I believe 1t says, not 1n, 1n
addition to Department of Public Safety but DMHAS, Department of
Mental Health and Addict1on Services.

Through you.

 THE CHAIR:

 Senator Will1ams.

 SENATOR WILLIAMS:

 Thank you, Madam President.

 I suspect that it is a backup registry in terms of the
 information that would be available to DMHAS and as, as a, a,
 registry for the Public Safety Department. I think that the
 DMHAS reference may be important when we look at some of the
 other potent1al gun 1ssues regarding what we were just talking
 about in terms of commitment. Does a person have not only a gun,
 but does the person 1n addition have a high-capacity magazine?

 THE CHAIR:

 Senator Kane.

  SENATOR KANE:

  Thank you, Madam President.
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I, I appreciate that answer, but I still don't understand how
owning a large-capacity magazne has any connect1on with mental
health and the fact that these individuals' names would be given
to the Department of Mental Health and Addiction Services. I can
understand the public safety, because public safety, you know,
you would have that registration.

But that, that just puts a, an assumption that 1f an 1ndv1dual
owns a large-capacity magazine that there may be a mental health
issue as well, and you're submitting the name to the Department
of Mental Health and Addiction Services. And, and I don't, I, I
don't know if I, and I can't agree with that, and I don't have
to believe that's fair. If, if you want to respond, you're more
than welcome, but I can move on, certainly, if you want.

SENATOR WILLIAMS:

I'll stand by my previous answer. Thank you, Senator Kane.

THE CHAIR:

Senator Kane.

SENATOR KANE:

Thank you, Madam President.

 In the list of banned weapons, there is a Colt Match Target
 rifle. Can you describe what that rifle 1s?

 Through you, Madam President.

 THE CHAIR:

 Senator Will1ams.

 SENATOR WILLIAMS:

 I don't have a photograph in front of me, Senator Kane, so I
 could not describe that from a photographic point of view.

 THE CHAIR:

 Senator Kane.

 SENATOR KANE:
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Thank you, Madam President.

I guess my quest1on 1s, 1s 1t a target rifle, meaning one that
is used for target shooting, one that is used in a, in a range?
And I was Just curious why that one was on the list.

Through you.

THE CHAIR:

Senator Williams.

SENATOR WILLIAMS:

Thank you, Madam President.

Through you to Senator Kane, all of the guns that are on the
l1st meet the criteria of the phys1cal characteristics test. And
that, those are the assault weapons, for the most part designed
or1g1nally with a military platform, capable of semu-automatic
fire and centerf1re as opposed to r1mf1re.

THE CHAIR:

 Senator Kane.

 SENATOR KANE:

 Thank you, Madam President. And of these rifles that are on this
 banned list, how many of them are made in Connecticut? Are we
 aware of how many?

 Through you.

 THE CHAIR:

 Senator Will1ams.

 SENATOR WILLIAMS:

 I am not aware of the precise number.

 Through you, Madam President.

 THE CHAIR:

 Senator Kane.
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SENATOR KANE:

Thank you, Madam President.

And the OFA analysis, is there any impact on the economic impact
this will have on the State of Connecticut, meaning the, the
number of manufacturers we have in the State of Connecticut, the
number of manufacturing Jobs we have in the State of
Connecticut, the ancillary businesses who feed those
manufacturers in the State of Connecticut? Is there any economic
1mpact in th1s OFA analysis?

Through you.

THE CHAIR:

Senator Wall1ams.

SENATOR WILLIAMS:

Madam President, not to my knowledge, no.

THE CHAIR:

 Senator Kane.

 SENATOR KANE:

 That's, thank you, Madam President.

 And one last question, if I may, through you. It talks about the
 statewide trafficking task force, and, and I know that Senator
 Harp and I have been in agreement in trying to keep that in the
 budget. It was removed from the budget. Will it be placed in the
 budget yet again, or are we going to fund this task force?

 I know Senator Guglielmo came and testified in front of the
 Public Safety Committee not too recently and asked for this to
 be placed back in. So 1f, 1f we're going to put this 1n, 1n th1s
 bill, are we then going to be funding the statewide trafficking
 task force?

 Through you.

 THE CHAIR:

  Senator Will1ams.
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SENATOR WILLIAMS:

Thank you, Madam President.

Through you to Senator Kane, yes, in the amount of$ 1 million.

SENATOR KANE:

Good. Great.

THE CHAIR:

Senator Kane.

SENATOR KANE:

Thank you, Madam President.

I thank the Senate Pres1dent for indulging me 1n answering--

SENATOR WILLIAMS:

Thank you.

SENATOR KANE:

-- my questions. I appreciate the answers that you gave. I
certainly appreciate the fact that you're walling to work with
me on a couple of those questions that I asked you. And
hopefully, we can move those discussions forward as, as we
progress.

I still believe that we have some very deep quest1ons on the
economuc impact that this bill 1s going to have on the State of
Connecticut and the great manufacturing that we have here and
the history that we have here.

 I also, if I may, Madam President, I Just want to change gears a
 little bit, because I, too, have a couple of amendments that I
 would like to offer to thus body, one of which, well, actually,
 if you don't mind, I'll ask the Clerk to read LCO 5467, and I'd
 be allowed to summarize.

 THE CHAIR:

 Mr. Clerk, will you please call the LCO.
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THE CLERK:

LCO Number 5467, Senate Amendment Schedule "R" offered by
Senator Kane.

THE CHAIR:

Senator Kane.

SENATOR KANE:

Thank you. I move adoption.

THE CHAIR:

Mot1on 1s on adopt1on. Will you remark,     s1r?

SENATOR KANE:

I will. Thank you, Madam President.

In the bill -- I believe it's in Section 23, Lines 1008 through
1011-- 1t talks about the exempt1on of pol1ce officers in th1s
bill. And I think that's a very good idea, because I've gotten
calls, e-mails, Facebook messages from police officers
throughout the state who said, you know, these guys put their,
these men and women put their lives on the line every day. And
they are targets for crime. They are targets for the bad guys.

 And it does say in the bill that whether they're on duty or off
 duty, they are exempt from this bill. However, it doesn't
 mention retired members of the military and/or police
 departments. And I still believe that these individuals who have
 g1ven, you know, ultimate and incredible sacrifices for the
 State of Connecticut by putting on a badge and, and protecting
 the citizens of our state are still targets even after they
 retire. So this amendment simply adds retired officers to that
 l1st.

 Thank you, Madam President.

 THE CHAIR:

 Will you remark?

 Senator Will1ams.
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SENATOR WILLIAMS:

Thank you, Madam President.

I rise to oppose the amendment. The intention of the exemption
is for active members of police departments and the military.
The exemption that you're talking about would allow them to
purchase or import high-capacity magazines as retired members,
so we do not want to endorse that. I understand your respect for
their service. We have great respect for their service, and
that's why we have an exemption for active members of police
departments in the military.

THE CHAIR:

Will you remark?

Senator Kane.

SENATOR KANE:

I would ask for a roll call vote, please.

THE CHAIR:

Thank you. Will you remark? If not, Mr. Clerk, will you call for
a roll call vote? And the machine will be open.

 THE CLERK:

 Immediate roll call has been ordered in the Senate. Senators
 return to the Chamber. Immediate roll call has been ordered in
 the Senate.

 THE CHAIR:

 If all members have voted, if all members have voted, the
 machine will be closed, and the Clerk will call the tally.
 Please, please.

 THE CLERK:

 On Senate Amendment Schedule "F" for Senate Bill 1160,

 Total Number Voting 35

 Necessary for Adoption 18
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Those voting Yea 12

Those voting Nay 23

Those absent and not voting 1

THE CHAIR:

Amendment fails.

Senator Kane.

SENATOR KANE:

Well, you didn't have to bang that so hard, Madam President.

THE CHAIR:

I wanted to wake you up, sir.

SENATOR KANE:

I, I would,     if you'll indulge me,   I'd like to offer another
amendment.

THE CHAIR:

 Is that a quest1on?

 SENATOR KANE:

 It's a promise.

 THE CHAIR:

 Please proceed, sir.

 SENATOR KANE: If, if the Clerk would call LCO 5475, and I'd be
 allowed to summarize.

 THE CHAIR:

 Mr. Clerk.

 THE CLERK:
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LCO Number 5475, Senate Amendment Schedule "G" offered by
Senator Kane.

THE CHAIR:

Senator Kane.

SENATOR KANE:

I move adopt1on.

THE CHAIR:

Mot1on 1s on adopt1on. Will you remark, s1r?

SENATOR KANE:

I will. Thank you, Madam President.

This amendment comes to me from a constituent of mine who is
very knowledgeable on this issue and on the Second Amendment
and, and the different guns that are out there. And it was
actually very interesting meet1ng with this gentleman many
t1mes, because he provided me with a great deal of educat1on on
th1s issue.

The idea, Madam President, if you look at Sections 54 through 56
of the bill, it talks about safe storage. And what we've done is
we've added individuals who may not be legally able to possess
a, a weapon and if you know of someone who is possibly a felon
or what have you. So I think the idea for all of us, right,
around this circle, is we want safety. We want more people to be
careful, mindful, and protective of their guns. So what we want,
ladies and gentlemen, is more safe storage.

 Now in the bill, it says what a person would consider, consider
 reasonable. And we talked about this in caucus, and we says,
 well, if you have a, a two-year-old, then you could put it up on
 a shelf, you know. But in my mind, maybe that's not reasonable.
 Maybe to you it is. Maybe to the next person it isn't. What I
 would like to see is individuals go out and buy safes and safe
 storage and lock these weapons up if they are in possession of
 them, because we know how many accidents happen.

 However, that 1s quite a burden on these individuals, because
 these safes, this storage, lockboxes, if you will, cost hundreds
 of dollars if not thousands of dollars. What this amendment
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would do 1s provide incentive for people to go out and purchase
these safes by guvung them a tax credit on their personal income
tax return.

So we're going to say to you, John Q. Public, we want you to be
safe. We want your children to be safe. Please go out and get us
a lock box or some kind of safe, store it properly, and we will
g1ve you a tax credit, a sample tax credit on your personal
income tax return that will create a great incentive for more
safety. After all, that's why we're here today, is to provide
better safety for our constituents in the State of Connecticut.
And when it does come to a vote, I would ask for roll call.

Thank you, Madam President.

THE CHAIR:

Thank you, Senator Kane.

Senator Will1ams.

SENATOR WILLIAMS:

Thank you, Madam President.

I again rise to oppose the amendment. Folks who have dangerous
weapons also have responsibilities to safeguard those weapons.
And it's not appropriate to ask the rest of the people of the
state to pay for that through a tax exemption. So, Madam
President, I would oppose this.

 I would also further note that the way the lockbox is defined is
 also vague enough to include someone's safe for not Just
 firearms but for all sorts of other valuables. Madam President,
 this is the wrong road to go down, and I would oppose the
 amendment.

 THE CHAIR:

 Thank you. Will you remark? Will you remark?

 If not, Mr. Clerk, will you call for a roll call vote, and the
 machine will be open.

 THE CLERK:
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Immediate roll call has been ordered in the Senate. Senators,
please return to the Chamber. Immediate roll call has been
ordered in the Senate.

THE CHAIR:
Have all Members voted? All Members have voted. The machine will
be closed.

And, Mr. Clerk, will you call for the tally, please.

THE CLERK:

On Second Amendment Schedule "G" for Senate Bill 1160,

Total Number Voting 36

Necessary for Adoption 19

Those voting Yea 12

 Those voting Nay 24

 Those absent and not voting 0

 THE CHAIR:

 Amendment fails.

 Senator Kane.

 SENATOR KANE:

 Thank you, Madam President.

 I did want to offer a couple things that I thought would make
 the bill a little bit better. Obviously, we can continue those
 conversations as the session moves on. As everyone in this
 circle, I have had many, many meetings on this subject.

 And, in fact, you know, I tell my, my daughter, who's six, when
 she asks, well, where are you going today, because I, I went on
 Sunday morning, I went on Saturday morning, I, I've been all
 over the district, and she said, where are you going? I said, to
 another meeting on guns? And I said, yeah. My daughter
 recommended that all guns be replaced by Nerf guns. So that's
 her recommendation. And it's not a bad idea, but --
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THE CHAIR:

Is that an amendment, sir?

SENATOR KANE:

Yeah, yeah, I, I would, I would like to make that amendment. But
in, in all honesty, it has taken all of us away from everything
that is, is taking place in, in the Legislature, the, the budget
and all the other bills that are taking place during this
Legislative Session. And, of course, 1t's important that we be
here today and that we solve this issue once and for all so we
can maybe start looking at the budget and the budget deficit
that we have.

As you know, I serve a nearby town, and, and Southbury is part
of my d1strict, which 1s a neighboring of Newtown. In fact, I
have a bill in the Public Safety Committee that just got out of
the Public Safety Committee in regards to active shooter
incidents and the communication that takes place between police
departments. And I think it will go a long way to help police
departments respond to these type of incidents.

But you also know, Madam President, that my wife 1s a cl1n1cal
psychologist. And she was in Newtown right from minute one. And
she got a call at her organization that said there was a gun at
a elementary school. And not knowing what is taking place, she
went down there, because she thought maybe a, a child had a gun,
or there was an incident of a person with a gun. And she was
there to provide counseling and support to the children, to the
teachers, to the families.

 When she had gotten there, she had no idea what was taking place
 but certainly spent the day, Senator McKinney, yourself,
 Governor, and was assigned to one of the families of the
 vact1ms. And she stayed there Fr1day until 3: 00 1n the morning
 and went again on Saturday, went again on Sunday, was there all
 week with this famly that she was assigned to with a state
 trooper and a person from the clergy, and that was another thing
 I had to educate my children on. Why, why isn't Mom home on the
 weekends? She never works on the weekends. Where is she?

 So she spent a great deal of time in Newtown with the families
 of this tragic event. She also spent a great deal of time with
 the teachers and the first responders subsequently and has
 recently been down there as this past week. And it's been a very
 d1ff1cult s1tuat1on 1n our household, certainly, because of the
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type of response that her and her team have given to the people
of Newtown. So I've struggled with this since December 14th.

And as a lot of people mentioned, we were here doing the deficit
mitigation, and all you knew was what you saw on the news. And,
but what I did was I agreed to meet with people on the issue.
And I agreed to meet with members or constituents of the 32nd
District and even beyond sometimes, whether it be locally or
here or wherever. And I wanted to educate myself on the bill,
because I don't want to Just look at it from an emotional
standpoint, but I want to look at it from a log1cal standpoint.

And one of the biggest things I've heard from many people is
that we need to enforce the laws that we currently have, because
many, many crimes are committed by people who do bad things and
are bad people, not the good guys who are law-abiding citizens
who want to protect their family or protect the Second Amendment
and protect their rights. So what we need to do is start looking
in the mirror and start looking at the laws that we have in
place, and why not make sure that we enforce those laws to the
nth degree?

The last thing we want to do here today, ladies and gentlemen,
is give people a false sense of security that once we slap this
paper down, that's it, there will be no further Newtowns, there
will be no further Vurgun1a Techs, there wall be no Columbines
and what have you. That's not true, because you can't stop evil,
and you can't stop evildoers. So whatever we do here today,
let's not pretend to the public of the State of Connecticut that
we have solved the issue, because I don't believe we have.

When we talk about the issue of guns, we took action, right? We
sad, all right, we're going to ban thus, do th1s, do th1s, do
this. When we talk about mental health, we created a task force.
And let's talk about the real problem in the State of
Connecticut and in the United States of America. It's the
soc1etal problems that we have 1n our families and 1n mental
health with a whole host of different issues.

 So rather than we take action on one particular portion of this
 bill, let's take action on all of it. Let's talk about the real
 1ssues that are affecting our society and why we are going 1n a
 direction that none of us would like to see. I, I participated
 on the Mental Health Subcommittee, and I appreciated what
 Senator Harp said and how we sat there for 12 hours, and it was
 well-participated.
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But did we go enough? Did we do enough? You know, did we really
attack the problem, which is the mental health in our state? We
need, as Senator Linares stated, to be funding more programs and
to be not looking at cuts 1n soc1al services or certain areas
that we can really help. So instead, we're going to say, we're
gong to ban thus, ban thus, ban this, because that's the real
issue. It's not, folks. It's not.

The real issue is our society and how far it has dropped and
where we're going with 1t. So let's not kd ourselves. Let's
make sure that the way we prevent another tragedy is to, by
really looking at the, 1n the murror and looking at society as a
whole.

So for those reasons, Madam President, although I can tell you
that my wife certainly won't be happy with my vote, but I will
tell you that I don't believe we've done enough in mental health
to solve this problem, yet, are looking at one portion and not
the whole thing. Thank you.

THE CHAIR:

Thank you, Senator Kane.

Senator Harp.

SENATOR HARP:

Thank you very much, Madam President.

 I'm sure you know that I stand to support this bill, but I, I
 want to talk a little bit about experiences that I had as a
 child. When I was eight years old, I had a classmate who sat a
 couple of seats behind me in the opposite row. And in my school,
 in the third grade, they wanted kids to dance with each other.
 And there was only one person who would dance with me, and that
 was the guy that sat behind me in the row. His name was Myron
 Hanson.

 And so Myron Hanson was a, a lot taller than me, but most people
 probably were at that time, a hazel-eyed kid with spiky blonde
 hair, I guess a crew cut. That's what kids had back then. And he
 was also one of the kids who would play with me on the
 playground, so Myron was someone that I knew. We talked about,
 we had a lot of fun with our group of friends.
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So one day after a long weekend, I came back to school only to
learn from our principal who came into our classroom to tell us
that Myron Hanson had been killed. And he had been killed
accidentally, because he and his cousin went into the1r
grandfather's house and got the hunting rifle that the
grandfather had, took t into the barn and were playing with 1t,
and he was accidentally shot and killed.

And so the thing that I remember the most about the third grade,
the only name I remember is Myron Hanson. And so I know that
we've heard about the families. They will be traumatized. But
what I think about are all of the children in that school who
knew one of the children, who knew those teachers. They will be
my age decades later seeing those faces, remembering those
names.

And I've got to tell you, one of the things that I learned in
doing the mental health task force is that there are these
things that they have now identified called adverse childhood
events. What happened to our classroom with Myron Hanson was an
adverse childhood event.

They basically say that if you have, and those are traumatic
events, if you have more than three of those before the time you
become an adult -- and they've studied this with actually
middle-class populations in California-- they have d1scovered
that people who have had more than three -- 1f you think about
how many you could have in a lifetime before you're an adult --
that you are more likely as an adult to have a chronic illness,
that your life expectancy is shorter and so that these traumatic
events are really, really important.

And as a society, we have not figured out yet how to deal with
them. But I've got to say that like Senator Kane's wife, there
are so many of our child guidance clinics that have been in
Newtown helping the famul1es but also helping the children who
have suffered through and will suffer through for the rest of
their life thus experience. So I just want to set that as1de,
because thus 1s something that will lave with them forever. And
those are names and faces that they will remember forever, I
know.

 I wanted to Just say something about guns. And I know in our
 caucus -- and we heard this at the hearing turned in another way
 -- that -- and I think Senator Williams shared this story --
 that right around the time this happened in Newtown, there was a
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person who went and attacked a classroom full of children in
China with a knife. No one died.

What we learned is that of all the gun deaths in the nation,
most of them are not homicides. Only a third of them are. Two-
thirds of them are suicides. And they are not the people that we
think of as sick in the same way that the shooter in Newtown was
sick. These are people who are depressed. And as you know,
depress1on 1s something even, that is very duff1cult to get help
for in our state.

And the thing that makes guns different, we learn, is the
lethality of them. You know, you can be a cutter, and you can
survive from that, but if you shoot that gun accidentally, as my
friend Myron shot that gun, it is lethal. And so it really is
something that ought to be respected. It is a privilege that
ought to be respected and handled with care.

Now about five years ago, we -- and I guess it started as long
ago as eight years ago -- we engaged in an effort to raise the
age of juven1le jurisdiction. What did we learn during that
time? We learned that Connecticut did not have an agency or a
system of mental health services for 16- and 17-year-olds.

 There was not one agency that was responsible for that. The
 Department of Mental Health and Addiction Services was
 responsible for people who are 18 years and over. The Department
 of Children and Families largely took care of children up to
 about 15. So you had this gap that existed until, I guess we
 actually Just implemented the 17-year-olds recently. And so
 there was no mental health delivery system for them. There still
 1sn't now.

 During the hearings, and I think a lot of my colleagues were
 really shocked to find we were one of the first states in this
 country to implement mental health and substance abuse parity.
 And it was, when we debated that, there were those who said to
 us, be careful what you ask for, because you may lose access to
 mental health care. And the reality is that we did.

 And one of the things that thus bull 1s trying to do 1s to
 assure that what we thought we have we will actually have,
 because it was said time and t1me again during the hearing that
 you had to almost make yourself poor to get access to the best
 mental health services. They either occurred in the Department
 of Mental Health and Addiction Services or 1n DMHAS. The things
 that helped the most commercial insurance won't pay for.
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The other thing that we learned was that because there's no real
place to get paid from, we don't have adequate numbers of child
psychiatrists. And that's why you see the access mental health
1n1t1at1ve 1n the bill. So, yes, we have a long way to go to
build an adequate mental health delivery system. There are a lot
of reasons for that.

And, yes, there were cuts in the proposal that was made to us,
but we can together do something about that as that bill rolls
forward. And, yes, there was not a lot in this bill, but there
are opportunities to begin to embellish that system as we move
forward on the budget.

But what is important about this bill is that it represents to
the people, to the children whose lives are forever changed, the
ones who will live thus, with this for the rest of their laves,
that we intend to ameliorate the conditions as best we can.

Is it perfect? Absolutely not. But does it reflect our care, our
concern, and our worry for the people of this state? Does it
reflect our concern for their safety? Does it reflect an intent
to build a system that is fragile at best? It does. And I would
say to you that vote with me on behalf of the children who will
live with this horrific scene in their mind for the rest of
their lives.

THE CHAIR:

 Thank you,   Senator.

 Senator Osten.

 SENATOR OSTEN:

 Thank you, Madam President.

 I find myself today in a quandary. I plan on voting no on this
 p1ece of legislation. And I've thought about 1t ever since
 December 14th know1ng that I had been elected and would be
 sitting in thus room with legislation that would try to address
 a tragedy that happened to children.

 And I would very much like to say that the package before us
 here today would make changes so that no one would have to see
 another dead six-year-old, that no one would have to respond to
 a tragedy as significant that happened down at Sandy Hook. But
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thus leg1slat1on does not provide that protect1on,      an my
op1n1on.

It puts at risk legal gun owners, the constituents in the 19th
District, many of whom have reached out to me in rural
Connecticut. It puts at risk those people who purchase weapons
for their own use whether through hunting or in competitions or
Just as hobbyists. And they have that right by our Constitution.
The Second Amendment in Connecticut's Constitution is clear that
people have the right to bear arms.

I forever fight for the rights that are 1mplct 1n our
Constitution. Freedom of speech and freedom of religion are two
that I also hold very dear to my heart. We have already enough
rules on the books today. Some of you may not know it, but I
worked in the Department of Correction for 21 years. I saw
people come back year after year after year. They plea bargained
away the gun charges that were already put against them.

We can create a registry of those who commit crimes with deadly
weapons, but if we don't find them guilty of weapons charges,
the registry will remain empty. It's terrible to sit, stand here
today and say that there will be children who will forever have
effects against them. This is not a new phenomenon.

We have children and families that are being damaged every day
1n, in our urban cities, and today, thus piece of legislation
does nothing to stop handguns and young men from killing other
young men. I'd like to stand here and say that we're going to
correct all the ills of the world with those who use weapons
illegally, but I believe that thus piece of leg1slat1on attacks
the legal gun owners and those who have them for their own
protection.

 We have a clear problem with mental health in this state that we
 have not addressed for years. And while this holds a little bit
 of promise for something to happen in the future, the problem is
 expensive. We currently use our prison system every day to house
 those that Judges cannot find another place for.

 As a matter of fact, about 20 to 25 percent of the inmate
 population is chronically mentally ill. Because we have no other
 spot for them, we have our correctional officers and those in,
 those staff who work there handling people with mental illness
 on a daily bas1s. And 1f our population 1s 1n the 20,000 ranger
 that's 5,000 people.
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I would very much like to say today that what you have crafted
here -- and I know you worked very hard on it -- it's clear that
people put their minds and ther hearts 1nto th1s legislation --
but I do believe 1t gaves people a false sense of security here.
I don't think it stops those people who have chosen to act out
badly.

Adam Lanza and his family were troubled. We ignored that for
many years. Other people knew that family was troubled. It's
clear Just by the report that they knew that family was
troubled. Adam Lanza was the one who killed those 20 young
children and those six adults. He's the one we should hold
accountable today, not the legal gun owners in this state.

There are things in this bill that I could support, but there
are many things in this bill that I cannot based on what my
constituents have said to me. People have a right to bear arms,
and we already have enough restrictions on them, and we do not
need any more. I also cried when those young children died that
day, as every one of us around here did.

And 1f I could assure those parents that th1s leg1slat1on would
stop it from happening again, I would vote yes. That is not the
truth. I look forward to working with this body as we move
forward to stop plea bargaining of gun charges so that we can
hold those people accountable over and over again.

 I'm very proud of standing here today. As a Vietnam era veteran,
 I'm so proud of our country, but I also know that we protect our
 company, our country with that very basic right, that right to
 bear arms. I've sat here today and listened to everyone that's
 spoken, and you've all spoken from the heart. I also speak from
 the heart, and I believe with all my heart that this is not the
 right way to go. I think this bill should have had another
 publ1c hearing so we could have heard yet one more time with
 exact language what people needed to say. It would have been a
 week or so more. That's not a bad thing.

 We can't make our schools into prisons. We want our children to
 flourish. We don't want them to be afraid to go to school. I
 worked in that prison environment for 21 years. I think that you
 can make our schools safer. Please don't make them into prisons.
 They'll be impacted, as I have been, as all my colleagues have
 been that worked in that system.

 I, today, stand 1n opposition to the bill here, as I have said
 all along I would, representing the constituents in the 19th
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District, representing those legal gun owners, representing
corrections officers and police officers from around the state
who have contacted me and respecting each and every one of you
for the opinions that you hold. Thank you very much.

THE CHAIR:

Thank you. Will you remark?

Senator Witkos.

SENATOR WITKOS:

Thank you, and good evening, Madam President.

I want to preface my remarks by offering my condolences once
again to the families of the Newtown victims and not only to the
fam1l1es of the Newtown v1ct1ms but to the v1ct1ms of everyone
who's suffered a needless loss to gun violence in our big
cities, which we hear about almost on a weekly basis.

I'd also like to offer my, my thanks to all the members of the,
the different task forces, the working groups. I think they
carried out their duties with dignity, countless hours listen1ng
to testimony from everybody that came to Hartford and down in
the town of Newtown. I'd also like to offer thanks to the
leaders and the tame that they put 1n negotiating the final
aspects of the bill.

It certainly was a struggle to try to achieve balance. And the
balance I talk about is the balance of making sure that we do
something productive in the State of Connecticut while guarding
the rights of others. I'd also like to thank the manufacturers
and the citizens who took days off from work to come up and
testify numerous times.

 Imagine, it's not something to gloat about, what did you do on
 vacation? Well, I spent my day at the State Capitol two and
 three times testifying n front of a legislative panel. I
 myself, served on two of the working groups, School Safety and
 Gun Violence. I also sat through hearings on the Public Safety
 Committee. But I didn't think that was enough, because I didn't
 see a lot of my constituents here.

 So I held my own gun hearing in my d1strict. It went for s1x
 hours. And I sat across the table from my constituents, giving
 them the opportunity to speak to me and speak their mind. I also
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received over 7,000 e-mails since December 15th on this topic
from in-state residents and over the past two days over 100
phone calls. But all of this is in the name of good government,
I would say.

But what I find to be distasteful are the comments of folks that
say, ignore the people on the fringe. We're saying to ignore the
people that we were chosen to represent here in Hartford, and I
don't believe that's right. All they're asking at times is to
see and read the bill. And I ask you, is that too much to ask
for?

I know we can say we've had a public hearing on different parts
of the bill, and it's been in through different committees. But
the sum of the parts don't necessarily mean the whole of the
bill. It could be taken out in a different context.

So I thought personally that Senate Bill 1160 should have been
out there for the public to read its, in its entirety and offer
comments too. I wouldn't have minded another 7,000 e-mails,
honestly. But when I read through the bill, and I did read the
bill, I thought the root cause was barely mentioned, and that
was mental health.

Yes, we formed a task force to look at some case management of
up to 100 people in probation. And we created a consultation and
care coordination program. But we didn't get to the two words
that I felt were so prevalent in all the hearings, which was
access and control. From speaker to speaker to expert to novice,
it was all about access and control.

We did a couple access and control items. We created a safe
storage provision in the bill, and we offered a five-year look-
back for, of mental health illness, but that's it. I wish we
could have done something on psychotropic drugs. I wish we could
have done something to work with a task force with our federal
legislative delegation to loosen up the HIPAA regulations so our
agencies can talk to each other, so if somebody is aware of
something that's happening, they have the ability to communicate
that.

 As I said, I sat down face to face with my constituents for over
 six hours. And as they came up to the table, they said, I want
 you to oppose everything, some people did. And I said, well,
 let's wait a minute. Let's talk about somebody just opposing
 everything. Do you support universal background checks? Well,
 yes, I do.
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What about if you, if we created a, the provision that's in the
bill that says you have to show an 1dent1f1cat1on to buy
ammunition, because what I'm told, the big mayors, the big-city
mayors that came up said that's the problem in their 1nner
cities. They buy the guns on the black market, but they don't
necessarily get the ammunition. So if we can control the flow of
the ammunition, maybe we can prevent some of the inner city
deaths.

And as I explained myself, they said, well, I, I guess I can
support that too. And then we were going down through the items,
and they said, well, we can support that. So I said, there is
common ground, but we Just need to give them the opportunity to
have that conversation.

And then somebody said to me something that I hadn't thought of
from that perspective before. It was about technology. They
said, Kevin, how many people do you know use wooden golf clubs
on the golf course anymore? Well, they're aluminum. How many
people use a wooden tennis racquet? That was graphite. How many
people ski with wooden water skis? Those are fiberglass.

And then I said, well, you know, obviously, the next question
would be, well, those don't kill people. They said, well, Kevin,
automobiles, they used to, when they first were created, they
used to run ten miles an hour. Now they can go 150 miles an
hour. And drugs, years ago, it was mariJuana, but now it's crack
cocaine.

And, yes, even guns have evolved with technology, from the
single-shot black powder musket to today's modern sporting
rifle. You know, it changes so quickly. When I started in law
enforcement 28 years ago, I carried a six-shot revolver with
double speed loaders. People probably don't even know what a
double speed loader is. And when I retired, I was carrying a
40-caliber semi-automatic Smith and Wesson.

Nobody can foresee the future, because we don't know where
technology is going to bring us in ten to 15 years from now. But
this bill attempts to address that through cosmetic l1mutations.
And I ask you, if you happen to put makeup on, when you look in
the mirror, you begin the makeup process, you know what it does?
It changes your appearance, but it does not change who you are.

 And that's what we're attempting to do here with the l1muting of
 the cosmetic features on these weapons. If you use the same
 caliber of bullet, excuse me, if you use the same caliber of a
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bullet, you'll have the same velocity and the same penetration.
The only thing you're changing is what it looks like and how you
hold it.

The bill further attempts to limit gun ownership. And I say to
you that your actions and the actions of the media have caused
gun ownership to increase. How often do we see on the 6: 00 news
lines at the gun stores and the retail outlets and the empty
spaces on the shelf? That's a direct cause of the action of this
Legislature.

Dur1ng my hearing I had 1n my district, I had a manufacturer
come up to me and said, you know, Kevin? He goes, I manufacture
the springs in these magazines. I've sold more springs in the
past four months than I have in the past four years, because
there's a buying spree, because people are afraid. The lines are
being created by law-ab1dng ct1zens, because criminals don't
wait in lines, nor do they follow the law.

You know, I asked the tough questions of both the opponents and
the proponents during the public hearings to see if what we did
would have any impact. And sadly, both sides agreed that it
won't. Ownership without banning allows the magazines to stay in
the population. And requiring only ten rounds in a 30-round
magazine focuses on law-ab1dung citizens, something that we all
know a criminal will never, ever follow.

In closing, there are a lot of great things in the bill, and I
wish I could be casting a yes vote today. And it's the two
1ssues 1n the bill that I have difficulty with, and those were
the two issues that took the longest time, I believe -- though I
was not in the room -- that caused the negotiations to get us to
where they are today. And that is the assault weapon expansion
and the high-capacity magazine.

 And during my time in my hearings, people would come up to me
 and say, where do you stand on the Second Amendment? And I'd
 say, well, what do you mean? And more people carried around a
 pocketbook of the Constitution. They'd flip to open a page, and
 they'd start reading the Second Amendment. My comment to them
 were, don't tell me something from 1791.

 Look to the most recent case in 2008 in the Heller versus D. C.
 case, because it was the United States Supreme Court that
 analyzed the Second Amendment and offered an opinion. And in
 their opinion, they said that the government has the right to
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say who can own guns, where they can carry them, and what types
of guns can they carry.

So they had me thanking, well, maybe I will be supporting th1s
bill, because if that's the most recent ruling, it's not an
infringement upon the Second Amendment rights of our citizens
that is so profoundly spoken. But then I started doing a little
research, and I found out that as recent as last Friday there's
over 1. 28 mull1on guns registered 1n the State of Connect1cut.

And those are only the number of guns that are registered, that
there are many, many long guns that were purchased that never
had to be registered. So I would, I think it would be fair to
say that it would probably be closer to two million. And
somewhere during the hours and hours of testimony, I heard that
there were 154,000 AR-15's.

So I thought to myself, if there's 154,000 AR-15's registered in
the State of Connecticut, maybe five percent, how, how does that
dovetail into what was ruled in the Heller versus D. C. case?
Now I told you they said they, they can state who has them,
where they have them, and what types.

But it went on further to say the who are the folks that are
convicted felons and folks with mental illness, the where,
government has a right to create gun-free zones in our schools,
in our municipal buildings, and on the what types, government
has the right to ban guns that are not in common use at that
t1me. That's where my d1ff1cult1es lay. Is five percent
considered common use at that time? I probably could go either
way on that one.

But the one part that I could not overcome was the high capacity
magazines, because I know that almost every handgun and every
long gun that can be sold has a magazine capacity greater than
ten. And it has been around a long, long time. Therefore, that I
consider to be in common use.

And I believe by us passing thus bill today, we are creating a
direct violation of the Constitution. It was said that the tree
of liberty shall be pruned at times to make it stronger, but I
say to you that once you start pruning the roots of the tree,
the tree of liberty will suffer a withering death.

 Thank you.

 THE CHAIR:
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Thank you, Senator. Will you remark? Will you remark?

Senator Fasano.

SENATOR FASANO:

Thank you, Madam President.

Madam President, I debated whether or not to speak tonight, and,
because we've been here for so long, but I'm going to approach
this perhaps in a little different method. And th1s 1s the
reason why I have decided to speak.

Madam President, when the Newtown issue tragedy struck our
state, we began to be polarized literally that day and days
after. People were clinging to s1des and talking about these gun
issues before we even had the chance and the opportunity to
mourn those that were lost at Newtown. And as time went on, we
did mourn, but then there came time that we realized, and all of
us 1n this circle know that everyone 1s going to be looking at
us, State of Connecticut, the Legislature, to determine what to
do.

And what it seemed to me was happening was in Washington, D. C.
, they were doing nothing. There was a lot of finger pointing.
There was a lot of discussion and press conferences, but there
was no talking. There was no communicating. And I think 1t
what's abundantly clear to this Legislature is we need not to
follow what Washington did, and that takes courage. That takes
courage.

The leaders of the Senate, the leaders of the House, the six
leaders, got together and said, at the very least, let's start
with a public hearing, and let's do it b1part1san and see what
we have out there and listen. And then from those parts,
Republicans and Democrats, core beliefs on all sides, let's see
what we can put together, if possible.

 And after the public hearings, now some may argue that when we
 had those hearings -- and I was not part of those committees
 except for the, when we went down to Sandy Hook -- but some may
 argue, well, that's your job to be in those hearings. And I, I,
 and we're elected. That's what you voluntarily decide to do.

 I agree with that in part, but I would suggest an argument can
 be made that many folks around this circle and in the House went
 above and beyond the call of duty to stay 14, 16 hours during a
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hearing to hear every single person that came to speak. And for
those Legislators and all, most of us in the circle who did
that, I think that's important. And they didn't Just disappear.
Legislators sat there through those hearings taking copious
notes so that they could formulate ideas, which they gave to
leaders.

The bill we have 1n front of us 1s a culmination of that, but
there were other steps, because when those ideas got to the
leaders, the leaders had to decide what they were going to do.
And ther choice was either stay with the core beliefs that
could bifurcate a nation and started bifurcate our state or try
to find common ground, which means certain core beliefs would
have to be left to the wayside.

And I congratulate the leaders, because each of them, to be at
that table, had to give up something they believe 1n to reach a
common ground. Is this the perfect solution? No. Are you ever
go1ng to draft any legislation that's go1ng to stop another
Sandy Hook? I suggest never, no matter what you do.
Unfortunately, it's the society that we live in, and it's sad.
It's sad we're even having a conversation about 20 kids being
killed in a school, sad.

But to reach common ground, you have to have the will to say, we
have to unite the state, and we have to bring essential values
together, and that's what these leaders did. Now there are a
variety of amendments around this floor. And part of reaching a
compromise is to be devoted to that work ethic and that
compromise.

I voted against a number of my colleagues' amendments. Had it
not been on this bill, I would have supported my colleagues'
amendments. But when leadership and others give their word that
they're going to support a bill that brings a common ground to
this Chamber, then you cannot say, but I will support amendments
to that common ground.

So I voted no on those amendments, because we came to a
conclusion. Once again, it's not perfect, and that's why I voted
against those amendments, not that they were not good ideas, not
that they did not have val1duty, but n thus building, you have
one thing, and that is your promise and your word. And if you
don't have that, you have nothing.

 Th1s bill 1s go1ng to get critic1zed by many for a variety of
 reasons coming from a variety of levels. One thing they can't
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criticize 1s our work eth1c, our ability to listen to our
constituents, take in what we heard, and for our leadership,
House, Senate, Democrat, and Republicans, to be able to come
together and work on probably one of the hardest if not the
hardest problem to face -- I'll talk for myself, for me -- for
the last 12 years and I would suggest for this Chamber in who
knows how many years.

We can disagree, because that's what this Chamber is about. If I
had a criticism, I do agree that the mental health ssue, which
is complicated, and we are doing a task force on it, has to come
through at the end of the day. Are we going to find some
glitches that have to be fixed? Yes, we will.

Some people we, said we went too fast. Others say we went too
slow. Without a doubt, there isn't a person in this Chamber who
can't say we felt pressure to do something. And that pressure
mounted, and we did the best we could. So, Madam President, I
plan on supporting this bill. I think it's the right thing to
do. Thank you.

THE CHAIR:

Thank you, Senator Fasano.

Senator Looney.

SENATOR LOONEY:

Thank you, Madam President.

I'm rising to speak in support of the bill. Madam President,
parts of this bill are a culmination of 20 years of debate and
discussion dating back to the original assault weapons ban that
was passed in 1993. And, of course, the issue of assault weapons
1s only, 1s only a part of what's in thus comprehensive package.

Some of the provisions of the bill were actually approved by
this State Senate in 2001, including adding the Bushmaster
assault rifle that was used by Adam Lanza at Sandy Hook school,
adding that weapon to the list of assault weapons that are
banned from future sale or required to be registered. That was
in that, in that bill, as was the ban on large capacity
magazines.

That was a, a bill that many of us were proud to support and the
State Senate passed in 2001. Unfortunately, it was not passed by
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the House of Representatives that year. But that was also a
bipartisan vote, just as we are hoping to have a bipartisan vote
this evening. And Senator McKinney showed great leadership then
in supporting that bill as he has shown throughout this whole
process in working for consensus on this one.

Then Senator Nickerson, Freedman, Gennaro, and n1skovach were
all supporters of that, of that bill, and it was a, a strongly
supported bipartisan bill in the Senate. Other provas1ons 1n
this bill are, are more recently advocated, and that is the, the
issue of the Violent Weapon Offender Registry, which has been
pushed by a number of urban Legislators for several years at the
request of urban police chiefs, the expansion of the permit
process for ammunition and for long guns, as well as universal
background checks.

These are issues that have been debated for several years in one
form or another in the General Assembly and have come forward to
be included in th1s, 1n thus comprehensive bull. In add1ton, 1n
terms of the, the discussions of the, of the six leaders after
the conclusion of the work of, of the task force, I certainly
wanted to second what Senator Fasano said, that there was a, a
great deal of good will and genuine good faith in all of those
discussions.

And, certainly, as I said earlier, Senator Williams deserves
enormous credit for his leadership in keeping us on task as does
Speaker Sharkey and, but Senator McKinney and Representative
Cafaro I think also deserve great credit for their work in that,
in that process, the, the willingness to find consensus, the
willingness to, to move from, from prior positions, the
willingness to look for common ground. All of us worked
together.

My counterpart, Representative ras1mow1cz, the House Majority
Leader, and I, we're also very proud and very pleased to be part
of that, of that process. And it was one that when we finally
came to conclusion, we were, in fact, proud of the result and
hoping that we would have a result here that would be a model
for the nation, a model of b1partisanshp and not reflecting
the, the very destructive divides that we see in other states
and in the United States Congress.

Much dscuss1on has been made thus, th1s evening of, of the
mental health portions of the bill and the fact that, that some
of it relates to a, a study of the, a task force with a special
focus on 16- to 25-year-olds to study Connecticut's mental
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health system. And that is true, there is that task force, but
there are also substantive provisions 1n the bill that address
mental health as well.

Requiring the insurance department to evaluate and report on its
method for determining compliance with state and federal mental
health parity laws, that is a, that is a requirement, not Just
a, a subJect of future study. Requiring that certain mental
health and substance abuse services be considered urgent care
requests and shorten the review time of those from 72 hours in
current law to 24 hours, that is an important change, also
instituting a more robust definition of clinical peer with
regard to the review of mental health and substance abuse
services to ensure that the health professionals who review the
claim have similar qualifications to the health professional who
prescribed the treatment, also designating disorder treatment
criteria for mental health and substance abuse so that coverage
dec1sons are, 1n fact, more consistent from carrier to carr1er,
and consumers are given a clear reason for a denial when there
is a denial, requires insurers also to inform consumers that
they have the right to appeal a denial and that they can request
additional information and can contact the Office of Health Care
Advocate for assistance.

In fact, Madam President, one of the, the commentators on the
mental health portions of the bill was our health care advocate,
Victoria Veltri, who described this as a very strong and bold
piece of legislation that includes many more protections for
consumers than ever existed before in the state, she said. And
she also added that the bill adds a level of transparency that
never existed before.

So this is a very important step forward, not Just, in effect,
a, a promise for future study but a substantive change that we
are all looking to implement now. So this is a very important
bill on so many fronts, Madam President, that, that I certainly
am, am proud to support this evening. I think 1t 1s hstor1c
legislation for our state and for our nation and urge support of
the bll thus evening.

And one final, Just one final note, Madam President, a word of
special thanks and commendation I think should go to, to Joel
Rud1koff, our counsel who has been working on these issues for
so many years, was a, a advisor to then MaJority Leader George
Jepsen on the, on the, the 2001 legislation.
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And obviously, there was a, there was staff of all four caucuses
1n the meetings with the, with the six leaders, but, but Joel,
in so many ways, was the, was the key person in terms of staff
because of the fact on the, on the gun-related issues that he
has been l1vung with thus and working with thus for, for so
long.

So, so, Madam President, on so many fronts, this is an important
bill that we need to support this evening that comes to us out
of the terrible, the crucible of the tragedy of Newtown. But it
1s something that guves us something of which we can be proud
not only of the end result but also of the process that got us
here. Thank you, Madam President.

THE CHAIR:

Thank you, Senator.

Senator McKinney.

SENATOR MCKINNEY:

Thank you, Madam President.

Madam President, like many 1n th1s circle, perhaps downstairs 1n
the House and around the State of Connecticut, as I stand here
today, I'm brought back to December 14th. I started that morning
go1ng to a meeting in Bridgeport, actually, I'm sorry, 1n
Fairfield, with a group of nonprofits from Bridgeport and the
Greater Bridgeport area about concerns they had over some budget
cuts.

And after the meeting, I got into my car and saw a news alert on
my phone that there had been reported a shooting in a school in
Newtown, Connecticut. And for some reason, I turned my car
around and headed up to Newtown.

Other things have happened during the 14-plus years I've been
fortunate to serve in this Senate, but I've never driven to that
type of an event. When bad things happen, I think it's best for
elected officials to stay away and let the public safety
officials do what they need to do. But there was something that
told me I needed to go.

When I arrived, the scene was unlike anything I had ever seen
before, and I parked my car in downtown Sandy Hook, because the
police had blocked off streets. And as I, not running, but
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walking fast up to the firehouse, parents were walking by with
their children, some holding them, some holding their hands,
many crying.

I got to the firehouse, and the first person I saw was Pat
Llodra, who's been a friend for many years and is an incredible
woman and the first selectman of Newtown. And she informed me
privately off to the s1de of what was the 1nut1al report given
to her from the public safety officials, which was a
conversation I won't forget. It was actually an initial report
that was worse than what happened. But I knew then that my life
had changed, as had so many others.

And seeing the parents that day, parents who had reconnected
with their children and then parents who, who did not, the
teachers and school administrators who were in the firehouse,
state and local police officers, volunteer and professional
firefighters, emergency service personnel, EMS from all over the
State of Connecticut, clergy from all different faiths but
especially Father Bob, Monsignor, Robert Weiss, as Senator
McLachlan mentioned, and Just the community of Newtown and then
my phone ringing off the hook and text messages from colleagues
around the circle and in the House.

I said the other day in Danbury, and I'll say again, Mike
McLachlan has been a second state senator for Newtown since
December 14th, and I appreciate his words and, and more his
prayers for the people in Newtown. And since then, I've been
working, as have others, especially with my colleagues in the
House, Representative Hovey and Representative Bolinsky and
Representative Carter, yourself, the Governor, and others, to
see what we can do to heal that community, if we can do
anything, what we can do to make Connecticut safer, and what we
can do to hope that this is a one-time event that never happens
again.

I've said that this issue for me is something that should be and
is above politics. We have all talked, and I, I have not been
shy n the past 1n thus circle about talking about my
frustration with the partisanship of our pol1tcs today.

We are all elected to come to our government to see what we can
do to make Connecticut better. And we all come representing
d1verse citizens across the state wth different ideas and
different ideologies. And no one should put the1r principles
down, but everyone should try to work with each other to see if
we can find common ground.
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And I'm proud that we've done that on what is in my 14-plus
years the most important issue that I've had to deal with.
Keep1ng people safe, protecting our ct1zens, 1s a core function
of what we do, and that's what we're trying to accomplish in the
bill before us. And I also hope the message that we can send --
1f those outs1de the walls of Connect1cut are listening-- 1s to
encourage them to do the same, encourage our elected officials
in Washington to put as1de the politics and try to see 1f they
can work with one another to find some common ground.

I have been, not surprised, heartened by the immense citizen
Involvement 1n th1s 1ssue. I have received more e-mails and
phone calls and text messages, I think. Starting on Monday, I've
received over 500, 600 text messages alone from people
advocating the1r positions. We've had 63 hours of publ1c
hearings, 34 hours alone on gun-related bills. I don't know if
we've ever had that many hours of public testimony on any one
issue in the 14 years that I've served here.

Most heartening is all of the first-time, I'll call them first-
t1me act1vasts on both sides of the 1ssue. I can't tell you how
many people have, have met with me or talked to me or called me
and said, I've never called my state senator before. I didn't
know who my state senator was. But I'm doing it now. I have to.
I feel compelled. This is so important to me.

And to all those, people on both sides, I say two things. One,
thank you, thank you for bringing your voice to us as your
elected officials. And secondly, keep paying attention. Keep
paying attention to everything that we do, because it has an
impact on how we represent you.

What we have today is a comprehensive package. Many people have
said it, and I'll, I, I don't disagree. It's not perfect. But it
is a package that attempts to make our schools safer. It is a
package that tries to improve our mental health system, although
admittedly there is much more we need to do there. And it is a
package that tries to reduce gun violence in our society.

The media has focused a lot on the gun violence part of that
issue and not as much on the school safety issue or the mental
health. I think it is worth pointing out though that in many of
the public hearings in the School Security Committee that
Senator Boucher chaired and the Governor's Task Force, there
were various experts who came forward and said, there are things
that we can do that can prevent this from happening again. And
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one of the most critical is the threat assessment teams that
we've put into this bill.

So there are measures beyond guns that people and experts have
said, if you do them, you can prevent something like this from
happening. And I think we've done some of those. Many people
today, on both sides but especially those who stand against the
bill before us, have talked about the Constitution and the need
to protect the rights of the citizens of Connecticut that are
guaranteed under our state and federal Constitution. And the
Second Amendment is one of those rights.

The United States Constitution guarantees the right to keep and
bear arms, a right that existed long before the Constitution.
The Constitution didn't create the right. It guarantees that
right. As someone who had the good fortune of clerking for our
state's highest court and was a law clerk to a Connecticut
Supreme Court Justice as he sat and made decisions on what our
state Constitution meant and rights afforded under that
Constitution, I know how important that is and with any laws but
particularly gun laws or speech laws or search and seizure-type
laws.

My threshold question always is and must be, will this law
violate that Constitution? And although I know there are people
that d1sagree, I do not believe th1s violates ether the rights
afforded in the State Constitution or the Federal Const1tut1on.
I don't do that based on emotion. I do that based on studying
and research, reading articles and cases. I've read the Heller
case several times and the Miller case and what they mean.

I also know that there 1s precedence for things like lam1tung
magazine sizes to ten and assault weapon definitions. We've had
one in Connecticut since 1993. Other states have had them. New
York has limited magazine sizes to ten rounds for years, and our
country lived with a magazine ban and an assault weapon ban for
ten years. None of those laws were ever seen as violating
constitutions and thrown out.

And I would argue that some didn't challenge many of those laws,
because they knew indeed their challenges would have failed.
That doesn't mean this bill doesn't have burdens on people to
exercise their rights, because there are some. I clearly admit
that.

I've done a lot of town hall meetings. I know we all tend to do
them. And one of the things that, a, a theme that's come through
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many of the meetings is that people are very fearful of what
they believe 1s in the bill or what they believe passing th1s
bill will lead to in the future more so than what this bill
actually does.

Last night, I spent several hours talking to people about what
was in the bill. And I think many were surprised. Many thought
the bill required them to annually register all of their guns.
It does not. Many thought they were going to be required to
purchase liability insurance. They are not. Others thought the
bill confiscated their guns or magazines. It does not. Some
thought there was going to be a tax on ammunitions that they
couldn't afford. The bill does not do that.

We have heard from our colleagues today, we've heard from
advocates, we've, we will probably hear from people in the House
that this bill doesn't go as far as some would like. And those
1nduvuduals get to exercise ther rights as elected off1c1als or
as citizens to advocate for further laws if they see fit.

But those bills in the future that may come are not before me
today. And I am voting today on what is before us, and I believe
it is a good package. I, I will close with the reason I stand
here. I, I am blessed, I have been blessed for over 14 years to
be the State Senator for Newtown, Connecticut.

And I've told you all-- and I apologize for repeating myself --
I wake up in the morning, I got the green ribbon and the
guardian angel from a police officer, and I try to put it on my
Jacket every day to remember those that we've lost, because I
stand here, I stand here as their voice, as their elected
representative and the 20 children we've lost.

And so today, in making this vote, I want to be the voice for
Charlotte Bacon and Daniel Barden and Olivia Engel and Josephine
Gay and Ana Marquez-Green and Dylan Hockley and Madeleine Hsu
and Catherine Hubbard and Chase Kowalski and Jessie Lewis and
James Mattioli and Grace McDonnell and Emilie Parker and Jack
Pinto and Noah Pozner and Caroline Previdi and Jessica Rekos and
Av1elle Richman and Benyamin Wheeler and All1son Wyatt and the1r
s1bl1ngs and ther moms and the1r dads.

And I get to be the voice of s1x 1ncredible professionals,
teachers, administrators, principals, Rachel Davino and Anne
Marie Murphy and Lauren Rousseau and Victoria Soto and Mary
Sherlach and Dawn Hochsprung.
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I, I received a text early thus morning from a friend of mine
I've known for over 35 years. We met in eighth grade. His wife
works at Sandy Hook Elementary School, and, and one of the
guilts I carry with me is that it took me several hours at the
firehouse before I realized I forgot to ask if she survived.
I've known him for 35 years. I've known his wife for 25 years.
And I frantically asked Colonel Stebbins if she was alive. So I
wanted to read his text and let him have the last word for me as
their voice today.

His text read, John, good luck and good Job on all your efforts
following Sandy Hook. You are making the world a better and
safer place. And I pray that he's right.

THE CHAIR:

Thank you, Senator.

Ladies and gentlemen, ladies and gentlemen, I ask you not to do
that. I apologize. We asked both sides not to do this.

Senator Will1ams.

SENATOR WILLIAMS:

Thank you, Madam President.

I want to begin by thanking Senator McKinney for his leadership
on behalf of his constituents and his caring in their incredible
hour of need and his leadership here 1n this circle and 1n th1s
process. Senator McKinney, we don't agree all the time, but you
are a treasured and valued friend and colleague in this circle,
and I appreciate your leadership on this issue. This has been a
Journey for all of us.

The last 110 days after the tragedy in Newtown has brought a new
commitment in the State of Connecticut. What we have seen is
Legislators, Democrats and Republicans, not turning away but
looking to take action to bring meaning to this senseless
tragedy. This will go beyond today.

Folks have talked about mental health issues, and I want to
point out the task force that was put together by Governor
Malloy is continuing to meet. Their recommendations on mental
health issues are not due until December of this year. I want to
thank the Governor for his work. I want to thank Governor Malloy
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for his prior1ties, so many of which are Incorporated 1n th1s
bill.

And, Madam President, Lieutenant Governor Wyman, I want to thank
you. I know that you and the Governor have been to Newtown so
many times and attended the funerals of those young children.
Thank you for representing us and our state. For those who
believe we should be doing more in terms of mental health
services, I don't thunk anyone n thus, 1n this circle wall
disagree.

But if you're saying we cannot or should not move forward on gun
violence prevention measures because it's all about mental
health, I would strongly disagree. Senator Harp mentioned the
example of the mentally deranged individual who went into an
elementary school armed with a knife, and he inJured many
children. None died.

It's access to the weapons of war, the access to the weapons
that can kill mass amounts of children or adults in our schools
and in our communities. That is the essential issue when it
comes to mass killings and all of the mass killings that we have
seen in the last ten to 20 years but primarily the last ten
years.

So, yes, we must address mental health issues, but we cannot
ignore the access to those weapons. And we must do all we can to
prevent those who would harm our children from having those
weapons. There are those who would say, you know, I don't think
this bll 1s go1ng to do anything, all that permitting, all of
the background checks. You know, they can't even agree on
background checks in Washington, D. C. But that's what it takes
to keep the guns out of the hands of criminals. Isn't that what
we all want?

There was Just some information that came out very recently from
the Johns Hopkins School of Public Health, and they have studied
this issue carefully. They've said, common sense policies
adopted at the state and local level succeed in reducing the
d1version of guns to criminals.

And what specifically? Strong regulation and oversight of
licensed gun dealers, regulation of gun sales by private
sellers, and permit to purchase licensing systems, exactly what
we have in this bill. And what's the result of that?
S1gn1f1cantly fewer guns are diverted into crumunal hands. This
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is exactly what we should be doing to help protect our children
and our communities.

Now there are some who would say, well, there's enough rules on
the books. But if you have a loophole in your rules that allows
folks to purchase firearms, perhaps as many as 40 percent of all
the firearm sales, without background checks, those checks that
can keep the guns out of criminal hands, do we have enough rules
on the books, or does it not make sense to close that loophole?
That's what this bill does.

There are some who would say, well, this bill will simply
provide a false sense of security. And you know what? You can't
promise that this will prevent all of the mass shootings and
Adam Lanza murders in the future. Well, you know what? No one is
guaranteeing that. No one is claiming that this bill will solve
all of the problems.

But as Senator Coleman said earlier, to say that since it
doesn't solve all the problems we should do nothing is wrong.
And when it comes to the issue of that sense of security, and
that might lead to a quest1on, 1s there anything 1n thus bull
that could have prevented that tragedy at Sandy Hook, I mean,
the short answer is we'll never know.

But if this bill had been in effect when Adam Lanza was a small
boy going off to school for the first time, I think we have to
ask ourselves, what would have happened if his primary
caregivers, 1f hs pediatric1an, as a young boy, had had access
to specialists, behavior consultants, not Just folks who were
looking at learning disabilities but behavioral 1ssues?

What if, as he got older in school, there was a heightened sense
of awareness among everyone in the school about the behavioral
issues, the mental health issues? What if there could have been
greater outreach to him and others like him to remove him from
his isolation and connect him to peers and adults? If you don't
think these 1ssues are going on right now n our schools 1n
Connecticut and across the country, you're wrong. We ought to be
making these efforts, taking these steps now.

This bill does that. And what if, at the time that his mother
purchased firearms, she could not have purchased an assault
rifle, not a military assault rifle designed to shoot dozens if
not hundreds of people in a matter of minutes and could not have
bought high-capacity magazines to go along with 1t?
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I don't know what the outcome would have been. I don't know. But
I can tell you this. It's worth our effort to pass this bill.
This has been a tremendous effort of Democrats and Republicans
putting aside partisanship, transcending politics. This is a new
and historic model for the country on an issue that has
typically been the most controversial and divisive.

We, in Connecticut, are breaking new ground today. So I am proud
of this process. I am proud of my colleagues, Democrats and
Republicans in the Senate, in the House. We have done things
differently, and we should have done things differently given
the magnitude of the tragedy that we face.

Madam President,   I urge passage of this bill.

THE CHAIR:

Thank you.

Will you remark? Will you remark?

If not, Mr. Clerk, will you call, call for a roll call vote, and
the machine is open.

THE CLERK:

Immediate roll call has been ordered in the Senate. Senators,
please return to the Chamber. Immediate roll call has been
ordered in the Senate.

THE CHAIR:

If all members have voted, all members have voted? The machine
will be locked.

Mr. Clerk, will you please call a tally.

THE CLERK:

Emergency Certified Bill Number 1160.

Total Number Voting 36

Necessary for Adoption 19

Those voting Yea 26
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Those voting Nay 10

Those absent and not voting 0

THE CHAIR:

The bill passes.

Senator Looney.

Please, ladies and gentlemen.

Senator Looney.

SENATOR LOONEY:

Thank you. Thank you, Madam President. Madam President, I move
for immediate transmittal to the House of Representatives of
Emergency Certified Bill 1160 for which the House awaits.

THE CHAIR:

Seeing no objection,   so ordered, sir.
